Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 1 of 910 PageID #: 9581




                  JOINT APPENDIX 69
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 2 of 910 PageID #: 9582




             UNITED STATES PATENT AND TRADEMARK OFFICE
                             _____________

              BEFORE THE PATENT TRIAL AND APPEAL BOARD
                             _____________

                      MODERNA THERAPEUTICS, INC.,
                               Petitioner,

                                       v.

                     PROTIVA BIOTHERAPEUTICS, INC.,
                               Patent Owner.
                              _____________

                     Case IPR2018-00680 (Patent 9,404,127)
                     Case IPR2018-00739 (Patent 9,364,435)
                                ____________

                             Record of Oral Hearing
                               Held: June 6, 2019
                                _____________



     Before SHERIDAN K. SNEDDEN, SUSAN L.C. MITCHELL, and
     RICHARD J. SMITH, Administrative Patent Judges.




                                                                     JA002552
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 3 of 910 PageID #: 9583

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)



     APPEARANCES:

     ON BEHALF OF THE PETITIONER:

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     ON BEHALF OF THE PATENT OWNER:

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           The above-entitled matter came on for hearing on Thursday, June 6,
     2019, commencing at 1:00 p.m., at the U.S. Patent and Trademark Office,
     600 Dulany Street, Alexandria, VA 22314.




                                         2
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 4 of 910 PageID #: 9584

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1                                 PROCEEDINGS
 2                                        - - - - -
 3            (Proceedings begin at 1:00 p.m.)
 4            JUDGE MITCHELL: Thank you. You may be seated.
 5   Sorry.
 6            Good afternoon, everyone. We have a final hearing
 7   this afternoon in two cases, IPR 2018-00739 and IPR 2018-
 8   00680. I'm Judge Mitchell and seated to my left is Judge
 9   Snedden, and with us by video conference is Judge Smith, who
10   should be here. Is Judge Smith on?
11            JUDGE SNEDDEN: Uh-huh.
12            JUDGE SMITH: Uh-huh.
13            JUDGE MITCHELL: Oh, great. Sorry.
14            JUDGE SMITH: Hello.
15            JUDGE MITCHELL: Great, thank you.
16            I would like to get appearances for the parties on
17   the record, and if we could start with the Petitioner.
18            MR. FLEMING: Good afternoon, Your Honor. I'm Mike
19   Fleming with Irell & Manella, and with me is Morgan Chu, as
20   well as Maclain Wells.
21            JUDGE MITCHELL: Great.
22            MR. FLEMING: And we all three will be arguing.
23            JUDGE MITCHELL: Great. Thank you.
24            MR. CHU: Good afternoon.
25            JUDGE MITCHELL: Good afternoon. And for Patent
26   Owner, please.


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                                                                     JA002554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 5 of 910 PageID #: 9585

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1            MR. ROSATO: Good afternoon, Your Honor. Mike
 2   Rosato on behalf of Patent Owner. I have with me for the
 3   counsel table Sonja Genrard, as well as Franklin Chu. Thank
 4   you.
 5            JUDGE MITCHELL: Thank you.
 6            Let me get a quick clarification from both of you-
 7   all, because as I understood from your requests for oral
 8   hearing, I think Patent Owner requested the two cases be
 9   separate, which is fine. It's just we could do the 739 first,
10   adjourn for a short bit, and come back and do the 680, and
11   have one record that gets submitted for both cases, so that
12   you can rely on -- you know, if claim construction issues are
13   similar, you're going to want to have that discussion in both
14   cases. So I want to make sure I understood right or if you
15   really do want separate transcripts.
16            Petitioner?
17            MR. FLEMING: Your Honor, we have prepared for
18   having separate hearings.
19            JUDGE MITCHELL: Okay.
20            MR. FLEMING: Because I will be arguing the 739
21   and --
22            MR. CHU: All right. The way we're going to proceed
23   is Mr. Fleming and I will argue '435.
24            JUDGE MITCHELL: Okay.
25            MR. CHU: And Mr. Wells will argue the '127 Patent,
26   referring to the patent numbers, but having a single unified


                                             4
                                                                     JA002555
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 6 of 910 PageID #: 9586

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   transcript as constituting the official record --
 2         JUDGE MITCHELL: For both cases.
 3         MR. CHU: For both cases makes sense.
 4         JUDGE MITCHELL: Okay. And -- and Patent Owner?
 5         MR. ROSATO: We have no objection to this
 6   suggestion, You Honor. I mean --
 7         JUDGE MITCHELL: Okay. Okay. So we will go forward
 8   with the '739. We'll take a short break and then come back on
 9   but have one complete record for both cases.
10         We set forth our procedure for how we're going to
11   handle this oral hearing in our order, but I want to go over a
12   couple of things as a reminder.
13         Each party will first present argument in the '739
14   case, and each party will have an hour for that case, and then
15   we will have a second hearing for the '680 case, and that
16   case, there's a 40, 45 minutes per side of total time.
17         And to assist Judge Smith in following along with
18   your argument and for the clarity of the record, it is very
19   important that you refer to an exhibit. When you refer to an
20   exhibit, that you state the exhibit number and the page number
21   to which you are referring, and when you're referring to a
22   demonstrative, that you state the slide number.
23         Petitioner has the burden of showing the
24   unpatentability of the challenge claims in both cases, so the
25   Petitioner will go first. The Patent Owner will then have an
26   opportunity to present its response and may reserve a small


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                                                                      JA002556
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 7 of 910 PageID #: 9587

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   amount of time for some rebuttal.
 2         We have reviewed Patent Owner's notice of objections
 3   to Petitioner's demonstrative exhibits. We're not going to
 4   exclude any of the demonstratives at this time for the
 5   hearing. The Patent Owner may certainly address any
 6   objectionable demonstrative in your argument time, if you
 7   choose.
 8         We also want to furthermore note for the record that
 9   demonstratives are evident -- or not evidence and will not be
10   considered as such. They're used for the benefit of those in
11   this room and for the benefit of the transcript that will
12   become part of the public record.
13         The Panel will distinguish evidence in the record
14   from argument appearing in demonstrative exhibits and all
15   arguments must be supported by evidence; already of record and
16   relied upon in the briefing. The Panel will not consider
17   arguments or evidence appearing only in the demonstrative
18   exhibits.
19         So with that, let me ask Petitioner if you'd like to
20   reserve time for rebuttal.
21         MR. FLEMING: Yes, Your Honor. So our
22   understanding, that is when we go first, we'll be addressing
23   both the principal case as well as the motion to amend.
24         JUDGE MITCHELL: Yes, I'm sorry. Yes, of course.
25         MR. FLEMING: And --
26         JUDGE MITCHELL: Well -- yes.


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                                                                      JA002557
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 8 of 910 PageID #: 9588

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1          MR. FLEMING: Or --
 2          JUDGE MITCHELL: I'm sorry, yes.
 3          MR. FLEMING: Would it --
 4          JUDGE MITCHELL: That's correct.
 5          MR. FLEMING: Would it be better that we do the
 6   principal case and then later, the motion to amend?
 7          JUDGE MITCHELL: I mean, however you've decided to
 8   do it, we'll -- we'll take the argument whatever you're
 9   comfortable doing. So that's fine, however you do.
10          MR. FLEMING: Okay. We'll -- we plan to reserve.
11   If we're going to go forward with the principal case and the
12   motion to amend first, we will reserve 30 for rebuttal.
13          JUDGE MITCHELL: Okay. Whenever you're ready.
14          MR. FLEMING: Your Honor, may I --
15          JUDGE MITCHELL: Oh, sure.
16          MR. FLEMING: Approach the Bench and present hard
17   copies?
18          JUDGE MITCHELL: Please.
19          MR. FLEMING: We might need the -- evidently the --
20          JUDGE MITCHELL: Oh, is it not working?
21          MR. FLEMING: Well, it was working just a minute
22   ago.
23          JUDGE MITCHELL: Oh, no.
24          MR. FLEMING: This is (indiscernible).
25          JUDGE MITCHELL: Would you like some help?
26          MR. FLEMING: Yeah, Your Honor. Could we get


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 9 of 910 PageID #: 9589

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   technical assistance?
 2         JUDGE MITCHELL: Can we have like a (indiscernible).
 3         FEMALE TECHNICAL STAFF: This equipment that they
 4   have it hooked up to, I can't mess with the equipment if they
 5   have it hooked up to --
 6         JUDGE MITCHELL: Oh, okay.
 7         FEMALE TECHNICAL STAFF 1: Because surely if
 8   somebody -- because it was up and then you shook it. It came
 9   up and it (indiscernible).
10         JUDGE MITCHELL: Whenever you're ready.
11         MR. FLEMING: Thank you, Your Honor. Appreciate the
12   patience. We should have it up here.
13         Okay. I'm ready, Your Honor.
14         JUDGE MITCHELL: Go ahead.
15         MR. FLEMING: Okay. Good afternoon. May I have
16   Slide 4, please?
17         The Petition challenges just Claims 1 through 20 of
18   the '435 patent.
19         And if I can have Slide 6, please? Here is the
20   independent claim before you. It's important to note that
21   what we have is a nucleic acid lipid particle comprising a
22   nucleic acid, a cationic lipid with this particular range and
23   non-cationic lipid with the 13 to 49.5 range and a conjugated
24   lipid from 05 mole to 2 mole range.
25         The key here, as far as patentability goes, it's the
26   cationic lipid comprising the range of 50 mole percent to 85


                                            8
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 10 of 910 PageID #: 9590

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   mole percent.
 2            I want to point out that the claim is not directed
 3   to a particular use or how effective the particle is, and it
 4   doesn't require that the particle is to be non-toxic or that it is in vivo or in
 5   vitro.
 6            If I have Slide 5, please.
 7            JUDGE SMITH: Counsel, could you speak up or perhaps
 8   be moved closer to microphone?
 9            MR. FLEMING: Yes, Your Honor. Can you hear me now?
10            JUDGE SMITH: Yes. Thank you.
11            MR. FLEMING: Just to test, can you hear me now?
12            JUDGE SMITH: Yes.
13            MR. FLEMING: Okay, great. I'll speak up.
14            If I can have Slide 5. There's no dispute that the
15   nucleic acid, the cationic lipid, the non-cationic lipid, and
16   the conjugate lipid are all known in the art.
17            If I can I have Slide 9, please? So turning to
18   claim construction. The term in the preamble is at issue, and
19   that's the nucleic acid lipid particle.
20            And the board's construction is correct. The
21   nucleic acid lipid particle is a particle that comprises a
22   nucleic acid and lipid, where the nucleic acid may be
23   encapsulated.
24            Now Slide 11, please. The intrinsic evidence
25   supports this construction in Column 11, Lines 14 through 22.
26   The '435 Patent defines lipid particle has a lipid formulation


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 11 of 910 PageID #: 9591

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   that can be used to drive nucleic acid for the nucleic acid
 2   making it encapsulated in the lipid.
 3         A person of ordinary skill in the art would derive
 4   that the nucleic acid lipid particle comprises a nucleic acid
 5   and a lipid. And I want to point to Dr. Janoff's testimony in
 6   his reply declaration on Page 13 that affirms this.
 7         May I have Slide 15, please? The '435 Patent in
 8   Column 11, Lines 23 through 46 also define a stable nucleic
 9   acid lipid particle, SNALP, as a particle made from a lipid,
10   wherein the nucleic acid is fully encapsulated.
11         So the term nucleic acid lipid particle encompasses
12   SNALP, but does it -- but is not so limited.
13         JUDGE MITCHELL: What happens to your case, if we
14   agree with Patent Owner and we think that Claim 1 is limited
15   to a SNALP?
16         MR. FLEMING: Your Honor, as we point out in our
17   petition, that the 554 Publication actually teaches
18   encapsulation of the nucleic acid in the particle. So as
19   you're correctly pointing out, even if they do get this
20   narrower term, which I don't believe is the broadest
21   reasonable, it still won't matter as far as what the prior art
22   teaches.
23         May I have Slide 19, please? Which really takes me
24   to Ground 3. And Claims 1 through 20 are anticipated by or
25   obvious in view of the 554 Publication.
26         If I can have Slide 21, please? There is a formula


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 12 of 910 PageID #: 9592

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   that was tested, and that is L054 that reads on the claim.
 2   The first thing is that it teaches that the nucleic acid lipid
 3   particle in Table 4 and in Example 17 encapsulates siNA.
 4            May I have -- can you pull up the Example 17?
 5            MALE TECHNICAL STAFF: I can't get back into that.
 6            MR. FLEMING: Oh, okay. Well, not a problem.
 7            Example 17 is -- explains the preparation of the
 8   nanoparticle that encapsulates siNA formulation that's shown
 9   in this Table 5 -- 4.
10            May I have Slide 22, please? So you can see in the
11   Table 4, it teaches a cationic lipid that it's 50 percent --
12   50 mole percent, which is within the range.
13            If I can have Slide 23, please? It also teaches a
14   non-cationic lipid. That's 48 percent. That's within the
15   range.
16         And if I could have Slide 24, please? It also
17   teaches a conjugated lipid. That's two percent. That's also
18   in the range.
19            JUDGE MITCHELL: So are these all referring to a
20   starting formulation and not necessarily a particle?
21            MR. FLEMING: No, Your Honor. This is referring to
22   a particle. And in the art -- and we have testimony for both
23   the experts that that's how they refer to the particle, but,
24   indeed, it was formulated as a particle.
25            So if we can go to Slide 30, please? We also have
26   overlapping ranges, and we can establish a prima facie case of


                                              11
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 13 of 910 PageID #: 9593

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   obviousness.
 2         So if I can go to Slide 32, please? The 554
 3   Publication teaches, in Paragraph 0313, the nucleic acid
 4   particle formulation that in -- formulation that encapsulates
 5   siNA and if we have the overlapping ranges.
 6         And if I could have Slide 31. This summarizes and
 7   shows side-by-side the overlapping ranges.
 8         If you could go to Slide 61, please? I want to
 9   point out that the Patent Owner has not been able to establish
10   unexpected results, and the key here is that looking at
11   Example 3, which they relied on heavily, there's really only
12   three points that are within the range -- within the scope of
13   the claim. And those three points don't show that it's
14   commensurate in scope with the entire range of the claim.
15         But even if you look closer at what the table is
16   teaching you, if we can go to Slide 62, please? Here, what we
17   have is the Figure 2 that shows all the groups in the
18   comparison. And so Groups 2 through 10 and 12 have cationic
19   lipids less than 50 percent mole. So if you look at Figure 2,
20   it shows the test results of each of these groups. And so
21   what is going on here is you have -- for each group, four mice
22   were administered 1:57 SNALP.
23         And the upside-down T, if I can show second slide of
24   62? Can I have the next slide? When you have the upside-down
25   T, it represents experimental error between these experiments.
26   So when you consider the experimental error, Groups 2 through


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 14 of 910 PageID #: 9594

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   5 have similar results compared to 14.
 2         So if we can have the next slide, please. So the
 3   other aspect of this figure that is important to understand is
 4   the vertical axis; lower is better.
 5         Can I have the next slide, please, and the next
 6   slide. You don't? Is that all I have?
 7         MALE TECHNICAL STAFF: Yeah, it's all for 62.
 8         MR. FLEMING: So if you look on the Y-axis, the
 9   vertical axis, lower is better because what that is showing is
10   that it's showing how effective the formulation is in
11   silencing the target gene, so you want a lower value there to
12   show that it's more effective.
13         Okay. So if you look at -- if I can go to the next
14   slide? So the prior art is 2:40, and that's the 40 percent
15   cationic lipid and 2 percent conjugate. And that's what you
16   need to compare to determine whether you have unexpected
17   results because that is the closest prior art.
18         And there, you see, that for Group 7, it's really --
19   can I have the next slide? See if it does -- so if you look
20   at Group 14, it's worse than the prior art, and if you look at
21   -- if you go to the next slide, please? If you have Group 13,
22   it's no better or worse than the prior art.
23         If I have next slide, please? And if you look at
24   Group 12 versus Group 11, it's pretty close. So, at best, all
25   you have is one point, but it's certainly not surprising
26   unexpected results. It's very close to what was the prior


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 15 of 910 PageID #: 9595

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   art.
 2          May I have the next slide, please? The Patent Owner
 3   is relying on surprising results for the placebo. But the
 4   problem there is it's not proper to compare to the procedural
 5   or placebo. You need to compare to the prior art.
 6          So if we could go to Slide 67? What is not
 7   addressed by the Patent Owner is the fact of how broad this
 8   claim is. So to be considered -- to be commensurate in scope
 9   with this claim, it's not only showing how effective the
10   particle is, but what you also have to show -- well, what
11   about all the payloads? It could be -- because you have a
12   very broad term, nucleic acid, which can be a bunch of
13   different payloads.
14          So they certainly haven't shown surprising and
15   unexpected results for all the payloads. And, again, there's
16   only a few lipids that were tested and only a few
17   formulations. So there's a problem here. It's just not --
18   they're showing us -- this is not commensurate in scope for the
19   claim. I'm going to --
20          JUDGE MITCHELL: Is it your position that -- you
21   know, I'm trying to figure out how much testing would they
22   actually have to show to basically show that they have the
23   full range of their claim? I mean, what is -- what is your
24   suggestion? I mean, they can't possibly formulate every lipid
25   particle that would be within the claim. I mean, we don't
26   hold them to that kind of a standard to say that they already


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 16 of 910 PageID #: 9596

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   achieve or at least support the scope of a particular range in
 2   a claim.
 3         MR. FLEMING: Yes, Your Honor. What would be
 4   required would be enough testing to show that -- to one of
 5   ordinary skill in the art that these surprising and unexpected
 6   results would result -- you know, that you'd have enough test
 7   to show that you would have a same -- unsurprising unexpected
 8   results for the entire range, for one. But the other issue
 9   though is, again, you also need to show that you have testing
10   across the nucleic acid as well. So here we only have siNA
11   payloads.
12         So, again, this claim is very, very broad, Your
13   Honor, and so there lies the problem.
14         If there's not any further questions, I'd like to
15   turn it over to Morgan Chu to argue the motion to amend.
16         MR. CHU: Good afternoon again, Your Honors.
17         I want to start with what the Patent Owner argues
18   are two new limitations and then later, I'll go to the
19   modified ranges.
20         The first alleged limitation is adding to new
21   independent Claim 21, the phrase, serum-stable. And as Your
22   Honors will know, looking at that new proposed Claim 21,
23   serum-stable appears in the preamble.
24         Now, this is not a lonely patent prosecutor who's
25   overworked writing claims for many different patents. This is
26   a team of lawyers in a hotly contested IPR proceeding where if


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                                                                      JA002566
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 17 of 910 PageID #: 9597

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   they wanted serum-stable to be a limitation, it would have
 2   been easy to put it in the body of the claim.
 3         Now, let's suppose for the moment they did that,
 4   which they didn't do. If you have your copy of the '435
 5   Patent handy, I want to show that serum-stable does not add a
 6   limitation that the claim must be in vivo or involves systemic
 7   delivery.
 8         And the second argument that the Patent Owner is
 9   making about the term serum-stable is that it requires
10   encapsulation. Those two arguments.
11         So if you have your patent handy and can go to
12   Column 13, Line 32, or I can pull it up on the screen. We'll
13   do both. Okay. Column 13, Line 32, and then let's highlight
14   that language, third -- Line 32 through 37. Column 13, 32
15   through 37. And we'll highlight the word -- okay.
16         You see, serum-stable is defined by the Patent Owner
17   in a particular manner. It is a defined term in the '435
18   Patent. And if you look at that language, there is nothing in
19   that language that requires in vivo use or systemic delivery
20   whatsoever. Indeed, if you go to the following lines in
21   Column 13, starting at Line 38 through 41, it's the beginning
22   of the definition of another defined term, quote, systemic
23   delivery. And if you look at that language, systemic delivery
24   is intended to be in vivo.
25         So if the Patent Owner, in proposing amended claims,
26   wanted to have the claims limited to in vivo or systemic use,


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                                                                      JA002567
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 18 of 910 PageID #: 9598

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   instead of using serum-stable, which doesn't include an in
 2   vivo limitation, he could use the next definition, systemic
 3   delivery. They chose not to do so.
 4         JUDGE SNEDDEN: In the definition for serum-stable,
 5   you have a reference to assays that can be used to test
 6   whether or not the particle is serum-stable.
 7         MR. CHU: Yes. And we will see actual testimony by
 8   Dr. Thompson after I leave the language of the claims where he
 9   is saying that the claim includes in vitro, so we will get to
10   that. It can include it. But remember where we are. We're
11   looking at some words added to the preamble, so although there
12   can be an argument that they are -- could be read, as being a
13   limitation, the general law is, no, you start out, it's just
14   the preamble, and unless it's necessary to give life, and
15   meaning, and vitality to the claim, it's just a preamble.
16   It's not a limitation. If the Patent Owner wants it clearly to
17   say it is limited to in vivo, they could have used the
18   definition, systemic delivery.
19         Second point, on encapsulation. The serum-stable
20   definition we were looking at in Column 13, line -- beginning
21   at Line 32 did not say encapsulate. If the Patent Owner
22   wanted the new proposed Claim 21 to require encapsulation as a
23   limitation, there's a handy word to do that, and that is to
24   add the word encapsulate. But in addition --
25         JUDGE SNEDDEN: That --
26         MR. CHU: Yes?


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 19 of 910 PageID #: 9599

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1             JUDGE SNEDDEN: That would suggest that you can have
 2   a serum-stable particle without it being encapsulated.
 3             MR. CHU: Yes, I agree.
 4             JUDGE SNEDDEN: Okay.
 5             MR. CHU: Okay.
 6             JUDGE SNEDDEN: And then --
 7             MR. CHU: But --
 8             JUDGE SNEDDEN: Then the next question will be, how
 9   would something pass these assays and also be serum-stable if
10   it was not encapsulated?
11             MR. CHU: Okay. So let me get to that. But I
12   just --
13             JUDGE SNEDDEN: Okay.
14             MR. CHU: I'm told there's some problem if I try to
15   switch to --
16             JUDGE SNEDDEN: Sure.
17             MR. CHU: Some pre-prepared slides from the language
18   of the patent. Let me just show you what else the Patent
19   Owner could have done --
20             JUDGE SNEDDEN: Okay.
21             MR. CHU: If it wanted to say encapsulate. There's
22   a limitation.
23             So there's the possibility of using the word
24   encapsulated. There's another possibility. And it includes
25   the possibility of defining the new Claim 21 as a SNALP
26   because if you go to Column 11 starting at Line 23, the term


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 20 of 910 PageID #: 9600

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   SNALP is also a defined term, which includes being fully
 2   encapsulated.
 3         So quick points, one, serum-stable was just in the
 4   preamble. It's no limitation. If we pretend for the moment
 5   it was a limitation, which it is not, the choice of the defined
 6   -- particular defined terms and not others and not using clear
 7   words would not limit the claims to either in vivo or
 8   encapsulation.
 9         So let me go to some of the slides. And maybe we'll
10   just go to 78 for a second, and you can see serum-stable there
11   in the preamble.
12         And then let's go to the next slide. I'm going to
13   do my own work. It's a different definition of full-service
14   lawyer. Someone who's going to advance the slides himself.
15         So these are the changes that I will be discussing,
16   and I will try to answer Your Honor's questions along the way
17   here. And just to look for a moment at the Whereas clause,
18   there's an argument being made about the Whereas clause
19   possibly adding a limitation other than what the plain language
20   states. And, here, it's pretty clear that this can be done in
21   a Petri dish. So contrary to the lawyer's argument, this is
22   not suggesting anything about in vivo for degradation. And
23   this was Slide 86. Okay.
24         Let me go to 87, and this is just showing of the
25   three principal references, the 554 Publication, Exhibit 1004,
26   the 196 PCT, which is Exhibit 1002, and the 198 publication,


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 21 of 910 PageID #: 9601

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   which is Exhibit 1003 on the Slide 87, that the nuclease
 2   degradation resistance was disclosed in the prior art, so the
 3   wherein clause is not adding anything new.
 4         Let me go to the new narrow ranges. You see them in
 5   blue highlighting in Slide 88. You can tell from the
 6   brackets, it shows the original range. So for the cationic
 7   lipid, the original range was from 50 to 75 percent of -- the
 8   original was from 50 to 85 percent, and the new range is from
 9   50 to 75 percent. And as Mr. Fleming already addressed in the
10   554 Publication, this is Slide 89, we see the range covered as
11   well as the second range in Slide 90.
12         And the next Slide 92 shows that the prior art still
13   overlaps for the proposed cationic lipid range from 50 to 75.
14         And in Slide 93, we show the actual overlap and note
15   that the relative amount of overlap is greater than it was in
16   the original claim, which was from 50 to 85. By narrowing the
17   original claim, there's relatively more overlap as shown in
18   93.
19         And then the point about the lack of surprising and
20   unexpected results can be shown in Slide 96. You've seen this
21   before, Figure 2. You see Group 7, and Group 12 is the prior
22   art, 14 is worse than the two pieces of prior art, 13 is worse
23   than Group 12 and about the same as Group 7, so neither worse
24   or no better. And if you compare Group 11 to Group 12, it's
25   hard to tell whether there is any meaningful statistical
26   difference between the two because of the error bars. And, in


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 22 of 910 PageID #: 9602

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   fact, Dr. Janoff discusses the fact that in his opinion,
 2   looking at the figure, it's hard to read of course. In this
 3   tight comparison, he said in effect, it's likely not
 4   statistically significant. It's very close.
 5         But let's for the moment, for the purposes of
 6   argument, say that the Patent Owner has one data point for
 7   this very broad range of 50 to 75 cationic percent.
 8         In answer to Judge Mitchell's question earlier, it
 9   cannot be the case for that broad range. A single data point
10   is commensurate with the scope of the range. Indeed, that 50
11   to 75 percent includes 70 to 75 percent no data point that the
12   Patent Owner points to is in the 70 to 75 percent. And the
13   record is replete with the fact that slightly different
14   combinations can lead to grossly different results.
15         So even if the Patent Owner has one data point that
16   shows or maybe shows somewhat better results, it is not
17   commensurate with showing surprising and unexpected results
18   for the entire range.
19         So you've seen the -- we call the PBS, the inert of
20   placebo standard.
21         And before I go to the next point, I think Judge
22   Snedden, you asked a question, and chemically modified siRNA,
23   for example, can avoid the degradation. I believe that's in
24   the record, and maybe someone's going to find the exact
25   paragraph for that.
26         If you go to --


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 23 of 910 PageID #: 9603

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1          JUDGE SNEDDEN: Before we read the spec, is there
 2   anything that spec about a chemically modified nucleic acid or
 3   a particle?
 4          MR. CHU: We will look that up, and if I don't get
 5   to it in the little bit of time, I have here --
 6          JUDGE SNEDDEN: To me, the amended claim essentially
 7   refers -- but -- it recites serum-stable, you go to the
 8   definition of specification, it -- it gives you a brief
 9   definition of that, and what -- in that is that it must
10   survive exposure to nuclease.
11          MR. CHU: So --
12          JUDGE SNEDDEN: And you have referenced here DNA's,
13   RNA's acid. And if you read that in the context of the
14   specifications, it seems the only way that they're attempting
15   to achieve that with this invention is through encapsulation;
16   is that correct or --
17          MR. CHU: Because I've run over the time, let me
18   just on a somewhat different --
19          First of all, we will answer your question. My
20   colleagues are --
21          JUDGE SNEDDEN: Okay.
22          MR. CHU: Looking through the spec and other
23   references now, and when I get up -- stand up to give rebuttal
24   testimony, hopefully, I'll have a cogent answer to that.
25          Let me just finish by saying there are other slides
26   as well as in our briefs.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 24 of 910 PageID #: 9604

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         Because this is a contingent motion to amend, then
 2   Section 112 comes into play. And we put forth in the papers
 3   why the written description requirement is not met and the
 4   claim -- the amended claim as proposed is not enabled. And if
 5   need be, I'll come back and address those in greater detail.
 6         So I have your question in my journal.
 7         JUDGE SNEDDEN: Sure.
 8         MR. CHU: Thank you.
 9         JUDGE MITCHELL: Thank you.
10         MR. ROSATO: Before I get started, a question on --
11   a clarification --
12         JUDGE MITCHELL: Sure.
13         MR. ROSATO: -- that the order on granting oral
14   hearing, you mentioned the ability that you mentioned here
15   today, Your Honor, to receive a short amount of time?
16         JUDGE MITCHELL: Yes.
17         MR. ROSATO: What do you mean by short?
18         JUDGE SNEDDEN: I think you have a maximum of five
19   minutes of rebuttal time that you can save.
20         MR. ROSATO: Okay. I'll reserve five. Thank you.
21         Let start out on Slide 3. So this is actually a
22   point of clarification on the slides that were submitted. I
23   think that this listing of original Claim 1 inadvertently had
24   a typographical error, including the term serum-stable that
25   appears only in the amended claims of course, but that's been
26   corrected here. I hope nobody has a problem with that, but


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 25 of 910 PageID #: 9605

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   we're showing the actual claim here.
 2         But just looking at the '435 Patent, and very
 3   briefly, these are directed to lipid particles designed for
 4   the delivery of nucleic acid (indiscernible) payloads. And
 5   the '435 Patent is a very important patent for a number of
 6   reasons, but it's -- one of which is it's listed in the FDA's
 7   orange book as covering the Patisiran Onpattro commercial
 8   product, which was the first in class -- first nucleic acid
 9   delivery drug that's been approved by the FDA and is now
10   approved for use in humans in Europe, as well as the United
11   States.
12         This is of course important because this has been
13   characterized in the literature, and in the industry, as a
14   game-changing development and because Patent Owner's delivery
15   technology has been specifically credited in the literature as
16   a vital component of that success.
17         There are a number of challenges that have been
18   advanced; each of them fail for a number of reasons. I'm
19   going to attempt to address. It's a little bit out of order
20   on the slides, but I'm hoping following the order that was
21   presented is more convenient for everyone.
22         So with that in mind, I want to turn to Ground 3,
23   which is at Slide 21 in the demonstrative exhibits.
24         So while we're getting there, ground -- we know that
25   Grounds 1 and 3 both presented an obviousness theory, and I'll
26   return to the obviousness theory, but I wanted to address


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 26 of 910 PageID #: 9606

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   first the anticipation theory that's raised in Ground 3. And
 2   that specifically is alleged anticipation over this L054
 3   mixture. And as Your Honor, Judge Mitchell, correctly pointed
 4   out, L054 mixture is a lipid mixture for making particles, not
 5   a particle itself. There's never been any dispute on that
 6   until today.
 7         I was surprised to hear counsel incorrectly
 8   characterize the L054 of Table 4 as a particle. That is
 9   categorically false. The evidence is uniformly supportive of
10   the falsity of that charge. It's not a particle. It's a
11   starting lipid mixture for making particles. There is never
12   any discussion in the petition materials about any particle.
13   This appears to be a complete oversight and misinterpretation
14   on behalf of Petitioner and the petition materials, but it's
15   not been challenged. In fact, I'm going to bring up
16   Petitioner's demonstrative Exhibit 25.
17         This issue -- again, this has not been challenged
18   until today, so I was surprised to hear this. Even Dr.
19   Janoff, in his reply declaration, readily admits that the --
20   the 554 Publication is describing input percentages as opposed
21   to the composition of the final particles.
22         Their only response to that is, Well, that might all
23   be true, but everybody did that, so that's conventional. So
24   there's -- as far as the factual matter, it's not disputed
25   that that is a lipid mixture, not a particle. In terms of the
26   response that everybody did this and this was conventional,


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 27 of 910 PageID #: 9607

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   it's not responsive to the point.
 2         The claims are directed to nucleic acid lipid
 3   particles. They're not -- they do not recite a starting
 4   mixture for making particles. So pointing to the starting
 5   mixture is not sufficient to establish anticipation with this
 6   aspect of the claim. And this all matters, of course, because
 7   as set forth in the briefing and established with evidence of
 8   record, one does not simply assume that the particles that
 9   result from a process have the exact same lipid composition as
10   the starting material. And that's particularly important in
11   the context of 554 for a number of reasons, which, again, are
12   laid out in the record and well supported with evidence.
13         It's particularly important because in 554, there is
14   no disclosure of particle composition. They don't report any,
15   they don't characterize any, and they don't claim to
16   characterize any. It's also important because there were very
17   specific reasons to call into question the -- what the 554
18   particle composition, whatever those resulting particles look
19   like, there are reasons to call into question the -- exactly
20   how much they would deviate from the starting materials. And
21   there are a number of reasons as explained
22   -- by both the literature explained by Dr. Thompson, agreed
23   upon by Dr. Janoff, that you would expect significant
24   deviations because different components -- different lipid
25   components, given the processes, the limited amount of detail
26   of the processes in 554, you'd expect different incorporation


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 28 of 910 PageID #: 9608

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   efficiencies for different lipid components. And that's going
 2   to result in particles that throw out of whack the lipid
 3   composition compared to what the starting material was.
 4         This is all very well-documented, supported with
 5   evidence, not just attorney argument, and doesn't fit in, as
 6   far as I can tell, is not opposed anywhere in the record, and
 7   for -- in fact, agreed upon as illustrated by Petitioner's own
 8   evidence.
 9         Let me turn to that claim construction issue, and
10   I'll go to Slide 4. So as everybody here knows, as part of
11   the Petitioner's responsibility as moving party, they bear the
12   requirement of the statute and the relevant board rules to set
13   forth and establish exactly how claims are to be construed.
14   So we're talking -- we're going to talk about the construction
15   of the term nucleic acid lipid particles. And for that term,
16   there have now been advanced by Petitioner, three different
17   constructions. The first is the construction that was
18   advanced in the petition materials. The second is a
19   construction that is advanced by Dr. Janoff during cross-
20   examination, where he repeatedly testified that he believed
21   that the claim particles were very specifically defined as
22   SNALPS, and we'll go through that testimony. And then third,
23   in the reply, and this was surprising when the reply materials
24   came in, despite having advanced two different constructions,
25   the reply comes out with an entirely conclusory comment that
26   the Board's preliminary construction is appropriate. There's


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 29 of 910 PageID #: 9609

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   no analysis as to why that is or why they believe that to be
 2   the case. There's no discussion of why that's appropriate in
 3   view of the specification or any other piece of evidence.
 4   It's entirely conclusory argument as to just a statement that
 5   it's appropriate.
 6         I think there is some additional argument or
 7   attempted argument to substantiate that here. The lack of
 8   explanation is an issue we specifically raised in our
 9   sur-reply materials that there was no argument or evidence
10   substantiating this agreement. So to the extent they're
11   trying to add argument here today, that's obviously improper.
12   But there are reasons why it's not appropriate, and we address
13   that in our briefing. I'm happy to address that in further
14   detail here today, but I want to go through each of these
15   constructions in order, and the first one that is very easy to
16   dispense with is the one that was presented in the petition.
17   It's easy to dispense with because that's already been
18   rejected as unduly broad by the Board in the institution
19   decision, and Petitioner seems to have completely abandoned
20   that construction.
21         Turn to Slide 5. What's curious, however, is that
22   ever since cross-examination, while Dr. Janoff was very
23   specific and very adamant about his position on how the claim
24   terms could -- should be construed, there's been virtually no
25   comment on that position by Petitioner in their briefing or
26   even here today. They've essentially ignored that. And it's


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 30 of 910 PageID #: 9610

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   not something that can be ignored. It's -- again, Dr. Janoff
 2   was very specific about that. He testified during cross-
 3   examination that -- and repeatedly and consistently, that he
 4   interpreted the claimed nucleic acid lipid particles as
 5   reasonably being defined as SNALPS, and he testified that
 6   interpretation was -- supported both by the patent
 7   specification, as well as the content and the context of the
 8   relevant prior art. And that's shown on some of the
 9   testimony on the slide here, on Slide 5.
10         Let's turn to Slide 6. Not only was Dr. Janoff
11   clear in his position, but he was specific as to the basis of
12   his opinion. As he previously stated, he indicated a support
13   both by the specification as well as the relevant context in
14   the art, and he also pointed to specific content in the
15   specification. Now, he's pointing to the '127 Patent, but the
16   provisions he was pointing to in the '127 Patent, as we point
17   out in our briefing are identically recited in the
18   specification of the '435 Patent.
19         The answer from Petitioner as to why -- you know,
20   why Dr. Janoff said this and what their response is, I don't
21   know because I haven't heard it at this point.
22         JUDGE SMITH: Counsel, could you address the issue
23   of this extrinsic evidence from Dr. Janoff and our role --
24   these -- the extrinsic evidence and the intrinsic evidence
25   that we're looking at is ultimately, it's a question of law
26   that we're going to be deciding, and you know, I want to know


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 31 of 910 PageID #: 9611

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   whether it's proper to consider this Janoff testimony or not.
 2         MR. ROSATO: Well, that's a good question.
 3         Of course, it's appropriate to consider it when the
 4   moving party's expert and that party who bears the
 5   responsibility of setting forth the scope of their challenge,
 6   one of those responsibilities being defining how the claims
 7   are to be construed, has offered a construction, and we're
 8   asking what the basis of the challenge is. So the -- of
 9   course that has to be considered on multiple levels.
10         And you know, I guess, if you were to reject that
11   construction, then I would ask how does that not carry over to
12   the basis of the Petitioner's challenge and ultimate burden of
13   proof to begin with?
14         JUDGE SMITH: Well, does this extrinsic evidence
15   trump the intrinsic record?
16         MR. ROSATO: I think there's an assumption there
17   that there's a difference, and I'm not sure that there is.
18         So if there's some particular difference that's
19   contradicted, I can address that, but I don't -- to be honest,
20   I don't think -- and we'll get to this. We address in our
21   briefing, but I don't think there's any meaningful difference
22   between the construction that Dr. Thompson advanced, which is
23   extremely well-grounded and unassailable in view of the
24   specification and what Dr. Janoff is -- is proposing.
25         JUDDGE SMITH: Well, I'm just -- I'm a little -- you
26   know, what -- we've already come out with a construction or


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 32 of 910 PageID #: 9612

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   proposed construction. And I think it would be helpful to
 2   explain why that's wrong if you believe it's wrong, and, you
 3   know, relying on -- you know, it'd be more helpful to point to
 4   the specification or some of the intrinsic record, if you have
 5   that, than just relying on what either expert says.
 6         MR. ROSATO: Well, I mean --
 7         JUDGE SMITH: Like, for me --
 8         MR. ROSATO: I agree, we need to talk about the
 9   specification. I would have to say we cannot ignore what the
10   moving party's expert is stating. That cannot be ignored for
11   many reasons.
12         JUDGE SMITH: Okay.
13         MR. ROSATO: Okay?
14         JUDGE SMITH: Thank you.
15         MR. ROSATO: But turning to -- why don't we turn
16   Slide 7. Okay.
17         So this -- let me get to maybe some of the -- what
18   you're more interested in, Judge Smith, and that is looking at
19   the Board's preliminary construction versus the construction
20   that was proposed by Dr. Thompson and -- and how that's
21   supported in the specification.
22         Now, what's shown here on Slide 7 is reflective of
23   Dr. Thompson's construction, rather than the Board's, but what
24   -- the difference -- the key difference is with regard to the
25   encapsulation issue. And with -- what comes out in the
26   Board's construction is an indication that a nucleic acid


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 33 of 910 PageID #: 9613

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   lipid particle may permissively include the nucleic acid
 2   encapsulated in the particle, so as to protect that nucleic
 3   acid from enzymatic degradation. That's where Dr. Thompson
 4   took issue as that can -- that construction -- that
 5   preliminary construction by the Board as being unduly broad,
 6   and not supported by the specification, and overlooking some
 7   other pertinent disclosure.
 8         And, in particular, what Dr. Thompson explains is
 9   that the construction that was proposed was very focused on
10   disclosure and the specification around a different term, not
11   the term nucleic acid lipid particle, but disclosure about a
12   definition of the more -- the broader term, lipid particle.
13   Okay? So that matters because the claim term is nucleic acid
14   lipid particle, not just lipid particle. And as shown here on
15   Slide 7, there's pertinent disclosure in the specification
16   that requires yet further refinement of the construction that
17   the Board had proposed.
18         And, in particular, I would point to Column 11,
19   Lines 51 through 54, where the specification states, in no
20   unambiguous terms, that nucleic acids when present in the
21   lipid particles of the present invention are resistant to a --
22   in aqueous solution to degradation with a nuclease. And you
23   see other areas of the specification. Again, this is addressed in
24   the briefing where stability encapsulation -- I'm sorry --
25   encapsulation is defined as a -- testable measure based on
26   resistance to enzymatic degradation. That is precisely --


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 34 of 910 PageID #: 9614

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         JUDGE SMITH: So how -- counsel, right. Counsel,
 2   how does -- so just how does nucleic acid lipid particle, how
 3   is that different than a SNALP as defined?
 4         MR. ROSATO: You'd have to ask Dr. Janoff that
 5   question. This is the construction that Dr. Thompson
 6   proposed. Dr. Janoff was very adamant in his position that,
 7   no, it is a SNALP. At the end of the day -- and, again, this
 8   is something we addressed in the briefing, as well as Dr.
 9   Thompson's testimony that, you know, it's less -- I guess I
10   would answer that as saying, what's explained as, there's not
11   -- it's hard to find any meaningful daylight between what Dr.
12   Janoff is saying about SNALP and the construction that
13   requires encapsulation because encapsulation is -- what's
14   described in the specification as a characteristic that's
15   conferring the stability or instability of the particles.
16         So to the extent, you know, that's what Dr. Janoff
17   had in mind, well, that makes some sense and is well supported
18   by the specification. But you know, I would say that -- I
19   would pose that question to Petitioner. This is why it's
20   somewhat curious that they've never addressed the position of
21   their expert, and, you know, and that's just a difficult
22   position to put the non-moving party in, when the moving
23   party's expert is proposing a construction, and then I'm the
24   one being asked to defend that position.
25         We've proposed economic --
26         JUDGE SMITH: No, I meant -- I'm actually just


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 35 of 910 PageID #: 9615

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   asking a simple question. Is it Patent Owner's position that
 2   the term nucleic acid lipid particle as used in the claims
 3   should be construed in the same manner that we would construe
 4   the term SNALP, that those terms are interchangeable or if --
 5   and if not, what is the distinction that Patent Owner views
 6   from their patent?
 7         MR. ROSATO: Our position is the term nucleic acid
 8   lipid particle must include a nucleic acid encapsulated in the
 9   particle so as to protect the nucleic acid from enzymatic
10   degradation, and that's a position that's well-supported and,
11   quite frankly, unassailable in view of the specification.
12         Now, beyond that, as far as Dr. Janoff's position,
13   if that is the position that is adopted, that's what they're
14   advancing, then our position is we wouldn't oppose it.
15         As far as the difference that he had in mind, I have
16   no idea. I honestly would like to hear from Petitioner on
17   this point. I don't know.
18         JUDGE SMITH: Okay. Thank you.
19         JUDGE SNEDDEN: Now, when we look at claim --
20   substitute Claim 21, we see the word serum-stable and in
21   reference to a nuclease test, but in the Claim 1 here, there
22   is no -- there's -- you haven't used the word stable or serum-
23   stable. It only -- in the preamble, it states nucleic acid
24   lipid particle, and then there's no indication that the claims
25   cover something that's nuclease resistant.
26         So how do we get to encapsulation and nuclease


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 36 of 910 PageID #: 9616

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   resistance using the words in Claim 1?
 2         MR. ROSATO: So for the original claim, you know, I
 3   would direct your attention to the proposed construction
 4   where, again, the specification states that nucleic acids,
 5   when present in the lipid particles, they are resistant in aqueous solution to
 6   degradation with a nuclease. And
 7   when you look at the definition of serum-stable, its defining
 8   serum stability as resistance to enzymatic degradation. And
 9   when you look at description of how to test for encapsulation,
10   it's defined by resistance to nuclease degradation.
11         This is what I mean by there's -- it's hard to find
12   any meaningful difference between that, and it's also why in
13   our contingent motion, we specifically pointed out that,
14   honestly, there were aspects of putting in that additional
15   terminology, that would seem to be superfluous in view of some
16   aspects of a proper construction.
17         I would add that there were additional limitations
18   within the body of the claim, the wherein clause that
19   specifically recite a method. The -- basically the standards
20   are -- I know I'm (indiscernible) the claim, but allow me to
21   talk loosely about it, but read -- recite the aspects of nuclease resistance.
22         JUDGE SNEDDEN: I understand. So are we arguing the
23   motion to amend now or -- because that language is not in
24   Claim 1?
25         MR. ROSATO: I'm not arguing that. I'm responding
26   to your question.


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                                                                                JA002586
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 37 of 910 PageID #: 9617

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         JUDGE SNEDDEN: Okay, great.
 2         MR. CHU: Yeah.
 3         JUDGE SNEDDEN: So my question though is that I
 4   understand this with respect to substitute claim 21, but when I
 5   look at Claim 1, the words nucleic acid lipid particle, I
 6   understand you, the argument that you're making, there's not
 7   much daylight between nucleic acid lipid particle and the
 8   SNALP, but that language only appears in the preamble of Claim
 9   1; nowhere else in the claim. So then we have to consider
10   whether or not that's a limitation, even though it appears in
11   the preamble, and then when we get to the body of the claim,
12   there's no -- what is it in the body of the claim that points
13   me to encapsulation or brings me to encapsulation or to an
14   assay that requires a nuclease test?
15         MR. ROSATO: I would say that the subject there, the
16   language in the claim is what you see here the nucleic acid
17   lipid particles and --
18         JUDGE SNEDDEN: Which is in the preamble.
19         MR. ROSATO: Which is in the preamble, and for --
20         JUDGE SNEDDEN: Then why is that a limitation of
21   this claim?
22         MR. ROSATO: Because it's hard to say that doesn't
23   breathe life into the claim when it is defined in the
24   specification as the invention. And that is actually where
25   Dr. Janoff's testimony is also quite pertinent, if we're
26   looking at aspects of what it -- how would someone understand


                                            36
                                                                       JA002587
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 38 of 910 PageID #: 9618

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   the invention here. His testimony in -- is certainly
 2   pertinent in that regard, if he's doing the invention as being
 3   these -- as including serum stability, the very aspects that
 4   from this construction, I think are very -- it's a very
 5   reasonable position to say that this is -- you know, this is
 6   included. It's hard to say that what also is reflected in the
 7   specification as critical aspects of the invention are not
 8   required by the claim or breathe life into the claim.
 9         JUDGE SNEDDEN: Understood. Thank you.
10         MR. ROSATO: Thank you. Thank you for the question.
11         If I may, I would like to turn to a discussion of --
12   let's turn to Slide 8 and the discussion of this theory of
13   obviousness that's advanced for claims -- excuse me -- for
14   Grounds 1 and 3.
15         So both of those grounds advance an obviousness
16   theory based on these -- identification of these ranges in the
17   prior art. Now, albeit the two grounds are referring to
18   different references, but I'd like to address the theory in
19   general and the theory as presented in the context of both
20   grounds.
21         But in each of those cases, in each of those
22   instances Grounds 1 and 3, Petitioner's whole case relies on
23   this mere identification of ranges for individual lipid
24   components in the art. And that's essentially the entirety of
25   the argument. Petitioner essentially drops the microphone
26   once they've identified those ranges and concludes that


                                             37
                                                                      JA002588
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 39 of 910 PageID #: 9619

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   obviousness must be found. And in doing so, they're pointing
 2   to cases like in In re Peterson, and now, more recently
 3   DuPont. It's an important discussion to be had here as
 4   to that theory of obviousness.
 5         Before we get, you know, to those cases in that
 6   aspect, it is worth pointing out that what is missing from the
 7   petition materials, and we've addressed this throughout our
 8   briefing, what's missing are these critical aspects of an
 9   obviousness inquiry, like analysis as to the subject matter as
10   a whole. There's no analysis as to the individual lipid
11   components, and how those components interact, or how ratios
12   might affect the properties of the particle both physical and
13   functional, and what negative impacts changing aspects of
14   particles might bring about. There's no discussion of any of
15   that, and there is absolutely no discussion as to motivation
16   to combine or reasonable expectation of success.
17         And this is important, of course, because every
18   obviousness case requires a motivation to combine and every
19   obviousness case requires reasonable expectation of success.
20   And this is stated and supported throughout the case law. We
21   point to the case of In re Stepan from the Federal
22   Circuit in our briefing. There are many others, but in In re Stepan, they're
23   specifically dealing with the issue of
24   obviousness in view of overlapping ranges and stated expressly
25   that there are no exceptions to the rule; every obviousness
26   case requires motivation, every obviousness case requires


                                              38
                                                                             JA002589
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 40 of 910 PageID #: 9620

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   reasonable expectation of success.
 2         And the cases I’ve read -- overlapping range cases like
 3   Peterson and DuPont are no exception to that. None of those
 4   cases obviate the need for a motivation to combine. And
 5   instead, as we point out in our briefing, it's not that they
 6   obviate a need for motivation. It's that those cases are
 7   grounded in a specific motivation or specific rationale, and
 8   that is one of routine optimization.
 9         The very important point in this case because in
10   this case routine optimization, it simply doesn't apply.
11         This is not a case of routine optimization. The
12   evidence is unambiguous and unanimous on this point, and
13   there's no dispute on this. In fact, Petitioner has not even
14   made at any point here, the assertion that formulating lipid
15   particles that these claims would have been a matter of
16   routine optimization. They actually argue just the opposite.
17   What you see throughout their petition materials and the
18   testimony of their expert, as well as the citation to
19   literature that they provide, is the story that the technology
20   is incredibly complex, it's highly unpredictable, and you
21   don't know what's going to happen. And we even heard some of
22   that today when we're talking about the unexpected results.
23         So there's no dispute that this is not an instance
24   of routine optimization. They agree with that.
25         Now, that doesn't mean they don't misapply that
26   analysis; I think they do. They misapply that analysis only


                                             39
                                                                      JA002590
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 41 of 910 PageID #: 9621

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   to the -- sort of what we refer to as back end of the analysis
 2   when they're talking about unexpected results. But when we're
 3   talking about, Why are we even getting to unexpected result to
 4   begin with? There is no discussion of routine optimization
 5   and no assertion, not even the assertion of routine
 6   optimization in any of their materials.
 7         And if we look at the evidence, we can understand
 8   why. There's simply no evidence to support the notion, that
 9   developing the claim subject matter would have been a matter
10   of routine optimization. What we see is description in the
11   evidence that these are multi-component systems. The
12   interactions are unpredictable. They were poorly understood
13   at the time, and there's an expressed recognition in the field
14   that the industry struggled for decades trying to figure out
15   how to provide viable delivery solutions for the -- in this
16   technology.
17         Again, none of this is in dispute, and that's a very
18   important point to emphasize because, for obvious reasons, but
19   certainly, for the reason that one cannot reach a finding of
20   obviousness under a theory of routine optimization when
21   routine optimization is simply not a viable strategy. And
22   that is precisely this scenario here, and it should be case-
23   dispositive.
24         I do want to briefly walk through some of this
25   evidence. And I'll turn to Slide 9. Again, as mentioned,
26   this is an area were experts from both sides are in agreement,


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                                                                      JA002591
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 42 of 910 PageID #: 9622

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   that this was not a simple matter of routine optimization.
 2   Dr. Thompson was asked this question directly, addressed at
 3   both cross-examination and throughout his deposition, but
 4   he had stated directly and unequivocally that during the 2008
 5   timeframe, developing nucleic acid lipid particles would not
 6   be considered a routine matter of optimizing variables.
 7         Dr. Janoff agreed with this. Again, as I mentioned,
 8   he's routinely emphasizing the complexity, unpredictability,
 9   and the difficulty in this area. That is not a picture of
10   routine optimization, and this position is echoed throughout
11   the petition materials.
12         Let's turn briefly to Slide 10. This is addressed
13   in the briefing again. I would direct your attention to the
14   sur-reply, Pages 14 through 17. But the Petitioner is very
15   clearly embracing this notion of complexity and
16   unpredictability. It describes, for example, starting at Page
17   8 of their petition, the right -- they're pointing to
18   references like the Gao reference and Ahmad reference in
19   describing the field as -- and the subject matter as being
20   influenced by a whole host of different parameters and a whole
21   host of different parameters whose interactions were poorly
22   understood at the time, with a limited guidance in the art.
23         That is not a picture of routine optimization. And
24   it's -- and this is further supported by various -- throughout
25   the literature and various pieces of evidence that are
26   submitted and discussed in the briefing. But there is


                                             41
                                                                      JA002592
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 43 of 910 PageID #: 9623

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   widespread industry recognition and express discussion that
 2   this was precisely the opposite of the situation of routine
 3   optimization. The industry in the field struggled for decades
 4   to try to figure out solutions to this. The technology and
 5   the solutions were described as troubling, difficult barriers,
 6   highly complex, barriers to the field. When solutions were
 7   finally provided like in the nature article, Exhibit 2023
 8   describing the Patisiran product and the development approval,
 9   there are multiple points of discussion. Again, this is a
10   nature peer -- one of the most respected peer reviewed
11   articles -- sorry -- journals, but specifically crediting
12   delivery as the key to success of this significant
13   breakthrough.
14         So as far as obviousness is concerned, again if
15   we're looking in overlapping ranges, if we're looking at an
16   obviousness case based on the theory of routine optimization,
17   that obviousness theory fails because this is simply not a
18   matter of routine optimization, and there's no dispute that it
19   is.
20         So I want to turn to the unexpected results, so turn
21   to Slide 11. So is -- again, a little surprised by one of the
22   representations of the experimental data. There was a comment
23   that there were only three data points provided. That's not
24   true. We can talk about this in more detail, but most -- this
25   is most readily apparent from Exhibit 2046, which provides a
26   listing of all the various different formulations that were


                                             42
                                                                      JA002593
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 44 of 910 PageID #: 9624

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   tested. There are dozens upon dozens of formulations that
 2   were tested involved in the scope of the claim.
 3         And they come from two sources: one is the testing
 4   that's reported in the '435 Patent itself, the other source is
 5   there are various post-filing date publications that have
 6   tested formulations within the scope of the claim and showed
 7   them to be highly efficacious and have low toxicity, and we'll
 8   go through those as well. Both sources as -- obviously as a
 9   matter of law are available to support a case of unexpected
10   results and both were presented by Patent Owner and do support
11   that outcome.
12         So, now, do we need to get here? Well, that's a
13   good question. So to the extent there is ever any sort of
14   presumption of obviousness as was argued in the petition
15   materials, as we already discussed, that presumption would be
16   overcome by answering the question directly as to whether this
17   is a matter of routine optimization to begin with, and the
18   answer is no. That any remaining or any obviousness case --
19   or any obviousness case that remains would be further overcome
20   by this showing of unexpected results throughout the briefing.
21   And the general reference to the briefing, if it helps, is the
22   Patent Owner response Pages 22 to 27 and 59 to 61 and also the
23   sur-reply Pages 18 and 27.
24         But let's be clear on what the -- we were talking
25   about unexpected results. We need to understand what the
26   expectations were at the time. And the expectation at the


                                             43
                                                                      JA002594
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 45 of 910 PageID #: 9625

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   time was that increasing cationic lipid in a formulation would
 2   be expected to decrease the in vivo efficacy and increase the
 3   toxicity to the subject. There are a number of reasons for
 4   that. Those were discussed throughout the literature and
 5   those that -- I have not seen or heard any meaningful rebuttal
 6   to any of that. So the expectation is that it's -- again, as
 7   you raise the cationic lipid, you expect in vivo efficacy or
 8   efficiency to decrease and toxicity to increase. These were
 9   recognized as toxic components that caused problems and there
10   some reasons why some had to be included, but there were great
11   downsides that went with that, and those downsides would be
12   expected to manifest as you increase the level of this
13   component.
14          JUDGE MITCHELL: Will these downsides be considered
15   to increase when you're talking about the particle itself,
16   where you're adding a non-cationic lipid, conjugated lipid? I
17   mean, don't you have to consider the full formulation to
18   really say, Hey, if I increase the cationic lipid, I'm going
19   to have a problem.
20          MR. ROSATO: That --
21          JUDGE MITCHELL: I mean, there's an overall charge
22   that you really have to look at in the particle to really see
23   if there's a toxic effect.
24          MR. ROSATO: Well, let's talk about the charge thing
25   in a moment as that is an important issue.
26          Let's talk about the threshold question you raised


                                             44
                                                                      JA002595
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 46 of 910 PageID #: 9626

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   there, which is, Don't you have to look at the interaction of
 2   components? I would say, Yes, you certainly do. Now, where
 3   did the petition materials look at the interaction of
 4   individual components? The answer is they don't. There's
 5   that -- this -- again, because this goes to my earlier
 6   comments that the entire case is essentially an identification
 7   of ranges and then the end to the inquiry.
 8         That's not sufficient to establish obviousness, and
 9   that's one of -- and that's a point that we argue is, you
10   know, we should -- you know, the inquiry, as far as we're
11   concerned, the obviousness inquiry should essentially stop
12   there when we're asking if they met their burden of proof,
13   but, yes, of course, the different components interact, and at
14   the time, that was very poorly understood, and complicated,
15   and unpredictable.
16         So, yes, they do. Now, how does that -- does that
17   defeat an obviousness assertion? I would say that it does.
18   In terms of looking at the toxicity, at the time, it wasn't
19   really understood. But what was known, and what was
20   unexpected, and what's unchallenged here is that the
21   conventional thinking was you wanted to minimize the component
22   of that ingredient.
23         There were other components, and we talked about
24   this in the briefing, that could help mask some aspects of
25   that, like charge differences. I think you're referring to
26   the conjugated lipid. So we -- you know, that is an argument


                                             45
                                                                      JA002596
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 47 of 910 PageID #: 9627

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   we point out too which is, well, if you are hypothetically
 2   going to increase the cationic lipid component, would it
 3   logically make sense to decrease the content of this masking
 4   or this other component that has some benefit masking that?
 5   But that also factors into the inquiry too because what we're
 6   looking at are particles that have very high cationic lipid
 7   component, very low conjugated lipid component.
 8         We've asked that question, Why would one be
 9   motivated to increase the cationic lipid component, yet have a
10   very low conjugated lipid? And that's a question we don't
11   have an answer to. I don't think it does make sense. Dr.
12   Thompson testified that it wouldn't make sense, as to why
13   that's -- you know, how we get to a rationale, we don't have
14   any answer that because there is none.
15         JUDGE SNEDDEN: Maybe I need to backup a little bit.
16         So what is your position in terms of -- explain to
17   me the differences between the prior art and Claim 1, and the
18   elements of Claim 1? Are we talking about simply overlapping
19   ranges or are there other differences?
20         MR. ROSATO: Yes. Before I get to that, can I
21   finish answering --
22         JUDGE SNEDDEN: Sure.
23         MR. ROSATO: -- a question, just so I don't lose it.
24         I want to be clear too. There isn't a -- you know -
25   - that you raised a question about charge, right? Just to be
26   clear, charge on a particle is not the end-all-be-all, the


                                              46
                                                                      JA002597
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 48 of 910 PageID #: 9628

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   sole inquiry when it comes to toxicity. The cationic lipids
 2   themselves are toxic molecules, and they're toxic for a number
 3   of reasons. Both -- some things have to do with charge
 4   indirectly. That matters more for aggregation of particles as
 5   their -- and a reason why -- one of the reasons why there's
 6   difficulty in systemic administration as the charged particles
 7   tend to get cleared out before they reach their target site.
 8   But as far as toxicity is concerned, that is not dependent
 9   solely on charge or really even on charge. The cationic lipid
10   molecules themselves are toxic molecules, as they're
11   immunogenic, they're cytotoxic, they have bioaccumulation
12   problems. The Ahmad and Lin references actually talk about
13   metabolic burden and as the main concerns with toxicity of
14   those molecules.
15         But just be very clear, you'll see some interchange
16   of toxicity in charge in Petitioner's briefing, and I think
17   they tried to maybe leverage off some languages in the
18   institution decision, but charge is not the issue. There --
19   it's not interchangeable toxicity. It -- don't fall for that
20   that being switched.
21         I'm sorry, Your Honor, your question?
22         JUDGE SNEDDEN: Just look for -- just a highlight of
23   the differences -- what you're describing as a difference
24   between the prior art and Claim 1. And I thought it was just
25   a matter of just overlapping ranges, which means now, we have
26   to establish a criticality within the range, and, therefore,


                                              47
                                                                      JA002598
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 49 of 910 PageID #: 9629

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   we moved on expected results. I mean, is that how I
 2   understand?
 3         MR. ROSATO: Well, I mean, I don't think so, and
 4   that's why I talk about the issue of routine optimization.
 5   Right? I mean, there's a tendency to look -- I mean, if you
 6   look at the overlapping range, case law -- and this is the
 7   point I want to make sure is made because I think it's very
 8   important. When we're talking of this overlapping range
 9   paradigm, we tend to think of it as, you know, these
10   enumerated or typical options for overcoming that case, and
11   those do include things like establishing criticality by
12   unexpected results, which is what -- why we're talking about
13   expected results here.
14         But my point in routine optimization is, that's not
15   the only way you overcome an obviousness case in overlapping
16   ranges. Why is that the case? Because every obviousness case
17   requires a motivation for doing something, a rationale, a
18   reasonable expectation of success. The overlapping range
19   cases, if you go through and read the -- I'm sure you do, I'm
20   just saying this figuratively. When you go through and read
21   those cases, you find the explanation of this whole theory,
22   the whole basis of this case law is grounded in the theory of
23   routine optimization. Right? Ranges that are not especially
24   broad invite routine optimization as is the typical mantra,
25   and those cases also go back to the KSR case to ground the
26   routine optimization rational back to this sort of inquiry.


                                            48
                                                                      JA002599
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 50 of 910 PageID #: 9630

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         So if the fundamental basis for obviousness in an
 2   overlapping range case is routine optimization, you cannot reach
 3   obviousness on that theory, that theory being routine
 4   optimization, if it simply doesn't apply in a given context.
 5         Now, there are various tools for indirectly, as well
 6   directly getting to that issue, like unpredictability and so
 7   forth, but there are also indirect ways of conducting that
 8   inquiry.
 9         Here, we have somewhat of the luxury of going right
10   to the heart of the question and asking whether this is a
11   matter of routine optimization. It's simply not. And there's
12   never been an assertion that it is. Right? That's why I make
13   that point.
14         So in terms of the differences, well, as you see,
15   what we see in the claim mapping in the petition is really
16   just in pointing to different disclosure where there are
17   general paragraphs or discussions about things that one
18   component at a time, and the art gives some broad ranges,
19   thus, it's talking about the entire universe of various
20   different things.
21         So the obviousness cases, as I understand it, is
22   that if you go through on an individual ingredient-by-
23   ingredient basis, you see some limited overlap in what's
24   disclosed versus what's claimed. I would say the differences
25   are in part going to Judge Mitchell's question which is, Don't
26   these different components interact in certain ways and don't


                                            49
                                                                        JA002600
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 51 of 910 PageID #: 9631

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   some compensate for others, or there are reasons for doing
 2   this? The answer is, yes. So, why, you know this gets the
 3   ratio issue.
 4         JUDGE SNEDDEN: There's the combination of these
 5   ranges that lead to the unexpected results, but there is --
 6   like some criticality in the ranges.
 7         MR. ROSATO: There's criticality in the sense that
 8   it's not routine optimization. Yes, I would agree with that.
 9         JUDGE SNEDDEN: Right.
10         MR. ROSATO: I always found that criticality
11   question -- or description -- anyway, yes, I would say it's
12   supportive. And you see that concept in various aspects of
13   the overlapping range cases as well.
14         I mean, if you go back to the result effective
15   variable case, the Antoinette (ph) or Antonie, that's
16   probably one of the key areas where result effective variable
17   differentiation, you know, still very viable when you're
18   talking about ratios of different components and how those
19   interact and whether there was a recognition in the art of,
20   you know, some predictable outcome from different ratios.
21         That's an issue here too. But this go -- there are
22   many issues here. This is why, you know, I want to make sure
23   I point out, you know, I'm sure that this is part of a Patent
24   Owner's job as well, but part of the burden.
25         But part of the job is to point out the deficiencies
26   in the state of the case or respond to what is stated. But


                                            50
                                                                      JA002601
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 52 of 910 PageID #: 9632

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   it's one of the challenges here as non-moving party, looking
 2   at a petition where there is no explanation as to why this is
 3   all being advanced.
 4         I don't know the theory. I've seen case law
 5   citations to overlapping range cases, but I've never heard an
 6   assertion that this is a matter of routine optimization. I
 7   don't know if that's their theory, and I would encourage
 8   posing that question to them. I'd love to hear it.
 9         JUDGE MITCHELL: So let me ask you. So how do you
10   respond to -- in the 554 Publication, the L054 formulation,
11   that does show everything, as I understand it or within the
12   ranges, it has everything in the claim within the ranges; is
13   that correct?
14         MR. ROSATO: It did -- it's not correct.
15         JUDGE MITCHELL: Okay.
16         MR. ROSATO: It doesn't. So I think you're
17   referring to the table, Table 4. So, again, those are
18   starting ingredients. We're claiming particles here. Most of
19   those -- actually, I think virtually all, except maybe the one
20   they pointed to, if we're just looking at the numbers for
21   starting ingredients, they point to one that seems to barely
22   touch with the claimed ranges. And that's the one that
23   they're refer -- reciting -- sorry, relying on for the
24   anticipation case.
25         And for that anticipation case, you know, their
26   argument is you're pointing to a starting mixture, it's barely


                                             51
                                                                      JA002602
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 53 of 910 PageID #: 9633

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   touching on the range, and if in the context of this
 2   particular application you're expecting various different
 3   efficiencies of incorporation into the particle, then this is
 4   essentially an unsubstantiated inherency case with the
 5   anticipation charge. Right? Making assumptions about what --
 6   there's no disclosure what the particle composition looks
 7   like.
 8           So if we're assuming that it meets the claims, that
 9   is -- that's why I described it as an unsubstantiated and
10   failed inherency case. There's no -- the probabilities and
11   possibilities tests is not met there. It's pure speculation.
12           JUDGE MITCHELL: But doesn't that get them closer on
13   obviousness case? That here, there's -- in the art, at least
14   with the starting formulation, they're within the ranges.
15           MR. ROSATO: I mean, closer than what?
16           JUDGE MITCHELL: In terms of the rationale to
17   combine. It's already done. Somebody's done it.
18           MR. ROSATO: Somebody has not done it. There's not
19   a single embodiment that falls within the scope of the claim.
20   So --
21           JUDGE MITCHEL: Because it's starting? That's your
22   argument? Because it's the starting formulation and not a
23   particle?
24           MR. ROSATO: They are absolutely not particles.
25           JUDGE MITCHEL: Okay.
26           MR. ROSATO: Yes. They are absolutely not


                                             52
                                                                      JA002603
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 54 of 910 PageID #: 9634

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   particles, and there's no dispute on that, other than what
 2   we've heard here today, which is the first time that we heard
 3   that.
 4           So those are absolutely not particles. There is no
 5   particle that meets -- that falls within the scope of the
 6   claim. All of them are outside.
 7           Now, if we're looking at the numbers in the table, I
 8   think you asked, Are they closer? I don't know. I mean, I
 9   don't know how to answer that, and they're the closest thing
10   they've pointed to. I guess this is my answer to that.
11           So I see I'm down to five -- about six-and-a-half
12   minutes. I do want to get through a couple other points. I
13   want to, obviously, that whatever's most important to the
14   Panel is what I'd like to address, but I had a couple other
15   things that I wanted to go through, if I may.
16           JUDGE MITCHELL: Sure.
17           MR. ROSATO: Okay. In terms of the -- I'll just say
18   a couple things on the -- couple things further on the
19   unexpected results.
20           Again, I pointed to the exhibit and then some other
21   briefing material at Exhibit 2046 and the briefing material.
22   But there are dozens and dozens and dozens of formulations
23   that are falling within the scope of the claim. There's no
24   dispute that any of those formulations fall within the scope
25   of the claim. There's no dispute that those formulations are
26   showing potent silencing or potent activity in vivo and low


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                                                                      JA002604
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 55 of 910 PageID #: 9635

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   toxicity. None of that is disputed. And there are, again,
 2   dozens and dozens of formulations spanning their range. Even
 3   -- what slide is that even? I think it was mentioned here
 4   today, but one of Petitioner's demonstratives show the range
 5   spanning, I think counsel mentioned, Yeah, but that only --
 6   you know, the coverage only goes up to 70 percent.
 7         So there's that tail end of the range that there's
 8   -- where there's not -- we don't have data points. Otherwise,
 9   it's spanning the entire range, many different formulations,
10   many different combinations of lipids, different lipid
11   constituents, many different cationic lipids, many different
12   conjugated lipids, many different non-cationic lipids, many
13   different gene targets. Not only siRNA targets, but mRNA
14   targets. And one of those is illustrated on Slide 14.
15         But again, I mean, if we go through the various
16   pieces of literature, again, there are multiple gene targets,
17   many different gene targets targeted. But one of the
18   arguments that was advanced by the Petitioner was to criticize
19   or question whether these would work for mRNA, which it was a
20   surprising argument, considering that they've published
21   extensively that these formulations work fabulously on mRNA,
22   including the acetic reference shown here on Slide 14. And I
23   think this is Exhibit 2048, if I'm getting that correct.
24         But here, again, this is Petitioner's own
25   publication but what they did is in trying to deliver mRNA,
26   they literally took the Patisiran formulation off the shelf


                                             54
                                                                      JA002605
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 56 of 910 PageID #: 9636

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   and replaced the siRNA with mRNA payloads and then recorded
 2   how well it worked, and it does work well.
 3         They've asked our experts about -- so excuse me.
 4   They asked Dr. Heyes, Is it completely irrelevant. I don't
 5   know why they were asking him this, but they did ask him if
 6   Patent Owner had been using their formulations in mRNA. And
 7   Dr. Heyes, who works for Arbutus, which is Aldoner Protiva
 8   (ph). But Dr. Heyes explained that, Yeah, of course we've
 9   been using these for years. So it was surprising to see some
10   of this argument.
11         As far as unexpected results, there are various --
12   various embodiments covered far more. If we're talking about
13   relevant case law, this is actually a good point of
14   comparison, maybe answers your question, Your Honor, about how
15   many points -- how many data points are needed. And what we
16   know, or what we can look at as a basis of comparison are the
17   cases where the Federal Circuit has rejected unexpected
18   results or experimental data for not being in commensurate in
19   the scope of the claims. And in each of those instances, like
20   the Peterson case, like the DuPont case, what we're look at
21   is, literally, like, one or two data points, and that's
22   clearly not the case here. The unexpected results look
23   absolutely nothing like any of those cases where data was --
24   experiment results were rejected as not being commensurate in
25   scope.
26         I do want to talk about this toxicity issue as well,


                                              55
                                                                      JA002606
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 57 of 910 PageID #: 9637

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   so let's turn to Slide 15. So, again, what has been pointed
 2   out in the briefing and supported with evidence is the fact
 3   that cationic lipids were known to be toxic and that the
 4   conventional thinking at the time was that their content in
 5   lipid particle formulations should be minimized. There are
 6   various pieces of evidence. And there's actually not a
 7   dispute on that point. The response that Petitioner has
 8   advanced is something different.
 9         Let's turn to Slide 16. What they've argued is,
10   Well, that might all be true, but there's an exception to that
11   rule. And that exception is this very convenient, but
12   unfortunately, false, narrative that certain types of cationic
13   lipid weren't toxic and that was well known. They argue that
14   ionized cationic lipids, such as DLinDMA, specifically,
15   which they identify as their argument goes, were well-known at
16   the time to be non-toxic.
17         As far as the evidence is concerned, there is not a
18   shred of evidence to support this argument. In fact, as we
19   point out in our sur-reply briefing, Petitioner has multiple
20   publications that, you know, are within the last couple years,
21   far pre-dating -- sorry, post-dating the '435 Patent, where
22   they're still specifically identifying toxicity concerns with
23   ionizable cationic lipids and specifically identifying
24   DLinDMA, the one specific example that Petitioner has
25   identified. And that can be seen in Exhibit 2051. The quote
26   provided here on Slide 16, as well as 2052, and as -- and


                                            56
                                                                      JA002607
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 58 of 910 PageID #: 9638

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   quite frankly, numerous other publications that Petitioner has
 2   put out.
 3         So this is simply not a credible argument as far as
 4   the toxicity concern and notion that the general thinking at
 5   the time was to reduce the content of this component. The
 6   conventional thinking was that -- sorry, the decision of
 7   Petitioner, I have not heard any opposition to that.
 8         If I can -- if I may, Your Honor, I want to make a
 9   few quick points on Ground 2, and then finally, on the
10   encapsulation issue. I didn't mention it, but I think it's
11   apparent that it's an additional basis as to why Ground 3, the
12   anticipation challenge fails. And I would direct -- this is
13   addressed on Slide 22, but also in our sur-reply briefing.
14         Dr. Janoff was very adamant in his position that
15   encapsulation was a misused term or improperly used in the art
16   at the time. He thinks it means it could be very different
17   things, and he's even published on the topic, criticizing
18   people for using the term encapsulation when they haven't
19   tested for nuclease degradation and criticizing that it is not
20   real encapsulation. That's addressed in our briefing and
21   provided here on the slide. But that's pertinent for the '554
22   Publication because there is no nuclease degradation test
23   performed in '554 and not even a claim that LO54 encapsulates.
24         In terms of Ground 2. And I really appreciate the
25   extra time, let's turn to Slide 18. There are a couple of
26   points, and the fundamental distinction here is Lin and Ahmad


                                            57
                                                                      JA002608
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 59 of 910 PageID #: 9639

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   are directed to these different types of particles that are
 2   referred to and which they call knowing the artist,
 3   lipoplexes. Lipoplexes are a fundament different type of
 4   particle. They're essentially lipid aggregates that have
 5   nucleic acid adherers stuck to them. And they differentiate,
 6   obviously, from the type of particles that we are talking
 7   about that are encapsulated nucleic acids within the particle.
 8         And Dr. Janoff's publication says, as well as
 9   testimony during cross examination, identified those
10   differences and agreed with them. He also testified that --
11   and this is another reason why his claim construction is
12   pertinent, we asked him if he thought lipoplexes would be
13   within the scope of the invention, the '435, and he indicated
14   that he didn't think it would. So it begs the question, why
15   are you even looking at these references to begin with? And
16   that is not something that's addressed.
17         Which brings me to Slide 19. Obviously, the Panel's
18   going to be very familiar with case law, whether assertions
19   and speculation about whether somebody could or may have an
20   impact as a basis for obviousness assertion. We know as a
21   matter of law that those types of assertions are insufficient.
22   They've never been sufficient to establish motivation and
23   that's well supported in the case law.
24         And then, finally, this really will be my final
25   comment, is on Slide 20. We can't discount the fact if we're
26   still considering Lin and Ahmad, we can't discount the fact


                                              58
                                                                      JA002609
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 60 of 910 PageID #: 9640

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   that the whole point of those references is how to decrease
 2   cationic lipid. It's a point that seems to get lost in some
 3   of the Petitioner's argument. This is explained by Dr.
 4   Thompson. That's the whole point of those references. This
 5   is actually explained by Dr. Janoff in his reply declaration
 6   and confirmed in cross-examination. He explained what those
 7   references are doing is you're using multivalent cationic
 8   lipids in order to have multiple charges on one molecule for
 9   the benefit of reducing the amount of the cationic lipid.
10         Why are they doing that? Well, they tell us exactly
11   why they're doing it. There are multiple benefits, including
12   reducing cost and toxicity concerns. So they're pointing to
13   references that are fundamentally directed to the concept of
14   reducing cationic lipid and pointing to those references for
15   the notion that you demotivated or that you could increase the
16   cationic lipid, and that doesn't make sense.
17         Thank you.
18         JUDGE MITCHELL: Thank you. And I'll just add time
19   to Petitioner's time and give you your rebuttal time.
20         Whenever you're ready.
21         MR. FLEMING: I'm ready, Your Honor.
22         JUDGE MITCHELL: Okay.
23         MR. FLEMING: Your Honor, I would like to address
24   your question about whether or not LO54 is a particle.
25         First off all, the Patent Owner, as counsel has
26   represented, that there was numerous times that we haven't --


                                            59
                                                                      JA002610
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 61 of 910 PageID #: 9641

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   that there's not a dispute. We would like to categorize what
 2   he said. Those things are just not true.
 3          As far as the particle, if you look to the reply on
 4   Pages 13, we clearly dispute that issue that they raised that
 5   it's not a particle.
 6          One very important thing to point out is the '435
 7   Patent. That's how they tell you whether it's a particle is
 8   by telling you what is the formulation of the composite. All
 9   we're talking about is a composite. We're not talking about a
10   chemical compound. It is a composite. So what -- how do you
11   describe a composite? With the components that make up the
12   composite.
13          The other important claim is if what he -- the
14   Patent Owner's counsel is arguing is true, then the '435
15   Patent is not reduced to practice because there's not one
16   aspect of that patent that actually provides you somehow the
17   structure of what the particle looks like. In fact, that's
18   not the way the industry works. Instead, it refers to the
19   components that make up the particle.
20          The other point I would like to address is the claim
21   construction. And Judge Smith, I want to address your
22   question about whether the intrinsic record is what you should
23   go to first. That is clear case law that the Federal Circuit
24   has instructed the Board that entrance of cations is the first
25   item that you looked through, and if there is and only do you
26   look to the extrinsic evidence, if there's nothing necessary.


                                             60
                                                                      JA002611
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 62 of 910 PageID #: 9642

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         Now, I also want to point out that the Patent
 2   Owner's counsel is misleading you on what he was saying is the
 3   definition of nucleic acid. These terms are defined in the
 4   '535 (sic) Patent and nucleic acid -- '435, sorry -- '435
 5   Patent on Column 10, starting on Line 26, defines the terms
 6   nucleic acid.
 7         Going over to Column 11. Starting at Line 14, you
 8   have a definition of lipid particles. And if you go down to
 9   Line 23 of Column 11, you have a definition, a SNALP. What
10   they pointed to for the definition of nucleic acid is part of
11   the definition of the SNALP because the definition goes all
12   the way down to, it looks like, Line 58. And where he was
13   pulling that definition out was simply talking about what the
14   definition of a SNALP is as far as how it is encapsulated to
15   prevent degradation.
16         JUDGE SNEDDEN: So I take it that your position is
17   that the Claim 1 is not covering a SNALP; it's something
18   different?
19         MR. FLEMING: That's right, Your Honor, it does not
20   require encapsulation for the definition of nucleic acid lipid
21   particle. And that is clear from the specification of the
22   '435 Patent.
23         I'd also like to point out in the claim
24   construction, which is really a minor point, and you don't
25   really need to get to it, but they point to Dr. Janoff's
26   cross-examination testimony. And I want to point out that


                                             61
                                                                      JA002612
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 63 of 910 PageID #: 9643

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   that's really all taken out of context on what happened there.
 2         The -- Dr. Janoff is answering the question
 3   regarding the level of skill of the person of ordinary skill
 4   in the art. And the questions aren't in regard to Paragraph
 5   32 of his '127 Patent declaration, and there he is saying that
 6   a person of ordinary skill in the art for the field of the
 7   '127 Patent but has specific experience with lipid particles.
 8         During that same deposition, when asked what it --
 9   you rely on -- and may I have Slide 17, please? What did you
10   rely on in formulating your definition for nucleic acid lipid
11   particles? Dr. Janoff answered by pointing to the same
12   definition found in '425.
13         Also, in Dr. Janoff's reply declaration, if you look
14   at Paragraph 13, he agrees with the board's construction of
15   nucleic acid lipid particles. And Patent Owner's counsel
16   chose not to depose Dr. Janoff in questioning on that answer.
17   That testimony in Paragraph 18 in the second deposition, which
18   is -- they could have challenged him then, and they chose not
19   to.
20         So I'd like to go to routine optimization, if I can.
21   In regard to Patent Owner's Slides 8 through 10, they're
22   arguing in routine opposition is not applicable. I think we
23   need to look to the scope of the claim. And it only, again,
24   requires a composite of nucleic acid and the cationic,
25   non-cationic, and conjugate lipids.
26         So the question is, when you look to the publication


                                             62
                                                                      JA002613
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 64 of 910 PageID #: 9644

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   of the '544 -- maybe we could pull up Slide 33 or did I lose
 2   my slides? The '554 teaches that all this is in routine
 3   optimization. They specifically point out that all the things
 4   that they've set forth in all these ranges could be modified
 5   and optimized. And it's all within the skill of the art. And
 6   I think that when you --
 7           JUDGE SNEDDEN: I have a question here. I just want
 8   to clarify one thing. Are you arguing routine optimization in
 9   your petition, and, if so, what variable are we optimizing?
10           MR. FLEMING: We are -- yes, we did argue routine
11   optimization. You know, what we're talking about is, would
12   you be able to optimize for the overlapping ranges to obtain
13   the range that's being claimed? And, again, all we're talking
14   about is a particle that is a composite. And if we look to
15   Table 4 of the '554 Patent, you can see how they did go about
16   the very thing that they're referring to about, Well, can it
17   easily be able to put -- adjust the cationic lipid?
18           If you raise the cationic lipid, then you're going
19   to have to lower the other components, and that's exactly what
20   Table 4 does, methodically. So that's well within the skill
21   of the art to create these particles to obtain --
22           JUDGE SNEDDEN: Where does the art disclose doing
23   that?
24           MR. FLEMING: What's that?
25           JUDGE SNEDDEN: Where does the art disclose doing
26   that?


                                             63
                                                                      JA002614
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 65 of 910 PageID #: 9645

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         MR. FLEMING: In the '554 Patent. It is --
 2         JUDGE SNEDDEN: Oh, right, okay.
 3         MR. FLEMING: It is talking about that very thing.
 4         JUDGE SNEDDEN: Got it, okay.
 5         MR. FLEMING: And what I was trying to explain to
 6   you is that if you look to the specification in Table 4, as
 7   well some of the other tables, that's exactly what they did,
 8   is it all has to add up to 100 percent mole. So you're going
 9   to be able to adjust this to obtain the particle.
10         JUDGE SNEDDEN: Okay.
11         MR. FLEMING: I also want to point out, their
12   routine optimization is assuming that it has to be in vivo,
13   and the claim does not require in vivo. We're just talking
14   about a particle of a certain composition. This claim is
15   extremely broad. They wanted to limit the claim to in vivo or
16   -- in that sense, they could have. But all we're talking
17   about is being able to create a composite where you can have
18   the nucleic acid be part of that particle. It doesn't even
19   require it to be inside the particle. It could be attached to
20   the outside of the particle. That's clear from the definition
21   of reciting the specification.
22         I'd like to also address the unexpected results.
23   And, Your Honors, it's well-settled case law, and I'm sure
24   you're very well aware of it, that the Federal Circuit looks
25   to unexpected results to determine whether or not what we're
26   talking about is a degree of a known property or whether it's


                                             64
                                                                      JA002615
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 66 of 910 PageID #: 9646

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   a known property. And where it's a degree of a known
 2   property, then they're expecting a much higher surprising
 3   result.
 4             If I could point you to the case law, Bristol-Myers
 5   Squibb versus Teva Pharmaceuticals, if you look at that set,
 6   752 F.3D 967, it's 2014, and you look at Page 977, again,
 7   that's a well-settled case law. And there's nothing here
 8   about -- they did not discover a new property. All they're
 9   discovering is that -- their alleged discovery is a matter of
10   degree as far as whether it's better than the prior art.
11             So let's look at the other figure that they've put
12   up and that was on Patent Owner's Slide 11. And the Patent
13   Owner has -- their Figure 3 is an illustration -- and I don't
14   think we'll be able to pull it up. You can't pull yours up?
15   Yeah, Slide 11. While he's pulling it up, Figure 3 is
16   illustrating that they had a demonstrating activity of the
17   1:57 SNALP, and that's Example 4 and the compared to the data
18   demonstrating the activity of the 2:30 SNALP.
19             So first problem, 2:30 is not the closest prior art.
20   The closest prior art is 2:40. So we're comparing to oranges
21   here.
22             The other aspect is that 2:30 is non-cationic lipid
23   is DSPC, and the 1:57 non-cationic lipid is DPPC. So, again,
24   you're not really comparing apples and oranges with that
25   either because you have different composite.
26           And the other point is this is just one more data


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                                                                      JA002616
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 67 of 910 PageID #: 9647

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   point, but at best, it's one data point.
 2         And then if I could talk about the post-filing data,
 3   that's in Exhibits 2017 through 2019, 2021, and then 2047
 4   through 2050. And the problem here is this is -- these are
 5   showing -- that's to see how effective the drug is, you know,
 6   for the claim formulation, but it's not a comparison to the
 7   prior art.
 8         And, again, I don't know if you can pull up Exhibit
 9   2046? This Exhibit 2046 is a summary of all the post-filing
10   data. And, Your Honors, when you look through that, most of
11   the data involves the formulation of 50 mole percent for
12   cationic lipid. There's no test data for the cationic lipids
13   in the higher range, which is problematic because that's what
14   their alleged invention; is the higher the cationic lipids,
15   the better. So we would expect them to be able to show
16   unexpected results in the higher ranges.
17         Again, I just want to conclude with this, is that if
18   I could have Slide 67 again? Maybe not.
19          The claim scope is quite broad. And, again, even if
20   they had showing of unexpected results, which I don't believe
21   they do, and, certainly, it's not surprising at the higher
22   level that the Federal Circuit is requiring, but even if you
23   didn't look to that, what's the answer for why they don't have
24   unexpected results for the entire scope of the claim for being
25   able to carry out for all the nucleic acid lipids?
26         And if you look to Column 10, Lines 26 onward,


                                                66
                                                                      JA002617
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 68 of 910 PageID #: 9648

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   there's a huge list of what they define as nucleic acid lipids
 2   -- I mean, sorry, nucleic acids. And so that's the payload.
 3   So they haven't shown for that type of scope. So they might
 4   have a point, maybe if they had limited the claims to siRNA,
 5   but they did not. They chose to be very broad.
 6         And, again, so their unexpected result arguments all
 7   failed simply because they're covering -- it's not
 8   commensurate in scope with all the payloads that they're
 9   talking about.
10         Okay. I want to talk a little bit about toxicity.
11   And just for a minute, I want to point out that the question
12   is, What is the scope of the claim? The scope of the claim
13   does not require an in vivo. The scope of the claim is
14   broader than that. So when you're talking about toxicity, all
15   their arguments have to go for in vivo. So the question is,
16   would this be so toxic that you wouldn't be able to put it in
17   a Petri dish to see if it could deliver it to a cell? That's
18   not -- they have no showing of that as unexpected. In fact,
19   their own -- again, the '554, the LO54, again, is being used
20   and created.
21         Now, I'm not arguing it's for in vivo, but it's
22   solely good enough to be able to be put into a Petri dish.
23         So toxicity is kind of a tough term. What -- sure,
24   all of these things have certain amount of toxicity. The real
25   question is, is whether or not it is tolerable for the
26   intended use. And, clearly, for a Petri dish, is certainly


                                              67
                                                                      JA002618
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 69 of 910 PageID #: 9649

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   tolerable for its intended use.
 2            They touched briefly on other secondary
 3   considerations, kind of trying to bring it into unexpected
 4   results, but I want to point out that they were talking about
 5   particular drugs that are on the market.
 6            I want to point out though that the Patent Owner has
 7   failed to show a nexus to the scope of the claim. And what's
 8   interesting about what their information is about is all of
 9   that is directed to a particular payload and how effective it
10   is. And there's not anything that shows in the data that
11   those lipid particles is the cat's meow. You know, and
12   certainly, there's not a nexus to this entire scope of the
13   claim.
14            So if there's not any -- is there a question?
15            If there's not any other questions, I'd like to turn
16   it over to my colleague, Morgan Chu.
17            MR. CHU: Let me start first with an answer to Judge
18   Snedden's question.
19            If you go to the '435 Patent, Column 12, beginning
20   at Line 65, it reads, quote, A number of cationic lipids and
21   related analogs which are also useful in the present invention
22   have been described in, and then there a number of references,
23   including the '554 Patent, continuing with, quote, The
24   disclosures of which are hearing incorporated by reference in
25   their entirety for all purposes.
26            So, now, let's go to the '554 Patent. And the '554


                                               68
                                                                      JA002619
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 70 of 910 PageID #: 9650

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   Patent at Paragraph 0268 goes on with quite some detail,
 2   technical detail, for about a column, but I'll just read the
 3   last sentence of that paragraph. Quote, As such, chemically
 4   modified nucleotides present in the single stranded siRNA
 5   molecules of the invention are preferably resistant to
 6   nuclease degradation, while at the same time maintaining the
 7   capacity to mediate RNAi.
 8         Going to some other issues that were raised, one by
 9   opposing counsel. I think it was their Slide 11. And he
10   said, Well, there were a lot of other experiments. And he was
11   making that argument to try and argue unexpected results. But
12   the law is quite clear according to the Federal Circuit In re Baxter-Travenol
13   Laboratories, that, quote, Results must
14   be shown to be unexpected compared with the closest prior art.
15   The full citation of the Baxter-Travenol case is on Page 9 of
16   the Petitioner's sur-reply to the motion to amend. And it
17   goes on to describe where some other formulations that the
18   Patent Owner wants to hold onto are not being compared to the
19   closest prior art.
20         There was another question raised by Your Honors,
21   actually, I think it was Judge Snedden again, in reference to
22   criticality. And I think one of the leading cases on that is
23   the Federal Circuit decision in ClearValue.
24         In that case, there was a claimed range. I think it
25   had to do with the amount of alkalinity being 50 parts per
26   million or less, and then there was prior art that overlapped


                                            69
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 71 of 910 PageID #: 9651

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   with that. And the Federal Circuit held that the Patent Owner
 2   did not show that there was criticality, and D, there was no
 3   allegation of criticality. And that is exactly the situation
 4   we have here. No place in the '435 Patent is pointed to by
 5   the Patent Owner to show criticality, even with a paid expert,
 6   Dr. Thompson. He doesn't say one wit in his declaration or
 7   otherwise about criticality.
 8         In terms to the closest prior art, we've already
 9   discussed the three data points. And we said, Well, maybe one
10   data point may or may not be slightly better. And I said --
11   Dr. Jannof said, he thinks it's likely that it's not
12   statistically significant; that one data point cannot be
13   commensurate with the range, the entire range of the narrowed
14   range in Claim 21. And in fact, the other two data points
15   demonstrate that because the other two data points are points
16   that are worse than, or perhaps one of them either worse than
17   or no better than the prior art.
18         So it cannot be that surprising and unexpected
19   results can be shown or pointed to by the Patent Owner when
20   two of the data points rebut the claim of surprising and
21   unexpected results. And this is the Patent Owner's own data.
22         Now, I want to go back -- let me start with Slide
23   98. There was some discussion about various terms. We see
24   it's nucleic acid. It's not one of the other alternative
25   terms. We've already discussed the fact SNALP could have been
26   there. We discussed the fact that the body of the claim could


                                              70
                                                                      JA002621
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 72 of 910 PageID #: 9652

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   have said something else. It could have had the word
 2   encapsulated.
 3         So let's go to the Section 112 problem that they
 4   have, and this depicts in Slide 100. siRNA is 20 to 23 bases.
 5   mRNA, there is, in the record, testimony about it being at
 6   least several hundred bases, and elsewhere, a thousand or
 7   more. Increased size, it's a lot of complexity.
 8         And here's a big picture bases. It's not just a
 9   question of size. Let's keep in mind what RNAi interfering or
10   siRNA small interfering RNA is trying to do. It's trying to
11   act like a red light. It's trying to stop or silence gene
12   expression.
13         What is mRNA trying to do? It's trying to act like
14   a green light. It's trying to enhance gene expression. The
15   functions not only are different, but they're completely
16   opposite. So you've got big differences in complexity by size
17   and otherwise. You've got two completely different functions.
18         And we see in Slide 104, the payload can impact the
19   performance. Slide 105, that mRNA is typically larger than
20   siRNA and they are expected to affect the physical properties
21   of a particle. Both 104, 105, and now Slide 106, are
22   testimony by the Patent Owner's expert, Dr. Thompson. And
23   106, he's addressing the question whether one could start with
24   siRNA variables and then use that to optimize for a new mRNA
25   cargo. And he answers by saying, quote, That's speculation.
26   I couldn't -- I can't go there.


                                             71
                                                                      JA002622
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 73 of 910 PageID #: 9653

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         So let's go then to enabling. So I think written
 2   descriptions requirements are not met, and enablement law on
 3   Slide 113 is not just an invitation to go and conduct a bunch
 4   of experiments, but Dr. Thompson, again, the Patent Owner's
 5   expert in Slide 118, admits that more testing is required.
 6         So too in Slide 119. The Patent Owner's expert is
 7   admitting, you don't know what you're going to get inside.
 8         In sum, these items on Slide 120 were the ways in
 9   which the Patent Owner tried to argue the validity of the new
10   proposed Claim 21. He pointed to serum-stable as requiring in
11   vivo or systemic use. We've discussed that. It's quite to
12   the contrary. Other definitions could have been used that are
13   in the patent, as well as the words systemic or in vivo, if
14   that's what was intended.
15         They tried to use the wherein clause and that didn't
16   add anything. It didn't separate it from the prior art. The
17   prior art was showed on an earlier slide in each of the three
18   primary references; discussed nuclease, degradation,
19   resistance.
20         Then they tried to say, here, we have some different
21   ranges, but the new ranges still overlap with the prior art.
22   There's still anticipation under '554. And if we had to drop
23   in to an obviousness argument with respect to the other
24   references, it's still the case; that the Patent Owner has not
25   shown surprising and unexpected results. If anything, from
26   two out of the three data points, the Patent Owner


                                            72
                                                                      JA002623
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 74 of 910 PageID #: 9654

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   demonstrated the exact opposite.
 2          Thank you very much, Your Honors.
 3          MR. ROSATO: We can start while she's taking a
 4   minute. And I appreciate the extra time I was allocated.
 5   I'll try to not use time, if necessary.
 6         Your Honor, I want to first address this issue of
 7   routine optimization again. And the response was that they
 8   were arguing or they did argue routine optimization in the
 9   petition. I don't see that and I don't think anyone will see
10   that. It's just not there.
11          There was one comment about optimizing the cationic
12   lipid; not routine optimizing, but a comment about optimizing
13   just the cationic lipid. There's a mention of that in the
14   specification. That's one component. That's not optimizing a
15   formulation. And even with that one component, there's no --
16   I mean, it's a one-sentence thing. There's no discussions
17   surrounding it, so we don't know whether they believe that is
18   a -- whether optimizing is routine or something else. I have
19   no idea. You won't find the term routine optimization in the
20   petition materials.
21         And then beyond that, I have to admit, I'm still a
22   bit confused as to the position on this for a number of
23   reasons. Again, we're asking if on the front end of this, if
24   this is -- if the theory is one of routine optimization, we'd
25   like to know that. If the position is that this is also well
26   known as a matter of routine optimization, then I have


                                               73
                                                                      JA002624
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 75 of 910 PageID #: 9655

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   difficulty understanding how that's consistent with arguments
 2   about undo experimentation that were just discussed when it
 3   comes to using other lipid payloads, as well as the arguments
 4   as when they get to the experimental results about how
 5   unpredictable and difficult it would have been to have any
 6   other data points. So, you know, I think they're trying to
 7   have it both ways, and it, you know again, you have to start
 8   with an identifiable rationale and this emphasizes the
 9   importance of that.
10         Sticking with the rationale theme, I heard some
11   comments about how you can make formulations for use in a
12   Petri dish. Again, this emphasizes the importance of
13   identifying a motivation to combine or a motivation that's
14   underlying this whole theory. If the argument -- and, again,
15   this is a new argument, so it's hard to respond to that, but
16   if the argument that was being advanced in the petition is
17   that a person would be motivated to make these types of
18   formulations solely for the purposes of using it in a Petri
19   dish or in vivo, that just doesn't reflect reality in the art.
20   These are formulations that are made for therapeutic purposes.
21   They are screened in vitro. We would be very happy to have
22   the discussion about whether there'd be motivation to invest
23   in this technology and make developments strictly for the
24   purposes of in vitro Petri dish.
25         JUDGE SNEDDEN: There's one argument that the
26   Petitioner is advancing, is that your evidence of unexpected


                                              74
                                                                      JA002625
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 76 of 910 PageID #: 9656

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   result when compared to a closest prior art is not unexpected.
 2   Could you address that?
 3         MR. ROSATO: I do want to address that.
 4         JUDGE SNEDDEN: Okay.
 5         MR. ROSATO: Let's -- and two points on that.
 6         Go to Slide 11, please.
 7         When I first addressed this argument about
 8   differences being a matter of degree and not differences in
 9   kind, that is not true. And we point out that these are
10   differences in kind, not merely degree, and that's, you know,
11   one of the reasons why we're talking in vivo potency, right?
12   And they were criticized for focusing on vivo, but that is a
13   difference in kind, right, is they surprisingly efficacious
14   result in vivo, combined with low toxicity.
15         So it's not just one thing, you've got two things
16   that are doing in the complete opposite direction of what
17   would have been expected at the time.
18         This figure here, which I think is Figure 3, if I'm
19   getting that correctly, from -- not confusing the example
20   versus the figure, but what's shown here and why this is the
21   fairly pertinent, and it goes to a couple points, one of which
22   is this issue, the closest prior art, it's hard to know what
23   that is. I mean, I don't know what they believe to be the
24   closest prior art. They've latched onto this 2:40 formulation
25   as the closest, I guess, for numerical purposes. The
26   comparison was to 2:30 because that was actually one of Patent


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                                                                      JA002626
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 77 of 910 PageID #: 9657

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   Owner's formulations that was believed their -- that was their
 2   -- identified as their lead compound.
 3         But the comparison here is quite compelling or the
 4   results here is quite compelling because what you see is a --
 5   what's reported as a huge increase in the silencing ability of
 6   the -- this is the '157 or the formulation in the scope of the
 7   claim. You're seeing a dramatic increase in the potency, and
 8   you're seeing that dramatic increase despite a ten-fold lower
 9   dose, right?
10         So it's not just that it was -- you saw difference
11   in degree of in vivo silencing, you saw a huge difference at a
12   ten-fold lower dose, and virtually no toxicity.
13         So it's the combination of all that. And this is an
14   illustration. The potency and low toxicity is across the
15   entire range of tested formulations. The -- if you're
16   comparing -- if you're looking at toxicity and you're
17   comparing that to 2:30 and seeing much less -- virtually no
18   toxicity compared to lower cationic lipid component when
19   you're expecting higher toxicity, that's a perfectly
20   appropriate comparison.
21         If their -- with regard to the 2:40, and, again,
22   they're just calling this prior art because they -- you know,
23   it's a convenient argument to be honest, but if there is a
24   comparison of that, it is compared.
25         They did test 2:40, and this underscores a point
26   where we're talking about unexpected results. And there seems


                                             76
                                                                      JA002627
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 78 of 910 PageID #: 9658

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   to be this assumption that you only get -- what they're
 2   talking about are superior results, right? The test is
 3   unexpected results. Their point of criticism is, Well, it
 4   wasn't superior, therefore, it wasn't expected. But we have
 5   to ask what was expected and this is why I raised this point
 6   earlier. You have to understand what was expected at the
 7   time, and the expectation is you're going to see a decrease in
 8   potency and an increase in toxicity, and the opposite was
 9   observed. Those are unexpected. And they're differences in
10   kind, not degree for the various reasons we talked about.
11            I want to point briefly, if I can, to Slide 13.
12   This reference was submitted -- sorry, in -- partially in
13   response to this criticism of the closest, all right? So this
14   is Figure 2, I believe, from the Akinc reference, that's
15   Exhibit 2047.
16            But if we want close comparison, you can't get any
17   closer than this -- the comparison that was recorded here. A
18   whole panel of formulations were tested. Only three of those
19   formulations tested were within the scope of the claim, and
20   the rest -- those three are shown in the red box. The rest
21   not in the red box are outside the scope, but they're only
22   outside the scope of the claim by virtue of the conjugated
23   lipid component. It's only barely outside the scope of the
24   claim.
25            So here's a whole bunch of formulations outside the
26   scope that are extremely close to those end, and the three


                                                77
                                                                      JA002628
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 79 of 910 PageID #: 9659

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   formulations within the scope were superior to what was -- the
 2   other formulations tested.
 3         So there are all types of different formulations
 4   tested. They're all types of different comparisons that were
 5   done. This is one we saw one in the '435 Patent against the
 6   2:30 formulation, which was, again, the lead product at the
 7   time. If for performances were drastically better, and then
 8   the results of testing of the 240 reported, and the
 9   expectation is -- and, again, we're asking what's expected,
10   not what's superior -- or what was unexpected, not what was
11   superior. So there's a difference there. I want to make sure
12   we observed.
13         And that I'll just --
14         JUDGE MITCHELL: Yeah, if you could wrap it up.
15         MR. ROSATO: Yeah, let me just -- final point, which
16   is this nexus issue.
17         Really, I mean, at times, I feel like we're talking
18   over each other, but I would turn to Slide 27, please,
19   quickly. Again, there is this argument that the drug is --
20   the success of the drug is due all to the nucleic acid. And I
21   would just point to the nature article on the next slide.
22   That specifically -- this is again, the nature article that
23   goes on and on about the delivery solving the problem and
24   allowing the success of this very commercial product. So it's
25   hard to see how this is singing the praises of the drug rather
26   than the delivery.


                                             78
                                                                      JA002629
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 80 of 910 PageID #: 9660

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         Thank you.
 2         JUDGE MITCHELL: Thank you both.
 3         So the case IPR2018-00739 is submitted, and we'll
 4   take a ten-minute break, and then reconvene here for the next
 5   case, about -- at 25 til if we could reconvene for the
 6   second case. Thank you.
 7         (Break was taken.)
 8         JUDGE MITCHELL: You may be seated. So now we are
 9   going to have argument in IPR2018-00680.
10         And, Petitioner, would you like to reserve any time?
11         MR. WELLS: Yes, Your Honor. I'd like to reserve
12   half of my time, please.
13         JUDGE MITCHELL: Okay.
14         MR. WELLS: If we could go to Slide 121, please?
15         So now I'm going to talk about the '127 Patent. And
16   a lot of the terms and a lot of the substance of what we're
17   going to discuss is going to overlap with what we've already
18   heard regarding the '435 Patent, but it's important to realize
19   that the '127 Patent is a separate patent family from the '435
20   Patent family. And so the '069 Patent, which is referenced in
21   the briefing, what we're going to talk about here today, is in
22   the same family as the parent of the '435 Patent. It's
23   unrelated to the '127 Patent and this prior art.
24         JUDGE MITCHELL: Sorry, let me interrupt you --
25         MR. WELLS: Yes.
26         JUDGE MITCHELL: To make sure Judge Smith is on.


                                            79
                                                                      JA002630
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 81 of 910 PageID #: 9661

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   I'm sorry. I just don't see him on, and I'm wondering --
 2         JUDGE SMITH: Yes, I'm on.
 3         JUDGE MITCHELL: Okay, sorry.
 4         JUDGE SMITH: I'm here.
 5         JUDGE MITCHELL: Thank you. Go ahead. Sorry to
 6   interrupt.
 7         MR. WELLS: Okay.
 8         If we can go to Slide 122. So, here, we have the
 9   '127 Patent. Again, Protiva and Arbutus are the owners, but
10   again, unrelated.
11         If you go to Slide 123, please. And this is the
12   independent claim to the '127 Patent, and it's directed to a
13   particle population, and -- but we have the same basic
14   components that we've been discussing with regard to the '435.
15   We have nucleic acid payload, we have the three lipid
16   components throughout the outline that's any cationic lipid in
17   any percentage, any non-cationic lipid in any percentage, and
18   a conjugated lipid in any percentage.
19         Now, if you go to Slide 124, please. This is the
20   '069 Patent, which is one of the primary references relied
21   upon in the petition for invalidity. It's the parent to the
22   '435 Patent. It has the same substance disclosures regarding
23   -- as the '435 Patent.
24         Go to the next, Slide 125. And this discloses the
25   same particles. Again, we have a nucleic acid, a cationic
26   lipid, a non-cationic lipid, and a conjugated lipid in certain


                                             80
                                                                      JA002631
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 82 of 910 PageID #: 9662

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   percentages in the '069 Patent, but they're the same basic
 2   particles.
 3         So go to the next slide. So what did the '127
 4   Patent add? Well, they argued that they added this additional
 5   limitation regarding 95 percent of the particles in the given
 6   population having a non-lamellar morphology. And so what did
 7   they do to get that?
 8         And if we go to the next slide, they looked at the
 9   prior art particles that they had previously disclosed in the
10   '069 Patent and in the '435 Patent in that patent family, and
11   they took a picture of them. And then they looked at that
12   picture of the prior TEM image and then said, Okay, well these
13   are dark, and that looks like a dense center, so we're going
14   to associate that with non-lamellar. And then we're going to
15   count them.
16         And if you can go to the next slide, Slide 128. And
17   so they counted the particles that had this dark center, this
18   non-lamellar morphology, and you can see the particles that
19   were tested were the 2:30 now, the 2:40 now, the
20   1:57, and the 1:62 now. And you'll recall hearing
21   about those formulations earlier today regarding the '435
22   Patent.
23         Now, if you go to Slide 131, this non-lamellar
24   morphology, it's admitted this is a physical characteristic of
25   the particles. That's not in dispute.
26         And if you can go to the next slide, it's also --


                                             81
                                                                      JA002632
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 83 of 910 PageID #: 9663

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   the '127 Patent itself says that by controlling the SNALP
 2   formulation and the formation process of the particles, you
 3   get this non-lamellar morphology. It's inherent for a given
 4   formulation and a given formation process.
 5         If we can go to the next slide, Slide 133. We have
 6   their expert. Dr. Thompson admitted that if you have the same
 7   formulation and you have the same formation process, you
 8   should get the same three-dimensional structure. It's -- you
 9   can -- reproducible. It's an inherent property associated
10   with those particles.
11         If we can go to Slide 134. But the law is clear.
12   Claiming an inherent property of a prior art composition, even
13   if they didn't know it was non-lamellar at the time, it's
14   insufficient as a manner of law to confer patentability.
15         If we can go to Slide 135. Now, this is their
16   expert, Dr. Thompson, being questioned at deposition about the
17   '435 Patent particles, but you'll recall that's a child of the
18   '069 Patent and has the same specifications. The detail is
19   exactly the same experiments. And he was asked, Would you
20   expect those particles to have this 95 percent non-lamellar
21   structure? And this is their expert saying, Yeah, based upon
22   these experiments, that's their state. That's what I think
23   was happening on the '435 Patent, which, again, is in the same
24   patent family as the '069.
25         If we can go to Slide 138. So what was tested in
26   the '127 Patent and what formulations? Well, we had certain


                                             82
                                                                      JA002633
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 84 of 910 PageID #: 9664

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   lipid components, we had the conjugated lipid, the peg, we
 2   have the cationic lipid, DLinDMA or FOSFA (ph) lipid, DSPC and
 3   cholesterol; those together make up the non-cationic lipid.
 4   And then we have our concentrations and our mole percentages.
 5         If we can go to Slide 139, please. In the '069
 6   Patent, we have the same tested formulations, the same2:30, the same2:40,
 7   the1:57, the1:62. This is all
 8   laid out in Tables 3 through 6 in the '069 Patent. These were
 9   all tested. And the lipid components, exactly the same lipid
10   components. The only variability is that for two of the
11   formulations, the 2:40 and the1:57, DPPC was used
12   instead of DSPC.
13         But if you can go to the next slide, 140, there,
14   expert admits that that type of small change wouldn't be
15   expected to have any impact on the result in three-dimensional
16   structure.
17         So we have the same formulations. Now, we have to
18   go to the four formation process and what's disclosed
19   regarding the formation processes.
20         So if we can go to Slide 141, please. What does the
21   '127 Patent say about the formation processes? Well, it says
22   that you can use any method known in the art to produce these
23   particles and get particles with this non-lamellar morphology.
24   Does that mean that every method known in the art results in
25   these? No. What it means is that a person of skill in the
26   art would know how to use the prior art known methods of


                                           83
                                                                         JA002634
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 85 of 910 PageID #: 9665

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   production to achieve this non-lamellar morphology. That's
 2   what the '127 Patent says about this. And it goes further.
 3   It gives us some examples.
 4         So if we can go to Slide 142, please. It gives two
 5   examples. It points to a step-wise dilution method, and it
 6   references US Patent publication 2004-0142025, which I believe
 7   is Exhibit 1018, and a direct dilution method, and it
 8   references there, Patent publication 2007-0042031. And it
 9   says -- these are two examples of publications that detail
10   known methods of producing these particles that you can use to
11   get this non-lamellar structure.
12         If we can go to Slide 143. The '069 Patent
13   references exactly the same publications. Here's two example
14   publications in the '069 Patent that also detail how you can
15   get the particles disclosed in the '069 Patent. And, again,
16   the '025, talking about the step-wise dilution method and the
17   '031 talking about the direct dilution method.
18         If you go to Slide 144. Now -- actually, go to
19   Slide 145, please. The '127 Patent does discuss formation
20   process parameters, and it provides the formation process
21   parameters used to produce the non-lamellar particles that it
22   says result from the testing in the '127 Patent. And those
23   are produced in Table 1, that's in Column 104, and you can see
24   the DDM there, stands for direct dilution method. And we have
25   six variables, one of them, arguably, the batch size probably
26   has no impact, but several variables.


                                             84
                                                                      JA002635
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 86 of 910 PageID #: 9666

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         If you go to Slide 146. But the law is clear. The
 2   claims don't have anything about the formation process that
 3   has to be used. The claims --
 4         JUDGE SMITH: Counsel, can we go -- just for a
 5   second.
 6         MR. WELLS: Yes.
 7         JUDGE SMITH: To your Slide 145, Table 1.
 8         MR. WELLS: Yes.
 9         JUDGE SMITH: Now, under this, the DDM column, is it
10   correct that these were the particular parameters used in the
11   '127 to do some testing or is it your position or to your
12   knowledge -- or your position that to practice the DDM method,
13   you got to use exactly these parameters?
14         MR. WELLS: Thank you for the question.
15         So this was -- were the parameters that were used in
16   the testing for the '127 Patent for the direct dilution
17   method. The '127 Patent does not discuss these parameters as
18   having any impact on the non-lamellar morphology, does not
19   state anywhere that these have anything to do with the non-
20   lamellar structure resulting. But Patent Owner pointed to
21   these parameters in the course of the briefing and said, Hey,
22   these parameters are important. That's how we got the non-
23   lamellar structure. And our response there -- well, our first
24   response is obviously, Where does it say that in the '127
25   Patent? And the answer is, it doesn't. But the law also
26   addresses this fact. The law is very clear.


                                             85
                                                                      JA002636
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 87 of 910 PageID #: 9667

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         If we go to Slide 146, the law says, When there's
 2   not a limitation in the claims, you can't rely on that
 3   limitation to try to defeat inherency. Patent Owner is asking
 4   you to read into these claims, limitations that say, Oh, using
 5   these DDM method with these specific parameters. And the
 6   claim simply don't say that. There's no limitation there, and
 7   what we have is the specification of the '127 Patent saying
 8   that you can use the opposite. Any method known in the art
 9   and a person of skill in the art would know how to make these
10   non-lamellar particles.
11         If we can go to Slide 147. Now, the '069 Patent is
12   silent -- I'm sorry. If we go to Slide 148. So the '069
13   Patent is silent on the specific parameters used and the
14   testing for the direct dilution method or the stepwise
15   dilution method, but the '069 Patent references the '031 and
16   the '025publications.
17         And, again, these parameters are not actually in the
18   claims, but even if they were, the test for anticipation isn't
19   whether it was actually reduced to practice and testing. The
20   question is, do the '031 Patent -- Publication -- I'm sorry --
21   and the '025 Publication disclose to one of skill in the art
22   using those parameters to produce particles? And the answer
23   there is absolutely. They have to. The '127 Patent
24   references these publications as disclosing exactly that.
25         And if you go to these publications, they talk about
26   the different parameters that you can use. They talk about


                                            86
                                                                      JA002637
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 88 of 910 PageID #: 9668

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   the ranges of the mixing speeds, they talk about the equipment
 2   that can be used. It's all in there. And it's actually not
 3   disputed that it's in there.
 4         If you can go to Slide 149. Their expert says that
 5   the '031 Patent defines the larger set of possibilities and
 6   the '127 Patent on Table 1 is simply identifying one of those
 7   possibilities, one of the embodiments in the '031 Patent that
 8   the '127 Patent acknowledges, result in this inherent three-
 9   dimensional structure.
10         In other words, nothing is missing from the
11   disclosure in the '031 to enable one of skill in the art to
12   produce particles using the formation process that's disclosed
13   therein to result in a non-lamellar structure.
14         So what do we have now? We have one, the same
15   formulations, basically the same lipid components, the same
16   numbers, the same percentages, and then we also now have the
17   same formulation process to result in those particles. And
18   that's what the '127 Patent says, defines whether or not a
19   specific embodiment has this inherent non-lamellar structure.
20         Now, Patent Owner also puts forth some evidence of a
21   test that they had one of their employees run. If we can go
22   to Slide 152. This is -- their test is legally irrelevant,
23   first of all. It doesn't matter that an embodiments exists
24   out there in the '031 Publication or the '025 Publication.
25   That might not result in the non-lamellar structure. The law
26   only requires one embodiment that has this inherent property.


                                             87
                                                                      JA002638
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 89 of 910 PageID #: 9669

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1           Second, if we can go to Slide 154. These tests were
 2   designed by counsel for the Patent Owner to fail. They were
 3   -- he instructed the employee of the Patent Owner to use
 4   manual syringes and did not even attempt to recreate the
 5   production methods actually used in the '069 Patent.
 6           If you can go to Slide 155. During this testing,
 7   the employee actually held two syringes in his hand and
 8   counted one 1,000, two 1,000 to approximate a steady flow
 9   rate.
10           If you can go to Slide 156. And he admits that this
11   is going to add fluctuations to the test results. If you
12   don't have good mixing, you're not going to have a full
13   homogeneous particle population. This testing was -- again,
14   he was instructed to do so. The testing was designed to fail.
15           If you go to Slide 157. If you looked at the
16   results associated with this testing, these were bad
17   particles. These are badly run tests. The particles had high
18   background that made it difficult to judge the structural
19   features. The particles were far larger than the size called
20   for in the '069 Patent, and large amounts of the particles
21   couldn't be evaluated one way or the other, fully, 22.7
22   percent for one of the samples. It's hard to address 95
23   percent non-lamellarity in a particle population when 22
24   percent of the particles, you can't figure out one way or the
25   other what they are.
26           In addition, even if the claim non-lamellar


                                            88
                                                                      JA002639
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 90 of 910 PageID #: 9670

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   structure was determined not to be an inherent property of the
 2   disclosed particles in the '069 Patent, it's obvious. '069
 3   Patent discloses the same formulations. There's no dispute
 4   there. The '069 Patent discloses the same formulation
 5   processes that were given as examples, specific examples in
 6   the '127 Patent regarding how you can make these particles.
 7         The '069 Patent actually identifies having a non-
 8   lamellar structure as one of the goals. If you go to Slide
 9   161, please. This is a quote from the '069 Patent, Wherein
10   the therapeutic agent is fully encapsulated within the lipid
11   portion.
12         What does that mean, within the lipid portion? It
13   doesn't mean simply within a biliary in a liposomal structure.
14   It means it's actually encapsulated in the lipid portion of
15   the particle. Now, that's a three-dimensional structure that
16   results when you had a non-lamellar structure. You either
17   have an inverse hexagonal structure or a cubic structure,
18   according to the '127 Patent.
19         JUDGE MITHCELL: Can I ask you? Do you have expert
20   testimony that says that the prior art formulations would
21   necessarily result in the non-lamellar particles?
22         MR. WELLS: We have testimony from both experts that
23   the prior art formulations using the formulation processes
24   disclosed in the '031 Patent will result in the non-lamellar
25   structures. Both experts agree on that. The dispute is
26   whether all of the formulation processes, formation processes


                                            89
                                                                      JA002640
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 91 of 910 PageID #: 9671

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   in the '031 Patent must result in the non-lamellar structure.
 2   And that's a legal issue that the Federal Circuit has clearly
 3   said. It's not required. You need one embodiment. And
 4   nobody disputes that that embodiment is disclosed in the '031
 5   Patent. The '127 Patent says it.
 6         JUDGE MITCHELL: Okay.
 7         MR. WELLS: I have no more at this point, Your
 8   Honor.
 9         JUDGE MITCHELL: Would you like to reserve five
10   minutes?
11         MR. ROSATO: Yes, thank you.
12         JUDGE MITCHELL: Sure.
13         MR. ROSATO: So we're looking first at Slide 3 here.
14   And this is just the listing of the grounds that were
15   presented in the petition, and I just want to -- worth the
16   clarification that very little remains of the challenge, in
17   the sense that most of the grounds, 2, 3, and 4 have already
18   been deemed insufficient to meet the institution standard,
19   although, of course, the entire petition was instituted, as it
20   should be. The deficiencies of Ground 2 through4, of course,
21   also are incurable, and they have, in fact, not been cured.
22         So we'll be talking about Ground 1, and Ground 1
23   really focuses around this limitation of the claim, I'll refer
24   to as the morphology limitation or the at least 95 percent
25   non-lamellar limitation.
26         Let's turn to Slide 4. And in going through that, I


                                             90
                                                                      JA002641
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 92 of 910 PageID #: 9672

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   know that these are very well-known legal principles listed on
 2   Slide 4, but they bear repeating in the context of this case.
 3   The first is with regard to inherency, the main argument with
 4   regard to Ground 1.
 5            It is very well-established that, as we all know,
 6   that inherency may not be established by mere probabilities
 7   and possibilities. That's not enough for an inherency case,
 8   and it's a very high bar. It's not one that is the burden of
 9   the Patent Owner to demonstrate.
10            Patent Owner does not bear the burden of proving no
11   inherency. Proving inherency is the burden of the moving
12   party.
13            The second principle listed here is the idea that
14   picking and choosing amongst different disclosures and
15   different embodiments is not sufficient to support an
16   anticipation case of any kind, and that includes an inherent
17   anticipation case. This latter principle -- and
18   distinguishing both of them is pretty important here because
19   what seems to be going on in a number of instances is an
20   invitation to pick various different aspects from various
21   different embodiments, and put those together, and then claim
22   that the result would be one of inherent anticipation, but
23   that is not an approach that can substantiate an inherency
24   case. You can't start by going from one place in the
25   specification and looking at it in an embodiment for a
26   formulation, looking at -- picking ingredients or lipid


                                              91
                                                                      JA002642
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 93 of 910 PageID #: 9673

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   constituents for that formulation, going somewhere else,
 2   looking at different options for formulation methods, picking
 3   a method, going within that method, picking various different
 4   parameters. That's picking and choosing, and that's what we
 5   see going on here quite a bit.
 6         So let's look at the argument that was actually
 7   advanced in the petition with regard to inherency. And let's
 8   turn to Slide 5.
 9         So the inherency theory is, as one seem to exist,
10   was actually fairly clear. I think it was reiterated here, to
11   the extent that there was reference to the same exact same
12   formulations, lipids, and methods being used. But looking at
13   what was advanced in the petition materials, Petitioner
14   pointed to some very specific lipid formulations in the '069,
15   those listed in Tables 3 through 6, and the petition asserts
16   that the exact same method was used to make those particles as
17   compared to -- identified particles in the '127 Patent, right?
18   So there's specific identification here of particles or
19   embodiments of Tables 3 through 6, and the assertion that
20   everything is the same in terms of composition of those, and
21   everything is the same in terms of the method that was
22   utilized.
23         There are a number -- oh, and then of course, it
24   draws the conclusion. Because that all was the same, while
25   '069 didn't test morphology or doesn't say anything about
26   morphology, due to the identity between all of these aspects,


                                            92
                                                                      JA002643
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 94 of 910 PageID #: 9674

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   the morphology result must -- has no choice but to be exactly
 2   the same as well.
 3         So that was the theory that was advanced, and there
 4   are a number of problems with that, starting with the fact
 5   that the entire case rests on a faulty and unsubstantiated
 6   premise, that is, Petitioner fails to establish that
 7   everything is in fact exactly the same as they charge. And
 8   this is particularly apparent with regard to the formulation
 9   method used for the embodiments listed in Tables 3 through 6
10   of the '069 Patent that are specifically being identified or
11   relied upon.
12         The '069 Patent provides multiple different
13   formulation methods, and Petitioner never establishes which of
14   those methods was used for the embodiments that are listed in
15   Tables 3 through 6. There is no evidence to support that
16   point, that the exact same formulation method was used. We
17   have no idea what method was used according to the Petitioner,
18   and are different embodiments and a -- simply have not been
19   identified or established which was used.
20         That alone is sufficient to defeat Petitioner's
21   inherency case. Again, you've got a case that is premised on
22   very specific factual assertions. We've just identified one
23   of them that is completely unsubstantiated and lacks any
24   support in the record. That is an unsubstantiated and faulty
25   premise to the argument. The argument fails at least for that
26   reason.


                                             93
                                                                      JA002644
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 95 of 910 PageID #: 9675

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         Let's turn to Slide 6. There's an additional
 2   reasons why the inherency theory fails, and that is based on
 3   Petitioner's assertion that the formulation method used, and
 4   insofar as they go in making assertions, their assertion only
 5   goes so far as to assert that the method used was the direct
 6   dilution method. They don't say what direct dilution method
 7   or anything about the direct dilution method. They just
 8   assert that the direct dilution method was used.
 9         We asked Dr. Janoff about this during cross-
10   examination, and he actually recoiled that the notion of using
11   the term, the direct dilution method, explaining that there is
12   no such thing as the direct dilution method. Direct dilution
13   is a class of methodologies. So if he's going to be asked
14   what method we're talking about, you know, it would have to be
15   specified. We were very clear on this. I specifically asked
16   him, if someone walked into his office and said they used the
17   direct dilution method, he indicate he'd have no idea what
18   they're talking about because you would have to specify
19   precisely what direct dilution method you're talking about.
20         So we're talking about a class of methodologies, and
21   that's really what they're pointing to in the petition, that
22   they say the same method. They haven't substantiated that a
23   direct dilution method was used, but even the assertion of the
24   direct dilution method is referring to a class of methods.
25         And then just to go along with Dr. Janoff's
26   testimony during cross, they've identified this '031


                                             94
                                                                      JA002645
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 96 of 910 PageID #: 9676

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   Publication as being the direct dilution method. If we look
 2   at that publication, it's pretty clear that it's not
 3   describing one single solitary method. You can see that from
 4   Figures 3A and 3B, which are outlined in different
 5   apparatuses. And then if you go through the disclosure, what
 6   we're seeing are various different parameters being identified
 7   and various different options all along the way.
 8          So Dr. Janoff is correct. There is no direct
 9   dilution method. We're talking about a class of methods, and
10   the reference we're looking at substantiates that.
11          By the way, there's not a single citation. I want
12   to be careful with how far we go with '031 because there's not
13   a single citation to anything specific in the petition
14   materials. There's only general reference to the '031
15   Publication as a broad matter.
16          JUDGE MITCHELL: If you can hold just a minute. I
17   think we've lost Judge Smith, so I just want to make sure he
18   is reconnected.
19          MR. ROSATO: Sure. I hope he can't hold that still
20   in real life.
21          JUDGE MITCHELL: Can you tell if Judge Smith is
22   connected? We lost Judge Smith. Sorry.
23          Sorry to interrupt you.
24          MR. ROSATO: No problem.
25          (Off the record discussion.)
26          JUDGE SMITH: Hello.


                                               95
                                                                      JA002646
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 97 of 910 PageID #: 9677

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1         JUDGE MITCHELL: Oh, great. So can you hear and see
 2   us?
 3         JUDGE SMITH: I can, yes.
 4         JUDGE MITCHELL: All right. Well, we will resume,
 5   Judge Smith.
 6         So when you're ready, Mr. Rosato.
 7         MR. ROSATO: Okay.
 8         JUDGE MITCHELL: Sorry about that.
 9         MR. ROSATO: No problem. Okay.
10         So I think we were going through the inherency case
11   and trying to take this in a dual burden of proof, one step at
12   a time. And starting with the fact that the issue of the
13   unsubstantiated premise is that everything was the same and
14   focusing first on this method issue.
15         We pointed out first that the particles that they
16   were -- that they identified, they hadn't established what
17   method or even what class of method they were generated using.
18   Next, looking at their assertion that they were all generated
19   the direct dilution method, we looked at why that isn't good
20   enough, even if accepted as true because we're talking about a
21   class of methods when we say the direct dilution method. But
22   it doesn't specify which direct dilution method and, in
23   particular, which sets of parameters are being contemplated or
24   they think are being used. And there's --
25         JUDGE SMITH: Counsel, can I stop you there?
26         So the '127 Patent uses the word, The direct


                                            96
                                                                      JA002647
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 98 of 910 PageID #: 9678

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   dilution method, whenever it's referenced. So what is, The
 2   direct dilution method?
 3         MR. ROSATO: The direct dilution method is a class
 4   of methodologies.
 5         JUDGE SMITH: But why does it say, The? I mean,
 6   what's the significance of the word, The?
 7         MR. ROSATO: Well, perhaps, it should say the direct
 8   dilution method referring to the class of methodologies. But
 9   it's clearly referring to a class of methods as illustrated in
10   the '031 publication, which lists --
11         JUDGE SMITH: But any of those -- based on your --
12   the '127 spec, it says any of those then would be acceptable
13   to actually make the particles that you're claiming, the
14   composition that you're claiming.
15         MR. ROSATO: Well, okay. Let's -- I'm starting with
16   the '069 Patent, not the '127, right? And then it's another
17   issue in -- with the asserted challenge. I mean, we're taking
18   the '127 Patent and trying to use that as a road map to find
19   something. I'm starting with the case that's set forth in the
20   petition materials, and there's specific materials that are
21   identified in the '069 Patent that are allegedly producing
22   inherent -- these particles that are accused of inherently
23   meeting the claimed properties.
24         So I'm trying to approach the assertion that was
25   made and respond to that. So I -- no, I don't think it'd be
26   appropriate to start -- and the Petitioner does this quite a


                                             97
                                                                      JA002648
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 99 of 910 PageID #: 9679

     IPR2018-00680 (Patent 9,404,127)
     IPR2018-00739 (Patent 9,364,435)

 1   bit, but I don't think it's appropriate to then try to
 2   backfill the deficiencies in that stated case by reverting
 3   back to the '127 Patent and then trying to map things up and
 4   see if we can find something here.
 5         Again, this is why -- in part why I started out by
 6   saying let's remember that there are two important principles
 7   of law that are guiding us here. They're the principles of
 8   what constitute a case of inherency and what's required by
 9   that. And then there's the principle of law that reminds us
10   all what we know, and that is picking and choosing amongst
11   various different options and different disclosures,
12   embodiments, and so forth is not any type of anticipation
13   case. It's really an assertion of obviousness.
14         So we're talking about, you know, this assertion
15   again trying to understand what Petitioner means by using the
16   same direct dilution method, and we asked their expert and he
17   said there's no such thing. You have to know more than that,
18   and we looked at the '031 Publication that was cited, and
19   indeed there are a fair amount of details.
20         Why does this matter? Let's -- can we turn to Slide
21   7? It matters because knowing what process was used, in
22   particular, some details about that processes, it matters
23   because if you alter aspects of the process of forming
24   particles, what happens is that alters the physical properties
25   of the resulting particles. That is substantiated, supported
26   by testimony from both witnesses. Both witnesses agree that


                                              98
                                                                      JA002649
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 100 of 910 PageID #: 9680

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   that's the case.
  2         If you start altering parameters of a formation
  3   process, you expect differences in the physical properties of
  4   the resulting particles. And that's particularly true, even
  5   with using a direct dilution method as -- and Dr. Janoff
  6   supported this during cross examination, indicating that if
  7   you start changing parameters such as -- he identified three
  8   parameters; speed, mixing rate, and temperature, that that is
  9   sufficient affect the physical properties of the particles
10    enough or you might not even get the claimed particles.
11          So we're starting with inherency, and we're asking
12    whether inherency requires more than probabilities and
 13   possibilities, which we all know that it does. It's hard to
 14   see how this type of evidence and testimony does anything
 15   other than demonstrate they failed inherency here.
 16         Okay. Let's turn to Slide 8. So there's no reason
 17   -- we have identified several reasons why the inherency theory
 18   that's been advanced fails. It also involves a lot of
 19   speculation, but there's no reason to speculate as to whether
 20   the particles that are being identified would have the same
 21   physical properties or not.
 22         We can -- if we're going to do this comparison
 23   between the subject matter that's being identified and the
 24   respective disclosures, '069 and '127, we can look at that and
 25   see that they actually tested and reported physical
 26   characterization of those particles to different degrees.


                                             99
                                                                       JA002650
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 101 of 910 PageID #: 9681

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   '069 didn't characterize the particle morphology, but it did
  2   characterize other physical properties of those particles such
  3   as encapsulation, percentage -- sorry, I almost said
  4   morphology, I didn't mean that -- size, polydispersity, and
  5   various different properties. Similar -- some of those same
  6   properties were characterized in '127.
  7         So what's being identified is the exact same
  8   particles. We can look at the reported physical
  9   characteristics of those, and we see that shown in Tables 5 of
10    '069 next to Table 5 of '127, and what you're seeing by that
11    comparison is a difference in physical properties. So --
12          JUDGE SMITH: But not necessarily a difference in
13    the morphology.
14          MR. ROSATO: Morphology is not listed in there, but
 15   just to be clear, what we're talking about, no. '069 doesn't
 16   characterize morphology. But if we're going to be making
 17   assumptions about the physical property of morphology, it's a
 18   reasonable assumption that particles having different physical
 19   properties, as shown by the data, may not necessarily have the
 20   same common morphology, with morphology being also -- another
 21   different physical property. So --
 22         JUDGE SMITH: Isn't the -- counsel, isn't the issue
 23   not the particles but the disclosure?
 24         MR. ROSATO: I'm not sure what you mean by that,
 25   Your Honor. I would say that given the stated case of
 26   inherency that's presented in the petition, that there are


                                              100
                                                                       JA002651
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 102 of 910 PageID #: 9682

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   specific particles identified, and the assertion is those
  2   specific embodiments were made by a very specific process,
  3   and, therefore, the logic that's being advanced is you must
  4   assume the same outcome. I would say it does matter which
  5   particles we're talking about.
  6         Okay. Let's turn to Slide 9. So, I mean again,
  7   we're -- non-moving party, we're doing our best to respond to
  8   the argument that's made. If they thought there was something
  9   other, some other embodiment that they're pointing to, then
10    you know we would be happy to address that. But they're
11    pointing to very specific things; we're addressing those.
 12         Now, if they really wanted to argue is that there
 13   would've been some reason why someone would want non-Lamellar
 14   particles at a high degree, they could have -- and that
 15   somebody would then be motivated to go pick all these
 16   different options, pick a particular class of formulations,
 17   pick different lipid constituents, pick a method, pick various
 18   different parameters, that there'd be sufficient guidance to
 19   do that, and there'd be reasonable expectation of success,
 20   they could have put that all together in an obviousness
 21   challenge, and we would have addressed that. But they didn't
 22   do that.
 23         So we can't back into -- present an inherency
 24   theory, and then sort of back into what we might really want
 25   to address as Petitioner, you know, some sort of shorthanded
 26   obviousness theory, and then sort of cut corners and call it


                                             101
                                                                       JA002652
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 103 of 910 PageID #: 9683

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   all good.
  2         Inherency theory is on the table, we'll address the
  3   inherency theory, and we can move to what was presented in
  4   terms of obviousness when we get there.
  5         But continuing along to address the inherency
  6   theory. So we're looking at Slide 9 here, and I want to talk
  7   about the experimental testing that was performed by Dr.
  8   Heyes. There was a comment earlier that the -- that stated
  9   that testing was specifically designed by counsel. That's
10    correct, it was designed by counsel.
11          But what opposing counsel, perhaps, fails to
12    appreciate is that Petitioner's counsel was the one that
13    designed this experiment. They designed it by virtue of what
14    they were providing in terms of their -- what was being
15    asserted as being providing the inherency. And they cited
16    specifically to Column 73, Lines 13 to 39 in their petition,
17    and this was the instance where they had a particular
18    formulation that they were identifying with some content about
19    what type of process was used to prepare it. And Dr. Heyes
20    attempted to reproduce this process by following the
21    formulation guidance, following the syringe press guidance,
22    and then assuming that the accusation of the direct dilution
23    method according to the '031 Publication was true, generating
24    particles using a process according to the '031 Publication.
25    Right?
26          So all of the detail that can be discerned from what


                                             102
                                                                       JA002653
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 104 of 910 PageID #: 9684

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   was presented was followed, and that was precisely what
  2   defined the confines of the experiment performed. So if the
  3   Petitioner has any complaint as to the type of experiment that
  4   was run, they can look to the petition materials as a source
  5   of that guidance.
  6         Let's turn to Slide 10. And this is just Dr. Heyes'
  7   declaration explaining precisely why he chose what he did.
  8         Turn to slide 11.
  9         JUDGE SMITH: Could you respond to -- I believe
10    before I lost contact, the issue of the Heyes test data not
11    being relevant or not necessary.
 12         MR. ROSATO: I completely agree. It's not --
 13         JUDGE SMITH: Something like that. I forget exactly
 14   the way they phrased it, but the fact that they -- their
 15   essential point, as I understood it, was the fact that Dr.
 16   Heyes failed to come up with a non-lamellar morphology --
 17         MR. ROSATO: I see.
 18         JUDGE SMITH: It doesn't really --
 19         MR. ROSATO: Yeah, I see.
 20         JUDGE SMITH: Factor in --
 21         MR. ROSATO: I understand the question, Your Honor.
 22   I would say we're in agreement to the extent that the data is
 23   irrelevant because we should never get to the data to begin
 24   with. This is a Patent Owner putting forth evidence to
 25   disprove a stated inherency case.
 26         So we shouldn't need to get there. There is no


                                             103
                                                                       JA002654
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 105 of 910 PageID #: 9685

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   substantiated inherency case to begin with. We can dispense
  2   of the inherency case simply by virtue of unsupported
  3   unsubstantiated premise on which it's based.
  4         So, in that sense, we in fact never need to get to
  5   Dr. Heyes' declaration testimony. I think what they were
  6   arguing, and this is a point that we will want to address, is
  7   this idea that, well, he may have demonstrated an embodiment
  8   or a situation where you follow all the guidance in '069, and
  9   it doesn't give you the claim particles. I think the point of
10    criticism was, we should have kept going and kept exploring
11    and varying parameters. That there's got to be something out
12    there somewhere that would meet the claimed limitations. I
13    think that's the suggestion, is that --
14          JUDGE SMITH: But you would -- yes. But you would
15    agree that if there is a composition that the -- that Claim 1,
16    in this case because Claim 1 is broad, there's a composition
17    in the prior art that Claim 1 reads on, regardless of whether
18    anyone appreciated what the morphology would be, that would be
19    anticipatory; not composition.
 20         MR. ROSATO: Yeah, I guess, I would just -- I don't
 21   think Claim 1 is that broad. I mean, it has a very specific
 22   limitation.
 23         JUDGE SMITH: I understand. I mean, I -- it can't
 24   be as it reads on a composition the prior art -- one
 25   composition.
 26         MR. ROSATO: So --


                                                104
                                                                       JA002655
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 106 of 910 PageID #: 9686

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1             JUDGE SMITH: Inherency isn't -- you don't have to
  2   prove that every possible combination or composition has that
  3   result.
  4             MR. ROSATO: Sure. I think we can agree on a point
  5   of law. I mean, I guess where I struggle with this case is
  6   what composition are we talking about?
  7             JUDGE SMITH: Well, my understanding --
  8             MR. ROSATO: Petitioner --
  9             JUDGE SMITH: Again, I -- well, go ahead. Go ahead.
10              MR. ROSATO: No, I'm sorry, Your Honor. I didn't
11    mean to interrupt you.
12              JUDGE SMITH: Well, my understanding, part of their
13    argument is what you're stating as the '127 Patent. That's
 14   where I wanted to talk about that. A person reading the '127
 15   Patent is going to believe what it says that the -- if you
 16   want to practice the invention, you go to the '031 Patent and
 17   it tells you exactly the process that you would use because it
 18   says, It's described in detail. The direct dilution method is
 19   described in detail. And that's what I'm trying to ask you;
 20   what -- you know, that's what I'm asking. I mean --
 21             MR. ROSATO: I think I understand the question.
 22             Look, I think the reality is this. What we're
 23   really talking about -- and again this is sort of what I
 24   wanted to distinguish between the two legal principles up
 25   front. What we really seem to want to know is if you go
 26   through the '069 disclosure, and you make all the right


                                               105
                                                                       JA002656
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 107 of 910 PageID #: 9687

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   choices in terms of the general class of formulations you're
  2   using, the right choices in terms of lipid compositions, and
  3   then you get to a method, and you make the right choices along
  4   the way of the different types of parameters that you're going
  5   to be using, if you make all those right choices, will you get
  6   the claimed particles?
  7         I set this out upfront as a point of -- a
  8   distinction between a point -- two different points of law
  9   because what I just described is an obviousness challenge,
10    right? It's picking and choosing amongst a host of different
11    choices and options to try to arrive at -- to --
12          Now, whether you're trying or you do arrive at the
13    claimed subject matter. So, it's really important to
14    bifurcate the inherency charge from what would be an
15    obviousness charge.
16          So if we're looking at inherency, we have to find
 17   some embodiment -- this is where we all agree, it's a one-
 18   embodiment thing. But we have to find that embodiment and a
 19   reason to believe without -- about -- above mere probabilities
 20   and possibilities, that that meets the limitations. So that
 21   hasn't been done.
 22         Separately, there's this inclination -- maybe it's
 23   just, you know, the human mind of wanting to go, well, there
 24   must be something. But, you know, in an obviousness inquiry,
 25   you know, again we're trying to put ourselves in the position
 26   of not having the '127 Patent in front of us. Right? We're


                                             106
                                                                       JA002657
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 108 of 910 PageID #: 9688

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   trying to avoid this improper hindsight construction, and
  2   we're trying to start with the '069 Patent and say, Why would
  3   I want particles that are highly non-lamellar? Right?
  4   Particles that were believed to be highly unstable and nobody
  5   even knew you could get from these types of processes.
  6   Certainly, nobody knew how you would get them.
  7         So, if you're starting with '069, and you don't have
  8   a reason why you would want this. You wouldn't -- you don't
  9   have a reason to believe you could get it even if you did want
10    it, and you don't have any guidance on how you would do it,
11    then that's an unsubstantiated obviousness case as well.
12          JUDGE SMITH: So are you saying that a person who
 13   took the same components, person skilled in the art reading the
 14   '031 Patent, with the same components that you -- you know,
 15   basically overlap the '127 and the '069. You're saying a
 16   person skilled in the art would not be able to make a
 17   composition that Claim 1 reads on? I mean, anticipation is
 18   directed to a person skilled in the art.
 19         MR. ROSATO: I'm not sure I understand the question.
 20         JUDGE SMITH: Well, I'm not sure I know how to say
 21   it differently. I mean, the question is again, the '127
 22   Patent says that the direct dilution method as disclosed in
 23   the '031 Patent will get you there for the same -- for Claim
 24   1, again, assuming you have the same components, which the
 25   '069 discloses the same components.
 26         And my question is, so a person of ordinary skill in


                                             107
                                                                        JA002658
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 109 of 910 PageID #: 9689

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   the art looking at the '069 Patent and says, Okay, I'm going
  2   to look at the '031, and I'm going to practice what it tells
  3   me to practice on. I'm going to come up with a composition.
  4   It doesn't matter whether I know, or whether I'm even looking
  5   for the non-lamellar morphology.
  6         MR. ROSATO: Well --
  7         JUDGE SMITH: I'm going to make acomposition, and
  8   you're saying -- it sounds like you're saying there's no way
  9   you can get there.
10          MR. ROSATO: I'm not saying -- that's not what I'm
11    saying. I'm saying the standard for inherency is not a -- it
12    asks a specific question. It asks the question in reverse.
13    Would you necessarily, and without variation, get there? Not,
14    Do you have a possibility of getting there, do you have a
15    probability of getting there? It's, Have you necessarily
16    arrived there? That's the question --
17          JUDGE SMITH: Okay, so --
18          MR. ROSATO: Right? That's the question we're
19    asking. If we want to --
 20         JUDGE SMITH: Okay, let me -- question -- I guess
 21   the question I was trying to ask before. Where in the '127
 22   does it tell you what those parameters are? I mean, you can't
 23   have it both ways.
 24         MR. ROSATO: I guess I don't see it as both ways.
 25   We're conducting a non-hindsight based analysis, so they're
 26   two separate questions. Right? I mean, if we're starting


                                              108
                                                                      JA002659
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 110 of 910 PageID #: 9690

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   with -- we're starting with 069. We're looking for a sort of
  2   a linear path or an embodiment that gets you to a result that
  3   you can substantiate as inherent of the properties we're
  4   talking about.
  5         JUDGE SMITH: Let me -- let me break it down.
  6         So I -- and I'm just trying to understand here.
  7         MR. ROSATO: Uh-huh.
  8         JUDGE SMITH: There's been a discussion about this
  9   Table 1, and I asked Petitioner's counsel about that, and I
10    don't know if your client's position is that this is the
 11   secret sauce that you got to use in those particular
 12   parameters and the correct dilution method to get the
 13   composition. So that somehow, your claim is limited to those
 14   particular parameters.
 15         MR. ROSATO: Yeah. That was -- honestly, that's a
 16   straw man argument that was presented in the Petitioner's
 17   reply materials, that we're trying to read in some specific
 18   table to our claim, and then attack that as not making sense.
 19   We didn't make that argument; I mean, we're not arguing that a
 20   table be read into our claims.
 21         What we did do, just to differentiate our actual
 22   argument versus the one that was attacked, the argument's
 23   we've made are consistent with what I'm presenting here. This
 24   is the inherency case as we understand it; this is what
 25   they're pointing to. This is what they're asserting. Is this
 26   premise factually supported? No. Are these particles they're


                                             109
                                                                       JA002660
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 111 of 910 PageID #: 9691

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   pointing to, and saying, These inherently possess this
  2   property, is there evidence to that? No. We ran testing on
  3   some of them to reproduce it, to demonstrate. They don't have
  4   the properties.
  5         So the arguments that were presented are directly
  6   responsive to what was addressed in the petition materials. I
  7   have no idea what they're talking about in terms of tables
  8   being read into the claim, because that's not an argument we
  9   advanced.
10          If you're asking me, does the -- a different
11    question of, Does the '127 Patent provide sufficient guidance
 12   to make these, and is Table 1 and the corresponding parameters
 13   an example of that? I would say it is because it's describing
 14   an experiment that has corresponding data that specifically
 15   demonstrates that it produced 95 percent non-lamellar
 16   particles.
 17         So, yes, it's an experiment that was run and
 18   demonstrated to produce the resulting particles. So, yes,
 19   that -- of course, I believe that data.
 20         JUDGE SNEDDEN: Can I -- let me just see if I can
 21   understand the argument.
 22         MR. ROSATO: Uh-huh.
 23         JUDGE SNEDDEN: So prior -- if we look in the prior
 24   art document, you can find a nucleic acid, cationic lipid, and
 25   non-cationic lipid, you can find each of the elements in the
 26   claim. But what you're saying is there's not one


                                                110
                                                                       JA002661
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 112 of 910 PageID #: 9692

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   (indiscernible) presented in that prior art reference, the
  2   '069 I believe, that necessarily produces this morphology
  3   that's recited in the claim.
  4         Is that the argument, Judge Smith?
  5         MR. ROSATO: I mean --
  6         JUDGE SNEDDEN: Maybe that's too simplified, but --
  7         MR. ROSATO: No, it's not too simplified. Again,
  8   like -- sorry. I -- maybe I take too seriously the non-moving
  9   party role so look at the very specific things that were
10    identified as being the embodiments, and I'm trying to address
11    whether there's a reason you believe with certainty that they
12    have this. And I don't think that there is. I don't think
13    that, you know, there's a logically cohesive argument in terms
14    of supported premises and so forth, ones that would support
15    the conclusion drawn, in what they've provided.
16          Now, if you want to ask me --
17          JUDGE SNEDDEN: That conclusion is, Is there no
18    embodiment in the '069 Patent that necessarily has this non-
19    lamellar morphology.
 20         MR. ROSATO: I'm sorry. I didn't hear the first
 21   part, Your Honor.
 22         JUDGE SNEDDEN: That the conclusion is that there's
 23   -- no one has identified an embodiment in the '069 Patent that
 24   necessarily has this morphology, that displays this -- a
 25   composition that displays this morphology.
 26         MR. ROSATO: I think that's true, that they have not


                                            111
                                                                       JA002662
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 113 of 910 PageID #: 9693

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   identified an embodiment.
  2         JUDGE SNEDDEN: Right. So without that, how do we
  3   -- we're left with picking and choosing amongst the --
  4   everything that has been disclosed. Nucleic acids are
  5   disclosed, but which combination will get you to the
  6   morphology? That's the question. So --
  7         MR. ROSATO: That's the question.
  8         JUDGE SNEDDEN: Right? So maybe certain
  9   combinations will lead to the morphology, certain other ones
10    won't. But that's where we are in terms of probabilities, and
11    there's nothing that necessitates this morphology.
12          MR. ROSATO: I would agree with that, and I think --
 13         JUDGE SNEDDEN: I'm just trying to rephrase your
 14   argument, make sure I understand it.
 15         MR. ROSATO: Yeah, and I think that's what stated in
 16   -- if we want to again go back to the '127, and I really -- my
 17   nature makes me resist doing that and not -- in addressing a
 18   patentability challenge because of the hindsight guard. But
 19   if we look at what's described there, and I think there's a
 20   slide I'll put this up on the screen, there's some ham-handed
 21   description to be honest in how things are written in the
 22   specification.
 23         But one of the things that's stated is, the
 24   discovery is by controlling these components and controlling
 25   the process parameters, we were able to achieve this stuff.
 26   And I think that actually does capture some of the essence of


                                             112
                                                                       JA002663
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 114 of 910 PageID #: 9694

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   what we're talking about here. That's a matter of make -- you
  2   know, making the right choices and controlling the right
  3   parameters, and some choices will get you what you want or get
  4   you the 95 percent non-lamellarity, and some will not.
  5         In terms of the challenge, we do have this vague
  6   assertion that there -- from Petitioner that there must have
  7   been some embodiment. I don't know how to respond to that
  8   because I don't know what they're -- what embodiment they're
  9   talking about, other than the ones that are identified in the
10    petition materials.
11          JUDGE MITCHELL: But does the '127 tell you which
12    particular formulations are going to get or which particular
13    dilution processes can get you to the claimed invention?
14          MR. ROSATO: It gives some guidance. I mean, it
15    doesn't lay out a, you know, a matrix to, you know, say, Under
16    these conditions you will get, under these conditions you
17    won't. I mean, it lays out, you know, the categories of
18    methodologies you can work with. And I think what Judge Smith
19    was asking was, Are there experiments that demonstrate how you
20    get this? Yes. You know, and list some parameters that will
21    get you that. But is -- it doesn't have some specific, you
22    know, sort of matrix on how to -- anything like that. But I
 23   mean, there's --
 24         JUDGE SMITH: Is there -- as a follow up to that, is
 25   there anything in the '127 in terms of the process that you
 26   couldn't find or there is not disclosed in the '031?


                                            113
                                                                       JA002664
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 115 of 910 PageID #: 9695

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1         MR. ROSATO: Yeah, there is some things. I mean,
  2   just as an example, they list on Table 1 -- and, again, this
  3   is not reading in Table 1 to a claim or anything like that,
  4   but because it was up on the screen, and it's fresh in my mind
  5   there's a listing of a robotic lipobot press that is something
  6   that is not a mixing apparatus that's listed. I know that's
  7   true. I think there was some -- maybe some other things that
  8   I don't recall at this moment, but -- I mean, that's at least
  9   -- you said, Is there anything? And that's one I can think
10    of.
11          So we were talking about experiment -- Dr. Heyes'
12    experiment and why this was, you know, an attempt to actually
13    follow the direction that was given. There was criticism
14    about using handheld syringe presses. We actually asked Dr.
15    Janoff about this during cross-examination, and he
 16   specifically commented on that. But I think we can -- I don't
 17   need to run through the results of the experimentation. We
 18   all know -- we all know that they demonstrated that it -- the
 19   particles didn't meet the morphology. The Petitioner doesn't
 20   like the experimentation, but it is evidence of record in the
 21   Board and evaluate how much weight to attribute to that.
 22         Let's turn to slide 15. We addressed this in the
 23   briefing, and there's a motion to strike on this point too.
 24   But there's this issue of whether the '069 Patent can be used
 25   for an obviousness challenge. To begin with, and the answer
 26   is no, the '069 Patent was issued in November of 2011. That's


                                             114
                                                                       JA002665
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 116 of 910 PageID #: 9696

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   after the June, 2010 filing date of the '127 patent. And
  2   because '069 is a commonly owned one and to be referenced,
  3   it's disqualified under 103(c).
  4         Beyond that, we don't think there's really any
  5   obviousness inquiry to be had, beyond that point. If the
  6   Board is inclined to review any of the obviousness challenges,
  7   it will find -- to be brief, it will find those challenges are
  8   conclusory in nature and lacking really any coherent
  9   explanation.
10          And I'll just refer direct -- generally to the
11    obviousness argument that's at page -- and it's in the
12    petition, Page 32 through 33. This is shown on Slide 17. But
13    this is what we're talking about in terms of the types of
14    obviousness challenges that are -- that are met.
15          There's no -- you know, this is a couple sentences
16    that mention that non-lamellar particles are mentioned
17    elsewhere, and it jumps to the conclusion of obviousness.
18    There are no -- none of the critical aspects of an obviousness
19    inquiry that would be necessary here, and I don't need to
20    enumerate what those are, but they're missing. And I won't
 21   waste the amount of time.
 22         JUDGE MITCHELL: Thank you.
 23         MR. CHU: Your Honor, may I be excused because of
 24   where I need to get to by the end of the evening for the rest
 25   of the hearing?
 26         JUDGE MITCHELL: Sure.


                                              115
                                                                       JA002666
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 117 of 910 PageID #: 9697

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1         MR. CHU: And you're in good hands with Mr. Wells
  2   and Mr. Fleming.
  3         JUDGE MITCHELL: Sure. Thank you.
  4         When you're ready.
  5         MR. WELLS: Thank you, Your Honor.
  6         So I'd like to start with going to the reply brief,
  7   at Page 5, and I don't need this pulled up.
  8         There's a discussion of the Federal Circuit's
  9   holding in the King matter. And the full citation is 616 F.3d
10    at 1274. And the discussions about what's disclosed in the
11    patent that's being challenged on the anticipation basis.
12    And, here, the Patentee argued that the prior art's disclosure
13    of taking a certain drug with food reduced gastric discomfort.
14    And -- but it was too vague as to the conditions under which
15    the food was actually supplied, and the patent being
16    challenged in that case had discussions of what conditions the
17    food needed to be supplied in order for the drug to be
18    effective and avoid the discomfort. And the claims in that
 19   case though, in the patent that was being challenged, were
 20   silent on how the food needed to be taken.
 21         And the Federal Circuit said, Look, we're going to
 22   look at what you're claiming when we're evaluating
 23   anticipation by inherency. And if you're relying on stuff
 24   that's not in the claim to differentiate yourself from the
 25   prior art, we're not going to listen to it. That's not what
 26   the claim covers. And in that case it was an actual


                                             116
                                                                       JA002667
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 118 of 910 PageID #: 9698

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   discussion in the specification regarding what the specific
  2   parameters you needed to take the food with.
  3          Here, we don't even have that. We have the '127
  4   Patent claims that are completely silent, completely, on the
  5   formation process that needs to be used. And there's no
  6   discussion in the specification of '127 Patent, no experts
  7   pointed to anything where there's a discussion as to how the
  8   parameters used in the formulation process influence this
  9   claimed non-lamellar morphology. The only thing we have is a
10    reference to the '031 reference as an example of the direct
11    dilution method that can be used, and the stepwise dilution
12    method described in the '025 publication. Both of those exact
13    references are referenced in the '069 Patent that's the prior
14    art.
15           And then we have the general statement in the '127
16    Patent that any process known in the art could be used by
17    persons skilled in the art, and they would know how to
 18   manipulate the variables to get these particles. So the
 19   argument that we should ignore the '127 Patent's disclosures
 20   and not engage in hindsight analysis? We're not engaged in
 21   hindsight analysis. We're allowed to look at the challenged
 22   patent to understand how it treats the claimed inherent
 23   property.
 24          JUDGE SNEDDEN: I think the problem identified by
 25   Mr. Rosato is that you have, in this claim here, recitation
 26   broad classes of components, so a nucleic acid, cationic


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                                                                      JA002668
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 119 of 910 PageID #: 9699

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   lipid, and non-cationic lipid. But the claim narrows when --
  2   in the Wherein clause, which is those components need to come
  3   together and produce something with particular morphology, and
  4   in the '069 Patent, we have similar starting materials. We
  5   have similarly disclosed methods of mixing, but how -- but
  6   where's the certainty that every time you do this with these
  7   broad classes of components will you get this morphology? Not
  8   necessarily. We do not necessarily get that.
  9           MR. WELLS: Sure, and I'm going to take --
10            JUDGE SNEDDEN: Okay.
 11           MR. WELLS: Your question in two parts as I think I
 12   understand it.
 13           JUDGE SNEDDEN: All right.
 14           MR. WELLS: And tell me if I miss any part of it
 15   here.
 16           JUDGE SNEDDEN: Okay.
 17           MR. WELLS: So first we have to start with, What are
 18   we talking about here?
 19           So we have a property, this non-lamellar structure,
 20   and we agree that it's a physical property. And we agree that
 21   the '127 Patent says that this physical property is the result
 22   of a formulation and a formation process. And for a given
 23   formulation and for a given formation process, this should be
 24   a reproducible property. It should always arise. It's not
 25   speculation. It's not uncertainty. If you have the same
 26   formulation and same formation process, all the experts agree


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                                                                       JA002669
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 120 of 910 PageID #: 9700

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   that you should have this physical property. So --
  2           JUDGE SNEDDEN: Can I interrupt?
  3           MR. WELLS: Yes.
  4           JUDGE SNEDDEN: I think I -- I hope I know where
  5   you're going. So is there an embodiment in the '127 Patent
  6   that you can find in the '069 Patent?
  7           MR. WELLS: Yes. Every embodiment in the '127
  8   Patent is disclosed in the '069 Patent.
  9           JUDGE SNEDDEN: Because I think that's what we're
10    looking for. We're looking for an embodiment that is alleged
11    to have the same properties as what's disclosed as an
12    embodiment in the '127 Patent that's stated to have these
13    properties.
14            MR. WELLS: So let me start -- the answer is two-
15    fold.
16            JUDGE SNEDDEN: Okay.
17            MR. WELLS: The first answer is the broad answer,
18    and then the second answer is looking at the specific,
19    reduced, practiced testing the '069 had, which I -- whereas I
20    think you're going, but we need to start with the broad
21    disclosure.
 22           And your first question was, Was there any
 23   embodiment in the '127 Patent that's disclosed as having the
 24   non-lamellar structure that's also disclosed in the '069
 25   Patent? And if there's every single one? Why? Because the
 26   '069, you don't have to reduce to practice to anticipate


                                              119
                                                                      JA002670
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 121 of 910 PageID #: 9701

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   inherency. It's what would be disclosed to a person of skill
  2   in the art regarding the formulation and formation process.
  3         And that person doesn't need to know whether it was
  4   going to be non-lamellar or not, that's not a requirement.
  5   The question is whether a person of skill in the art, based
  6   upon the disclosures in the '069 Patent, would have known a
  7   formulation and a formation process that's used in the '127
  8   Patent to result in the non-lamellar structures.
  9         So broadly speaking, the exact same disclosures are
10    in the '069 Patent. The '127 Patent says, Oh, you can use
11    nucleic acids, and this is how we define them. It's a
12    verbatim disclosure in the '069 Patent.
 13         If you go through the cationic lipid, the non-
 14   cationic lipid, the conjugated lipid, that's all the same too.
 15         And so the actual disclosures to a person of skill
 16   in the art are completely encompassed in the disclosures to
 17   what an ordinary skill in the art in the '069 had.
 18      Now, your question I believe is going to, Well can you
 19   point to a specific embodiment, that was reduced to practice
 20   in the '069 Patent, that results in the non-lamellar structure
 21   in the '127 Patent? Do I have the second part of your
 22   question there correct?
 23         And so the answer there is, yes, as well. So, one,
 24   it's not legally required. Reduction to practice is not a
 25   requirement for anticipation by inherency. But, even if it
 26   were, we already have the formulations that we've been talking


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                                                                       JA002671
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 122 of 910 PageID #: 9702

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   about. We're talking about the same payload, the exact same
  2   siRNA payload, being used in the '069 Patent testing as was
  3   used in the '127 Patent testing. Nobody disputes that those
  4   are the same.
  5         We have the same lipid components. We have the same
  6   cationic lipid being used, DLinDMA, which was known to be
  7   fusogenic and known to promote a non-lamellar structure. We
  8   have the non-cationic lipids, either DSPC or DPPC, and some of
  9   the formulations in the '069 Patent do use DPPC instead of
10    DSPC, but their expert admitted that wouldn't be expected to
11    impact the non-lamellar structure. Those are very closely --
12    very close in structure and -- as a phosphor lipid. We have
13    the same cholesterol, and we have the same conjugated lipid.
14          So the formulations -- and we have the same
15    concentrations. The2:30, the2:40, the1:57, and
16    the1:62. So the formulations actually tested, we have --
17    again, complete overlap. The only question is the formation
18    process.
 19         And so in the '127 Patent, we have only one guiding
 20   principle for the formation process. Table 4, column 104, for
 21   the actual testing that they did. Those parameters. That's
 22   the only thing we can divine from the '127 Patent regarding
 23   how you get these non-lamellar particles; what the secret
 24   sauce is. And there's no discussion whatsoever regarding
 25   varying these parameters, what ranges would be acceptable,
 26   anything like that. That's just not in there. And that's


                                            121
                                                                       JA002672
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 123 of 910 PageID #: 9703

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   also true with regard to the stepwise dilution method.
  2         So then we say, Okay, are those specific parameters
  3   disclosed in the '069 Patent? The '069 Patent is silent on
  4   the parameters used, but we know that those parameters are
  5   encompassed in the '031 disclosures that are referenced in the
  6   127 patent. Again, the experts don't dispute that. They say
  7   that these -- the '031 Publication is enabling of the
  8   disclosures in the '127 Patent on how to make these particles.
  9         The only difference identified by counsel just now
10    is that, Oh, a Lipobot could be used in the '127 Patent direct
11    dilution method. But there's no discussion in the '127 Patent
12    of using a Lipobot, which is an automated syringe press to get
13    constant flowrate. Is any difference -- different than the
14    stuff that is disclosed in the '069 Patent? And Lipobot's
15    automated syringe presses were known in the art at the time of
16    the invention. That's not an argument that's put forth in the
17    papers that that's any kind of novel piece of equipment.
 18         And so we know that the '031 Patent discloses
 19   multiple embodiments, and one of those embodiments has to be
 20   the one in the '127 Patent. By definition, the '127 Patent
 21   says it, you have to believe the patent. So that is
 22   absolutely an embodiment that is one, the formulations overlap
 23   or -- are the same. We have no arguments there. The
 24   formation process, well, we know from the '031 patent that
 25   it's got to be embodiment A, B, or C. And one that's skilled
 26   in the art knows from the '031 Patent that A, B, C are enabled


                                            122
                                                                       JA002673
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 124 of 910 PageID #: 9704

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   and there's no argument there.
  2          So, yes, an embodiment is disclosed.
  3          JUDGE SNEDDEN: There was one -- that was the
  4   formulation processes, they described not one but a class of
  5   processes.
  6          MR. WELLS: So --
  7          JUDGE SNEDDEN: That's what --
  8          MR. WELLS: I don't know what a class of processes
  9   refers to.
10           JUDGE SNEDDEN: Or category then.
11           MR. WELLS: I can tell you that the '031 Patent, the
 12   direct dilution method in the context of the '435 Patent and
 13   the direct dilution method in the context of the '127 Patent
 14   is the direct dilution method as disclosed in the '031
 15   Publication. That's what they're talking about.
 16         And they say, Go to that publication. You're one of
 17   skilled in the art, you'll be able to identify the different
 18   ways of making these things, embodiments A, B, and C. And as
 19   long as one of those embodiments would have been -- clear to
 20   one of skill reading that reference, and that embodiment
 21   results in a non-lamellar structure, it's end of story as far
 22   as the inherency. And it has to have -- include that -- one
 23   of those embodiments, including the embodiment specifically
 24   listed on Table 4 of the '127 Patent with those specific
 25   parameters.
 26          So if we even got to this argument, and again, these


                                              123
                                                                      JA002674
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 125 of 910 PageID #: 9705

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   aren't limitations in the claims, but if we got to this
  2   argument it has to be in that disclosure. The '127 Patent
  3   relies on it for it.
  4          Does that answer your question?
  5          JUDGE SNEDDEN: It does, thank you.
  6          MR. WELLS: Now, just before counsel went off, he
  7   put up some testimony from Dr. Janoff. And if we could call
  8   up Exhibit 2028, Page 185.
  9          Now, it's the last answer on this page, and they cut
10    it off at line 22. They conveniently left out the rest of the
11    quote, and it's telling. Oh, there's reference to T-2
12    connectors, so might not necessarily be holding these in your
13    hands. They're apparatuses to push the -- and if you can go
14    to the next page -- the syringe.
15           So Dr. Janoff didn't say, Oh, stand there with two
16    syringes and press them counting to five, so you get a bad
17    flowrate. That's just a complete mischaracterization of his
18    actual testimony.
 19          If you actually go to the patent, if we can go to
 20   Exhibit 1001, and go to Column 104, Line 33 through 43. I'm
 21   sorry, yes, go ahead. 104, Lines 33 through 43, if we could
 22   blow that up?
 23          And so here, they talked about a syringe press.
 24   It's just an automated syringe press as opposed to somebody
 25   sitting there pressing a stopper with their hands. And you
 26   can imagine how pressing a stopper with their hands -- you


                                             124
                                                                      JA002675
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 126 of 910 PageID #: 9706

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   don't get consistent fluid mixing rates, and you get non-
  2   homogeneous particles such that some of them are lamellar and
  3   some of them are non-lamellar.
  4         So, again, an automated syringe press was not a
  5   point of novelty for this patent. No one's alleged that that
  6   was new. No one's alleged that having an automated syringe
  7   press as opposed to a peristaltic pump or some other
  8   mechanism, as described in the '031 Patent, would make any
  9   difference.
10          Now, again, one consistent theme that came up from
11    counsel was it's not the exact same particles that were tested
12    in '069 Patent. That's not the standard. Reduction to
13    practice is not required for anticipation by inherency. It's
14    whether the '069 Patent discloses to one ordinarily skilled in
15    the art particles with the same formation -- formulation and
16    particles used in the same formation processes. That's the
17    standard.
18          JUDGE SNEDDEN: I understand that the reduction of
19    practice is not required, but what is -- what I need is an
 20   identification of some formulation that necessarily has the
 21   properties in the claim.
 22         MR. WELLS: Yes, and you need a combination of a
 23   formulation and a formation process to get that property.
 24   That's what the '127 Patent tells us. We need to believe that
 25   if we're going to do any analysis.
 26         And so, as we've already discussed, we have the


                                            125
                                                                       JA002676
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 127 of 910 PageID #: 9707

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   formulations. We can look in the '127 Patent and say, Which
  2   ones work for the '127 Patent? Right?
  3         We know for the direct dilution method, the 2:30
  4   formulation did, the 2:40 formulation did, the 1:57
  5   formulation did, and the 1:62 formulation -- it might be 2:40 -- did as well.
  6   And that was with using a direct
  7   dilution method as put forth in Table1, Column 104, right?
  8   So we know that. So then we say, Well, what's disclosed in
  9   the '069 Patent?
10          And so I'll skip over the fact that the disclosures
11    broadly encompass all those, and a person skilled in the art
 12   would have recognized those disclosures and been able to make
 13   particles with those formulations and processes, and move on
 14   to the narrower question which is, is there a physical
 15   embodiment that we can point to? And so, yes.
 16         We have exactly the same formulations, right? We
 17   have the2:30, 2:40, 1:57,1:62. Those numbers
 18   are the same. There's some rounding differences, but there's
 19   no dispute that those same numeric concentrations are
 20   disclosed.
 21         Then we look at the payload. The payloads are
 22   exactly the same, exactly the same siRNA. Exactly the same
 23   target for silencing. And then we look at the lipid
 24   components, and we have exactly the same cationic lipid,
 25   exactly the same conjugated lipid, exactly the same non-
 26   cationic lipids, except in two instances, DPPC is used instead


                                            126
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 128 of 910 PageID #: 9708

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   of DSPC.
  2         So formulation-wise, we've identified exactly that,
  3   right? Are we on the same page, thus far?
  4         JUDGE SNEDDEN: Yeah.
  5         MR. WELLS. Okay. So then we go, Okay, well, what
  6   formulation process was used? Was exactly the formulation
  7   process used, disclosed in Table 4 of -- on -- Table 1 on
  8   Column 104 of Exhibit 1001, the '127 Patent? And we'd say,
  9   Oh, well, the '069 Patent doesn't say what specific parameters
10    were used, and it doesn't. Instead, it references the '031
11    Publication. And we know the '031 Publication discloses all
12    of those parameters on Table1.
13          Why do we know that? Well, the experts all admit
14    it, and the '127 Patent itself says you can rely on the '031
15    Publication for how you do the direct dilution method.
16          So we know it's disclosed in there. And I think
17    your question is, Well, is there anything correlating those
18    specific -- the embodiment -- those specific parameters to
19    what was actually tested in the '069 Patent? And there is
20    evidence that those specific parameters or some other set of
 21   parameters that result in non-lamellar particles was used in
 22   the '069 Patent.
 23         But I want to stress that's not a requirement for
 24   inherency. Inherency doesn't require every embodiment to
 25   result in non-lamellar morphology. It's simply saying, Oh,
 26   well, some embodiments don't, so then it's -- you know, then


                                            127
                                                                       JA002678
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 129 of 910 PageID #: 9709

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   we're talking about picking and choosing and we're talking
  2   about --
  3         No, we're not. We're talking about there's multiple
  4   embodiments in the '031 Patent. And one of those embodiments
  5   by definition, by the -- terms of the '127 Patent itself,
  6   has to result in the claimed non-lamellar structure.
  7         Now, if you go through the '031 Patent -- or
  8   Publication, I'm sorry. I keep calling it a patent. It's a
  9   publication. And you say, Okay, well, where are the
10    disclosures of the ranges of the different parameters and
11    whatnot? They're all disclosed in there. And Example 2 of
12    the '031 Patent sets out a lot of these. But there's a
13    section of the '031 Publication that says, This is how you
14    make the particles, and it spans Paragraph 0039 through 0087,
15    and it gives you all the encompassing ranges. And this is
16    what a person of skill in the art would reference and say,
17    Okay. Using this as the embodiment in Table 1 on Column 104
18    of the '127 Patent, one of the embodiments that fall within
19    this broader grouping of embodiments. And, yeah, it is. And
20    how do we know that? Well, the experts testify to it. And
21    how do we know that? The '127 Patent says it.
22          JUDGE SNEDDEN: I understand, thank you.
23          MR. WELLS: Now, regarding the evidence that a
24    formulation was actually used, which results in non-lamellar
25    particles in the '069 Patent, again, this isn't a requirement
26    for the inherency argument but would relate to an obviousness


                                             128
                                                                      JA002679
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 130 of 910 PageID #: 9710

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   argument.
  2         We have the statement that we brought up earlier
  3   that one of the goals in the preferred embodiment was to have
  4   the nucleic acid in the lipid portion. And in the lipid
  5   portion refers to inside, encased within the lipid
  6   superstructure that you find in these non-lamellar structures.
  7         In addition, could we go to Slide 161? So this is
  8   the reference to being encapsulated within the lipid portion
  9   of the particle. In addition, we have the '069 Patent
 10   incorporates by reference -- reference the 613 reference,
 11   which is Exhibit 1017, and this is incorporated at Column 11,
 12   Line 64 of Exhibit 1002 in its entirety. And the '613 Patent
 13   talks about the benefits of having a non-lamellar structure,
 14   and that it can increase your fusogenicity, and in fact,
 15   discloses embodiments where all of the particles -- it's a
 16   homogenous particle population of non-lamellar particles, and
 17   those are at Columns 7, Lines 22 through 26, and 763 through
 18   84 of the 613 patent.
 19         We also have expert testimony. Their expert
 20   specifically testified that if a particle is showing poor
 21   encapsulation, it's probably lamellar. And if it has high
 22   encapsulation, you would expect it to have a non-lamellar
 23   morphology. And he did this at Exhibit1023, Page 126, Lines
 24   4 through 11. And so we have plenty of evidence that the '069
 25   particles that were actually formulated were indeed non-
 26   lamellar. But, again, not a requirement for anticipation by


                                             129
                                                                       JA002680
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 131 of 910 PageID #: 9711

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   inherency.
  2         Very briefly, regarding the obviousness challenges;
  3   the obviousness challenges still do exist. The '069 Patent
  4   has a publication date on its face. The Board is entitled to
  5   rely on the publication date for determining whether it is
  6   102(a)(2) art. It says it was published. The Patent Owner says,
  7   Oh, there could be differences, different claims. It's a
  8   continuation application, the claims had to be supported by
  9   the original specification. So the scope of the disclosures
10    is the same.
11          In addition, the 817 reference, which is the basis
12    for Grounds 2 and 4, now this reference has very similar
13    disclosures to the '069 Patent. They claim the same --
14    priority to the same provisional application. In the original
 15   PCT -- oh, I'm sorry -- in the original petition, we
 16   identified where in the provisional application the
 17   corresponding disclosures could be found for '817 patent
 18   because it has the same disclosures as the '069 Patent. So
 19   that made it seem to make sense. I understand that the Board
 20   didn't like that approach and didn't want to have to go
 21   looking through the '817 patent for the specific correlation.
 22   That correlation was divided in the reply brief. So that is
 23   before the Board.
 24         The 817 reference, there's no dispute that that can
 25   qualify as an obviousness reference for the purposes of the
 26   analysis under 102(a)(2), so that the -- obviates any problem with


                                            130
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 132 of 910 PageID #: 9712

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   regard to that issue.
  2         And it looks like I'm over, so with that, I will
  3   thank you, unless you have any other questions.
  4         JUDGE MITCHELL: Okay. Thank you.
  5         MR. ROSATO: A few brief comments.
  6         So on Slide 7, I'm not going to bring up the
  7   demonstratives again here, but I'll note it for the record.
  8   On Slide 7, we point to content of record that talks about
  9   this notion that the parameters, the specific parameters of a
10    formulation process are important because they affect the
11    physical properties of the resulting particles. So if you
12    change process parameters, that changes the physical
13    properties of the resulting particles. And that there are a
14    wide range of parameters that can be varied in a process used
15    to formulate particles.
16          We also pointed to Dr. Janoff's deposition testimony
17    or during cross-examination, where he identified three
18    specific parameters that would affect the output or the
19    outcome such that, as he described, you might not get the
20    claimed particles.
21          I point that out again because I think I understood
22    counsel to state several times that the '069 Patent is silent
 23   on the parameters used in their formulation processes. So
 24   putting two and two together there, it sounds like we're
 25   talking about probabilities and possibilities.
 26         Second, there's a -- Judge Smith had posed a


                                             131
                                                                      JA002682
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 133 of 910 PageID #: 9713

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)

  1   question to me, and I identified the Lipobot syringe press as
  2   one of the things I could think of that wasn't found in the
  3   '069 Patent. The response that I heard was that is in the
  4   prior art there's no documentation or any evidence to -- in
  5   this record to support that, but it's in the prior art.
  6         I don't know how to respond to those types of
  7   arguments. I haven't seen any prior art to substantiate that.
  8   We can't make assertions that -- or hearing about what is or
  9   is not known at the time, and we can't dismiss those types of
10    things by merely returning argument.
11          And, finally, there was an argument or an assertion
12    that Dr. Thompson admitted that particles with a high
13    encapsulation percentage would be understood to be non-
14    lamellar particles. That actually was a position taken by Dr.
15    Janoff in his declaration. Dr. Thompson addressed that in his
16    declaration, Exhibit 2009, Paragraphs 67 and 68, and explained
17    why that actually makes no sense.
18          With that, I will thank the Panel for the time and
19    the extra time in particular. Thank you.
20          JUDGE MITCHELL: Thank you, all. The arguments were
21    very helpful and thank you for your patience with our snafu
22    with the equipment.
 23         And so with that, IPR 2018-00680 is submitted.
 24   Thank you so much and we are adjourned.
 25         (Proceedings concluded at 5:19 p.m.)




                                               132
                                                                       JA002683
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 134 of 910 PageID #: 9714

      IPR2018-00680 (Patent 9,404,127)
      IPR2018-00739 (Patent 9,364,435)



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                                         133
                                                                      JA002684
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 135 of 910 PageID #: 9715




                   JOINT APPENDIX 70
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 136 of 910 PageID #: 9716




             UNITED STATES PATENT AND TRADEMARK OFFICE
                              __________

               BEFORE THE PATENT TRIAL AND APPEAL BOARD
                               __________


                               Moderna Therapeutics, Inc.

                                        Petitioner

                                            v.

                              Protiva Biotherapeutics, Inc.

                                       Patent Owner
                                       ___________

                               U.S. Patent No. 9,364,435

                                 Issued: June 14, 2016

                     Named Inventor: Edward Yaworski, Kieu Lam,
                            Lorne Palmer, Ian MacLachlan

                   Title: Lipid Formulations for Nucleic Acid Delivery
                                      ___________

                 DECLARATION OF ANDREW S. JANOFF, PH.D.
              IN SUPPORT OF MODERNA THERAPEUTICS, INC.’S
                   PETITION FOR INTER PARTES REVIEW
                       OF U.S. PATENT NO. 9,364,435



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                                                                     Moderna Ex 1007-p. 1
                                                                         JA002685
                                                                        Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 137 of 910 PageID #: 9717




                                           TABLE OF CONTENTS

                                                                                                                   Page
      I.      INTRODUCTION .................................................................................. 1

      II.     SUMMARY OF OPINIONS.................................................................. 1

      III.    QUALIFICATION AND EXPERIENCE .............................................. 3

      IV.     LEVEL OF ORDINARY SKILL IN THE ART.................................... 7

      V.      LEGAL PRINCIPLES............................................................................ 8

              A.       Claim Construction ...................................................................... 8

              B.       Prior Art...................................................................................... 10

              C.       Anticipation ................................................................................ 10

              D.       Obviousness ............................................................................... 11

      VI.     BACKGROUND .................................................................................. 15

              A.       Lipid carrier particles for nucleic acid payloads ........................ 15

              B.       The ’435 patent disclosure ......................................................... 21

              C.       Claim construction ..................................................................... 28

              D.       Prior art....................................................................................... 28

      VII. THE CHALLENGED CLAIMS ARE INVALID ............................... 35

              A.       Ground 1: Claims 1-20 are obvious in view of the Patent
                       Owner’s Prior Disclosures ......................................................... 35

              B.       Ground 2: Claims 1-20 are obvious in view of the ’196
                       PCT in light of Lin and/or Ahmad ............................................. 50

              C.       Ground 3: Claims 1-20 are anticipated by or obvious in
                       view of the ’554 publication ...................................................... 53

      VIII. CONCLUSION .................................................................................... 66



                                                            -i-
                                                                                                     Moderna Ex 1007-p. 2
                                                                                                         JA002686
                                                                                                        Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 138 of 910 PageID #: 9718




                I, Dr. Andrew S. Janoff, PhD, declare as follows:

           I.        INTRODUCTION

                1.     My name is Andrew S. Janoff. I am a consultant in biotechnology

      and drug delivery, primarily focusing on lipid and liposome technology.

            2.         I have been engaged by Moderna Therapeutics, Inc. (“Moderna”)

      as an expert in connection with matters raised in the Petition for Inter Partes

      Review (“Petition”) of U.S. Patent No. 9,364,435 (the “’435 patent”) owned by

      Protiva Biotherapeutics, Inc. (“Patent Owner”).

            3.         This declaration is based on the information currently available to

      me. To the extent that additional information becomes available, I reserve the

      right to continue my investigation and study, which may include a review of

      documents and information that may be produced, as well as testimony from

      depositions that have not yet been taken.

          II.        SUMMARY OF OPINIONS
            4.         The ’435 patent is entitled “Lipid Formulations for Nucleic Acid

      Delivery.” Ex. 1001. The ’435 patent is directed to a composition of nucleic

      acid-lipid particles (e.g., particles that can be used to deliver therapeutic

      nucleic acid payloads to a patient) comprising three lipid components (i.e.,

      cationic lipid, non-cationic lipid and conjugated lipid), each of which fall

      within a claimed proportion with regard to the total lipid in the particles. See,

      e.g., id., cl. 1. The Petition challenges claims 1-20 of the ’435 patent.


                                               -1-
                                                                           Moderna Ex 1007-p. 3
                                                                               JA002687
                                                                              Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 139 of 910 PageID #: 9719




            5.     Petitioner’s Ground 1 challenges claims 1-20 of the ’435 patent as

      obvious under 35 U.S.C. § 103 in view of Patent Owner’s prior disclosures in

      PCT/CA2004/001051, Publication No. WO2005007196 A2 (“’196 PCT”), Ex.

      1002, or U.S. Publication No. US2006/0134189 (“’189 publication”), Ex.

      1003. Based on studying the petition and the exhibits cited in the petition as

      well as other documents, it is my opinion that claims 1-20 of the ’435 patent

      are obvious in view of the ’196 PCT or ’189 publication.

            6.     Petitioner’s Ground 2 challenges claims 1-20 of the ’435 patent as

      obvious in view of the Patent Owner’s prior disclosures in light of Lin (Ex.

      1005) and/or Ahmad (Ex. 1006) under 35 U.S.C. § 103. Based on studying the

      petition and the exhibits cited in the Petition as well as other documents, it is

      my opinion that claims 1-20 of the ’435 patent are obvious in view of the

      Patent Owner’s prior disclosures in light of Lin and/or Ahmad.

            7.     Petitioner’s Ground 3 challenges claims 1-20 of the ’435 patent as

      anticipated by the disclosures in U.S. Publication No. US2006/0240554 (“’554

      publication”), Ex. 1004, under pre-AIA 35 U.S.C. § 102(b) or, in the

      alternative, as obvious under 35 U.S.C. § 103 in view of the ’554 publication.

      Based on studying the petition and the exhibits cited in the petition as well as

      other documents, it is my opinion that claims 1-20 of the ’435 patent are

      anticipated by the ’554 publication. In the alternative, it is my opinion that

      claims 1-20 of the ’435 patent are obvious in view of the ’554 publication.

                                             -2-
                                                                          Moderna Ex 1007-p. 4
                                                                              JA002688
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 140 of 910 PageID #: 9720




         III.     QUALIFICATION AND EXPERIENCE
            8.      I am formally trained as a membrane biophysicist. I obtained my

      Ph.D. degree in Biophysics from Michigan State University in 1980. Before

      that, I received my MS in Biophysics from Michigan State University in 1977,

      and my BS in Biology from The American University in 1971. I received

      postdoctoral training in Pharmacology at the Harvard Medical School and in

      Anesthesia at the Massachusetts General Hospital.

            9.      I have played leadership roles in the discipline of pharmaceutical

      liposomology from its inception in 1981.

            10.     After my post-doctoral work, I was recruited from Harvard by the

      industrialist, Jack Whitehead, and became the first senior founding scientist at

      the Liposome Company, Inc. I eventually became the Vice President of

      Research and Development at the Liposome Company. I led the team at the

      Liposome Company that discovered, formulated, and developed ABELCET, a

      novel lipid structure that is approved worldwide for systemic fungal infections.

      I first published the physical chemical characterization of this structure, along

      with an explanation of why it would yield a less toxic alternative to the

      traditional micelle formulation in the Proceedings of the National Academy of

      Sciences.

            11.     I led the team at the Liposome Company that developed Staclot

      LA, a diagnostic reagent comprised of Hexagonal (II) lipid that is a standard

                                            -3-
                                                                         Moderna Ex 1007-p. 5
                                                                             JA002689
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 141 of 910 PageID #: 9721




      practice for diagnosing lupus anticoagulant. The work leading to this product

      was also published in the Proceedings of the National Academy of Sciences.

            12.    In addition I lead teams at the Liposome Company that formulated

      and characterized Myocet (Liposomal Doxorubicn Injection). This product is

      currently approved in Canada and the European Union and is used to treat

      metastatic breast cancer.

            13.    From 2001-2002, I was Chairman, and from 2002-2005, I was

      Chairman and CEO, of Celator Technologies, Inc. I was involved in the

      creation of Celator’s intellectual property platform and built the company from

      a Canadian start up into an international pharmaceutical corporation with

      research, manufacturing, clinical development, regulatory, commercial, and

      legal functions. From 2005-2008, I was Chairman and CEO of its successor,

      Celator Pharmaceuticals, Inc., a company using controlled-release liposomes to

      deliver combinations of chemotherapeutic agents to tumors. Celator’s drug

      Vxyeos was recently approved by the FDA for the treatment of leukemia.

            14.    From 2009-2011, I was CEO of TranslationUP, which was a

      consortium of authorities from academic research, drug development, policy,

      finance, public relations, and law seeking to create a new model to more

      effectively advance government funded late-stage discovery concepts into

      clinical development.



                                           -4-
                                                                      Moderna Ex 1007-p. 6
                                                                          JA002690
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 142 of 910 PageID #: 9722




            15.    In my career, I have overseen the filing of eight INDs, two NDAs

      and one MAA in the areas of oncology, antiinfectives, and acute respiratory

      distress syndrome, all involving liposome or lipid-delivery systems.

            16.    I have worked and published in the area of pulmonary surfactants

      involving treatment modalities in which lamellar lipid for instilling into

      neonate lungs was constructed to rearrange into the Hexagonal II architecture

      at body temperature. An article that I published on this topic in Science was

      reviewed and highlighted in Lancet, a leading British Medical Journal.

            17.    I have lectured and have conducted Grand Rounds in the areas of

      liposomes, lipid physical chemistry and drug delivery at many prestigious

      medical centers in the United States and Canada, and have been invited to

      speak on these topics at major industry, financial, scientific and medical

      symposia worldwide.

            18.    I have also served on various government advisory committees.

      For example, I taught at the NATO Advanced Study Institute in Cape Sunion,

      Greece, participated in FDA symposia regarding the quality and performance

      of controlled release parenterals, served on the Committee of Science and the

      Arts at the Franklin Institute in Philadelphia, and was a founding member on

      the Scientific Advisory Board at Rider University. I have also advised the

      Centre for Drug Research and Development in Vancouver, Canada on

      liposomal delivery systems.

                                            -5-
                                                                         Moderna Ex 1007-p. 7
                                                                             JA002691
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 143 of 910 PageID #: 9723




            19.    I have served as an Adjunct Professor in the Department of

      Pathology, Anatomy and Cell Biology at Thomas Jefferson University Medical

      School. I have also been a visiting Research Scholar at Princeton University

      and have held appointments in the Departments of Physics, Molecular Biology,

      and Chemical Engineering.

            20.    I am the Editor-in-Chief Emeritus of the Journal of Liposome

      Research. I served on the editorial board of this Journal from 1994-1997, and

      was the Editor-in-Chief from 1997-2008.

            21.    I am an editor of Liposomes: Rational Design (Marcel Dekker,

      New York, 1999), a volume of expert reviews in the field of liposomology.

            22.    I hold over 75 U.S. patents in lipid nanotechnology and drug

      delivery, and I have authored more than 90 scientific articles and reviews

      principally related to nanotechnology, lipid supramolecular structure,

      liposomes, and drug delivery including fusogenic liposomes and triggerable

      lipid assemblies.

            23.    My curriculum vitae is attached as Exhibit 1018.

            24.    I am being compensated by Moderna for my time spent in

      developing this declaration at a rate of $750 per hour, and for any time spent

      testifying in connection with this declaration at a rate of $750 per hour. My

      compensation is not contingent upon the substance of my opinion, the content



                                           -6-
                                                                        Moderna Ex 1007-p. 8
                                                                            JA002692
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 144 of 910 PageID #: 9724




      of this declaration or any testimony I may provide, or the outcome of the inter

      partes review or any other proceeding.

               25.     I have no financial interest in Moderna.

               26.     My opinion expressed in this declaration are based on the Petition

      and exhibits cited in the Petition, and other documents and materials identified

      in this declaration, including the ’435 patent (Ex. 1001) and its prosecution

      history (Ex. 1016), the prior art references and materials discussed in this

      declaration, and any other references specifically identified in this declaration.

               27.     I am aware of information generally available to, and relied upon

      by, persons of ordinary skill in the art at the relevant times, including technical

      dictionaries and technical reference materials (including, for example,

      textbooks, manuals, technical papers, articles, and relevant technical

      standards).

               28.     I reserve the right to supplement my opinions to address any

      information obtained, or positions taken, based on any new information that

      comes to light throughout this proceeding.

         IV.         LEVEL OF ORDINARY SKILL IN THE ART
               29.     It is my understanding that the ’435 patent should be interpreted

      based on how it would be read by a person of ordinary skill in the art at the

      time of the effective filing date of the application. It is my understanding that

      factors such as the education level of those working in the field, the

                                               -7-
                                                                           Moderna Ex 1007-p. 9
                                                                               JA002693
                                                                              Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 145 of 910 PageID #: 9725




      sophistication of the technology, the type of problems encountered in the art,

      the prior art solutions to those problems, and the speed at which innovations

      are made may help establish the level of skill in the art.

               30.     I am familiar with the technology at issue and the state of the art at

      the earliest priority date of the ’435 patent.

               31.     It is my opinion, based upon a review of the ’435 patent, its file

      history, and my knowledge of the field of the art, a person of ordinary skill in

      the art (“POSITA”) for the field of the ’435 patent would have specific

      experience with lipid particle formation and use in the context of delivering

      therapeutic payloads, and would have a Ph.D., an M.D., or a similar advanced

      degree in an allied field (e.g., biophysics, microbiology, biochemistry) or an

      equivalent combination of education and experience. This level of skill is

      representative of the inventors on the ’435 patent and authors/inventors of prior

      art cited herein. See Exs. 1001-1006.

               32.     I have considered the issues discussed in the remainder of this

      declaration from the perspective of a person of ordinary skill in the art.

      Although I used this perspective, I do not believe that any of my opinions

      would change if a slightly higher or lower level of skill were adopted.

          V.         LEGAL PRINCIPLES

               A.      Claim Construction



                                                -8-
                                                                            Moderna Ex 1007-p. 10
                                                                                 JA002694
                                                                                Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 146 of 910 PageID #: 9726




            33.    I am not a patent attorney and my opinions are limited to what I

      believe a person of ordinary skill in the art would have understood, based on

      the patent documents. I use the principles below, however, as a guide in

      formulating my opinions.

            34.    My understanding is that a primary step in determining validity of

      patent claims is to properly construe the claims to determine claim scope and

      meaning.

            35.    In an inter partes review proceeding, as I understand from

      Moderna counsel, claims are to be given their broadest reasonable

      interpretation (“BRI”) in light of the patent’s specification. 37 C.F.R.

      § 42.100(b). In other forums, such as in federal courts, different standards of

      proof and claim interpretation are operative, which are not applied by the

      patent office for inter partes review. Accordingly, I reserve the right to argue

      for a different interpretation or construction of the challenged claims in other

      proceedings, as appropriate.

            36.    It is my understanding that in determining whether a patent claim

      is anticipated or obvious in view of the prior art, the patent office must

      construe the claim by giving the claim its broadest reasonable construction

      with the specification. For the purposes of this review, I have construed each

      claim term in accordance with its plain and ordinary meaning under the

      required broadest reasonable construction.

                                            -9-
                                                                        Moderna Ex 1007-p. 11
                                                                             JA002695
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 147 of 910 PageID #: 9727




            B.     Prior Art
            37.    I understand that a patent or other publication must first qualify as

      prior art before it can be used to invalidate a patent claim. I understand that a

      U.S. or foreign patent qualifies as prior art to an asserted patent if the date of

      issuance of the patent is prior to the invention of the asserted patent. I further

      understand that a printed publication, such as an article published in a

      magazine or trade publication, qualifies as prior art to an asserted patent if the

      date of publication is prior to the invention of the asserted patent.

            38.    I understand that a U.S. or foreign patent also qualifies as prior art

      to an asserted patent if the date of issuance of the patent is more than one year

      before the filing date of the asserted patent. I further understand that a printed

      publication, such as an article published in a magazine or trade publication,

      constitutes prior art to an asserted patent if the publication occurs more than

      one year before the filing date of the asserted patent.

            39.    I understand that a U.S. patent qualifies as prior art to the asserted

      patent if the application for that patent was filed in the United Stated before the

      invention of the asserted patent.

            40.    I understand that documents and materials that qualify as prior art

      can be used to invalidate a patent claim via anticipation or obviousness.




                                             - 10 -
                                                                          Moderna Ex 1007-p. 12
                                                                               JA002696
                                                                              Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 148 of 910 PageID #: 9728




             C.     Anticipation
             41.    I understand that, once the claims of a patent have been properly

      construed, the second step in determining anticipation of a patent claim

      requires a comparison of the properly construed claim language to the prior art

      on a limitation-by-limitation basis.

             42.    I understand that a prior art reference “anticipates” an asserted

      claim, and thus renders the claim invalid, if all elements of the claim are

      disclosed in that prior art reference, either explicitly or inherently (i.e.,

      necessarily present).

             43.    I understand that anticipation in an inter partes review must be

      shown by a preponderance of the evidence.

             D.     Obviousness
             44.    I understand that even if a patent is not anticipated, it is still

      invalid if the differences between the claimed subject matter and the prior art

      are such that the subject matter as a whole would have been obvious at the time

      the invention was made to a person of ordinary skill in the pertinent art.

             45.    I understand that a person of ordinary skill in the art at the time

      the invention was made provides a reference point from which the prior art and

      claimed invention should be viewed. This reference point prevents one from

      using his or her own insight or hindsight in deciding whether a claim is

      obvious.

                                              - 11 -
                                                                            Moderna Ex 1007-p. 13
                                                                                 JA002697
                                                                                Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 149 of 910 PageID #: 9729




             46.    I also understand that an obviousness determination includes the

      consideration of various factors such as (1) the scope and content of the prior

      art, (2) the differences between the prior art and the asserted claims, (3) the

      level of ordinary skill in the pertinent art, and (4) the existence of secondary

      considerations such as commercial success, long-felt but unresolved needs,

      failure of others, etc.

             47.    I understand that an obviousness evaluation can be based on a

      combination of multiple prior art references. I understand that the prior art

      references themselves may provide a suggestion, motivation, or reason to

      combine, but other times the nexus linking two or more prior art references is

      simple common sense. I further understand that obviousness analysis

      recognizes that market demand, rather than scientific literature, often drives

      innovation, and that a motivation to combine references may be supplied by the

      direction of the marketplace.

             48.    I understand that if a technique has been used to improve one

      device, and a person of ordinary skill in the art would recognize that it would

      improve similar devices in the same way, using the technique is obvious unless

      its actual application is beyond his or her skill.

             49.    I also understand that practical and common sense considerations

      should guide a proper obviousness analysis, because familiar items may have

      obvious uses beyond their primary purposes. I further understand that a person

                                             - 12 -
                                                                         Moderna Ex 1007-p. 14
                                                                              JA002698
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 150 of 910 PageID #: 9730




      of ordinary skill in the art looking to overcome a problem will often be able to

      fit together the teachings of multiple publications. I understand that

      obviousness analysis therefore takes into account the inferences and creative

      steps that a person of ordinary skill in the art would employ under the

      circumstances.

            50.    I understand that a particular combination may be proven obvious

      merely by showing that it was obvious to try the combination. For example,

      when there is a design need or market pressure to solve a problem and there are

      a finite number of identified, predictable solutions, a person of ordinary skill in

      the art has good reason to pursue the known options within his or her technical

      grasp. The result is likely the product not of innovation but of ordinary skill in

      the art and common sense.

            51.    The combination of familiar elements according to known

      methods is likely to be obvious when it does no more than yield predictable

      results. When a work is available in one field of endeavor, design incentives

      and other market forces can prompt variations of it, either in the same field or a

      different one. If a person of ordinary skill in the art can implement a

      predictable variation, the patent claim is likely obvious.

            52.    It is further my understanding that a proper obviousness analysis

      focuses on what was known or obvious to a person of ordinary skill in the art,

      not just the patentee. Accordingly, I understand that any need or problem

                                            - 13 -
                                                                        Moderna Ex 1007-p. 15
                                                                             JA002699
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 151 of 910 PageID #: 9731




      addressed by the patent that was known in the field of endeavor at the time of

      invention can provide a reason for combining the elements in the manner

      claimed.

            53.    I understand that a claim can be obvious in light of a single

      reference, without the need to combine references, if the elements of the claim

      that are not found explicitly or inherently in the reference can be supplied by

      the common sense of one of skill in the art.

            54.    I understand that the disclosure of overlapping ranges in the prior

      art establishes a prima facie case of obviousness under 35 U.S.C § 103, but that

      a petitioner still has the burden of demonstrating invalidity by the

      preponderance of the evidence.

            55.    I understand that secondary indicia of non-obviousness may

      include (1) a long felt but unmet need in the prior art that was satisfied by the

      invention of the patent; (2) commercial success of processes covered by the

      patent; (3) unexpected results achieved by the invention; (4) praise of the

      invention by others skilled in the art; (5) taking of licenses under the patent by

      others; (6) deliberate copying of the invention; (7) failure of others to find a

      solution to the long felt need; and (8) skepticism by experts.

            56.    I also understand that there must be a relationship between any

      such secondary considerations and the invention. I further understand that



                                            - 14 -
                                                                         Moderna Ex 1007-p. 16
                                                                              JA002700
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 152 of 910 PageID #: 9732




      contemporaneous and independent invention by others is a secondary

      consideration supporting an obviousness determination.

            57.    I understand that unexpected results can support a non-

      obviousness determination but must show unexpected results for the entire

      claimed range. This can be done by demonstrating that an embodiment has an

      unexpected result and providing an adequate basis to support the conclusion

      that other embodiments falling within the claim will behave in the same

      manner.

            58.    In sum, my understanding is that prior art teachings are properly

      combined where a person of ordinary skill in the art having the understanding

      and knowledge reflected in the prior art and motivated by the general problem

      facing the inventor, would have been led to make the combination of elements

      recited in the claims. Under this analysis, the prior art references themselves,

      or any need or problem known in the field of endeavor at the time of the

      invention, can provide a reason for combining the elements of multiple prior

      art references in the claimed manner.

            59.    I understand that obviousness in an inter partes review must be

      shown by a preponderance of the evidence.




                                           - 15 -
                                                                       Moderna Ex 1007-p. 17
                                                                            JA002701
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 153 of 910 PageID #: 9733




         VI.         BACKGROUND

               A.     Lipid carrier particles for nucleic acid payloads

               60.    Gene therapy—addressing disease at the level of the genetic

      cause, typically with nucleic acids—is an area of intensive medical research.

      Therapeutic nucleic acids can be used for both gene delivery (e.g., mRNA) and

      gene silencing (e.g., small interfering RNA (“siRNA”)). See Ex. 1008 (Gao),

      E92; Ex. 1005 (Lin), 3307. Long before the ’435 patent, it was known that

      systems comprised of combinations of different types of lipids with nucleic

      acids could result in lipid-nucleic acid particles, an accepted delivery strategy

      for nucleic acid therapeutics. See Ex. 1008 (Gao), E95.

               61.    The ’435 patent refers to such nucleic acid-lipid carrier particles

      as “stable nucleic acid-lipid particles” or “SNALPs.” Ex. 1001, 5:62-6:2. The

      ’435 patent discloses three lipid components: a “cationic lipid,” a “non-

      cationic lipid,” and a “conjugated lipid.” Id., cl. 1 (components). These lipid

      components were known to be basic building blocks of nucleic acid-lipid

      particles long before the ’435 patent. See Ex. 1006 (Ahmad), 740, 746

      (“[cationic lipids] for transfection typically consist of a mixture of cationic and

      neutral (helper) lipid” and “strategies for optimization … could involve

      introducing PEG-lipids … to block … unspecific interactions”); Ex. 1008

      (Gao), E95 (cationic lipid carrier particles “are often formulated with a

      noncharged phospholipid or cholesterol as a helper lipid … PEG-lipid

                                              - 16 -
                                                                           Moderna Ex 1007-p. 18
                                                                                JA002702
                                                                               Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 154 of 910 PageID #: 9734




      conjugates have been incorporated … to minimize interaction with blood

      components ….”).

            62.    Cationic lipids have been used in the construction of nucleic acid-

      lipid particles because they interact with the negative charges on nucleic acid

      payloads facilitating the formation of such particles. See Ex. 1008 (Gao), E95.

      Effective delivery of the nucleic acid (called the “transfection efficiency”) is

      thought to require fusion between the particle [lipoplex] and a cell membrane.

      See Ex. 1009 (Bennett), 48; Ex. 1008 (Gao), E95. Since cationic lipids can

      also interact with negative charges on cell membranes, this has been believed

      to promote, in some cases, the fusion event necessary for the effective delivery

      of the nucleic acid. See Ex. 1006 (Ahmad), 745 (“[A]n overall positive

      [cationic lipid]-DNA charge is required to promote initial electrostatic

      interactions with cell membranes.”).

            63.    Moreover, it was known that non-cationic “helper” lipids, e.g.,

      certain phospholipids and/or cholesterols, could be combined with the cationic

      lipid to influence the ability of the particles to transfect cells. See Ex. 1008

      (Gao), E95 (cationic lipids “are often formulated with a noncharged

      phospholipid or cholesterol as a helper lipid to form liposomes”); Ex. 1009

      (Bennett), 47 (helper lipids used).

            64.    A “conjugated lipid” (e.g., a PEG-lipid) can be added to increase

      in vivo circulation time by providing a neutral, hydrophilic coating to the

                                             - 17 -
                                                                         Moderna Ex 1007-p. 19
                                                                              JA002703
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 155 of 910 PageID #: 9735




      particle’s exterior. See Ex. 1008 (Gao), E97 (“PEG-lipid conjugates have been

      incorporated into the lipoplexes to minimize the nonspecific interaction of

      lipoplexes with blood components.”); Ex. 1010 (Heyes), 277 (“PEG-lipids both

      stabilize the particle during the formulation process and shield the cationic bi-

      layer, preventing rapid systemic clearance.”).

            65.    “The structure of lipoplexes [was known to be] influenced by

      multiple factors, including the charge ratio, the concentration of individual

      lipids and DNA, the structure of the cationic lipid and the helper lipid, [and]

      the physical aggregation state of the lipids ([e.g.,] multilamellar or unilamellar

      liposomes, or micelles) ….” Ex. 1008 (Gao), E95. Transfection efficacy is

      complex because “[a] large number of parameters [are] involved.” Ex. 1006

      (Ahmad), 740. Different transfection mechanisms “may be facilitated by

      alterations in liposome formulation….” Ex. 1009 (Bennet), 48.

            66.    The claims of the ’435 patent are not limited to a specific

      combination of lipids and encompass broad ranges of lipids that have

      dramatically varying structures likely resulting in drastically different

      activities. Effective proportions of lipid components for one set of lipid

      species may not be effective for an alternative lipid species.

            67.    For example, it was well-established at the time of the ’435 patent

      that “[t]he chemical structure of the cationic lipid ha[d] a major impact on the

      transfection efficiency.” Ex. 1008 (Gao), E95. Indeed references incorporated

                                            - 18 -
                                                                        Moderna Ex 1007-p. 20
                                                                             JA002704
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 156 of 910 PageID #: 9736




      into the ’435 patent acknowledge that “alternative cationic lipids” to the one

      tested would have “different [transfection] efficiencies.” See Ex. 1011 (’613

      patent), 1:26-28 (“[A]lternative cationic lipids … work in essentially the same

      manner but with different efficiencies.”).

            68.    Cationic lipid variables impacting transfection efficiency included

      “the chemical structure of the cationic lipid [and] … the charge ratio between

      the cationic lipid and the DNA ….” Ex. 1008 (Gao), E95. These variables

      could impact the proportion of cationic lipid that is most effective for a given

      lipid component combination.

            69.    Hundreds of cationic lipids, both univalent and multivalent, were

      known at the time of the ’435 patent, some with differing charges. Id., E95

      (“[H]undreds of new cationic lipids have been developed … [that] differ by the

      number of charges in their hydrophilic head group and by the detailed structure

      of their hydrophobic moiety.”). Thus the charge density on the surface of a

      nucleic acid-lipid particle, at a fixed cationic lipid proportion, can be

      modulated by introducing cationic lipids of different valancies (i.e., using

      cationic lipids with different charges). This would have been expected to

      impact the ability of the particle to promote fusion events with target cell

      membranes. See Ex. 1006 (Ahmad), 740. Both Ahmad and Lin identified

      charge density as an important determinate of transfection efficacy in the

      systems studied. Id., 744; Ex. 1005 (Lin), 3312.

                                            - 19 -
                                                                         Moderna Ex 1007-p. 21
                                                                              JA002705
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 157 of 910 PageID #: 9737




            70.    It was also well-known at the time of the ’435 patent that certain

      lipid component combinations favor having a 50% or greater proportion of

      cationic lipid. First, early researchers often chose a 50% proportion of cationic

      lipid as a default in evaluating particle transfection efficiency. See, e.g., Ex.

      1009 (Bennett), 49 (50% cationic lipid); Ex. 1012 (U.S. Patent 7,939,505)

      (“’505 patent”), 44:61-65 (cationic lipid of “about 0.5% to about 70% (mol %)

      of the total amount of lipid”), 96:40-67 (Example 32 and Table 12)

      (formulations with 50% cationic lipid), 99:34-101:45 (Examples 34-35 and

      Tables 15-18) (same). Second, Researchers determined that, in some cases,

      increasing the cationic lipid proportion above 50% increased transfection

      efficiency. Ex. 1006 (Ahmad), 744; Ex. 1005 (Lin), 3312.

            71.    At the time of the ’435 patent the number of species of non-

      cationic lipids that could be employed was large, and differences among such

      lipids had been reported to impact the structure and perhaps the function of the

      resulting nucleic acid-lipid particles. Ex. 1008 (Gao), E95 (transfection

      efficiency varies with “the structure and proportion of the helper lipid in the

      complexes”). For instance, in the blood, the non-cationic lipid cholesterol

      seemed to stabilize certain formulations, “while formulations containing DOPE

      [another non-cationic lipid] tend[ed] to fall apart more easily.” Id., E96. In

      addition, variations in the proportions of non-cationic lipids in certain



                                            - 20 -
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                                                                              JA002706
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 158 of 910 PageID #: 9738




      formulations have been reported to impact their ability to deliver nucleic acid

      payloads. Ex. 1009 (Bennett), 51.

            72.    The selection of conjugated lipid was also known to potentially

      impact the particle’s chemistry and efficacy. Ex. 1002 (’196 PCT), [0094]

      (“By controlling the composition and concentration of the bilayer stabilizing

      component, one can control … the rate at which the liposome becomes

      fusogenic.”).

            73.    A POSITA at the time of the ’435 patent would have known that

      varying specific lipid species as well as the lipid proportions could change the

      performance of the nucleic acid-lipid particle. The range of lipids falling under

      the scope of the claims of the ’435 patent is immense and a POSITA would

      have had no way of knowing if lipid combination at any given proportion

      would have resulted in formulations of superior therapeutic index to other

      formulations. See Ex. 1006 (Ahmad), 740 (“[I]n comparative studies, typically

      only one or two data points per lipid are evaluated, allowing the ideal lipid

      composition (the ratio of neutral to cationic lipid) or cationic lipid/DNA ratio

      to be overlooked.”).

            B.     The ’435 patent disclosure
            74.    The ’435 patent is premised on an alleged “surprising discovery”

      that prior art lipid components in certain proportions perform better than

      expected in vitro and in vivo. Ex. 1001, 5:55-62 (lipids “comprising from

                                           - 21 -
                                                                        Moderna Ex 1007-p. 23
                                                                             JA002707
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 159 of 910 PageID #: 9739




      about 50 mol% to about 85 mol% of a cationic lipid, from about 13 mol% to

      about 49.5 mol% of a non-cationic lipid, and from about 0.5 mol% to about

      2 mol% of a lipid conjugate provide advantages ….”). According to the ’435

      patent, using the claimed lipid proportions result in “increased activity of the

      encapsulated nucleic acid … and improved tolerability of the formulations in

      vivo, resulting in a significant increase in the therapeutic index ….” Id., 5:62-

      6:2.

             75.      The ’435 patent acknowledges that the following was known to a

      POSITA before its priority date:

              Nucleic acid-lipid particles comprising a nucleic acid, cationic lipid,

                   non-cationic lipid, and a conjugated lipid that inhibits aggregation of

                   particles. See id., 11:34-36 (“SNALP and SPLP typically contain a

                   cationic lipid, a non-cationic lipid, and a lipid conjugate (e.g., a PEG-

                   lipid conjugate).”).

              Preparation of such nucleic acid-lipid particles. See id., 11:54-58

                   (“Nucleic acid-lipid particles and their method of preparation are

                   disclosed in, e.g., U.S. Patent Publication Nos. 20040142025 and

                   20070042031, the disclosures of which are herein incorporated by

                   reference in their entirety for all purposes.”).

              In addition, the prior art cited in the ’435 patent discloses nucleic



                                               - 22 -
                                                                           Moderna Ex 1007-p. 24
                                                                                JA002708
                                                                               Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 160 of 910 PageID #: 9740




                  acid-lipid particles with the listed component lipids having

                  overlapping ranges: a cationic lipid range of “about 2% to about

                  70%,” a non-cationic lipid range of “about 5% to about 90%,” a

                  cholesterol range of “about 20% to about 55%,” and a PEG-lipid

                  conjugate range of “about 0.5% to about 20%.” See, e.g., Ex. 1013

                  (’031 publication), [0033].

      Thus, nucleic acid-lipid particles with (1) the claimed nucleic acid payload and

      (2) the same lipid components in overlapping ranges were admittedly known in

      the art. The sole basis for alleged novelty of the ’435 patent claims is that a

      nucleic acid-lipid particle comprising component lipids in the claimed

      proportions achieves unexpected efficacy making the claims patentably distinct

      from the prior art.

            76.      During the prosecution of the application leading to the parent of

      the ’435 patent, the examiner cited Patent Owner’s earlier, unrelated

      US2006/0008910 publication (“’910 publication”) (Ex. 1014) as prior art

      disclosing nucleic acid-lipid particles with the claimed components and

      overlapping ranges of those components. See, e.g., Ex. 1015 (’069 patent file

      history excerpts), 7/30/2010 Rejection at 3–5. The Patent Owner put forth the

      following chart illustrating the overlapping ranges from the ’069 patent:




                                                - 23 -
                                                                        Moderna Ex 1007-p. 25
                                                                             JA002709
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 161 of 910 PageID #: 9741




      Id., 8/11/2011 Amendment at 7–9. In the ’435 patent, the identified lipid

      components are the same, but the phospholipid and/or cholesterol are referred

      to as a single “non-cationic lipid” component. See Ex. 1001, claim 1. The

      ranges for the ’435 patent vary slightly from those found in the ’069 patent, but

      similarly overlap with the disclosures in the cited ’910 publication. Id.

            77.    In response to the rejection, the Patent Owner argued that the

      specific claimed ranges in the ’069 patent lead to “new and unexpected

      results” and cited to test results regarding the “1:57 SNALP” in the

      specification. Ex. 1015, 1/31/2011 Amendment at 11. Patent Owner argued

      that “[a]pplicants have found that SNALP formulations having increased

      amounts of cationic lipid, e.g., one or more cationic lipids comprising from

      about 50 mol% to about 65 mol% of the total lipid present in the particle,

      provide unexpectedly superior advantages when used for the in vitro or in vivo

      delivery of an active agent ….” Id. Patent Owner relied on Examples 3-4 from

      the specification arguing that these examples demonstrated that the 1:57

      SNALP formulation was “more efficacious as compared to a nucleic acid-lipid


                                           - 24 -
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                                                                            JA002710
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 162 of 910 PageID #: 9742




      particle previously described (‘2:30 SNALP’) … [and] more effective at

      silencing the expression of a target gene as compared to nucleic acid-lipid

      particles previously described (‘2:40 SNALP’).” Id.

            78.    Patent Owner further argued that the “claimed narrower ranges are

      not disclosed with ‘sufficient specificity’ [in the ’910 publication] to constitute

      an anticipation ….” Id., 8/11/2011 Amendment at 7–9. Thereafter, the

      examiner allowed the claims.

            79.    The claims of the ’435 patent are substantially similar to the

      claims in the ’069 patent and were allowed subject only to a non-statutory

      double patenting rejection vis-à-vis the ’069 patent claims. Ex. 1016 (’435

      patent file history) (1/27/16 terminal disclaimer). Based upon the intrinsic

      record, it is clear that the examiner allowed the claims of the ’435 patent based

      upon the Patent Owner’s prior arguments regarding unexpected results

      resulting from increasing the cationic lipid percentage to above 50%.

            80.    The ’435 patent includes in vitro (Example 2) and in vivo

      (Examples 3-4) testing of various nucleic acid-lipid formulations and

      comparison of those formulations to the admitted prior art (i.e., the 2:30 and

      2:40 formulations). Ex. 1001, 69:6-74:4.

            81.    Example 2 is the in vitro test in the ’435 patent. Id., 69:6-70:52.

      It involved a siRNA payload targeting the Eg5 gene with various lipid

      components in various proportions. Id., Table 2. Of the tested lipid

                                            - 25 -
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                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 163 of 910 PageID #: 9743




      formulations, only Sample 9 (a 1:57 SNALP) and Sample 10 fall within the

      lipid ranges in claim 1 of the ’435 patent. Id., claim 1. Other than the

      proportions in Samples 9 and 10, the ’435 patent did not test any combinations

      of lipid components covered by the claims for comparison to the admitted prior

      art.

             82.   Samples 1 and 16 in Table 2 reflect the 2:40 SNALP that is

      admitted prior art. Id., Table 2. Sample 12 is similar to the 2:40 formulation,

      but with slight variations in the lipid proportions. As can be seen from Figures

      (1)(a)-1(b), Sample 10 (a claimed formulation) appears to have performed

      worse than each of Sample 16 (admitted prior art 2:40 SNALP), Sample 12 (a

      2:40 type SNALP with 40.4% cationic lipid), and Sample 9 (1:57 SNALP), (2)

      Sample 9 (1:57 SNALP) appears to be no more effective at gene silencing than

      Sample 12 (a 2:40 type SNALP with 40.4% cationic lipid), which it overlaps at

      every data point, and (3) Sample 9 (1:57 SNALP) appears to outperform

      Sample 16 (2:40 SNALP) only at extremely low total siRNA amounts. The

      takeaway is that there is no clear advantage of using the claimed formulations,

      nor is there data that the entire claimed range of nucleic acid-lipid particles is

      superior to particles with less than 50% cationic lipid.

             83.   Example 3 involved testing the silencing activity of an siRNA

      payload targeting the Apo B gene with various lipid components in various

      proportions. Id., 70:54-72:59; Table 4. Of the tested lipid combinations, only

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                                                                              JA002712
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 164 of 910 PageID #: 9744




      Sample 11 (1:57 SNALP) and Samples 13-14 fall within the lipid ranges

      claimed in the ’435 patent. Samples 2, 4-5 and 7 reflect the 2:40 SNALP

      proportions (Samples 4-5 employ different species of lipids from Sample 2 and

      7).

            84.    As can be seen from Figure 2, the 1:57 SNALP (Group 11) is

      likely not statistically significantly more efficacious than Group 12, which is

      comprised of only 40.4% cationic lipid (see Table 4). On the other hand,

      Group 12 appears to be more efficacious than Groups 2 and 7 (both examples

      of the admitted prior art 2:40 SNALP formulation) even though it varies only

      slightly from this formulation, comprising of 1 mol% rather than 2 mol% PEG-

      2000-C-DMA. Group 14 (also in the claimed range) appears to have

      performed worse than Group 7, and perhaps Group 2 as well.

            85.    Example 4 compares the silencing activity of the 1:57 SNALP

      formulation with the 2:30 SNALP formulation. Both SNALPs were formulated

      with a siRNA payload targeting the Apo B gene. Id., 72:60-74:4; Table 5. Of

      note, the phospholipid used in formulating the 2:30 SNALP (DSPC) was a

      different phospholipid than was used in formulating the 1:57 SNALP (DPPC).

      Id., 73:18-49. A POSITA would have been aware that varying the phospholipid

      species could impact transfection efficacy separate and apart from varying the

      lipid component proportions. In addition, the dosing and lipid to drug ratios

      were different regarding the two formulations. Id., 73:50-67. The results of

                                           - 27 -
                                                                       Moderna Ex 1007-p. 29
                                                                            JA002713
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 165 of 910 PageID #: 9745




      testing are shown in Figure 3. At most, this testing established that the 1:57

      SNALP comprised of the specific species of lipid components and nucleic acid

      to lipid ratio disclosed, dosed as disclosed, outperformed the 2:30 SNALP

      comprised of the lipid species disclosed and dosed as disclosed.

             86.     Several other examples in the ’435 patent illustrate that transfection

      efficiency may be influenced by varying just the species of lipid components

      used. For instance, comparing Groups 2 & 6 to Group 4 in Example 5, in which

      DLinDMA was replaced with DODMA without changing the ratios of the

      components used (see id., Table 6), it can be seen that Group 4 apparently

      exhibited inferior results. Example 5 also shows by comparing Groups 2 & 6

      (PEG(2000)-c-DMA to Group 5 (PEG(5000)-c-DMA), that variation of the

      conjugated lipid apparently impacts efficacy. In this Example, Group 5 appears

      inferior.

             C.      Claim construction
             87.     Claim 1 of the ’435 patent contains the limitation “Nucleic acid-

      lipid particle.” Under the BRI standard, a POSITA would understand the term

      “nucleic acid-lipid particle” to mean “a composition of lipids and a nucleic acid

      for delivering a nucleic acid to a target site of interest.” See id., 11:14-17.

             88.     Claim 1 of the ’435 patent contains the limitation “Cationic

      Lipid.”      Under the BRI standard, a POSITA would understand the term

      “cationic lipid” to mean “any of a number of lipid species that carry a net

                                             - 28 -
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                                                                               JA002714
                                                                              Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 166 of 910 PageID #: 9746




      positive charge at a selected pH, such as physiological pH (e.g., pH of about

      7.0).” See id., 12:59-61.

            D.      Prior art

            89.     The ’435 patent family is but one of many patent families with

      substantially overlapping disclosures. Because these unrelated patent families,

      with differing inventors, do not claim priority to one another, the earlier

      disclosures are prior art to the ’435 patent. Ex. 1002 (’196 PCT cited herein);

      Ex. 1003 (’189 publication); Ex. 1014 (’910 publication relied on by examiner

      during prosecution of the parent ’069 patent).

            90.     Patent Owner filed the provisional applications leading to the

      unrelated ’196 PCT in 2003—five years before the priority date of the ’435

      patent.     Ex. 1002.     The ’196 PCT inventors are Ian MacLachlan, Ellen

      Ambegia, and James Heyes, a different inventive entity from the ’435 patent

      inventive entity. Id. The ’196 PCT was published on Jan. 27, 2005. Id. Also,

      the ’196 PCT and the ’435 patent do not claim priority to one another. See

      Exs. 1001, 1002. The ’196 PCT is therefore prior art to the ’435 patent under

      35 U.S.C. § 102(b) (pre-AIA).

            91.     The ’196 PCT is titled “Lipid Encapsulated Interfering RNA” and

      discloses “a small interfering RNA (siRNA) encapsulated in a serum-stable

      lipid particle having a small diameter suitable for systemic delivery.” Ex.

      1002, [0002].     The disclosed SNALPs comprise “a cationic lipid, a non-

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                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 167 of 910 PageID #: 9747




      cationic lipid, a conjugated lipid that inhibits aggregation of particles and a

      siRNA.” Id., [0011]. The non-cationic lipids may include a phospholipid,

      cholesterol, and a PEG-conjugated lipid. Id., [0089].

            92.    The ’196 PCT discloses not only the same lipid components as

      claimed in the ’435 patent, but also overlapping ranges of those components.

      According to the ’196 PCT, “[t]he cationic lipid typically comprises from

      about 2% to about 60% of the total lipid present in said particle … [i]n other

      preferred embodiments, the cationic lipid comprises from about 40% to about

      50% of the total lipid present in said particle.” Id., [0088]. Enough cationic

      lipid is added to “produce a charge ratio [cationic lipid to nucleic acid] … of

      about 2:1 to about 6:1.” Id., [0126].

            93.    “The non-cationic lipid typically comprises from about 5% to

      about 90% of the total lipid present … [and] [t]he nucleic acid-lipid particles

      … may further comprise cholesterol … from about 20% to about 45% of the

      total lipid present ….” Id., [0091]. “[T]he SNALP further comprises a bilayer

      stabilizing component (BSC). …. [T]he BSC is a conjugated lipid that inhibits

      aggregation of the SNALPs … present from about 0.5% to about 25% of the

      total lipid ….” Id., [0092-0093].

            94.    The ’196 PCT specifically discloses that “[d]epending on the

      intended use of the nucleic acid-lipid particles, the proportions of the

      components are varied ….”           Id., [0088].   In addition, the ’196 PCT

                                              - 30 -
                                                                     Moderna Ex 1007-p. 32
                                                                          JA002716
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 168 of 910 PageID #: 9748




      incorporates by reference U.S. Patent No. 5,264,618 (the “’618 patent”). Id.,

      [0087], [0146]. The ’618 patent in turn discloses a nucleic acid-lipoplex with

      56% cationic lipid, 14% phospholipid and 30% cholesterol, as well as various

      other formulations over 50% cationic lipid. Ex. 1017, 34:54-35:23.

            95.    Patent Owner filed the provisional applications leading to the ’189

      publication in 2004-2005—three years before the priority date of the ’435

      patent. Ex. 1003. The ’189 publication inventors are Ian MacLachlan, Lloyd

      Jeffs, Adam Judge, Amy Lee, Lorne Palmer, and Vandana Sood, a different

      inventive entity from the ’435 patent inventive entity.          Id.   The ’189

      publication was published on Jun. 22, 2006. Id. Also, the ’189 publication and

      the ’435 patent do not claim priority to one another. See Exs. 1001, 1003. The

      ’189 publication is therefore prior art to the ’435 patent under 35 U.S.C.

      § 102(b) (pre-AIA).

            96.    The ’189 publication discloses SNALPs comprising overlapping

      ranges of the four lipid components similar to those discussed above for the

      ’196 PCT. Ex. 1003, [0009-0012], [0014], [0148-0181]. In addition, the ’189

      publication discloses testing relating to the 2:40 formulation that the Patent

      Owner identified as a prior art formulation. Id., [0350-0391].

            97.    The ’554 publication was published as US 2006/0240554 A1 on

      October 26, 2006. Ex. 1004, cover page. The ’554 publication is therefore

      prior art to the ’435 patent under 35 U.S.C. § 102(b).

                                           - 31 -
                                                                       Moderna Ex 1007-p. 33
                                                                            JA002717
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 169 of 910 PageID #: 9749




            98.    The ’554 publication is titled “Lipid Nanoparticle Based

      Compositions and Methods for the Delivery of Biologically Active

      Molecules.” Ex. 1004. The ’554 publication discloses “novel cationic lipids,

      transfection agents, microparticles, nanoparticles, and short interfering nucleic

      acid (siNA) molecules.”      Id., Abstract.    The cationic LNPs disclosed are

      comprised of, for example, “(a) a cationic lipid …; (b) a neutral lipid; (c) a

      polyethyleneglycol-diacylglycerol (PEG-DAG) conjugate …; and (d) a short

      interfering nucleic acid (siNA) molecule ….” Id., [0103]. Of note, these are

      the same components and payload described in the ’435 patent.

            99.    The ’554 publication discloses various ranges for the lipid

      components that overlap or encompass the ranges disclosed in the ’435 patent,

      including the cationic lipid (e.g., about 2% to about 60%), the neutral, non-

      cationic lipid (about 5% to about 90%), and the PEG conjugate (about 1% to

      about 20%). The ’554 publication also includes various specific formulations,

      including formulation L054, which contains 50% cationic lipid (DMOBA),

      48% non-catioinc lipid (Chol/DSPC), and 2% conjugate lipid (PEG-n-DMG).

      Id., Table 4.    This formulation was tested, for example, with siRNA for

      reducing HBsAg levels. See id. Fig. 16. The disclosed nucleic acid-lipid

      particles meet all of the limitations in claim 1 of the ’435 patent.

            100. Lin et al. (“Lin”) is a publication titled “Three-Dimensional

      Imaging of Lipid Gene-Carriers: Membrane Charge Density Controls

                                            - 32 -
                                                                         Moderna Ex 1007-p. 34
                                                                              JA002718
                                                                             Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 170 of 910 PageID #: 9750




      Universal Transfection Behavior in Lamellar Cationic Liposome-DNA

      Complexes.” Ex. 1005. It was published in Biophysical Journal in May 2003,

      in Volume 84, at pages 3307–16. See id. Lin is therefore prior art to the ’435

      patent under 35 U.S.C. § 102(b).

            101. Lin studied the impact of cationic lipid mole fraction on the

      transfection efficiency of lipid particles with a DNA payload in ex vivo

      experiments. Ex. 1005, 3307. Using the cationic lipids DOTAP, DMRIE and

      DOSPA and the helper lipid DOPC, Lin determined that transfection efficiency

      increased as the cationic lipid mole fraction increased. Id., 3309. In Figure

      4(a), Lin shows the transfection efficiency as a function of the mole fraction of

      neutral lipid (DOPC). Id., Fig. 4. The mole percentage of cationic lipid (e.g.,

      DOTAP, DOSPA, DMRIE) is derived by deducting the mole fraction of

      neutral lipid from 1 and multiplying by 100.

            102. As can be seen from the figure, for each formulation the

      transfection efficiency increased with the mole percentage of cationic lipid

      incorporated.   Starting at about 35 mole percent, transfection efficiency

      increased monotonically with increasing mole percentage for DOTAP

      formulations. For DMRIE formulations, over the same range, there was a

      steep increase in transfection efficiency from about 45-55 mole percent. For

      formulations comprised of the multivalent lipid DOSPA, transfection

      efficiency seemed to be biphasic—it increased monotonically up to about 35

                                           - 33 -
                                                                      Moderna Ex 1007-p. 35
                                                                           JA002719
                                                                          Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 171 of 910 PageID #: 9751




      mole percent and then seemed to saturate. A POSITA would understand the

      testing of Lin to suggest that the mole percentage of cationic lipid in nucleic

      acid-lipid particles can impact transfection efficiency, and that for certain

      cationic lipids transfection efficiency might continue to improve at mole

      percentages above 50 percent.     A POSITA would further understand that

      precisely how the mole percent of cationic lipid might impact transfection

      efficiency depends on both the cationic lipid species and neutral lipid species

      chosen.

            103. Ahmad et al. (“Ahmad”) is a publication titled “New multivalent

      cationic lipids reveal bell curve for transfection efficiency versus membrane

      charge density: lipid–DNA complexes for gene delivery.” Ex. 1006. It was

      published in The Journal of Gene Medicine on January 31, 2005, in Volume 7,

      at pages 739–48. See id. Ahmad is therefore prior art to the ’435 patent under

      35 U.S.C. § 102(b).

            104. Ahmad studied the impact of membrane charge density on the

      transfection efficiency of cationic liposome-DNA complexes comprised of

      cationic and neutral helper lipids. Ex. 1006, 739. Ahmad also contemplated

      adding cholesterol and PEG-lipids to these lipid complexes.           Id., 744

      (“[C]holesterol, which leads to lamellar complexes, is increasingly used as a

      neutral lipid for in vivo applications.”), 746 (“strategies for optimization …

      could involve introducing … PEG–lipids … to block the unspecific

                                          - 34 -
                                                                     Moderna Ex 1007-p. 36
                                                                          JA002720
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 172 of 910 PageID #: 9752




      electrostatic interactions ….”). Thus all three lipid components from the ’435

      patent were disclosed.

            105. Ahmad found that a variety of cationic lipids increased the

      transfection efficiency in the DOPC formulations he studied as shown on

      Figure 3(a). At equivalent mole fractions, cationic lipids with multiple charges

      were observed to provide higher transfection efficiencies than a monovalent

      cationic lipid. Id., 740 (“Numerous lipids with varied chemical and physical

      properties have been synthesized to improve the transfection efficiencies ….

      These include multivalent lipids, which have been described as superior to their

      monovalent counterparts.”). More specifically, Ahmad determined that for the

      multivalent cationic lipids he studied, a maximum transfection efficiency

      occurred at around 50 mole percent. Yet for the monovalent lipid DOTAP,

      transfection efficiency increased monotonically from a cationic lipid

      percentage of about 35 mole percent to a cationic percentage of about 90 mole

      percent. Id., 744. Ahmad reported that the optimal transfection efficiency for

      MLV 5 (a multivalent cationic lipid) was at 55 mole percent when incorporated

      into DOPC formulations, whereas the maximal TE for DOTAP, incorporated

      into DOPC formulations was at 90 mole percent. Id., 743. A POSITA would

      understand the testing of Ahmad to suggest that the mole percentage of cationic

      lipid in nucleic acid-lipid particles can impact transfection efficiency, and that

      for certain cationic lipids transfection efficiency might continue to improve at

                                           - 35 -
                                                                       Moderna Ex 1007-p. 37
                                                                            JA002721
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 173 of 910 PageID #: 9753




      mole percentages above 50 percent.

        VII.     THE CHALLENGED CLAIMS ARE INVALID

            A.     Ground 1: Claims 1-20 are obvious in view of the Patent
                   Owner’s Prior Disclosures

            106. It is my opinion that claims 1-20 of the ’435 patent are obvious

      under 35 U.S.C. § 103 in view of the Patent Owner’s prior disclosures, e.g., the

      ’196 PCT. While the ’196 PCT does not disclose the exact same range of lipid

      components from claim 1 of the ’435 patent explicitly, it discloses

      encompassing and overlapping ranges that establish a prima facie case of

      obviousness and the testing in the ‘435 patent does not support alleged

      unexpected results for the claimed ranges.

            107. The ’189 publication is substantively similar to the ’196 PCT and

      discloses SNALPs comprising overlapping ranges of the lipid components

      similar to those discussed below for the ’196 PCT. Ex. 1003, [0009-0012],

      [0014], [0148-0181].     In addition, the ’189 publication discloses testing

      relating to the admitted prior art 2:40 formulation. Ex. 1003 [0350-0391].

                         Claim element 1[a]: A nucleic acid-lipid particle
                         comprising:

            108. The ’196 PCT teaches “compositions and methods for silencing

      gene expression by delivering nucleic acid-lipid particles comprising a siRNA

      molecule to a cell.” Ex. 1002, (Abstract). From these disclosures, a POSITA

      would appreciate that the claim limitation is expressly disclosed.


                                           - 36 -
                                                                       Moderna Ex 1007-p. 38
                                                                            JA002722
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 174 of 910 PageID #: 9754




                          Claim element 1[b]: A nucleic acid
            109. The ’196 PCT patent teaches “the present invention is directed to

      using a small interfering RNA (siRNA) encapsulated in a serum-stable lipid

      particle having a small diameter suitable for systemic delivery.” Id., [0002].

      siRNA is a nucleic acid. From these disclosures, a POSITA would appreciate

      that the claim limitation is expressly disclosed.

                          Claim element 1[c]: a cationic lipid comprising from
                          50 mol% to 85 mol% of the total lipid present in the
                          particle
            110. The ’196 PCT teaches “[t]he cationic lipid typically comprises

      from about 2% to about 60% of the total lipid present in said particle … [i]n

      other preferred embodiments, the cationic lipid comprises from about 40% to

      about 50% of the total lipid present in said particle.” Id., [0088]. The ’196

      PCT discloses that “[d]epending on the intended use of the nucleic acid-lipid

      particles, the proportions of the components are varied ….” Id. In addition,

      the ’196 PCT incorporates by reference the ’618 patent, which discloses

      nucleic acid-lipoplex with 56% cationic lipid, 14% phospholipid and 30%

      cholesterol, as well as various other formulations containing over 50% cationic

      lipid. Ex. 1017, 34:54-35:23. Given the explicit disclosure of overlapping

      ranges, this limitation is prima facie obvious. In addition, determining the

      optimal proportion of cationic lipid for a given lipid combination would be a

      simple matter of varying the proportion using prior art methodologies.

                                            - 37 -
                                                                     Moderna Ex 1007-p. 39
                                                                          JA002723
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 175 of 910 PageID #: 9755




            111. The testing in the ’435 patent does not support alleged unexpected

      results for the claimed ranges. In the ’435 patent, the only asserted unexpected

      results occurred vis-à-vis the 2:30 and 2:40 formulations (testing for the 2:40

      formulation was disclosed in the ’189 publication). The prior art, however, is

      not so limited. For example, the Patent Owner ignores Group 12 in Figure 2 of

      the ’435 patent that has a cationic lipid percentage of 40.4% and is clearly in

      the prior art given the admitted 2:40 formulation. Numerous other prior art

      formulations contain cationic lipid percentages over 50%. See, e.g., Exs. 1005-

      1006. Patent Owner thus failed to address the entire scope of the prior art in

      asserting unexpected results.

            112. In addition, given the disclosures in the ’435 patent, a POSITA

      would not expect all alternative data points falling within the recited numeric

      range to perform like the 1:57 SNALP. The in vivo testing in Example 3 shows

      that even minor variations in lipid percentages together perhaps with variations

      in drug/lipid ratios appeared to impact efficacy. Sample 2 and Sample 12 from

      Table 4 contain the exact same lipid species in the respective ratios 2/40/10/48

      and 1/40.4/10.1/48.5. The drug/lipid ratios were 12.4 and 23.6 respectively.

      Ex. 1001, Table 4. According to Figure 2, these slight variations in lipid

      proportions and changes in drug/lipid ratio led to apparently different

      transfection efficiencies. Id., Fig. 2. A POSITA would expect that similar

      minor variations in lipid proportions and drug/lipid ratios within the claimed

                                          - 38 -
                                                                     Moderna Ex 1007-p. 40
                                                                          JA002724
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 176 of 910 PageID #: 9756




      range might lead to similar variations in transfection efficiency. Yet, the range

      of lipids falling under the scope of the claims of the ’435 patent is immense

      and a POSITA would have had no way of knowing if any subset of lipids at

      any given proportion would have resulted in a formulation or formulations of

      superior therapeutic index. See Ex. 1006 (Ahmad), 740 (“[I]n comparative

      studies, typically only one or two data points per lipid are evaluated, allowing

      the ideal lipid composition (the ratio of neutral to cationic lipid) or cationic

      lipid/DNA ratio to be overlooked.”). In addition, the 1:57 SNALP (Group 11)

      is likely not statistically significantly more efficacious than Group 12, which is

      comprised of only 40.4% cationic lipid (see Table 4). Group 14 (also in the

      claimed range) also appears to have performed worse than Group 7 (the 2:40

      prior art formulation), and perhaps Group 2 as well.

            113. The ’435 patent defines “cationic lipid” as “any of a number of

      lipid species that carry a net positive charge at a selected pH, such as

      physiological pH (e.g., pH of about 7.0).” Ex. 1001, 12:59-61. The ’435

      patent includes almost three dozen examples of cationic lipids. Id., 47:44-50:3.

      At the time of the ’435 patent, hundreds of additional lipids that are cationic at

      physiological pH were known in the art. Ex. 1008 (Gao), E95 (“[H]undreds of

      new cationic lipids have been developed ….”). In addition, because claim 1 of

      the ’435 patent does not contain any limitation to a specific pH, the additional

      lipids that are cationic at a certain pH would also meet the definition of the

                                           - 39 -
                                                                       Moderna Ex 1007-p. 41
                                                                            JA002725
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 177 of 910 PageID #: 9757




      term.

              114. The testing in the ’435 patent compares only one cationic lipid,

      DLinDMA, to the admitted prior art formulations to illustrate alleged

      unexpected results. Ex. 1001, Tables 2, 4, 5. Example 5 in the ’435 patent

      shows variation of the cationic lipid apparently impacts efficacy. Id., Table 6

      (Samples 2 & 6 (DLin-DMA) vs. Sample 4 (DODMA)). A POSITA would

      understand these results to suggest that a preferred proportion for one cationic

      lipid (e.g., DLinDMA) does not necessarily apply to all other cationic lipids

      (e.g., DODMA).

              115. It was well-known in the art that “[t]he chemical structure of the

      cationic lipid [had] a major impact on the transfection efficiency.” Ex. 1008

      (Gao), E95. Indeed the ’613 patent incorporated by reference in the ’435

      patent acknowledges that “alternative cationic lipids” to the one tested would

      have “different [transfection] efficiencies.”    See Ex. 1011, 1:26-28 (“…

      alternative cationic lipids that work in essentially the same manner but with

      different efficiencies.”). A POSITA would have no reason to believe that the

      alleged unexpected advantages of a 50-85% proportion of DLinDMA would be

      applicable to all cationic lipids.

                          Claim element 1[d]: a non-cationic lipid comprising
                          from 13 mol% to 49.5 mol% of the total lipid present in
                          the particle
              116. The ’196 PCT teaches that “[t]he non-cationic lipid typically

                                           - 40 -
                                                                     Moderna Ex 1007-p. 42
                                                                          JA002726
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 178 of 910 PageID #: 9758




      comprises … preferably from about 20% to about 85% of the total lipid present

      in said particle.” Ex. 1002, [0091]. The ’196 PCT discloses that “[d]epending

      on the intended use of the nucleic acid-lipid particles, the proportions of the

      components are varied ….”         Id., [0088].   In addition, the ’196 PCT

      incorporates by reference the ’618 patent, which discloses a nucleic acid-

      lipoplex with 56% cationic lipid, 14% phospholipid and 30% cholesterol. Ex.

      1017, 34:54-35:23. Given the breadth of the claimed range, these disclosures

      are sufficiently specific to disclose the claimed range. In addition, given the

      explicit disclosure of an encompassing range, this limitation is prima facie

      obvious.

                         Claim element 1[e]: a conjugated lipid that inhibits
                         aggregation of particles comprising from 0.5 mol% to
                         2 mol% of the total lipid present in the particle
            117. The ’196 PCT teaches that “[t]he SNALP further comprises a

      bilayer stabilizing component (BSC). …. [T]he BSC is a conjugated lipid that

      inhibits aggregation of the SNALPs … present from about 0.5% to about 25%

      of the total lipid ….” Ex. 1002, [0092-0093]. The ’196 PCT discloses that

      “[d]epending on the intended use of the nucleic acid-lipid particles, the

      proportions of the components are varied ….” Id., [0088]. “By controlling the

      composition and concentration of the bilayer stabilizing component, one can

      control … the rate at which the liposome becomes fusogenic” impacting the

      transfection efficiency. Id., [0094]. Given the breadth of the claimed range for

                                          - 41 -
                                                                     Moderna Ex 1007-p. 43
                                                                          JA002727
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 179 of 910 PageID #: 9759




      the conjugated lipid, these disclosures are sufficiently specific to disclose the

      claimed range.

            118. In addition, this limitation would have been obvious in view of the

      ’196 PCT in light of the knowledge of a POSITA. A POSITA would have

      been aware that conjugated lipids stabilize carrier particles by inhibiting

      fusogenicity. It would have been obvious for a POSITA to try to increase

      fusogenicity, and hence potentially transfection efficiency, by choosing a

      proportion of conjugated lipid in the 0.5%-2% range. Moreover, given the

      explicit disclosure of encompassing ranges, this limitation is prima facie

      obvious.

                          Claim 2: the nucleic acid-lipid particle of claim 1,
                          wherein the nucleic acid comprises an interfering RNA,
                          mRNA, an anti-sense oligonucleotide, a ribozyme, a
                          plasmid, an immunostimulatory oligonucleotide, or
                          mixtures thereof
            119. The ’196 PCT patent teaches “the present invention is directed to

      using a small interfering RNA (siRNA) encapsulated in a serum-stable lipid

      particle having a small diameter suitable for systemic delivery.” Ex. 1002,

      [0002]. siRNA is an interfering RNA, one of the alternatives put forth in the

      claim. From these disclosures, a POSITA would appreciate that the claim

      limitation is expressly disclosed.




                                           - 42 -
                                                                      Moderna Ex 1007-p. 44
                                                                           JA002728
                                                                          Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 180 of 910 PageID #: 9760




                          Claim 3: the nucleic acid-lipid particle of claim 2,
                          wherein the interfering RNA comprises a small
                          interfering RNA (siRNA), an asymmetrical interfering
                          RNA (aiRNA), a microRNA (miRNA), or mixtures
                          thereof
            120. The ’196 PCT patent teaches “the present invention is directed to

      using a small interfering RNA (siRNA) encapsulated in a serum-stable lipid

      particle having a small diameter suitable for systemic delivery.” Id., [0002].

      From these disclosures, a POSITA would appreciate that the claim limitation is

      expressly disclosed.

                          Claim 4: the nucleic acid-lipid particle of claim 1,
                          wherein the cationic lipid comprises from 50 mol% to
                          65 mol% of the total lipid present in the particle
            121. See Claim 1(c). Given the breadth of the claimed range, the

      disclosures above are sufficiently specific to disclose the claimed range. Not

      only does the disclosed broader range substantially overlap with the claimed

      range, a preferred embodiment in the reference recites a narrower range that

      also partially overlaps. In addition, given the explicit disclosure of overlapping

      ranges, this limitation is prima facie obvious.

                          Claim 5: the nucleic acid-lipid particle of claim 1,
                          wherein the non-cationic lipid comprises a mixture of a
                          phospholipid and cholesterol or a derivative thereof
            122. The ’196 PCT teaches that the non-cationic lipids may include a

      phospholipid and cholesterol. Id., [0089]. “The non-cationic lipid typically

      comprises … preferably from about 20% to about 85% of the total lipid present


                                           - 43 -
                                                                       Moderna Ex 1007-p. 45
                                                                            JA002729
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 181 of 910 PageID #: 9761




      in said particle … If present … preferably the cholesterol comprises from about

      20% to about 45% of the total lipid.” Id., [0091]. From these disclosures, a

      POSITA would appreciate that the claim limitation is expressly disclosed.

                         Claim 6: the nucleic acid-lipid particle of claim 5,
                         wherein the phospholipid comprises
                         dipalmitoylphosphatidylcholine (DPPC),
                         distearoylphosphatidylcholine (DSPC), or a mixture
                         thereof
            123. The ’196 PCT patent teaches that “[e]xamples of noncationic

      lipids useful in the present invention include: phospholipid-related materials,

      such as … DSPC … DPPC ….” Id., [0089]. The ’196 PCT patent also teaches

      using more than one phospholipid (i.e., a mixture). Id., [0128]. From these

      disclosures, a POSITA would appreciate that the claim limitation is expressly

      disclosed.

                         Claim 7: the nucleic acid-lipid particle of claim 5,
                         wherein the phospholipid comprises from 3 mol% to
                         15 mol% of the total lipid present in the particle
            124. The ’196 PCT teaches that “[t]he non-cationic lipid typically

      comprises … preferably from about 20% to about 85% of the total lipid present

      in said particle.” Ex. 1002, [0091]. The ’196 PCT discloses that “[d]epending

      on the intended use of the nucleic acid-lipid particles, the proportions of the

      components are varied ….”         Id., [0088].   In addition, the ’196 PCT

      incorporates by reference the ’618 patent, which discloses nucleic acid-lipoplex

      with 56% cationic lipid, 14% phospholipid and 30% cholesterol. Ex. 1017,

                                          - 44 -
                                                                     Moderna Ex 1007-p. 46
                                                                          JA002730
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 182 of 910 PageID #: 9762




      34:54-35:23. Not only does the disclosed range encompass the claimed range,

      when combined with a cationic lipid proportion of 60%, the available range for

      cholesterol is 20-40% and the range for the other non-cationic lipid (e.g., a

      phospholipid) is decreased to 0%-20%. Given the breadth of the claimed range

      for the phospholipid, these disclosures are sufficiently specific to disclose the

      claimed range. In addition, given the explicit disclosure of encompassing

      ranges, this limitation is prima facie obvious.

                          Claim 8: the nucleic acid-lipid particle of claim 5,
                          wherein the cholesterol or derivative thereof comprises
                          from 30 mol% to 40 mol% of the total lipid present in
                          the particle
            125. The ’196 PCT teaches that “If present … preferably the

      cholesterol comprises from about 20% to about 45% of the total lipid ….” Ex.

      1002, [0091]. The ’196 PCT discloses that “[d]epending on the intended use of

      the nucleic acid-lipid particles, the proportions of the components are varied

      ….” Id., [0088]. In addition, the ’196 PCT incorporates by reference the ’618

      patent, which discloses nucleic acid-lipoplex with 56% cationic lipid, 14%

      phospholipid and 30% cholesterol. Ex. 1017, 34:54-35:23. Given the breadth

      of the claimed range for cholesterol, these disclosures are sufficiently specific

      to disclose the claimed range. In addition, given the explicit disclosure of

      encompassing ranges, this limitation is prima facie obvious.




                                           - 45 -
                                                                      Moderna Ex 1007-p. 47
                                                                           JA002731
                                                                          Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 183 of 910 PageID #: 9763




                         Claim 9: the nucleic acid-lipid particle of claim 1,
                         wherein the conjugated lipid that inhibits aggregation of
                         particles comprises a polyethyleneglycol (PEG)-lipid
                         conjugate
            126. The ’196 PCT patent teaches that “[b]ilayer stabilizing

      components include, but are not limited to, conjugated lipids that inhibit

      aggregation of the SNALPs, polyamide oligomers (e.g., ATTA-lipid

      derivatives), peptides, proteins, detergents, lipid-derivatives, PEG-lipid

      derivatives ….” Ex. 1002, [0052], see also [0013]. From these disclosures, a

      POSITA would appreciate that the claim limitation is expressly disclosed.

                         Claim 10: the nucleic acid-lipid particle of claim 9,
                         wherein the PEG-lipid conjugate comprises a PEG-
                         diacylglycerol (PEG-DAG) conjugate, a PEG-
                         dialkyloxypropyl (PEG-DAA) conjugate, or a mixture
                         thereof
            127. The ’196 PCT patent teaches that “[t]he PEG-lipid conjugate may

      be one or more of a PEG-dialkyloxypropyl (DAA), a PEG-diacylglycerol

      (DAG), … and combinations thereof.” Id., [0013]. From these disclosures, a

      POSITA would appreciate that the claim limitation is expressly disclosed.

                         Claim 11: the nucleic acid-lipid particle of claim 10,
                         wherein the PEG-DAA conjugate comprises a PEG-
                         dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
                         distearyloxypropyl (PEG-DSA) conjugate, or a mixture
                         thereof

            128. The     ’196   PCT    patent      teaches   “three   exemplary   PEG-

      dialkyloxypropyl derivatives suitable for use in the present invention, i.e., …



                                          - 46 -
                                                                        Moderna Ex 1007-p. 48
                                                                             JA002732
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 184 of 910 PageID #: 9764




      PEG-C-DMA … PEG-A-DMA … and … PEG-S-DMA.” Id., [0031]. The

      ’196 PCT patent teaches “[o]ther PEG DAAs suitable for use in the present

      invention can be synthesized using similar protocols. For instance, PEG-A-

      DSA and PEG-C-DSA can be synthesized ….”                 Id., [0242].    From these

      disclosures, a POSITA would appreciate that the claim limitation is expressly

      disclosed.

                          Claim 12: the nucleic acid-lipid particle of claim 1,
                          wherein the conjugated lipid that inhibits aggregation of
                          particles comprises from 1 mol% to 2 mol% of the total
                          lipid present in the particle
            129. See Claim 1(e).        For the reasons stated above, the ’196 PCT

      discloses this range with sufficient specificity to disclose this limitation. In the

      alternative, this range is prima facie obvious given the overlapping range in the

      ’196 PCT.

                          Claim 13: the nucleic acid-lipid particle of claim 1,
                          wherein the nucleic acid is fully encapsulated in the
                          nucleic acid-lipid particle
            130. The ’196 PCT patent teaches “[i]n some embodiments, the siRNA

      molecule is fully encapsulated within the lipid bilayer of the nucleic acid-lipid

      particle such that the nucleic acid in the nucleic acid-lipid particle is resistant in

      aqueous solution to degradation by a nuclease.” Id., [0011]. From these

      disclosures, a POSITA would appreciate that the claim limitation is expressly

      disclosed.


                                             - 47 -
                                                                          Moderna Ex 1007-p. 49
                                                                               JA002733
                                                                              Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 185 of 910 PageID #: 9765




                          Claim 14: a pharmaceutical composition comprising a
                          nucleic acid-lipid particle of claim 1 and a
                          pharmaceutically acceptable carrier
            131. The ’196 PCT patent teaches “[t]he invention also provides for

      pharmaceutically acceptable compositions comprising a nucleic acid-lipid

      particle.” Id., [0019]. From these disclosures, a POSITA would appreciate

      that the claim limitation is expressly disclosed.

                          Claim 15: a method for introducing a nucleic acid into a
                          cell, the method comprising: contacting the cell with a
                          nucleic acid-lipid particle of claim 1
            132. See Claim 1. The ’196 PCT patent teaches “the present invention

      provides for a method of introducing a siRNA molecule into a cell by

      contacting a cell with a nucleic acid-lipid particle ….” Id., [0017]. From these

      disclosures, a POSITA would appreciate that the claim limitation is expressly

      disclosed.

                          Claim 16: a method for the in vivo delivery of a nucleic
                          acid, the method comprising: administering to a
                          mammalian subject a nucleic acid-lipid particle of claim
                          1

            133. See Claim 1. The ’196 PCT patent teaches “the present invention

      provides a method of treating a disease or disorder in a mammalian subject. A

      therapeutically effective amount of a nucleic acid-lipid particle comprising a

      cationic lipid, a non-cationic lipid, a conjugated lipid that inhibits aggregation

      of particles, and siRNA is administered to the mammalian subject ….” Id.,



                                            - 48 -
                                                                       Moderna Ex 1007-p. 50
                                                                            JA002734
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 186 of 910 PageID #: 9766




      [0021]. From these disclosures, a POSITA would appreciate that the claim

      limitation is expressly disclosed.

                          Claim 17: a method for treating a disease or disorder in
                          a mammalian subject in need thereof, the method
                          comprising: administering to the mammalian subject a
                          therapeutically effective amount of a nucleic acid-lipid
                          particle of claim 1

            134. See Claim 1. The ’196 PCT patent teaches “the present invention

      provides a method of treating a disease or disorder in a mammalian subject. A

      therapeutically effective amount of a nucleic acid-lipid particle comprising a

      cationic lipid, a non-cationic lipid, a conjugated lipid that inhibits aggregation

      of particles, and siRNA is administered to the mammalian subject ….” Id.,

      [0021]. From these disclosures, a POSITA would appreciate that the claim

      limitation is expressly disclosed.

                          Claim 18: the method of claim 17, wherein the disease
                          or disorder is a viral infection
            135. The ’196 PCT patent teaches “[i]n some embodiments, the disease

      is a viral disease such as, for example, hepatitis (e.g., Hepatitis A, Hepatitis B,

      Hepatitis C, Hepatitis D, Hepatitis E, Hepatitis G, or a combination thereof).”

      Id., [0021]. From these disclosures, a POSITA would appreciate that the claim

      limitation is expressly disclosed.

                          Claim 19: the method of claim 17, wherein the disease
                          or disorder is a liver disease or disorder
            136. The ’196 PCT patent teaches “[i]n some embodiment, the disease


                                            - 49 -
                                                                        Moderna Ex 1007-p. 51
                                                                             JA002735
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 187 of 910 PageID #: 9767




      or disorder is a liver disease or disorder, such as, for example, dyslipidemia.”

      Id., [0021]. From these disclosures, a POSITA would appreciate that the claim

      limitation is expressly disclosed.

                          Claim 20: the method of claim 17, wherein the disease
                          or disorder is cancer
            137. The ’196 PCT patent teaches “the present invention provides a

      method of treating a disease or disorder in a mammalian subject.                A

      therapeutically effective amount of a nucleic acid-lipid particle comprising a

      cationic lipid, a non-cationic lipid, a conjugated lipid that inhibits aggregation

      of particles, and siRNA is administered to the mammalian subject (e.g., a

      rodent such as a mouse, a primate such as a human or a monkey) with the

      disease or disorder. In some embodiments, the disease or disorder is associated

      with expression and/or overexpression of a gene and expression or

      overexpression of the gene is silenced by the siRNA.” Id., [0021]. A POSITA

      would be aware that genetic changes that lead to cancer development are

      associated with aberrant gene expression including overexpression of genes.

      Thus, the disclosure in the ’196 PCT of the use of siRNA to address gene

      overexpression discloses or renders obvious the use of siRNA in the context of

      cancer treatment.

            B.     Ground 2: Claims 1-20 are obvious in view of the ’196 PCT in
                   light of Lin and/or Ahmad

            138. It is my opinion that Claims 1-20 of the ’435 patent are obvious

                                           - 50 -
                                                                       Moderna Ex 1007-p. 52
                                                                            JA002736
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 188 of 910 PageID #: 9768




      under 35 U.S.C. § 103 in view of the Patent Owner’s prior disclosures, e.g., in

      the ’196 PCT and ’189 publication, in light of Lin and/or Ahmad. To the

      extent that those disclosures alone are determined not to disclose a proportion

      of cationic lipid in the 50%-85% range (Claim 1) and/or the 50%-65% range

      (Claim 4), a POSITA would have understood from Lin and/or Ahmad that such

      proportions of cationic lipid may increase transfection efficacy and would have

      been motivated to combine those disclosures with the system disclosed in the

      ’196 PCT and ’189 publication.

                          Claim element 1[c]: a cationic lipid comprising from
                          50 mol% to 85 mol% of the total lipid present in the
                          particle
              139. To the extent that the disclosures in the’196 PCT are determined

      not to disclose the claimed range for cationic lipids, this limitation would have

      been obvious in view of the ’196 PCT in light of Lin and/or Ahmad. Exs.

      1005-1006. A POSITA would understand the testing of Lin to suggest that the

      cationic lipid mol% of nucleic acid-lipid particles can impact transfection

      efficiency and that for certain lipid components a mol% greater than 50% may

      increase the transfection efficiency of the carrier particles. Ex. 1005 (Lin), Fig.

      3(a).   A POSITA would understand the testing of Ahmad to support the

      proposition that for certain formulations, cationic lipids can increase

      transfection efficiency when they are incorporated above 50 mol%. Ex. 1006

      (Ahmad), 739–40; Fig. 3(a). In these formulations, transfection efficiency was

                                            - 51 -
                                                                        Moderna Ex 1007-p. 53
                                                                             JA002737
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 189 of 910 PageID #: 9769




      reported to decrease above a certain mol% cationic lipid (e.g., around 70%).

      Id. It would have been obvious for a POSITA to combine the disclosed ranges

      in the ’196 PCT with the teaching of Lin and/or Ahmad to increase the cationic

      lipid to the 50%-85% range in order to potentially increase the transfection

      efficiency.

                          Claim 4: the nucleic acid-lipid particle of claim 1,
                          wherein the cationic lipid comprises from 50 mol% to
                          65 mol% of the total lipid present in the particle
            140. See Claim 1(c).        For the reasons stated above, this range is

      obvious in view of the ’196 PCT when combined with Lin and/or Ahmad.

                          Motivation to combine the Patent Owner’s prior
                          disclosures with Lin and/or Ahmad
            141. A POSITA would have been motivated to combine the teachings

      of the Patent Owner’s prior disclosures with Lin and/or Ahmad. First, the Lin

      and Ahmad systems tested helper lipids and cationic lipids to create carrier

      particles for nucleic acids, i.e., “nucleic acid-lipid particles,” the same general

      carrier particles described in the Patent Owner’s prior disclosures. Second, the

      Patent Owner’s disclosures specifically state that “[d]epending on the intended

      use of the nucleic acid-lipid particles, the proportions of the components are

      varied ….” See, e.g., Ex. 1002, [0088]. A POSITA would have been aware

      that the lipid proportions used could impact transfection efficiency. A POSITA

      would have looked to the prior art, including Lin and Ahmad, in order to


                                            - 52 -
                                                                        Moderna Ex 1007-p. 54
                                                                             JA002738
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 190 of 910 PageID #: 9770




      determine the appropriate proportions of, e.g., cationic lipid. Third, given the

      success of generating nucleic acid-lipid particles with a cationic lipid

      proportion greater than 50% as described in the Patent Owner’s prior

      disclosures, a POSITA would have appreciated a reasonable expectation of

      doing so. Given that Ahmad builds on the work described in Lin, a POSITA

      would have been motivated to combine the references.

            142. In short, a POSITA would have found it obvious to use the

      insights of Lin regarding increasing the cationic mole fraction of nucleic acid-

      lipid particles to increase transfection efficiency and the disclosures of the

      Patent Owner’s prior disclosures regarding nucleic acid-lipid particles with a

      cationic lipid proportion greater than 50%.

            C.    Ground 3: Claims 1-20 are anticipated by or obvious in view
                  of the ’554 publication
            143. It is my opinion that Claims 1-20 of the ’435 patent are anticipated

      under 35 U.S.C. § 102(b) or obvious under 35 U.S.C. § 103 in view of the ’554

      publication. While the ’554 publication does not disclose exactly the same

      ranges of lipid components from claim 1 of the ’435 patent explicitly, it

      discloses encompassing and overlapping ranges and specific examples falling

      within the claimed ranges with sufficient specificity to anticipate. Moreover,

      the disclosed ranges establish a prima facie case of obviousness and the testing

      in the ‘435 patent does not support alleged unexpected results for the claimed


                                          - 53 -
                                                                     Moderna Ex 1007-p. 55
                                                                          JA002739
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 191 of 910 PageID #: 9771




      ranges.

                           Claim element 1[a]: A nucleic acid-lipid particle
                           comprising:
            144. The ’554 publication teaches “novel cationic lipids … and

      formulations thereof with biologically active molecules.” Ex. 1004, [0019].

      As one example, “the invention features a composition comprising a

      biologically active molecule (e.g., a polynucleotide such as a siNA, … [or]

      other nucleic acid molecule …), a cationic lipid, a neutral lipid, and a

      polyethyleneglycol     conjugate,   such       as   a    PEG-diacylglycerol,    PEG-

      diacylglycamide, PEP-cholesterol, or PEG-DMB conjugate.” Id., [0082]. One

      example of such particles with siRNA for reducing HBsAg levels using the

      L054 formulation are described in Figure 16. Id., [0395] (“FIG. 16 shows a

      non-limiting example of in vitro efficacy of siNA nanoparticles in reducing

      HBsAg levels in HepG2 cells … treated with formulated active siNA L053 and

      L054 nanoparticles ….”). From these disclosures, a POSITA would appreciate

      that the claim limitation is expressly disclosed.

                           Claim element 1[b]: A nucleic acid

            145. The ’554 publication teaches “compositions … with biologically

      active molecules” including “nucleic acids.”            Id., [0018]-[0019].    As one

      example, “the invention features a composition comprising a biologically

      active molecule (e.g., a polynucleotide such as a siNA, antisense, aptamer,


                                            - 54 -
                                                                           Moderna Ex 1007-p. 56
                                                                                JA002740
                                                                               Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 192 of 910 PageID #: 9772




      decoy, ribozyme, 2-5A, triplex forming oligonucleotide, [or] other nucleic acid

      molecule …).” Id., [0082]. One example is siRNA for reducing HBsAg levels

      as described in Figure 16. Id., [0395]. From these disclosures, a POSITA

      would appreciate that the claim limitation is expressly disclosed.

                          Claim element 1[c]: a cationic lipid comprising from
                          50 mol% to 85 mol% of the total lipid present in the
                          particle
            146. The ’554 publication teaches “[c]ationic lipids that are useful in

      the present invention can be any of a number of lipid species which carry a net

      positive charge at a selected pH, such as physiological pH.” Id., [0454].

      “[T]he cationic lipid component … comprises from about 2% to about 60% …

      or from about 40% to about 50% of the total lipid ….” Id., [0116]. For

      example, the L054 formulation tested in Figure 16 contains 50% cationic lipid

      (DMOBA). Id., Table 4.

            147. The ’554 publication also teaches particles “can transition from a

      stable lamellar structure adopted in circulation (i.e., in plasma or serum) at

      physiologic pH (about pH 7.4) to a less stable and more efficient delivery

      composition having an inverted hexagonal structure at pH 5.5-6.5, which is the

      pH found in the early endosome.” Id., [0137]. The cationic lipid is the active

      component in such the pH-dependent nucleic acid-lipid particles: “[s]uitable

      cationic lipid include those cationic lipids which carry a net positive charge at a

      selected pH ….” Id., [0083]. A POSITA would understand that increasing the

                                            - 55 -
                                                                        Moderna Ex 1007-p. 57
                                                                             JA002741
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 193 of 910 PageID #: 9773




      mol% of a cationic lipid with pH sensitivity in these particles might increase

      transfection efficiency since this event is fusion related and thought to occur as

      a result of the described phase shift.

            148. Given the breadth of the claimed range, these disclosures are

      sufficiently specific to anticipate the claimed range. For example, not only

      does the disclosed range overlap with the claimed range, a specific example

      falls within the claimed range. In addition, a POSITA would be compelled to

      choose cationic lipid proportions at the top end of the recited range to increase

      the efficiency of the described phase shift.

            149. In addition, given the explicit disclosure of overlapping ranges,

      this limitation is prima facie obvious. As discussed above and the testing in

      the ‘435 patent does not support alleged unexpected results for the claimed

      ranges.

                          Claim element 1[d]: a non-cationic lipid comprising
                          from 13 mol% to 49.5 mol% of the total lipid present in
                          the particle
            150. The ’554 publication teaches “[t]he noncationic lipids used in the

      present invention can be any of a variety of neutral uncharged, zwitterionic or

      anionic lipids capable of producing a stable complex.” Id., [0455]. Neutral

      lipids are defined as “any lipophilic compound having non-cationic change

      (e.g., anionic or neutral charge).” Id., [0315]. “[T]he neutral lipid component

      … comprise[s] … from about 20% to about 85% of the total lipid present in the

                                               - 56 -
                                                                       Moderna Ex 1007-p. 58
                                                                            JA002742
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 194 of 910 PageID #: 9774




      formulation.” Id., [0313]. For example, the L054 formulation tested in Figure

      16 contains 48% non-cationic lipid (cholesterol and DSPC). Id., Table 4.

      Given the breadth of the claimed range, these disclosures are sufficiently

      specific to anticipate the claimed range. Id. In addition, given the explicit

      disclosure of encompassing ranges, this limitation is prima facie obvious.

                          Claim element 1[e]: a conjugated lipid that inhibits
                          aggregation of particles comprising from 0.5 mol% to
                          2 mol% of the total lipid present in the particle
            151. The ’554 publication teaches “[i]n addition to cationic and neutral

      lipids, the formulated molecular compositions of the present invention

      comprise a polyethyleneglycol (PEG) conjugate.” Id., [0457]. “[T]he PEG

      conjugate … comprises from about 1% to about 20% … of the total lipid

      present ….” Id., [0118]. The ’554 publication further teaches “[i]t is often

      desirable to include other components that act in a manner similar to the DAG-

      PEG conjugates and that serve to prevent particle aggregation ….” Id., [0504].

      For example, the L054 formulation tested in Figure 16 contains 2% conjugate

      lipid (PEG-n-DMG). Id., Table 4. Given the breadth of the claimed range,

      these disclosures are sufficiently specific to anticipate the claimed range.

            152. In addition, this limitation would have been obvious in view of the

      ’554 publication in light of the knowledge of a POSITA. A POSITA would

      have been aware that conjugated lipids stabilize carrier particles by inhibiting

      fusogenicity. It would have been obvious for a POSITA to try to increase the

                                            - 57 -
                                                                        Moderna Ex 1007-p. 59
                                                                             JA002743
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 195 of 910 PageID #: 9775




      fusogenicity, and hence potentially the transfection efficiency, by choosing a

      proportion of conjugated lipid in the 0.5%-2% range. Moreover, given the

      explicit disclosure of encompassing ranges, this limitation is prima facie

      obvious.

                         Claim 2: the nucleic acid-lipid particle of claim 1,
                         wherein the nucleic acid comprises an interfering RNA,
                         mRNA, an anti-sense oligonucleotide, a ribozyme, a
                         plasmid, an immunostimulatory oligonucleotide, or
                         mixtures thereof
            153. The ’554 publication teaches “formulations for the delivery of

      chemically-modified synthetic short interfering nucleic acid (siNA) molecules

      that modulate target gene expression or activity in cells, tissues, such as in a

      subject or organism, by RNA interference (RNAi).” Id., [0020]. One example

      is siRNA for reducing HBsAg levels as described in Figure 16. Id., [0395].

      From these disclosures, a POSITA would appreciate that the claim limitation is

      expressly disclosed.

                         Claim 3: the nucleic acid-lipid particle of claim 2,
                         wherein the interfering RNA comprises a small
                         interfering RNA (siRNA), an asymmetrical interfering
                         RNA (aiRNA), a microRNA (miRNA), or mixtures
                         thereof
            154. The ’554 publication teaches “formulations for the delivery of

      chemically modified synthetic short interfering nucleic acid (siNA) molecules

      that modulate target gene expression or activity in cells, tissues, such as in a

      subject or organism, by RNA interference (RNAi).” Id., [0020]. The ’554

                                          - 58 -
                                                                     Moderna Ex 1007-p. 60
                                                                          JA002744
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 196 of 910 PageID #: 9776




      publication further teaches “the invention features novel … formulations that

      effectively transfect or deliver small nucleic acid molecules, such as short

      interfering nucleic acid (siNA) … [and] micro-RNA (miRNA) … to relevant

      cells and/or tissues ….” Id., [0019]. One example is siRNA for reducing

      HBsAg levels as described in Figure 16. Id., [0395]. From these disclosures, a

      POSITA would appreciate that the claim limitation is expressly disclosed.

                         Claim 4: the nucleic acid-lipid particle of claim 1,
                         wherein the cationic lipid comprises from 50 mol% to
                         65 mol% of the total lipid present in the particle
            155. See Claim 1(c). Given the breadth of the claimed range, the

      disclosures above are sufficiently specific to anticipate the claimed range. In

      addition, given the explicit disclosure of overlapping ranges, this limitation is

      prima facie obvious.

                         Claim 5: the nucleic acid-lipid particle of claim 1,
                         wherein the non-cationic lipid comprises a mixture of a
                         phospholipid and cholesterol or a derivative thereof
            156. The ’544 publication teaches “[t]he noncationic lipids used in the

      present invention can be any of a variety of neutral uncharged, zwitterionic or

      anionic lipids capable of producing a stable complex.” Id., [0455]. “Examples

      of noncationic lipids useful in the present invention include phospholipid-

      related materials ….” Id. “[S]uitable neutral lipids include … cholesterol, as

      well as other neutral lipids described herein below, and/or a mixture thereof.”

      Id., [0085]. For example, the L054 formulation tested in Figure 16 contains

                                           - 59 -
                                                                      Moderna Ex 1007-p. 61
                                                                           JA002745
                                                                          Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 197 of 910 PageID #: 9777




      48% non-cationic lipid (cholesterol and DSPC). Id., Table 4. From these

      disclosures, a POSITA would appreciate that the claim limitation is expressly

      disclosed.

                         Claim 6: the nucleic acid-lipid particle of claim 5,
                         wherein the phospholipid comprises
                         dipalmitoylphosphatidylcholine (DPPC),
                         distearoylphosphatidylcholine (DSPC), or a mixture
                         thereof
            157. The ’554 publication teaches “suitable neutral lipids include …

      DSPC … DPPC … and/or a mixture thereof.” Ex. 1004, [0085]. From these

      disclosures, a POSITA would appreciate that the claim limitation is expressly

      disclosed.

                         Claim 7: the nucleic acid-lipid particle of claim 5,
                         wherein the phospholipid comprises from 3 mol% to
                         15 mol% of the total lipid present in the particle
            158. The ’554 publication teaches “[t]he noncationic lipids used in the

      present invention can be any of a variety of neutral uncharged, zwitterionic or

      anionic lipids capable of producing a stable complex.” Id., [0455]. “[T]he

      neutral lipid component … comprises … from about 20% to about 85% of the

      total lipid present in the formulation … the cholesterol component …

      comprises … from about 20% to about 45% of the total lipid present ….” Id.,

      [0117-0119]. When cholesterol is present, the range for a phospholipid is thus

      0-40%. Not only does the disclosed range encompass the claimed range, when

      combined with a cationic lipid proportion in the 60% range and cholesterol in

                                          - 60 -
                                                                     Moderna Ex 1007-p. 62
                                                                          JA002746
                                                                         Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 198 of 910 PageID #: 9778




      the 20-40% range, the range for the phospholipid is decreased to 0%-20%. Id.

      Given the breadth of the claimed range for the phospholipid, these disclosures

      are sufficiently specific to anticipate the claimed range. Id.

            159. Moreover, given the explicit disclosure of a non-cationic lipid

      range “from about 20% to about 85%,” including cholesterol “from about 20%

      to about 45%,” an overlapping range of 0%-40% is disclosed. This limitation

      is prima facie obvious.

                          Claim 8: the nucleic acid-lipid particle of claim 5,
                          wherein the cholesterol or derivative thereof comprises
                          from 30 mol% to 40 mol% of the total lipid present in
                          the particle
            160. The ’554 publication teaches “the cholesterol component …

      comprises … from about 20% to about 45% of the total lipid present.” Id.,

      29:60-30:4. In addition, the ’554 publication also includes various specific

      formulations which include cholesterol at a 30% proportion. Id., Table 4 (e.g.,

      L106).     Given the breadth of the claimed range, these disclosures are

      sufficiently specific to anticipate the claimed range.      Moreover, given the

      explicit disclosure of an encompassing range, this limitation is prima facie

      obvious.

                          Claim 9: the nucleic acid-lipid particle of claim 1,
                          wherein the conjugated lipid that inhibits aggregation of
                          particles comprises a polyethyleneglycol (PEG)-lipid
                          conjugate

            161. The ’554 publication teaches “[i]n addition to cationic and neutral

                                            - 61 -
                                                                       Moderna Ex 1007-p. 63
                                                                            JA002747
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 199 of 910 PageID #: 9779




      lipids, the formulated molecular compositions of the present invention

      comprise a polyethyleneglycol (PEG) conjugate.” Id., [0457]. For example,

      the L054 formulation tested in Figure 16 contains 2% conjugate lipid (PEG-n-

      DMG). Id., Table 4. From these disclosures, a POSITA would appreciate that

      the claim limitation is expressly disclosed.

                          Claim 10: the nucleic acid-lipid particle of claim 9,
                          wherein the PEG-lipid conjugate comprises a PEG-
                          diacylglycerol (PEG-DAG) conjugate, a PEG-
                          dialkyloxypropyl (PEG-DAA) conjugate, or a mixture
                          thereof
            162. The ’554 publication teaches “[s]uitable polyethyleneglycol-

      diacylglycerol or polyethyleneglycol-diacylglycamide (PEG-DAG) conjugates

      ….” Id., [0086]. Because one of the listed species of PEG-lipid conjugates is

      disclosed, this element is anticipated.

                          Claim 11: the nucleic acid-lipid particle of claim 10,
                          wherein the PEG-DAA conjugate comprises a PEG-
                          dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
                          distearyloxypropyl (PEG-DSA) conjugate, or a mixture
                          thereof

            163. This limitation would have been obvious in view of the ’554

      publication in light of the knowledge of a POSITA. A POSITA would have

      been aware that PEG-dialkyloxypropyl (PEG-DAA) conjugates could be used

      in lieu of PEG-diacylglycerol (PEG-DAG) conjugates and that PEG-

      dialkyloxypropyl     (PEG-DAA)       conjugates   can   comprises   a   PEG-

      dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-distearyloxypropyl (PEG-

                                            - 62 -
                                                                    Moderna Ex 1007-p. 64
                                                                         JA002748
                                                                        Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 200 of 910 PageID #: 9780




      DSA) conjugate, or a mixture thereof.          Indeed, the Patent Owner’s prior

      disclosures from years before the ’435 patent priority date address using PEG-

      DAA conjugates (e.g., PEG-DMA or PEG-DSA) in lieu of PEG-DAG

      conjugates. See, e.g., Ex. 1014 (’910 publication), [0016].

                          Claim 12: the nucleic acid-lipid particle of claim 1,
                          wherein the conjugated lipid that inhibits aggregation of
                          particles comprises from 1 mol% to 2 mol% of the total
                          lipid present in the particle

            164. See Claim 1(e). For the reasons stated above, the ’554 publication

      discloses this range with sufficient specificity to anticipate. In the alternative,

      this range is prima facie obvious given the overlapping range in the ’554

      publication.

                          Claim 13: the nucleic acid-lipid particle of claim 1,
                          wherein the nucleic acid is fully encapsulated in the
                          nucleic acid-lipid particle
            165. The ’554 publication teaches “[t]he encapsulation of anionic

      compounds using cationic lipids is essentially quantitative due to electrostatic

      interaction.”   Ex. 1004, [0011].      A POSITA would understand that full

      encapsulation requires only an excess of cationic lipid with regard to the

      nucleic acid for electrostatic interaction. From these disclosures, a POSITA

      would appreciate that the claim limitation is expressly disclosed.




                                            - 63 -
                                                                        Moderna Ex 1007-p. 65
                                                                             JA002749
                                                                            Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 201 of 910 PageID #: 9781




                          Claim 14: a pharmaceutical composition comprising a
                          nucleic acid-lipid particle of claim 1 and a
                          pharmaceutically acceptable carrier
            166. The ’554 publication teaches “[t]he pharmaceutical carrier is

      generally added following formulated siNA composition formation.          Thus,

      after the formulated siNA composition is formed, the formulated siNA

      composition can be diluted into pharmaceutically acceptable carriers such as

      normal saline.”    Id., [0502].    From these disclosures, a POSITA would

      appreciate that the claim limitation is expressly disclosed.

                          Claim 15: a method for introducing a nucleic acid into a
                          cell, the method comprising: contacting the cell with a
                          nucleic acid-lipid particle of claim 1

            167. See Claim 1. The ’554 publication teaches “[t]he invention relates

      to … methods for delivering nucleic acids … to cells by facilitating transport

      across cellular membranes ….”         Ex. 1004, [0003].        A POSITA would

      understand this to include contacting the cell with the carrier particle. From

      these disclosures, a POSITA would appreciate that the claim limitation is

      expressly disclosed.

                          Claim 16: a method for the in vivo delivery of a nucleic
                          acid, the method comprising: administering to a
                          mammalian subject a nucleic acid-lipid particle of claim
                          1

            168. See Claim 1. The ’554 publication teaches “‘[s]ubject’ also refers

      to an organism to which the nucleic acid molecules of the invention can be



                                           - 64 -
                                                                       Moderna Ex 1007-p. 66
                                                                            JA002750
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 202 of 910 PageID #: 9782




      administered. A subject can be a mammal or mammalian cells, including a

      human or human cells.” Ex. 1004, [0369]. From these disclosures, a POSITA

      would appreciate that the claim limitation is expressly disclosed.

                         Claim 17: a method for treating a disease or disorder in
                         a mammalian subject in need thereof, the method
                         comprising: administering to the mammalian subject a
                         therapeutically effective amount of a nucleic acid-lipid
                         particle of claim 1
            169. See Claims 1 & 16. The ’554 publication teaches “the invention

      features a method for treating or preventing a disease, disorder, trait or

      condition related to gene expression in a subject or organism comprising

      contacting the subject or organism with a formulated molecular composition of

      the invention under conditions suitable to modulate the expression of the target

      gene in the subject or organism.” Ex. 1004, [0274]. From these disclosures, a

      POSITA would appreciate that the claim limitation is expressly disclosed.

                         Claim 18: the method of claim 17, wherein the disease
                         or disorder is a viral infection
            170. The ’554 publication teaches “[i]n one embodiment, the degree of

      reduced immunostimulatory response is selected for optimized RNAi activity.

      For example, retaining a certain degree of immunostimulation can be preferred

      to treat viral infection ….” Id., [0310]. From these disclosures, a POSITA

      would appreciate that the claim limitation is expressly disclosed.




                                           - 65 -
                                                                       Moderna Ex 1007-p. 67
                                                                            JA002751
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 203 of 910 PageID #: 9783




                          Claim 19: the method of claim 17, wherein the disease
                          or disorder is a liver disease or disorder

            171. The ’554 publication teaches “the invention features compositions

      and methods that independently or in combination modulate the expression of

      target genes encoding proteins, such as proteins associated with the

      maintenance and/or development of a disease, trait, or condition, such as a liver

      disease, trait, or condition.” Id., [0021]. From these disclosures, a POSITA

      would appreciate that the claim limitation is expressly disclosed.

                          Claim 20: the method of claim 17, wherein the disease
                          or disorder is cancer
            172. The ’554 publication teaches “the invention features a method for

      treating or preventing cancer in a subject or organism comprising contacting

      the subject or organism with a formulated molecular composition of the

      invention ….” Id., [0275]. From these disclosures, a POSITA would

      appreciate that the claim limitation is expressly disclosed.

       VIII.    CONCLUSION
            173. In sum, it is my opinion that Grounds 1-3 advanced in the Petition

      demonstrate that the challenged claims of the ’435 patent are disclosed or

      rendered obvious by the cited prior art.




                                           - 66 -
                                                                       Moderna Ex 1007-p. 68
                                                                            JA002752
                                                                           Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 204 of 910 PageID #: 9784




       I hereby declare that all statements made herein of my own knowledge are true
       and that all statements made on information and belief are believed to be true;
       and further that these statements were made with the knowledge that willful
       false statements and the like so made are punishable byfineor imprisonment,
       or both, under Section 1001 of the Title 18 of the United States Code.


             Executed on March 5, 2018 in Princeton, NJ.




                                        -67-
                                                                Moderna Ex 1007-p. 69
                                                                     JA002753
                                                                    Moderna v Protiva
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 205 of 910 PageID #: 9785




                   JOINT APPENDIX 71
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 206 of 910 PageID #: 9786




                Liposome Drug
                   Products
         Chemistry, Manufacturing, and Controls; Human
        Pharmacokinetics and Bioavailability; and Labeling
                         Documentation




               Guidance for Industry




                     U.S. Department of Health and Human Services
                             Food and Drug Administration
                    Center for Drug Evaluation and Research (CDER)

                                     April 2018
                             Pharmaceutical Quality/CMC



                                                             PROTIVA - EXHIBIT 2013
                              Moderna Therapeutics, Inc. v. Protiva Biotherapeautics, Inc.
                                                                         JA002754
                                                                         IPR2018-00739
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 207 of 910 PageID #: 9787




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                    Products
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        Pharmacokinetics and Bioavailability; and Labeling
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                        U.S. Department of Health and Human Services
                                Food and Drug Administration
                       Center for Drug Evaluation and Research (CDER)

                                            April 2018
                                    Pharmaceutical Quality/CMC




                                                                                                      JA002755
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 208 of 910 PageID #: 9788

                                                   Contains Nonbinding Recommendations


                                                               TABLE OF CONTENTS



   I.            INTRODUCTION............................................................................................................. 1
   II.           BACKGROUND ............................................................................................................... 2
   III.          DISCUSSION .................................................................................................................... 2
        A.       Chemistry, Manufacturing, and Controls ................................................................................... 2
             1. Description and Composition .......................................................................................................... 2
             2. Physicochemical Properties............................................................................................................. 3
             3. Critical Quality Attributes ............................................................................................................... 5
             4. Description of Manufacturing Process and Process Controls ........................................................ 5
             5. Control of Lipid Components........................................................................................................... 5
             6. Drug Product Specification ............................................................................................................. 8
             7. Stability ............................................................................................................................................ 9
             8. Postapproval Changes in Manufacturing ...................................................................................... 10
        B.       Human Pharmacokinetics: Bioavailability and Bioequivalence .............................................. 10
             1. Clinical Pharmacology Studies...................................................................................................... 11
             2. Biopharmaceutics .......................................................................................................................... 12
        C.       Labeling ........................................................................................................................................ 13
   IV.           REFERENCES ................................................................................................................ 15




                                                                                     i


                                                                                                                                                     JA002756
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 209 of 910 PageID #: 9789

                                    Contains Nonbinding Recommendations


                      Liposome Drug Products
          Chemistry, Manufacturing, and Controls; Human
   Pharmacokinetics and Bioavailability; and Labeling Documentation
                       Guidance for Industry 1

   This guidance represents the current thinking of the Food and Drug Administration (FDA or Agency) on
   this topic. It does not establish any rights for any person and is not binding on FDA or the public. You
   can use an alternative approach if it satisfies the requirements of the applicable statutes and regulations.
   To discuss an alternative approach, contact the FDA office responsible for this guidance as listed on the
   title page.




   I.      INTRODUCTION

   This guidance discusses what types of information you, the applicant, should submit in your new
   drug application (NDA) or abbreviated new drug application (ANDA) for a liposome drug
   product reviewed by the Center for Drug Evaluation and Research (CDER). The discussion
   addresses the following topics for liposome drug products: (A) chemistry, manufacturing, and
   controls (CMC); (B) human pharmacokinetics and bioavailability or, in the case of an ANDA,
   bioequivalence; and (C) labeling in NDAs and ANDAs. It finalizes the revised draft guidance
   for industry Liposome Drug Products, Chemistry, Manufacturing, and Controls; Human
   Pharmacokinetics and Bioavailability; and Labeling Documentation that published in October
   2015. 2 The recommendations in this guidance focus on the unique technical aspects of liposome
   drug products. This guidance does not provide recommendations on clinical efficacy and safety
   studies; nonclinical pharmacology/toxicology studies; or drug-lipid complexes. 3

   Although this guidance does not provide recommendations specific to liposome drug products to
   be marketed under biologics license applications (BLAs), many scientific principles described in
   this guidance may also apply to these products.


   1
     This guidance has been prepared by the Liposome Working Group in the Center for Drug Evaluation and Research
   (CDER) at the Food and Drug Administration.
   2
     We update guidances periodically. To make sure you have the most recent version of a guidance, check the FDA
   Drugs guidance web page at
   http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/default.htm.
   3
     Drug-lipid complexes are chemically and physically defined nonvesicular associations of drugs with certain lipids.
   Drug-lipid complexes are formed by mixing a drug with lipids in such a way that liposomes are not created. The
   CMC, pharmacokinetics, and bioavailability recommendations for drug-lipid complexes and liposomes can be
   similar. When the submission is for an NDA, contact the specific drug product’s review division with questions.
   When the submission is for an ANDA, submit a Controlled Correspondence via email to
   GenericDrugs@fda.hhs.gov. For the definition of a controlled correspondence as well as the process to submit a
   controlled correspondence, see the final guidance for industry Controlled Correspondence Related to Generic Drug
   Development (September 2015) and the proposed revisions in the draft guidance issued in November 2017.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 210 of 910 PageID #: 9790

                                    Contains Nonbinding Recommendations


   In addition, you should consider recommendations in this guidance during drug development that
   may lead to the submission of an investigational new drug application (IND) for a liposome drug
   product. In connection with ANDA submissions, you should consider recommendations in any
   product-specific guidances, including bioequivalence and information necessary to demonstrate
   pharmaceutical equivalence to the reference listed drug (RLD).

   In general, FDA’s guidance documents do not establish legally enforceable responsibilities.
   Instead, guidances describe the Agency’s current thinking on a topic and should be viewed only
   as recommendations, unless specific regulatory or statutory requirements are cited. The use of
   the word should in Agency guidances means that something is suggested or recommended, but
   not required.


   II.      BACKGROUND

   Liposomes are vesicles composed of a bilayer (uni-lamellar) and/or a concentric series of
   multiple bilayers (multi-lamellar) separated by aqueous compartments formed by amphipathic
   molecules such as phospholipids that enclose a central aqueous compartment. In a liposome
   drug product, the drug substance is generally contained in liposomes. 4 Typically, water soluble
   drugs are contained in the aqueous compartment(s) and hydrophobic drugs are contained in the
   lipid bilayer(s) of the liposomes. Release of drugs from liposome formulations, among other
   characteristics such as liposomal clearance and circulation half-life, can be modified by the
   presence of polyethylene glycol and/or cholesterol or other potential additives in the liposome.

   A liposome drug formulation is different from (1) an emulsion, which is a dispersed system of
   oil in water, or water in oil phases containing one or more surfactants, (2) a microemulsion,
   which is a thermodynamically stable two phase system containing oil or lipid, water and
   surfactants, and (3) a drug-lipid complex.


   III.     DISCUSSION

            A.       Chemistry, Manufacturing, and Controls

            1.       Description and Composition

   You should include the following information in your application:

                     a.       The drug product components listed by their established names, as
                              follows:

                                  i. Drug substance
                                  ii. Lipids
                                  iii. Nonlipid components of the liposome
   4
    The word contained includes both encapsulated and intercalated drug substance. Encapsulated refers to drug
   substance within an aqueous space and intercalated refers to incorporation of the drug substance within a bilayer.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 211 of 910 PageID #: 9791

                               Contains Nonbinding Recommendations


                             iv. Nonliposome inactive ingredients (e.g., buffer components)

                  b.      An expression of the amount of each lipid component used in the
                          formulation based on the final form of the product:

                           − For liquid – mg/ml and mg/vial
                           − For dry powder for reconstitution – mg/ml after reconstitution and
                             mg/vial
                           − For semisolid – w/w (g/g)

   An expression of the molar ratio of each individual lipid to the drug substance is also
   recommended for each individual lipid in the finished formulation.

                  c.      An expression of the amount of drug substance in the formulation.

   We recommend expressing the composition of the drug product as milligram of drug substance
   per milliliter of drug product and also milligram of drug substance per vial for liquid drug
   products. For dry powders, only the total amount of the drug should be listed.

                  d.      Ranges in the composition and/or attributes of components.

   Because the pharmacological and toxicological properties and the quality of a liposome product
   can vary significantly with changes in the formulation, including the lipid composition, the
   ranges should be specified based on the following:

                             i. Product development studies
                             ii. How the ranges were selected
                             iii. If and how the source of key excipients affects finished product
                                  quality

   These ranges should be linked to the factors that were analyzed during drug product development
   and supported by data.

          2.      Physicochemical Properties

   Liposome structure and integrity are important physicochemical properties and they reflect the
   ability of the liposome drug formulation to contain the drug substance and to retain the drug
   substance within the appropriate liposome structure. The following properties are generally
   useful to characterize a liposome drug formulation. Variability in the following properties may
   lead to changes in the quality of the liposome drug product, including leakage of the drug from
   the liposomes. Properties that apply to your liposome drug product may vary from those listed
   below.

                  a.      Morphology of the liposomes including, if applicable, lamellarity
                          determination.



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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 212 of 910 PageID #: 9792

                                   Contains Nonbinding Recommendations


                    b.       Surface characteristics of the liposomes, as applicable, e.g., pegylation.

                    c.       Net charge, typically measured as zeta potential of the liposomes.

                    d.       Drug product viscosity.

                    e.       Parameters of the contained drug.

   For example, drug encapsulation efficiency (the amount of drug contained inside liposomes
   compared with total amount of drug) and liposome drug loading (the amount of drug contained
   relative to the amount of the lipid used, which is the drug-to-lipid ratio). 5 This information
   should be supported by development data, including test results on batches of liposome drug
   used in pivotal clinical trials or bioequivalence studies.

                    f.       Particle size (i.e., mean and distribution profile), preferably defined on the
                             basis of volume or mass if particle density is known.

                    g.       Liposome phase transition temperature.

                    h.       In vitro release of the drug substance from the liposome drug product
                             under the stated/described experimental conditions with supportive data
                             and information regarding the choice of those conditions.

                    i.       Leakage rate of drug from the liposomes throughout shelf life.

                    j.       Liposome integrity changes (e.g., drug release, drug encapsulation
                             efficiency, liposome drug loading, size) in response to changes in factors
                             such as salt concentration, pH, temperature, or addition of other
                             excipients, as applicable.

                    k.       Liposome structure supported by spectroscopic or other analytical
                             method(s).




   5
    Xu, X, Khan, M, and Burgess, D, 2012, A Quality by Design (QbD) Case Study on Liposomes Containing
   Hydrophilic API: II. Screening of Critical Variables, and Establishment of Design Space at Laboratory Scale,
   International Journal of Pharmaceutics, 423: 543-553; and Liposomes as Carriers for Controlled Drug Delivery,
   Long Acting Injections and Implants, chapter 11, pages 195 to 220, ISBN 978-1-4614-0553-5, Publisher: Springer.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 213 of 910 PageID #: 9793

                                     Contains Nonbinding Recommendations


              3.       Critical Quality Attributes

   Critical quality attributes (CQAs) particular to liposome drug products include some of the
   physicochemical properties described above including vesicle/particle size and size distribution,
   and morphology. For general information on drug product development, see the International
   Council for Harmonisation (ICH) guidance for industry, Q8(R2) Pharmaceutical Development.

              4.       Description of Manufacturing Process and Process Controls

   We recommend including a detailed process flow diagram and a description of unit operations
   with ranges for the process parameters and process controls. These ranges should be supported
   by pharmaceutical development studies. The process and mechanism of liposomal drug loading,
   as well as the removal of free (un-incorporated) drug from the liposome formulation via
   purification should be described in detail. The manufacturing process should be validated to
   demonstrate manufacturing process consistency and reproducibility before commercial
   distribution.6

   Liposome drug products are sensitive to changes in the manufacturing conditions, including
   changes in scale (size of the batches). Appropriate process controls should be established during
   product development. Prior knowledge can be leveraged and risk assessment techniques can be
   used to identify manufacturing process parameters that potentially affect finished product
   quality.

   Some examples of manufacturing process parameters that may affect liposome drug performance
   are shear force, pressure, pH, temperature, batch-size-related hold times, lyophilization
   parameters, etc. You should provide adequate justification for the selection of the operating
   ranges for different batch sizes.

   The physical and chemical complexity of liposome drug products present unique challenges to
   the sterilizing filtration process. For example, components of liposomes could interact with the
   filter matrix and clog it. Therefore, validated product-specific purification and sterilization
   methods should demonstrate the ability of the microbial sterilizing filters to function correctly,
   without compromising the integrity and structure of liposomes.

              5.       Control of Lipid Components

   The quality of lipid components, including modified lipids (e.g., polyethylene glycol (PEG)
   modified lipids), can affect the quality and performance of the liposome drug product. In case of
   a novel lipid component, i.e., any lipid component not listed in the Inactive Ingredient Database
   (IID), 7 or a component that exceeds the amount listed in the IID for the intended route of
   administration, the level of detail provided in the submission should be comparable to that for a



   6
       See guidance for industry Process Validation: General Principles and Practices.
   7
       See http://www.accessdata.fda.gov/scripts/cder/iig/index.cfm.




                                                             5
                                                                                           JA002761
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 214 of 910 PageID #: 9794

                                  Contains Nonbinding Recommendations


   drug substance. 8 This information should be provided in the application or in a Type IV Drug
   Master File (DMF). 9

   In addition, you should provide the following information specific to lipid components:

                   a.       Description and Characterization of Lipid Components

   If the lipid is synthetic (e.g., a lipid manufactured by chemical synthesis from specified starting
   materials) or semi-synthetic (e.g., a lipid manufactured by modification of naturally occurring
   precursors such as dipalmitoylphosphatidylcholine (DPPC), distearoylphosphatidylcholine
   (DSPC), or dimyristoylphosphatidylcholine (DMPC)), you should provide proof of structure,
   including fatty acid composition and positional specificity. You should specify the lipid
   composition (e.g., percentage of each lipid and fatty acid, positional specificity of acyl side
   chains, and degree of fatty acid unsaturation).

   In the case of naturally-sourced lipid mixtures, (e.g., egg lecithin), you should provide the lipid
   composition as a range of percentages for each stated lipid present in the mixture and its fatty
   acid composition.

                   b.       Manufacture of Lipid Components

   The information provided on the manufacture of lipid components depends on whether the lipid
   is synthetic, semi-synthetic, or naturally sourced.

   For synthetic and semi-synthetic lipids, we recommend you provide the following information:

                            i. A complete description of the synthetic process and purification
                                    procedures, as applicable
                            ii. Specifications for starting materials, 10 raw materials, solvents, and
                                    reagents
                            iii. Controls for critical steps and intermediates, including the
                                    manufacturing controls that ensure positional specificity of acyl
                                    side chains, if applicable

   For naturally-sourced lipid mixtures, and any naturally-sourced materials that start the synthetic
   segment of a semi-synthetic process, you should provide the following information:

                                i. Biological source (e.g., eggs)
                                ii. Country of origin for animal-sourced material
                                iii. Supplier
                                iv. A description of extraction and purification procedures, as
                                     applicable 11

   8
     For further information, see ICH Q11 Development and Manufacture of Drug Substances (ICH Q11).
   9
     See guidance for industry Drug Master Files: Guidelines.
   10
      See ICH Q11 for recommendations about the selection of starting materials.
   11
      Ibid.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 215 of 910 PageID #: 9795

                                  Contains Nonbinding Recommendations



   Procedures to ensure the avoidance, removal, and/or inactivation of animal proteins and viruses
   and any other infectious agents should be described, where applicable.

   You should address the avoidance and/or removal of pyrogenic material and bacterial endotoxins
   by establishing appropriate controls during the manufacturing process, and include this
   information in the application.

                    c.      Specifications for Lipid Components

   You should provide the following specification information for each lipid component used to
   manufacture the drug product.

                                 i. The identity test capable of distinguishing the intended lipid
                                      component from lipids with similar structures.
                                 ii. The assay based on a stability-indicating analytical procedure.
                                 iii. The validated analytical procedures accompanied by the validation
                                      data.
                                 iv. Impurity testing:
                                      1. Trans-fatty acid
                                      2. Free-fatty acid
                                      3. Peroxides (associated with unsaturated fatty acids)
                                      4. Lysophospholipids
                                      5. Solvents and catalysts used in the synthesis or purification
                                          processes
                                 v. Other testing:
                                      1. Counterion content and limits on divalent cations, when
                                          appropriate
                                      2. The degree of unsaturation of the fatty acid side chains (for
                                          lipid mixtures)

   Information about impurities, including synthetic by-products, where applicable, should be
   provided. Impurities may warrant identification and qualification, depending on the following:

                                 i. The amount of the impurity in the final liposome drug product
                                 ii. Known toxicities of the impurity
                                 iii. Structural alerts 12

   For synthetic lipids and semi-synthetic lipids, compare the lipid under test with the reference
   standard or material using an analytical procedure that is capable of distinguishing the desired
   lipids from their impurities (e.g., HPLC, TLC).


   12
      Ashby, J, Paton, D, March 1993, The Influence of Chemical-Structure on the Extent and Sites of Carcinogenesis
   for 522 Rodent Carcinogens and 55 Different Human Carcinogen Exposures, Mutation Research, Volume 286, Issue
   1, Pages 3-74; and guidance to industry Genotoxic and Carcinogenic Impurities in Drug Substances and Products:
   Recommended Approaches. When final, this guidance will represent the FDA’s current thinking on this topic.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 216 of 910 PageID #: 9796

                                  Contains Nonbinding Recommendations


   Information about the preparation, qualification, and storage conditions for each reference
   standard or material used in testing lipid components should be provided.

                    d.      Stability of Lipid Components

   For each lipid used to manufacture the liposome, you should provide results from stability
   studies and stress testing (e.g., after exposure to high (e.g., 50 ºC) and low (e.g., -20 ºC)
   temperatures, light, pH, and oxygen) that were used to determine the degradation profile, to
   develop an appropriate stability-indicating analytical procedure, and to establish appropriate
   storage conditions and retest period(s). Reference to a DMF is acceptable when the stability
   studies referenced in the DMF used the same lipids (source, grade, supplier) as proposed to be
   used in the drug product. Stability studies and validation of analytical procedures should be
   conducted according to ICH guidelines. 13

   You should retest the lipid component after its storage beyond the lipid manufacturer’s stated
   “retest period” or when the lipid component is exposed to temperatures other than its labeled
   storage temperature to ensure conformance to its specification prior to use in a drug product. For
   example, if unusual conditions occur during shipping or transit leading to exposure of the lipid
   component to elevated temperatures for a significant time period, you should retest the lipid
   component to ensure conformity with specification.

           6.       Drug Product Specification

   You should provide a drug product specification that accounts for specific attributes for your
   liposome products. The following are examples of characteristics or attributes specific to the
   liposome formulation that should be included in the specification:

                    a.      Physicochemical parameters of the liposome determined to be the CQAs
                            of the product (e.g., mean particle size and size distribution of liposomes,
                            osmolality, zeta-potential and physical stability)

                    b.      Liposome contained and free drug substance

                    c.      Total drug substance content, as labeled

                    d.      Degradation products related to the lipids (e.g., lysolipids) or drug
                            substance

                    e.      Lipid content (to demonstrate consistency with the intended formulation)

                    f.      Residual solvent(s), if any organic solvent(s) are used in the manufacture
                            of the liposome product



   13
     See guidances for industry Q1A(R2) Stability Testing of New Drug Substances and Products; Q2(R1) Validation
   of Analytical Procedures: Text and Methodolology.


                                                         8
                                                                                                     JA002764
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 217 of 910 PageID #: 9797

                                    Contains Nonbinding Recommendations


                               The residual solvents acceptance criteria should be based on the
                               performance of the liposome drug product as well as safety concerns.

                      g.       In vitro release of drug substance from the liposome drug products

   A validated analytical procedure for in vitro release should be established, preferably using an
   appropriate physiological medium (e.g., simulated physiological medium or human plasma) with
   suitable agitation. When a liposome drug product is extremely stable under physiological
   conditions, an in vitro quality control (QC) release test can be performed under nonphysiological
   conditions to accelerate the release of drug substance from the liposomes. For all drug products,
   information about any relationship or correlation between the in vitro quality control release test
   and the in vivo pharmacokinetic profile should be provided to justify the use of such a QC test,
   as established through analytical method development studies. In some cases, a test using cell
   culture or animal models may be appropriate.

                      h.       For injectable liposome drug products, sterility and the absence of
                               pyrogens or bacterial endotoxins

              7.      Stability

   Stability studies should address the microbiological, physical, and chemical stability of the
   liposome drug product, including the integrity of the liposomes in the drug product. 14

   The physical stability of liposome drug products can be affected by a number of factors (e.g., the
   liposome integrity, 15 the size distribution of the lipid vesicles, unsaturation of the fatty acid
   groups). Some liposomes are susceptible to fusion (i.e., irreversible coalition of smaller
   liposomes to form larger liposomes), aggregation (i.e., reversible conglomeration or pooling of
   two or more liposomes without fusion), and leakage of the contained drug substance during
   storage. Fusion, aggregation, or leakage can be affected by the lipid components in the liposome
   or by the contained drug substance. Stability testing should include tests to assess liposome size
   distribution and integrity.

   You should evaluate the chemical stability of the lipid components in the liposome as well as the
   chemical stability of the contained drug substance. Lipids with unsaturated fatty acids are
   subject to oxidative degradation, while both saturated and unsaturated lipids are subject to
   hydrolysis to form lysolipids and free fatty acids. It may be appropriate to conduct stress testing
   of unloaded liposomes to assess possible degradation or other reaction processes unique to the
   liposomes.

   When designing stress and accelerated stability testing studies, you should recognize that
   liposome drug products behave differently near or above the phase transition temperature(s).




   14
        See ICH Q1A(R2) Stability Testing of New Drug Substances and Products.
   15
        See section III.A.2.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 218 of 910 PageID #: 9798

                                    Contains Nonbinding Recommendations


   If the liposome drug product is marketed as an approved kit containing unloaded liposomes and
   drug substance in separate containers, your stability program should include testing of the
   unloaded liposomes and the drug substance in their commercial container-closure systems.

   If the liposome product is labeled for use after reconstitution with a co-packaged or other
   specified diluent, or is labeled for use after mixing it with other approved drug products (e.g.,
   large volume injectable solutions), supporting stability data on the product under the in-use
   conditions of its storage and use should be submitted in the application. This should include
   physical, chemical, and microbiological studies to support the in-use period. A specified in-use
   or storage interval, after which an admixed and/or unused liposome product must be discarded,
   should be determined through an in-use stability study. A statement regarding the appropriate
   in-use period(s) for the reconstituted/admixed drug product should be included in the labeling,
   together with instructions for reconstitution or mixing.

           8.       Postapproval Changes in Manufacturing

   Liposome drug products are complex and sensitive formulations and response to CMC changes
   is less predictable than with more conventional formulations. Therefore, changes to the
   formulation, container closure, site of manufacture, or manufacturing process (including
   substantive equipment and scale changes) will usually require a prior approval supplement. In
   vivo studies may be needed to assess changes that can affect the performance of the drug
   product. You can contact the appropriate review division 16 associated with your application if
   you have questions regarding the type of information to generate or the appropriate reporting
   mechanism for a postapproval change. 17

           B.       Human Pharmacokinetics: Bioavailability and Bioequivalence

   For ANDA submissions for liposome drug products, please refer to applicable product-specific
   FDA guidance documents 18 that outline recommendations regarding human pharmacokinetic and
   other bioequivalence studies for generic liposome drug products. These guidance documents
   also discuss additional characterization studies and information (e.g., drug product composition
   and active ingredient loading) necessary to demonstrate pharmaceutical equivalence to the RLD.
   When no product-specific guidance exists for a generic product, this guidance applies. If you are
   contemplating submitting an ANDA, you should consider contacting OGD 19 to request a pre-
   ANDA meeting.


   16
      When the submission is for an NDA, contact the specific drug product’s review division with questions. When
   the submission is for an ANDA, submit a Controlled Correspondence via email to GenericDrugs@fda.hhs.gov. For
   the definition of a controlled correspondence as well as the process to submit a controlled correspondence, see the
   final guidance for industry Controlled Correspondence Related to Generic Drug Development (September 2015)
   and the proposed revisions in the draft guidance issued in November 2017.
   17
      See 21 CFR 314.70 and FDA guidances related to submission of postapproval changes to the chemistry,
   manufacturing, and controls section of drug applications.
   18
      See http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/ucm075207.htm.
   19
      See draft guidance for industry Formal Meetings Between FDA and ANDA Applicants of Complex Products
   Under GDUFA.




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                                                                                                         JA002766
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 219 of 910 PageID #: 9799

                                    Contains Nonbinding Recommendations


   Because of the complex interaction between drug release from the liposome drug product and the
   tissue and/or cellular uptake of the drug substance and/or the liposome, a simple measurement of
   total drug substance concentration in plasma 20 may not be reflective of bioavailability of the drug
   at the intended target organ (i.e., site of action). 21 Therefore, for NDA submissions, you should
   consult the appropriate CDER review division 22 for advice concerning the determination of
   bioavailability of liposome drug products.

           1.       Clinical Pharmacology Studies

                    a.       Pharmacokinetic and Mass Balance Studies for Liposome Drug Products

   Information from pharmacokinetic studies is useful for establishing dosing regimens and
   developing dose-concentration-response relationships. The study design should be based on the
   anticipated dosing regimen in the intended patient population. We recommend using a
   population pharmacokinetics approach, where appropriate. 23

   The pharmacokinetic measures or parameters should include area under the plasma concentration
   versus time curve (AUC), peak plasma concentration, time to peak plasma concentration,
   elimination half-life, volume of distribution, total clearance, renal clearance, and accumulation
   for both free and total drug, as appropriate. For mass balance studies, you should collect and
   assay blood (i.e., plasma or serum, as appropriate), urine, and fecal samples for the radiolabeled
   moiety. For these studies, you should monitor and quantify both parent drug and any metabolites
   present, as appropriate.

   You should determine major metabolites associated with the therapeutic and toxic effects of the
   drug substance. We also recommend conducting the following in vivo studies:

                             i.      Multiple-dose study evaluating the drug pharmacokinetics after
                                     administration of the liposome drug product.
                             ii.     Dose-proportionality study over the expected therapeutic dose
                                     range of the liposome drug product.
                             iii.    Exposure-response studies if available.

   Depending on the target patient population and the proposed therapeutic indication for the drug,
   you should consider conducting drug interactions studies in specific populations.

   You should consult the appropriate CDER review division 24 regarding the conduct and design of
   these studies if you have questions.




   20
      See 21 CFR 320.24(b)(1)(i).
   21
      See 21 CFR 320.21.
   22
      See footnote 16.
   23
      See guidance for industry Population Pharmacokinetics.
   24
      See footnote 16.


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                                                                                           JA002767
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 220 of 910 PageID #: 9800

                               Contains Nonbinding Recommendations


                  b.     Comparison Clinical Pharmacology Studies with Nonliposome Drug
                         Product

   The drug disposition and pathways of elimination (including distribution, metabolism and
   excretion) as well as several important pharmacokinetic measures (Cmax, AUC) and parameters
   (e.g., clearance, volume of distribution, half-life) of a liposome formulation are likely to be
   different than those of a nonliposome formulation given by the same route of administration. For
   example, a liposome drug formulation may exhibit extended-release characteristics in
   comparison to a non-liposome formulation with the same active pharmaceutical ingredient.

   If nonliposome formulations have been approved, we recommend comparing the proposed
   liposome to the corresponding approved nonliposome formulation to elucidate differences in
   absorption, distribution, metabolism, and excretion (ADME). Conducting a mass balance study
   of a drug substance labeled with a radioactive isotope (e.g., 14C, 3H) in a liposome formulation
   and in a nonliposome formulation can be helpful in comparing drug distribution in organs of
   interest.

   You should conduct comparative studies to define and assess differences in ADME of the active
   ingredient between liposome and nonliposome drug products when the following apply:

                             i. Two products have the same active ingredient.
                             ii. Two products are given by the same route of administration.
                             iii. The nonliposome drug product is approved and available for
                                  comparison.

   In a single dose pharmacokinetic study, you should compare the liposome and nonliposome drug
   products using either a crossover or parallel study design that employs an appropriate number of
   subjects considering the study drug, disease for which it is used, use in specific populations, and
   other factors that apply. Depending on the drug substance under investigation, different doses of
   liposome and nonliposome drug products may be appropriate.

          2.      Biopharmaceutics

                  a.     Drug Release Characteristics

   You should demonstrate that the release characteristics of the liposome product meet the label
   claim, and describe any release differences between the liposome product and nonliposome
   product with the same active ingredient.

                  b.     In Vitro/In Vivo Correlation (IVIVC)

   Although it is challenging to establish IVIVC for liposome products, we encourage you to
   attempt it for your liposome product. Some in vitro/in vivo relationships (IVIVRs) may be
   established even if a complete IVIVC is not feasible.




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 221 of 910 PageID #: 9801

                                Contains Nonbinding Recommendations



                  c.       Bioanalytical Methods

   You should use validated bioanalytical methods when evaluating the pharmacokinetics and
   bioavailability of the liposome-contained and free drug substance (drug released from the
   liposome). 25

                  d.       Liposome-Protein Interaction

   Depending on the types of lipids used in formulating liposomes, interactions between liposome
   surface and blood proteins may affect the drug release and pharmacological properties of a
   liposome drug product in vivo. Such interactions can have safety implications because of “dose
   dumping.” Submission of information from prior studies of protein-liposome interactions may
   suffice for a new liposome drug product if the following apply:

                       i. Lipid composition of the formulation ingredients is the same as in the
                           previously studied liposome drug product.
                       ii. Physicochemical characteristics of the two liposome drug products are
                           similar.

          C.      Labeling

   Specific recommendations regarding labeling content for liposome drug products are provided
   below. Additional guidance on current labeling requirements is available on the CDER guidance
   Web site. In particular, the guidance on Safety Considerations for Container Labels and Carton
   Labeling Designs to Minimize Medication Errors provides general labeling recommendations.

          1.      Nonproprietary Names of Drug Products Approved under the Federal Food,
                  Drug, and Cosmetic Act

   The nonproprietary name of a drug product approved under the Federal Food, Drug, and
   Cosmetic Act is its established name, which, in most instances, will be the United States
   Pharmacopeia (USP) drug product monograph title for that product. If there is no USP
   monograph for the liposome drug product, refer to 21 CFR 299.4, USP General Chapter <1121>
   Nomenclature, 26 and the USP Nomenclature Guidelines. 27 The liposome drug product
   nonproprietary name should include terminology to express that the product is a liposome or a
   pegylated liposome.

   Examples:

          [DRUG] Liposome Type X [DOSAGE FORM]
          [DRUG] Pegylated Liposome Type X [DOSAGE FORM]

   25
      See draft guidance for industry Bioanalytical Method Validation.
   26
      United States Pharmacopeia-National Formulary (USP 40-NF 35, supplement 2 <1121> NOMENCLATURE.
   27
      Refer to USP Nomenclature Guidelines on the USP website at http://www.usp.org/health-quality-
   safety/compendial-nomenclature.


                                                    13
                                                                                            JA002769
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 222 of 910 PageID #: 9802

                                   Contains Nonbinding Recommendations



   The first liposome product approved for a particular drug and dosage form will be type A, but the
   type should not be given (i.e., “Type A” should not be included in the labeling). For subsequent
   drug products of the same drug and dosage form, you should list the type and replace “X”
   sequentially with B, C, D, . . . Z. 28

           2.       Description Section

   You should include a cautionary note emphasizing that liposome drug products may behave
   differently from nonliposome drug products or other liposome products even though the active
   ingredient is the same. The applicant should specifically describe such differences. Note: this is
   not necessary for liposome drug products determined by FDA to be therapeutically equivalent.

           3.       Dosage and Administration

   You should include a statement recommending against substituting the liposome drug product
   for the nonliposome product or another liposome drug product that contains the same active
   ingredient unless FDA has determined that the products are therapeutically equivalent.

   Where appropriate, reconstitution instructions 29 and a statement regarding the appropriate in-use
   period should be provided. This information should be provided for both unloaded liposomes
   that are reconstituted with a drug substance-containing solution at the time of use and for
   products in which the drug substance is loaded into the liposomes during manufacturing. For
   liposome drug products that are labeled for use after mixing with other approved drug products
   (e.g., large volume injectable solutions), admixing instructions and a statement regarding the
   appropriate in-use period of the admixed product should be included. As warranted, include
   storage conditions for the reconstituted drug, robustness of the liposome drug product under
   varied reconstitution conditions (e.g., degree of shaking), and use of in-line filters.




   28
      Note that with respect to ANDA submissions, the product name is the same as the nonproprietary or established
   name of the RLD.
   29
      See 21 CFR 201.57(c)(3)(i)(J)(iv).


                                                           14
                                                                                                        JA002770
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 223 of 910 PageID #: 9803

                                   Contains Nonbinding Recommendations


   IV.     REFERENCES

   Guidance for Industry30

   Bioanalytical Method Validation

   Changes to an Approved NDA or ANDA

   Controlled Correspondence Related to Generic Drug Development

   Drug Master Files Guidelines

   Formal Meetings Between FDA and ANDA Applicants of Complex Products Under GDUFA

   Genotoxic and Carcinogenic Impurities in Drug Substances and Products: Recommended
   Approaches

   PAT — A Framework for Innovative Pharmaceutical Development, Manufacturing, and Quality
   Assurance

   Population Pharmacokinetics

   Process Validation: General Principles and Practices

   ICH, Q1A(R2) Stability Testing of New Drug Substances and Products

   ICH, Q2(R1) Validation of Analytical Procedures: Text and Methodology

   ICH, Q6A Specifications: Test Procedures and Acceptance Criteria for New Drug Substances and
   New Drug Products: Chemical Substances

   ICH, Q8(R2) Pharmaceutical Development

   ICH, Q11 Development and Manufacture of Drug Substances




   30
     The guidances listed in the References are available on the FDA Drugs guidance web page at
   http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/default.htm.


                                                         15
                                                                                                  JA002771
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 224 of 910 PageID #: 9804




                   JOINT APPENDIX 72
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 1 Page
                                          Filed 01/03/24 Filed:225
                                                                07/28/2020
                                                                   of 910 PageID #: 9805




                                 No. 2020-1184, -1186


            UNITED STATES COURT OF APPEALS
               FOR THE FEDERAL CIRCUIT

                   MODERNATX, INC., FKA MODERNA THERAPEUTICS, INC.,
                                      Appellant,

                                           v.

                            PROTIVA BIOTHERAPEUTICS, INC.,
                                   Cross-Appellant,

           ANDREI IANCU, DIRECTOR, U.S. PATENT AND TRADEMARK OFFICE,
                                   Intervenor


              Appeal from the United States Patent and Trademark Office,
                Patent Trial and Appeal Board in No. IPR2018-00739


       NONCONFIDENTIAL OPENING BRIEF OF CROSS-APPELLANT
                PROTIVA BIOTHERAPEUTICS, INC.


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                                            Protiva Biotherapeutics, Inc.

   July 27, 2020




                                                                            JA002772
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 2 Page
                                          Filed 01/03/24 Filed:226
                                                                07/28/2020
                                                                   of 910 PageID #: 9806




                           CERTIFICATE OF INTEREST

         Counsel for Cross-Appellant Protiva Biotherapeutics, Inc. certifies the

   following:

         1.     Represented Entities. Provide the full names of all entities

   represented by undersigned counsel in this case. Fed. Cir. R. 47.4(a)(1):

   Protiva Biotherapeutics, Inc.

         2.     Real Party in Interest. Provide the full names of all real parties in

   interest for the entities. Do not list the real parties if they are the same as the

   entities. Fed. Cir. R. 47.4(a)(2): Genevant Sciences, Ltd., Genevant Sciences

   Holdings, Ltd., Genevant Sciences Corporation, Genevant Sciences, Inc., and

   Genevant Sciences, GmbH.

         3.     Parent Corporations and Stockholders. Provide the full names of

   all parent corporations for the entities and all publicly held companies that

   own 10% or more stock in the entities. Fed. Cir. R. 47.4(a)(3): Protiva

   Biotherapeutics, Inc. existed as a wholly-owned subsidiary of Arbutus Biopharma

   Corporation. Protiva Biotherapeutics, Inc. was amalgamated into Arbutus

   Biopharma Corporation in January 2018. No publicly held company owns more

   than 10% of Arbutus Biopharma Corporation’s stock.

         4.     Legal Representatives. List all law firms, partners, and associates

   that (a) appeared for the entities in the originating court or agency or (b) are


                                          -i-

                                                                              JA002773
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 3 Page
                                          Filed 01/03/24 Filed:227
                                                                07/28/2020
                                                                   of 910 PageID #: 9807




   expected to appear in this court for the entities. Do not include those who have

   already entered an appearance in this court. Fed. Cir. R. 47(a)(4): Edward R.

   Reines and Derek C. Walter of Weil, Gotshal & Manges LLP.

         5.    Related Cases. Provide the case titles and numbers of any case

   known to be pending in this court or any other court or agency that will

   directly affect or be directly affected by this court’s decision in the pending

   appeal. Do not include the originating case number(s) for this case. Fed. Cir.

   R. 47.4(a)(5). See also Fed. Cir. R. 47.5(b): The following case may be directly

   affected by this Court’s decision in the pending appeal: Moderna Therapeutics,

   Inc. v. Protiva Biotherapeutics, Inc., Case No. IPR2018-00680 (PTAB).

         6.    Organizational Victims and Bankruptcy Cases. Provide any

   information required under Fed. R. App. P. 26.1(b)(organizational victims in

   criminal cases) and 26.1(c)(bankruptcy case debtors and trustees). Fed. Cir.

   R. 47.4(a)(6): None/Not applicable.


   July 27, 2020                                 /s/ Michael T. Rosato
                                                Michael T. Rosato
                                                Attorney for Cross-Appellant
                                                Protiva Biotherapeutics, Inc.




                                         -ii-

                                                                            JA002774
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 4 Page
                                          Filed 01/03/24 Filed:228
                                                                07/28/2020
                                                                   of 910 PageID #: 9808




                                            TABLE OF CONTENTS

   CERTIFICATE OF INTEREST ............................................................................ I

   TABLE OF CONTENTS .................................................................................... III

   TABLE OF AUTHORITIES .............................................................................. VI

   STATEMENT OF RELATED CASES .............................................................. XI

   INTRODUCTION ................................................................................................ 1

   STATEMENT OF JURISDICTION..................................................................... 2

   I.      Appeal .......................................................................................................... 2

   A.      Moderna’s Admission of Lack Of District Court Standing Further
           Supports Lack Of Standing Before This Court .......................................... 3

   B.      Moderna’s License or Potential License Do Not Support Article III
           Standing   5

   C.      Moderna’s Filing of a Second IPR Against a Related Patent Does Not
           Manufacture an Injury-In-Fact ................................................................... 9

   II.     Cross-Appeal ............................................................................................. 11

   STATEMENT OF THE ISSUES........................................................................ 11

   STATEMENT OF THE CASE ........................................................................... 12

   I.      Technological Background ........................................................................ 14

   A.      There was a need to systemically deliver genetic material, i.e., nucleic
           acids, to patients........................................................................................ 14

   B.      The field struggled for decades to identify an effective nucleic acid
           delivery system ......................................................................................... 15

   C.      Toxicity Concerns Would Have Led An Ordinary Artisan Away From
           the Claimed Particles ................................................................................ 15


                                                             -iii-

                                                                                                                  JA002775
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 5 Page
                                          Filed 01/03/24 Filed:229
                                                                07/28/2020
                                                                   of 910 PageID #: 9809




   D.       Both Parties Agree Routine Optimization is Simply Inapplicable ........... 16

   II.      Protiva’s Invention..................................................................................... 19

   III.     Procedural History ..................................................................................... 20

   A.       Moderna’s IPR .......................................................................................... 21

   B.       The Board’s Final Written Decision......................................................... 30

   SUMMARY OF ARGUMENT .......................................................................... 33

   STANDARD OF REVIEW ................................................................................ 35

   ARGUMENT ...................................................................................................... 38

   I.       Scope of Review ........................................................................................ 38

   (a)      Issues That Moderna Has Necessarily Waived ......................................... 38

   (b)      Argument Raised for the First Time on Appeal ........................................ 40

   II.      The Board’s Conclusion that Moderna Failed to Demonstrate the
            Obviousness of Claims 7-8, 10-11, 13, and 16-20 Should Be Affirmed .. 42

   A.       The Board’s Conclusion That Claims 7-8, and 11 Were Not Obvious
            Over the ’554 Publication Was Adequately Explained and Is Supported
            by Substantial Evidence............................................................................ 43

   B.       The Board’s Conclusion That Claims 7-8, 10-11, 13, and 16-20 Were
            Not Obvious Over the ’189 Publication Was Adequately Explained, Is
            Now Waived, and Is Supported by Substantial Evidence ........................ 47

   C.       Moderna Invoked an Obviousness Theory That It Never Developed and
            Conceded Was Inapplicable Before the Board ......................................... 50

   PROTIVA’S CROSS-APPEAL.......................................................................... 61

   I.       The Board’s Finding That Claims 1-6, 9, 12, and 14-15 Are Inherently
            Anticipated is Legally Erroneous and Lacks Substantial Evidence .......... 61



                                                          -iv-

                                                                                                            JA002776
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 6 Page
                                          Filed 01/03/24 Filed:230
                                                                07/28/2020
                                                                   of 910 PageID #: 9810




   A.      It is Undisputed That L054 is Not a Lipid Particle Composition as
           Claimed      63

   B.      The Board’s Finding of Inherent Anticipation Lacks Substantial
           Evidence 65

   C.      Finding Inherent Anticipation Based on Probabilities or Possibilities is
           Legally Erroneous ..................................................................................... 70

   D.      The Board Improperly Shifted the Burden to Protiva to Prove No
           Inherency 71

   II.     Board Improperly Denied Motion to Amend ............................................ 72

   CONCLUSION ................................................................................................... 75

   CERTIFICATE OF COMPLIANCE .................................................................... 1

   CERTIFICATE OF SERVICE ............................................................................. 2



             Confidential Material Statement Pursuant to Federal Circuit Rule 25.1
                                         (e)(B)

           The redacted material at page 8 relates to a provision of the sublicense

   between Acuitas and Moderna.




                                                         -v-

                                                                                                          JA002777
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 7 Page
                                          Filed 01/03/24 Filed:231
                                                                07/28/2020
                                                                   of 910 PageID #: 9811




                                       TABLE OF AUTHORITIES


                                                      CASES
   ActiveVideo Networks v. Verizon Communications,
         694 F.3d 1312 (Fed. Cir. 2012) ..................................................................... 37

   Allergan, Inc. v. Sandoz Inc.,
         796 F.3d 1293 (Fed. Cir. 2015) ...............................................................28, 55

   Altaire Pharm. v. Paragon BioTeck,
          889 F.3d 1274 (Fed. Cir. 2018) ....................................................................... 9

   Aqua Products v. Matal,
        872 F.3d 1290 (Fed. Cir. 2017) ..................................................................... 34

   Arctic Cat Inc. v. Bombardier Recreational Prod. Inc.,
          876 F.3d 1350 (Fed. Cir. 2017) ..................................................................... 38

   Arthrex, Inc. v. Smith & Nephew, Inc.,
         941 F.3d 1320 (Fed. Cir. 2019) ...............................................................2, 3, 4

   AVX Corp. v. Presidio Components, Inc.,
        923 F.3d 1357 (Fed. Cir. 2019) ....................................................................... 9

   Belden Inc. v. Berk-Tek LLC,
         805 F.3d 1064 (Fed. Cir. 2015) ..................................................................... 36

   Bilski v. Kappos,
          561 U.S. 593 (2010)....................................................................................... 54

   Bosch Auto. Serv. Sols., LLC v. Matal,
         878 F.3d 1027 (Fed. Cir. 2017) ..................................................................... 75

   Consol. Edison Co. v. NLRB,
        305 U.S. 197 (1938)....................................................................................... 36

   Cont’l Can Co. v. Monsanto Co.,
         948 F.2d 1264 (Fed. Cir. 1991) ..................................................................... 67

   Crown Ops. Int’l, Ltd. v. Solutia Inc.,
        289 F.3d 1367 (Fed. Cir. 2002) .........................................................36, 37, 72

                                                         -vi-

                                                                                                         JA002778
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 8 Page
                                          Filed 01/03/24 Filed:232
                                                                07/28/2020
                                                                   of 910 PageID #: 9812




   Diamond v. Chakrabarty,
        447 U.S. 303 (1980)....................................................................................... 54

   Dynamic Drinkware, LLC v. Nat’l Graphics, Inc.,
        800 F.3d 1375 (Fed. Cir. 2015) ..................................................................... 72

   E.I. duPont de Nemours & Co. v. Synvina C.V.
          904 F.3d 996 (Fed. Cir. 2018) ................................................................passim

   Electrical Fittings Corp. v. Thomas & Betts Co.,
         307 U.S. 241 (1939)......................................................................................... 9

   Finch v. Hughes Aircraft Co.,
         926 F.2d 1574, 1576 (Fed. Cir. 1991) .......................................................... 41

   Galderma Labs., L.P. v. Tolmar, Inc.,
        737 F.3d 731 (Fed. Cir. 2013) ....................................................................... 45

   Genetics Inst., LLC v. Novartis Vaccines & Diagnostics, Inc.,
         655 F.3d 1291 (Fed. Cir. 2011) ..................................................................... 56

   Graham v. John Deere Co.,
        383 U.S. 1 (1950)........................................................................................... 37

   Honeywell Int'l Inc. v. Mexichem Amanco Holding S.A. De C.V., 865
        F.3d 1348, 1356 (Fed. Cir. 2017) .................................................................. 38

   HTC Corp. v. Cellular Communs. Equip., LLC,
        877 F.3d 1361 (Fed. Cir. 2017) ...............................................................66, 70

   Hylete LLC v. Hybrid Ath., LLC,
         931 F.3d 1170, 1174 (Fed. Cir. 2019) .......................................................... 41

   In re Applied Materials, Inc.,
          692 F.3d 1289 (Fed. Cir. 2012) ..................................................................... 56

   In re Chudik,
          851 F.3d 1365 (Fed. Cir. 2017) ..................................................................... 37

   In re Greenfield,
          571 F.2d 1185 (Fed. Cir. 1978) ..................................................................... 29



                                                         -vii-

                                                                                                         JA002779
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-1   Page: 9 Page
                                          Filed 01/03/24 Filed:233
                                                                07/28/2020
                                                                   of 910 PageID #: 9813




   In re Kahn,
          441 F.3d 977 (Fed. Cir. 2006) ....................................................................... 25

   In re Magnum Tools Int’l,
         829 F.3d 1364 (Fed. Cir. 2016) ..................................................................... 72

   In re NuVasive, Inc.,
          842 F.3d 1376 (Fed. Cir. 2016) ..................................................................... 68

   In re Ochiai,
          71 F.3d 1565 (Fed. Cir. 1995) ....................................................................... 54

   In re Oelrich,
          666 F.2d 578 (C.C.P.A. 1981) ....................................................................... 71

   In re Peterson,
          315 F.3d 1325 (Fed. Cir. 2003) ..............................................................passim

   In re Stepan,
          869 F.3d 1342 (Fed. Cir. 2017) ...................................... 23, 25, 37, 49, 56, 57

   TorPharm, Inc. v. Ranbaxy Pharm., Inc.,
        336 F.3d 1322 (Fed. Cir. 2003) ..................................................................... 55

   Intelligent Bio-Sys. v. Illumina Cambridge,
          821 F.3d 1359 (Fed. Cir. 2016) ..................................................................... 38

   KSR Intern. Co. v. Teleflex Inc.,
        550 U.S. 398 (2007).................................................................................36, 56

   MedImmune, Inc. v. Genentech, Inc.,
        549 U.S. 118 (2007)......................................................................................... 3

   MEHL/Biophile Int’l. Corp. v. Milgraum,
       192 F.3d 1362 (Fed. Cir. 1999) ..................................................................... 70

   Moment Pharm. v. Bristol-Myers Squibb Co.
       915 F.3d 764 (Fed. Cr. 2019) .......................................................................... 8

   Nike, Inc. v. Adidas AG,
          955 F.3d 45 (Fed. Cir. 2020) ......................................................................... 74



                                                        -viii-

                                                                                                        JA002780
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 10 Page
                                                01/03/24  Filed:234
                                                                 07/28/2020
                                                                    of 910 PageID #: 9814




   Novartis AG v. Torrent Pharm. Ltd.,
        853 F.3d 1316 (Fed. Cir. 2017) ..................................................................... 35

   Ormco Corp. v. Align Tech., Inc.,
        463 F.3d 1299 (Fed. Cir. 2006) ..................................................................... 44

   Pfizer, Inc. v. Apotex, Inc.,
          480 F.3d 1348 (Fed. Cir. 2007) ..................................................................... 56

   Phigenix, Inc. v. Immunogen, Inc.,
        845 F.3d 1168 (Fed. Cir. 2017) ....................................................................... 5

   Randall Mfg. v. Rea,
        733 F.3d 1355 (Fed. Cir. 2013) ..................................................................... 35

   Samsung Elecs. Co. v. Infobridge Pte. Ltd.,
        929 F.3d 1363 (Fed. Cir. 2019) ................................................................... 5, 6

   Titanium Metals Corp. v. Banner,
         778 F.2d 775 (Fed. Cir. 1985) ....................................................................... 70

   Universal Camera Corp. v. NLRB,
        340 U.S. 474 (1951)....................................................................................... 35

   WBIP, LLC v. Kohler Co.,
        829 F.3d 1317 (Fed. Cir. 2016) ..................................................................... 29

                                                      STATUTES

   5 U.S.C. § 706 .......................................................................................................... 35

   28 U.S.C. § 1295 ...................................................................................................... 11

   35 U.S.C. § 103 ............................................................................................36, 49, 50

   35 U.S.C. § 141 ........................................................................................................ 11

   35 U.S.C. § 271 .......................................................................................................... 4

   35 U.S.C. § 316 ........................................................................................................ 72

                                                         RULES

   37 C.F.R. §42.6(a)(3) ............................................................................................... 73

                                                            -ix-

                                                                                                                JA002781
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 11 Page
                                                01/03/24  Filed:235
                                                                 07/28/2020
                                                                    of 910 PageID #: 9815




   37 C.F.R. § 90.3(a)(1) .............................................................................................. 11

   Fed. R. App. P. 4(a)(3) .......................................................................................11, 18




                                                           -x-

                                                                                                            JA002782
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 12 Page
                                                01/03/24  Filed:236
                                                                 07/28/2020
                                                                    of 910 PageID #: 9816




                        STATEMENT OF RELATED CASES

         Pursuant to Federal Circuit Rule 47.5, counsel for Cross-Appellants states:

         (a) There have been no prior appeals in this case.

         (b) There are no cases involving the patent at issue pending.

         (c) This Court has vacated and remanded the appeal of IPR2018-00680,

   involving US Patent No. 9,404,127, Case No. 2020-1183, in light of Arthrex, Inc.

   v. Smith & Nephew, Inc., 941 F.3d 1320 (Fed. Cir. 2019).




                                          -xi-

                                                                            JA002783
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 13 Page
                                                01/03/24  Filed:237
                                                                 07/28/2020
                                                                    of 910 PageID #: 9817




                                        INTRODUCTION

          The nucleic-acid lipid particles of the challenged claims have achieved

   tremendous recognition and success in the gene therapy field and have solved a

   long-felt need for compositions that could safely and effectively deliver nucleic

   acids to target cells of patients.

          Moderna only appeals the Board’s obviousness conclusions as to a few

   dependent claims, which the appeal brief only addresses in passing. Given the

   innovation protected by the ’435 patent, Moderna’s petition was an ill-conceived

   challenge, relying on short-cuts rather than actual analysis of the prior art and the

   claims. In its obviousness challenges, Moderna relied upon prior art that taught

   extremely broad ranges but failed to address a reason to arrive at the claimed

   invention, much less a reasonable expectation of success. To the extent Moderna

   relied on the caselaw of “overlapping ranges,” a presumption of obviousness based

   on overlapping ranges is grounded in routine optimization. Yet both parties and

   their experts agree that routine optimization is inapplicable here.

          Recognizing the deficiencies of its petition materials, Moderna attempts to

   reconstitute it arguments on appeal. Specifically, Moderna strains to oversimplify

   the technology of the claimed particles, speaking simply of “four lipid

   components” that total 100 mol%. In doing so, it endeavors to reconstitute the art,

   relying on the perspective of all the cited references, as can be seen from the new


                                            -1-

                                                                                JA002784
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 14 Page
                                                01/03/24  Filed:238
                                                                 07/28/2020
                                                                    of 910 PageID #: 9818




   chart it presents on appeal, but never presented to the Board below. Blue Brief

   (“BB”) at 19-20. Moderna should not be allowed to do so.

         Moreover, extensive evidence of secondary considerations, much of which

   Moderna failed to address before the Board, supports the patentability of the

   claims. The Board’s conclusion that Moderna failed to show the obviousness of

   the claims is supported by substantial evidence and should be affirmed.

         Regarding the cross-appeal, Moderna’s anticipation challenge is based on

   the erroneous assumption that composition of the particle is the same as the

   composition of the lipid mixture used in formulating the particles. The Board’s

   finding that certain of the challenged claims are anticipated should be reversed as it

   is not supported by substantial evidence and is legally erroneous.

         Finally, the Board’s final written decision improperly denied Protiva’s

   motion to amend based on an anticipation analysis that was never presented by

   Moderna, and, to the extent it need be addressed, the Board’s denial should be

   reversed or, at a minimum, vacated and remanded.

                          STATEMENT OF JURISDICTION

   I.    Appeal

         Moderna’s appeal should be dismissed because Moderna lacks Article III

   standing, already admitting as much before this Court in its briefing seeking

   remand in view of Arthrex, Inc. v. Smith & Nephew, Inc., 941 F.3d 1320 (Fed. Cir.


                                           -2-

                                                                               JA002785
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 15 Page
                                                01/03/24  Filed:239
                                                                 07/28/2020
                                                                    of 910 PageID #: 9819




   2029) (“Arthrex”). Jurisdiction is a threshold issue and need be decided before the

   merits of Moderna’s appeal can be addressed.

         In its appeal brief, Moderna argues it has suffered an injury in fact because

   1) it is a current licensee of the patent at issue here, U.S. Patent No. 9,364,435

   (“the ’435 patent”) as to four viral targets, with resulting monetary obligations, and

   prospective licensee more generally as to the ’435 patent as well as other related

   patents; and 2) concerns over collateral estoppel resulting from the instant

   proceeding in a second IPR filed against a related patent, U.S. Patent No.

   8,058,069 (“the ’069 patent”) (hereinafter, “the ’069 IPR”).1 BB at 7. As

   discussed below, neither of these activities in itself rises to the level of providing

   an injury-in-fact, and thus Moderna fails to demonstrate that it has Article III

   standing.

         A.     Moderna’s Admission of Lack Of District Court Standing Further
                Supports Lack Of Standing Before This Court

         For Moderna to have Article III standing, there must be a case or

   controversy that is “justiciable under Article III.” MedImmune, Inc. v. Genentech,

   Inc., 549 U.S. 118, 126-27 (2007). There is no such case or controversy here and




         1
           Moderna filed an IPR against the ’069 patent on January 9, 2019. The ’435
   patent is a continuation of the ’069 patent and the two patents share a specification.

                                            -3-

                                                                                 JA002786
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 16 Page
                                                01/03/24  Filed:240
                                                                 07/28/2020
                                                                    of 910 PageID #: 9820




   Moderna has admitted as much. Specifically, Moderna admitted that it does not

   have Article III standing in its request for remand under Arthrex.

         On March 6, 2020, Moderna filed a motion with this court requesting

   remand under Arthrex. In its reply brief filed March 20, 2020, Moderna attempted

   to distinguish Ciena Corp. v. Oyster Optics, LLC, Appeal No. 19-2117, Order

   (Fed. Cir. Jan. 28, 2020) (non-precedential) (holding that petitioners forfeit any

   Appointments clause challenge by bringing an IPR) on the basis that “there was no

   available district court action.” ECF No. 40 at 3. Specifically, Moderna explained:

         Nor could there have been any such action. Any alleged use of the
         claimed technology by Moderna would be subject to the safe harbor
         provision of 35 U.S.C. § 271(e)(1) and thus an injury-in-fact
         supporting jurisdiction in a district court action would be lacking.

   Id. at n.3. Moderna does not explain why it has standing in this Court but not in a

   district court. Moreover, Moderna issued a press release as recent as July 24, 2020

   proclaiming it has developed its own proprietary LNP, its products are not covered

   by Arbutus’2 patents, and does not have “any significant intellectual property

   impediments for any products we intend to commercialize.”3 As Moderna has


         2
           Protiva Biotherapeutics, Inc. existed as a wholly owned subsidiary of
   Arbutus Biopharma Corporation. Protiva Biotherapeutics, Inc. was amalgamated
   into Arbutus Biopharma Corporation in January 2018.
         3
            https://investors.modernatx.com/news-releases/news-release-
   details/statement-moderna-patent-trial-and-appeal-board-ptab-ruling/

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 17 Page
                                                01/03/24  Filed:241
                                                                 07/28/2020
                                                                    of 910 PageID #: 9821




   admitted that it lacks Article III standing, Moderna’s appeal should be dismissed

   for lack of jurisdiction.

          B.     Moderna’s License or Potential License Do Not Support Article
                 III Standing

          Moderna cites Phigenix, Inc. v. Immunogen, Inc., 845 F.3d 1168 (Fed. Cir.

   2017) and Samsung Elecs. Co. v. Infobridge Pte. Ltd., 929 F.3d 1363, 1368 (Fed.

   Cir. 2019) to support its argument that standing may be established by being an

   actual or prospective licensee of a patent. BB at 7. Moderna’s argument fails for

   at least several reasons. First, a license in itself is not sufficient to establish Article

   III standing. Moderna assumes what it must prove. Second, even assuming

   Moderna’s assertions as true fails to identify an injury-in-fact traceable to the

   sublicenses. Any “obligations” identified are nothing but rank speculation, which

   even Moderna characterizes as an if and when proposition.

          Moderna cites to Samsung, but that case is inapposite to the facts presented

   here. Samsung and Infobridge both owned patents that were licensed as a pool.

   Samsung, 929 F.3 at 1368. Any patent that is declared invalid is removed from the

   pool and the other patents receive a higher level of the fixed royalty. Id. Thus,

   removing a patent from the pool in those circumstances would shift the relative

   amount of the royalty between Infobridge and other patent holders, including

   Samsung. This Court explained that “[w]hile other licensing and royalty

   structures might compel a different result where other standard-essential patents

                                             -5-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 18 Page
                                                01/03/24  Filed:242
                                                                 07/28/2020
                                                                    of 910 PageID #: 9822




   are involved, the unique pool licenses here satisfies us that Samsung has standing

   in this appeal.” Id. (emphasis added).

         Moderna does not allege that, like Samsung, it is losing licensing revenue on

   one of its own patents. Samsung accomplished that by demonstrating that if

   Infobridge’s patent were to be invalidated, its licensing income would be

   increased. Moderna, however, has failed to establish any actual or imminent injury

   in fact based on the ’435 patent: rather, as discussed below, it merely speculates as

   to benefit it may receive if the claims of the ’435 patent were determined to be

   unpatentable. Unfortunately for Moderna, as the precedent of the United States

   Supreme Court, as well as of this Court, makes clear, such speculative injury is not

   sufficient to establish Article III standing.

         Moderna also argues that speculative obligations arising under the

   sublicenses also establish an injury-in-fact. Arbutus had entered into a cross-

   license agreement regarding the LNP technology with Acuitas, which Acuitas then

   illegitimately sublicensed to Moderna. BB at 7-8; Appx5750. Arbutus

   accordingly brought suit against Acuitas and was granted an injunction. Moderna

   was allowed to keep its four non-exclusive viral vaccine sublicenses as part of a

   settlement agreement. Appx5750. These sublicenses define certain milestone

   payment obligations for certain clinical activities should they actually occur. BB at

   8; Appx6395-6396 (¶4). Moderna asserts that those milestone obligations can be


                                             -6-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 19 Page
                                                01/03/24  Filed:243
                                                                 07/28/2020
                                                                    of 910 PageID #: 9823




   traced back to the validity of the ’435 patent. BB at 8. If the ’435 patent were

   found to be invalid, Moderna asserts that: its “financial obligations to Acuitas for

   practicing the ’435 patent would extinguish;” it would be able to more easily

   attract “prospective partners;” and the amounts the parties are considering for

   further rights to the ’435 patent would decrease. BB at 8-9.

         But Moderna fails to identify any recent milestone payment or any such

   payment reasonably forthcoming. Moderna paid a milestone payment to Acuitas

   on or before February 2016, before Arbutus settled its suit with Acuitas. Exhibit 1,

   ¶10. Moderna does not allege that it has paid any additional milestone payments,

   much less any royalty payments, under the sublicenses.

         Nor does Moderna assert, let alone establish, that any future milestone

   payments are forthcoming. Regarding the milestone payment due in relation to a

   potential future Phase II clinical trial, Moderna asserts only that such payment

   would be due if and when Phase II trials are initiated. Appx6396-6397 (¶5). “If

   and when” is a far cry from “actual” or “imminent” harm: rather, such a statement

   effectively demonstrates the speculative nature of Moderna’s putative injury-in-

   fact. Moreover, as noted above, Moderna issued a press release as recent as July

   24, 2020 proclaiming it has developed its own proprietary LNP and that its

   products are not covered by Arbutus’ patents.




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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 20 Page
                                                01/03/24  Filed:244
                                                                 07/28/2020
                                                                    of 910 PageID #: 9824




         Modera also nowhere alleges that its milestone and other obligations are

   only due to the ’435 patent, but in fact notes that the licensed LNP technology

   includes the ’435 patent, and that other patents cover that technology. BB at 7-8,

   Appx6394-6395, Appx6397 (¶¶3-4). That other Arbutus patents may cover the

   LNP technology makes it speculative at best, and realistically unlikely, that its

   financial obligations would be extinguished if the claims of the ’435 patent were

   unpatentable. See, e.g., Moment Pharm. v. Bristol-Myers Squibb Co. 915 F.3d

   764, 769 (Fed. Cr. 2019) (rejecting as too speculative the argument that petitioner

   may receive a royalty payment from a third party if that third party should produce

   a product covered by the claims). Moreover, Moderna has the full right to

   terminate the sublicensesProvision of Sublicense
                             at its discretion,     which would entirely eliminate any

   theoretical economic concerns. E.g., Appx6143 (§11.3(b)).

         Moderna asserts further that it has manufactured its own standing because it

   has been in negotiations with Protiva regarding providing Moderna additional

   rights to the ’435 patent, among other patents. Moderna alleges the “potential

   monetary amounts that Moderna is considering associated with such rights are

   directly impacted by the Board’s validity determinations.” BB at 8-9; Appx6398

   (¶9). Moderna appears to be referencing potentially settling the IPRs it chose to

   file. Moderna, of course, cannot manufacture Article III standing by filing IPRs

   and then “considering” settling them.


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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 21 Page
                                                01/03/24  Filed:245
                                                                 07/28/2020
                                                                    of 910 PageID #: 9825




         Beyond that, Moderna’s allegation is mere speculation, as it can point to no

   actual or imminent injury, but only to “potential monetary amounts” that Moderna

   is subjectively considering. Moreover, the fact that other patents cover the

   technology makes any potential injury even more speculative. As this Court has

   held, a “claim is not ripe for adjudication if it rests upon contingent future events

   that may not occur as anticipated, or indeed may not occur at all.” Altaire Pharm.

   v. Paragon BioTeck, 889 F.3d 1274, 1283 (Fed. Cir. 2018) (in finding standing,

   noting that the injury was “inevitable”); see also AVX Corp. v. Presidio

   Components, Inc., 923 F.3d 1357, 1366 (Fed. Cir. 2019).

         C.     Moderna’s Filing of a Second IPR Against a Related Patent Does
                Not Manufacture an Injury-In-Fact

         Moderna asserts that it has been harmed by the Board’s Final Written

   Decision here because it might impact a subsequently filed IPR against the related

   ’069 patent. BB at 9. According to Moderna, it “faces a threatened injury from the

   collateral estoppel effect…that is actual and real, and not merely conjectural.” Id.

   (citing Altaire Pharm., 889 F.3d at 1283 and Electrical Fittings Corp. v. Thomas &

   Betts Co., 307 U.S. 241, 242 (1939)). Moderna’s assertion was factually untrue

   and is rebutted by its own Exhibit 9.

         Moderna points to Protiva’s preliminary response, in which Protiva plainly

   argues that Moderna is improperly filing serial challenges against Protiva’s patents

   and plainly requests the Board to exercise discretion to deny institution in the ’069

                                            -9-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 22 Page
                                                01/03/24  Filed:246
                                                                 07/28/2020
                                                                    of 910 PageID #: 9826




   IPR. BB at 9; Appx5759-5767. Protiva never argues estoppel or issue preclusion,

   but instead invokes a Board precedent against serial petitions as a harassment tool

   and poor use of Board resources, citing General Plastic Industrial Co. v. Canon

   Kabushiki Kaisha, IPR2016-01357, Paper 19, 9-10 (addressing discretionary denial

   of serial petitions). Appx5759. The Board opted not to exercise its discretion and

   Protiva did not preserve its discretionary-denial argument in its response.

         If the ’069 IPR is relevant here, it is because it further illustrates that the

   very obviousness theory Moderna urges before this Court has never been

   substantiated before the Board and has been repeatedly disavowed by Moderna’s

   own expert. Moderna incredibly asserts that, in view of the cited prior art, making

   a particle claimed in the ’435 patent would have been “mere optimization to a

   person of skill in the art.” BB at 21. Yet, Moderna’s own expert testified that the

   same person of skill would view the lipid component ranges in the same prior art

   references as “immense,” requiring “undue experimentation, not simple

   optimization.” Appx5818, Appx5836. Thus, while the ’069 IPR further illustrates

   that the Board was correct in this case in finding no “routine optimization” exists,

   the ’069 IPR fails to manufacture Article III standing for Moderna where none

   otherwise exists.

         For the reasons discussed above, Moderna has not met is burden of

   demonstrating that it has standing under Article III to appeal the Board’s final


                                            -10-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 23 Page
                                                01/03/24  Filed:247
                                                                 07/28/2020
                                                                    of 910 PageID #: 9827




   written decision here, and Protiva respectfully requests this court to dismiss

   Moderna’s appeal.

   II.   Cross-Appeal

         This Court has jurisdiction over the issue presented on cross-appeal under 28

   U.S.C. § 1295(a)(4)(A) (providing for appeal from a Board decision with respect to

   inter partes review under Title 35) and 35 U.S.C. § 141(c) (providing that any

   party to the underlying proceeding “who is dissatisfied with” the Board’s final

   written decision may appeal only to this Court). The cross-appeal is timely under

   37 C.F.R. § 90.3(a)(1) and Fed. R. App. P. 4(a)(3) because the notice of appeal was

   filed on November 13, 2019, which is within 14 days after Appellant’s notice filed

   November 13, 2019.

                            STATEMENT OF THE ISSUES

             1. Whether Moderna has Article III standing to appeal the Board’s final

                written decision.

            2. Was the Board correct in determining that Moderna never developed a

                meaningful obviousness case against dependent claims 7, 8, 10, 11,

                13, and 16-20.

            3. Is the Board’s findings of no substantiated obviousness case with

                respect to dependent claims 7, 8, 10, 11, 13, and 16-20 supported by

                record evidence.


                                           -11-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 24 Page
                                                01/03/24  Filed:248
                                                                 07/28/2020
                                                                    of 910 PageID #: 9828




            4. Can obviousness be found on a theory (routine optimization) Moderna

                never fully developed and its expert ultimately disavowed.

            5. As to Protiva’s cross-appeal, is the Board’s finding of anticipation as

                to claims 1-6, 9, 12, and 14-15 over the ’554 publication lacking

                substantial evidence and legally erroneous.

            6. Did the Board err in denying Protiva’s contingent motion to amend.

                            STATEMENT OF THE CASE

         Moderna’s appeal and Protiva’s cross-appeal arise from an IPR proceeding

   brought by Moderna challenging claims from the ’435 patent.

         The ’435 patent discloses and claims nucleic acid-lipid particles, wherein the

   nucleic acid is encapsulated in the particle. Such particles may be used to deliver a

   nucleic acid to a target, for example, in gene therapy methods. At the time of

   invention, the industry recognized that developing such particles was far from

   routine, and the claimed nucleic-acid lipid particles have achieved tremendous

   recognition in the field of gene therapy. See Appx285-286. In fact, patisiran,

   tradename “Onpattro,”—for which the ’435 patent is listed in the Orange Book and

   serves as a protecting patent—was designated by the FDA as a “first-in-class” drug

   and has received regulatory approval not only in the U.S., but also in Europe.

   Appx5078-5080; Appx5081-5082; Appx5085-5087; see also Appx284;

   Appx4959-4960 (¶¶191-193).


                                          -12-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 25 Page
                                                01/03/24  Filed:249
                                                                 07/28/2020
                                                                    of 910 PageID #: 9829




          Once that first lipid particle-based drug was approved for use in humans, the

   development was hailed in the field with express discussion of the difficulties in

   overcoming the technical hurdles associated with effective delivery. Appx5076-

   5077 (“[Delivery] proved to be a substantially harder problem than we

   anticipated...”), (“All of those tear-your-hair out days were worth it to get to

   today”) see also Appx4959 (¶190). The literature explicitly credits the nucleic

   acid-particle delivery technology for the success of patisiran. Appx5076-5077;

   Appx5526-5535. The nucleic acid-lipid particles of the ’435 patent thus solved a

   long-felt need for compositions that could safely and effectively deliver nucleic

   acids to patient target cells.

          Moderna advanced both anticipation and obviousness theories against the

   challenged claims before the Board. Moderna’s obviousness analysis rested on the

   disclosure of overlapping ranges in the prior art. As Protiva noted in response,

   Moderna failed to address a reason to combine or a reasonable expectation of

   success. Protiva also noted that an obviousness theory based on overlapping

   ranges is predicated on routine optimization and that both parties and both experts

   agreed that routine optimization was not applicable. Further, Protiva presented

   extensive evidence of unexpected results, as well as evidence of other secondary

   considerations such as commercial success and long felt need. Moderna failed to

   address much of that evidence.


                                            -13-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 26 Page
                                                01/03/24  Filed:250
                                                                 07/28/2020
                                                                    of 910 PageID #: 9830




         In its final written decision, the Board determined that claims 1-6, 9, 12, and

   14-15 had been shown to be anticipated, but concluded that Moderna had failed to

   demonstrate the obviousness of claims 7-8, 10-11, 13, and 16-20. The Board also

   denied Protiva’s motion to amend.

   I.    Technological Background

         A.     There was a need to systemically deliver genetic material, i.e.,
                nucleic acids, to patients

         An objective of genetic therapy is the development of drugs—nucleic

   acids—to treat systemic diseases such as cancer, inflammation, viral infection, and

   cardiovascular disease. Delivery of nucleic acids, however, has been particularly

   challenging because they are large, negatively charged molecules that cannot

   simply be given to a patient systemically (e.g., intravenously, orally) and allowed

   to passively enter cells. Appx4883-4884 (¶25). Therapeutic nucleic acids require

   an effective delivery vehicle, which has proven to present considerable technical

   obstacles. See, e.g., Appx5021 (“The major hurdle right now is delivery, delivery,

   delivery”), (stating in 2003, “Khvorova believes that the medical benefits of RNAi

   will be huge if the delivery issues can be resolved.”); Appx5035 (“Merck’s Alan

   Sachs on RNAi’s Big Challenge: Delivery, Delivery, Delivery); see also

   Appx4883-4884; Appx284-285, Appx291-292.




                                          -14-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 27 Page
                                                01/03/24  Filed:251
                                                                 07/28/2020
                                                                    of 910 PageID #: 9831




         B.     The field struggled for decades to identify an effective nucleic acid
                delivery system

         The therapeutic potential of genetic therapy has been appreciated for over 25

   years, but effectively delivering nucleic acid acids to target cells without eliciting

   vehicle-related toxicity prevented realization of this potential. See, e.g.,

   Appx4990, Appx4992; Appx5021. That the field struggled for 20+ years to find

   such a delivery vehicle speaks to the difficulty of the task. For example, an MIT

   immunologist noted that “physical delivery of the [siRNA] to diseased cells is

   extremely challenging.” Appx4990; see also Appx5001 (“The intrinsic complexity

   of any such gene delivery vehicle can be expected to present continued

   challenges....”). Phillip Sharp, who shared the Nobel Prize in Physiology or

   Medicine for his work on RNA splicing, stated that “[t]he major hurdle right now

   [for RNAi therapeutics] is delivery, delivery, delivery.” Appx5021; see also

   Appx5041 (“What’s interesting about what we do is that the drug isn’t the

   problem. It’s the delivery of it.”); Appx5024; Appx4992; Appx5035. By 2008,

   the industry-wide failure to identify a solution to the delivery problem resulted in

   waning confidence. Appx5024, Appx5032.

         C.     Toxicity Concerns Would Have Led An Ordinary Artisan Away
                From the Claimed Particles

         The evidence developed before the Board established that the high cationic

   lipid levels required by the claims would have been disfavored in view of well-


                                            -15-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 28 Page
                                                01/03/24  Filed:252
                                                                 07/28/2020
                                                                    of 910 PageID #: 9832




   established toxicity concerns. Appx4181. The toxicity of cationic lipids occurs at

   the cellular and organ levels, as these lipids are often not readily biodegradable and

   accumulate to cytotoxic concentrations in the liver and spleen. Cationic lipids also

   have immunostimulatory capacity and are associated with immunogenic and

   inflammatory responses. It was also appreciated that cationic lipid interacts with

   serum proteins, which can lead to aggregation and rapid clearance from the body.

   Appx4185. Consequently, the prior art expressly taught minimization of the

   cationic lipid component. E.g., Appx4104. As one industry executive stated, “I

   wouldn’t want anyone injecting cationic lipids into my bloodstream.” Appx4992;

   see also Appx4104; Appx4181-4182, Appx4185; Appx4885-4887 (¶¶28-35);

   Appx292.

         D.     Both Parties Agree Routine Optimization is Simply Inapplicable

         As is now acknowledged by both parties and their experts and corroborated

   throughout the literature, formulating nucleic acid lipid particles was complex,

   highly unpredictable, and not a matter of simple, routine optimization. Appx4626

   (“Q. In the 2008 timeframe, was developing nucleic acid-lipid particles considered

   a routine matter of optimizing variables? A. No.”); Appx4895 (¶58) (“The effects

   of making changes to the proportion of other components in the lipid particle

   would be unpredictable...”), Appx4896 (¶60) (“Making safe and effective nucleic

   acid-lipid particle formulations was not simply a matter of ‘varying the proportion’


                                           -16-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 29 Page
                                                01/03/24  Filed:253
                                                                 07/28/2020
                                                                    of 910 PageID #: 9833




   of cationic lipid in prior art formulations …”); see also Appx4895 (¶¶57-59),

   Appx4933-4934 (¶136); Appx4254, Appx4255, Appx4264, Appx4266, Appx4401,

   Appx4403; Appx4627; Appx511-514. Petitioner and its expert, Dr. Janoff,

   repeatedly emphasized the complexity of the field of art at the time. See Appx430-

   431; Appx73-74; Appx4127-4128 (¶¶65-68), Appx4130 (¶73); Appx5231-5232;

   Appx4659 (¶25); see also Appx512-513.

         During his deposition in the ’069 IPR,4 Dr. Janoff went even further,

   repeatedly describing the very same prior art disclosure of lipid ranges (from the

   same artisan perspective) as so ‘immense’ that they would require “undue

   experimentation, not simple optimization.” (“There is no way—there is no way a

   person of ordinary skill in the art would know what specific proportions might give

   results that are desired.”), (“If the range is immense, there would be undue

   experimentation I believe to find a combination or a range that behaved in a

   desirable light.”), (“By immense, I mean that in order to come up, in order for a

   person of ordinary skill in the art to find utility because of the immenseness of the

   range, this would require undue experimentation, not simple optimization”).

   Appx5836.




         4
           Moderna attached Protiva’s patent owner response in the ’069 IPR as
   Exhibit 10 to its non-confidential opposition to Protiva’s motion to dismiss for lack
   of standing.
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Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 30 Page
                                                01/03/24  Filed:254
                                                                 07/28/2020
                                                                    of 910 PageID #: 9834




         The prior art cited by Moderna during the ’435 IPR further corroborates the

   expert testimony that forming functioning lipid particles at the time was far from

   routine, but instead was a function of multiple parameters whose interactions were

   poorly understood, with limited guidance existing. See, e.g., Appx4009 (“...the

   lack of mechanistic understanding of gene delivery by CL-DNA complexes is due

   to the large number of parameters involved.”), (“[I]n comparative studies, typically

   only one or two data points per lipid are evaluated, allowing the ideal lipid

   composition (the ratio of neutral to cationic lipid) or cationic lipid/DNA ratio to be

   overlooked.”); see also Appx4650 (¶25); Appx4184. Ahmad, relied upon by

   Moderna in a challenge not being appealed here, emphasizes the lack of

   mechanistic understanding of lipid-based delivery systems at the time “due to the

   large number of parameters involved” and observes the lack of empirical

   investigation (“few investigations to date include a complete examination of lipid

   performance as a function of lipid-bilayer composition and lipid/DNA charge ratio

   (ρchg).” Id. (references omitted); see also Appx4650 (¶25); Appx4184.

         Record evidence also incontrovertibly establishes industry recognition that

   developing lipid particle formulations for drug delivery was not a simple or routine

   matter of optimizing variables. Appx5021 (“The major hurdle right now is

   delivery, delivery, delivery.”); Appx5035, Appx5041 (“What’s interesting about

   what we do is that the drug isn’t the problem. It’s the delivery of it.”); Appx5024;


                                           -18-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 31 Page
                                                01/03/24  Filed:255
                                                                 07/28/2020
                                                                    of 910 PageID #: 9835




   Appx4992; Appx5076-5077 (“[Delivery] proved to be a substantially harder

   problem than we anticipated...”), (“All of those tear-your-hair-out days were worth

   it to get to today”); Appx4990; Appx5001; see also Appx513-514. Thus, not only

   did Moderna never develop a routine optimization theory, it effectively disavowed

   the notion.

   II.   Protiva’s Invention

         The ’435 patent is directed to the surprising discovery that nucleic acid-lipid

   particles with high levels of cationic lipids and low levels of conjugated lipids

   exhibit favorable in vivo transfection efficiencies, as well as “improved tolerability

   of the formulations in vivo, resulting in a significant increase in the therapeutic

   index as compared to nucleic acid-lipid particle compositions previously

   described.” Appx842 (5:66-6:1, 6:2-14); Appx845 (11:31-42); see also

   Appx4883-4885 (¶¶25-28). The ’435 patent claims nucleic acid-lipid particles

   with high levels of cationic lipid (50-85 mol%) and low levels of conjugated lipid

   (0.5-2 mol%), with specific amount of non-cationic lipid (13-49.5 mol%).

         The understanding of the ordinary artisan at the time of invention, as

   demonstrated by all of the references cited by Moderna, was that formulations with

   a high level of cationic lipid were toxic and poorly tolerated in vivo, and would

   have little to no in vivo transfection efficiency. E.g., Appx888 (¶6); Appx4096;

   Appx2269 (30:34-4); Appx4884-4887 (¶¶26-34). Additionally, where conjugated


                                            -19-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 32 Page
                                                01/03/24  Filed:256
                                                                 07/28/2020
                                                                    of 910 PageID #: 9836




   lipids were utilized, the art instructed much higher levels as compared to those

   claimed. Appx4181; Appx4885-4886 (¶¶30-32).

          Yet, contrary to these teachings, the claimed formulations uniformly

   withstood rigorous in vivo tests that established stability following systemic, in

   vivo, administration, suitability for mammals with no considerable toxicity, and

   transfection efficiencies superior to conventional formulations. E.g., Appx842

   (5:55-6:14); see also Appx4898-Appx4907 (¶¶66-81); Appx1664-1665,

   Appx1694-1695.

   III.   Procedural History

          Moderna is appealing only the Board’s conclusion of obviousness over the

   US2006/0134189 (“the ’189 publication”) and US2006/0240554 (“the ’554

   publication”) with respect to claims 7, 8, 10, 11, 13, and 16-20. BB at 10.

   Moderna has thus waived any argument as to the Board’s conclusions as to the

   remaining claims and grounds.

          On cross-appeal, Protiva is appealing the Board’s finding that claims 1-6, 9,

   12, 14, and 15 are anticipated by the L054 lipid mixture of the ’554 publication.

   Protiva is also appealing the Board’s denial of its motion to amend based on

   grounds introduced by the Board for the first time in the final written decision.




                                           -20-

                                                                               JA002803
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 33 Page
                                                01/03/24  Filed:257
                                                                 07/28/2020
                                                                    of 910 PageID #: 9837




         A.     Moderna’s IPR

                1.    Moderna’s Petition

         Moderna offered three obviousness challenges in its petition: 1) Claims 1-20

   as obvious over WO2005/007196 (“the ’196 PCT”) and the ’189 publication; 2)

   Claims 1 and 4 over the ’196 PCT and the ’189 publication in light of the

   disclosures of Lin and/or Ahmad; and 3) Certain claims, e.g., claims 7, 8, and 11,

   over the ’554 publication. Moderna only appeals the Board’s obviousness findings

   as to the ’189 and ’554 publications, and has thus waived any argument as to the

   Board’s findings regarding the ’196 PCT, as well as the ’196 PCT and ’189

   publication in light of Lin and Ahmad.

         Moderna’s obviousness challenge argued for a prima facie case of

   obviousness on a per-limitation basis for what it contended were overlapping

   ranges of individual claim elements in the ’196 PCT and the ’189 publication.

   E.g., Appx99, Appx104, Appx105, Appx119, Appx120; see generally Appx98-

   105, Appx117-121; see also Appx297-298. Moderna never addressed the claims

   as a whole as required by statute. Moderna’s challenge focused primarily on

   independent claim 1, with only cursory comment and little analysis on the

   dependent claims being challenged. Moderna asserted that the testing disclosed in

   the ’435 patent was insufficient to rebut the prima facie case, but provided




                                            -21-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 34 Page
                                                01/03/24  Filed:258
                                                                 07/28/2020
                                                                    of 910 PageID #: 9838




   discussion (with faulty analysis) of only a subset of the testing disclosed. Appx97,

   Appx99.

         Other than conclusory assertions that the individual limitations of the

   challenged claims were rendered prima facie obviousness over the ranges

   disclosed by the ’196 PCT and the ’554 publication, Moderna provided little else

   to substantiate its challenge. Discussion of specific reason to arrive at the claimed

   invention with a reasonable expectation of success was lacking entirely. E.g.

   Appx97-113, Appx116-1129; In re Stepan, 869 F.3d 1342, 1346 n.1 (Fed. Cir.

   2017).

         Besides being poorly developed and, at times, indiscernible, Moderna’s

   challenge was also internally contradictory. Specifically, Moderna repeatedly cited

   to In re Peterson, 315 F.3d 1325 (Fed. Cir. 2003), which explains a framework of

   obviousness under the theory of “routine optimization.” 315 F.3d at 1330-31. Yet,

   Moderna’s petition and the prior art cited repeatedly emphasized the complexity in

   the field and the corresponding unpredictability of formulating the claimed

   particles. See, e.g., Appx73-74; Appx4127-4128 (¶¶65-68), Appx4130 (¶73).

         As to anticipation, Moderna also asserted in its petition that certain claims

   were anticipated by the ’554 publication. As noted above, Moderna lumped this

   assertion together with its obviousness challenge, making it difficult (in some

   instances, impossible) to discern on a claim-by-claim basis which theory applied to


                                           -22-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 35 Page
                                                01/03/24  Filed:259
                                                                 07/28/2020
                                                                    of 910 PageID #: 9839




   which claims. Appx116. With so little discussion of the dependent claims, it was

   entirely unclear for certain claims what theory of unpatentability it was challenging

   the dependent claims—anticipation or obviousness. Id.; see, e.g., Appx125-126,

   Appx127-129 (claims 9, 14-20). For some of the claims, Moderna referenced the

   L054 formulation in its challenge. Appx117-120; Appx1408. Pointing to Table

   IV in the ’554 publication (listing starting ingredients for making lipid particles),

   Moderna concluded that, the L054 formulation included 50% cationic lipid, 48%

   cationic lipid, and 2% conjugate lipid. Appx117-118, Appx120.

         The Board, in its institution decision, relied on the declaration of Moderna’s

   expert, Dr. Janoff, which stated:

                The ’554 publication also includes various specific
         formulations, including formulation L054, which contains 50%
         cationic lipid (DMOBA), 48% non-cationic lipid (Chol/DSPC), and
         2% conjugate lipid (PEG-n-DMG). Ex. 1004, Table 4. This
         formulation was tested, for example, with siRNA for reducing HBsAg
         levels. See id., Fig. 16. The disclosed nucleic acid-lipid particles
         meet all of the limitations in claim 1 of the ’435 patent.

   Appx249 (quoting Appx4120 (¶143)).

                2.     Protiva’s Response

         Despite the thinly developed (and, at times, completely unclear) challenges

   advanced, Protiva robustly responded to Moderna’s challenges to the best it

   understood them. See generally Appx281-345; Appx4874-4960. As Protiva

                                            -23-

                                                                                JA002806
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 36 Page
                                                01/03/24  Filed:260
                                                                 07/28/2020
                                                                    of 910 PageID #: 9840




   pointed out, Moderna did little more than broadly assert individual limitations of

   some (though not all) challenged claims were prima facie obvious in view of

   specific prior art disclosure. Moderna never addressed the claims as a whole and

   never provided any meaningful discussion of reasons to combine prior art

   disclosure with a reasonable expectation of successfully arriving at the claimed

   subject matter. Appx298, Appx330. Its arguments that the known toxicity of

   cationic lipids would have not taught away from the claimed particles is

   contradicted by its own publications. Moderna also never addressed that making

   the claimed particles was not a simple matter of routine experimentation as

   confirmed by its own expert and throughout the scientific literature, failed to

   meaningfully address extensive experimental data showing unexpected and

   surprising results, or any of Protiva’s evidence of additional secondary

   considerations, such as long felt need and commercial success. See generally

   Appx496-534.

         In its obviousness challenge, Moderna rested entirely on its putative “prima

   facie,” per-limitation case as though that alone met its ultimate burden of proof—

   which, of course, it did not. Record evidence underscored that Moderna’s failure

   to address the claims as a whole is a substantial failing given the interdependency

   of the lipid components. In re Kahn, 441 F.3d 977, 986 (Fed. Cir. 2006);

   Appx297, Appx301, Appx329. That is, properties such as toxicity and efficacy are


                                           -24-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 37 Page
                                                01/03/24  Filed:261
                                                                 07/28/2020
                                                                    of 910 PageID #: 9841




   not a property of any single component, but are a property of the particle as a

   whole. Appx4895 (¶59); Appx302.

         Protiva also cited Stepan for the proposition that every obviousness analysis

   requires a motivation to make the combination and a reasonable expectation that

   such a combination would be successful. Appx303-305; 869 F.3d at 1346 n.1. As

   noted in Protiva’s response, Moderna failed to address a motivation to make the

   claimed combination, much less a reasonable expectation of success. Appx303-

   304; see also Appx301-303, Appx329-331. Even though Moderna failed to

   address the fundamental obviousness considerations of reason to combine and

   reasonable expectation of success, Protiva provided extensive evidence that the

   prior art did not provide such. For example, as to a reason to combine, Protiva

   explained that one could not just vary one lipid component, but would have to

   decide how it would then vary another, or all, of the remaining components, and

   that such changes would be unpredictable. Appx301-303; Appx4895 (¶¶57-58);

   Appx4932-4934 (¶¶133-37). If it had been that easy, the field would not have

   struggled for 20 years to arrive at an effective safe and effective delivery vehicle.

   Appx302, Appx4895 (¶59).

         Protiva explained further that particles with high levels of cationic lipid and

   low levels of conjugated lipid would have been expected to be toxic and result in

   unstable particles that aggregate and are ineffective, teaching away from the


                                           -25-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 38 Page
                                                01/03/24  Filed:262
                                                                 07/28/2020
                                                                    of 910 PageID #: 9842




   claimed particles. Appx304; Appx4897 (¶¶63-65). Moreover, the prevailing

   wisdom at the time was that, if the amount of cationic lipid were to be increased,

   one would also have to increase the amount of conjugated lipid. Appx302-303;

   Appx5340, Appx5356, Appx943 (¶216), Appx946 (¶228), Appx947 (¶232);

   Appx4185; Appx4104; Appx4896-4898 (¶¶61-68), Appx4933 (¶135).

         Moderna, in reply, attempted to mislead the Board by offering a false

   narrative that certain cationic lipids (non-ionizable lipids) were recognized as non-

   toxic. Appx421-423. There was no evidence to support this assertion, and

   Moderna ignored that it had extensively published about toxicity concerns due to

   ionizable cationic lipids, the same lipids it asserted were somehow non-toxic.

   Appx525; Appx416, Appx421-423; Appx525; Appx3735; Appx3820-3821;

   Appx525-526. Thus, the known toxicity of cationic lipids, which Moderna’s own

   publications acknowledge, taught away from the claimed particles, and further

   undermined any motivation (none ever provided by Moderna) to arrive at the

   claimed invention with reasonable expectation of success.

         In reply, Moderna reiterated that it was relying on overlapping ranges to

   establish obviousness in its reply. Appx425 (citing E.I. duPont de Nemours & Co.

   v. Synvina C.V. 904 F.3d 996, 1006-8 (Fed. Cir. 2018)). But as Protiva noted, an

   obviousness theory grounded on overlapping ranges is predicated on the specific

   rationale of “routine optimization.” Appx509. And certain challenged dependent


                                           -26-

                                                                              JA002809
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 39 Page
                                                01/03/24  Filed:263
                                                                 07/28/2020
                                                                    of 910 PageID #: 9843




   claims recited components with no corresponding overlapping range provided in

   the cited art. E.g., Appx885 (claim 7). Moderna, however, never asserted routine

   optimization and was reasonably viewed as disavowing the theory with argument

   and prior art citation regarding the complexity and unpredictability in the field.

   Appx512-513; Appx73-74, Appx76-77, Appx87, Appx101.

         Furthermore, any prima facie case that existed was rebutted with extensive

   experimental data demonstrating surprising in vivo efficacy and tolerability in

   dozens and dozens of different tested lipid particle compositions within the

   challenged claims. The extensive scope of the experimental testing conducted in

   the specification included many different formulations with many different

   combinations of different lipid components, gene targets, nucleic acid payloads

   and methods of production. See Appx5420-5423 (summary of exemplary

   formulations tested and within the scope of the ’435 patent claims); see also

   Appx515-517. Such testing is more than sufficient to rebut any prima facie case of

   obviousness.

         In particular, the prior art instructs that high-level cationic lipid

   compositions were expected to have poor efficacy and increased cytotoxicity and

   immunogenicity relative to low-level cationic lipid formulations. See Appx4096;

   Appx4104; Appx4181; Appx2269 (30:34-41). Contrary to these expectations, the

   claimed formulations are well-tolerated and efficacious at far lower dosages than


                                            -27-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 40 Page
                                                01/03/24  Filed:264
                                                                 07/28/2020
                                                                    of 910 PageID #: 9844




   prior art compositions. Appx4898 (¶68); e.g. Appx876 (74:1-4) (Figure 3). These

   results are “an unexpected difference in kind that supports nonobviousness.”

   Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293, 1306 (Fed. Cir. 2015). Thus, to the

   extent any prima facie case of obviousness was ever established, it was overcome

   by the extensive experimental data in the ’435 patent and post-filing publications

   showing unexpected results. Appx304-311, Appx336-344.

         Moderna ignored much of the experimental data presented in the ’435

   patent, offered no meaningful critique to the data that it did address, and failed to

   address that the claimed nucleic acid-lipid particle compositions are substantially

   non-toxic and non-immunogenic. See also Appx4899; Appx5420-5423; Appx516.

   Moderna also failed to acknowledge that the present case is nothing like previous

   instances where testing was rejected as not commensurate. See, e.g., Peterson, 315

   F.3d at 1331 (two data points were tested,); duPont, 904 F.3d at 996 (only a single

   data point was tested); In re Greenfield, 571 F.2d 1185, 1189 (Fed. Cir. 1978)

   (similar).

         Protiva also presented evidence of other secondary considerations, such as

   long-felt need and commercial success. Appx336-344; Appx531-532. Rather than

   provide any meaningful analysis of the extensive objective indicia, Moderna in

   reply responds with citations to inapposite case law and raw speculation by its

   expert witness. WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1329 (Fed. Cir. 2016)


                                           -28-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 41 Page
                                                01/03/24  Filed:265
                                                                 07/28/2020
                                                                    of 910 PageID #: 9845




   (“[A] patent challenger cannot successfully rebut the presumption with argument

   alone—it must present evidence.”); Appx531-532.

         In response to the anticipation challenge instituted by the Board, Protiva

   pointed out that the lipid amounts listed in Table IV for the L054 formulation were

   for the lipid mixture used in formulating the particles and not for the composition

   of the particle itself. Appx322-323; see also Appx4921-4923 (¶¶109-110). Protiva

   also cited extensive evidence demonstrating that the input formulation and the

   output formulation are not identical and that the finished particle must be tested to

   determine its final composition. Appx323-324; see also Appx879 (79:50-80:9);

   Appx5242, Appx5243-5244, Appx5244-5245; Appx4921-4925 (¶¶109-115);

   Appx4995; Appx5007, Appx5012. The evidence cited by Protiva clearly

   demonstrated that Moderna’s anticipation challenge was based on the erroneous

   assumption that the composition of a particle is the same as the lipid mixture used

   to produce the particle.

         did not dispute its own oversight or the shortcomings of the cited art.

   Rather, it urged the Board to ignore them, arguing that reporting input

   concentrations was conventional. Appx428-429. As Protiva noted in its surreply,

   Moderna’s dubious assertion missed the point—it had conceded no express

   anticipation and failed to substantiate inherent anticipation. Appx504-506.




                                           -29-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 42 Page
                                                01/03/24  Filed:266
                                                                 07/28/2020
                                                                    of 910 PageID #: 9846




   Beyond that, Moderna attempted to inappropriately shift the burden from where it

   belongs—Moderna to prove anticipation—to Protiva to prove no inherency.

                3.     Protiva’s Motion to Amend

         Protiva’s contingent motion to amend proposed substitute claims 21-40. The

   proposed amendments would narrow the claimed ranges of cationic lipid non-

   cationic lipids. Appx357. The proposed amendments would also explicitly add

   “serum stable,” as well as the language “wherein the particle is formulated such

   that the nucleic acid is not substantially degraded after exposure of the particle to a

   nuclease at 37°C for 20 minutes,” to the independent claim. Id.

         Moderna, in opposition, did not set forth any explicit challenge over the

   prior art to the substitute claims as amended, referring vaguely to the prior art

   without identifying anything specific or explaining how it applies to the substitute

   claims. Appx483-484; see also Appx455-457. To the extent that a challenge

   could be discerned, Protiva explicitly noted that Moderna did not appear to be

   advancing an anticipation theory. Appx483.

         B.     The Board’s Final Written Decision

         The Board declined to reach Moderna’s obviousness challenges of

   independent claim 1 after concluding that claim 1 had been shown to be

   anticipated. Appx25-26. The Board did, however, reach the obviousness of

   certain dependent claims that were not shown to be anticipated. Appx35-37.


                                            -30-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 43 Page
                                                01/03/24  Filed:267
                                                                 07/28/2020
                                                                    of 910 PageID #: 9847




   Moderna does not challenge the Board’s decision to not reach the obviousness of

   the claims that it found were anticipated, and thus that issue is not before this

   Court.

            With regard to the remaining challenges, the Board agreed with Protiva as to

   the convoluted and confusing nature of Moderna’s case—describing it as “not a

   model of clarity.” Appx26. Nevertheless, the Board gave Moderna the benefit of

   the doubt in working through what challenges it could discern.

            The Board determined that Moderna had set forth an obviousness challenge

   over the ’554 publication only as to claims 7, 8, and 11. Appx29-30. The Board

   rejected Moderna’s argument that the ’554 publication rendered claim 7 obvious

   based on its finding that Moderna failed to demonstrate that it expressly disclosed a

   phospholipid range that overlapped that recited by that claim as Moderna had

   charged. Appx35-36; see also Appx123-124. The Board further rejected the

   notion that such a range could be achieved by “mere optimization or routine

   experimentation,” as neither that rationale or any other was advanced and

   substantiated by Moderna. Appx35-36. As for claim 8, the Board concluded again

   that the claimed cholesterol range could not be achieved by “mere optimization or

   routine experimentation.” Appx36. As for claim 11, which depends from claim

   10, the Board found that Moderna did not set forth an obviousness challenge as to




                                            -31-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 44 Page
                                                01/03/24  Filed:268
                                                                 07/28/2020
                                                                    of 910 PageID #: 9848




   claim 10, and had failed to demonstrate the claim was anticipated, and had thus

   also failed to establish that claim 11 was obvious. Id.

         As to the obviousness of dependent claims 7, 8, 10, 11, 13, and 16-20 over

   the ’196 PCT, the Board agreed with Protiva that Moderna’s challenges to these

   dependent claims suffered from numerous shortcomings. Moderna “does not

   address the relationship between the different ranges for the components of the

   particles or any reason why one of skill in the art would combine these teachings

   with those that allegedly taught the limitations from which the claim at issue

   depends.” Appx37. The Board noted further that Moderna failed to address a

   reasonable expectation of success, or why the claims as a whole would have been

   obvious over the ’196 PCT. Id.

         As to Protiva’s cross-appeal, in concluding that the ’554 publication

   anticipated claims 1-6, 9, 12, 14, and 15 of the ’435 patent, the Board improperly

   rejected Protiva’s argument that Table IV reported the lipid mixture that was used

   to make the particle and not the lipid composition of the particle itself. Appx21.

   Although the Board acknowledged the factual accuracy of that distinction, it based

   its inherent anticipation on 1) the irrelevant and incorrect assertion the ’435

   publication also used the same convention; and 2) Protiva’s alleged failure to prove

   no inherency. Appx21-22.




                                           -32-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 45 Page
                                                01/03/24  Filed:269
                                                                 07/28/2020
                                                                    of 910 PageID #: 9849




         The Board, however, concluded that Moderna had failed to show that claims

   7, 8, 10, 11, 13, and 16-20 were anticipated by the ’554 publication. Appx26.

   Neither party challenges these findings on appeal.

         In denying Protiva’s contingent motion to amend, the Board cited Judge

   O’Malley’s concurrence in Aqua Products v. Matal, 872 F.3d 1290, 1306 (Fed.

   Cir. 2017), for the proposition that the “Board itself may justify any finding of

   unpatentability by reference to evidence of record in the proceeding.” Appx47.

   The Board concluded that the contingent proposed claims were inherently

   anticipated by the L054 formulation of the ’554 publication for the same reasons it

   found the certain original claims inherently anticipated. Appx50. Not only was

   the inherent anticipation conclusion flawed for the reasons explained vis-à-vis the

   original claims, such a conclusion was improper as Moderna never asserted that the

   proposed substitute claims were anticipated by the 554 publication’s L054

   formulation in its opposition to Protiva’s contingent motion to amend.

                             SUMMARY OF ARGUMENT

         Moderna’s appeal addresses the Board’s conclusion that Moderna failed to

   demonstrate the obviousness of claims 7-8, 10-11, 13, and 16-20. Before the

   Board and again before this court, however, Moderna only addresses those claims

   in passing, arguing broadly for a per se rule of obviousness under Peterson and

   duPont.


                                           -33-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 46 Page
                                                01/03/24  Filed:270
                                                                 07/28/2020
                                                                    of 910 PageID #: 9850




         The Board’s finding of anticipation based on the ’554 publication, which is

   one basis for Protiva’s cross-appeal, is rife with legal and evidentiary errors.

   Protiva provided unrebutted evidence that the concentration of lipids of the

   formulation the Board relied upon was for the lipid mixture used in making the

   particles, and not the lipid composition of the particles themselves. Protiva also

   provided unrebutted evidence that the concentration of the lipids in the mixture

   used to make the particles is not the same as the concentration of the lipids in the

   particle. The Board, however, improperly dismissed that evidence, instead relying

   on Moderna’s argument that listing the composition of the starting lipid mixture

   was “conventional” in the art. In so doing, the Board improperly relied on an

   unsubstantiated inherency analysis, and improperly shifted the burden to Protiva to

   “definitively” prove no inherency.

         Finally, Protiva cross-appeals the Board’s denial of its motion to amend. To

   the extent the court reaches this issue, the denial should be reversed given the

   unsubstantiated inherent anticipation conclusion and improper shifting of the

   burden to Protiva to prove no inherency. Moreover, the Board denied the motion

   on a ground that Moderna did not present in the context of the motion to amend but

   was raised for the first time in the Board’s final written decision.




                                            -34-

                                                                                JA002817
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 47 Page
                                                01/03/24  Filed:271
                                                                 07/28/2020
                                                                    of 910 PageID #: 9851




                               STANDARD OF REVIEW

         This Court reviews decisions of the Board under the standards set forth in

   the Administrative Procedure Act (“APA”). 5 U.S.C. § 706. Under the APA,

   factual findings of the Board are reviewed for substantial evidence. Id.; Belden Inc.

   v. Berk-Tek LLC, 805 F.3d 1064, 1078 (Fed. Cir. 2015); Randall Mfg. v. Rea, 733

   F.3d 1355, 1362 (Fed. Cir. 2013). This includes factual findings as to the scope of

   prior art and whether a claim is anticipated or rendered obvious by the prior art.

   “Substantial evidence” is a deferential standard of review and requires “such

   relevant evidence as a reasonable mind might accept as adequate to support a

   conclusion.” Novartis AG v. Torrent Pharm. Ltd., 853 F.3d 1316, 1324 (Fed. Cir.

   2017) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)). A review

   under the “substantial evidence” standard involves examination of the record as a

   whole, taking into account evidence that both justifies and detracts from an

   agency’s decision. See Universal Camera Corp. v. NLRB, 340 U.S. 474, 487-88

   (1951).

         Anticipation is a question of fact and is reviewed for substantial evidence. A

   claim is anticipated if each and every limitation is found either expressly or

   inherently in a single prior art reference. Nidec, 851 F.3d at 1273; Crown Ops.

   Int’l, Ltd. v. Solutia Inc., 289 F.3d 1367, 1375 (Fed. Cir. 2002). Although

   anticipation may be found even when a prior art reference fails to disclose a claim


                                           -35-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 48 Page
                                                01/03/24  Filed:272
                                                                 07/28/2020
                                                                    of 910 PageID #: 9852




   element expressly, disclosure of a claim element cannot be assumed. Nidec,

   851 F.3d at 1274 (reversing anticipation finding); In re Chudik, 851 F.3d 1365,

   1371-72 (Fed. Cir. 2017) (same). In an inter partes proceeding, the burden of

   showing inherency is on the challenger. Crown Ops., 289 F.3d at 1377-78 & n.4.

         In order to establish that a patent claim is obvious under 35 U.S.C. § 103,

   one must first determine (1) the scope of the prior art, (2) differences between the

   prior art and the claims at issue, and (3) the level of ordinary skill in the art—

   “Against this background, the obviousness or nonobviousness of the subject matter

   is determined,” with additional “secondary considerations” given to certain indicia

   of nonobviousness. KSR Intern. Co. v. Teleflex Inc., 550 U.S. 398, 404 (2007)

   (citing Graham v. John Deere Co., 383 U.S. 1, 17-18 (1950)). Those challenging a

   claim must provide some articulated reasoning that includes identifying “a reason

   that would have prompted a person of ordinary skill in the relevant field to

   combine the elements in the way the claimed new invention does.” Id. Petitioners

   must also “explain how specific references could be combined.” ActiveVideo

   Networks v. Verizon Communications, 694 F.3d 1312, 1327 (Fed. Cir. 2012).

         In addition to providing a rationale for combining references, it is also

   Petitioner’s “burden to demonstrate…that the skilled artisan would have had a

   reasonable expectation of success in [combining the references].” Intelligent Bio-

   Sys. v. Illumina Cambridge, 821 F.3d 1359, 1367-68 (Fed. Cir. 2016); see also


                                            -36-

                                                                                 JA002819
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 49 Page
                                                01/03/24  Filed:273
                                                                 07/28/2020
                                                                    of 910 PageID #: 9853




   Arctic Cat Inc. v. Bombardier Recreational Prod. Inc., 876 F.3d 1350, 1360-61

   (Fed. Cir. 2017) (“[W]here a party argues a skilled artisan would have been

   motivated to combine references, it must show the artisan would have had a

   reasonable expectation of success from doing so.”). Unpredictability of the field is

   a key issue with respect to ascertaining a reasonable expectation of success.

   Honeywell, 865 F.3d at 1356 (“Unpredictability of results equates more with

   nonobviousness rather than obviousness, whereas that which is predictable is more

   likely to be obvious.”). As this Court has explained, every obviousness challenge

   requires motivation to combine with an expectation of success. Stepan, 868 F.3d

   at 1346 n.1.




                                          -37-

                                                                              JA002820
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 50 Page
                                                01/03/24  Filed:274
                                                                 07/28/2020
                                                                    of 910 PageID #: 9854




                                       ARGUMENT

   I.    Scope of Review

         Moderna asserts that it is appealing the Board’s determination that

   dependent claims 7, 8, 10, 11, 13, and 16-20 are not obvious over the ’189

   publication and the ’554 publication. BB at 10. However, Moderna’s appeal is

   much narrower in view of the record below and corresponding issues of waiver.

   Additionally, Moderna’s opening brief contains improper new arguments that are

   raised for the first time on appeal. As explained below, the proper scope of

   Moderna’s appeal is limited to whether the Board properly found claims 7, 8, and

   11 nonobvious over the ’554 publication.

                (a)    Issues That Moderna Has Necessarily Waived

         With respect to the Board’s decision on Moderna’s challenge based on the

   ’196 PCT and ’189 publication, Moderna does not present argument in its opening

   appeal brief as to: (1) findings made by the Board that are relevant to the alleged

   obviousness of claims 1-6, 9, 12, 14, and 15; and (2) findings made by the Board

   based on the ’196 PCT. Accordingly, these issues are outside the scope of this

   appeal.

         These waived challenges are particularly pertinent because Moderna never

   addresses the specific limitations of claims 7, 8, 10, 11, 13, and 16-20 in its

   opening brief (nor did it do so below). See Appx313-315; Appx532-533; Appx37.


                                           -38-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 51 Page
                                                01/03/24  Filed:275
                                                                 07/28/2020
                                                                    of 910 PageID #: 9855




   Moreover, Moderna fails to inform this Court that, before the Board, it relied on

   the ’196 PCT as representative of its obviousness challenge—the ’189 publication

   was barely an afterthought which was mentioned briefly in the introductory

   remarks:

         The ’189 publication is substantively similar to the ’196 PCT and also
         discloses SNALPs comprising overlapping ranges of the lipid
         components similar to those discussed below for the ’196 PCT…. In
         addition, the ’189 publication discloses testing relating to the admitted
         prior art 2:40 formulation.

   Appx97-98. The actual discussion of the challenge in Moderna’s petition only

   refers to the ’196 PCT. Moderna notes that the ’189 publication includes testing of

   the 2:40 formulation (BB at 15, n.3), but fails to inform this Court that it did not

   rely on the testing in the ’189 publication to argue its differential relevance to its

   challenge of the ’189 publication as opposed to the ’196 PCT, and that it in fact

   relied on the ’196 PCT exclusively in the statement of the challenge. See, e.g.,

   Appx97-113. Moderna did not map disclosure in the ’189 publication onto the

   limitations of claims 7, 8, 10, 11, 13, and 16-20— or, for that matter, any other

   claim of the ’435 patent, only mapping disclosure of the ’196 PCT onto the

   limitations of the challenged claims. See Appx97-113.

         Because Moderna does not challenge findings based on ’196 PCT, the

   Board’s decision as to claims 7, 8, 10, 11, 13, and 16-20 should be affirmed


                                            -39-

                                                                                 JA002822
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 52 Page
                                                01/03/24  Filed:276
                                                                 07/28/2020
                                                                    of 910 PageID #: 9856




   irrespective of any arguments Moderna now presents vis-à-vis the ’189

   publication.

         Moreover, Moderna does not present argument in its opening appeal brief as

   to the Board’s determination that claims 7, 8, 10, 13, and 16–20 are not anticipated

   by the ’554 publication. For reasons discussed in more detail below, the scope of

   appeal as to the ’554 publication is thus limited to obviousness of claims 7, 8, and

   11.

                  (b)   Argument Raised for the First Time on Appeal

         “[A]bsent exceptional circumstances, a party cannot raise on appeal legal

   issues not raised and considered in the trial forum.” Hylete LLC v. Hybrid Ath.,

   LLC, 931 F.3d 1170, 1174 (Fed. Cir. 2019) (quoting Finch v. Hughes Aircraft Co.,

   926 F.2d 1574, 1576 (Fed. Cir. 1991)). None of the exceptional circumstances

   delineated by this Court (see id.) apply here.

         Moderna argues for the first time on appeal that the Board should have

   found claims 10, 13, and 16-20 of the ’435 patent unpatentable as obvious over the

   ’554 publication. Moderna did not make such a challenge below—its obviousness

   challenge to dependent claims over the ’554 publication before the Board was

   limited to only claims 7, 8 and 11. The Board directly addressed this in its

   decision, which Moderna does not contest. Appx29-30 (citing Appx123-129).




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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 53 Page
                                                01/03/24  Filed:277
                                                                 07/28/2020
                                                                    of 910 PageID #: 9857




   Accordingly, the scope of review as to the ’554 publication is limited to the

   Board’s determination that claims 7, 8, and 11 are not obvious.

         Moderna also presents a new theory of obviousness based on an allegedly

   recognized “four lipid component system.” E.g., BB at 16-17 (citing Appx97-98)

   (“[T]he Petition asserted that the disclosure of overlapping ranges for each of the

   four lipid components in a four-lipid carrier system established a prima facie case

   of obviousness.”). Moderna refers to “four lipid component” systems or “four lipid

   carrier” systems over sixty times in its opening brief, yet such systems were never

   mentioned in its petition.

         Besides being untimely and beyond the scope of the Board’s decision or

   record below, the tenuous four lipid component system argument is unfounded and

   undermined by record evidence. Cationic lipid, phospholipid, cholesterol, and

   conjugated lipid are the allegedly established components of these four lipid

   systems, e.g., BB at 19, but the record evidence demonstrates these components are

   omitted entirely or, at best, optional in prior art systems. For example, Lin and

   Ahmad (references asserted in Ground 2 of the petition) disclose two-component

   lipid particles, lacking both cholesterol and conjugated lipid. Appx4089

   (describing particles comprising cationic and phospholipid); Appx4099-4100

   (same). Furthermore, the ’554, ’196, and ’189 publications describe phospholipid,

   cholesterol, and conjugated lipid as strictly optional components. Appx1321


                                           -41-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 54 Page
                                                01/03/24  Filed:278
                                                                 07/28/2020
                                                                    of 910 PageID #: 9858




   (¶¶12), Appx1334 (¶120), Appx1332-1334 (¶¶97-11), Appx1331 (¶92); Appx1248

   (¶¶150, 152), Appx1240 (¶79). There was no “established” four-lipid component

   system.

         Because Moderna’s arguments as to four lipid component systems are both

   meritless and raised for the first time on appeal, these arguments should be

   dismissed.

   II.   The Board’s Conclusion that Moderna Failed to Demonstrate the
         Obviousness of Claims 7-8, 10-11, 13, and 16-20 Should Be Affirmed

         Moderna contends that the Board’s conclusion that claims 7-8, 10-11, 13,

   and 16-20 were not shown to be obvious is in error. BB at 10. Moderna, however,

   fails to expressly address the limitations required by these dependent claims,

   instead focusing almost exclusively on its generic argument that the Board failed to

   properly apply the presumption of obviousness under the framework of the

   Peterson/duPont line of cases.

         Moderna faults the Board for not sufficiently explaining its reasoning as to

   its obviousness determinations. The reasons for the Board’s conclusions, however,

   are clear. Moderna’s petition offered very little analysis of the appealed claims,

   failing to address numerous critical aspects of an obviousness inquiry, including

   the claimed subject matter as a whole, a reason to combine, a reasonable

   expectation of success, and whether the ordinary artisan would have found in the



                                           -42-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 55 Page
                                                01/03/24  Filed:279
                                                                 07/28/2020
                                                                    of 910 PageID #: 9859




   cited art overlapping lipid ranges recited in the dependent claims, let alone arrived

   at the claimed ranges given the broad ranges disclosed by the prior art.

         A.     The Board’s Conclusion That Claims 7-8, and 11 Were Not
                Obvious Over the ’554 Publication Was Adequately Explained
                and Is Supported by Substantial Evidence

                1.     Claim 7

         Claim 7 adds the limitation that the particle comprises from 3 to 15 mol%

   phospholipid. According to the Board, despite claiming such a range was

   expressly disclosed in the cited art Moderna failed to point to a phospholipid range

   that overlapped with the claimed range. Appx35.

         Moderna’s petition offered very little analysis of this claim and claimed an

   explicit disclosure of a phospholipid range. According to Moderna, the ’554

   publication disclosed that when combined with a cationic lipid portion “in the 60%

   range and cholesterol in the 20-40% range, the range of phospholipid is decreased

   to 0%-20%.” Appx124. This argument fails as a threshold matter. As the Board

   correctly found, it is undisputed that the ’554 publication fails to explicitly disclose

   a phospholipid range. E.g., Appx35.

         Moderna now argues on appeal that that it is sufficient if the ordinary artisan

   could manufacture a range from the prior art disclosure from a series of

   assumptions—and that such a manufactured range (as opposed to one expressly

   disclosed) creates a presumption of obviousness. BB at 33. Moderna, however,


                                            -43-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 56 Page
                                                01/03/24  Filed:280
                                                                 07/28/2020
                                                                    of 910 PageID #: 9860




   cites no authority that the presumption of obviousness under Peterson and duPont

   would allow one to conjure a range by selective, hindsight-driven picking and

   choosing, and especially not when dealing with the broad ranges of the prior art

   and the interdependency of the components involved. Peterson, 315 F.3d at 1330

   n.1; duPont, F.3d at 1011 n.15 (in distinguishing Genetics, noting that the “case [in

   duPont] presents ‘not especially broad’ ranges of temperature and pressure.”);

   Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d 731, 738 (Fed. Cir. 2013) (noting

   that the burden of production shifts to patentee “where there is a range disclosed in

   the prior art, and the claimed invention falls within that range”); Ormco Corp. v.

   Align Tech., Inc., 463 F.3d 1299, 1311 (Fed. Cir. 2006) (“where a claimed range

   overlaps with a range disclosed in the prior art, there is a presumption of

   obviousness.”). Moderna also fails to provide any justification for extending the

   reasoning of Peterson and duPont to provide a presumption of obviousness when

   the range is not explicitly disclosed but is arrived at by making a series of

   assumptions. That is especially important here, where Moderna made a series of

   unexplained and unreasonable assumptions to manufacture a phospholipid range.

   E.g., Appx124 (assuming, without explanation, a cationic lipid range of about

   60%).

           On appeal, Moderna now assumes a 50-60% cationic lipid range, arriving at

   a 0-28% phospholipid range, whereas, the petition offered 60% cationic lipid range


                                           -44-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 57 Page
                                                01/03/24  Filed:281
                                                                 07/28/2020
                                                                    of 910 PageID #: 9861




   and cholesterol in the 20-40% range, and a phospholipid lipid range of 0%-20%.”

   Compare Appx124 with, BB at 32. Moderna’s new calculation on appeal is not

   only untimely and improper, but it also further illustrates the fallacies and

   inaccurate assumptions innate in Moderna’s manufactured phospholipid range.

         The Board also correctly concluded that Moderna never addressed, let alone

   established, that arriving at the claimed phospholipid range would have required

   only mere optimization or routine experimentation. Appx35-36. As is discussed

   extensively above in the Statement of the Case, both parties agree that formulating

   nucleic acid lipid particles was complex and highly unpredictable, and not a matter

   of simple, routine optimization.

         The Board thus properly concluded that Moderna failed to point to an

   overlapping phospholipid range. Appx35. Accordingly, the Board’s conclusion

   that the ’554 publication does not render the claim 7 obvious is adequately

   explained and is supported both by the caselaw and substantial evidence.

                2.     Claim 8

         Claim 8 adds the limitation that the range of cholesterol or derivative-thereof

   present in the particle is from 30 to 40 mol%. In its petition, Moderna asserts that

   the ’554 publication provides a generic disclosure of 20 to 45% cholesterol, and

   also points to the L106 lipid mixture of Table IV of the ’554 publication as having

   30% cholesterol. Appx124-125. Based on this limited analysis, the Board


                                           -45-

                                                                                   JA002828
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 58 Page
                                                01/03/24  Filed:282
                                                                 07/28/2020
                                                                    of 910 PageID #: 9862




   properly found that Moderna had not demonstrated how that range would be

   achieved by mere optimization or routine experimentation.

         On appeal, Moderna does not argue that it had made a showing of routine

   optimization; rather, it argues that such a showing is not necessary under Peterson

   and duPont. BB at 35. Moderna is incorrect, as those cases are predicated on

   routine optimization. E.g., Peterson, 315 F.3d at 1330 n.1 (“[Overlapping] ranges

   that are not especially broad invite routine experimentation to discover optimum

   values, rather than require nonobvious invention”) (emphasis added); duPont, 904

   F.3d at 1006 (“The legal principle at issue in this case is old....it is not inventive to

   discover the optimum or workable ranges by routine experimentation.”). Its

   failure to address routine optimization is thus fatal to its obviousness challenge.

         Accordingly, the Board’s conclusion that the ’554 publication does not

   render the claims obvious is adequately explained and is supported both by the

   caselaw and substantial evidence.

                3.     Claim 11

         As to claim 11, which depends from claim 10, the Board noted that Moderna

   had failed to establish that claim 10 was anticipated by the ’554 publication and

   had failed to challenge that claim as obvious. Appx36. Moderna does not contest

   the Board’s finding as to claim 10, and had thus waived any challenge to the




                                             -46-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 59 Page
                                                01/03/24  Filed:283
                                                                 07/28/2020
                                                                    of 910 PageID #: 9863




   Board’s finding as to that claim. Accordingly, Moderna has also failed to establish

   that the Board erred as to claim 11.

         B.     The Board’s Conclusion That Claims 7-8, 10-11, 13, and 16-20
                Were Not Obvious Over the ’189 Publication Was Adequately
                Explained, Is Now Waived, and Is Supported by Substantial
                Evidence

                1.    Claims 7 and 8

         Claim 7 adds the limitation that the “phospholipid comprises from 3 mol%

   to 15 mol%” of the total lipid, and claim 8 adds the limitation that the cholesterol

   or derivative thereof comprises 3 mol% to 15 mol% of the total lipid. The petition,

   in addressing these claims, never mentions the ’189 publication, but solely relies

   on the ’196 PCT. See Appx107-109. In addition, in its analysis of these claims,

   the petition relies on an example from another patent that was incorporated by

   reference into the ’196 PCT that has 56% cationic lipid, 14% phospholipid, and

   30% cholesterol. That example, however, fails to meet the lipid components of

   claim 1, as it contains no conjugated lipid, and Moderna fails to explain how one

   would use that disclosure to arrive at the specific ranges required by claims 7 and

   8.

         On appeal, Moderna argues that its petition “provided detailed analysis how

   Protiva’s own prior art ’189 publication discloses…the exact same four-lipid

   carrier system addressed in the ’435 patent claims,” as well as in vivo testing,

   which the Board dismissed with no substantive analysis. BB at 39. Moderna

                                           -47-

                                                                               JA002830
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 60 Page
                                                01/03/24  Filed:284
                                                                 07/28/2020
                                                                    of 910 PageID #: 9864




   complains that the Board failed to address the overlapping ranges for each

   component or the prior art 2:40 formulation. But as already noted, far from

   providing any “detailed analysis,” Moderna did not even reference the ’189

   publication in its analysis of claims 7 and 8. See Appx107-109.

         The Board correctly found that Moderna failed to address a reason to

   combine or a reasonable expectation of success. Appx37. Moderna does not

   challenge that finding but appears to be asserting that the presence of overlapping

   ranges is sufficient, and thus it did not need to address those factors. But no matter

   what the obviousness theory “there must be a motivation to make the combination

   and a reasonable expectation that such a combination would be successful.”

   Stepan, 868 F.3d at 1346 n.1. This is particularly pertinent where Moderna has

   disavowed the very “routine optimization” rationale underlying the

   Peterson/duPont cases it cites on appeal.

         And as discussed above, a presumption of obviousness based on overlapping

   ranges under Peterson and duPont is predicated on routine optimization, and the

   Board specifically found that Moderna failed to address routine optimization.

   Appx37. Notably, Moderna does not state that finding is in error, nor does it

   attempt to show where it made such a showing below.

         The Board also found that Moderna failed to address the claim as a whole,

   nor does Moderna challenge that finding on appeal. Appx37. Rather, Moderna


                                           -48-

                                                                               JA002831
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 61 Page
                                                01/03/24  Filed:285
                                                                 07/28/2020
                                                                    of 910 PageID #: 9865




   argues is did not need to do so. That is incorrect. Indeed, as the statute itself

   states: “if the differences between the subject matter sought to be patented and the

   prior art are such that the subject matter as a whole would have been obvious.” 35

   U.S.C. §103(a) (2012) (emphasis added).

          Accordingly, given the numerous and substantial deficiencies of Moderna’s

   obviousness challenge of claims 7 and 8, the Board performed the correct analysis,

   provided specific finding that Moderna failed to address a reason to combine,

   reasonable expectation of success, and routine optimization. The Board thus

   provided more than sufficient explanation.

                 2.    Claims 10, 11, and 13

          Claim 10 specifies certain PEG-lipid conjugates, and claim 11, which

   depends from claim 10, and further specifies the PEG-lipid conjugates. Claim 13

   adds the limitation that the “nucleic acid is fully encapsulated in the nucleic acid-

   lipid particle.”

          In addressing these claims, Moderna never bothered to mention the ’189

   publication in its petition materials. Appx109-111. In addition, Moderna’s

   petition engages only in claim mapping, pointing out where the additionally

   claimed limitation may be found in the ’196 PCT, without addressing the claim as

   a whole. Id. Finally, Moderna’s argument on appeal that the Board failed to

   address overlapping ranges, the in vivo testing, or the 2:40 formulation of the ’189


                                            -49-

                                                                                JA002832
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 62 Page
                                                01/03/24  Filed:286
                                                                 07/28/2020
                                                                    of 910 PageID #: 9866




   publication does not apply to these claims. BB at 39-40. Moderna, on appeal, has

   thus failed to demonstrate Board error.

                3.    Claims 16-20

         The remaining appealed claims are method claims. Claim 16 is drawn to a

   method of in vivo delivery of the particle of claim 1. Claim 17 is drawn to a

   method of treating a disease or disorder using the particle of claim 1, and claims

   18-20 further specify the diseases.

         Yet again, Moderna fails to mention to this court that it never bothered to

   provide any argument or analysis of the ’189 publication vis-à-vis claims 16-20 in

   its petition challenge. Appx111-113. As with claims 10, 11, and 13, Moderna

   engages only in claim mapping, pointing out where the additionally claimed

   limitation may be found in the ’196 PCT, without addressing the claim as a whole.

   Id. And yet again, Moderna’s argument that the Board failed to address

   overlapping ranges, the in vivo testing, or the 2:40 formulation of the ’189

   publication does not apply to these claims. BB at 39-40. Moderna, on appeal, has

   again failed to demonstrate Board error.

         C.     Moderna Invoked an Obviousness Theory That It Never
                Developed and Conceded Was Inapplicable Before the Board

         Moderna uses the bulk of its brief to generically argue that the Board failed

   to follow the framework of Peterson and duPont that a prima facie obviousness is

   established when the prior art discloses ranges that overlap with the claimed

                                             -50-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 63 Page
                                                01/03/24  Filed:287
                                                                 07/28/2020
                                                                    of 910 PageID #: 9867




   ranges. E.g., BB at 2. If this Court is inclined to entertain Moderna’s new, broader

   theory of obviousness made on appeal (which it should not), engaging in a

   reweighing of the evidence developed below in view of that new theory,

   Moderna’s appeal still fails.

         Moreover, even to the extent that overlapping ranges creates a presumption

   of obviousness, that presumption is predicated on determining optimum or

   workable ranges by routine experimentation. But both parties and their experts

   agree that routine optimization does not apply to the appealed claims. As

   discussed above in the Statement of the Case, the petition embraced the

   unpredictability of formulating the claimed particles, arguing, for example, that

   “minor variations in lipid percentages…may appreciably impact efficacy;” in

   essence, disavowing the same obviousness theory it was advocating. E.g.,

   Appx87.

         Finally, the Board did appreciate and apply the framework of Peterson and

   duPont. That theory was heavily litigated and addressed before the Board. Protiva

   presented extensive evidence before the Board demonstrating that the only

   evidence of obviousness proffered by Moderna was identification of immensely

   broad ranges (which its expert described as requiring “undue experimentation, not

   simple optimization”) and conclusory assertions that ranges rendered individual

   elements of the challenged claims “prima facie” obvious. But, as demonstrated


                                          -51-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 64 Page
                                                01/03/24  Filed:288
                                                                 07/28/2020
                                                                    of 910 PageID #: 9868




   during trial, the ranges disclosed by the prior art were very broad, and the petition

   presented no evidence that one would have arrived at the claimed ranges in view of

   the broad disclosed ranges of the prior art. Protiva also presented extensive

   evidence that there would have been no reasonable expectation of success of

   arriving at the claimed ranges, which evidence was also unrebutted. The

   unrebutted evidence of record also established that it would not have been a simple

   matter of routine optimization to arrive at the claimed ranges. As such, to the

   extent any routine optimization challenge was presented to the Board, it was dead

   on arrival given the testimony of the experts from both parties and extensive,

   uncontroverted evidence establishing that arriving at the claimed subject matter in

   view of the immense lipid ranges in the art would have required undue

   experimentation, not simple optimization.

         Thus, the Board’s conclusion that Moderna did not meet its burden of

   demonstrating the obviousness of the claims was sufficiently explained and

   supported by substantial evidence.

                1.     Moderna Is Improperly Advocating for a Per Se Rule of
                       Obviousness

         Moderna’s appeal brief makes clear it is advocating for a per se rule of

   obviousness based upon a showing of some encompassing or overlapping ranges,

   regardless of the breadth of the disclosed ranges, the predictability of the art, or

   whether it would be a simple matter of routine experimentation to arrive at the

                                            -52-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 65 Page
                                                01/03/24  Filed:289
                                                                 07/28/2020
                                                                    of 910 PageID #: 9869




   claimed range. See BB at 10 (“did the Board err in requiring more than a showing

   of overlapping ranges to establish a prima facie case of obviousness under

   Peterson and duPont”), 17-18 (asserting that the Board erred by “misapplying

   Peterson and duPont in holding that more than a showing of overlapping ranges is

   required to establish a prima facie case of obviousness….”), 18, 21, 24 (“Under

   Peterson and duPont, a showing of such overlapping is all that is required to

   establish a prima facie case of obviousness, i.e., such a showing subsumes the need

   for a separate showing of motivation and a likelihood of success for a prima facie

   case.”), 35 (“[T]he Board improperly held that Moderna had to make additional

   showings, including ‘optimization or routine experimentation’…and ‘reasonable

   expectation of success’…to support its prima facie obviousness case”).

         Even putting aside that Moderna’s challenges before the Board suffered

   from numerous critical deficiencies, including failure to identify disclosure of

   actual overlapping ranges in the cited art for many of the claims it challenged, the

   unpatentability standard it advocates is clearly not the law. First, the Supreme

   Court has admonished against per se rules in patent law. Bilski v. Kappos,

   561 U.S. 593, 603 (2010) (“A categorical rule denying patent protection for

   ‘inventions in areas not contemplated by Congress. . .would frustrate the purposes

   of the patent law.’”), citing Diamond v. Chakrabarty, 447 U.S. 303, 315 (1980).

   This Court has also been loath to endorse per se rules in patent law. In re Ochiai,


                                           -53-

                                                                              JA002836
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 66 Page
                                                01/03/24  Filed:290
                                                                 07/28/2020
                                                                    of 910 PageID #: 9870




   71 F.3d 1565, 1569 (Fed. Cir. 1995), cited in TorPharm, Inc. v. Ranbaxy Pharm.,

   Inc., 336 F.3d 1322, 1329 n.6 (Fed. Cir. 2003) (“We note again that per se rules do

   not govern the nonobviousness inquiry.”).

         Moreover, the Peterson line of cases does not support a per se rule of

   obviousness. Peterson concluded that disclosing “a range encompassing a

   somewhat narrower range is sufficient to establish a prima facie case of

   obviousness,” confirming that the relationship between the breadth of the disclosed

   range and the claimed range at least must be considered. Peterson, 315 F.3d at

   1330; see also duPont, 904 F.3d at (noting “disclosure of very broad ranges may

   not invite routine optimization); Allergan, Inc. v. Sandoz, Inc., 796 F.3d 1293,

   1305 (Fed. Cir. 2015) (acknowledging that a disclosed range may be so broad that

   the burden of producing evidence of evidence such as teaching away, unexpected

   results, or other secondary indicia does not shift to the patentee). As discussed

   below, these cases are grounded on a theory of routine optimization.

         Moderna’s invitation to this Court to adopt a per se rule of obviousness

   based on the mere presence of overlapping ranges should thus be flatly rejected.

                2.    Peterson and duPont Cases Are Predicated on Routine
                      Optimization

         This Court has explained that overlapping ranges, without evidence to the

   contrary, may invoke a rebuttable presumption of obviousness under the specific

   rationale of “routine optimization.” See, e.g., Peterson, 315 F.3d at 1330 n.1

                                           -54-

                                                                              JA002837
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 67 Page
                                                01/03/24  Filed:291
                                                                 07/28/2020
                                                                    of 910 PageID #: 9871




   (“[Overlapping] ranges that are not especially broad invite routine

   experimentation to discover optimum values, rather than require nonobvious

   invention”) (emphasis added); duPont, 904 F.3d at 1006 (“The legal principle at

   issue in this case is old....it is not inventive to discover the optimum or workable

   ranges by routine experimentation.”); Genetics Inst., LLC v. Novartis Vaccines &

   Diagnostics, Inc., 655 F.3d 1291, 1306 (Fed. Cir. 2011) (“Simply put, the typical

   desire of scientists to find an optimum value within a narrow disclosed range

   does not apply to the facts in this case.”); In re Applied Materials, Inc., 692 F.3d

   1289, 1298 (Fed. Cir. 2012) (explaining that in the context of overlapping ranges

   evidence that variables interact in an unpredictable or unexpected way support

   nonobvious); Stepan, 868 F.3d at 1346, 1346 n.1 (rejecting obviousness in view of

   overlapping ranges because “[m]issing from the Board’s analysis is an explanation

   as to why it would have been routine optimization to arrive at the claimed

   invention”). These cases make clear that to the extent a prima facie case of

   obviousness may have been established, it is overcome with a showing that routine

   optimization does not apply.

                       a.    It is Undisputed That Making Nucleic-Acid Lipid
                             Particles was Not a Simple Matter of Routine
                             Optimization

         Moderna did not explain in its case before the Board how the claimed ranges

   would be obtained by “optimization” and “routine experimentation.” Making non-


                                           -55-

                                                                                JA002838
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 68 Page
                                                01/03/24  Filed:292
                                                                 07/28/2020
                                                                    of 910 PageID #: 9872




   toxic and effective nucleic acid-lipid particle formulations was not simply a matter

   of “varying the proportion” of cationic lipid in prior art formulations. E.g.,

   Appx99. As discussed above in the Statement of the Case, it is undisputed that

   making nucleic-acid lipid particles was not a matter of routine optimization. E.g.

   Appx511-514. Moderna thus invoked a theory of obviousness based on

   overlapping ranges that, as discussed above in the Statement of the Case, it

   disavowed in its petition. Moderna should not be allowed to now argue on appeal

   that obviousness “cannot be avoided simply by a showing of some degree of

   unpredictability in the art so long as there was a reasonable expectation of

   success.” BB at 36 (quoting Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1364 (Fed.

   Cir. 2007)).

                  3.   Moderna Never Provided a Reason for Selecting the
                       Claimed Ranges from the Prior art Ranges, Much Less a
                       Reasonable Expectation of Success

         Regardless of whether the Peterson presumption (that overlapping ranges,

   without evidence to the contrary, may invoke a rebuttable presumption of

   obviousness under the specific rationale of routine optimization) applies here (it

   does not), Moderna still must provide articulated reasoning with some rational

   underpinning to support a conclusion of obviousness. KSR Int’l Co. v. Teleflex

   Inc., 550 U.S. 398, 418 (2007); see also Stepan, 868 F.3d at 1346n.1 (explaining

   no matter what the obviousness theory “there must be a motivation to make the


                                           -56-

                                                                                JA002839
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 69 Page
                                                01/03/24  Filed:293
                                                                 07/28/2020
                                                                    of 910 PageID #: 9873




   combination and a reasonable expectation that such a combination would be

   successful.”). As discussed above in the Statement of the Case and as the Board

   found, Moderna failed to address a reason to combine or a reasonable expectation

   of success.

         Moderna attempts to assert on appeal that the Board ignored other

   formulations that have lipid concentrations that fall within the claimed ranges. BB

   at 4 (referencing the L054 formulation of the ’554 publication), 22 (asserting that

   the “four-lipid carrier systems in both the ’554 and ’189 publications make clear

   the interplay between the individual lipid components in the particles”), 29

   (referencing the 2:40 formulation of the ’189 publication); 31 (referencing Table

   IV of the ’554 publication). One of the problems for Moderna with that argument

   is that it is being made for the first time on appeal. Moderna did not provide any

   reason in its petition materials as to why the ordinary artisan would start with any

   of these specific disclosed formulations to arrive at the claimed formulations, much

   less addressing a reasonable expectation of success of doing so.

         Moderna also attempts to oversimplify the analysis in its appeal brief by

   arguing that amount of the four lipid components in the particles of the dependent

   claims total 100 mol% and that the overlapping ranges are disclosed in the same

   paragraph. BB at 29, 37. The petition fails to address how the lipid components

   interact with one another and how the ordinary artisan would have accounted for


                                           -57-

                                                                               JA002840
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 70 Page
                                                01/03/24  Filed:294
                                                                 07/28/2020
                                                                    of 910 PageID #: 9874




   that interaction in attempting to optimize the components separately given the

   broad ranges of the prior art. Appx4892 (¶49), Appx4895 (¶¶58-59).

                      a.     Claim as a Whole/Interaction of Components

         Moderna’s petition separately parsed the claimed amounts of cationic lipids,

   conjugated lipids, and non-cationic lipids from the references, in a vacuum,

   without regard to one another and their interdependency. E.g., Appx98-105,

   Appx117-121; see also Appx297-298.

         Moderna asserts on appeal that the Board ignored that the references provide

   working examples that provide context for the interplay of the lipid ranges. BB at

   31. As discussed above in the Statement of the Case, however, Moderna never

   explained any such interplay in its petition. Moreover, as for the ’189 publication,

   although Moderna noted in a single sentence in its petition that the publication

   discloses testing of the 2:40 (conjugated lipid:cationic lipid) formulation (Appx98),

   it failed to explain how that would lead one to the claimed particle, especially as

   the other formulation tested in the ’189 publication is a 2:30 formulation. E.g.,

   Appx1260-1266 (Examples 2-12). And as to the ’554 publication, Table IV

   (Appx1408) discloses a variety of lipid formulations, and Moderna’s petition again

   failed to explain how any results obtained for those formulations would have led

   the ordinary artisan to the claimed ranges. In fact, the petition recognized the




                                           -58-

                                                                               JA002841
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 71 Page
                                                01/03/24  Filed:295
                                                                 07/28/2020
                                                                    of 910 PageID #: 9875




   unpredictability of such interplay by noting that “minor variations in lipid

   percentages…may appreciably impact efficacy.” Appx87.

                4.     The Broad Ranges Disclosed by the References Do Not
                       Invite Routine Experimentation

         Obviousness under Peterson and duPont also does not apply when the

   disclosed range is so broad so as to encompass a large amount of distinct

   compositions. duPont, 904 F.3d at 1006 (“we have reasoned that disclosure of very

   broad ranges may not invite routine optimization.”); Genetics, 655 F.3d at 1306

   (explaining it is “the typical desire of scientists to find an optimum value within a

   narrow disclosed range,” not ranges that are unduly broad) (emphasis added).

         Dr. Janoff, Moderna’s expert, however, repeatedly testified during his cross-

   examination in the ’069 IPR that narrower lipid ranges than what is found in the art

   would be considered “immense” at the time and require “undue experimentation.”

   Appx5836 (“There is no way—there is no way a person of ordinary skill in the art

   would know what specific proportions might give results that are desired.”), (“If

   the range is immense, there would be undue experimentation I believe to find a

   combination or a range that behaved in a desirable light.”), (“Immense is big. And

   by immense maybe I can help a little bit more. By immense, I mean that in order

   to come up, in order for a person of ordinary skill in the art to find utility because

   of the immenseness of the range, this would require undue experimentation, not

   simple optimization”).

                                            -59-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 72 Page
                                                01/03/24  Filed:296
                                                                 07/28/2020
                                                                    of 910 PageID #: 9876




         Specifically, the ’189 publication teaches that “[t]he cationic lipid typically

   comprises from about 2% to about 60% of the total lipid” present in said particle

   (Appx1237 (¶152)), and the ’554 publication teaches that the cationic lipid

   component can comprise from about 2% to about 60% of the total lipid (Appx1363

   (¶313)). These ranges are dramatically broader than the claimed range of 50 mol%

   to 65 mol% recited in the challenged claims. E.g., Appx300-301, Appx328.

         For the conjugated lipid, the range for the more expansive “bilayer

   stabilizing component” genus that is disclosed by the ’189 publication is “from

   about 0.5% to about 20% of the total lipid present in the particle” (Appx1237

   (¶152)), and the broadest range disclosed by the ’554 publication is “from about

   1% to about 20%” (Appx1363 (¶313)). Again, those ranges are much broader than

   the claimed range of 0.5 mol% to 2 mol% of the total lipid. And the range of

   noncationic lipid disclosed by ’189 and ’554 publications is 5 to 90%, which is

   almost so broad as to not constitute a range. Appx1237 (¶152); Appx1362-1363

   (¶312). Moderna provided no explanation in its petition as to why the ordinary

   artisan would have chosen the more limited claimed ranges given the breadth of

   the ranges taught by the ’554 and ’189 publications. E.g., Appx509-511.

                5.    Moderna Never Substantively Addressed Protiva’s
                      Extensive Evidence of Secondary Considerations

         As discussed above in the statement of the case, Protiva presented extensive

   evidence of unexpected and surprising results, as well as secondary considerations,

                                           -60-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 73 Page
                                                01/03/24  Filed:297
                                                                 07/28/2020
                                                                    of 910 PageID #: 9877




   including long-felt need, failure of others, skepticism, and commercial success.

   Notably, as part of commercial success, the ’435 patent is listed as protecting

   Patisiran, a first-in-class drug. Appx5078-5080; Appx5083; Appx5085-5087.

         In its appeal brief, Moderna asks for a remand for the Board to consider its

   obviousness case as well as Protiva’s evidence of secondary consideration. BB at

   38. To the extent any prima facie case may have been established (it was not), the

   evidence of unexpected results is more than sufficient to demonstrate the criticality

   of the claimed ranges when compared to the broad ranges taught by the prior art.

   Moderna also failed to meaningfully address Protiva’s evidence of secondary

   considerations before the Board, and it should not be given a chance to do so in the

   face of that failure. Accordingly, Moderna’s failure to address Protiva’s extensive

   evidence of secondary considerations provides an alternate reason to affirm the

   Board’s conclusion that Moderna failed to establish the obviousness of the

   challenged claims.

                             PROTIVA’S CROSS-APPEAL

   I.    The Board’s Finding That Claims 1-6, 9, 12, and 14-15 Are Inherently
         Anticipated is Legally Erroneous and Lacks Substantial Evidence

         Neither Moderna nor the Board ever resolved the critical distinction between

   1) starting ingredients for making lipid particles; and 2) the different lipid

   composition of particles resulting from the fabrication process. The claims of the

   ’435 patent are directed to “nucleic acid-lipid particles” of defined composition.

                                            -61-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 74 Page
                                                01/03/24  Filed:298
                                                                 07/28/2020
                                                                    of 910 PageID #: 9878




   Moderna in its challenge, and the Board in its decision, cites only the L054

   formulation of Table IV in the ’554 publication as allegedly anticipating claims 1-

   6, 9, 14, and 15 of the ’435 patent. Appx118, Appx20.

          But the L054 formulation of Table IV is a lipid mixture for making

   particles—not itself a particle. See, e.g., Appx884 (claim 1 directed to a “nucleic

   acid-lipid particle”). The ’554 publication does not disclose lipid compositions of

   resulting particles, nor does it disclose sufficient detail to reasonably assume the

   resulting particles fall within the scope of claim 1. Testimony from both experts,

   as well as corroborating literature (including FDA guidelines), describe an

   expected deviation between the L054 starting lipid ingredients and the resulting

   particles. Appx5007, Appx5012; Appx4921-4925 (¶¶109-116); Appx5242,

   Appx5243-5244, Appx5244-5255; Appx4995; Appx4924-4925 (¶¶113-115);

   Appx4442, Appx4447-4449, Appx4449; Appx324; Appx504-505. While it was

   never Protiva’s burden as the non-moving party to prove no inherency, Protiva’s

   expert provided reasoned explanation with corroborating evidence why the ’554

   publication’s particle fabrication process would be expected to skew L054 particle

   lipid composition (particularly the conjugated lipid) outside the scope of the

   challenged claims. E.g., Appx4924-4925 (¶¶113-15); Appx4446, Appx4449;

   Appx5244-5245; see also Appx506. Neither Moderna nor the Board dispute any

   of this.


                                           -62-

                                                                                JA002845
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 75 Page
                                                01/03/24  Filed:299
                                                                 07/28/2020
                                                                    of 910 PageID #: 9879




         Nevertheless, the Board found claims 1-6, 9, 12, 14, and 15 anticipated by

   the L054 formulation. Appx17-18. The basis of the Board’s decision was not

   based on affirmative evidence that L054 resulting particles met the claim

   limitations (there is no such evidence), but on the irrelevant (and incomplete)

   observation that the challenged ’435 patent also identifies mole percent of a

   formulations starting composition. Appx21-22. Beyond that, the Board merely

   criticized Protiva’s expert for not “definitively” proving no inherency. Appx22-25.

   In so doing, the Board erred as a matter of law and improperly shifted the burden

   to Protiva, and the decision in this regard lacks the support of substantial evidence.

   The Board’s finding that claims 1-6, 9, 12, 14, and 15 are anticipated by the L054

   formulation of the ’554 publication should thus be reversed.

         A.     It is Undisputed That L054 is Not a Lipid Particle Composition as
                Claimed

         Moderna argued that the L054 formulation as described in Table IV of the

   ’554 publication anticipated claim 1. Appx117-121. But as Protiva pointed out,

   the claims are to a nucleic acid-lipid particle not a composition for making a

   particle. Appx504-506. This was a critical oversight because Table IV lists

   compositions for making particles not the particles themselves. Appx1408.

         Protiva established that the ’554 publication does not disclose L054 particle

   composition, and that composition of a lipid formulation is not the necessarily the

   same as that of the lipid particle. E.g., Appx5242, Appx5243-5244, Appx5244-

                                           -63-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 76 Page
                                                01/03/24  Filed:300
                                                                 07/28/2020
                                                                    of 910 PageID #: 9880




   5245; Appx879 (79:50-80:9); Appx4995; Appx5007; Appx4921-4925 (¶¶109-

   116); Appx323-324; Appx504-505. Protiva further established that the method

   used for formulating particles often affects the composition of finished product,

   and most certainly would have done so in the case of L054. Appx1339 (¶165),

   Appx1381 (¶463); Appx4921-4924 (¶¶109-114). Protiva’s expert, Dr. Thompson,

   explained how the detergent-based formulation method of the ’554 publication, in

   particular, results in less efficient incorporation of cholesterol in the finished

   particles relative to the conjugated lipid. E.g., Appx4924 (¶113), Appx4924-4925

   (¶115). Lowering the cholesterol level in finished particles, in turn, alters the

   levels of the remaining components. Appx4449 (“If we have lower cholesterol,

   that conjugate lipid concentration is going up, not down.”), Appx4446 (explaining

   that the cationic lipid would be expected outside the claimed range); Appx5244-

   5245 (Dr. Janoff describing failure to recover cholesterol in a particle altering the

   amount of the remaining components).

         Consequently, alteration in the amounts of the remaining components and, in

   particular, conjugated lipid, results in particles that are outside the scope of claim

   1. L054 has the starting composition including 2% conjugated lipid (PEG-n-

   DMG), which is right at the edge of the 0.5 mol% to 2 mol% range claimed in the

   ’435 patent. Compare Appx1408 (Table 4) with, Appx884 (’435 patent, claim 1).

   As such, an increase in the conjugated lipid component in the finished product due


                                            -64-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 77 Page
                                                01/03/24  Filed:301
                                                                 07/28/2020
                                                                    of 910 PageID #: 9881




   to differential efficiency of lipid component incorporation would knock the

   finished particle product outside the claimed range. Neither Moderna nor the

   Board dispute any of this.

         That L054 is not a lipid particle is not disputed by the parties or the Board. It

   is also undisputed that the ’554 publication does not report lipid composition of

   finished particles, it is entirely silent on this aspect. In fact, Moderna freely

   admitted that Table IV lists the composition of input materials not that of lipid

   particles. Appx4651 (¶27). The Board also acknowledges that Table IV lists the

   composition of input materials. Appx21. Accordingly, it is undisputed that the

   disclosure of L054 in Table IV is not an express disclosure of lipid particles within

   the scope of claim 1. Additionally, there is unrebutted record evidence that the

   ’554 publication fabrication process (what scant detail is provided) would be

   expected to at least skew the cholesterol component downward and the conjugated

   lipid component upward relative to the starting ingredient composition.

         B.     The Board’s Finding of Inherent Anticipation Lacks Substantial
                Evidence

         Lacking express disclosure, a conclusion of anticipation requires evidence

   that the L054 formulation necessarily produces lipid particles within the scope of

   claim 1. HTC Corp. v. Cellular Communs. Equip., LLC, 877 F.3d 1361, 1368

   (Fed. Cir. 2017) (“To anticipate a claim, a single prior art reference must disclose

   every limitation of the claimed invention either expressly or inherently.”); id.

                                            -65-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 78 Page
                                                01/03/24  Filed:302
                                                                 07/28/2020
                                                                    of 910 PageID #: 9882




   (citing Cont’l Can Co. v. Monsanto Co., 948 F.2d 1264, 1268 (Fed. Cir. 1991))

   (“A party seeking to establish inherent anticipation must show that a person of

   ordinary skill in the art would recognize that missing descriptive matter in a prior

   art reference is nevertheless necessarily present.”).

         Moderna never submitted, and the Board’s decision does not cite, evidence

   that a skilled artisan would recognize that the ’554 publication, and, in particular,

   the disclosed L054 formulation, necessarily produces lipid particles within the

   scope of claim 1. All arguments in favor of anticipation were based on conjecture.

   This alone is sufficient reason to reverse the Board’s decision.

         Despite lacking such evidence, the Board found anticipation based on factual

   findings that are either irrelevant or wrong or both. For example, the Board found

   that “the ’435 patent describes nucleic acid-lipid particles in terms of mole percent

   of the formulation’s composition, not the particle, just as in the ’554 Publication.”

   Appx21.

         First, the Board’s finding is irrelevant to the scope and content of the ’554

   publication. There is no dispute that fabrication methods of the ’435 patent are

   different from those of the ’554 publication. Further, and as discussed above, there

   is no dispute regarding the expected results of fabricating particles according to the

   ’554 publication. Even accepting the dubious assertion that using lipid percentages

   in the formulations for a nucleic acid-lipid particle “was accepted practice in the


                                           -66-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 79 Page
                                                01/03/24  Filed:303
                                                                 07/28/2020
                                                                    of 910 PageID #: 9883




   field,” Appx21 (citing Appx4651 (¶27)), it has no bearing on whether lipid

   particles fabricated from the L054 formulation are necessarily within the scope of

   the claims. Likewise, it is also not important, much less dispositive of the issue

   that Dr. Thompson, during his two-day deposition, could not recall in a moment a

   description of cationic lipid analysis after particle formulation in the ’435 patent.

   Appx21, Appx4385.

         Second, the Board’s assessment of the facts is simply wrong. As Protiva

   pointed out to the Board, unlike the ’554 publication, the ’435 patent provides

   extensive characterization of finished particles including the lipid-to-drug ratio,

   particle size, polydispersity, and percentage encapsulation. Appx874, (Table 2);

   see also, Appx875-877 (Tables 4, 6 and 7); Appx505-506. Further, the ’435 patent

   explains that its fabrication methods result in only minor variation between the

   input and the lipid composition of finished particles. See, e.g., Appx873-874,

   (68:36-69:4) (describing “[l]ipid encapsulation of siRNA” and lipid composition

   variation). The ’554 publication, on the other hand, does not disclose any

   characterization of finished particles, including those made from L054.

         It is also not sufficient (and legally erroneous—see below) to simply knock

   down Protiva’s evidence as “not definitively” proving no inherency. Beyond

   improperly allocating burden, the Board’s comments fail to provide substantial

   evidence. In re NuVasive, Inc., 842 F.3d 1376, 1383 (Fed. Cir. 2016) (“[I]t is not


                                            -67-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 80 Page
                                                01/03/24  Filed:304
                                                                 07/28/2020
                                                                    of 910 PageID #: 9884




   adequate to summarize and reject arguments without explaining why the PTAB

   accepts the prevailing argument.”). The Board also side-stepped the conjugated

   lipid component entirely. For example, Protiva pointed out that the L054 particle

   composition is not disclosed and explained why the methods of the ’554

   publication would skew conjugated lipid amounts outside the scope of the claims.

   E.g., Appx4924-4925 (¶¶113, 115). The Board responded that “any loss of the

   other lipid components, such as cholesterol, should result in a higher mole

   percentage of cationic lipid, which would be within claim 1’s range.” Appx22

   (citing Appx4385) (emphasis added). Besides dodging Protiva’s conjugated lipid

   argument, the Board’s made an inaccurate and incomplete assessment of Dr.

   Thompson’s testimony. For instance, the Board cites to Appx4385, but Dr.

   Thompson was not discussing the ’554 publication at that time. He did address

   later in his deposition when he was asked about cationic lipid content in L054

   particles, which the Board overlooks. Appx4447, Appx4446 (“...very likely that

   these particles are outside the range.”). Dr. Thompson’s testimony simply

   provides no support for the Board’s finding.

         The Board improperly faulted Dr. Thompson for “not definitively

   testify[ing] that the nucleic acid-lipid particle that is formed from the L054

   formulation would fall outside of the claimed range.” Appx23; see also Appx24

   (faulting Dr. Thompson for not definitively testifying that the conjugated lipid


                                           -68-

                                                                               JA002851
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 81 Page
                                                01/03/24  Filed:305
                                                                 07/28/2020
                                                                    of 910 PageID #: 9885




   would be outside the scope of the claims). This is not Protiva’s burden to prove.

   Dr. Thompson was not tasked with definitively proving no inherency, and his

   testimony should have been credited as dispositive of the issue in Protiva’s favor.

   Appx23 (quoting Appx4447). Specifically, Dr. Thompson testified that whether

   any L054 particle is within the scope of the claims is “not an answerable question

   with any precision.” See HTC Corp, 877 F.3d at 1368 (requiring that the missing

   disclosure is “necessarily present”). Dr. Thompson further testified “I don’t know

   any more than the authors [of the ’554 publication report] what’s in their

   composition”—that is, the ’554 publication is silent on the issue. Appx4446.

         Despite repeatedly faulting Dr. Thompson for failing to testify definitively

   that L054 particles are outside the scope of the claims, the Board also gave no

   weight to his testimony that does address this issue. Appx24 (“[W]e find Dr.

   Thompson’s opinion that no particles formed using the L054 formulation would be

   within the mole percentage ranges for lipids as required by claim one is

   speculative, and thus, not accorded weight.”). Moreover, the summary dismissal

   Dr. Thompson’s testimony as “speculative” is improper given the reasoned

   explanation given—contrasted with lack of disclosure in the ’554 reference, the

   exacting standard for inherency, and the complete absence of evidence to the

   contrary.




                                          -69-

                                                                                JA002852
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 82 Page
                                                01/03/24  Filed:306
                                                                 07/28/2020
                                                                    of 910 PageID #: 9886




         The Board’s comments regarding the broader range of distribution of

   particles amount to speculation regarding lipid particles that might be produced

   from L054. Appx24. Further, the Board’s dismissal of Dr. Thompson’s testimony

   that the ’554 publication discloses the “wrong technique and unreliable in

   producing particles” as a “practical concern” does not change that the composition

   of such particles is an unanswerable question. Appx4447.

         Finally, the Board relies on Titanium Metals to assert that anticipation “does

   not require that all of the formed particles from the L054 formulation, or even the

   majority of them, be within the claimed ranges as required by claim 1.” Appx25

   (citing Titanium Metals Corp. v. Banner, 778 F.2d 775, 782 (Fed. Cir. 1985)).

   While it is true that a “claim is ‘anticipated’ if one of [the claimed compositions] is

   in the prior art,” there still must be evidence that one composition of the ’554

   publication is within the scope of the claims. That evidence is lacking here and

   thus Titanium Metals is inapposite.

         C.     Finding Inherent Anticipation Based on Probabilities or
                Possibilities is Legally Erroneous

         Inherency “may not be established by probabilities or possibilities. The

   mere fact that a certain thing may result from a given set of circumstances is not

   sufficient.” MEHL/Biophile Int’l. Corp. v. Milgraum, 192 F.3d 1362, 1365 (Fed.

   Cir. 1999) (quoting In re Oelrich, 666 F.2d 578, 581 (C.C.P.A. 1981)). Thus, the

   relevant inquiry under an inherent anticipation theory is whether there is evidence

                                           -70-

                                                                                JA002853
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 83 Page
                                                01/03/24  Filed:307
                                                                 07/28/2020
                                                                    of 910 PageID #: 9887




   that the L054 lipid mixture described in the ’554 publication necessarily produces

   the claimed particles. Moderna did not submit, and the Board’s decision does not

   cite, evidence that particles fabricated from the L054 lipid mixture are necessarily

   within the scope of the claims.

         As described above, possibilities and probabilities alone underlie the

   Board’s conclusion of inherent anticipation. Appx21-25. Accordingly, the

   Board’s decision is legally erroneous.

         D.     The Board Improperly Shifted the Burden to Protiva to Prove No
                Inherency

         “[Moderna] bears an evidentiary burden to establish that the limitation was

   necessarily present.” Crown Operations Int’l, Ltd. v. Solutia Inc., 289 F.3d 1367,

   1377 (Fed. Cir. 2002). But “[Moderna] offers only an assumption and its own

   contentions.” Id., 1378; see also id., n.4 (“this Court finds puzzling [challenger’s]

   reluctance regarding this approach to generate extrinsic proof that the [prior art]

   patent inherently meets the [claim] limitation”).

         Despite bearing the burden, Moderna presented no affirmative evidence that

   lipid particles produced according to the ’554 publication necessarily meet the

   limitations of claim 1. This should be the end of the inquiry. In re Magnum Tools

   Int’l, 829 F.3d 1364, 1375 (Fed. Cir. 2016) (citing Dynamic Drinkware, LLC v.

   Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015)) (“In an inter partes

   review, the burden of persuasion is on the petitioner to prove unpatentability by a

                                            -71-

                                                                               JA002854
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 84 Page
                                                01/03/24  Filed:308
                                                                 07/28/2020
                                                                    of 910 PageID #: 9888




   preponderance of the evidence, 35 U.S.C. § 316(e), and that burden never shifts to

   the patentee.”) (internal quotes omitted).

         In the absence of evidence, the Board improperly placed the burden on

   Protiva to “definitively” prove that the L054 lipid mixture did not produce the

   claimed particles. Appx23 (“Dr. Thompson does not definitively testify that the

   nucleic acid-lipid particle that is formed from the L054 formulation would fall

   outside of the claimed range”); Appx24 (Dr. Thompson would not confirm that

   none of the particles produced by the L054 formulation process would have less

   than 2 mole percent of conjugated lipid”). In so doing, the Board improperly

   shifted the burden to Protiva to prove that particles that might be produced by

   L054 would necessarily fall outside the claims. That is, the Board found

   anticipation on an unsubstantiated inherency theory that it required the non-moving

   party to disprove. The Board’s decision is legally erroneous in that it represents an

   improper burden shift.

   II.   Board Improperly Denied Motion to Amend

         This Court need not reach the amended claims should it affirm the Board’s

   non-obviousness findings challenged by Moderna and reverse the Board’s

   anticipation findings per Protiva’s cross-appeal. Under such circumstances, the

   contingency in Protiva’s contingent motion to amend will never have been




                                           -72-

                                                                              JA002855
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 85 Page
                                                01/03/24  Filed:309
                                                                 07/28/2020
                                                                    of 910 PageID #: 9889




   triggered. To the extent the issue is reached, the Board’s denial of the motion to

   amend was improper.

         In response to the preliminary claim construction adopted by the Board in its

   institution decision, Protiva offered a contingent motion to amend making explicit

   the claim construction it proffered in its preliminary response of requiring serum

   stability, and hence, encapsulation5 of the nucleic acid.

         The Board found inherent anticipation of the amended claims over the L054

   formulation in the ’554 publication for the same rationale if determined original

   claim 1 was anticipated. See Section Protiva’s Cross-Appeal, Section I.B, above.

   The Board’s findings are erroneous for at least the same reasons explained above.

         Additionally, Moderna did not bring a prior art challenge in its opposition

   paper. E.g., Appx483-484 (noting that the opposition did not articulate a prior art

   challenge, requiring Protiva to speculate as to its theory of the unpatentability of

   the amended claims). Despite Moderna’s failure to mount a prior art

   unpatentability case in its opposition, the Board assumed that petition grounds

   were asserted in opposition. Appx47 (citing Appx455-467); 37 C.F.R. §42.6(a)(3)

   (“Arguments must not be incorporated by reference from one document into

   another document.”).



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             Protiva preserves this issue of claim construction if remanded to the Board.

                                            -73-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 86 Page
                                                01/03/24  Filed:310
                                                                 07/28/2020
                                                                    of 910 PageID #: 9890




         Perhaps tacitly acknowledging that the opposition did not present a prior art

   unpatentability ground, the Board cites Bosch Auto. Serv. Sols., LLC v. Matal, 878

   F.3d 1027, 1040 (Fed. Cir. 2017), as amended on reh’g in part (Mar. 15, 2018) for

   the proposition that the “Board itself also may justify any finding of

   unpatentability by reference to evidence of record in the proceeding.” Appx46-47.

   However, the fact that the ’554 publication was of record does not remedy that the

   first time Protiva was put on notice of a challenge to the proposed substitute claims

   based on anticipation over the L054 formulation was the Board’s final written

   decision. Because Protiva did not have an opportunity to address that challenge

   before the issuance of the final written decision, to the extent this Court remands

   this case to the Board to address the obviousness of the claims, it should be further

   instructed to allow Protiva the opportunity to respond to the anticipation challenge

   of the amended claims set forth by the Board in its final written decision. See

   Nike, Inc. v. Adidas AG, 955 F.3d 45, 51 (Fed. Cir. 2020) (noting that if the Board

   sua sponte raises a patentability issue as to substitute claims, it should provide

   notice and an opportunity to respond to the parties); see also Hunting Titan, Inc. v.

   Dynaenergetics Europe GMBH, IPR2018-00600, Paper 67 at 4 (PTAB, July 6,

   2020) (precedential) (noting that the Board should only raise own ground of

   unpatentability as to a motion to amend “in certain rare circumstances.”).




                                           -74-

                                                                                JA002857
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 87 Page
                                                01/03/24  Filed:311
                                                                 07/28/2020
                                                                    of 910 PageID #: 9891




                                     CONCLUSION

         Accordingly, Protiva respectfully requests that the Board’s decision as to the

   non-obviousness of claims 7, 8, 10, 11, 13, and 16-20 be affirmed. Protiva also

   requests that the Board’s decision as to the anticipation of claims 1-6, 9, 12, 14,

   and 15 be reversed.




   July 27, 2020                           /s/ Michael T. Rosato
                                           Michael T. Rosato
                                           Attorney for Cross-Appellant
                                           Protiva Biotherapeutics, Inc.




                                           -75-

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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 88 Page
                                                01/03/24  Filed:312
                                                                 07/28/2020
                                                                    of 910 PageID #: 9892




                                ADDENDUM




                                                                           JA002859
             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 89 Page
                                                01/03/24  Filed:313
                                                                 07/28/2020
                                                                    of 910 PageID #: 9893




                                  EXHIBIT 1




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Case          Case: 20-1184Document
      1:22-cv-00252-MSG
Vancouver                     Document:
                                    181-467-1
                                           Filed Page: 90 Page
                                                 01/03/24  Filed:314
                                                                  07/28/2020
                                                                     of 910 PageID #: 9894
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                                                                                     NO. 5169829
                                                                             VANCOUVER REGISTRY

                          IN THE SUPREME COURT OF BRITISH COLUMBIA

    BETWEEN

                   ACUITAS THERAPEUTICS INC.

                                                                                             PLAINTIFF

    AND

                   ARBUTUS BIOPHARMA CORPORATION

                                                                                           DEFENDANT

                                    RESPONSE TO COUNTERCLAIM

    Filed by:      The Plaintiff, Acuitas Therapeutics Inc. (the “responding party”)


    PART 1:        RESPONSE TO COUNTERCLAIM FACTS

                                  DIVISION I   —   RESPONSE TO FACTS

    1.      The facts alleged in none of the paragraphs of Part 1 of the Counterclaim are admitted.

    2.      The facts alleged in paragraphs 1 and 2 of Part I of the Counterclaim are denied.

    3.      The facts alleged in none of the paragraphs of Part 1 of the Counterclaim are outside the
            knowledge of the responding party.

                      DIVISION 2— RESPONDING PARTY’S VERSION OF FACTS

    1.      The responding party denies each and every allegation contained in the Counterclaim
            except as admitted herein.

    2.      The responding party repeats and relies on the facts set out in the Notice of Civil Claim.

    3.      In response to paragraph 10 of the Response to Civil Claim (relied on in the Counterclaim),
            gene therapy is not as described by the Defendant; rather, it is the delivery of mRNA or
            DNA into cells to express a protein. In the case of therapeutic applications of gene therapy,
            the expressed protein would provide a pharmacological benefit.



   MT DOCS 16139904
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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 91 Page
                                                01/03/24  Filed:315
                                                                 07/28/2020
                                                                    of 910 PageID #: 9895




   4.     In response to paragraph 11 of the Response to Civil Claim (relied on in the Counterclaim),
          the meaning of “target” is not as described by the Defendant; rather, the meaning is defined
          in the Cross License Agreement. Further, gene therapy targets may comprise entire coding
          regions of the gene or the entire gene.

   5.     In response to paragraph 24 of the Response to Civil Claim (relied on in the Counterclaim),
          on or about May 27, 2015, Acuitas provided Arbutus (then Tekmira Pharmaceuticals Corp.)
          a copy of the sublicense granted to Moderna (the “Moderna Sublicense”), in accordance
          with the terms of the Cross License Agreement.

   6.     The Moderna Sublicense specifically refers to the terms of a Development and Option
          Agreement entered into by Acuitas and Moderna.

   7.     The terms of the Moderna Sublicense provide that the sublicense is for a licensed target, in
          this case Influenza A, as opposed to a specific formulated product.

   8.     Further, the Moderna Sublicense expressly grants Moderna a sublicense to technology in-
          licensed to Acuitas, pursuant to the terms of the applicable in-license.

   9.     As such, as of May 2015, Arbutus was aware of Acuitas’ work with Moderna under the
          Moderna Sublicense and the specific terms of the sublicense.

   10.    Arbutus has also benefitted from Acuitas’ work with Moderna. In February 2016, Acuitas
          notified Arbutus that Acuitas had achieved a milestone under the Cross License Agreement
          in connection with its work with Moderna and paid Arbutus a milestone payment, as required
          by the Cross License Agreement. Arbutus has never returned this payment.

   11.    Until June 2016, at no time did Arbutus express concerns with respect to Acuitas’ work with
          Moderna or the Moderna Sublicense.

   12.    In response to paragraph 25 of the Response to Civil Claim (relied on in the Counterclaim),
          at all times, Acuitas has abided by the terms of the Cross License Agreement. Specifically,

          (a)     Acuitas was never assisted by, nor did it collaborate with, Moderna using Arbutus’
                  technology without a license; no rights are provided to Moderna to use Arbutus
                  technology in the Development and Option Agreement unless and until a sublicense
                  is entered into;



   MT DOCS 16139904
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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 92 Page
                                                01/03/24  Filed:316
                                                                 07/28/2020
                                                                    of 910 PageID #: 9896




           (b)     Acuitas did not grant a sublicense to Moderna before it had developed a
                   Sublicensable Product;

           (c)     The Cross License Agreement does not restrict sublicensing to a “specific
                   formulated product”, as alleged; rather, it permits Acuitas to grant Moderna a target
                   license:

                   fi)      Sublicensable Product is defined in the Cross License Agreement as

                               a Supplemental Field Product that has been developed by Acuitas and for which
                              • .



                            Acuitas has shown (i) in the case of an Antisense product, a pharmacological effect
                            of that product against the Target or (ii) in the case of a Gene Therapy product a
                            pharmacological effect resulting from expression of the protein, in both cases in in
                            vivo studies in a small animal species;

                   (ii)     Target is defined in the Cross License Agreement as

                               any of (a) a nucleic acid that encodes or is required for expression of a
                            • . .



                            polypeptide (including without limitation messenger RNA and miRNA), together
                            with all variants of such polypeptide; (b) the set of nucleic acids that encode a
                            defmed non-peptide entity, including a microorganism, virus, bacterium or a single
                            cell parasite; provided that the entire genome of a microorganism, virus, bacterium,
                            or single cell parasite shall be regarded as a single Target; or (c) naturally occurring
                            interfering RNA or miRNA or a precursor thereof;

                   ( iii)   Section 3.1 of the Cross License Agreement provides:

                            for the purposes of section 3.1, a Supplemental Field Product shall be considered
                            the same Supplemental field Product provided that the intended Targets remain the
                            same and, for greater certainty, any change of the lipid nanoparticle formulation or
                            any other drug delivery particle, vehicle and/or mechanism or change in the
                            Antisense or DNA plasmids or mRNA (the “Acuitas Payloads”) or any chemical
                            modification to the Acuitas Payloads, any change in dosages strength, an change in
                            the sequence of the Acuitas Payloads for the intended Target, or any addition of or
                            change in any other active pharmaceutical ingredients delivered with the Acuitas
                            payloads, does NOT constitute a new Supplemental Field Product if the intended
                            Target remains the same;

           (d)     The Moderna Sublicense is for a vaccine; a vaccine is a Gene Therapy product as
                   defined in the Cross License Agreement; and

           (e)     The Moderna Sublicense otherwise complied with the definition of Supplemental
                   Field Product.

    13.    In response to paragraph 27 of the Response to Civil Claim (relied on in the Counterclaim),
           the Cross License Agreement does not prohibit Acuitas from developing products jointly with
           third parties. Further, the licensing options granted to Moderna pursuant to the Development
           and Option Agreement were merely options, not sublicenses; no rights were granted to
           Moderna thereunder unless and until a sublicense was granted by Acuitas in accordance
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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 93 Page
                                                01/03/24  Filed:317
                                                                 07/28/2020
                                                                    of 910 PageID #: 9897




          with the Cross License Agreement. Accordingly, Acuitas was not required to test products
          over which those options were granted in a small animal species, or meet any other of the
          requirements of the Cross License Agreement.

   14.    In response to paragraph 28 of the Response to Civil Claim (relied on in the Counterclaim),
          Acuitas gave notice to Arbutus of a second sublicense entered into with Moderna, in
          accordance with the Cross License Agreement. Acuitas denies that it breached the Cross
          License Agreement in respect of the second sublicense and repeats and relies on the facts
          pleaded in paragraph 12 herein with respect to that sublicense.

   15.    In response to paragraph 29 of the Response to Civil Claim, Acuitas has not provided
          Arbutus’ technology to other third parties in breach of its obligations under the Cross
          License Agreement or otherwise.

                                 DIVISION 3— ADDITIONAL FACTS

   16.    N/A


   PART 2:        RESPONSE TO RELIEF SOUGHT

   17.    The responding party consents to the granting of the relief sought in none of the paragraphs
          of Part 2 of the Counterclaim.

   18.    The responding party opposes the granting of relief sought in paragraph 3 of Part 2 of the
          Counterclaim.

   19.    The responding party takes no position on the granting of the relief sought in none of the
          paragraphs of Part 2 of the Counterclaim.


   PART 3:        LEGAL BASIS

   20.    The whole of the Counterclaim should be dismissed as there are no breaches of contract,
          no wrongful gains, and no damages suffered by the Defendant.

   21.    Acuitas has not breached its obligations under the Cross License Agreement, as alleged, or
          at all, and, in specific response to paragraph 4 of the Counterclaim:



   MT DOCS 16139904
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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 94 Page
                                                01/03/24  Filed:318
                                                                 07/28/2020
                                                                    of 910 PageID #: 9898




          (a)     the Cross License Agreement does not restrict sublicensing to a “specific formulated
                  product”, as opposed to a target;

           (b)    the sublicenses granted by Acuitas are for products that are Supplemental Field
                  Products, specifically, Gene Therapy products, as these terms are defined in the
                  Cross License Agreement;

           (c)    Acuitas is free to grant sublicensing options to third parties; the Cross License
                  Agreement does not require Acuitas to demonstrate a pharmacological effect in a
                  small animal study prior to granting a sublicensing option;

           (d)     at no time did Acuitas grant sublicenses for Supplemental Field Products prior to
                   demonstrating their pharmacological effects in a small animal study;

           (e)     the sublicenses granted were for products that were developed by Acuitas;

           (f)     Acuitas did not provide or sell Arbutus’ technology to third parties independent of a
                   Supplemental Field Product; and

           (g)     Acuitas did not encourage or permit any third party to use Arbutus’ technology
                   without a license or a sublicense.

   22.     In the alternative, if the Defendant suffered any damages, which is denied, then the
           damages claimed are remote, not available at law, and the Defendant failed to mitigate the
           damages.

   23.     Further, and in the alternative, if Acuitas breached the Cross License Agreement, which is
           denied, then Acuitas is entitled to equitable relief and Arbutus is estopped from relying on its
           rights under the Cross License Agreement on the basis that its conduct, including its
           awareness of the terms of the Moderna Sublicense and its acceptance of milestone and
           other payments from Acuitas, encouraged Acuitas to believe that Arbutus did not intend to
           rely on its strict rights, which caused Acuitas to act to its prejudice.




    MT DOCS 16139904
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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 95 Page
                                                01/03/24  Filed:319
                                                                 07/28/2020
                                                                    of 910 PageID #: 9899




   Address for service of the responding party:

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                                                                   -
    DATED:       December 9, 2016
                                                              Miranda Lam
                                                              Counsel for the Plaintiff


   Rule 7-1 (1) of the Supreme Court Civil Rules states:

   1.      Unless all parties of record consent or the court otherwise orders, each party of record to
           an action must, within 35 days after the end of the pleading period,

           (a)        prepare a list of documents in Form 22 that lists

                  (i)    all documents that are or have been in the party ‘s possession or control
                  and that could, if available, be used by any party at trial to prove or disprove a
                  material fact, and

                  (ii)       all other documents to which the party intends to refer at trial, and

           (b)    serve the list on all parties of record.




   MT DOCS 16139904
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             Case: 20-1184Document
Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 96 Page
                                                01/03/24  Filed:320
                                                                 07/28/2020
                                                                    of 910 PageID #: 9900




                         CERTIFICATE OF COMPLIANCE

         I certify that this brief complies with the type-volume limitation of Fed. Cir.

   R. 28.1(b)(2)(A). The brief contains 16,352 words, excluding the parts of the brief

   exempted by Fed. R. App. P. 32 (f) and Fed. Cir. R. 32(b)(2). This brief complies

   with the typeface requirements of Fed. R. App. P. 32(a)(5) and the type style

   requirements of Fed. R. App. P. 32(a)(6). The brief has been prepared in a

   proportionally spaced typeface using Microsoft Word 2010 in 14 point Times New

   Roman font.


   July 27, 2020                          /s/ Michael T. Rosato
                                          Michael T. Rosato
                                          Attorney for Cross-Appellant
                                          Protiva Biotherapeutics, Inc.




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Case 1:22-cv-00252-MSG       Document:
                                   181-467-1
                                          Filed Page: 97 Page
                                                01/03/24  Filed:321
                                                                 07/28/2020
                                                                    of 910 PageID #: 9901




                            CERTIFICATE OF SERVICE

         I certify that counsel for the parties have been served with a true and correct

   copy of the foregoing document via this Court’s CM/ECF system on July 27, 2020.



                                          /s/ Michael T. Rosato
                                          Michael T. Rosato
                                          Attorney for Cross-Appellant
                                          Protiva Biotherapeutics, Inc.




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              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 67-2   Page: 1 Page
                                          Filed 01/03/24 Filed:322
                                                                07/28/2020
                                                                   of 910 PageID #: 9902



   FORM 31. Certificate of Confidential Material                                          Form 31
                                                                                         July 2020


                        UNITED STATES COURT OF APPEALS
                           FOR THE FEDERAL CIRCUIT

                       CERTIFICATE OF CONFIDENTIAL MATERIAL

                Case Number: 20-1184, -1186

     Short Case Caption: ModernaTX, Inc. v. Protiva Biotherapeutics, Inc.

    Instructions: When computing a confidential word count, Fed. Cir. R.
    25.1(d)(1)(C) applies the following exclusions:

        x   Only count each unique word or number once (repeated uses of the same
            word do not count more than once).

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            time in the preceding filing.

    The limitations of Fed. Cir. R. 25.1(d)(1) do not apply to appendices; attachments;
    exhibits; and addenda. See Fed. Cir. R. 25.1(d)(1)(D).


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                    Fed. Cir. R. 25.1(d)(1)(B) for cases under 19 U.S.C. § 1516a or 28
                    U.S.C. § 1491(b).

                    This number exceeds the maximum permitted by Federal Circuit Rule
                    25.1(d)(1), and the filing is accompanied by a motion to waive the
                    confidentiality requirements.
           07/27/2020
     Date: _________________                       Signature:   /s/ Michael T. Rosato

                                                                Michael T. Rosato
                                                   Name:




                                                                                        JA002869
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 323 of 910 PageID #: 9903




                   JOINT APPENDIX 73
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 1 Filed:
                                              01/03/24 Page 11/09/2020
                                                             324 of 910 PageID #: 9904




                                No. 2020-1184, -1186


            UNITED STATES COURT OF APPEALS
               FOR THE FEDERAL CIRCUIT

                MODERNATX, INC., FKA MODERNA THERAPEUTICS, INC.,
                                   Appellant,

                                          v.

                           PROTIVA BIOTHERAPEUTICS, INC.,
                                  Cross-Appellant,

   ANDREI IANCU, UNDERSECRETARY OF COMMERCE FOR INTELLECTUAL PROPERTY
      AND DIRECTOR OF THE UNITED STATES PATENT AND TRADEMARK OFFICE,
                                 Intervenor

              Appeal from the United States Patent and Trademark Office,
                Patent Trial and Appeal Board in No. IPR2018-00739

                      REPLY BRIEF OF CROSS-APPELLANT
                       PROTIVA BIOTHERAPEUTICS, INC.


    Michael T. Rosato                      Lora M. Green
    Steven W. Parmelee                     Richard Torczon
    Sonja R. Gerrard                       WILSON SONSINI GOODRICH & ROSATI
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                                           Counsel for Cross-Appellant
                                           Protiva Biotherapeutics, Inc.

   November 9, 2020




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              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 2 Filed:
                                              01/03/24 Page 11/09/2020
                                                             325 of 910 PageID #: 9905




                           CERTIFICATE OF INTEREST

         Counsel for Cross-Appellant Protiva Biotherapeutics, Inc. certifies the

   following:

         1.     Represented Entities. Provide the full names of all entities

   represented by undersigned counsel in this case. Fed. Cir. R. 47.4(a)(1):

   Protiva Biotherapeutics, Inc.

         2.     Real Party in Interest. Provide the full names of all real parties in

   interest for the entities. Do not list the real parties if they are the same as the

   entities. Fed. Cir. R. 47.4(a)(2): Genevant Sciences, Ltd., Genevant Sciences

   Holdings Limited, Genevant Sciences Corporation, Genevant Sciences, Inc., and

   Genevant Sciences GmbH.

         3.     Parent Corporations and Stockholders. Provide the full names of

   all parent corporations for the entities and all publicly held companies that

   own 10% or more stock in the entities. Fed. Cir. R. 47.4(a)(3): Protiva

   Biotherapeutics, Inc. existed as a wholly-owned subsidiary of Arbutus Biopharma

   Corporation. Protiva Biotherapeutics, Inc. was amalgamated into Arbutus

   Biopharma Corporation in January 2018. No publicly held company owns more

   than 10% of Arbutus Biopharma Corporation’s stock.

         4.     Legal Representatives. List all law firms, partners, and associates

   that (a) appeared for the entities in the originating court or agency or (b) are


                                          -i-

                                                                              JA002871
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 3 Filed:
                                              01/03/24 Page 11/09/2020
                                                             326 of 910 PageID #: 9906




   expected to appear in this court for the entities. Do not include those who have

   already entered an appearance in this court. Fed. Cir. R. 47(a)(4): Edward R.

   Reines and Derek C. Walter of Weil, Gotshal & Manges LLP.

         5.    Related Cases. Provide the case titles and numbers of any case

   known to be pending in this court or any other court or agency that will

   directly affect or be directly affected by this court’s decision in the pending

   appeal. Do not include the originating case number(s) for this case. Fed. Cir.

   R. 47.4(a)(5). See also Fed. Cir. R. 47.5(b): The following case may be directly

   affected by this Court’s decision in the pending appeal: Moderna Therapeutics,

   Inc. v. Protiva Biotherapeutics, Inc., Case No. IPR2018-00680 (PTAB); and

   ModernaTX, Inc. v. Arbutus Biopharma Corporation, Case No. 20-2329 (CAFC).

         6.    Organizational Victims and Bankruptcy Cases. Provide any

   information required under Fed. R. App. P. 26.1(b)(organizational victims in

   criminal cases) and 26.1(c)(bankruptcy case debtors and trustees). Fed. Cir.

   R. 47.4(a)(6): None/Not applicable.


   November 9, 2020                              /s/ Michael T. Rosato
                                                Michael T. Rosato
                                                Attorney for Cross-Appellant
                                                Protiva Biotherapeutics, Inc.




                                         -ii-

                                                                            JA002872
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 4 Filed:
                                              01/03/24 Page 11/09/2020
                                                             327 of 910 PageID #: 9907




                                            TABLE OF CONTENTS

   CERTIFICATE OF INTEREST ............................................................................ i

   TABLE OF CONTENTS ..................................................................................... iii

   TABLE OF AUTHORITIES ............................................................................... iv

   INTRODUCTION ................................................................................................ 1

   ARGUMENT ........................................................................................................ 4

            Moderna’s Retreat from Inherent Anticipation Underscores Board Error .. 4

            Neither Moderna’s New Arguments Nor the Evidentiary Record
            Support Anticipation.................................................................................... 7

            Moderna’s Defective Obviousness Challenge Cannot be Remedied By
            Remand ...................................................................................................... 13

            The Board Erred in Denying Protiva’s Motion to Amend ........................ 16

   CONCLUSION ................................................................................................... 20

   CERTIFICATE OF COMPLIANCE

   CERTIFICATE OF SERVICE




                                                            -iii-

                                                                                                                JA002873
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 5 Filed:
                                              01/03/24 Page 11/09/2020
                                                             328 of 910 PageID #: 9908




                                      TABLE OF AUTHORITIES

                                                                                                         Page(s)

                                                       Cases

   Arendi SARL v. Apple Inc.,
      832 F.3d 1355 (Fed. Cir. 2016) .......................................................................... 14

   Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc.,
      246 F.3d 1368 (Fed. Cir. 2001) ............................................................................ 5

   Carbino v. West,
     168 F.3d 32 (Fed. Cir. 1999) ................................................................................ 7

   Cont’l Can Co. v. Monsanto Co.,
     948 F.2d 1264 (Fed. Cir. 1991) .................................................................... 10, 11

   Crown Ops. Int’l, Ltd. v. Solutia Inc.,
     289 F.3d 1367 (Fed. Cir. 2002) .......................................................................... 12

   E.I. duPont de Nemours & Co. v. Synvina C.V.
      904 F.3d 996 (Fed. Cir. 2018) ............................................................................ 15

   Hunting Titan, Inc. v. Dynaenergetics Europe GMBH,
     IPR2018-00600, Paper 67 (PTAB, July 6, 2020) .........................................18, 20

   Intelligent Bio-Systems v. Illumina Cambridge,
      821 F.3d 1359 (Fed. Cir. 2016) .......................................................................... 15

   In re Magnum Tools Int’l,
       829 F.3d 1364 (Fed. Cir. 2016) .................................................................... 12, 14

   Nike, Inc. v. Adidas AG,
      955 F.3d 45 (Fed. Cir. 2020) .............................................................................. 19

   In re Peterson,
       315 F.3d 1325 (Fed. Cir. 2003) .......................................................................... 15

   Takeda Chem. Ind., Ltd. v. Alphapharm Pty., Ltd.,
      492 F.3d 1350 (Fed. Cir. 2007) .......................................................................... 15



                                                       -iv-

                                                                                                      JA002874
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 6 Filed:
                                              01/03/24 Page 11/09/2020
                                                             329 of 910 PageID #: 9909




                                                         Statutes

   35 U.S.C. § 316(e) ................................................................................................... 12

                                                 Other Authorities

   37 C.F.R. § 42.6(a)(3) .............................................................................................. 19




                                                           -v-

                                                                                                             JA002875
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 7 Filed:
                                              01/03/24 Page 11/09/2020
                                                             330 of 910 PageID #: 9910




                                    INTRODUCTION

         The Board erred in its final written decision in finding that claims 1-6, 9, 12,

   and 14-15 of U.S. Patent No. 9,364,435 (“the ’435 patent’) are anticipated by the

   L054 formulation disclosed in Table IV of U.S. Publication No. 2006/0240554

   (“the ’554 publication”). Independent claim 1 is drawn to a nucleic acid-lipid

   particle of specified lipid concentrations. It was undisputed before the Board that

   the relied upon L054 formulation is a list of starting ingredients used in making

   particles and not the lipid concentrations of the particles that ultimately result from

   the downstream fabrication process. It was also undisputed before the Board and

   corroborated with record evidence that 1) the ’554 publication is silent regarding

   particle composition; and 2) the ordinary artisan knew that finished particle

   compositions could, depending on fabrication method, deviate significantly from

   the starting ingredient composition.

         Moreover, although proving no inherency was never Protiva’s burden,

   Protiva provided argument and evidence as to why merely assuming anticipation is

   improper. For example, Protiva’s expert explained, and Moderna’s expert never

   disputed, that the ’554 fabrication process would preferentially extract out

   cholesterol compared to conjugated lipid, thereby skewing the resulting particle

   composition to be relatively higher in conjugated lipid compared the starting

   ingredient composition. This is particularly significant here since the conjugated


                                            -1-

                                                                                JA002876
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 8 Filed:
                                              01/03/24 Page 11/09/2020
                                                             331 of 910 PageID #: 9911




   lipid of the L054 starting formulation is at the upper edge (2 mol %) of the claimed

   range, such that any upward skewing of the conjugated lipid component in the

   resulting particles knocks the particles outside the scope of the challenged claims.

   Moderna, like the Board’s decision, sidesteps this evidence entirely.

         Despite the silence of the cited reference on the critical issue of particle

   composition and the lack of alternate evidence to fill the void, the Board

   nevertheless found the claims anticipated by the ’554 publication. In so doing, the

   Board improperly shifted the burden to Protiva to “definitively” prove no

   inherency, erred as a matter of law, and reached a conclusion lacking the support

   of substantial evidence.

         In its reply before this Court, Moderna backpedals, attempting to re-write the

   record in a manner that remedies the Board’s erroneous analysis. Moderna

   attempts to dispense with the Board’s legal error by now arguing that, because the

   term “inherency” is not recited in the decision, the entire legal framework of

   inherent anticipation was not before the Board. If this is true, it merely simplifies

   the basis for reversal.1 A claim is anticipated if the subject matter is disclosed in

   the prior art either expressly or inherently. There is no finding by the Board that

   the ’554 publication expressly discloses the lipid composition of finished L054


         1
          This is particularly true if Moderna concedes that inherent anticipation is
   unsubstantiated.

                                            -2-

                                                                                JA002877
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                         Document 181-4 83
                                         FiledPage: 9 Filed:
                                              01/03/24 Page 11/09/2020
                                                             332 of 910 PageID #: 9912




   particles, and there could not be because no such disclosure exists. Thus, if

   Moderna only raised an express anticipation theory in its petition, that theory

   unquestionably fails because, as acknowledged by all, Moderna’s petition pointed

   only to a list of starting ingredients for L054 and not any particle with a lipid

   composition that satisfies the limitations of the challenged claim. Beyond that,

   Moderna does not meaningfully rebut the Board’s legal error and improper burden

   shifting as it pertains to the inherent anticipation theory that is plainly evident in

   the Board’s decision.

         Moderna attempts to rewrite supporting evidence as well. Before the Board,

   Protiva correctly pointed out Moderna’s petition case misapprehended the content

   of the ’554 publication by pointing to a list of starting ingredients rather than

   finished particles (on which the reference is silent). Moderna did not dispute this

   fact, only arguing that such starting ingredient information is conventionally

   included. Even if Moderna’s argument is accepted as true, the resulting particle

   composition remains unaddressed. Perhaps realizing too late the insufficiency of

   this assertion, Moderna now argues something different—i.e., that starting

   ingredient information is “an indicator” of final particle composition. Not only

   was this argument never advanced before the Board, and therefore waived, it lacks

   supporting evidence. Record evidence, including expert testimony and multiple

   corroborating literature reference, states precisely the opposite.


                                            -3-

                                                                                  JA002878
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 10 Page
                                                 01/03/24 Filed: 333
                                                                 11/09/2020
                                                                     of 910 PageID #: 9913




         This Court should also decline to remand the case for consideration of

   Moderna’s alternate obviousness theory. Moderna never developed any

   meaningful obviousness theory before the Board, as the Board’s decision correctly

   observed, and routine optimization, on which obviousness based on overlapping

   ranges is predicated, was effectively conceded as inapplicable. Moderna would not

   be able to remedy its misplaced and deficient obviousness case on remand, making

   such a remand futile. The new arguments and theories Moderna raise on appeal

   were not before the Board and have therefore been waived.

         Finally, the Board legally erred in denying Protiva’s contingent motion to

   amend. Besides being procedurally infirm, the Board’s anticipation finding as to

   the proposed substitute claims suffers presents the same shortcomings as the

   Board’s anticipation finding as to the original claims.

         Accordingly, Protiva respectfully requests this Court to reverse the Board’s

   finding that claims 1-6, 9, 12, 14, and 15 are anticipated by the ’554 publication.

   Moreover, given the legal and factual deficiencies in Moderna’s obviousness case,

   Moderna’s request for a futile remand on obviousness should be denied.

                                      ARGUMENT

         Moderna’s Retreat from Inherent Anticipation Underscores Board
         Error

        The claims of the ’435 patent are drawn to nucleic acid-lipid particles having

   a specified lipid composition. The Board found that claims 1-6, 9, 12, 14, and 15

                                           -4-

                                                                               JA002879
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 11 Page
                                                 01/03/24 Filed: 334
                                                                 11/09/2020
                                                                     of 910 PageID #: 9914




   are anticipated by the L054 formulation disclosed in Table IV of the ’554

   publication. Appx0017-0018. Protiva pointed out, however, that the L054

   formulation is a listing of starting ingredients used in making particles, and that the

   reference is silent as to the lipid compositions of the final particles themselves.

   Appx0322-0326; Appx0504-0508. Neither Moderna nor the Board has ever

   rebutted these facts. Appx0020-0021; Appx0428-0430. Before the Board,

   Moderna freely acknowledged that the ’554 publication only discloses the input

   percentages. Appx0428 (“The ’554 publication uses input percentages in

   describing its formulations as opposed to lipid percentages in the final particles,

   but that was accepted practice in the field.”); Appx4651 (¶27) (same).

        There are two ways a claim may be anticipated, either expressly or inherently.

   Bristol-Myers Squibb Co. v. Ben Venue Labs., Inc., 246 F.3d 1368, 1374 (Fed. Cir.

   2001). Moderna now argues that inherent anticipation was not before the Board.

   Moderna’s Corrected Reply Brief and Response to Cross-Appeal (“Reply”) at 40.

   To the extent this argument is accepted, the issues before this court are simplified.

   Moderna, like the Board’s decision, never identifies any express disclosure in the

   ’554 publication regarding lipid particle composition because there is no such

   disclosure.

         Moreover, Moderna’s waiver arguments are misplaced. E.g., Reply at 40.

   Before the Board, Protiva specifically argued, and Moderna never disputed, that


                                            -5-

                                                                                JA002880
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 12 Page
                                                 01/03/24 Filed: 335
                                                                 11/09/2020
                                                                     of 910 PageID #: 9915




   the ’554 publication is silent as to lipid composition of finished L054 particles.

   Appx0322-0326, Appx0504-0508. Protiva also presented argument and evidence,

   including expert testimony corroborated with scientific literature, establishing that

   skilled artisans did not simply assume that finished particles presented the same

   lipid composition as the starting ingredient formulation. Appx0323-0326 (citing

   Appx5242-5244 (Moderna’s expert, Dr. Janoff, testifying that the input and output

   formulation are not identical, for example, because cholesterol may not be

   recovered in the lipid particle); Appx4993-5001, e.g., Appx4995 (noting that a

   finished lipid particle must be tested to determine its final composition);

   Appx5001-5019 (FDA guidelines recommending labeling with the recommending

   labeling with the “amount of each lipid component used in the formulation based

   on the final form of the product” and “[a]n expression of the molar ratio of each

   individual lipid to the drug substance is also recommended for each individual

   lipid in the finished formulation)). In sur-reply, Protiva further elaborated on those

   deficiencies and the lack of argument or evidence (and seeming acknowledgement)

   from Moderna in reply. Appx0504-0508; Appx4921-4925 (¶¶110-115) (Protiva’s

   expert, Dr. Thompson, testifying that one would not expect the starting formulation

   to be the same as the resulting particle). In other words, Protiva comprehensively

   addressed why the cited L054 formulation failed to anticipate the challenged

   claims, expressly or otherwise. There is no requirement that Protiva foresee and


                                           -6-

                                                                                 JA002881
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 13 Page
                                                 01/03/24 Filed: 336
                                                                 11/09/2020
                                                                     of 910 PageID #: 9916




   preemptively address errors that arise in the Board’s final decision in order to

   challenge them on appeal.

        There is no viable or substantiated anticipation theory, express or inherent,

   because Moderna never developed one and the record evidence simply does not

   support such a finding.

         Neither Moderna’s New Arguments Nor the Evidentiary Record
         Support Anticipation

         Before the Board, Moderna acknowledged that the ’554 publication only

   disclosed the input ingredients for making particles but is silent regarding lipid

   composition of the finished particles. Appx0428 (“The ’554 publication uses input

   percentages in describing its formulations as opposed to lipid percentages in the

   final particles, but that was accepted practice in the field.”); Appx4651 (¶27)

   (same).

         In reply, Moderna attempts to remedy this evidentiary deficiency by

   recasting its arguments as something substantively different than what was

   presented to the Board. Carbino v. West, 168 F.3d 32, 34 (Fed. Cir. 1999) (A late

   or improper presentation of an argument—even on a question of law—need not,

   and ordinarily should not, be considered). Moderna now argues not just that

   starting ingredients were conventionally provided, but also that a starting

   formulation is “indicative of the lipid percentages in formulated particles.” Reply

   at 42. The Board never found, and the evidence does not support, this new

                                           -7-

                                                                                 JA002882
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 14 Page
                                                 01/03/24 Filed: 337
                                                                 11/09/2020
                                                                     of 910 PageID #: 9917




   assertion that a starting formulation is indicative of lipid composition of the

   resulting finished particles.

         As Protiva pointed out, the basis of the Board’s anticipation finding was not

   based on affirmative evidence that L054 resulting particles met the claim

   limitations (no such evidence exists), but on the irrelevant (and incomplete)

   observation that the ’435 patent also identifies formulation starting composition.

   Protiva’s Opening Brief of Cross-Appellant (“RB”) at 61-63, 66-68; Appx0021

   (“the ’435 patent describes nucleic acid-lipid particles in terms of mole percent of

   the formulation’s composition, not the particle, just as in the ’554 publication.”).

         Furthermore, the evidence regarding starting ingredient composition

   compared to the finished particle is one sided. Protiva’s expert, Dr. Thompson,

   explained with citation to corroborating scientific literature, that skilled artisans did

   not simply assume that finished particles presented the same lipid composition as

   the starting ingredient formulation. Appx0504-0508; Appx4921-4925 (¶¶110-

   115), Appx4993-5001; Appx5002-5019. Moderna never challenged this before the

   Board and there is no record evidence to the contrary.

         Moderna also advances the new argument that the ’554 publication uses the

   term “formulated molecular compositions” and cites to disparate pieces of

   disclosure to suggest that the starting ingredient composition listed in Table IV

   would identically present in some finished lipid particle product. Reply at 43-44.


                                            -8-

                                                                                 JA002883
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 15 Page
                                                 01/03/24 Filed: 338
                                                                 11/09/2020
                                                                     of 910 PageID #: 9918




   This argument was not advanced by the Board and no expert witness provided this

   interpretation Moderna’s attorneys now suggest. Before the Board, both experts

   acknowledged that the ‘’554 publication provides only lipid starting ingredient

   composition, but is silent with regard to the lipid composition of finished particles.

   RB at 61-65; Appx0020-0021, Appx0428-0429.

         In reply, Moderna mischaracterizes Protiva’s argument as “an enablement

   challenge” and attacks this strawman. Reply at 45. Rather than arguing

   enablement, Protiva responded to the anticipation challenge by pointing out the

   cited reference was silent regarding the lipid composition of finished particles (a

   point still unrebutted), thereby dispensing of express anticipation. Appx0322-

   0326; Appx0504-0508. With regard to inherent anticipation, Protiva argued with

   supporting evidence, including expert testimony and citation to corroborating

   literature, that the ’554 publication does not provide “sufficient detail to reasonably

   assume the resulting particles fall within the scope of claim 1.” RB at 62;

   Appx5007; Appx5012; Appx4921-4925 (¶¶109-116); Appx5242; Appx5243-5244;

   Appx5244-5255; Appx4995; Appx4924-4925 (¶¶113-115); Appx4442; Appx4447-

   4449; Appx4449; Appx0324; Appx0504-0505. It was Moderna’s burden to

   demonstrate that the ’554 publication and, specifically, the L054 formulation

   expressly or necessarily results in finished particles that meets all of the limitations

   of the nucleic acid-lipid particle of the challenged claims. Moderna failed to do so,


                                            -9-

                                                                                 JA002884
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 16 Page
                                                 01/03/24 Filed: 339
                                                                 11/09/2020
                                                                     of 910 PageID #: 9919




   whereas Protiva provided evidence demonstrating that anticipation could not

   merely be assumed.

         Moderna, in its reply, attempts to argue that the claims do not require a

   method of making. Reply at 44-45. Moderna misses the point. Regardless of the

   method used to formulate the starting ingredients into the particles, the final

   particles must necessarily have the claimed lipid composition. Cont’l Can Co. v.

   Monsanto Co., 948 F.2d 1264, 1268 (Fed. Cir. 1991) (“A party seeking to establish

   inherent anticipation must show that a person of ordinary skill in the art would

   recognize that missing descriptive matter in a prior art reference is nevertheless

   necessarily present.”).

         It was undisputed before the Board that fabrication methods of the ’435

   patent are different from those of the ’554 publication, and there was also no

   dispute that the method used for formulating particles often affects the composition

   of finished product and most certainly would have done so in the case of L054.

   RB at 64. Reasons and evidence as to why a disparity between starting ingredients

   and finished particles would be of particular concern in the context of the ’554

   publication were provided and went unrebutted. RB at 63-65; Appx0323-0324;

   Appx0504-0508. As Table IV of the ’554 publication provides only the lipid

   composition of the L054 starting formulation and includes 2% conjugated lipid

   (PEG-n-DMG), which is right at the edge of the 0.5 mol % to 2 mol % range


                                           -10-

                                                                               JA002885
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 17 Page
                                                 01/03/24 Filed: 340
                                                                 11/09/2020
                                                                     of 910 PageID #: 9920




   claimed in the ’435 patent, the method of making the particles as disclosed in the

   ’554 publication is relevant. RB at 64-65. The undisputed evidence of record also

   demonstrates that those methods would more likely than not result in particles with

   lipid ratios well outside of the claimed ranges. Appx0505-0506. Neither Moderna

   nor the Board cites to any evidence that the L054 formulation of the ’554

   publication necessarily produces nucleic acid-lipid particles having the claimed

   lipid percentages. Cont’l Can, 948 F.2d at 1268.

         Moderna’s argument that the claims do not recite a method of making the

   particles is attempted misdirection and side-steps both Moderna’s burden as

   moving party and the pertinent issue of whether the cited ’554 publication

   expressly or inherently meets the requirements of the challenged claims. E.g.,

   Reply at 45. Moderna cannot escape the fact that the prior art simply does not

   address particle composition at all, let alone disclose a nucleic acid-lipid particle as

   required by claim 1.

         Despite disclaiming inherent anticipation as the operative legal theory before

   the Board, Moderna returns to arguing inherency in asserting one would have

   expected a bell-shape curve for the lipid percentages of the formed particles.

   Reply at 45-46. Moderna speculates as to the shape of a curve, but points to no

   evidence establishing lipid particles actually produced according to the ’554

   publication would necessarily fall within the scope of the challenged claims. There


                                            -11-

                                                                                 JA002886
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 18 Page
                                                 01/03/24 Filed: 341
                                                                 11/09/2020
                                                                     of 910 PageID #: 9921




   is no such evidence in the record and Moderna identifies none. In contrast,

   Dr. Thompson testified that whether any lipid particles would actually meet the

   challenged claims is “not an answerable question with any precision.” Appx0023

   (citing Appx4447). Moderna’s argument, and the Board’s decision, falls far short

   of the exacting standard necessary to substantiate a charge of inherent anticipation.

         Furthermore, Moderna is wrong in characterizing identified aspects of the

   Board’s decision as credibility determinations (Reply at 47-48), rather than the

   readily apparent improper burden shifting and legal error Protiva identified (RB at

   67-70). Even a cursory review of the Board’s findings reveals that it improperly

   placed the burden on Protiva to prove no inherency, rather than where the burden

   properly belongs, on Moderna to demonstrate inherency. In re Magnum Tools

   Int’l, 829 F.3d 1364, 1375 (Fed. Cir. 2016) (citing Dynamic Drinkware, LLC v.

   Nat’l Graphics, Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015)) (“In an inter partes

   review, the burden of persuasion is on the petitioner to prove unpatentability by a

   preponderance of the evidence, 35 U.S.C. § 316(e), and that burden never shifts to

   the patentee.”) (internal quotes omitted), Crown Ops. Int’l, Ltd. v. Solutia Inc.,

   289 F.3d 1367, 1377-78 (Fed. Cir. 2002) (noting that in an inter partes proceeding,

   the burden of showing inherency is on the challenger).

         Specifically, in discussing Dr. Thompson’s testimony, the Board stated “Dr.

   Thompson does not definitively testify that the nucleic acid-lipid particle would fall


                                           -12-

                                                                                JA002887
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 19 Page
                                                 01/03/24 Filed: 342
                                                                 11/09/2020
                                                                     of 910 PageID #: 9922




   outside of the claim range.” Appx0023 (emphasis added). The Board also noted

   that “Dr. Thompson’s opinion that no particles formed using the L054 formulation

   would be within the mole percentage ranges for lipids as require by claim one is

   speculative, and thus, not accorded weight.” Appx0024 (emphasis added). As is

   clear from the Board’s decision, the Board required Protiva, as the non-moving

   party, to definitively demonstrate a lack of inherency. This is an improper shifting

   of burden and constitutes legal error. Even in doing so, however, the Board

   acknowledged Dr. Thompson’s testimony that “the final formulation of the

   particles may be different from that of the [starting] formulation.” Appx0023

         Protiva respectfully requests that the Board’s finding that claims 1-6, 9, 12,

   and 14-15 are anticipated by the L054 starting formulation disclosed by the ’554

   publication be reversed. Moderna’s Reply fails to demonstrate that reversal is not

   warranted.

         Moderna’s Defective Obviousness Challenge Cannot be Remedied By
         Remand

         If this Court agrees that the Board’s finding of anticipation is erroneous, this

   Court should decline to remand the proceeding to the Board for a decision on

   Moderna’s obviousness case. Moderna’s obviousness theory developed before the

   Board as to claims 1-6, 9, 12, 14, and 15 fails for the same reasons elaborated in

   Protiva’s opening brief as to claims 7-8, 10-11, 13, and 16-20. RB at 50-61.

   Specifically, Moderna’s petition offered very little analysis with respect to alleged

                                           -13-

                                                                               JA002888
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 20 Page
                                                 01/03/24 Filed: 343
                                                                 11/09/2020
                                                                     of 910 PageID #: 9923




   obviousness of any challenged claim, failed to address numerous critical aspects of

   an obviousness inquiry, including the claimed subject matter as a whole, a reason

   to combine, a reasonable expectation of success, and whether the ordinary artisan

   would have found in the cited art overlapping lipid ranges recited in the dependent

   claims, let alone arrived at the claimed ranges given the broad ranges disclosed by

   the prior art. As the Board correctly determined in rejecting obviousness when the

   issue was reached, Moderna’s obviousness challenge suffered from a

   comprehensive failure of proof. E.g., Appx0035-0037. Any remand to address

   this deficient theory would be futile.

         Specifically, it is Moderna’s burden to demonstrate the obviousness of the

   claims. Magnum Tools, 829 F.3d at 1375. In meeting that burden, a petitioner

   cannot merely rely on conclusory statements, but must articulate specific

   reasoning, supported by the evidence of record, to support the legal conclusion of

   obviousness. Id. at 1380. In addition, this Court “must avoid ‘hindsight bias and

   must be cautious of arguments reliant upon ex post reasoning.’” Arendi SARL v.

   Apple Inc., 832 F.3d 1355, 1361 (Fed. Cir. 2016). Moreover, “[i]t is of the utmost

   importance that petitioners in the IPR proceedings adhere to the requirement that

   the initial petition identify ‘with particularity’ the ‘evidence that supports the

   grounds for the challenge to each claim.’” Intelligent Bio-Systems v. Illumina

   Cambridge, 821 F.3d 1359, 1369 (Fed. Cir. 2016).


                                            -14-

                                                                                 JA002889
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 21 Page
                                                 01/03/24 Filed: 344
                                                                 11/09/2020
                                                                     of 910 PageID #: 9924




         In its reply, Moderna relies heavily on the L054 formulation of the ’554

   publication, as well as the 2:40 formulation of the ’189 publication, as a basis from

   which an optimized cationic lipid proportion could be determined. E.g., Reply at

   33. However, Moderna did not make that argument in its petition. In addition,

   Moderna has still never provided a reason as to why the ordinary artisan would

   have picked those formulations as a starting point over the other formulations

   disclosed by the references. E.g., Takeda Chem. Ind., Ltd. v. Alphapharm Pty.,

   Ltd., 492 F.3d 1350, 1357 (Fed. Cir. 2007) (noting the failure to establish why the

   ordinary artisan would have chosen a certain compound as a lead compound, such

   as improved properties, and thus a target for modification). The only reason

   Moderna appears to have chosen those particular formulations as a starting point is

   their proximity to the claimed ranges, which is classic improper hindsight.

         In re Peterson, 315 F.3d 1325 (Fed. Cir. 2003) and E.I. duPont de Nemours

   & Co. v. Synvina C.V. 904 F.3d 996, 1006-8 (Fed. Cir. 2018) are also not

   applicable in an overlapping range case when the range disclosed by the prior art is

   so broad as to encompass a large amount of distinct compositions, as arriving at the

   claimed range goes beyond routine optimization. E.g., Appx0300-0301

   (discussing that the petition’s reliance on broad ranges is misplaced), Appx0328

   (noting that considerable differences exist between the prior art ranges and the

   claimed ranges); Appx0509-0510 (citing Peterson for proposition that ranges that


                                           -15-

                                                                              JA002890
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 22 Page
                                                 01/03/24 Filed: 345
                                                                 11/09/2020
                                                                     of 910 PageID #: 9925




   are not overly broad invite routine optimization). The ranges disclosed in the ’189

   and ’554 publications are dramatically broader than the claimed ranges. E.g.

   Appx1248-1249 (¶152) (’189 publication disclosing a “bilayer stabilizing

   component range” of “from about 0.5% to about 20% of the total lipid present in

   the particle,” which is much broader than the claimed range of 0.5 mol% to 2

   mol%); Appx1363 (¶313) (’554 publication disclosing a “bilayer stabilizing

   component range” of “from about 1% to about 20%”). Other than arguing the

   presence of encompassing and overlapping ranges, Moderna never provided any

   reason to pick the portion of the ranges taught by the prior art to arrive at the

   ranges required by claim 1. Again, the only apparent reason is improper hindsight.

         The Board Erred in Denying Protiva’s Motion to Amend

         This Court need not reach the amended claims should it affirm the Board’s

   non-obviousness findings challenged by Moderna and reverse the Board’s

   anticipation findings per Protiva’s cross-appeal. Under such circumstances, the

   contingency in Protiva’s contingent motion to amend will not be triggered. To the

   extent it is necessary to reach the issue, the Board’s denial of the motion to amend

   was improper.

         Moderna argues that the Board did not rely on inherent anticipation to reject

   Protiva’s contingent motion to amend. Reply at 50. That is, Moderna argues that

   Protiva never brought up inherent anticipation and that substantial evidence


                                            -16-

                                                                                 JA002891
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 23 Page
                                                 01/03/24 Filed: 346
                                                                 11/09/2020
                                                                     of 910 PageID #: 9926




   supports that it was accepted practice in the field to use input formulations as

   representing the lipid concentrations in the resulting particles. Id. These

   arguments fail for the same reasons that Moderna’s arguments as to inherent

   anticipation of the original claims above fail.

         Moderna asserts also that Protiva was on notice regarding anticipation of the

   amended claims over the L054 formulation because the L054 formulation, as well

   as the related disclosures, have been front and center throughout the proceeding.

   Reply at 50. In that regard, Moderna points out that Ground 3 of its petition raised

   anticipation and that it stated in its opposition that the proposed substitute claims

   did not remedy the invalidity issues in the petition. Id. at 50-51. According to

   Moderna, there is no rule requiring it to rehash the arguments made in its petition

   in its opposition to the motion to amend. Id. at 51-52. Moderna asserts also that

   the Board was required to address the patentability of the proposed substitute

   claims based on the entirety of the record. Id. at 52. Moderna asserts further that

   Example 9 of the ’554 publication, which the Board relied upon, was addressed in

   Ground 3 of the petition, as well as in its reply. Reply at 52.

         The Board has specifically rejected the above arguments in its precedential

   decision, Hunting Titan, Inc. v. Dynaenergetics Europe GMBH, IPR2018-00600,

   Paper 67 (PTAB, July 6, 2020) (precedential). Petitioner argued in that case that a

   ground of unpatentability that was raised in the petition provides sufficient notice


                                            -17-

                                                                                 JA002892
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 24 Page
                                                 01/03/24 Filed: 347
                                                                 11/09/2020
                                                                     of 910 PageID #: 9927




   as to the ground for a proposed substitute claim. Id. at 14. The Board firmly

   disagreed, noting that the proposed substitute claims include new limitations that

   were not in the original claims and which would not have been addressed in the

   petition. Id. at 15. According to the Board, such an approach “fails to balance the

   burdens on the parties properly,” as it leaves it to patent owner to guess which

   original challenges may be asserted against the proposed substitute claims, while

   absolving petitioner of any responsibility of identifying the challenges it believes

   are meritorious against the proposed substitute claims. Id. The Board concluded

   that “due process requires that a patent owner receive notice of how the prior art

   allegedly discloses the newly-added limitations of each proposed substitute claim,

   as well as a theory of unpatentability asserted against those claims.” Id. While

   holding that the Board may raise a ground of unpatentability that petitioner failed

   to advance or failed to insufficiently develop, the Board also held that the Board

   should only do so under rare circumstances. Id. at 13.

         Protiva should not have had to guess which of the challenges Moderna

   asserted in its petition Moderna considered to be applicable against the amended

   claims. Moreover, Moderna’s opposition to the motion to amend never raised

   anticipation as to the proposed substitute claims. See generally, Appx0448-0467.

   Rather, all Moderna asserted was that the narrowed claim concentrations remained

   obvious. Appx0455. The simple statement in its introduction that the “set of


                                           -18-

                                                                               JA002893
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 25 Page
                                                 01/03/24 Filed: 348
                                                                 11/09/2020
                                                                     of 910 PageID #: 9928




   substitute claims . . . do not remedy the invalidity issues raised” is not sufficient to

   put Protiva on notice that Moderna was asserting that the L054 formulation

   anticipated the amended claims. Appx0448, 37 C.F.R. § 42.6(a)(3) (“Arguments

   must not be incorporated by reference from one document into another

   document.”).

         Moderna argues that Nike, Inc. v. Adidas AG, 955 F.3d 45, 51 (Fed. Cir.

   2020) does not support Protiva’s argument that it should have been given an

   opportunity to respond. Reply at 53. Specifically, Moderna argues that the ground

   relied upon by the Board in Nike in finding against the proposed substitute claims

   was entirely new, whereas, as discussed above, the L054 formulation has been

   squarely at issue throughout this proceeding. Id.

         In Nike, this Court held that the Board may sua sponte raise a ground of

   unpatentability based on prior art of record, but that it must provide notice as well

   as an opportunity to respond. Nike, 955 F.3d at 51. And the fact that the ground

   on which the motion to amend was denied in Nike not made in the petition is not

   sufficient to distinguish the case. The Board’s reasoning in Hunting Titan is

   equally applicable here. That is, the grounds as set forth in the petition do not

   address the limitations added to the proposed substitute claims.

         Thus, as established above, it was legal error for the Board in this

   proceeding to deny the proposed substitute claims based on anticipation by the


                                            -19-

                                                                                 JA002894
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 26 Page
                                                 01/03/24 Filed: 349
                                                                 11/09/2020
                                                                     of 910 PageID #: 9929




   L054 formulation of the ’554 publication, and to the extent the Board’s denial of

   the motion to amend is reached, it should be reversed. To the extent that this Court

   denies Protiva’s cross-appeal, or remands this proceeding to address the

   obviousness of claims 1-6, 9, 12, and 14-15, it should also vacate and remand the

   Board’s denial of Protiva’s motion to amend.

                                    CONCLUSION

         The Board’s finding that claims 1-6, 9, 12, and 14-15 are anticipated by the

   ’554 publication is legally erroneous and not supported by substantial evidence,

   and Protiva respectfully requests that it be reversed. Moreover, given that

   Moderna never developed a meaningful obviousness case before the Board, which

   could not be remedied on remand, this Court should decline Moderna’s request to

   remand the proceeding to the Board.

         Finally, to the extent it need be reached, Protiva requests that this Board

   reverse the Board’s denial of its contingent motion to amend, or, at a minimum

   vacate it and remand it to the Board.




   November 9, 2020                        /s/ Michael T. Rosato
                                           Michael T. Rosato
                                           Attorney for Cross-Appellant
                                           Protiva Biotherapeutics, Inc.




                                           -20-

                                                                               JA002895
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 27 Page
                                                 01/03/24 Filed: 350
                                                                 11/09/2020
                                                                     of 910 PageID #: 9930




                         CERTIFICATE OF COMPLIANCE

         I certify that this brief complies with the type-volume limitation of Fed. Cir.

   R. 28.1(b)(3)(A). The brief contains 4,522 words, excluding the parts of the brief

   exempted by Fed. R. App. P. 32(f) and Fed. Cir. R. 32(b)(2). This brief complies

   with the typeface requirements of Fed. R. App. P. 32(a)(5) and the type style

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   November 9, 2020                       /s/ Michael T. Rosato
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                                          Attorney for Cross-Appellant
                                          Protiva Biotherapeutics, Inc.




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              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 83FiledPage: 28 Page
                                                 01/03/24 Filed: 351
                                                                 11/09/2020
                                                                     of 910 PageID #: 9931




                              CERTIFICATE OF SERVICE

           I certify that counsel for the parties have been served with a true and correct

   copy of the foregoing document via this Court’s CM/ECF system on November 9,

   2020.



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                                            Protiva Biotherapeutics, Inc.




                                                                                JA002897
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 352 of 910 PageID #: 9932




                   JOINT APPENDIX 74
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 353 of 910 PageID #: 9933



 1                                  United States Court of Appeals

 2                                       for the Federal Circuit

 3             ______________________________

 4             MODERNATX, INC., FKA MODERNA       )

 5             THERAPEUTICS, INC.,                )        Case No.

 6                     Appellant                  )        2020-1184, 2020-1186

 7             v.                                 )

 8             ARBUTUS BIOPHARMA CORPORATION,)

 9             FKA PROTIVA BIOTHERAPEUTICS,       )

10             INC.,                              )

11                     Cross-Appellant            )

12             ANDREW HIRSHFELD, PERFORMING       )

13             THE FUNCTIONS AND DUTIES OF        )

14             THE UNDERSECRETARY OF COMMERCE)

15             FOR INTELLECTUAL PROPERTY AND )

16             DIRECTOR OF THE UNITED STATES )

17             PATENT AND TRADEMARK OFFICE,       )

18                     Intervenor                 )

19             ______________________________)

20

21                      Appeals from the United States Patent and Trademark

22                     Office, Patent Trial and Appeal Board in No. IPR2018-

23                                                00739.

24

25                                           October 7, 2021




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 354 of 910 PageID #: 9934



 1              MARSHAL:   All rise. The United States Court of Appeals for the

 2       Federal Circuit is now open and in session. God save the United States

 3       and this Honorable Court.

 4              JUDGE 1:   Please be seated, and good morning, ladies and

 5       gentlemen. We have five cases on the calendar this morning, two from

 6       the PTAB, two from the Veterans Court, and one from the District Court.

 7       One of the veteran’s cases is being submitted on the [PH] breach and

 8       not argued. The first case is 2020-1184, Moderna versus Arbutus. Ms.

 9       Wigmore? I don't want to tell you how to argue your case, but I assume

10       you’ll begin with standing, which you are doing in front of us right

11       now.

12              AMY WIGMORE:   Good morning, your honor, and may it please the

13       court, my name is Amy Wigmore, and together with my colleague Katherine

14       Kieckhafer, I represent the appellant and cross-appellee ModernaTX,

15       Inc. This case involves an inter partes review proceeding addressing

16       Arbutus’s 435 patent on lipid formulations for nucleic acid deliveries.

17       Now, there are a number of legal errors that infected that proceeding,

18       but given the court’s statement, I will begin with the issue of

19       standing. Moderna had, and continues to have, standing to pursue this

20       appeal. At the outset, when this appeal was filed in November of 2019,

21       there was a series of sublicenses that Moderna had from Acuitas, which

22       has sublicensed these patents, including the 435, from Arbutus’s

23       predecessor. Those sublicensees applied to four different targets, and

24       at the time the appeal was filed, there was active development going on

25       with respect to one of those targets, RSV. Now, this court has




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                                                                            JA002899
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 355 of 910 PageID #: 9935



 1       recognized that standing can be established in a number of ways. One of

 2       those ways, of course, is the concrete activity leading to a possible

 3       infringement suit. That was not the basis for standing at the time this

 4       appeal was filed. The basis was contractual rights that are affected by

 5       a determination of patent validity, and the [PH 00:02:35] J-Tect by

 6       this court recognizes that basis for standing. As of November 19, 2019,

 7       Moderna had the sublicenses in place, and it had already paid milestone

 8       payment under the licenses.

 9             JUDGE 2:   How much time had – my recollection is that it had been

10       about five years since a milestone payment had been made, right?

11             AMY WIGMORE:   It had been several years since the original

12       milestone payments had been made, but...

13             JUDGE 2:   Any milestone payments, the last milestone payment that

14       was made prior to the filing of the complaint was when?

15             AMY WIGMORE:   I don't have that specific date, but it is correct

16       that it was not within a year of the appeal being filed. That said,

17       there was an active development program with a third party for this RSV

18       target, and the license was very much still in place, all four

19       sublicenses were still in place, these programs had not been abandoned.

20             JUDGE 1:   Well, if you’re licensed, what’s the threat of

21       infringement?

22             AMY WIGMORE:   There does not need to be a threat of infringement

23       under this court’s precedent in the J-Tect case. There needs to be

24       contractual rights that are implicated by patent validity, and the

25       issue here was there were potential future milestone and other royalty




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 356 of 910 PageID #: 9936



 1       payment obligations in connection with those programs, the four viable

 2       targets that had been sublicensed. In addition, Moderna had the right

 3       to sublicense these programs to third parties, and the impact of having

 4       to pay these royalty obligations was something that would impact their

 5       ability to sublicense them [INDISCERNIBLE].

 6             [OVERLAY]

 7             JUDGE 2:     Part of the problem is towards the weak evidence that

 8       you submitted with respect to the likelihood of these payments being

 9       affected? So you’ve got testimony that says if and when there is a

10       phase II clinical trial, but no testimony that says we’re anticipating

11       it within some period of time, or working toward that, and in this case

12       there are multiple patents and there’s nothing that says that this

13       particular patent is what was driving the milestone payment, and so how

14       do you fill that gap?

15             AMY WIGMORE:     Your honor, this is a case that is very much

16       distinguishable from the Apple versus Qualcomm case, which was cited by

17       Arbutus in their briefing. In that case, Apple had attempted

18             [00:05:00]

19             to argue standing based on the possibility of some future royalty

20       payment. They had a license, but they had settled two infringement

21       cases with a global settlement. They also submitted what the court

22       referred to as an incredibly sparce declaration, and the only issue

23       there was whether within six or eight years after this license

24       agreement, settling all the infringement litigation expired, could

25       there be potentially some financial obligation. This case is much




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                                                                          JA002901
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 357 of 910 PageID #: 9937



 1       different. There is a detailed set of declarations that were submitted

 2       by Shaun Ryan, Vice President and General Counsel of Moderna.

 3             JUDGE 2:   Can I interrupt you for a minute? I think the problem

 4       here is immediacy. How do you show the immediacy specifically? Just

 5       forget about the other cases for a minute.

 6             AMY WIGMORE:    With respect to standing in IPR proceedings, it is

 7       true that the injury in fact requirement remains, but because there is

 8       a statutory right to appeal, under 35 U.S.C. 141(c), the requirements

 9       for immediacy or traceability and redressability are more relaxed in

10       this context, due to the statutory ability to appeal, and in this case,

11       there was an ongoing development program at the time the appeal was

12       filed with another party. To the extent that development program led to

13       a phase II trial, there would be further obligations [PH 00:06:22]

14       owed. That is concrete, and that is the type of activity the court has

15       recognized. It can be current or even future activity that can

16       implicate standing.

17             JUDGE 2:   Well, I understand that there was probably some

18       concerns about the confidentiality and not giving too much information,

19       but my concern is still with the too little information. You said

20       there’s a detailed affidavit, but it’s pretty vague.

21             AMY WIGMORE:    The affidavit describes the existence of this

22       development program. The development program, if successful, would have

23       led to further royalty payments. That was the situation in November of

24       2019, when this appeal was filed. Now, the situation has evolved, and

25       it’s this court’s obligation not just to look at standing at the time




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                                                                          JA002902
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 358 of 910 PageID #: 9938



 1       the appeal was filed, but whether there is an ongoing live case or

 2       controversy, and it is true that facts have evolved [INDISCERNIBLE

 3       00:07:09].

 4             [OVERLAY]

 5             JUDGE 2:    But you still have to have standing as of the time the

 6       case is filed.

 7             AMY WIGMORE:    Absolutely.

 8             JUDGE 2:    So to what extent do you believe there’s authority for

 9       the proposition that subsequent events can reflect on the nature of

10       standing when it’s filed?

11             AMY WIGMORE:    The initial existence of this sublicense is

12       sufficient. It was a concrete program. There was a concrete development

13       effort being undergone, at least with respect to RSV, and that was

14       something that was actually actively being worked on that is a concrete

15       plan that the company had at the time, and that development program was

16       subject to royalty payments. In addition, there is this ability to

17       sublicense, which was burdened, as set forth in the Ryan declaration,

18       by these royalty payments. Now your honor,...

19             JUDGE 2:    Can I interrupt you for a minute? So do I understand

20       you to be saying that the initial basis for standing would be based on

21       those plans and the license, the plans to develop something, maybe that

22       kind of fell by the wayside at some point, but that at least provided

23       the initial basis for standing, and that at some point it evolved, I

24       guess. As your client created the vaccine, it evolved to a different

25       basis for standing?




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 359 of 910 PageID #: 9939



 1             AMY WIGMORE:   I wouldn't say a different basis for standing. I

 2       would say that that evolution keeps this controversy alive. Standing is

 3       assessed at the time the appeal is filed, and that time, there was this

 4       active program under the sublicense that had a royalty burden. Over

 5       time, as set forth in our supplemental declaration, that particular RSV

 6       program was not pursued, the sublicense is still in place, there is

 7       potential future development, but that particular program, which was

 8       very concrete at the time the appeal was filed, did change. Now, that

 9       said, at the same time, the COVID vaccine was developed and ultimately

10       delivered to the market and commercialized, and...

11             JUDGE 2:   Above all, after the date, that activity is after the

12       date on which the appeal was filed.

13             AMY WIGMORE:   That is correct. In the Momenta case, this court

14       recognized that it need not only look at standing at the time the

15       appeal was filed, which here we’re relying on the license and the

16       active development program for standing as of November 2019, but we

17       still need to evaluate whether there’s a live controversy moving

18       forward as the appeal is still pending, and there we do have this COVID

19       vaccine...

20             JUDGE 1:   But you’re concerned about royalty obligations,

21       financial burdens under a license that you don't need, you could have

22       terminated a license, couldn't you?

23             AMY WIGMORE:   There are two different situations here. With

24       respect to the four targets of the sublicense, it’s not disputed that

25       those targets, as they were being developed at the time, were




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                                                                         JA002904
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 360 of 910 PageID #: 9940



 1       practicing the patents at issue, so there would have been a royalty

 2       burden had those patents not been invalidated, and that's what Mr.

 3       Ryan’s declaration makes clear. As for the COVID vaccine, certainly

 4       it’s the case that Moderna does not concede any infringement, and the

 5       case law makes clear that for standing based on potential litigation,

 6       you need not concede infringement, nor need there be a specific threat

 7       of an infringement case. There needs to be concrete plans and activity

 8       that could lead to a possible infringement action.

 9             JUDGE 2:   But it can’t be so remote, I mean you can’t say that we

10       had a license to do a bicycle, and then we later did a car, and so

11       therefore we’re concerned about an infringement car, so that is part of

12       your problem. They are not arguing that the RSV program that you said

13       was live somehow morphed into where we are now. You’re arguing that

14       they are completely separate, and that the patents don't cover what’s

15       going on now, so that's part of the problem. I understand what you’re

16       saying, but I think you’re taking it too far.

17             AMY WIGMORE:   Now, in the Momenta case, this court recognized

18       that the basis for standing and case controversy are not necessarily

19       coextensive. The court recognized that situation evolve, even after

20       appeals are filed. There’s no question at the time this appeal was

21       filed, there was an active licensing program that had royalty

22       implications. Since that time, it’s been a couple of years, there has

23       been some change to that program, that license is still in place, but

24       there’s no more development of that one particular RSV vaccine under

25       that license, but there has been this change in circumstances where the




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                                                                         JA002905
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 361 of 910 PageID #: 9941



 1       COVID vaccine – COVID didn't even exist at the time this appeal was

 2       filed, as far as anyone knew – and that time, we were not relying on

 3       the risk of infringement, but now it’s a concrete...

 4              JUDGE 2:   But you really only discussed those activities in

 5       connection with the other appeal, right? There is nothing in this first

 6       appeal where I see that discussion of the development of the COVID

 7       vaccine as something you were relying upon.

 8              AMY WIGMORE:   We did supplement the record, your honor. It’s

 9       docket number, I believe it’s 118, where we put in the line – in the

10       declaration that was filed in the 069 appeal – we put it into this

11       appeal, not only to advise the court of this ongoing live controversy,

12       but   also to advise the court that the development program we had been

13       discussing in the original declaration at the time of the appeal being

14       filed, that that program had changed.

15              JUDGE 1:   Do you want to spend a few minutes on the merits?

16              AMY WIGMORE:   Absolutely.

17              JUDGE 1:   And we will make sure you get some rebuttal time.

18              AMY WIGMORE:   Okay, thank you, so in terms of the merits, there

19       is a fundamental legal flaw of the IPR decision, and that is the court

20       failed to apply the proper framework and shift the burden of production

21       to Arbutus. There are overlapping ranges in the prior art that the

22       board failed to recognize. In addition, the board failed to adequately

23       explain its decision. It had a little over two pages of a 51-page

24       opinion addressing the issue of obviousness. It did not properly

25       analyze the legal framework or apply it, nor did it adequately explain




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 362 of 910 PageID #: 9942



 1       its decision. Now, in terms of the ranges that were disclosed in the

 2       prior art, these patents, this 435 patent, addresses a composition

 3       containing four categories of lipids – conjugated lipids, cationic

 4       lipids, and two noncationic lipids, cholesterol and phospholipid.

 5       Ranges of the three...

 6             JUDGE 2:    Just to make sure I’m being clear here, are you

 7       addressing primarily the claims other than claim 7 and claim 8?

 8             AMY WIGMORE:    We’re addressing all of the claims because the

 9       error was fundamental. When the court turned from anticipation, which

10       it found for some of the claims, to obviousness, with respect to all

11       the claims it was analyzing for obviousness that had not been

12       anticipated, it failed to apply this burden-shifting framework, and

13       these ranges...

14             JUDGE 2:    And there are some claims, if I remember correctly,

15       there are some claims     that don't have the phospholipid in them, right?

16             AMY WIGMORE:    They have cholesterol, and the court made the same

17       error with respect to cholesterol. In fact, even greater error because

18       it said in its opinion that the cholesterol range was not disclosed,

19       when even Arbutus concedes that the prior art discloses a 20% to 45%

20       range of cholesterol...

21             JUDGE 2:    So is it your view that what we should do, if we reach

22       the merits, is not reverse, but to vacate and remand, so that the

23       burden shifting can apply, and the board consider it under that

24       standard?

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 363 of 910 PageID #: 9943



 1             AMY WIGMORE: That's correct, that it was a fundamental error not

 2       to shift the burden, and to impose upon Moderna the obligation to prove

 3       motivation to optimize. Motivation to optimize is presumed when there

 4       is an overlapping range, and based on the description we provided in

 5       our brief, there was a clear overlap.

 6             [00:15:00]

 7             That overlapping range need not be stated verbatim in the prior

 8       art here. It was with respect to three of the four lipids at issue.

 9       Those ranges were explicitly described, and there can be no question,

10       they overlap with what’s in the claims.

11             JUDGE 2:     And so in the case law, I’m going to say, they can be

12       either overlapping or encompass, that is the prior ranges can either

13       overlap with the claim range or encompass the claim range, either way.

14             AMY WIGMORE:     That is correct.

15             JUDGE 2:     The presumption applies, okay.

16             AMY WIGMORE:     All you need is a slight overlap, the In re

17       Peterson case makes that clear, as do other cases. This case is

18       squarely on point with the Dupont case that this court decided, it was

19       also an IPR, where a nonobviousness finding was reversed. Here, there

20       are multiple variables, but the Dupont case recognized that those can

21       form the basis of an overlapping range presumption. The fundamental

22       error here...

23             JUDGE 2:     Was there anything in the record, I mean putting aside

24       whether they should have formally shifted the burden, is there anything

25       in the record that would indicate that the narrower range or the




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 364 of 910 PageID #: 9944



 1       specific range was somehow surprising or somehow different from what

 2       the prior art showed?

 3             AMY WIGMORE:    The basis for their patent, they allege, is this

 4       amount of cationic lipid, above 50%, but the prior art, including the

 5       554 publication and the 189 publication, both expressly disclosed a

 6       cationic lipid range of up to 60%, so that's the fundamental issue

 7       here. 60% cationic lipid is in the prior art, and so it cannot be the

 8       basis for distinguishing this patent from the prior art.

 9             JUDGE 1:   So let’s hear from the other side, and then we’ll give

10       you three minutes rebuttal. Mr. Berl.

11             DAVID BERL:    Good morning, your honors, David Berl for Arbutus.

12       I’ll start where my opponent started, with regard to the issue of

13       standing, and what’s missing here are multiple things. First, any

14       notion of immediacy is entirely absent from the evidence that Moderna

15       has presented to this court. It is speculative, and today we’ve heard

16       for the first time that they admit that this RSV vaccine program, which

17       was the basis for their standing as of notice of appeal, November 2019,

18       has been abandoned, so they have now shifted...

19             JUDGE 2:   But we need to look at November 2029.

20             DAVID BERL:    Indeed.

21             JUDGE 2:   So why is the fact that it was at least ongoing at that

22       point, and there was an intention to move forward with it at that

23       point, why isn’t that enough?

24             DAVID BERL:    Here’s what’s missing, and the key cases here are

25       the Samsung case, in which multiple patents were licensed and standing




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 365 of 910 PageID #: 9945



 1       was found, and the Apple versus Qualcomm case, where multiple patents

 2       were licensed, and standing was not found, and the difference is

 3       crucial here. In Samsung, this court found that the invalidation of the

 4       patent at issue in that case would have changed the royalty obligation.

 5       Because of the way the patent pool worked, if you eliminate one patent,

 6       more money would be paid on other patents, so Samsung would have

 7       profited. That was missing in Apple versus Qualcomm, where this court

 8       found that Apple presented no evidence that the invalidation of the

 9       particular patents it was challenging would change its royalty

10       obligations. That evidence is missing here too. If you look at Mr.

11       Ryan’s declaration, he addresses this, at A57:45-46, and he

12       acknowledges that Moderna here has licensed numerous patents, not just

13       the 435 and 069, numerous patents. Those patents are found at Exhibit D

14       to his declaration, at A58:28-69, it’s actually in the other index,

15       because they supplemented it, and what you see there are 40 pages of

16       patents. These are two of them, only one at issue in this appeal.

17             JUDGE 2:   Okay, but patent portfolio licensing is pretty normal,

18       so assuming that patent portfolio licensing is normal, can’t a clinical

19       trial or ultimately a product read on a number of patents in portfolio?

20             DAVID BERL:   It could, but the crucial question under the Apple-

21       Qualcomm case is whether the requested relief – here the invalidation

22       of the 435 patent – would affect the payment obligation for Moderna,

23       and there is no evidence from Mr. Ryan that it would. There is no

24       evidence on the Samsung case that says if the 435 patent is invalidated

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 366 of 910 PageID #: 9946



 1       and we had continued this RSV program, we would have owed Arbutus less

 2       money.

 3                JUDGE 2:     Well, we’ve said you don't have to admit infringement

 4       in order to establish standing.

 5                DAVID BERL:     That’s not a question of admitting infringement,

 6       it’s a question of whether the requested relief would affect their

 7       payments under the license, so whether they infringe or not. Let’s

 8       assume for a moment that they would, best case scenario for their

 9       standing case, there is no evidence that if you take out the 435

10       patent, that they owe one red cent less if they would have progressed

11       their RSV program, because they have to pay on all of the patents,

12                [00:20:00]

13                so the elimination of one or two of them doesn't change their

14       royalty obligation. They have to show evidence. under the Apple-

15       Qualcomm case, that it does.

16                JUDGE 2:     Your point, I think the point of your argument is that

17       that makes it less concrete, less likely to occur, combined with the

18       fact that also there had been a lot of times in saying the milestone

19       payments had been made anyway, so it was a little bit less concrete

20       that they would even – that this product would come to fruition and

21       they would have to pay any milestone payments.

22                DAVID BERL:     Absolutely, and even if they did have to pay

23       milestones, which again is not concrete and speculative, there is no

24       evidence that the requested relief would have redressed in any way

25       their obligations. They would have paid exactly the same amount under




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 367 of 910 PageID #: 9947



 1       the evidence that they have advanced, and the Apple-Qualcomm case says

 2       this defeats injury in fact under the MedImmune analysis, and so you

 3       can’t have a situation where you have a bunch of licenses, 40 pages of

 4       licenses, 40 pages of patents, without any evidence, and they have an

 5       absence of proof here. You can read the Ryan declaration front-to-back,

 6       you won’t see any evidence that invalidation of the 435 patent, or for

 7       that matter, the 069 patent in the next case, affects their payment

 8       obligations, and the Apple-Qualcomm case [INDISCERNIBLE 00:21:12],

 9             [OVERLAY]

10             JUDGE 2:    Are you saying that they need – while you have those

11       multiple patents – that they essentially would need to establish that

12       infringement would occur based on the ongoing program, or are you

13       saying they need to establish that not only would infringement likely

14       occur, but that it wouldn't occur with respect to the other patents?

15             DAVID BERL:   That would be one way of solving the Apple versus

16       Qualcomm problem, if they had advanced that sort of evidence that said,

17       “We don't infringe the other 40 pages of patents, so therefore

18       invalidation of the 435 would mean we don't have to pay any royalties

19       if we progress this RSV vaccine.” That sort of evidence would have been

20       sufficient under Apple-Qualcomm. They don't say that. What Moderna says

21       in reply, they cite the Shen Yang case, for the proposition that

22       eliminating the 435 would eliminate a major obstacle for them,

23       consistent with their payment obligations, but that was addressed also

24       in the Apple versus Qualcomm case. Footnote 4 of that case said that

25       Apple doesn't present any evidence as to why invalidation of this one




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 368 of 910 PageID #: 9948



 1       patent would remove a major obstacle. For example, they could have

 2       said, “If the 435 patent is invalidated, that would mean all of these

 3       other patents also would be invalid, so we wouldn't have to pay” or “we

 4       don't infringe the other patents, so that's really the major obstacle,”

 5       but they have no evidence of any of that, and so just like Apple-

 6       Qualcomm, which I would submit is on all [PH] fours with this case,

 7       with respect to the pool of patents and the absence of evidence that

 8       the payment obligations would be affected by the requested relief, I

 9       would say, respectfully, resolves the standing issue here.

10             JUDGE 2:   Isn’t a bit of a catch-22, though? I mean you have to

11       basically say that you’re liable in order to have standing?

12             DAVID BERL:   No, you could have said exactly what your honor

13       suggested, they could have said, “We challenge the 435 patent, we don't

14       infringe the other 39 pages of patents, so therefore invalidation of

15       the 435 patent would remove any payment obligations even if we did

16       infringe.” We agree, they don't have to admit infringement, but they do

17       have to show some imminent threat here of having to pay their royalty

18       for their activities. They admit that they had no threat when they

19       filed this notice of appeal with respect to COVID. They admit that at

20       some point after their last payment obligation, which was back in 2016,

21       was made, that they abandoned their RSV program that's relevant to this

22       patent. We have no evidence of when that happened versus when their

23       COVID vaccine came into being and recreated in their mind that imminent

24       threat. There is no timeline that indicates that at all times, they had

25       an imminent threat of suit and that they had standing. They have no




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 369 of 910 PageID #: 9949



 1       evidence of that. They’re just saying, well, at some point, the RSV

 2       program went away, and at some point, the COVID vaccine program came

 3       up, so we probably had standing somewhere in that, and it’s good enough

 4       for government work.

 5             [OVERLAY]

 6             JUDGE 2:     What do you make of the argument, and this goes to the

 7       question of the supplemental authority, that post-filing activities are

 8       relevant? I thought post-filing activities are relevant not because

 9       they help to establish standing, but because even with standing, there

10       might not be any case for controversy.

11             DAVID BERL:     Absolutely, I agree with your honor’s

12       interpretation. It is a fundamental tenant of standing, and frankly,

13       jurisdiction in Article III case law, that at all points, at every

14       point, including the filing of the notice of appeal, and all points

15       thereafter, standing must be present. Any gap, one minute...

16             JUDGE 1:     Counsel, do you want to address the merits?

17             DAVID BERL:     Happy to address the merits, your honor. This is a

18       case in which the board made numerous factual findings that are

19       explicitly relevant under this court’s range case law, that resolved

20       this case conclusively. For example, the board found that the various

21       components

22             [00:25:00]

23             disclosed in the prior art interrelate with each other in an

24       unpredictable way. That is explicitly relevant under this court’s

25       applied materials case, under this court’s case law, for example, in




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 370 of 910 PageID #: 9950



 1       the Horizon case, where the court said it’s important to distinguish in

 2       these cases between systems, like the one in Dupont, like the one in

 3       Applied Materials.

 4             JUDGE 2:   Why isn’t that something that would be considered after

 5       the presumptions applied? It seems to me that once you have a prior art

 6       reference that discloses the mole percentages for the ingredients in

 7       the claim, that at that point, the presumption applies, and there

 8       should be some shifting. That seems to be the problem here.

 9             DAVID BERL:    Let me address that in two ways. First, the Horizon

10       case does not stand for that proposition. In that case, where the

11       various components interacted unpredictably with each other, as the

12       board found here in an unchallenged factual finding, no presumption was

13       applied by the district court, none, and this court affirmed that

14       finding, and Moderna’s only response to that is that Horizon isn’t a

15       range case, and somehow the active ingredient was not disclosed in the

16       prior art as arranged, that's not true. If you look at the district

17       court case at star 5, it makes clear that the [PH] Kazai reference

18       disclosed an overlapping range of diclofenac sodium, the active

19       ingredient.

20             JUDGE 2:   Even if that's true, there’s plenty of other cases that

21       take a different approach.

22             DAVID BERL:    Well, none of them suggest that in a situation where

23       the various components of the prior art interact unpredictably with

24       each other, a presumption is invoked, and I would suggest the applied

25       materials case suggests exactly the opposite.




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 371 of 910 PageID #: 9951



 1             JUDGE 2:   Are you saying we should say that even though there is

 2       a clear overlap in the ranges, that just because there appears to be

 3       interaction between the ingredients, that we ignore those overlaps?

 4             DAVID BERL:   First of all, I don't think there is a clear

 5       disclosure of an overlap, there is no disclosure...

 6             JUDGE 2:   Well, how can 20% to 45% not overlap at least somewhat,

 7       or 30% to 40%.

 8             DAVID BERL:   It does, of course, but there is no disclosure of a

 9       phospholipid range anywhere in the prior art.

10             JUDGE 2:   But that’s not in all the claims.

11             DAVID BERL:   No, that's in claim 7.

12             JUDGE 2:   Okay, so set claim 7 aside.

13             DAVID BERL:   If we set claim 7 aside, what I would observe, your

14       honor, is that the range case law, whether it’s Dupont or Applied

15       Materials or any of the others, does not exist separate and apart from

16       this court’s obviousness jurisprudence and the KSR obviousness

17       jurisprudence. They’re trying to get at the same thing, and they can’t

18       be applied in a way that is abjectly defying KSR and all of the

19       principles of obviousness. To take one example, in the Dupont case as

20       well as the Peterson case that they cite, the court observed that the

21       issue here is do we have routine experimentation which leads to

22       obviousness, because you experiment routinely within the ranges, or do

23       we have nonobvious invention. That's the crucial distinction here, and

24       the court said the exact same thing in the Genetics Institute case.

25       It’s getting at the same thing as KSR and all of the obviousness cases.




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 372 of 910 PageID #: 9952



 1       It’s not some separate doctrine that can exist hermetically sealed from

 2       everything else in Section 103, and here the board found repeatedly, in

 3       an unchallenged factual finding, that it would not be routine

 4       experimentation, that it would be difficult experimentation. Their own

 5       expert agrees that it would be experimentation. So which side of the

 6       ledger are we on, routine experimentation, as in Dupont, as in

 7       Peterson, or not routine experimentation, as in Genetics Institute and

 8       Horizon? The board answered that question, repeatedly.

 9             JUDGE 1:   Do you want to deal with claim 1?

10             DAVID BERL:     Sure. I think claim 1 is exactly the same principle.

11       The board found that those ranges would not have been achieved by

12       routine experimentation, therefore precluding any finding of

13       obviousness. There is no finding in any of the range cases, whether

14       it’s Stepan, Dupont, Peterson, or any of the others, that where you

15       have nonroutine...

16             JUDGE 1:      These cases aside, the L054 formulation is right

17       within the claim range of claim 1.

18             DAVID BERL:     I’m sorry, I might have misunderstood your honor’s

19       question. Your honor is asking about anticipation of claim 1, rather

20       than the obviousness issue, and I apologize, your honor, I didn't

21       understand your question. I’d happily move to anticipation. The problem

22       with Moderna’s anticipation argument and the board’s finding is that it

23       has the right numbers, but it’s about the wrong thing. The L054

24       formulation provides the numbers for the inputs into the formulation,

25       not the outputs, and Moderna admits that at A46:51, they say that those




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 373 of 910 PageID #: 9953



 1       are the inputs, and their expert admits at 52:42 through 52:44 that the

 2       inputs and outputs are not the same, they change, and our expert

 3       provides a careful explanation of why that is, as a result of the

 4       detergent process used in the 554. Our expert explains, at A49:24-25,

 5       that it removes some of the cholesterol lipid,

 6             [00:30:00]

 7             and so the amount of conjugated lipid increases, it goes up, he

 8       explained, there and in his deposition.

 9             JUDGE 2:     A lot of this is interesting, but the problem is it’s

10       not in the claims.

11             DAVID BERL:     Well, it is in the claims. The claims were

12       construed, and everyone agrees that they addressed the final

13       formulation percentages. Moderna agrees with that, and we agree with

14       that too. This claim is directed to a particle, a final particle, not

15       the inputs of what you put in before you manufacture the particle, so

16       that is in the claim, and the prior art is addressing something

17       different. The prior art is addressing what you put in, not what you

18       get out, and Moderna knows that it has a problem here. They don't try

19       to defend the proposition that there’s no difference between inputs and

20       outputs. They respectfully try to manufacture a finding from the board

21       that doesn't exist, that somehow the inputs are indicative of the

22       outputs, that's their response, and they cite to A20 and A21 of the

23       board’s opinion. That finding is not there.

24             JUDGE 2:     But didn’t Moderna rely on the entirety of the 554

25       publication, and not just on the L054 formulation?




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 374 of 910 PageID #: 9954



 1             DAVID BERL:    Well, the board found their argument with respect to

 2       the rest of the 554 unpersuasive, and I don't think that's being

 3       refuted here on appeal, that the ranges are not enough to anticipate

 4       the claims, so the board relied only on that particular example, the

 5       L054 example as being anticipatory.

 6             JUDGE 2:    Isn’t that an overly narrow view of the prior art?

 7             DAVID BERL:    Well, the board addressed the rest of the 554, it

 8       addressed the ranges, it explained that the ranges were not the sort of

 9       ranges that can anticipate the claim, and Moderna doesn't argue

10       otherwise. It doesn't quibble with the board’s rejection of their

11       anticipation argument on that basis. It simply tries to defend the

12       anticipation argument on the basis of the L054 formulation, but again,

13       that addressed the wrong thing. Everyone agrees that the L054 is about

14       the inputs, not the outputs, and there is a difference. The conjugated

15       lipid goes up, and contrary to what Moderna said, our expert did not

16       say otherwise. His testimony is at A44:47-50. He never said, he never

17       said that there would be particles that have less than 2% conjugated

18       lipid. They tried to suggest that he did, but if you read the

19       testimony, he didn't say that. On the contrary, he said the amount of

20       conjugated lipid will go up, and it’s 2% already in the L054 example.

21             [OVERLAY]

22             JUDGE 1: Thank you. You have consumed your time, but we’ll give

23       you two minutes for rebuttal on a cross appeal if there is something to

24       rebuff.

25             DAVID BERL:    I appreciate that, thank you very much, your honor.




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 375 of 910 PageID #: 9955



 1             JUDGE:     We’re giving you three minutes, Ms. Wigmore.

 2             AMY WIGMORE:     Thank you, your honor. In terms of anticipation,

 3       there was a factual finding by the board that should be reviewed, under

 4       substantial evidence standard, that L054 species, there’s no dispute

 5       that it contains all the components that can be found in the claimed

 6       ranges. The only dispute is about whether you can take the formulation

 7       molar concentration to mean what’s in the claim, and that’s exactly

 8       what Arbutus did in both the 554 publication and in the 435 patent.

 9       They described the formulation and the molar concentrations, and they

10       claim them. There is absolutely no evidence in the 435 patent, the

11       patent here at issue, of what the amount would be in the composition.

12       It’s different.

13             JUDGE 2:     Do you support the board’s finding that when you make

14       the particle, at least some will fall within the claim ranges, even if

15       some are outside, and so therefore there is anticipation?

16             AMY WIGMORE:     That's certainly a supportable finding, and I think

17       what the board found is there is no evidence to the contrary. There is

18       no evidence that anything would be outside the range, other than pure

19       speculation in this case by their expert, Dr. Thompson. That was a

20       credibility finding. He alleged, but did not support, that the numbers

21       would be different in the final composition, and importantly, the

22       disclosure of the 435 patent, all it has is the formulation

23       concentration. It contains no information about any different, if they

24       would be different, concentrations in the final composition, so it’s

25       exactly the same disclosure in both the 554 publication and in the




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 376 of 910 PageID #: 9956



 1       patent at issue here, and this is a factual finding that is entitled to

 2       deference. In terms of standing, I just want to point out paragraph 8

 3       of Mr. Ryan’s declaration, that can be found in the appendix at page

 4       6397 and 6398. In that paragraph, unlike in the Apple case, he

 5       expressly says that there would be financial implications with respect

 6       to the 435 patent, if this patent were invalidated.

 7             JUDGE 2:     What’s the cite?

 8             AMY WIGMORE:     It’s 6397 and 6398,

 9             [00:35:01]

10             that’s paragraph 8 of the Ryan declaration, so there’s a lot more

11       evidence in this record than in the Apple case, and from a practical

12       standpoint, it cannot be the case that if you have a portfolio, you can

13       never appeal an IPR, because you have to challenge the patents

14       sequentially. That's going on here. We have a separate appeal we’re

15       about to argue on the 069. We can’t take them all together in the same

16       appeal. The key is to remove an obstacle, and that's what this appeal

17       is designed to do.

18             JUDGE 2:     Is there any evidence that the 435 relates in any way

19       to the vaccine efforts?

20             AMY WIGMORE:     There are broad statements by Arbutus that are in

21       the record in the appendix, that they think they cover the whole

22       landscape of lipid nanoparticles.

23             JUDGE 2:     Those broad statements being in the press articles?

24             AMY WIGMORE:     Yes, in the press articles, these are quotes from

25       Arbutus’s CEO, and they certainly have not...




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 377 of 910 PageID #: 9957



 1              JUDGE 2:    But not in a deposition testimony or anything, it’s

 2       just generally saying, “I’ve got a lot of [INDISCERNIBLE].”

 3              [OVERLAY]

 4              AMY WIGMORE:    That's correct, no deposition testimony, this was

 5       not an issue [INDISCERNIBLE].

 6              [OVERLAY]

 7              JUDGE 2:    And is there a reference in that specifically to the

 8       435?

 9              AMY WIGMORE:    Not with respect to the vaccine specifically, they

10       have not made a specific threat, nor need they under the case law.

11       There needs to be a risk of possible infringement based on Moderna’s

12       activities, and there clearly is because the vaccine is being widely

13       distributed. There has been no covenant not to sue, that's set forth in

14       the Ryan declaration, and there have been broader discussions between

15       Moderna and Arbutus about a broader license.

16              JUDGE 2:    And this will all come up in the next case, right?

17              AMY WIGMORE:    This will come up again, yes, thank you.

18              JUDGE 1:    Thank you, counsel. Mr. Berl, you do have a little time

19       on the cross appeal.

20              DAVID BERL:    Thank you, your honor. My opponent referred to a

21       factual finding by the board that did not find persuasive our expert’s

22       testimony that all of the particles would fall outside the ranges.

23       Respectfully, the board got it wrong, that has it backwards. We don't

24       have to come forward with evidence of non-anticipation and of non-

25       inherency in order to prevail. The burden falls on Moderna and remains




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 378 of 910 PageID #: 9958



 1       with Moderna the whole time. The board cited not a shred of evidence in

 2       the record that the amounts would be the same, and on the contrary,

 3       their expert admitted that they wouldn’t be. At A52:42 through 52:44,

 4       he says it can change during manufacture, so even if the board rejected

 5       our expert’s testimony as non-persuasive, for whatever reason, that

 6       would leave an absence of proof.

 7             JUDGE 2:     What about the patent itself, why doesn't the patent

 8       itself provide some proof of what the board is asserting, based on the

 9       fact that the specification – written description, that is – refers to

10       the formulation percentages, and the claims refer to the particle

11       percentages, why would someone think they’d be different based on the

12       fact that the particle percentages aren’t disclosed in the written

13       description?

14             DAVID BERL:     So our expert addresses that question in explaining

15       that the 554 manufacturing process is a particular process that uses

16       detergent that would change substantially the lipid percentages.

17             JUDGE 2:     I understand what you’re saying, but what do we do with

18       the board finding that not credible and not thinking that it makes

19       sense technically, based on the reading of the specification? What do

20       we do with that?

21             DAVID BERL:     Well, based on the reading of our specification, and

22       the board did rule on our specification in suggesting that that's what

23       we did too. The problem with that evidence is that our process is

24       different. There was no finding that in our process, you would have

25       substantial changes. We had a very different process in our




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                                                                          JA002923
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 379 of 910 PageID #: 9959



 1       specification than the 554 manufacturing process in its specification,

 2       so the evidence, and this is the only evidence. It’s not as if there’s

 3       evidence that Moderna brought forward that said it doesn't change, it’s

 4       all the same. Moderna agrees that the percentages change when you use

 5       the 554 process, so there can be no credibility of determination that

 6       sort of rejects all that evidence. That's the only evidence there was.

 7       Their expert didn’t dispute it. Our specification, which of course is

 8       not prior art and is an entirely different matter, doesn't have the

 9       same manufacturing process. It has an entirely different manufacturing

10       process, no detergent. It doesn't lose all that phospholipid, thereby

11       increasing – or sorry – cholesterol, thereby increasing the other

12       components, and most importantly here for present purposes, the

13       conjugated lipid.

14             JUDGE 1:   Thank you, counsel, thank you.

15             DAVID BERL:   Thank you very much.

16             JUDGE 1:   The case has been submitted.

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                                                                       JA002924
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 380 of 910 PageID #: 9960



 1             I, Anders Nelson, hereby certify that the foregoing is, to the

 2       best of my knowledge and belief, a true and accurate transcription in

 3       English.

 4

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10

11
                Anders Nelson
              Anders Nelson (Dec 18, 2023 13:35 EST)
12             ______________________

13             Anders Nelson

14             Project Manager

15             TransPerfect Legal Solutions

16

17

18             December 18, 2023

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                                                                       JA002925
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 381 of 910 PageID #: 9961




                   JOINT APPENDIX 75
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 1 Page
                                          Filed 01/03/24 Filed: 382
                                                                12/01/2021
                                                                    of 910 PageID #: 9962




                  United States Court of Appeals
                      for the Federal Circuit
                                ______________________

                        MODERNATX, INC., FKA MODERNA
                            THERAPEUTICS, INC.,
                                 Appellant

                                           v.

                   ARBUTUS BIOPHARMA CORPORATION, FKA
                      PROTIVA BIOTHERAPEUTICS, INC.,
                               Cross-Appellant

                  ANDREW HIRSHFELD, PERFORMING THE
                   FUNCTIONS AND DUTIES OF THE UNDER
                      SECRETARY OF COMMERCE FOR
                INTELLECTUAL PROPERTY AND DIRECTOR OF
                THE UNITED STATES PATENT AND TRADEMARK
                                  OFFICE,
                                  Intervenor
                            ______________________

                                 2020-1184, 2020-1186
                                ______________________

                    Appeals from the United States Patent and Trademark
                Office, Patent Trial and Appeal Board in No. IPR2018-
                00739.
                                 ______________________

                               Decided: December 1, 2021
                                ______________________

                   AMY K. WIGMORE, Wilmer Cutler Pickering Hale and
                Dorr LLP, Washington, DC, argued for appellant. Also




                                                                           JA002926
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 2 Page
                                          Filed 01/03/24 Filed: 383
                                                                12/01/2021
                                                                    of 910 PageID #: 9963




                represented by MARK CHRISTOPHER FLEMING, EMILY R.
                WHELAN, Boston, MA.

                    DAVID I. BERL, Williams & Connolly LLP, Washington,
                DC, argued for cross-appellant. Also represented by
                THOMAS S. FLETCHER, JESSICA PALMER RYEN; SONJA
                ROCHELLE GERRARD, STEVEN WILLIAM PARMELEE, MICHAEL
                T. ROSATO, Wilson Sonsini Goodrich & Rosati, Seattle, WA;
                LORA MARIE GREEN, RICHARD TORCZON, Washington, DC.

                    ROBERT MCBRIDE, Office of the Solicitor, United States
                Patent and Trademark Office, Alexandria, VA, for interve-
                nor. Also represented by THOMAS W. KRAUSE, FARHEENA
                YASMEEN RASHEED.
                                ______________________

                  Before LOURIE, O’MALLEY, and STOLL, Circuit Judges.
                LOURIE, Circuit Judge.
                    ModernaTx, Inc. (“Moderna”) appeals from the decision
                of the U.S. Patent and Trademark Office Patent Trial and
                Appeal Board (“Board”) holding that claims 7–8, 10–11, 13,
                and 16–20 of U.S. Patent 9,364,435 are not unpatentable
                as obvious. See Moderna Therapeutics, Inc. v. Protiva Bio-
                therapeutics, Inc., IPR2018-00739, 2019 Pat. App. LEXIS
                13612 (Sept. 11, 2019) (“Board Decision”). Arbutus Bio-
                pharma Corporation (“Arbutus”) 1 cross-appeals from the
                Board’s decision holding that claims 1–6, 9, 12, and 14–15


                    1    At the time that this appeal was filed in November
                2019, the cross-appellant was named Protiva Biotherapeu-
                tics, Inc. (“Protiva”). Subsequently, in June 2021, Protiva
                moved the court to revise the official caption to replace Pro-
                tiva with Arbutus. In this opinion, unless otherwise indi-
                cated, we use “Protiva” and “Arbutus” interchangeably
                based on the relevant context to refer to the cross-appellant
                in this appeal.




                                                                                 JA002927
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 3 Page
                                          Filed 01/03/24 Filed: 384
                                                                12/01/2021
                                                                    of 910 PageID #: 9964




                are unpatentable as anticipated. Id. For the reasons pro-
                vided below, we dismiss Moderna’s appeal for lack of stand-
                ing. Regarding Arbutus’s cross appeal, we affirm.
                                        BACKGROUND
                                     I. The ’435 Patent
                    Arbutus owns the ’435 patent directed to “stable nu-
                cleic acid-lipid particles (SNALP) comprising a nucleic acid
                (such as one or more interfering RNA), methods of making
                the SNALP, and methods of delivering and/or administer-
                ing the SNALP.” ’435 patent at Abstract. The patent,
                which issued on June 14, 2016, claims priority from a pro-
                visional application filed on April 15, 2008.
                     As described in the ’435 patent, RNA interference
                (“RNAi”) is a biological process in which recognition of dou-
                ble-stranded RNA “leads to posttranscriptional suppres-
                sion of gene expression.” Id. at col. 1 ll. 39–42. That
                biological process is mediated by small interfering RNA
                (“siRNA”), “which induces specific degradation of mRNA
                through complementary base pairing.” Id. at col. 1 ll. 42–
                45. The ’435 patent recognized that RNAi provided “a po-
                tential new approach to downregulate or silence the tran-
                scription and translation of a gene of interest.” Id. at col. 1
                ll. 52–54.
                     A “safe and effective nucleic acid delivery system is re-
                quired for RNAi to be therapeutically useful.” Id. at col. 1
                ll. 63–64. The delivery system “should be small” and
                “should remain intact in the circulation for an extended pe-
                riod of time in order to achieve delivery to affected tissues.”
                Id. at col. 2 ll. 38–42. This requires a “highly stable, serum-
                resistant nucleic acid-containing particle that does not in-
                teract with cells and other components of the vascular com-
                partment.” Id. at col. 2 ll. 42–45. The particle should also
                “readily interact with target cells at a disease site in order
                to facilitate intracellular delivery of a desired nucleic acid.”
                Id. at col. 2 ll. 45–47. The ’435 patent thus recognized that




                                                                                   JA002928
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 4 Page
                                          Filed 01/03/24 Filed: 385
                                                                12/01/2021
                                                                    of 910 PageID #: 9965




                there remained “a strong need in the art for novel and more
                efficient methods and compositions for introducing nucleic
                acids such as siRNA into cells.” Id. at col. 2 l. 66–col. 3 l. 1.
                     The ’435 patent describes the invention as “novel, se-
                rum-stable lipid particles comprising one or more active
                agents or therapeutic agents, methods of making the lipid
                particles, and methods of delivering and/or administering
                the lipid particles (e.g., for the treatment of a disease or
                disorder).” Id. at col. 3 ll. 9–13. The lipid particles are com-
                prised of one or more cationic lipids, one or more non-cati-
                onic lipids, and one or more conjugated lipids. See id. at
                col. 3 ll. 22–31. As described in the patent, “[t]he present
                invention is based, in part, upon the surprising discovery
                that lipid particles comprising from about 50 mol % to
                about 85 mol % of a cationic lipid, from about 13 mol % to
                about 49.5 mol % of a non-cationic lipid, and from about 0.5
                mol % to about 2 mol % of a lipid conjugate provide ad-
                vantages when used for the in vitro or in vivo delivery of an
                active agent, such as a therapeutic nucleic acid (e.g., an in-
                terfering RNA).” Id. at col. 5 ll. 55–62. The ’435 patent
                further states that the stable nucleic acid-lipid particles
                “advantageously impart increased activity of the encapsu-
                lated nucleic acid (e.g., an interfering RNA such as siRNA)
                and improved tolerability of the formulations in vivo, re-
                sulting in a significant increase in the therapeutic index”
                as compared to prior art nucleic acid-lipid particle compo-
                sitions. Id. at col. 5 l. 62–col. 6 l. 2. And the particles are
                “stable in circulation, e.g., resistant to degradation by nu-
                cleases in serum, and are substantially non-toxic” to hu-
                mans. Id. at col. 6 ll. 2–5
                    The ’435 patent contains 20 claims. Claim 1, the only
                independent claim, recites:
                    1. A nucleic acid-lipid particle comprising:
                        (a) a nucleic acid;




                                                                                    JA002929
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 5 Page
                                          Filed 01/03/24 Filed: 386
                                                                12/01/2021
                                                                    of 910 PageID #: 9966




                        (b) a cationic lipid comprising from 50 mol
                            % to 85 mol % of the total lipid present
                            in the particle;
                        (c) a non-cationic lipid comprising from 13
                            mol % to 49.5 mol % of the total lipid
                            present in the particle; and
                        (d) a conjugated lipid that inhibits aggre-
                            gation of particles comprising from 0.5
                            mol % to 2 mol % of the total lipid pre-
                            sent in the particle.
                Id. at col. 89 ll. 55–63. Many of the dependent claims con-
                tain additional limitations directed to one of the various
                components in the nucleic acid-lipid particle of claim 1. For
                example, claims 2 and 3 are directed to the nucleic acid
                component, claim 4 is directed to the cationic lipid compo-
                nent, claims 5–8 are directed to the non-cationic lipid com-
                ponent, and claims 9–12 are directed to the conjugated
                lipid component. Id. at col. 89 l. 64–col. 91 l. 21. The re-
                maining dependent claims pertain to the encapsulation of
                the nucleic acid within the particle, id. at col. 91 ll. 22–24
                (claim 13), pharmaceutical compositions comprising the
                particle, id. at col. 92 ll. 1–3 (claim 14), and methods for in-
                troducing a nucleic acid into a cell, in vivo delivery of a nu-
                cleic acid, and treatment using the particle, id. at col. 92
                ll. 4–22 (claims 15–20).
                         II. Inter Partes Review of the ’435 Patent
                     Moderna petitioned for inter partes review of the ’435
                patent. In its petition, Moderna asserted three grounds
                challenging all claims of the ’435 patent. In the first
                ground, Moderna alleged that all claims of the ’435 patent
                would have been obvious under 35 U.S.C. § 103 over a com-
                bination of International Pat. Publ. WO 2005/007196 (“the
                ’196 PCT”) and U.S. Pat. Publ. 2006/0134189 (“the ’189
                publication”). In the second ground, Moderna alleged that
                all claims of the ’435 patent would have been obvious over




                                                                                   JA002930
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 6 Page
                                          Filed 01/03/24 Filed: 387
                                                                12/01/2021
                                                                    of 910 PageID #: 9967




                a combination of the ’196 PCT, the ’189 publication, Lin, 2
                and Ahmad. 3 In the third ground, Moderna alleged that
                all claims of the ’435 patent were anticipated by U.S. Pat.
                Publ. 2006/0240554 (“the ’554 publication”) under
                35 U.S.C. § 102, and alternatively that the claims would
                have been obvious over the ’554 publication.
                    Moderna’s obviousness arguments with respect to all
                grounds centered on alleged overlapping ranges of compo-
                nents. For example, claim 1 of the ’435 patent recites a
                composition range for the cationic lipid that is “from 50
                mol % to 85 mol % of the total lipid present in the particle.”
                See ’435 patent at col. 89 ll. 57–58. In comparison, the ’196
                PCT and the ’189 publication each disclose a range of be-
                tween 2 mol % and 60 mol % for the cationic lipid. See
                ’196 PCT ¶ 88; ’189 publication ¶ 152. According to
                Moderna, the range for each lipid component in the
                claims—i.e., the cationic lipid, the non-cationic lipid, and
                the conjugated lipid—overlaps with the range for that lipid
                component taught by the prior art.
                    Moderna’s anticipation argument was based on one for-
                mulation—the “L054 formulation”—disclosed in the ’554
                publication. Moderna argued that the L054 formulation
                contained all of the claimed components in amounts within
                the claimed ranges of the ’435 patent. Specifically,
                Moderna contended that the L054 formulation contained
                50 mol % cationic lipid (which is within the 50–85 mol %
                range of claim 1), 48 mol % non-cationic lipid (which is


                    2  Alison J. Lin, et al., Three-Dimensional Imaging of
                Lipid Gene-Carriers: Membrane Charge Density Controls
                Universal Transfection Behavior in Lamellar Cationic Lip-
                osome-DNA Complexes, 84 Biophysical J. 3307–16 (2003).
                    3  Ayesha Ahmad, et al., New Multivalent Cationic
                Lipids Reveal Bell Curve for Transfection Efficiency Ver-
                sus Membrane Charge Density: Lipid-DNA Complexes for
                Gene Delivery, 7 J. Gene Med. 739–48 (2005).




                                                                                 JA002931
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 7 Page
                                          Filed 01/03/24 Filed: 388
                                                                12/01/2021
                                                                    of 910 PageID #: 9968




                within the 13–49.5 mol % range of claim 1), and 2 mol %
                conjugated lipid (which is within the 0.5–2 mol % range of
                claim 1).
                    The Board found that Moderna proved by a preponder-
                ance of the evidence that claims 1–6, 9, 12, and 14–15 were
                anticipated by the L054 formulation in the ’554 publica-
                tion. However, the Board found that Moderna failed to
                prove that the remaining claims were anticipated, or that
                those claims would have been obvious over the prior art.
                     Moderna appealed from the Board’s decision that it had
                failed to show that claims 7–8, 10–11, 13, and 16–20 were
                not anticipated and/or would not have been obvious. Pro-
                tiva cross-appealed from the Board’s decision that
                claims 1–6, 9, 12, and 14–15 were anticipated. Subject to
                the parties’ dispute about Moderna’s standing to pursue its
                appeal, which we discuss further below, we have jurisdic-
                tion pursuant to 28 U.S.C. § 1295(a)(4).
                                       DISCUSSION
                                   I. Moderna’s Appeal
                     Before we consider Moderna’s arguments on the merits
                of the Board’s decision upholding claims of the ’435 patent,
                we must first determine whether Moderna has standing to
                pursue its appeal. After all, “no principle is more funda-
                mental to the judiciary’s proper role in our system of gov-
                ernment than the constitutional limitation of federal-court
                jurisdiction to actual cases or controversies.” Daim-
                lerChrysler Corp. v. Cuno, 547 U.S. 332, 341–42 (2006)
                (quoting Raines v. Byrd, 521 U.S. 811, 818 (1997)).
                    Since the America Invents Act took effect nearly a dec-
                ade ago, we have had a number of occasions to consider the
                question of standing in appeals from Board decisions in




                                                                               JA002932
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 8 Page
                                          Filed 01/03/24 Filed: 389
                                                                12/01/2021
                                                                    of 910 PageID #: 9969




                IPR proceedings. 4 Our precedent generally makes clear
                that, as in all appeals before this court, an appellant seek-
                ing review of a Board decision in an IPR must have “(1) suf-
                fered an injury in fact, (2) that is fairly traceable to the
                challenged conduct of the [appellee], (3) that is likely to be
                redressed by a favorable judicial decision.” Phigenix, 845
                F.3d at 1171–72 (Fed. Cir. 2017) (quoting Spokeo, Inc. v.
                Robbins, 136 S. Ct. 1540, 1547 (2016)).
                    Under the IPR statute, there is no standing require-
                ment for petitioners to request institution of IPR by the
                Board. See Cuozzo Speed Techs., LLC v. Lee, 136 S. Ct.
                2131, 2143–44 (2016) (“Parties that initiate [IPRs] need not
                have a concrete stake in the outcome; indeed, they may lack
                constitutional standing.”). And we recognize that where a
                statute grants judicial review, as the IPR statute does, see
                35 U.S.C. § 319, the criteria of immediacy and redressabil-
                ity may be “relaxed.” See Momenta, 915 F.3d at 768. But
                we have always maintained that a party’s participation in
                the underlying IPR before the Board is insufficient by itself
                to confer standing on that party to appeal the Board’s deci-
                sion to this Article III court. See Phigenix, 845 F.3d
                at 1175; see also Momenta, 915 F.3d at 768 (“Although the
                statutory grant of judicial review may ‘relax’ the Article III
                criteria, judicial review of agency action remains subject to
                the constitutional foundation of injury-in-fact, lest the
                court occupy only an advisory role.”); JTEKT, 898 F.3d
                at 1219 (“[T]he statute cannot be read to dispense with the



                    4   See, e.g., Apple Inc. v. Qualcomm Inc., 992 F.3d
                1378 (Fed. Cir. 2021); Samsung Elecs. Co. v. Infobridge Pte.
                Ltd., 929 F.3d 1363 (Fed. Cir. 2019); Momenta Pharms.,
                Inc. v. Bristol-Myers Squibb Co., 915 F.3d 764 (Fed. Cir.
                2019); JTEKT Corp. v. GKN Auto. Ltd., 898 F.3d 1217
                (Fed. Cir. 2018); Phigenix, Inc. v. Immunogen, Inc., 845
                F.3d 1168 (Fed. Cir. 2017); Consumer Watchdog v. Wis.
                Alumni Research Found., 753 F.3d 1258 (Fed. Cir. 2014).




                                                                                 JA002933
              Case: 20-1184
Case 1:22-cv-00252-MSG        Document:
                          Document 181-4 135    Page: 9 Page
                                          Filed 01/03/24 Filed: 390
                                                                12/01/2021
                                                                    of 910 PageID #: 9970




                Article III injury-in-fact requirement for appeal to this
                court.”). Accordingly, even when an appellant is “sharply
                opposed to the Board’s decision and the existence of [a] pa-
                tent, that is not enough to make th[e] dispute justiciable.”
                Consumer Watchdog, 753 F.3d at 1263.
                     As the party seeking judicial review, Moderna “has the
                burden of establishing that it possesses the requisite in-
                jury.” See JTEKT, 898 F.3d at 1220. Moreover, Moderna
                must show that standing existed at the time it filed its ap-
                peal and has continued to exist at all times throughout the
                appeal. See Steffel v. Thompson, 415 U.S. 452, 459 n.10
                (1974) (“[A]n actual controversy must be extant at all
                stages of review, not merely at the time the complaint is
                filed.”); Momenta, 915 F.3d at 770 (“[I]t is established that
                jurisdiction must exist throughout the judicial review, and
                an intervening abandonment of the controversy produces
                loss of jurisdiction.”).
                     Shortly after Moderna filed this appeal in Novem-
                ber 2019, Protiva moved to dismiss for lack of standing.
                Protiva argued that Moderna had never established that it
                suffered an injury in fact. See Protiva Opening Standing
                Br. 5 at 1. Protiva emphasized that it had never initiated a
                patent infringement action or directly accused Moderna of
                infringing its patents, and thus Moderna could only show
                standing to appeal the Board’s decision if it were “currently
                using claimed features” of the ’435 patent “or nonspecula-
                tively planning to do so.” Id. at 4 (citing Fischer & Paykel
                Healthcare Ltd. v. ResMed Ltd., No. 2018-2262 (Fed. Cir.
                Nov. 27, 2019) (Order, non-precedential)). Indeed, Protiva
                argued, Moderna had consistently taken the position that
                it was not using Protiva’s patented technology and did not
                intend to do so. Id. at 5.




                    5   Dkt. 22.




                                                                                JA002934
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 10 Page
                                              01/03/24  Filed:391
                                                               12/01/2021
                                                                  of 910 PageID #: 9971




                    In opposing Protiva’s motion to dismiss, Moderna ex-
               pressly stated in January 2020 that it did “not base its Ar-
               ticle III standing on the threat of an impending
               infringement suit or Protiva’s accusations of infringe-
               ment.” Moderna Resp. Standing Br. 6 at 3. Rather,
               Moderna argued, its standing was based on its status as a
               “current licensee to the ’435 patent for four viral tar-
               gets . . . with actual monetary obligations . . . that are im-
               pacted by the Board’s validity determinations.” Id. at 3–4.
               Moderna relied on our case law for the proposition that
               “[t]he risk of a future infringement suit is not the only way
               an IPR petitioner can show injury-in-fact.” Id. at 4 (citing
               Gen. Elec. Co. v. United Techs. Corp., 928 F.3d 1349, 1357
               (Fed. Cir. 2019)). Moderna repeatedly cited our decision in
               Samsung Electronics Co. v. Infobridge Pte. Ltd., to support
               its position that financial impacts to an appellant based on
               licensing obligations can be an independent means by
               which to establish an injury-in-fact supporting standing.
               See Moderna Resp. Standing Br. at 4, 8–9 (citing Samsung,
               929 F.3d at 1368).
                   In support of its responsive brief in opposition to Pro-
               tiva’s motion to dismiss, Moderna submitted a declaration
               from Shaun Ryan, who was its Senior Vice President and
               Deputy General Counsel. 7 In his declaration, Mr. Ryan de-
               scribed information relating to Moderna’s status as a



                   6    The non-confidential version of Moderna’s respon-
               sive brief is Dkt. 28. Moderna filed the confidential version
               of its brief as Dkt. 30.
                    7   For confidentiality purposes, Moderna filed
               Mr. Ryan’s declaration under seal with the confidential
               version of its responsive brief in Dkt. 30. In this opinion,
               to the extent we reference information from that confiden-
               tial declaration, we reference only material that Moderna
               has subsequently made public through its briefing and oral
               argument in this appeal.




                                                                                JA002935
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 11 Page
                                              01/03/24  Filed:392
                                                               12/01/2021
                                                                  of 910 PageID #: 9972




               sublicensee of the ’435 patent. Specifically, Mr. Ryan at-
               tested that Protiva had licensed the ’435 patent among
               other patents to a company called Acuitas Biotherapeutics
               (“Acuitas”), and that Acuitas had, in turn, granted a series
               of sublicenses to Moderna to practice the patented technol-
               ogy for four viral targets, one of which was Respiratory
               Syncytial Virus (“RSV”). Mr. Ryan further stated that, un-
               der its rights from the Acuitas sublicenses, Moderna was
               engaged in an active development program for the RSV vi-
               ral target. According to Mr. Ryan, Moderna had already
               made one milestone payment to Acuitas, and potentially
               could have additional milestone and royalty obligations in
               the future. Thus, Moderna argued, the royalty and mile-
               stone obligations owed to Acuitas for the use of the ’435 pa-
               tent caused harm to Moderna by increasing the financial
               burdens on Moderna’s RSV development program.
                    We denied Protiva’s motion, but we specifically noted
               that our denial was without prejudice to allow Protiva to
               raise its standing argument in its merits brief. See Dkt. 35.
               Shortly thereafter, Moderna filed its opening brief on the
               merits, relying in its jurisdictional statement mainly on the
               same arguments and evidence it had presented in opposing
               Protiva’s motion to dismiss. Moderna Opening Br. at 6–9.
               Protiva then filed its responsive brief, including its re-
               sponse to Moderna’s assertions of standing. Protiva Resp.
               Br. at 5–9. Protiva argued that the mere existence of a li-
               cense is not sufficient to support Article III standing, and
               that Moderna’s alleged “obligations” were “nothing but
               rank speculation, which even Moderna characterizes as an
               if and when proposition.” Id. at 5. Protiva noted that the
               last milestone payment Moderna had made to Acuitas was
               on or before February 2016, and emphasized that Moderna
               “fail[ed] to identify any recent milestone payment or any
               such payment reasonably forthcoming.” Id. at 7.
                    In March 2021, approximately nine months after
               Moderna had filed its opening brief on the merits, Moderna
               filed a motion to supplement the record to provide




                                                                               JA002936
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 12 Page
                                              01/03/24  Filed:393
                                                               12/01/2021
                                                                  of 910 PageID #: 9973




               additional evidence of standing. In that motion, Moderna
               argued that “new facts supporting Moderna’s ongoing
               standing to appeal have arisen, and the existing facts have
               continued to develop.” Moderna Mot. to Suppl. 8 at 3.
                   The “existing facts” to which Moderna referred were
               those that Mr. Ryan had described in his original declara-
               tion more than a year earlier. With its motion to supple-
               ment, Moderna submitted a supplemental declaration from
               Mr. Ryan, 9 in which he stated that Moderna had, at some
               point during the previous year, terminated the RSV devel-
               opment program that had been active at the time that the
               appeal was filed. He also admitted that none of the four
               viral targets that were covered under the Acuitas subli-
               censes were being pursued to further phases, though he
               noted that they had not been fully abandoned. Im-
               portantly, Mr. Ryan did not provide an approximate date
               on which that RSV development program had been termi-
               nated, nor did he describe any concrete plans to further
               pursue development programs for any of the four viral tar-
               gets.
                  The “new facts” to which Moderna referred related to
               Moderna’s ongoing development of a vaccine for COVID-19.
               Mr. Ryan’s supplemental declaration described Moderna’s


                   8    The non-confidential version of Moderna’s motion
               is Dkt. 111. Moderna filed the confidential version of its
               brief as Dkt. 112.
                   9    Like his original declaration, Mr. Ryan’s supple-
               mental declaration also purports to contain confidential in-
               formation. Again, we reference only material from the
               supplemental declaration that Moderna has made public.
               Moreover, attached to Mr. Ryan’s supplemental declara-
               tion in this appeal was a supplemental declaration that he
               submitted on the same day in Appeal No. 20-2329. For pur-
               poses of this opinion, we treat these two supplemental dec-
               larations as one.




                                                                              JA002937
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 13 Page
                                              01/03/24  Filed:394
                                                               12/01/2021
                                                                  of 910 PageID #: 9974




               work that led to its concrete plans as of September 2020 to
               release a COVID-19 vaccine, its emergency use authoriza-
               tion as of December 2020, and its subsequent commercial
               shipments of the vaccine. Mr. Ryan also described a series
               of public statements made by Arbutus in 2017 regarding
               the alleged extensive scope of its patents. According to Mr.
               Ryan, those aggressive public statements by Arbutus, in
               combination with Arbutus’s refusal to grant Moderna a
               covenant not to sue and Arbutus’s consistent insistence
               that Moderna requires a license to Arbutus’s patents, cre-
               ated a significant risk that Arbutus would sue for patent
               infringement.
                    During oral argument, counsel for Moderna explained
               its position that “Moderna had and continues to have
               standing to pursue this appeal.” Oral Arg. at 1:32,
               https://oralarguments.cafc.uscourts.gov/default.aspx?fl=20
               -1184_10072021.mp3. Moderna’s counsel began by argu-
               ing that the basis for Moderna’s standing “at the outset
               when this appeal was filed in November of 2019,” id. at
               1:38, was “contractual rights that are affected by a deter-
               mination of patent validity,” id. at 2:27. Counsel repeat-
               edly emphasized the “active” status of Moderna’s RSV
               development program at that time, which had resulted in
               one milestone payment and potentially could have resulted
               in future milestone and royalty obligations. But Moderna’s
               counsel then argued that “the situation has evolved,” id.
               at 6:53, and the “evolution keeps this controversy alive,” id.
               at 8:24.       Specifically, counsel conceded that “over
               time, . . . that particular RSV program was not pursued,”
               id. at 8:36, but “at the same time, the COVID vaccine was
               developed and ultimately [] delivered to the market and
               commercialized,” id. at 8:53.
                    Arbutus’s counsel responded by challenging each as-
               pect of Moderna’s standing timeline, as well as the timeline
               as a whole.      Counsel began by arguing, regarding
               Moderna’s position on standing at the time the appeal was
               filed, that “any notion of immediacy is entirely absent”




                                                                                JA002938
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 14 Page
                                              01/03/24  Filed:395
                                                               12/01/2021
                                                                  of 910 PageID #: 9975




               from the evidence that Moderna presented on its “specula-
               tive” licensing obligations. Id. at 16:50. Arbutus’s counsel
               also insisted that it was crucial that the ’435 patent was
               only one of many patents licensed under the Acuitas subli-
               censes, and that Moderna had not shown how its payment
               obligations would change if the ’435 patent were to be in-
               validated. Next, Arbutus’s counsel turned to Moderna’s
               concession that the RSV development program had at some
               point been abandoned, focusing on the lack of evidence re-
               garding “when that happened versus when their COVID
               vaccine came into being and recreated” standing. Id. at
               23:33.
                    We agree with Arbutus that Moderna lacked standing
               at the time the appeal was filed. Even if the ’435 patent
               was the only patent that Moderna had licensed under the
               Acuitas sublicenses, Moderna’s evidence of financial bur-
               dens from the validity of that patent is too speculative.
               Notwithstanding Moderna’s counsel’s repeated characteri-
               zation of the RSV development program as “active” at the
               time this appeal was filed, Moderna concedes that the last
               milestone payment it made under the Acuitas sublicenses
               was approximately five years earlier, and Mr. Ryan’s dec-
               laration states only that Moderna would have to make an
               additional milestone payment “if and when” a future mile-
               stone is reached. On this evidence, Moderna falls short of
               its burden to demonstrate that at the time it filed this ap-
               peal, it had suffered or was suffering a “concrete” injury
               from the existence of the ’435 patent. See Phigenix, 845
               F.3d at 1171 (“To constitute a ‘concrete’ injury, the harm
               must ‘actually exist’ or appear ‘imminent’—a ‘conjectural
               or hypothetical’ injury will not suffice.” (internal citations
               omitted)).
                   Even more problematic for Moderna, the ’435 patent is
               not the only patent licensed under the Acuitas sublicenses,
               but rather it is one of many licensed patents. On this point,
               the parties appear to agree that the two crucial cases are
               Samsung and Apple. In Samsung, we held that the




                                                                                JA002939
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 15 Page
                                              01/03/24  Filed:396
                                                               12/01/2021
                                                                  of 910 PageID #: 9976




               appellant had standing because, even though multiple pa-
               tents were licensed, the appellant had provided evidence
               demonstrating that the express terms of the contract struc-
               tured the patent pool in such a way that invalidation of the
               patent at issue in the underlying IPR would have changed
               the amount of royalties. Samsung, 929 F.3d at 1368. In
               contrast, in Apple we held that the appellant lacked stand-
               ing because multiple patents had been licensed, and the
               appellant failed to present evidence that invalidation of the
               particular patents it was challenging would affect its con-
               tractual rights by changing its royalty obligations. Apple,
               992 F.3d at 1383.
                   The facts here resemble those in Apple, not those in
               Samsung. Moderna has provided no evidence as to how, if
               at all, its obligations under the Acuitas sublicenses would
               change if it is successful in its attempts to have the ’435 pa-
               tent declared invalid while the remaining licensed patents
               continue to exist. Thus, Moderna has failed to meet its bur-
               den of demonstrating that it suffers an injury from the ex-
               istence of the ’435 patent, or that any such injury would be
               redressed by invalidation of that patent. See id. at 1383–
               84. Accordingly, we agree with Arbutus that Moderna
               lacked standing at the time this appeal was filed.
                    We also agree with Arbutus that, even if Moderna had
               standing at the time it filed this appeal, Moderna has failed
               to demonstrate that it continuously had standing through-
               out the pendency of the appeal. Under our precedent, an
               “intervening abandonment of the controversy produces loss
               of jurisdiction.” Momenta, 915 F.3d at 770. Moderna’s ev-
               idence fails to show an approximate date when the RSV
               development program was terminated. Thus, on the record
               before us, it is impossible to determine whether, by the
               time the RSV development program was terminated,
               Moderna was already sufficiently underway with its devel-
               opment of a COVID-19 vaccine to “create[] a substantial
               risk of future infringement or likely cause the patentee to
               assert a claim of infringement.” E.I. DuPont de Nemours




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             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 16 Page
                                              01/03/24  Filed:397
                                                               12/01/2021
                                                                  of 910 PageID #: 9977




               & Co. v. Synvina C.V., 904 F.3d 996, 1004–05 (Fed. Cir.
               2018).
                   As the appellant, Moderna bears the burden on the is-
               sue of standing, JTEKT, 898 F.3d at 1220, including the
               burden to demonstrate that there has been no gap in its
               standing while this appeal has been pending, Momenta,
               915 F.3d at 770. In view of Moderna’s concession that the
               basis for its standing shifted during the pendency of this
               appeal—i.e., from the financial burdens of the Acuitas sub-
               licenses to a potential infringement suit for the COVID-19
               vaccine—Moderna had to come forth with evidence to
               demonstrate the necessary continuity of jurisdiction.
               Moderna failed to do so.
                   For the reasons explained above, we find that Moderna
               has failed to meet its burden on its standing to pursue this
               appeal. Therefore, Moderna’s appeal must be dismissed.
                               II. Arbutus’s Cross-Appeal
                   With respect to the cross appeal, there is no dispute
               that Arbutus, as the patent owner, has standing to appeal
               the Board’s decision that claims 1–6, 9, 12, and 14–15 are
               unpatentable. Thus, we proceed to the merits.
                    Arbutus argues that the Board erred by failing to rec-
               ognize a critical distinction between starting ingredients
               versus a final product. Arbutus contends that the claims
               of the ’435 patent are directed to completed lipid particles
               of defined composition. In contrast, Arbutus argues, the
               L054 formulation disclosed in the ’554 publication is a lipid
               mixture of starting ingredients for making lipid particles,
               not a completed lipid particle itself. According to Arbutus,
               expert testimony and corroborating literature demon-
               strated that a person of ordinary skill in the art would have
               expected the composition of components in a final lipid par-
               ticle to deviate from the composition of components in the
               mixture of starting ingredients. Arbutus further argues
               that its expert provided evidence that the ’554 publication’s




                                                                               JA002941
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 17 Page
                                              01/03/24  Filed:398
                                                               12/01/2021
                                                                  of 910 PageID #: 9978




               fabrication process would skew the L054 formulation’s fi-
               nal lipid particle such that the final composition would fall
               outside the range of the ’435 patent claims.
                    Moderna responds that substantial evidence supports
               the Board’s factual findings regarding the disclosures of
               the ’554 publication. Moderna notes that the Board specif-
               ically considered Arbutus’s argument that the L054 formu-
               lation failed to teach the composition of the final lipid
               particle, but the Board rejected that argument. Moderna
               argues that after weighing the evidence, the Board found
               that it was standard practice in the field to describe lipid
               particles by the composition of components in the input for-
               mulation. The Board further relied on the disclosures of
               the prior art and the ’435 patent itself, as well as the testi-
               mony of expert witnesses.
                   We review the Board’s legal determinations de novo, In
               re Elsner, 381 F.3d 1125, 1127 (Fed. Cir. 2004), but we re-
               view the Board’s factual findings underlying those deter-
               minations for substantial evidence, In re Gartside, 203 F.3d
               1305, 1316 (Fed. Cir. 2000). A finding is supported by sub-
               stantial evidence if a reasonable mind might accept the ev-
               idence as adequate to support the finding. Consol. Edison
               Co. v. NLRB, 305 U.S. 197, 229 (1938).
                     “Anticipation is a question of fact that we review for
               substantial evidence.” Blue Calypso, LLC v. Groupon, Inc.,
               815 F.3d 1331, 1341 (Fed. Cir. 2016) (citing Kennametal,
               Inc. v. Ingersoll Cutting Tool Co., 780 F.3d 1376, 1381 (Fed.
               Cir. 2015)). A prior art reference anticipates a claim if it
               discloses “each and every element of the claimed invention
               . . . arranged or combined in the same way as in the claim.”
               Id. (quoting In re Gleave, 560 F.3d 1331, 1334 (Fed. Cir.
               2009)).
                   We agree with Moderna that substantial evidence sup-
               ports the Board’s decision. Arbutus’s arguments pertain to
               whether a person of ordinary skill in the art would have
               reasonably understood from the disclosure in a prior art




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             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 18 Page
                                              01/03/24  Filed:399
                                                               12/01/2021
                                                                  of 910 PageID #: 9979




               reference that every element of the claims is disclosed,
               which is the “dispositive question regarding anticipation.”
               See AstraZeneca LP v. Apotex, Inc., 633 F.3d 1042, 1055
               (Fed. Cir. 2010). In evaluating that question, the Board
               first considered the substantial evidence that Moderna pre-
               sented that a person of ordinary skill would understand
               that the mol % of each component in the L054 formulation
               would result in lipid particles within the claimed ranges of
               the ’435 patent, which also describes lipid particles in
               terms of mol % of the formulation. Board Decision, 2019
               Pat. App. LEXIS 13612, at *23. Thus, the Board turned to
               Arbutus’s evidence and found that it, at best, suggested
               that there would be some variation in the final composi-
               tions of the lipid particles fabricated from the L054 formu-
               lation. See id. at *23–24. But the Board rejected as
               speculative Arbutus’s expert’s opinion that all of the parti-
               cles formed from L054 formulation would fall outside the
               claimed ranges. Id. at *24–27. And the Board noted that
               anticipation “does not require that all of the formed parti-
               cles from the L054 formulation . . . be within the claimed
               ranges . . . . Anticipation merely requires that a composi-
               tion within the claimed ranges be disclosed.” Id. at *28 (cit-
               ing Titanium Metals Corp. v. Banner, 778 F.2d 775, 782
               (Fed. Cir. 1985)).
                   The Board’s legal conclusions regarding the require-
               ments of anticipation were correct. “When a patent claims
               a range, as in this case, that range is anticipated by a prior
               art reference if the reference discloses a point within the
               range.” Ineos USA LLC v. Berry Plastics Corp., 783 F.3d
               865, 869 (Fed. Cir. 2015) (citing Titanium Metals, 778 F.2d
               at 782). Furthermore, an anticipating reference need not
               show that every disclosed compound anticipates; rather it
               is sufficient that it contains a disclosure of “at least one
               compound which anticipates.” See In re Sasse, 629 F.2d
               675, 682 (Fed. Cir. 1980). Thus, to anticipate the claims of
               the ’435 patent, the question for the Board was whether the




                                                                                JA002943
             Case: 20-1184
Case 1:22-cv-00252-MSG       Document:
                         Document 181-4135
                                         FiledPage: 19 Page
                                              01/03/24  Filed:400
                                                               12/01/2021
                                                                  of 910 PageID #: 9980




               ’554 publication discloses at least one composition that falls
               within the claimed ranges.
                   The Board weighed the evidence and found, as a factual
               matter, that the ’554 publication disclosed at least one com-
               position that anticipates the claims. In challenging that
               factual determination in this appeal, Arbutus relies on the
               same evidence and argument that failed to convince the
               Board that the L054 formulation does not anticipate the
               completed lipid particles of the ’435 patent claims. But Ar-
               butus fails to persuade us that Moderna’s evidence was in-
               sufficient to allow the Board to find that the L054
               formulation does anticipate. Substantial evidence sup-
               ports the Board’s decision.
                                       CONCLUSION
                   We have considered the parties’ remaining arguments
               but we find them unpersuasive. Accordingly, we dismiss
               Moderna’s appeal for lack of standing. We affirm the
               Board’s final written decision that claims 1–6, 9, 12, and
               14–15 are unpatentable as anticipated.
                   DISMISSED-IN-PART, AFFIRMED-IN-PART
                                          COSTS
               No costs.




                                                                                JA002944
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 401 of 910 PageID #: 9981




                   JOINT APPENDIX 76
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 402 of 910 PageID #: 9982




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    3 September 2018                                                                                                   -
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    Dear Sirs
                                                                                                                       m
    Re:      EP No 2 279 254
             Protiva Biotherapeutics Inc.
             PB Reference GSl-O001 EP

    The following is the Proprietor's response to the notices of opposition filed against the above noted
    patent.

    With this response we file:

            Auxiliary Requests 1 to 4 (AR1 to AR4), in both clean and marked-up form;
            D28:      Uyechi-O'Brien & Szoka Pharmaceutical Gene Delivery Systems 2003: 79-108;
            D29:      Song et al. Biochimica et Biophysica Acta 2002; 1558: 1-13;
            D30:      Ambegia et al. Biochimica et Biophysica Acta 2005; 1669: 155-163.

    The Proprietor's requests are set out in Section A of this response. In particular, oral proceedings are
    requested under Article 116 EPC in the event that the OD cannot grant the Proprietor's main request
    (i.e. maintenance as granted) on the basis of the written proceedings.

    Yours faithfully

    / BROUGHTON, Jon Philip/

    Patent Boutique LLP
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 403 of 910 PageID #: 9983




         RESPONSE TO OPPOSITIONS BY MERCK, SHARP & DOHME CORP. AND
                              MODERNA TX, INC.

                                 EP 2 279 254 81
              "NOVEL LIPID FORMULATIONS FOR NUCLEIC ACID DELIVERY


    A.    Introduction and Requests

    1.    EP 2 279 254 B1 (the Patent) of Protiva Biotherapeutics Inc. (Proprietor) has been
          opposed by Merck, Sharp & Doh me Corp (01) and Modern aTX, Inc. (02). The Patent
          was granted on application number EP 09 731866.1 (PCT application number
          PCT/CA2009/000496) having a filing date of 15 April 2009. The Patent claims the
          priority of US 61/045,228 and therefore has a priority date of 15 April 2008.

    2.    Although priority has been challenged by 01 on the basis of lack of entitlement of
          Protiva Biotherapeutics Inc. (Applicant) to claim priority from this document, no prior
          art attacks rely upon the consequential alleged loss of priority. The Proprietor
          maintains that the Applicant was entitled to claim priority at the filing date of the PCT
          application since it was the successor in title of the inventors and applicants of US
          61/045,228, by virtue of Canadian law and employment contracts. The Proprietor
          reserves the right to substantiate its position at a later date, should O1 's objection to
          priority become relevant in the future.

    3.    D1 to D8 were cited in O1 's opposition statement. The documents that were cited as
          D1 to D23 in O2's opposition statement have been renumbered.            A revised
          consolidated list of cited documents is provided in Annex 1.

    4.    The Proprietor requests that the opposition be rejected and the patent be maintained
          on the basis of the claims of the main request (MR; the claims as granted). If the
          Opposition Division (OD) does not consider the MR to be allowable, the Proprietor
          requests that the Patent be maintained on the basis of one of auxiliary request 1 (AR1)
          to auxiliary request 4 (AR4). The Proprietor reserves the right to present further
          auxiliary requests based upon combinations of AR1-AR4 should it be necessary. Oral
          proceedings are requested under Article 116 EPC in the event that the OD cannot
          grant the Proprietor's MR on the basis of the written proceedings.

    5.    The Proprietor reserves the right to provide further comments on any of the issues
          raised in the oppositions at a later date if necessary.




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                                                                                        JA002946
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 404 of 910 PageID #: 9984




    B.    The Invention

    6.    The Patent relates to an important technological advance in the emerging field of gene
          delivery systems. In particular, it discloses novel nucleic acid-lipid particle formulations
          that can be used, for instance, to treat cancer, liver disease, and viral infections.

    7.    The nucleic acid-lipid particles of the invention are serum-stable lipid particles, formed
          from a cationic lipid, a non-cationic lipid, and a conjugated lipid that prevents
          aggregation of the particle. These nucleic acid-lipid particles have important technical
          advantages over the use of cationic liposome complexes (also known as lipoplexes).
          As the Patent explains at [0005]:

           [OOOSJ C:atiornc liposome complexes are large, poorly defined systems mat are not suited for systemic applications
           and can elicit considerable toxic side effects (Harriimn et aL Biotectmiques, 19:816 (1995): LI et a!., The Gene. 4:891
           {1997); Tam et al, Gene Tlver, 7:1867 (2000)), As lllrue. positively chargBd aggregates, lipoplexes are rapidly cleared
           when administered in vivo, wi1h highest expression levels observed in first-pass organs, pe.rlilcu~rty the lungs (Huang
           et al., Nature Biotechnology, 15620 (1997); Templeton et Ill., Nature Biotechnology, 15:647 j1997); Haff1md et al.
           Ph:nmaceutical Research. 14:742 (1997)).



    8.    Unlike cationic liposome complexes and other nucleic acid delivery systems in the prior
          art, the nucleic acid-particles of the invention are small, serum-stable and substantially
          non-toxic, making them suitable for systemic applications.

    9.    Prior to the Patent, the trend in the field was to use delivery systems with low levels of
          cationic lipid. This prevailing mind-set was due to the fact that cationic liposome
          complexes were understood to be toxic due to the cationic lipid, the nucleic acid and/or
          the physical attributes of the liposome complex (see for example, page 99 of D28).
          This mind-set is also acknowledged in paragraph [0005] of the Patent, which states
          that "[c]ationic liposome complexes are large, poorly defined systems that are not
          suited for systemic applications and can elicit considerable toxic side effects".
          Furthermore, high levels of cationic lipid were known to result in in vivo aggregation,
          immunogenicity, and rapid clearance of these complexes from the circulation (see also
          paragraph [0005] of the Patent).

    10.   Another trend in the field was the incorporation of higher than the claimed levels of
          conjugated lipids to stabilise the particles so that the therapeutic nucleic acid payloads
          could reach the target cells. It was widely understood that failure to use such high
          levels of conjugated lipids would cause the particles to degrade or undergo dissolution
          before reaching their targets.

    11.   The invention of the Patent solved these problems by requiring a combination of:

          (a)       cationic lipid at 50 mol % to 65 mol %;

          (b)       non-cationic lipid at up to 49.5 mol %;

          (c)       cholesterol or cholesterol derivative at 30 mol % to 40 mol %; and

          (d)       conjugated lipid at 0.5 mol % to 2 mol %.


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                                                                                                                  JA002947
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 405 of 910 PageID #: 9985




    12.   This specific combination was found to be surprisingly effective for the systemic
          administration of the claimed nucleic acid-lipid particles in vivo, and does not elicit the
          feared toxic effects associated with formulations having a high level of cationic lipid.




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                                                                                         JA002948
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 406 of 910 PageID #: 9986




    C.    The Claims Do Not Add Matter (Art 123(2) EPC and Art 100(c) EPC)

    13.   Both Opponents have objected to claim 1 of the Patent as adding matter contrary to
          Art 123(2) EPC. 01 has additionally objected to claims 8 and 10, whereas 02 has not
          objected to those claims.

    Claim 1 does not add matter


    14.   The Opponents objections against claim 1 can be summarised as follows:

              Objection                                                                Opponent
              The combination of features in claim 1 parts (b) and (c) can only be     01 and 02
              derived by selecting from two or three lists including:
              Selection of the cationic lipid mol % range
              Selection of whether or not to incorporate cholesterol (or derivatives
              thereof) and phospholipids
              The mol % range of cholesterol
              Claim 1(c) adds matter because the mol % range of cholesterol            01
              derivatives is disclosed only in combination with a mol % range of
              phospholipids (not specified in claim 1).
              A lower limit of 13% for non-cationic lipids has been omitted from       02
              claim 1(c)
              There is no basis in the Application as Filed for a range of "a very     02
              small amounts to 19.5%" for the phospholipid - the only concrete
              definition of a range of phospholipids that is originally disclosed in
              combination with a range of 30-40 % cholesterol is 4-10%
              phospholipid.

    15.   The Opponents' objections are unfounded as shown in the following passages which
          explain the basis for claim 1 of the Patent.

    16.   Claim 13 of the Application as Filed provides the following (when incorporated into the
          language of claim 1 of the Application as Filed upon which it is dependent):

          •         A nucleic acid lipid particle comprising:
                    a)     a nucleic acid;
                    b)     a cationic lipid comprising from about 50 mol % to about 85 mol % of
                           the total lipid present in the particle;
                    c)     a non-cationic lipid comprising from about 13 mol % to about 49.5 mol %
                           of the total lipid present in the particle and comprising a mixture of a
                           phospholipid and cholesterol or a derivative thereof;
                    d)     a conjugated lipid that inhibits aggregation of particles comprising from
                           about 0.5 mol % to about 2 mol % of the total lipid present in the particle.

          (underlined subject matter is derived from claim 13 of the Application as Filed).




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                                                                                            JA002949
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 407 of 910 PageID #: 9987




    17.    Claim 1 of the Patent differs from the above in the following respects only:

           •      a mol % range has been specified for the cholesterol or derivative thereof;
           •      a lower limit of 13 mol % in part (c) is not explicitly recited; and
           •      claim 1 of the Patent recites a narrower range for the mol % range of cationic
                  lipid.

    The mo/ % range for cholesterol or derivatives thereof is derivable from the description
    of the Application as Filed

    18.   In order to determine whether these differences result in the addition of matter it is
          necessary to determine what the skilled person would have understood from the
          Application as Filed in respect of these features.

    19.   It is reasonable to assume that the skilled person would turn to the description to
          determine a suitable range for the mol % of the cholesterol or cholesterol derivative
          component of the above noted compositions. Section B of the description, starting at
          page 67 of the Application as Filed, is entitled: "B. Non-Cationic       Lipids"      and
          provides the skilled person with additional detail as to suitable non-cationic lipids and
          amounts thereof. At paragraph [0253] the specification teaches that in lipid particles
          containing a mixture of phospholipids and cholesterol, the cholesterol may comprise
          from about 30 mol % to about 40 mol % of the total lipid present in the particle. Certain
          sub-ranges are also provided in this paragraph, however the range of 30 to 40 mol %
          is the broadest disclosure in this paragraph.

    20.   It is further clear that the same range is also suitable for cholesterol derivatives.
          Paragraph [0130] of the Application as Filed teaches, in its first sentence, that in
          preferred embodiments the cholesterol or a derivative thereof is present in a range of
          from about 30 mol % to about 40 mol % of the total lipid present in the particle.

    21.   Opponent 1 has criticised this disclosure since it is provided in the context of
          embodiments in which an amount of phospholipid is also disclosed. However, there is
          no technical justification to support the notion that the skilled person, reading
          paragraphs [0253] and [O 130], would conclude that the recited range for cholesterol or
          derivatives thereof is only applicable in embodiments having the recited phospholipid
          range.

    22.   In fact, it is clear from, for example, claim 13 as originally filed, and paragraph [0119]
          that, as a generality, cholesterol may be substituted in the particles of the invention by
          cholesterol derivatives.       The skilled person would understand that cholesterol
          derivatives are intended to play the same role as cholesterol itself, and are therefore
          functionally equivalent to cholesterol in the particles. There is no teaching in the
          specification that would lead the skilled person to separate the teachings relating to
          cholesterol from those relating to cholesterol derivatives, and no reason for the skilled
          person to conclude that the mol % range for cholesterol derivatives is inextricably
          linked to the mol % range for phospholipids recited in the first sentence of paragraph
          [0130].


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                                                                                          JA002950
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 408 of 910 PageID #: 9988




    23.     Indeed, the specification makes it quite clear that the mol % range for cholesterol
            derivatives is not (technically) tied to the range of 4 to 10 mol % of phospholipids. From
            paragraph [0129] it is apparent that a range of 30 to 40 mol % cholesterol derivative is
            suitable for use even in a phospholipid-free particle (i.e. where the mol % of
            phospholipid is zero). Moreover, in the second part of paragraph [0130] the skilled
            person is taught that the phospholipid may be present at inter alia 3 mol % to 15 mol %
            and (in the same particle) the cholesterol or derivatives thereof may be present at, inter
            alia 30 mol % to 40 mol % 1 . The clear teaching is that a range of 30 to 40 mol % for
            cholesterol derivatives is technically suited for use with a much wider range of
            phospholipid mol % amounts than that recited in the first sentence of paragraph [0130].

    24.     In summary, the skilled person is taught, overall, in paragraph [0253] that in
            embodiments in which the non-cationic lipid comprises a phospholipid and cholesterol,
            the cholesterol may be present at 30 to 40 mol % regardless of the amount of
            phospholipid present. The specification further teaches, inter alia at paragraph [0 119],
            that, as a generality, cholesterol may be replaced by cholesterol derivatives.
            Paragraph [0130] confirms that the mol % range of 30 to 40 is suitable for both
            cholesterol and cholesterol derivatives.        Although disclosed in the context of
            embodiments having a particular range of phospholipid mol % amounts, it is clear to
            the skilled reader that the suitability of the mol % range for cholesterol derivatives is
            no more dependent on the range of phospholipid mol % amounts than is that for
            cholesterol itself.

    25.     Accordingly, taking into account the overall teaching of the specification, it is clear that
            the mol % range recited in claim 1(c) of the Patent does not add matter, whether
            applied to cholesterol or to cholesterol derivatives.

    The lower mo/ % limit of non-cationic lipids in claim 1 as filed is redundant and its
    omission does not therefore add matter

    26.     Claim 1 of the Patent requires that the non-cationic lipid component of the particles
            comprises cholesterol or a cholesterol derivative at between 30 and 40 mol % of the
            total lipid of the particle. Since the cholesterol or derivatives thereof are non-cationic
            lipids, claim 1 of the Patent is limited to embodiments having at least 30 mol % of non-
            cationic lipids2 . The lower limit of 13 mol % recited in claim 1 of the Application as
            Filed is therefore exceeded in all embodiments of the granted claims and its mention
            in claim 1 of the Patent is therefore wholly redundant.

    27.     There can be no addition of matter by the omission of a feature that is made redundant
            in a claim by the inclusion of other features (see, e.g. decision T 917/94 of the
            Technical Board of Appeal, Catchword 1 and point 1.1 of the Reasons for the Decision).

    1
      It is immaterial that in paragraphs [0129] and [0130] multiple different ranges are provided for
    phospholipid mol % ranges and for cholesterol/cholesterol derivatives mol %. Whether or not these
    paragraphs provide basis for any particular combination of ranges or sub-ranges is not relevant to the
    overall technical conclusion that the skilled person would draw, which is that a range of 30 - 40 mol %
    of cholesterol derivative is broadly applicable to particles having a wide range of phospholipid mol %
    amounts.
    2
      In fact the claim requires more than 30 mol % of non-cationic lipids because in addition to the
    cholesterol or derivative thereof, it must further comprise phospholipids.

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                                                                                              JA002951
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 409 of 910 PageID #: 9989




          Accordingly, there can be no addition of matter by omitting reference to 13 mol % non-
          cationic lipids.

    The mo/% amount recited for claim 1(b) does not add matter

    28.   It is often the case that a patent application as filed discloses suitable ranges for the
          amount of a component in a composition by reference to a broadest range, and by
          reference to preferred sub-ranges within that broad range.                 Whilst in some
          circumstances it might be correct to argue that a reference in a claim to one such sub-
          range might be considered a selection from a list, the same is not correct for the
          broadest disclosed range. The normal practice of the EPO (ranging from examining
          divisions through opposition divisions to technical boards of appeal) is to recognise
          that the broadest disclosed range is a generic teaching, applicable to all embodiments
          of the disclosed invention. That is, of course, a completely logical position to take,
          since the broadest disclosed range sets the boundaries within which the skilled person
          is instructed to work. No act of selection is required on behalf of the skilled person to
          arrive at that broadest range - rather, it is a starting point for all embodiments intended
          to fall within the scope of the invention.

    29.   The Application as Filed disclosed at paragraph [0113] that within the lipid particles of
          the invention, the cationic lipid component may comprise from about 50 mol % to about
          90 mol % of the total lipid present in the particle. This disclosure therefore established
          the upper and lower boundaries within which the cationic lipids should be kept, offering
          no choice to the skilled person to work outside of those boundaries.

    30.   During prosecution of the Application as Filed, the claims were limited, as discussed
          above, to specify that the cholesterol or derivative thereof comprises, at a minimum,
          30 mol % of the total lipid present in the particle. Together with the conjugated lipid of
          part (d) of claim 1, the cholesterol (or derivative thereof), and phospholipids comprise
          at a minimum, just over 30.5 mol % of the total lipids present in the particle (30 mol %
          cholesterol or derivative thereof; 0.5 mol % conjugated lipid; and an unspecified
          amount of phospholipid).

    31.   The skilled person is therefore fully able to determine, without any additional
          knowledge, that the maximum amount of cationic lipid in the particle cannot (as a
          matter of logic) exceed just under 69.5 mol %. Clearly the broadest disclosed range
          of 50 mol % to 90 mol % would be understood by the skilled person as not applying in
          circumstances where the upper boundary of the range is unworkable (both in logic and
          in practice).

    32.   For the sake of clarity and enablement, the claim must, of course, exclude unworkable
          combinations of mol % amounts and it is therefore necessary to define the range of
          mol % of cationic lipid in such a way that the upper limit is compatible with the lower
          limits of all other recited lipid components. The claim was therefore amended during
          prosecution to refer to the range now found in claim 1 of the Patent (50 mol % to 65
          mol %).




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                                                                                        JA002952
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 410 of 910 PageID #: 9990




    33.   This range is compatible with the recited amounts of other lipid components in the
          claim, and is disclosed at line 29 on page 24 of the Application as Filed (in paragraph
          [0113]).

    34.   In amending to this range, no selection has been made from a list of ranges. Rather,
          as would be apparent to the skilled person, the claim has been amended to define the
          broadest disclosed range that is compatible with the other recited components in the
          claim. The range recited in claim 1 maintains the same lower boundary (50 mol %) as
          in claim 1 as filed, and merely restricts the upper boundary to that of the broadest
          disclosed range that works in the claims (65 mol % ). No selection from a list is
          necessary to arrive at this upper boundary.

    35.   02 argues that other ranges disclosed in paragraph [0114] are also compatible with
          the recited amounts of other components within the claim. Of course, since as
          discussed above, the claim is limited to the broadest disclosed range that is compatible
          with the minimum amounts of other components recited in the claim. That there are
          other ranges falling within the broadest disclosed range is not surprising, nor does it
          impact upon the Patentee's position as discussed above. O2's arguments are simply
          irrelevant.

    36.   In summary, the limitation of the range of mol % amount for the cationic lipid
          component of claim 1 of the Patent is not arrived at by the selection from a list of ranges.
          Overall, therefore claim 1 finds basis in the Application as Filed by the simple
          combination of claim 13 as originally filed with the clear disclosure of a suitable amount
          of cholesterol or derivative thereof from paragraphs [0130] and [0235], and a
          necessary adjustment to the upper boundary of the range for cationic lipid amounts in
          the particle, disclosed at paragraph [0113]. Claim 1 does not, therefore, add matter in
          the sense of Art 123(2) EPC.

    Claim 8 does not add matter


    37.   01 has objected to claim 8 as adding matter on the grounds that the mol % amount
          ranges for cholesterol or derivatives thereof of claim 8 (a) are allegedly not disclosed
          "for the same reasons as discussed in connection with granted claim 1".

    38.   Claim 8, part (a) of the Patent recites that the cholesterol or derivative thereof
          comprises from 30 mol % to 35 mol % of the total lipid present in the particle. This
          range is disclosed in paragraph [0253] of the Application as Filed, and for the same
          reasons as discussed above in connection with claim 1 of the Patent this disclosure
          would be understood by the skilled person to apply equally to cholesterol and to
          derivatives thereof. There is no addition of matter in claim 8 part (a).

    39.   01 has further objected to claim 8 part (b) because it alleges that the range of 32 mol %
          to 36 mol % for cholesterol (or derivatives thereof) is not disclosed in combination with
          the range of 3 mol % to 15 mol % for phospholipids. However, paragraph [0130]
          expressly teaches (from page 27 line 29 onwards) that the non-cationic lipids may
          comprise a mixture of phospholipids from about 3 mol % to about 15 mol %, together

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                                                                                         JA002953
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 411 of 910 PageID #: 9991




          with cholesterol (or derivatives thereof) within certain ranges. Whilst the disclosure
          teaches that it might be desirable to narrow down the range of mol % amounts for
          phospholipids, it is explicitly taught to the skilled person that each range for cholesterol
          or derivatives thereof may be combined with each range of phospholipids disclosed in
          the paragraph.

    40.   Claim 8 part (b) merely reflects one of these recited combinations - the broadest range
          for phospholipids, combined with a narrower range for cholesterol or derivatives
          thereof. No selection from lists is required to arrive at this combination.

    41.   In view of the above, claim 8 of the Patent does not add matter.

    Claim 10 does not add matter


    42.   01 has also objected to claim 10 under Art 123(2) on the grounds that in claims 38
          and 33 of the Application as Filed, the recited phospholipids or cholesterol (or
          derivatives thereof) were not explicitly specified as being non-cationic (a requirement
          of claim 10 of the Patent).

    43.   Claim 38 of the Application as Filed disclosed precisely the same embodiment as in
          claim 10 of the Patent. It would be immediately apparent to the skilled person that the
          mixture of phospholipids and cholesterol (or a derivative thereof), recited in part (c) of
          claim 33 (upon which claim 38 is dependent), are intended as a different component
          from the cationic lipids of part (b) of claim 33. Part (b) of claim 33 recites a cationic
          lipid and provides a range, implying that there are no further cationic lipids contributed
          by either parts (c) or (d) of the claim.

    44.   Moreover, this understanding is fully supported throughout the specification which
          repeatedly teaches that non-cationic lipids suitable for the particles of the invention are
          phospholipids and cholesterol (or derivatives thereof). There is no new teaching
          whatsoever in claim 10 of the Patent in this regard, and claim 10 therefore does not
          add matter.




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                                                                                         JA002954
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 412 of 910 PageID #: 9992




    D.      Exclusion From Patentability (Art 53 EPC)

    45.     02 (but not 01) has presented an argument that claim 123 should be excluded from
            patentability under Art 53(c) EPC (pages 11 and 12 of O2's opposition statement).

    46.     02 has misinterpreted the case law of the Enlarged Board of Appeal in decision G1/07,
            and has ignored an entire section of the Enlarge Board of Appeal's opinion in that case.
            O2's conclusions are wrong.

    47.     In approving the earlier decision G1/04, decision G1/07 states, at section 3.2.3.1
            (second paragraph) of the Reasons for the Decision:

                   "In the above cited passage of its opinion G 1/04 the Enlarged
                   Board clearly and explicitly approved that jurisprudence, as regards
                   method steps for treatment by surgery or therapy. Whether an
                   obiter dictum or not, the cited passage is drafted in such clear terms
                   as to leave no doubt that the Enlarged Board thereby endorsed the
                   principle developed in the jurisprudence of the boards of appeal that
                   a method claim falls under the prohibition of Article 52(4) EPC 1973
                   if it includes at least one feature defining a physical activity or action
                   that constitutes a method step for treatment of a human or animal
                   body by surgery or therapy." (emphasis added).

    48.    Decision G1/04 made it clear that to be excluded a method claim should "include" at
           least one feature defining a physical activity or action that constitutes a method step
           for treatment of a human or animal body by surgery or therapy. Claim 12 of the Patent
           does not, of course, include any such method step.

    49.    At section 3.2.5 of the Reasons for the Decision, the Enlarged Board of Appeal in
           G1/07 went on to state:

                   "Concluding from the above, the Enlarged Board sees no good
                   reason not to uphold the principle confirmed in opinion G 1/04, point
                   6. 2. 1 of the Reasons, and underlying the whole body of hitherto
                   practice and jurisprudence that a method claim falls under the
                   prohibition of patenting methods for treatment by therapy or surgery
                   now under Article 53(c) EPC if it comprises or encompasses at least
                   one feature defining a physical activity or action that constitutes a
                   method step for treatment of a human or animal body by surgery or
                   therapy." (emphasis added).

    50.    It is clear that the Enlarged Board in G1/07, whilst using slightly different language to
           the Enlarged Board in G1/04 ("comprises or encompasses" instead of "includes"), did
           not intend to depart from the meaning of the decision in G1/04. Rather, it intended to
           "uphold the principle confirmed in opinion G 1/04". The use of the term "encompasses"

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     02 refers to claim 11 but this appears to be an erroneous reference. The arguments appear to relate
    actually to claim 12.

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                                                                                                JA002955
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 413 of 910 PageID #: 9993




          does not expand the range of method claims that should be found unallowable under
          G1/07 beyond those found unallowable under the principle as originally set out in
          G1/04.

    51.   This is made clear from section 4 of the Reasons for the Decision in G1/07, addressing
          Question 2 of the referred questions. Question 2 was:

                 "If the answer to question 1 is in the affirmative, could the exclusion
                  from patent protection be avoided by amending the wording of the
                  claim so as to omit the step at issue, or disclaim it, or let the claim
                  encompass it without being limited to it?"

    52.   Section 4.1 addresses the question of claims left to encompass a surgical step. The
          paragraph spanning pages 65 and 66 of the decision explains that ""encompassing" in
          the terminology of the present decision" means "a claim of a higher level of abstraction
          embracing ... subject-matter excluded from patent protection without explicitly claiming
          if'. The Enlarged Board was concerned in this section with broad claims which
          included method steps having inadequate specificity to be determined to be surgical
          steps within the accepted meaning, but which, nonetheless encompassed surgical
          steps.

    53.   This section is quite distinct from section 4.3 of the Reasons for the Decision, in which
          the Enlarged Board addressed "Omission of the step". In this section, the Enlarged
          Board confirmed, subject to the requirements of Art 84 (which of course is not a
          relevant consideration post-grant), and Articles 123(2), 83 and 56, that claims in which
          the method step in question is omitted, are allowable (see section 4.3.3 of the Reasons
          for the Decision).

    54.   02 has not argued that claim 11 adds matter, or lacks sufficiency or inventive step for
          the reason that it omits a critical method step, and according to the reasoning of the
          Enlarged Board of Appeal, the claims are therefore allowable under Art 53(c) EPC.

    55.   02 has noted that the description of the Patent, at paragraph [0132] indicates that,
          following delivery of an interfering RNA in vitro, cells may be reinjected into the patient.
          From that, 02 concludes that claim 11 clearly "encompasses" therapeutic methods
          performed upon the human or animal body. However, this conclusion ignores the
          context of the Enlarge Board's use of the term "encompass", and further leads to an
          absurd conclusion. If 02 was correct in its logic, then very many valid patents would
          be objectionable under Art 53(c) EPC. For example, a patent disclosing and claiming
          a new synthesis method for a pharmaceutical compound might be objectionable under
          Art 53(c) if the patent disclosed that, once synthesised, the compound could be used
          to treat individuals for a particular disease.

    56.   Such a conclusion is clearly contrary to the normal practice of the EPO, and also to
          the position taken by the Enlarged Board of Appeal in G1/07. In Section 5 of the
          Reasons for the Decision the Enlarged Board made this very clear, stating:



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                                                                                            JA002956
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 414 of 910 PageID #: 9994




                 "Since in that case the imaging method is a complete teaching per
                 se the fact that it can be used in a potentially particularly
                 advantageous way in the course of a surgical intervention does not
                 preclude the imaging method from being claimed per se.
                 Furthermore, even if used in the course of a surgical intervention
                 that does not alter the character of the imaging method of not being
                 a surgical step in itself.

                 Article 53(c) EPC prohibits the patenting of surgical methods and
                 not the patenting of any methods which can be used in the context
                 of carrying out a surgical method. Otherwise, many methods which
                 are used during surgical interventions even if not requiring
                 themselves a surgical step to be carried out on the body, e.g. all
                 methods for operating devices used in context with surgical
                 activities would be unpatentable."

                 and

                 "Hence, the fact that one of the possible and described uses of the
                 imaging method is the use by a surgeon during a surgical
                 intervention allowing the surgeon to decide on the course of action
                 to be taken in the intervention by taking note of the immediately
                 produced image data, does not render that imaging method
                 excluded from patentability."

    57.   Although explained in the context of surgical methods, the Enlarged Board's
          conclusions are equally applicable to therapeutic methods.

    58.   Thus, where a claimed method is a complete teaching per se (as is the case with the
          method of claim 12, see below), the fact that the method can be used in a particularly
          advantageous way in the course of a therapeutic intervention (e.g. as described at
          paragraph [0132] of the Patent) does not preclude the method from being claimed per
          se.

    59.   As noted by the Enlarged Board, Art 53(c) EPC does not prohibit the patenting of any
          methods which can be used in the context of carrying out a surgical method. The same
          is of course true for methods which can be used in the context of carrying out a
          therapeutic method. Otherwise, as noted by the Board, many methods which are used
          during therapy, even if not requiring themselves a therapeutic step to be carried out
          would be unpatentable.

    60.   Just as in G1/07, the fact that one of the possible and described uses of the method of
          claim 12 is the use during a therapeutic treatment by reintroduction of transfected cells,
          does not render that method excluded from patentability.

    61.   Subsequent decisions of the Technical Board of Appeal have followed the above
          reasoning in determining whether or not a claim which does not recite a therapeutic or
          surgical step, nonetheless "encompasses" such a step, contrary to Art 53(c) EPC.


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                                                                                        JA002957
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 415 of 910 PageID #: 9995




    62.   For example, in T699/12 the Technical Board of Appeal pointed out that the Enlarged
          Board of Appeal in G1/07 "avoided to state that a surgical step that is not mentioned
          in a claim could nevertheless be read into the claim" (see paragraph 3.1. 7 of the
          Reasons for the Decision). Applying the law to the case in question, the Board stated:

                 "In the present case, the claimed method implies an irradiation of
                 the patient, because otherwise a quantification of the dose delivery
                 in the radiotherapy treatment of the patient (i.e. "the verification of
                 the treatment'? would not be possible. However, according to Art.
                 84 EPC 1973, the claims define the matter for which protection is
                 sought. Moreover, according to Art. 69 EPC 1973, they determine
                 the extent of protection conferred by a European patent. Hence,
                 when carefully considering the wording of the claims, there is no
                 basis for identifying a step like an "intermediate treatment of
                 irradiating the patient for therapeutic purposes" that is de facto not
                 claimed." (paragraph 3.1.8 of the Reasons for the Decision,
                 emphasis added).

    63.   Thus, even where part of the claimed method would not be possible without a
          therapeutic or surgical step (in that case, the irradiation of a patient), the Technical
          Board of Appeal saw no justification for identifying a therapeutic or surgical step that
          is de facto not claimed.

    64.   In decision T429/12 the Technical Board of Appeal gave further consideration to when
          a surgical step that is not recited in a claim is, nonetheless, "encompassed" according
          to the language of G1/07.

    65.   In the case of the patent in question in that case, the claims neither explicitly defined
          nor excluded a particular surgical step. The Board stated:

                 "Under these circumstances it is appropriate to assess, inter alia
                 with the help of the description, whether or not this step belongs to
                 the claimed activity, namely the production of an aligning plate with
                 an aperture for drilling a hole in the bone of a jaw." (section 3.4,
                 second paragraph, Reasons for the Decision, emphasis added).

    66.   The Board therefore found it convenient to determine whether the unallowable step
          "belongs to" the claimed activity. In the invention in question in that case, the Board
          decided that the unallowable step did indeed belong to the claimed invention because
          it was ".. .not only required for the claimed method ... but represents the gist of the
          invention ... " (section 3.4, third paragraph, Reasons for the Decision).

    67.   Having regard to the specification of the Patent, the same cannot be said, however, of
          the method of claim 12. The Patent teaches, for example, at paragraph [0022] that the
          invention provides a method for introducing a nucleic acid into a cell, comprising
          contacting the cell in vitro with a nucleic acid-lipid particle of the invention. This


                                                 13


                                                                                         JA002958
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 416 of 910 PageID #: 9996




          teaching provides no hint that returning cells to a host, or any other therapeutic
          intervention is required for the invention, nor is indeed the gist of the invention. Further,
          at Section VII (starting at page 39 of the Patent), in vivo and in vitro methods are dealt
          with separately and are distinguished (see paragraph [0289] which refers to "in vitro or
          in vivo" methods (emphasis added)). This section is separated into two separate sub-
          sections dealing separately with in vivo administration (paragraphs [0295] to [0307])
          and in vitro methods (paragraphs [0308] to [0311 ]). In the latter section, no reference
          whatsoever is made to reintroducing cells to a patient. It cannot be concluded that any
          therapeutic method belongs to the invention of claim 12, in the sense that it is required
          for, or represents the gist of that invention.

    68.   In view of all of the above, the OD should not decide that claim 12 "encompasses"
          steps that are unallowable under Art 53(c) EPC, and claim 12 should therefore be
          found allowable.




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                                                                                          JA002959
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 417 of 910 PageID #: 9997




    E.    Novelty (Article 54 EPC)

    69.   Both Opponents raise novelty attacks against the Patent.

    70.   01 asserts that claim 1, claims 2-8 and claims 11-15 lack novelty over US
          2008/0020058 (D1 ). 02 asserts that claim 1, claims 2-9 and claims 11-15 lack novelty
          over US 2006/0240554 (D25). D1 and D25 are related US patent applications that are
          derived from the same provisional application, and are therefore identical in large parts.

    Claim 1, claims 2-8 and claims 11 -15 are novel over D1

    Claim 1

    71.   D1 does not disclose the product of claim 1. Claim 1 specifies a nucleic acid-lipid
          particle comprising four distinct components:

          (a)    a nucleic acid;
          (b)    a cationic lipid comprising 50 mol % to 65 mol % of the total lipid present in the
                 particle;
          (c)    a non-cationic lipid comprising up to 49.5 mol % of the total lipid present in the
                 particle and comprising a mixture of a phospholipid and cholesterol or a
                 derivative thereof, wherein the cholesterol or derivative thereof comprises from
                 30 mol % to 40 mol % of the total lipid present in the particle; and
          (d)    a conjugated lipid that inhibits aggregation of particles comprising from 0.5
                 mol % to 2 mol % of the total lipid present in the particle.

    72.   01 relies upon the specific formulation of L 109 in Table IV of D1 as anticipating claim
          1:
                                                      D\BLE IV-continued


                             Fannula-
                                    ti:>n
                                     tf:    Composition                                 Mclar R~tio

                              l.109         DMOBA,DSPC/Cbolestcroli2KPEO-Chot.            50'20il~i2
                                            !\IP ratio of2


                           N/P r,itio = Nitroge11:Phosphorous nltio between C!lionic lipid :rnd nucleic
                           .i.cid
          Excerpt from Table IV on pages 101 to 102 of D1.

    73.   However, formulation L 109 does not disclose the components specified by claim 1. In
          particular, it does not satisfy the requirement of feature (c) of claim 1 that the
          cholesterol or derivative thereof comprises from 30 mol % to 40 mol % of the total lipid
          present in the particle. Table IV of D1 states that formulation L 109 comprises 28 mol %
          cholesterol, which falls outside of the range specified by claim 1.

    74.   In light of this deficiency in the disclosure of D1, 01 asserts that a portion of 2KPEG-
          Chol in formulation L 109 should be treated as "cholesterol or derivative thereof' in


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                                                                                                          JA002960
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 418 of 910 PageID #: 9998




          order to satisfy the requirement of feature (c) of claim 1, whilst the remaining portion
          be treated as a conjugated lipid in order to satisfy the requirement of feature (d) of
          claim 1.

    75.   There is no objective or technical basis for interpreting the 2KPEG-Chol component of
          formulation L 109 in this way.

    76.   The disclosure of the Patent is directed to lipid particles that typically comprise three
          distinct lipid components: (i) a cationic lipid; (ii) a non-cationic lipid; and (iii) a
          conjugated lipid that inhibits aggregation of particles. The Patent teaches that PEG
          conjugated to cholesterol is a preferred embodiment of the conjugated lipid component
          (see paragraph [0242]).

    77.   PEG conjugated to cholesterol and cholesterol derivatives are also clearly taught as
          distinct components of the formulations disclosed in D1. For example, paragraph
          [0125] of D1 states as follows:

                      [0125]   In one embodiment, the invention fcatur€8 a com-
                      position comprising n biologically active molecule (e.g., a
                      po]ynucleotide such as a siNA, miRNA, RNA1 inhibitor,
                      antisense, aptamer, decoy, ribozyme 1 2-5A1 triplex forming
                      oligonucleotide, or o1her nucleic acid molecule), a cationic
                      lipid having any of Fonnulae CLI-CLXXXXI1i a neutral
                      lipid, and a PEG-DAG (i.e.: polyethyleneg1yool-diacy1glyc-
                      ernl or polyethylenegJyco1-diacy lglycamide), PEG-chole~-
                      terol, or PEG-DMD conjugate. In another embodiment, the
                      composition further comprises cholesterol or a cholesterol
                      dcriYativc.

    78.   The teaching in paragraph [0125] of D1 that the composition "further comprises"
          cholesterol or a cholesterol derivative in addition to PEG-cholesterol clearly
          demonstrates that O1 's interpretation of 2KPEG-Chol as being both a conjugated lipid
          and a cholesterol derivative is contrary, not only to the correct interpretation of claim 1
          of the Patent, but also to the teaching of D1.

    79.   Therefore, the skilled person would not understand D1 to disclose a nucleic acid-lipid
          particle wherein cholesterol or a derivative thereof comprises from 30 mol % to 40
          mol % of the total lipid present in the particle.

    80.   If ad arguendo, contrary to the clear teaching in D1 and the Patent regarding the
          classification of PEG conjugated to cholesterol as being distinct from a cholesterol
          derivative, the opposite conclusion were to be reached, there is no objective or
          technical basis for O1 's approach of treating the 2KPEG-Chol in formulation L 109 as
          being in part a conjugated lipid and in part a cholesterol derivative.

    81.   There is even less basis for O1 's entirely arbitrary classification of 0.5 mol % of the
          2KPEG-Chol as a conjugated lipid and 1.5 mol % as a cholesterol derivative. Such a


                                                  16


                                                                                        JA002961
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 419 of 910 PageID #: 9999




          classification is not taught by D1 and only arises as a result of O1 's knowledge of
          claim 1 of the Patent. O1 's interpretation of formulation L109 cannot therefore be said
          to be clearly and unambiguously derivable from the teaching of D1. The skilled person
          would simply not understand the disclosure of D1 in this way.

    82.   However, even if ad arguendo the 2KPEG-Chol of formulation L 109 could be treated
          in the manner put forward by 01, the result would be that formulation L 109 comprises
          29.5 mol % cholesterol derivative, which falls outside of the claimed range of 30 mol %
          to 40 mol %.

    83.   01 states that whilst granted claim 1 requires 30 mol % to 40 mol % of cholesterol or
          a derivative thereof, the lower limit of 30 mol % fails to distinguish the claimed particle
          from formulation L 109 because granted claim 1 does not require "30.Q" mol % of
          cholesterol or a derivative thereof, but merely "30" mol % (without any decimal places).
          01 therefore asserts that for the purpose of comparison to claim 1, any values should
          be rounded up to the next integer.

    84.   However, it is clear that the level of precision of the values in claim 1 is to the nearest
          half-integer, not to the nearest whole integer. This can be seen in both features (c)
          and (d) where the lower ends of the ranges are given as 49.5 mol % and 0.5 mol %
          respectively. Furthermore, it should be noted that the figure of 49.5 mol % in feature
          (c) of claim 1 is the total amount of non-cationic lipid that may be present in the claimed
          particles, which includes the 30 mol % to 40 mol % of cholesterol or derivative thereof
          that is also referred to in feature (c). The fact that the total amount of lipid is expressed
          to the nearest half-integer means that the mol % of the individual components must
          also be considered to the same degree of precision.

    85.   In support of its position, 01 cites the following decisions of the boards of appeal I
          871 /08, T 2203/14, T 1186/05, T 770/00, T 1735/09, T 234/09 and T 83/13, which
          relate to rounding up figures derived from the prior art to claimed ranges.

    86.   However, in each of the case the boards have simply applied the well-established
          approach set out in T 871/08:

                  "When comparing a value from the state of the art[. . .] with those
                  claimed [. . .], the state of the art value has to be given the same
                  accuracy as the one claimed".

    87.   Whilst in the cases cited by 01 the application of this approach led to rounding up of
          the value from the state of the art, in the present case the same approach leads to a
          different result because the value obtained ad arguendofrom D1 (29.5 mol %) is given
          to the same accuracy as the claimed ranges (i.e. to the nearest half-integer).
          Accordingly, this value falls outside of the claimed range of 30 mol % to 40 mol %.

    88.   Furthermore, in T 74/98 it was held by board of appeal that:




                                                   17


                                                                                          JA002962
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 420 of 910 PageID #: 10000




                  "In the Board's view, to interpret the single number of "5" so as to
                  include all values that, upon application of rounding up rules, would
                  have that number as the outcome, would expand the scope of the
                  claim beyond the indicated limits, thus casting doubt upon the
                  meaning of ranges in general. This is not in conformity with the
                  standard practice of the Boards of Appeal."

     89.   It should also be noted that, whilst 01 wishes to round up the value of 29.5 mol % for
           the purpose of calculating the mol % of cholesterol or cholesterol derivative in feature
           (c) of claim 1, 01 takes an entirely different approach when calculating the mol % of
           total non-cationic lipid in feature (c) of claim 1, where 01 chooses not to round up as
           doing so would take the value of total non-cationic lipid to 50%, i.e. beyond the claimed
           limit of up to 49.5 mol %.

     90.   Accordingly, there is no clear and unambiguous disclosure of a product with the
           features claimed in claim 1 in D1. O1 's arguments are based on an artificial reading
           of the document, which is motivated by hindsight and does not accord with what the
           skilled person would understand D1 to teach. 01 also applies an arbitrary and
           inconsistent approach to the figures in D1, which is at odds with the clear teaching of
           both the Patent and the prior art. Claim 1 is therefore novel over D1.

     Claims 2 to 8 and 11 to 15

     91.   Claims 2 to 8 and 11 to 15 are dependent on claim 1. The subject matter of these
           claims is therefore novel having regard to D1 for the reasons explained in relation to
           claim 1 above. We refer below to additional reasons in respect of the novelty of claims
           2, 3 and 6 over D1.

     Claim 2

     92.   D1 does not disclose the product of claim 2, which is dependent on claim 1 and
           additionally requires that the nucleic acid in the claimed particle comprises a small
           interfering RNA (siRNA). 01 seeks to rely on the disclosure in D1 of formulation L 109
           in Table IV in combination with the disclosure of short interfering nucleic acid (siNA) in
           paragraph [0123] of D1 and the disclosure of short interfering RNA (siRNA) as a
           subclass of siNA in paragraph [0017] of D1. This requires a selection from three lists
           to be made in order to arrive at the specific combination of features in claim 2:

           (a)    First, it is necessary to choose formulation L 109 from the list of formulations
                  provided by D1. Table IV, in which formulation L 109 is provided, itself contains
                  59 different nucleic acid-lipid particle formulations.

           (b)    Second, it is necessary to select siNA from the list of 10 types of nucleic acids
                  listed in paragraph [0123]: (i) siNA; (ii) mi RNA; (iii) RNAi inhibitor; (iv) antisense;
                  (v) aptamer; (vi) decoy; (vii) ribozyme; (viii) 2-5A; (ix) triplex forming
                  oligonucleotide; and (x) other nucleic acid molecule.

           (c)    Third, it is necessary to select siRNA as the specific subclass of siNA.


                                                    18


                                                                                             JA002963
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 421 of 910 PageID #: 10001




     93.    There is no clear and unambiguous disclosure of this combination in D1, neither in the
            description, nor in the examples, nor in the claims. The subject matter of claim 2 is
            therefore novel over D1.

     Claim 3

     94.    D1 does not disclose the product of claim 3, which is dependent on claim 2 and
            additionally requires in alternative (b) that the siRNA comprises at least one modified
            nucleotide.

     95.    01 relies on the disclosure in paragraph [0363] of D1 that "siNA molecules need not
            be limited to those molecules containing only RNA, but further encompasses
            chemically-modified nucleotides". This represents a selection from a fourth list, since
            paragraph [0363] teaches that the siNA molecules may include one or more of at least
            11 types of feature, only one of which is the inclusion of chemically-modified
            nucleotides.

     96.    There is no clear and unambiguous disclosure in D1 of the combination of features
            claimed in claim 3. The subject matter of claim 3 is therefore novel over D1.

     Claim 6

     97.    D1 does not disclose the product of claim 6, which is dependent on claim 1 and
            additionally requires in alternative (a) that the nucleic acid-lipid particle is not
            substantially degraded after incubation of the particle in serum at 37°C for 30 minutes.

     98.    There is no disclosure in D1 of this feature in relation to formulation L 109 or generally.
            01 alleges that this feature is an implicit feature of formulation L109. However, 01
            provides no evidence that formulation L109, which falls outside of the scope of granted
            claim 1, for the reasons explained above, would not be substantially degraded after
            incubation of the particle in serum at 37°C for 30 minutes.

     99.    Furthermore, the Boards of Appeal have held that an alleged disclosure can only be
            considered "implicif' if it is immediately apparent to the skilled person that nothing other
            than the alleged implicit feature forms part of the subject-matter disclosed (see T 95/97
            and T 51/10). In other words, a prior art disclosure is novelty-destroying only if the
            subject-matter claimed can be inferred directly and unequivocally from that disclosure
            (see T 677/91, T 465/92 and T 511/92).

     Claim 1, claims 2-9 and claims 11-15 are novel over D25

     Claim 1

     100.   D25 does not disclose the product of claim 1.

     101.   02 relies on the disclosure in D25 of various ranges of lipid components that are said
            to overlap with or encompass the ranges that are claimed in claim 1. In particular 02
            relies on a combination of the generic ranges disclosed in [0116]-[0120] when
            considered in the light of what is said to represent the disclosure of the remainder of


                                                    19


                                                                                           JA002964
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 422 of 910 PageID #: 10002




            D25 as a whole. In this regard, 02 relies on 2 formulations (L054 and L073) that are
            described in D25, but clearly do not represent the entirety of the remainder of the
            teaching of D25.

     102.   In relation to the cationic lipid component 02 relies upon the following:

            (a)    the disclosure in [0116] of D25 of the range of "about 2% to about 60%" and
                   the subrange of "about 40% to about 50%"; and

            (b)    the disclosure in [0120] of D25 of the range of "about 30 to about 50%" and the
                   subrange of "about 40% to about 50%" for the cationic lipid.

     103.   The claimed range for the cationic lipid component is 50 mol % to 65 mol % of the total
            lipid present in the particle. In comparison to the ranges disclosed in D25, the claimed
            range is both narrow and far removed from the endpoints of the ranges upon which 02
            relies. Whilst 02 relies on the ranges and subranges of D25 sharing the endpoint of
            50% with the range in claim 1 of the Patent, 50% is at the upper endpoint of the ranges
            disclosed in D25, but is the lower endpoint of the claimed range. As explained above,
            prior to the Patent, the trend in the field was to use delivery systems with low levels of
            cationic lipid since minimising the amount of cationic lipid was considered to be
            desirable to reduce the potential toxic effects of cationic lipids. There is nothing in D25
            that would dispel this concern and cause the skilled person to alight on the range of
            cationic lipid required by claim 1.

     104.   In relation to the non-cationic lipid component, 02 relies on the disclosure in [0120] of
            D25 of the range of about 30 to 50% of the total lipid present in the formulation. At
            paragraph 79 of its opposition statement, 02 engages in a convoluted mathematical
            exercise seeking to establish that the range for the total neutral/non-cationic lipid
            according to claim 1 differs only minutely from the lower limit of the corresponding
            range in [0120] of D25. However, this exercise is founded on an incorrect legal
            approach to novelty, as 02 chooses to examine each range individually and fails to
            consider whether the combination of ranges claimed in the Patent has been disclosed
            by the prior art. It is the combination of the claimed components in the amounts taught
            by the Patent which confers the technical advantage of the claimed nucleic acid-lipid
            particles, and it is this combination of claimed ranges which should be considered for
            novelty.

     105.   For example, in order to calculate the range for total neutral/non-cationic lipid required
            by the claim, 02 uses the upper limit of the claimed range for cationic lipid, i.e. 65
            mol %. This amount of cationic lipid is outside of the range for cationic lipid disclosed
            by [0120] of D25. Therefore, the range of total neutral/non-cationic lipid which 02
            calculates for claim 1 requires the use of an amount of cationic lipid which is higher
            than the range disclosed in [0120] of D25.

     106.   This is just one example of the erroneous approach which 02 repeatedly takes when
            comparing the claimed ranges to those disclosed by D25. As explained above, 02
            fails to consider the claimed features in combination, but instead erroneously treats
            the range for each component in isolation.

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                                                                                          JA002965
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 423 of 910 PageID #: 10003




     107.   In relation to the conjugated lipid component, 02 relies on the disclosure in paragraph
            [0120] of D25 of the range of 0 to 10% of the total lipid present in the formulation. The
            claimed range (0.5 to 2%) is significantly narrower than that disclosed in paragraph
            [0120]. Furthermore, the embodiment of paragraph [0120] fails to satisfy the claimed
            cholesterol component. Again, 02 seeks to treat the ranges for each component in
            isolation rather than considering the claimed combination in its entirety.

     108.   In relation to the cholesterol component of the non-cationic lipid, 02 relies on the
            disclosure in paragraph [0119] of D25 of the range of about 10% to about 60%, and
            the subrange of about 20% to about 45% of the total lipid present in the formulation.
            However, paragraph [0119] relates to a different embodiment to that disclosed in
            paragraph [0120].      In contrast to the claimed nucleic acid-lipid particles, the
            embodiment of paragraph [0120] has no requirement for a cholesterol component.
            Therefore 02 is seeking to combine features from multiple embodiments in order to
            arrive at the claimed invention. O2's approach is contrary to the established case law
            of the Boards of Appeal which state that it is "not permissible to combine separate
            items belonging to different embodiments[. . .] unless of course such combination had
            been specifically suggested" (see T 305/87). There is no specific suggestion in the
            Patent to combine the teaching of paragraph [0119] with the teaching of paragraph
            [0120]. Furthermore the claimed range (30 to 40 mol % ) is significantly narrower than
            either of the ranges disclosed in paragraph [0119].

     109.   Even if ad arguendo D25 disclosed each of the individual ranges of claim 1 (which is
            denied), 02 has failed to show that the specific combination of components in claim 1
            has been clearly and unambiguously disclosed by D25. O2's novelty attack based on
            the disclosure of paragraphs [0116] to [0120] of D25 must therefore fail.

     110.   In addition to the disclosure of paragraphs [0116] to [0120], 02 relies on the disclosure
            of formulations L054 and L073 in D25. 02 accepts that each of these formulations
            differs from the features of claim 1 of the Patent as they have a cholesterol content of
            28 mol %, which is outside of the claimed range of 30 mol % to 40 mol %. 02 states
            that the skilled person would "seriously contemplate applying the technical teaching of
            paragraphs [0116], [0120] and [0119] within the combined ranges of overlap with
            granted claim 1" (paragraph 87 of O2's opposition statement) and that the skilled
            person "would without question seriously contemplate applying the generic teaching of
            paragraphs [0116], [0120] and [0119], in combination". However, 02 has provided no
            explanation as to why the skilled person would do so. L054 and L073 are two of the
            33 specific formulations disclosed in Table IV of D25. There is no suggestion to the
            skilled person anywhere in D25 that these formulations should be modified. There is
            therefore no reason to believe that the skilled person would make any modification to
            formulations L054 or L073.

     111.   At paragraph 96 of its opposition statement, 02 states "L054 and L073 of [025] provide
            pointers towards the combination of 3 of the 4 generic range features in question
            specifically within each area of overlap". However, no such pointers exist and it is the
            established case law of the Boards of Appeal in respect of Article 123(2) that:


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                                                                                         JA002966
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 424 of 910 PageID #: 10004




                   "The content of the application as filed must not be considered to
                   be a reservoir from which individual features pertaining to separate
                   sections can be combined in order to create a particular
                   combination. In the absence of any pointer to that particular
                   combination, this combined selection of features does not, for the
                   person skilled in the art, emerge clearly and unambiguously from
                   the content of the application as filed." (see T 686/99 ).

     112.   The same rule must apply for considerations under Article 54. Whilst 02 claims that
            "pointers" which link L054 and L073 with paragraphs [0116] to [0120] exist, it is telling
            that it has conspicuously failed to identify them in its opposition statement.

     113.   O2's novelty attack based on L054 and L073 seeks to blur the distinction between the
            assessment which should be performed under Article 54 with that which should be
            performed under Article 56. The Technical Board of Appeal in T 666/89 specifically
            warns against this.

     114.   Furthermore, the similarities which 02 seeks to draw between the disclosure of the
            prior art in T 666/89 and the disclosure of D25 do not stand up to scrutiny. In T 666/89,
            the skilled person did not need to make any decisions when combining the two
            components which were taught generically by the prior art. However, if the skilled
            person were to combine formulations L054 and L073 with the ranges of cholesterol
            taught in paragraph [0119] of D25, it would be necessary for the skilled person to make
            at least the following four choices, which are not taught by D25, in order to make a
            formulation falling within the scope of claim 1:

            (a)    First, the skilled person would need to decide whether to change the amount
                   of cholesterol in formulations L054 and L073. Paragraph [0119] teaches that
                   the cholesterol component may comprise from about 10 mol % to 60 mol % or
                   from about 20 mol % to about 45 mol %. L054 and L073 both contain 28 mol %
                   cholesterol, which falls within the ranges taught by paragraph [0119].
                   Therefore, the skilled person would have the choice of not changing the amount
                   of cholesterol and still being within the ranges disclosed in paragraph [0119] of
                   D25. However, in order to create a formulation falling within the scope of claim
                   1, the skilled person would have to choose to change the amount of cholesterol
                   in L054 and L073.

            (b)    Second, if the skilled person were to choose to change the amount of
                   cholesterol, the skilled person would have the choice to increase or decrease
                   the amount of cholesterol in order to fall within the ranges disclosed in
                   paragraph [0119] of D25. However, in order to create a formulation falling
                   within the scope of claim 1, the skilled person would have to choose to increase
                   the amount of cholesterol in L054 and L073.

            (c)    Third, if the skilled person were to choose to increase the amount of cholesterol,
                   the skilled person would have to choose to increase it to between 30 mol %


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                                                                                         JA002967
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 425 of 910 PageID #: 10005




                   and 40 mol % in order to fall within the claims. However, paragraph [0119] of
                   D25 teaches that the amount of cholesterol may be increased to about 45
                   mol % or to about 60 mol %.

            (d)    Fourth, even if the skilled person were to choose to increase the level of
                   cholesterol to an amount falling within the claimed range of the Patent (i.e. 30
                   mol % to 40 mol %), it would be necessary for the skilled person to make a
                   choice about which of the other components in these formulations to reduce.
                   This is because, unlike in the case of the prior art in T 666/89, the individual
                   components in formulations L054 and L073 add up to 100 mol %. Furthermore,
                   if the skilled person were to reduce the cationic lipid component of L054 or L073
                   by 2 mol % (i.e. due to an increase the amount of cholesterol to 30 mol %,
                   which is the minimum amount required to fall within the claimed range of the
                   Patent), the resulting formulations would contain only 48 mol % cationic lipid
                   and therefore fall outside of the claims of the Patent.

     115.   Therefore, even if ad arguendo the skilled person were to combine formulations L054
            and L073 with paragraph [0119] of D25, it cannot be said that a formulation falling
            within the scope of the claims of the Patent would be an inevitable outcome.
            Furthermore, T 793/93 states that:

                   "In deciding what is or is not the inevitable outcome of an express
                   literal disclosure in a particular prior art document, a standard of
                   proof much stricter than the balance of probability, to wit "beyond
                   all reasonable doubt" needs to be applied. It follows that if any
                   reasonable doubt exists as to what might or might not be the result
                   of carrying out the literal disclosure and instructions of a prior art
                   document, in other words if there remains a "grey area" then the
                   case on anticipation based on such a document must fail."

     116.   Accordingly, there is no clear and unambiguous disclosure of a product with the
            features claimed in claim 1 in D25. O2's arguments are based on an artificial reading
            of the document, which is motivated by hindsight, requires the skilled person to make
            multiple choices not taught by D25, and does not accord with what the skilled person
            would understand D25 to teach.

     Claims 2 to 9 and 11 to 15

     117.   Claims 2 to 9 and 11 to 15 are dependent on claim 1. The subject matter of these
            claims is therefore novel having regard to D1 for the reasons explained in relation to
            claim 1 above. We refer below to additional reasons in respect of the novelty of claims
            2, 3 and 6 over D25.

     Claim 2

     118.   D25 does not disclose the product of claim 2, which is dependent on claim 1 and
            additionally requires that the nucleic acid in the claimed particle comprises a small
            interfering RNA (siRNA). 02 relies on the disclosure in paragraphs [0101]-[0123] and


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                                                                                        JA002968
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 426 of 910 PageID #: 10006




            [0319] of D25. To arrive at siRNA requires a selection from at least two lists to be
            made:

            (a)    First, it is necessary to select siNA from the list of§. types of nucleic acids listed
                   in paragraphs [0100] and [0121 ]: (i) siNA; (ii) antisense; (iii) aptamer; (iv) decoy;
                   (v) ribozyme; (vi) 2-5A; (vii) triplex forming oligonucleotide; or (viii) other nucleic
                   acid molecule.

            (b)    Second, it is necessary to select siRNA as the specific subclass of siNA.
                   Paragraph [0319] lists the following§. options: (i) siRNA; (ii) dsRNA; (iii) mi RNA;
                   (iv) shRNA; (v) short interfering oligonucleotide; and (vi) chemically modified
                   siRNA.

     119.   There is no clear and unambiguous disclosure of this combination in D25. The subject
            matter of claim 2 is therefore novel over D1.

     Claim 3

     120.   D25 does not disclose the product of claim 3, which is dependent on claim 2 and
            additionally requires in alternative (b) that the siRNA comprises at least one modified
            nucleotide.

     121.   In relation to alternative (b) 02 relies on the disclosure in paragraph [0319] of D25,
            which contains the same disclosure as paragraph [0363] of D1. The arguments at
            paragraph 95 above are therefore repeated.

     122.   There is no clear and unambiguous disclosure in D25 of the combination of features
            claimed in claim 3. The subject matter of claim 3 is therefore novel over D25.

     Claim 6

     123.   D25 does not disclose the product of claim 6, which is dependent on claim 1 and
            additionally requires in alternative (a) that the nucleic acid-lipid particle is not
            substantially degraded after incubation of the particle in serum at 37°C for 30 minutes.

     124.   In relation to alternative (a), 02 relies upon the disclosure of paragraph [0592] of D25.
            However, there is no disclosure in [0592] that a formulation of claim 1 would not be
            substantially degraded after incubation of the particle in serum at 37°C for 30 minutes.
            The subject matter of claim 6 is therefore novel over D25.




                                                    24


                                                                                             JA002969
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 427 of 910 PageID #: 10007




     F.     Inventive step (Article 56 EPC)

     The closest prior art

     125.   01 alleges that D1 is the closest piece of prior art, whilst 02 alleges that D25 is the
            closest piece of prior art. As mentioned above, D1 and D25 are related US patent
            applications that are derived from the same provisional application, and are therefore
            identical in large parts. We address inventive step below on the basis that either of D1
            or D25 is the closest piece of prior art, as it is essentially irrelevant which of these
            documents is the closest piece of prior art. However, the Proprietor reserves the right
            to refer to alternative documents as the closest prior art at a later stage of these
            opposition proceedings, if appropriate.

     Problem and solution

     126.   The technical problem to be solved in light of the Patent and D1 /025 is the provision
            of improved formulations for nucleic acid-lipid particles for the systemic delivery of
            nucleic acids into cells in vivo.

     127.   01 and 02 allege that the formulations of the Patent demonstrate no improvement
            over the formulations of the prior art. In particular, 02 refers to the data in Examples
            2 and 3, which it alleges show that the claimed embodiments perform worse than prior
            art formulations or show no advantage over the prior art. However, whilst it is not
            accepted that these data show what 02 claims, these data are not by themselves
            relevant to the improvement conferred by the formulations of the invention, namely the
            fact that the formulations of the invention have reduced toxicity, making them suitable
            for systemic use in vivo.

     128.   As paragraph [0029] of the Patent explains:

                   "In particular, as illustrated by the Examples herein, described
                   herein are stable nucleic acid-lipid particles (SNALP) that
                   advantageously impart increased activity of the encapsulated
                   nucleic acid (e.g., an interfering RNA such as siRNA) and improved
                   tolerability of the formulations in vivo, resulting in a significant
                   increase in the therapeutic index as compared to nucleic acid-lipid
                   particle compositions previously described." (emphasis added)

     129.   The low toxicity of the claimed formulations, which was shown inter alia by the data in
            Figure 13 of the Patent, was an unexpected and surprising finding due to the high
            cationic lipid content of the claimed formulations and demonstrated for the first time
            that nucleic acid-lipid particles with lipid components in the claimed ranges were
            suitable for systemic use in vivo.

     The solution is not obvious from D1/D25

     130.   It would not have been obvious from D1 /025 to arrive at the nucleic acid-lipid particles
            of the invention. Neither D1 nor D25 teaches any of the claimed ranges of components
            nor does either document provide any formulation falling within those ranges.

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                                                                                         JA002970
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 428 of 910 PageID #: 10008




     131.   01 has asserted that the claimed invention would have represented an obvious
            modification to embodiments in the prior art. In particular, 01 has asserted that it would
            have been obvious to increase the cholesterol content in 4 specific formulations listed
            in Table IV of D1: formulations L054, L073, L097 and L 109. The specific lipid
            composition of these formulations is summarised as follows:


                                                               L\BLEIV


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                                   tlo.11
                                     #        Compositiol).
                                L054          DMOBA/DSPC'./Choll2KPEO-OMG                     50f20i28!2
                                L073          pCLinDMA or CLin DMAlDMOBA.'DSPC/               25.i25/20/
                                              Chol12KPEG~ DMG                                 2!!/2
                                L097          DMLBA/[)SPCICbolc~cero!/2KPEO-I)MG              50/20/28
                                L109          DMOBA/DSPCiChoie.wuJ/2K.PEG-Chol,               50120/28/2
                                              NlP n.tio of 2

                             NlP ratio ., Nitrogen:P.bOl!phorous ratio be1:wei.m Cll!lonJc lipid W1d nucleic
                             add
                                            (excerpt fi"om Table IV on pages 101 to 102 oflll)


     132.   Likewise, 02 relies on the disclosure of formulations L054 and L073 in D25, which are
            the same as formulations L054 and L073 in D1.

     133.   Each of these formulations differs from the features of claim 1 of the Patent in the same
            way; namely each formulation has a cholesterol content of 28 mol %, which is outside
            of the claimed range of 30 mol % to 40 mol %.

     134.   There is nothing in the teaching of D1 or D25 which suggests that the cholesterol
            content of these formulations should be increased, and neither 01 nor 02 provides
            any rationale for such a change to be made. 01 describes the change in the amount
            of cholesterol needed to bring the formulations in Table IV to which it refers within the
            claimed range as "miniscule". However, this change in fact represents a more than
            7% increase in the amount of cholesterol in the formulation.

     135.   Furthermore, 01 has provided no explanation as to why the skilled person would have
            been motivated to modify the lipid nanoparticles in D1 to arrive at the invention. Such
            a modification would have required the skilled person to make a number of choices,
            including:

            (a)    The choice of formulation L054, L073, L097 or L109 as a starting point. There
                   are 59 formulations listed in Table IV of D1. 01 has provided no explanation
                   as to why the skilled person would select these 4 formulations as a starting
                   point for a systemic therapy. Each of these formulations has a high level of
                   cationic lipid, which, in the absence of data indicating otherwise, would lead the
                   skilled person to conclude that they would be unsuitable for systemic use.
                   Importantly, none of these formulations was evaluated for toxicity and only one

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 429 of 910 PageID #: 10009




                 of them was evaluated for serum stability, properties identified by the Patent as
                 being critical for embodiments formulated for systemic use in vivo. Furthermore,
                 whilst another exemplary formulation in D1 was tested in vivo, none of the
                 formulations relied upon by 01 were. The skilled person would therefore have
                 had no motivation for choosing any of these formulations from the list in Table
                 IV as a starting point for the development of a nucleic acid-lipid particle for
                 systemic use. Rather the teaching of D1 would direct the skilled person away
                 from these formulations.

           (b)   The choice to modify the cholesterol component of these formulations. The
                 skilled person could choose to modify any of the 4 (or 5, in the case of
                 formulation L073) components of these formulations. 01 has provided no
                 explanation as to why the skilled person would select the cholesterol
                 component to modify. Indeed, insofar as the skilled person were to choose
                 these formulations as a starting point, he or she would be motivated to
                 decrease the cationic lipid component in order to reduce the toxicity of these
                 formulations and increase their suitability for systemic use.

           (c)   The choice to increase, not decrease, the cholesterol content of these
                 components. 01 has provided no explanation as to why, even if the skilled
                 person had been motivated to modify the cholesterol content of these
                 formulations, he or she would have been motivated to increase the cholesterol
                 content, rather than decrease it.

           (d)   The choice to decrease the content of the other neutral lipid rather than the
                 other components in the formulation. 01 states that the skilled person would
                 have chosen to decrease the content of the other neutral lipid rather than the
                 other components of the formulation because he or she "would have proceeded
                 carefully'' and tried to maintain the molar ratios between neutral lipid, cationic
                 lipid and conjugated lipid (see paragraph 6.1.5 on page 30 of 01 's opposition
                 statement). There is nothing in D1, however, that teaches the importance of
                 maintaining these ratios as opposed to maintaining the ratio of cholesterol to
                 the other components in the formulation. Indeed, the claims of D1 are
                 addressed to a specific ratio of cholesterol to the other components in the
                 claimed formulation. The approach which 01 alleges that the skilled person
                 would have taken is one which only would have occurred to him or her after
                 having read the Patent. However, even if the skilled person had been cautious
                 about increasing the overall content of the neutral lipids, the skilled person
                 would have been equally cautious about modifying the individual neutral lipid
                 components. There is nothing in D1 which suggests that one type of neutral
                 lipid may be substituted for another. Finally, and for the reasons already
                 explained, the skilled person would have been concerned about the toxic
                 effects of the high levels of cationic lipid in these formulations. Therefore, the
                 skilled person would have been more likely to reduce the amount of cationic
                 lipid rather than the amount of neutral lipid.




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                                                                                       JA002972
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 430 of 910 PageID #: 10010




     136.   01 has failed to provide reasons why the skilled person would make any one of these
            choices, let alone choosing to make all of them. The claimed invention would thus not
            have been obvious from consideration of D1 alone or from consideration of D25 alone.

     The solution is not obvious from D1 combined with D2

     137.   01 cites D2 in an attempt to establish that it would have been obvious to increase the
            cholesterol content of formulations L054, L073, L097 and L 109 in D1 from 28 mol %
            to 30 mol %. In particular, 01 relies on the "2:30:20+10%DODAC" formulation
            disclosed on page 73, lines 22 to 25 of D2, which comprises 20 mol % non-cationic
            lipid (DSPC), 38 mol % cholesterol, 2 mol % conjugated lipid (PEG-C-DMA) and 40
            mol % cationic lipid (30 mol % DLinDMA and 10% DODAC). However, 01 provides
            no explanation for the reason why the skilled person would choose only the cholesterol
            component from the formulation in D2 as the basis for modifying the formulations
            disclosed in D1, and D2 provides no data showing any advantage in increasing the
            cholesterol content for the formulations of D1. Furthermore, the skilled person would
            recognise that it is the particular combination of lipids in each formulation which gives
            rise to its technical characteristics, and it would therefore make no technical sense to
            the skilled person to cobble together the disparate teaching of D1 and D2 in manner
            in which 01 seeks to do.

     138.   D2 also teaches that the "2:30:20+10%DODAC" formulation would not have been
            suitable for systemic use due to the high concentration of cationic lipid and would
            therefore only have been suitable for local or regional delivery, because D2 explains
            that "for systemic delivery, the cationic lipid may comprise from about 5 mo/% to about
            15 mo/ % of the total lipid present in said particle and for local or regional delivery, the
            cationic lipid may comprise from about 30 mo/ % to about 50 mo/ %, or about 40 mo/ %
            of the total lipid present in the particle" (page 40, lines 29-32 of D2). Therefore, the
            skilled person reading D2 would have appreciated that in order make a nucleic acid-
            lipid particle suitable for systemic use, it would have been necessary to reduce the
            concentration of cationic lipid to about 5 mol % to 15 mol % of the total lipid present.
            The resulting nucleic acid-lipid particle would have fallen outside the scope of the
            claims of the Patent.

     The solution is not obvious from D1 combined with D3 or D4

     139.   01 also alleges that the claims of the Patent are obvious in light of D1 in combination
            with D3 or D4. However, D3 and D4 relate to an entirely distinct technical field, namely
            cationic liposome complexes, not nucleic acid-lipid particles, which are the subject of
            the Patent. The skilled person would have recognised that it would make no technical
            sense to apply the teaching of D3 or D4 (which relate to cationic liposome complexes)
            with the teaching of D1 (which relates to entirely different nucleic acid delivery system,
            namely nucleic acid-lipid particles).

     140.   In addition, the data presented in D3 and D4 relate to ex vivo cell transfection
            experiments, and it is stated in D3 and D4 that these data cannot be used to predict
            efficacy of the complexes in vivo:




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                                                                                           JA002973
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 431 of 910 PageID #: 10011




                   "A final important observation is that the work we have described
                   here should apply to transfection optimization in ex vivo cell
                   transfection, where cells are removed and returned to patients after
                   transfection. In particular, the results of this article should aid
                   clinical efforts to develop efficient CL-vector cancer vaccines in ex
                   vivo applications. However, the current work is not expected to be
                   predictive of transfection behavior in blood for systemic in vivo
                   applications in the presence of serum. Further studies should
                   reveal other types of well-defined structure-function correlations for
                   transfection in vivo in the presence of serum." (Page 3315, right
                   hand column of D3).

                   "The presented transfection optimization strategy is directly
                   relevant for gene therapy using ex vivo methods, where cells are
                   removed, transfected, and returned to patients after selection.
                   Further work on model systems relating to in vivo gene therapy is
                   in progress." (Page 747, left hand column of D4).

     141.   The skilled person would therefore not consider the disclosure in D3 or D4 to be
            applicable to the behaviour of either cationic liposome complexes or nucleic acid-lipid
            particles in vivo.

     142.   Furthermore, D4 teaches away from the use of high levels of cationic lipid (such as in
            formulations L054, L073, L097 or L109 in D1) for in vivo administration:


                   "Minimising the amount of cationic lipid is desirable to reduce cost
                   as well as potential toxic effects of the cationic lipid." (Page 745,
                   right hand column of D4 ).

                   "This ability to use fewer cationic molecules for high [transfection
                   efficiency] is important for cost reduction and possibly in vivo toxicity
                   of cationic components". (Page 747, left hand column of D4).


     143.   Therefore, insofar as the skilled person were to consider combining the teaching of D1
            with the teaching of D4, the skilled person would be motivated to design complexes
            that have a significantly reduced cationic lipid component in order to improve their
            suitability for systemic use. The resulting complexes would have fallen outside the
            scope of the claims of the Patent.

     The solution is not obvious from D25 combined with D23

     144.   02 also cites D23 in an attempt to establish that it would have been obvious to increase
            the cholesterol content of the formulations in D25 from 28 mol % to 30-40 mol %.
            However, like D3 and D4, D23 relates to cationic liposome complexes, not nucleic
            acid-lipid particles and it would therefore make no technical sense for the skilled person
            to combine the teaching of D23 with that of D25, which relates to nucleic acid-lipid
            particles.


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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 432 of 910 PageID #: 10012




     145.   Furthermore, the cationic liposome complexes disclosed in D23 are evaluated only for
            transfection efficiency in cell culture. See, for example, page 50 of D23:

                   "To investigate the possibility that added cholesterol could enhance
                   liposomal transfection ability, liposomes containing mixtures of the
                   cationic lipid DORI and a neutral lipid component, DOPE and/or
                   cholesterol, were formulated and screened for their ability to
                   transfect pCMVL DNA into human airway epithelial cells and NIH
                   3T3 murine fibroblasts."

     146.   Importantly, none of the cationic liposome complexes in D23 was evaluated for serum
            stability or toxicity. The skilled person would therefore have no way of knowing
            whether any of these complexes would be suitable for systemic use in vivo. This is a
            further reason why the skilled person would therefore have no motivation to combine
            any aspect of the teaching in D23 with the formulations disclosed in D25.

     147.   Additionally, and in any event, O2's conclusions in relation to D23 are wrong,
            notwithstanding the above. Referring to D23, 02 states:

                   "Cholesterol content of 30% Oust as in granted claim 1) is found to
                   be optimal, but a content of 40% also performs well (see the 2nd
                   bars from the left in Figures 1 and 2)."

            However, Figures 1 and 2 of D23, clearly show that the composition containing a ratio
            of DOPE:DORl:Chol of 30:50:20 provided the strongest performance, whilst (in
            particular in Figure 1), the 20:50:30 formulation is amongst the worst performers. If
            the skilled person would understand anything from D23, it would be that better results
            are obtained by lowering cholesterol to 20 mol¾, rather than raising the cholesterol
            content of the formulations disclosed in D25.

     The solution is not obvious from D26 combined with D4 or D5

     148.   As the Opposition Division is aware, the primary consideration when identifying the
            closest prior art is that it should be taken from the same technical field and relate to
            the same underlying purpose or effect as the invention. As explained above, the claims
            of the Patent are directed to nucleic acid-lipid particles, which the Patent explains are
            serum stable particles suitable for systemic use. D26 relates to cationic liposome
            complexes, which the Patent explains in paragraph [0005] are "large, poorly defined
            systems that are not suited for systemic applications and can elicit considerable toxic
            side effects". For example, column 14 of D26 states that "the CLs [cationic lipids] are
            combined with other lipids in formulations for the preparation of lipid vesicles or
            liposomes for use in intracellular delivery systems". Therefore, D26 cannot be
            considered to be the closest prior art and would not be used by the skilled person as
            the starting point for the development of a nucleic acid-lipid particle for systemic use.

     149.   Furthermore, the skilled person would have had no motivation to combine D26 with
            either D4 or D5 in the manner alleged by 02.



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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 433 of 910 PageID #: 10013




     150.   02 refers to the fact that D4 teaches that optimum in vitro transfection efficiency was
            achieved when cationic liposome complexes were used with a cationic lipid content of
            about 50 mol %. However, as we explain above (paragraph 142), D4 also teaches
            that it is necessary to minimise the amount of cationic lipid in order to reduce toxic
            effects.

     151.   The same concern is also taught by D5, which identifies severe toxicity effects
            associated with high levels of cationic lipids and concludes that the cationic liposome
            complexes were unsuitable for use in humans:

                    "Detailed toxicological studies [. . .] revealed that the cationic lipid
                    contributes significantly to the toxicity observed. Similar toxic
                    effects are also noticeable in systemic gene delivery via the tail vein
                    with other types of cationic lipids. Symptoms include acute
                    pulmonary hypotension, induction of inflammatory cytokines, tissue
                    infiltration of neutrophils in lungs, decrease in white cell counts, and
                    in some cases tissue injury in liver and spleen. In humans, various
                    degrees of adverse inflammatory reactions, including flulike
                    symptoms with fever and airway inflammation, were noted among
                    subjects who received aerosolized GL67 liposomes alone or
                    lipoplexes. These early clinical data suggest that these lipoplex
                    formulations are inadequate for use in humans." (emphasis added)

     152.   The skilled person would therefore have considered the use of such a high level of
            cationic lipid, in nucleic acid-lipid particles for systemic use, to be highly undesirable.
            Therefore, both D4 and D5 teach away from the claimed invention by instructing the
            skilled person to avoid the use of high levels of cationic lipid due to concerns over
            toxicity.

     153.   02 cites the left hand column of page E97 of D5 in an attempt to establish that it would
            have been obvious to add a PEG-lipid conjugate to the 56/14/30 formulation of
            Example 18 of D26. D5 provides no information about the amount of PEG-lipid
            conjugate that should be added. Had the skilled person wanted to add a PEG-lipid
            conjugate in light of the teaching of D5, he or she would have referred to the papers
            cited by D5 in the section which addresses the addition of PEG-lipid conjugate. The
            relevant papers (references 93 and 94 in D5; cited as D29 and D30 respectively) state
            that the PEG-lipid conjugate comprised 5 mol % and 10 mol % of the disclosed
            formulations. If ad arguendo the skilled person had followed this teaching and added
            either 5 mol % or 10 mol % PEG-lipid conjugate to the 56/14/30 formulation of D26,
            the resulting formulation would have fallen outside of the claimed range of 0.5 mol %
            to 2 mol % for conjugated lipid.

     154.   Furthermore, in order to add a PEG-lipid conjugate to the 56/14/30 formulation of D26,
            it would be necessary to reduce one of the other components. 02 suggests that the
            most obvious solution would have been to reduce the amount of cationic lipid and/or
            phospholipid. D5 identifies severe toxicity effects associated with the use of cationic
            lipids and states that "[d]etailed toxicological studies[. . .] revealed that the cationic lipid


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                                                                                               JA002976
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 434 of 910 PageID #: 10014




            contributes significantly to the toxicity observed". Therefore, if ad arguendo, the skilled
            person had, following the teaching of D5 and D30, sought to add 10 mol % PEG-lipid
            conjugate to the 56/14/30 formulation of D26, the most likely path that would have
            been taken by the skilled person would have been to reduce the cationic lipid
            component of the 56/14/30 formulation by 10 mol %, resulting in a formulation
            containing 46 mol % cationic lipid, which would also have fallen outside of the claimed
            range.

     The solution is not obvious from D16

     155.   02 relies on the disclosure in D16 of various ranges that are disclosed for the
            components of nucleic acid-lipid particles, which 02 alleges, when combined, overlap
            with the ranges claimed by the Patent. In particular, 02 relies on a combination of the
            disclosure in paragraph [0088] of D16 that the cationic lipid may be present, e.g., in
            amounts of 2-60% or 40-50%, with the disclosure in paragraph [0091] that the non-
            cationic lipid may preferably be present in a range of 20-85% and may optionally
            contain cholesterol at about 20-45%, and the disclosure in [0093] that the formulation
            may preferably contain a conjugated lipid in amounts, e.g., of 0.5-25% or 1-20% of the
            total lipid.

     156.   However, 02 ignores the fact that D16 specifically teaches in [0088] against the use
            of high levels of cationic lipid, particularly in the context of nucleic acid-lipid particles
            for systemic use:

                    "The cationic lipid typically comprises from about 2% to about 60%
                    of the total lipid present in said particle, preferably from about 5 %
                    to about 45% of the total lipid present in said particle. [. . .] For
                    example, for systemic delivery, the cationic lipid may comprise from
                    about 5% to about 15% of the total lipid present in said particle and
                    for local or regional delivery, the cationic lipid comprises from about
                    40% to about 50% of the total lipid present in said particle."

     157.   Furthermore, D16 discloses the use of a single formulation of nucleic acid-lipid particle
            in vivo, which comprises non-cationic lipid (DSPC) at 20 mol %, cholesterol at 55 mol %,
            cationic lipid (DOD MA) at 15 mol % and conjugated lipid (PEG-Lipid) at 10 mol %. The
            skilled person would recognise that the amount of cationic lipid used in the formulation
            was at the upper end of the acceptable range taught by D16 for systemic use.

     158.   The skilled person faced with the problem of creating improved nucleic acid-lipid
            particles for systemic use would have had no reason to have increased the amount of
            cationic lipid above 15 mol % as used in the formulation taught by D16 and, in fact,
            would have been strongly motivated against doing so by the teaching in [0088] of D16.

     The solution is not obvious from D16 combined with D3 or D4

     159.   As explained above D3 and D4 relate to an entirely distinct technical field and the
            skilled person would have had no reason to combine the teaching of these documents
            with the teaching of D16. Furthermore, both D3 and D4 teach that the cationic
            liposome complexes which they disclose may not be suitable for systemic use in vivo,

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 435 of 910 PageID #: 10015




           and D4 reinforces the teaching in D16 that a high cationic lipid content is undesirable.
           Therefore, the claims of the Patent would not have been obvious from D16 in
           combination with D3 or D4.




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                                                                                       JA002978
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 436 of 910 PageID #: 10016




     G.     Sufficiency (Art 83 EPC)

     160.   Only 01 has made an argument under Art 100(b) (Art 83) EPC.

     161.   The argument put forward by 01 is, however, unconvincing and should not be found
            prejudicial to the validity of the claims of the Patent. In fact, O1 's objection is nothing
            more than inadmissible comments on the clarity of the claims, and lacks any evidence
            of serious doubts, substantiated by verifiable facts, that the invention could be worked
            by the skilled person. The objection that has been put forward requires an unrealistic
            interpretation of claim 1 that would not be reached by the skilled person, and
            misapplies the principle that an invention must be enabled across its scope.

     162.   01 points out that "[f]or the assessment of patentability, the terms in a claim have to
            be given their broadest technically sensible meaning ... " (section 7 .1 second paragraph
            of O1 's opposition statement). Yet in its subsequent argument, 01 ignores this correct
            approach, by forgetting that the broadest meaning given to the terms in a claim must
            be "technically sensible".

     163.   Thus, 01 argues that essentially any conceivable chemical substance, conjugated to
            cholesterol, should be considered to fall within the meaning of the term "cholesterol or
            a derivative thereof', even if the skilled person would not know how to synthesise those
            substances. This is plainly a far-fetched interpretation that has no regard to what is
            technically sensible, or what would occur to the skilled person as being encompassed
            by the claims.

     164.   The unrealistic nature of O1 's argument becomes apparent from just a moment's
            consideration. It is very often the case that patent claims cover embodiments which
            could not be put into effect at the filing date because the relevant technology is not, at
            that time available. This is not a barrier to patentability - it is well known and accepted
            that patents often, validly, cover follow-on inventions, which (by their nature as
            inventions) were not available without undue burden at the filing date of the earlier
            claims. The scenario envisaged by 01 in its objection is merely such a situation. If
            there are useful cholesterol conjugates that fall within the scope of the claims which
            were not known (in the sense of not being enabled for their production) at the filing
            date of the Patent, then those conjugates might well be follow-on inventions. But there
            is no reason why the Patent claims should not cover the use of future inventions, in
            the normal way.

     165.   Further, the false objection put forward by 01 could equally be applied to almost any
            generically defined chemical component of a product invention. Consider, for example,
            if claim 1 had referred more generically to "a sterof' instead of to "cholesterol or a
            derivative thereof'. According to O1 's logic, the term "a sterof' would be interpreted to
            mean any conceivable chemical substance which includes the following structure:




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 437 of 910 PageID #: 10017




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     166.    Since there are inevitably chemical substances including this sterol structure which the
             skilled person cannot prepare on the basis of his or her common general knowledge,
             then, according to O1 's logic, the generic term "a sterol" in a patent claim would also
             lack sufficient disclosure under Art 83 EPC. Such a conclusion, which is an inevitable
             extrapolation of O1 's position, is clearly wrong, and out of step with the EPO's normal
             application of Art 83 EPC.

     167.    Since it would be wrong to object to a more generic term ("a stero/') on this basis, it
             would also be wrong to object to the narrower term "cholesterol or a derivative thereof",
             for the same reasons.

     168.    A more sensible approach to the interpretation of claim 1 is that the skilled person
             understands the type of cholesterol derivatives intended for use in the claimed nucleic
             acid-lipid particles. Indeed, example derivatives are provided in paragraphs [0104],
             [0233] and [041 O] of the Patent, and the skilled person is perfectly capable of
             identifying other derivatives by the application of his or her common general knowledge.
             By taking a realistic view of what the skilled person is trying to achieve when working
             within the scope of the claim, it is possible to attribute a meaning to the terms of the
             claim that is in line with the " . .. broadest technically sensible meaning ... " of the case
             law, referred to by 01. Any doubts that remain about the boundaries of that
             interpretation are merely matters of clarity under Art 84 EPC, and cannot be raised,
             post-grant, in opposition proceedings.

     169.    It should also be noted that, even if O1 's approach was legitimate (which is denied),
             01 has failed to substantiate its opposition in any way. 01 has not mentioned a single
             derivative that cannot be produced (let alone explained why such a species would be
             a technically sensible interpretation of the term), and has therefore produced no
             serious doubts, substantiated by verifiable facts as required by the case law of the
             Technical Boards of Appeal (see e.g. T 19/90).

     170.    Lastly, it is pointed out that the Boards of Appeal themselves seem unconcerned about
             the impact, under Art 83, of including derivatives within a claim. By way of example
             only, in decisions T 833/03 4 and T 388/15 5 (and several others), the claims under
             investigation by the Boards included un-specified derivatives of certain components.

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       Claim 1 of EP O 674 506 B1 related to polymeric microspheres formed from, inter alia " ... polymers of
     ethylene vinyl acetate and other acyl substituted cellulose acetates and derivatives thereof. .. " ( emphasis
     added, Section I of the Summary of Facts and Submissions). The claim was found sufficient under Art
     84 (paragraph 2.2 of the Reasons for the Decision).
     5
       Claim 1 of the Main Request before the Board in EP 1 482 815 B1 related to a paper wrapper for a
     smoking article comprising, inter alia " ... a cellulose derivative, starch, a starch derivative ... " (emphasis
     added, Section IV of the Summary of Facts and Submissions). The claim was found sufficient under Art
     84 (paragraph 18.8 of the Reasons for the Decision).

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 438 of 910 PageID #: 10018




            In both cases, the claims were extensively examined by the Boards for their
            compliance with Art 83 EPC, and in both cases the claims were upheld as being
            enabled. Whilst in neither case was the impact of the term "derivatives" specifically
            considered, the Boards of Appeal making the decision were fully at liberty to determine
            that the term resulted in a lack of sufficiency of their own motion (Art 114 EPC), but did
            not do so. These cases further illustrate that, in heavily contested patent matters before
            the Boards of Appeal, other opponents have not considered the term "derivative" to be
            harmful for the sufficiency of patent claims.

     171.   O1 's objection is therefore wrong and should be ignored.


     Signed this 3 rd day of September 2018


     / BROUGHTON, Jon Philip/


     Patent Boutique LLP
     Association of Professional Representatives No. 651




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 439 of 910 PageID #: 10019




                                                 ANNEX 1

       D-number                                                            D-number      D-number
       for Patentee                     Document title                     for    01's   for 02 's
       Response                                                            Notice   of   Notice   of
                                                                           Opposition    Opposition
       D1             us 2008/0020058                                      D1
       D2             WO 2006/053430 A 1                                   D2            D4
       D3             Lin et al. Biophys J, 2003; 84(5): 3307-16           D3            D21
       D4             Ahmad et al. J Gene Med, 2005; 7(6): 739-48          D4            D22
       D5             Gao et al. AAPS J, 2007; 9(1 ): E92-104              D5            D12

                      Filing receipt for the priority application    us
       D6             61/045,228 of the opposed patent                     D6
       D7             Excerpt from the USPTO register on US 61/045,228     D7

                      PCT request for the application WO 2009/127060
       D8             underlying the opposed patent                        D8
       D9             US 2007 /0042031 A 1                                               D1
       D10            US 2005/0064595 A 1                                                D2
       D11            US 2006/008910 A1                                                  D3
       D12            WO 2007/056861 A1                                                  D5
       D13            WO 2005/035764 A 1                                                 D6
       D14            WO 2005/120152 A2                                                  D7
       D15            WO 2006/002538 A 1                                                 D8
       D16            WO 2005/007196 A2                                                  D9
       D17            EP 1 648 519 B1                                                    D10
       D18            EP 2 567 693 B1                                                    D11
                      Li & Szoka Pharmaceutical Research, 2007; 2383:
       D19            438-499                                                            D13
                      Maclachlan Antisense Drug Technology 2nd
       D20            Edition 2007                                                       D14
                      Declaration of Dr Andrew S Janoff dated 5 March
       D21            2018                                                               D15
       D22            us 9,364,435                                                       D16
       D23            Bennet et al. Bioscience Reports 1995; 15: 47-53                   D17
                      Heyes et al. Journal of Controlled Release 2005;
       D24            107: 276-78                                                        D18
       D25            US 2006/0240554 A 1                                                D19
       D26            US 5,264,618 A                                                     D20
       D27            US2008317839A 1                                                    D23

                      Uyechi-O'Brien & Szoka Pharmaceutical Gene
       D28            Delivery Systems 2003: 79-108
                      Song et al. Biochimica et Biophysica Acta 2002;
       D29            1558: 1-13
                      Ambegia et al. Biochimica et Biophysica Acta 2005;
       D30            1669: 155-163



                                                     37


                                                                                          JA002982
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 440 of 910 PageID #: 10020




                   JOINT APPENDIX 77
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 441 of 910 PageID #: 10021




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 442 of 910 PageID #: 10022




                   JOINT APPENDIX 78
  Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 443 of 910 PageID #: 10023




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 447 of 910 PageID #: 10027




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 448 of 910 PageID #: 10028




                   JOINT APPENDIX 79
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 449 of 910 PageID #: 10029




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                                                            Filed: April 17, 2019



              UNITED STATES PATENT AND TRADEMARK OFFICE
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               BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       _____________________________

                        MODERNA THERAPEUTICS, INC.,
                                 Petitioner,

                                         v.

                       PROTIVA BIOTHERAPEUTICS, INC.,
                                  Patent Owner.
                         _____________________________

                               Case IPR2018-00739
                               Patent No. 9,364,435
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                        PATENT OWNER’S SUR-REPLY




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 450 of 910 PageID #: 10030




                                           TABLE OF CONTENTS

                                                                                                                  Page

   I.       INTRODUCTION .......................................................................................... 1

   II.      CLAIM CONSTRUCTION ........................................................................... 3

   III.     IT IS NOW UNDISPUTED THAT L054 DOES NOT
            ANTICIPATE THE CHALLENGED CLAIMS ............................................ 7

   IV.      THERE IS NO RATIONALE/MOTIVATION SUPPORTING
            OBVIOUSNESS ........................................................................................... 12

            A.       Formulating Nucleic Acid-Lipid Particles Was Not a
                     Matter of Routine Optimization ......................................................... 14

            B.       Petitioner’s New Picking and Choosing Argument
                     Should be Rejected ............................................................................. 17

   V.       UNEXPECTED RESULTS FURTHER REBUT ANY PRIMA
            FACIE OBVIOUSNESS .............................................................................. 18

            A.       The ’435 Patent Reports Extensive Testing of Numerous
                     Formulations Within the Claimed Range ........................................... 20

            B.       Post-Filing Publications Provide Testing Data for a
                     Broad Range of Lipids and Cargo Molecules (including
                     both siRNA and mRNA) .................................................................... 23

            C.       Petitioner Remaining Arguments are Unavailing .............................. 27

   VI.      PETITIONER’S FALSE NARRATIVE OF NON-TOXIC
            CATIONIC LIPIDS SHOULD BE REJECTED.......................................... 27

   VII. LIN/AHMAD DO NOT SUPPLY THE MISSING
        MOTIVATION FOR GROUND 2 ............................................................... 31

   VIII. OBJECTIVE INDICIA CONFIRM PATENTABILITY OF
         CLAIMS ....................................................................................................... 34

   IX.      DEPENDENT CLAIMS............................................................................... 35

   X.       CONCLUSION............................................................................................. 36



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                                                                                                            JA002998
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 451 of 910 PageID #: 10031




   I.    INTRODUCTION
         This sur-reply is filed in response to Petitioner’s Reply filed March 22,

   2019. See EX2056.

         The Reply illustrates precisely why attorney argument should be accorded

   no weight, and why such argument cannot take the place of evidence in the record.

   Much of the Reply relies on attacking arguments Patent Owner never made,

   mischaracterizing the deposition testimony of Patent Owner’s expert, and flatly

   ignoring detrimental testimony from Petitioner’s own expert. Beyond that, the

   Reply attempts to weave false narratives about non-toxic cationic lipids and

   inoperable formulations that not only lack a shred of supporting evidence, but are

   contradicted by Petitioner’s own publications.

         In the end, Petitioner’s unpatentability challenges lack supporting evidence,

   and the Reply fails to show otherwise. Petitioner’s sole remaining anticipation

   challenge fails in that neither the L054, nor any other composition in the ’554

   publication, represents particles (as opposed to starting ingredients) having a lipid

   composition required by the challenged claims—nor does the L054 composition or

   any other composition disclosed in the ʼ554 patent encapsulate nucleic acid in the

   particle so as to protect the nucleic acid from enzymatic degradation.

         Regarding Petitioner’s obviousness assertions, Patent Owner previously

   pointed out those challenges fail for being premised on the false notion that



                                            -1-
                                                                               JA002999
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 452 of 910 PageID #: 10032




   overlapping lipid ranges in the prior art alone necessarily render the ’435 patent

   claims obvious. The Reply perpetuates this erroneous argument, now citing to E.I.

   duPont de Nemours & Co. v. Synvina C.V., 904 F.3d 996 (Fed. Cir. 2018). But

   duPont, like all other overlapping range cases, is based the specific rationale of

   “routine optimization”—rather than obviating the need for the critical aspects of an

   obviousness inquiry (e.g., motivation, reasonable expectation of success). Id. at

   1006. Petitioner has never established that formulating nucleic acid-lipid particles

   as claimed would have been a matter of routine optimization (or any other

   obviousness rationale). Here, the evidence is overwhelming — achieving the

   nucleic acid-lipid particles of the ’435 patent was not a matter of routine

   optimization.

         To the extent any prima facie case of obviousness was established by

   identification of overlapping lipid ranges in the art, that case is rebutted by the

   extensive experimental data in the ’435 patent and numerous post-filing

   publications, including Petitioner’s own publications. As explained previously, and

   as corroborated throughout the literature at the time (and unrebutted by Petitioner),

   high-level cationic lipid formulations (e.g., 50-85% cationic lipid) were expected

   to have poor in vivo activity and elicit increased toxicity and immunogenicity

   relative to lower-level cationic lipid formulations. EX1005, 3315; EX1006, 745;

   EX1008, E96; EX2007, 30:34-41.



                                             -2-
                                                                                 JA003000
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 453 of 910 PageID #: 10033




            Patent Owner, however, found that the claimed formulations surprisingly

   impart increased activity of the encapsulated nucleic acid and improved tolerability

   of the formulations in vivo, resulting in a significant increase in the therapeutic

   index. EX1015, 38-39, 68-69. Moreover, the claimed formulations are stable in

   circulation and are substantially non-toxic when administered to mammals. These

   surprising results are different in kind, not merely degree. The Reply fails to

   demonstrate otherwise.

            As such, when all the evidence of record is weighed and considered,

   Petitioner has failed to meet its burden of demonstrating unpatentability by a

   preponderance of the evidence, and the challenges in the Petition should be

   rejected and the claims of the ’435 patent found not unpatentable.

   II.      CLAIM CONSTRUCTION
            Petitioner now abandons the construction of the term “nucleic acid-lipid

   particle” that was proffered in the Petition and rejected in the Institution Decision

   (e.g., Pet. 24; Decision 10-11). The Reply (3) instead provides a single conclusory

   sentence stating that the Board’s preliminary construction of this term “is

   appropriate.”1 EX1021, ¶13. Petitioner offers no argument or analysis as to why


   1
       This represents the third different construction for this term advanced by

   Petitioner.



                                              -3-
                                                                                 JA003001
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 454 of 910 PageID #: 10034




   this construction is appropriate (e.g., reasonable in view of the specification), and

   provides no meaningful response to the evidence presented in the Response (e.g.,

   11-13).

         As explained in the Response (11-12), the “preliminary construction” puts

   misplaced reliance on limited discussion of a different term (“lipid particle”), does

   not account for pertinent disclosure elsewhere in the specification, and is

   unreasonably broad.

         As explained by Dr. Thompson, a “nucleic acid-lipid particle” (as opposed

   to a “lipid particle”) does include a nucleic acid encapsulated in the particle so as

   to protect the nucleic acid from enzymatic degradation. Response, 11-12; EX2009,

   ¶¶38-40, 44-45. Such an interpretation is supported throughout the specification of

   the ʼ435 patent. E.g., EX1001, 11:51-54 (“nucleic acids, when present in the lipid

   particles of the present invention, are resistant in aqueous solution to degradation

   with a nuclease”) (emphasis added); see also id., Examples and Tables (e.g.,

   Tables 2, 4, 6, 7) all reporting high encapsulation; 11:20-22 (equating

   encapsulation with resistance to nuclease degradation); cf. 68:56-58 (“For vehicle

   controls, empty particles with identical lipid composition were formed in the




                                            -4-
                                                                                 JA003002
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 455 of 910 PageID #: 10035




   absence of siRNA.”). Petitioner does not dispute this interpretation in its Reply or

   elsewhere—nor can it.2

           The Reply (4-5) is largely spent attacking a strawman, incorrectly stating

   that Patent Owner proposed importing various “SNALP” and “in vivo” limitations

   into the claims. But it was Petitioner’s expert who repeatedly testified during

   cross-examination that the patent defines the claimed nucleic acid-lipid particles as

   SNALPs. E.g., EX2028, 118:19-119:4 (“...we’re defining them in this invention as

   SNALPs and what they comprise of.... So that would seem to me to be a

   definition.”), 120:5-6 (“It’s a definition in the context of this patent.”), 121:14-25

   (“So it’s pretty clear that we’re talking about lipid particles of the invention, and

   it’s pretty clear we’re talking about SNALPs...”).

           The Reply (4) attempts to whitewash Dr. Janoff’s testimony in this regard

   with a heavily edited quotation from the transcript—that is, edited to remove

   counsel’s improper coaching objection and Dr. Janoff’s unequivocal affirmance of



   2
       Dr. Janoff embraced this interpretation during cross-examination. EX2028,

   195:20-22 (“...what [the ’435 patent] says is when nucleic acids are present in the

   lipid particles, they’re resistant to a degradation.”); see also id., 194:3-195:22,

   198:4-22, 199:10-18.




                                             -5-
                                                                                 JA003003
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 456 of 910 PageID #: 10036




   defining the claimed particles as SNALPs (highlighted below). The more complete

   quotation is shown here:




   EX2028, 119:5-17; see also id., 119:23-121:25 (confirming at least 3 more times

   his position that the specification defines lipid particles as SNALPs); Response,

   12; EX2028, 16:13-25.

         As stated in the Response (12-13), a reasonable reading of the ’435 patent

   supports Dr. Janoff’s position in that there is no meaningful distinction between

   descriptions of a “lipid particle” containing a nucleic acid (nucleic acid-lipid




                                            -6-
                                                                                JA003004
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 457 of 910 PageID #: 10037




   particle) and particle characteristics that confer serum stability.3 Nothing in the

   Reply demonstrates otherwise.

   III.     IT IS NOW UNDISPUTED THAT L054 DOES NOT ANTICIPATE
            THE CHALLENGED CLAIMS
            The L054 formulation fails to anticipate the challenged claims for several

   reasons.4 The Reply attempts to sidestep these points, but does not directly address,

   let alone rebut, them.

            First, the Petition cites the L054 formulation of Table 4, but that is a lipid

   mixture for making particles—not itself a particle (See, e.g., claim 1 directed to a

   “nucleic acid-lipid particle”). Dr. Thompson explained the erroneous nature of

   3
       During prosecution of the parent application leading to U.S. Patent No. 8,058,069

   (ʼ069 patent), Patent Owner described the claimed “nucleic acid-lipid particle” as

   “SNALP formulations advantageously impart increased activity of the

   encapsulated nucleic acid (e.g., an interfering RNA such as siRNA) and improved

   tolerability of the formulations in vivo.” EX1015, 38 (emphasis original). See

   Microsoft Corp. v. Proxyconn, Inc., 789 F.3d 1292, 1298 (Fed. Cir. 2015).

   4
       Petitioner appears to have abandoned its anticipation arguments that disclosure of

   the prior art ranges are sufficiently specific to anticipate. E.g., Pet. 38 (1(d)), 39

   (1(e)), 43 (Claim 7); EX1007, ¶¶116-117, 124.




                                               -7-
                                                                                   JA003005
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 458 of 910 PageID #: 10038




   simply assuming resulting complexes have the same composition as the starting

   lipid mixture. E.g., EX2009, ¶110 (citing EX2012; EX2013).

            The Reply (13) makes the conclusory assertion that listing only starting

   formulations, and not the particle composition, was “accepted practice in the

   field.” This dubious assertion misses the point.5 The claims are directed to a

   “nucleic acid-lipid particle.” The ’554 publication does not disclose lipid

   compositions of resulting particles, nor does it disclose sufficient detail to

   reasonably assume the resulting particles fall within the scope of claim 1. E.g.,

   Response, 40-43. Petitioner disputes none of this, and the anticipation challenge

   fails for this reason alone.

            The Reply (14) mischaracterizes Patent Owner’s argument as an unfounded

   assumption of one-directional variation. As a threshold matter, it is not Patent

   5
       The Reply (13-14) attempts to pivot to a discussion of the ’435 patent, which is a

   different document (with different disclosure) irrelevant to the deficient content of

   the ’554 publication. In contrast to the ’554 publication, the ’435 patent discloses

   detailed descriptions of particle production methods and extensive characterization

   of finished particles. E.g., EX1001, 57:60-60:59, Tables 2, 4, 6, 7, 76:26-48;

   68:58-69:5 (describing typical variation in lipid composition); EX1019, 168:7-

   172:14.




                                             -8-
                                                                                    JA003006
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 459 of 910 PageID #: 10039




   Owner’s burden to prove the composition of the L054 particle when that

   composition is not provided in the reference. Petitioner fails to establish the ’554

   publication’s particles would have a lipid composition within the scope of claim 1.

   See 35 U.S.C. § 316(e). Beyond that, the ’554 publication provides only cryptic

   description of its production methods, and what scant detail is provided more

   reasonably predicts different incorporation efficiencies for different lipid

   components, thereby resulting in particles with lipid ratios well outside the claimed

   ranges. E.g., EX2009, ¶113 (“The predictable result of using cholesterol-based

   detergents is less cholesterol in the finished particles than in the starting

   materials.”), ¶115; EX1020, 226:7-11 (“If we have lower cholesterol, that

   conjugate lipid concentration is going up, not down.”); EX2028, 157:12-158:16

   (Dr. Janoff describing failure to recover cholesterol in a particle altering the

   amount of the remaining components); EX1020, 223:14-21 (explaining that the

   cationic lipid would be expected outside the claimed range).6 The Reply offers no

   meaningful rebuttal.




      6
          The Reply (14) mischaracterizes Dr. Thompson’s testimony as somehow

   supporting Petitioner’s argument, where he actually expressly rejected it. See

   EX1020, 224:6-21, 223:14-21 (“...very likely that these particles are outside the

                                                                              (continued...)

                                             -9-
                                                                                   JA003007
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 460 of 910 PageID #: 10040




          Second, there is no evidence that L054-derived lipid particles encapsulate

   nucleic acid as required by the ’435 patent (i.e., encapsulated in the particle so as

   to protect the nucleic acid from enzymatic degradation). See Section II; see also

   EX2028, 199:10-18, 198:4-17, 194:3-21. The ’554 publication makes no assertion

   that L054 encapsulates nucleic acid in the particle as specifically required by the

   ’435 patent, or in any capacity at all, let alone verify such encapsulation with any

   evidence.

          The Reply (14-15) again attempts to sidestep the encapsulation issue and

   avoid detrimental testimony of its own expert. Instead, the Reply offers only the

   cryptic assertion that the ’554 publication “discusses encapsulation.” None of the

   citations to the ’554 publication discuss L054 encapsulation. See Reply, 14-15

   (citing EX1004, ¶11 (background discussing different particles), ¶136 (not

   addressing L054), ¶317 (not addressing L054, encapsulation only as a possibility),

   ¶400 (no mention of encapsulation)).

          And Petitioner offers no explanation as to how “encapsulation” would be

   understood in the context of the ’554 publication. This is critically pertinent in



   (...continued from previous page)
   range [for cationic lipid].”), 226:13-23 (“I’m not taking the bait on that one. The

   point is clear.”).




                                            - 10 -
                                                                                JA003008
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 461 of 910 PageID #: 10041




   view of Dr. Janoff’s repeated testimony (and publications) that encapsulation

   means very different things in different contexts. Compare EX2028, 137:16-

   138:16 (“[Encapsulation] has many different meanings...”), 147:18-22

   (“[Encapsulation is] a fungible term. It means different things to different people in

   different contexts.”), 146:22-147:1, and EX2007, 4:11-19, with EX2028, 199:10-

   18, 198:4-22, 194:3-21, and 195:12-22. There is no evidence or argument that

   L054 (or any other particle produced using the compositions disclosed by the ’554

   publication) encapsulates nucleic acid in the particle so as to protect the nucleic

   acid from enzymatic degradation.7

           Accordingly, Petitioner fails to establish that L054 (or any other composition

   in the ’554 publication) 1) includes particles having a lipid composition required

   by the challenged claims; or 2) encapsulates nucleic acid so as to protect the

   nucleic acid from enzymatic degradation.




      7
          Petitioner fails to inform the Board that the ’554 publication takes a

   fundamentally different approach and relies on nuclease-resistant RNA constructs.

   EX1004, ¶¶522, 523, 578. The reliance on such modified RNA indicates particle

   construction that fails to prevent nuclease exposure.




                                             - 11 -
                                                                                   JA003009
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 462 of 910 PageID #: 10042




   IV.   THERE IS NO RATIONALE/MOTIVATION SUPPORTING
         OBVIOUSNESS

         Patent Owner previously pointed out that the obviousness challenges of at

   least Grounds 1 and 3 in the Petition fail to identify any particular motivation or

   rationale to combine components specifically in the proportions required by the

   claims (or any discussion of reasonable expectation of success). POPR, 27-28, 44;

   Response, 18-20, 46-47. Rather, those challenges rest on the false notion that

   overlapping lipid ranges in the prior art alone necessarily render the ’435 patent

   claims obvious. The Reply (10-11) perpetuates this erroneous argument, now

   citing to duPont.

         Petitioner, however, fails to acknowledge that none of duPont, Peterson, or

   any other overlapping range case stands for the proposition that an overlapping

   range in the prior art obviates the requirements for motivation to combine and

   reasonable expectation of success in an obviousness challenge. Instead, the Federal

   Circuit has explained that overlapping ranges, without evidence to the contrary,

   may invoke a rebuttable presumption of obviousness under the specific rationale of

   “routine optimization.” See, e.g., In re Stepan Co., 868 F.3d 1342, 1346 n.1 (Fed.

   Cir. 2017) (explaining no matter what the obviousness theory “there must be a

   motivation to make the combination and a reasonable expectation that such a

   combination would be successful.”); In re Peterson, 315 F.3d 1325, 1330 n.1 (Fed.

   Cir. 2003) (“[Overlapping] ranges that are not especially broad invite routine


                                           - 12 -
                                                                               JA003010
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 463 of 910 PageID #: 10043




   experimentation to discover optimum values, rather than require nonobvious

   invention”); duPont, 904 F.3d at 1006 (“The legal principle at issue in this case is

   old....it is not inventive to discover the optimum or workable ranges by routine

   experimentation.”); Genetics Inst., LLC v. Novartis Vaccines & Diagnostics, Inc.,

   655 F.3d 1291, 1306 (Fed. Cir. 2011) (“Simply put, the typical desire of scientists

   to find an optimum value within a narrow disclosed range does not apply to the

   facts in this case.”). 8

           This distinction is important because “routine optimization” simply does not

   apply here. In fact, Petitioner has never established that formulating nucleic acid-

   lipid particles as claimed would have been a matter of routine optimization (or any

      8
          At institution, the Board suggested the Petition may be based on a theory of

   routine optimization. Decision, 23. That is not so clear. Petitioner carefully avoids

   assertions of routine experimentation and, as discussed below, actually embraces

   the complexity of the technology when pivoting to experimental data supporting

   the criticality of the claimed lipid ranges. But this exposes an internal contradiction

   in Petitioner’s case and Petitioner cannot have it both ways. In re Applied

   Materials, Inc., 692 F.3d 1289, 1298 (Fed. Cir. 2012) (Explaining that in the

   context of overlapping ranges evidence that variables interact in an unpredictable

   or unexpected way support nonobvious.).




                                            - 13 -
                                                                                 JA003011
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 464 of 910 PageID #: 10044




   other obviousness rationale).9 The obviousness challenges fail for at least that

   reason alone. See, e.g., Stepan, 868 F.3d at 1346, 1346 n.1 (rejecting obviousness

   in view of overlapping ranges because “[m]issing from the Board’s analysis is an

   explanation as to why it would have been routine optimization to arrive at the

   claimed invention.”).

            Even if Petitioner’s obviousness challenges are deemed to include a sub

   silentio rationale of routine optimization, such a theory has been addressed

   directly, lacks any supporting evidence, and has been thoroughly rebutted. As

   explained in detail below, the evidence is overwhelming — achieving the nucleic

   acid-lipid particles of the ’435 patent was not a matter of routine optimization.

            A.    Formulating Nucleic Acid-Lipid Particles Was Not a Matter of
                  Routine Optimization
            At the time of invention, formulating nucleic acid-lipid particles was not a

   matter of routine optimization. Dr. Thompson addressed this issue directly.

   EX1020, 403: 22-25 (“Q. In the 2008 timeframe, was developing nucleic acid-lipid

   particles considered a routine matter of optimizing variables? A. No.”); EX2009,



   9
       Dr. Janoff’s declaration includes only a single conclusory sentence regarding

   determining an “optimal proportion” of cationic lipid, one component of the

   formulation. EX1007, ¶110; see also 37 C.F.R. § 42.65(a).




                                             - 14 -
                                                                                JA003012
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 465 of 910 PageID #: 10045




   ¶58 (“The effects of making changes to the proportion of other components in the

   lipid particle would be unpredictable...”), ¶60 (“Making safe and effective nucleic

   acid-lipid particle formulations was not simply a matter of ‘varying the proportion’

   of cationic lipid in prior art formulations …”); see also id., ¶¶57-59, 136; EX1019,

   32:3, 31:22-23 (“Change solvent, change additives, change lots of different

   variables”), 32:9, 41:4-6 (“plenty of places to go wrong”), 43:9-10, 178:17-18,

   180:6; EX1020, 404:11-18 (“As I stated multiple times in my deposition, these are

   multicomponent systems and varying one component at a time was not a viable

   strategy.”).

         Petitioner and its expert actually embrace the complexity of formulating

   nucleic acid-lipid particles, repeatedly arguing unpredictability in adjusting lipid

   proportions. Reply, 15-16; Pet. 8-9 (“The structure of lipoplexes is influenced by

   multiple factors.... Transfection efficacy is complex because ‘[a] large number of

   parameters are involved.”); EX1007 ¶¶65-68 (same), ¶73 (“[A] POSITA would

   have had no way of knowing if lipid combination at any given proportion would

   have resulted in formulations of superior therapeutic index to other

   formulations.”). During deposition, Dr. Janoff repeatedly emphasized the

   complexity of the field of art at the time. EX2028, 144:18-145:1 (“We’re in deep

   waters, and what you think are simple questions belie — and I don’t mean to be

   pejorative — belie an ignorance of the field that you’re questioning me in”), 57:19



                                           - 15 -
                                                                                JA003013
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 466 of 910 PageID #: 10046




   (“it’s a very technical area”), 58:22-59:1 (“we’re in deep water here talking about

   very technical issues), 61:9-11 (“You’re asking me a very, very, very technical

   question...”), 63:5-11 (“we’re in technical deep waters”), 68:12 (“we’re in deep

   technical territory here”); see also EX1021, ¶25 (discussing “the complicated

   nature of what affects transfection efficiencies”). A highly technical and

   unpredictable state of the art is the very antithesis of routine optimization.

         Prior art cited in the Petition corroborates the expert testimony that forming

   functioning lipid particles at the time was far from routine, but instead was a

   function of multiple parameters whose interactions were poorly understood, with

   limited guidance existing. See, e.g., EX1006, 740 (“...the lack of mechanistic

   understanding of gene delivery by CL-DNA complexes is due to the large number

   of parameters involved.”), (“[I]n comparative studies, typically only one or two

   data points per lipid are evaluated, allowing the ideal lipid composition (the ratio

   of neutral to cationic lipid) or cationic lipid/DNA ratio to be overlooked.”); see

   also EX1021, ¶25; EX1008, E99 (“[It is] essential for us to identify the critical

   parameters limiting gene delivery in the current systems.”).

         The evidence also illustrates recognition in the industry that developing lipid

   particle formulations for drug delivery was not a simple or routine matter of

   optimizing variables. EX2011, 38 (“[P]hysical delivery of the drugs to diseased

   cells is extremely challenging.”); EX2012, 7248 (“The intrinsic complexity of any



                                            - 16 -
                                                                                JA003014
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 467 of 910 PageID #: 10047




   such gene delivery vehicle can be expected to present continued challenges ...”);

   EX2014, 11 (“The major hurdle right now is delivery, delivery, delivery.”);

   EX2016, 7 (“What’s interesting about what we do is that the drug isn’t the

   problem. It’s the delivery of it.”); EX2015, 2; EX2011, 42; EX2016, 1; EX2023,

   291-292 (“[Delivery] proved to be a substantially harder problem than we

   anticipated...”), (“All of those tear-your-hair-out days were worth it to get to

   today”).

         Accordingly, “routine optimization” is not a viable rationale for arriving at

   the claimed subject matter.

         B.     Petitioner’s New Picking and Choosing Argument Should be
                Rejected
         The Reply (8-10) now argues that low PEG-lipid amounts were “known in

   the art” and that “the amount of conjugated lipid (e.g., PEG) could be minimized.”

   Reply, 9 (emphasis added). Such assertions have never been sufficient to support

   obviousness. PersonalWeb Techs., LLC v. Apple, Inc., 848 F.3d 987 (Fed. Cir.

   2017) (“reasoning...that [references] could be combined...is not enough: it does not

   imply a motivation”) (emphasis in original).

         Similarly, the Reply (9, 11) newly argues high cationic/low PEG was

   “known” and then leaps to the conclusion that one would pick and choose from

   various different formulations (from the ’189 patent and ’554 publication) to arrive

   at the claim. As a threshold matter, this untimely new combination/theory was not


                                           - 17 -
                                                                                JA003015
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 468 of 910 PageID #: 10048




   presented in the petition. Even if considered, the argument is factually incorrect

   and entirely conclusory. None of the cited formulations are within the claimed

   ranges—the “2:40” composition is well outside the claim, and the newly cited ’554

   publication formulations (like L054) are merely a listing of starting ingredients

   (see discussion above) and are outside the claimed ranges. Furthermore, the Reply

   (11) cites to Dr. Janoff (EX1021, ¶22), which merely cites back to his previous

   erroneous and conclusory testimony. Cf. EX2009, ¶¶61-62; EX1020, 404:5-18;

   Section IV.A. While it is not Patent Owner’s burden to prove no motivation, one

   would more logically expect increased conjugated lipid (i.e., at or above the more

   typical 5-10%) to accompany a hypothetically increased cationic lipid. Response,

   14, 20; EX2009, ¶¶61-62. The Reply does not rebut this point.

   V.    UNEXPECTED RESULTS FURTHER REBUT ANY PRIMA FACIE
         OBVIOUSNESS
         As explained above, to the extent any prima facie case of obviousness in

   view of overlapping ranges was ever established in the first place, it is rebutted by

   uncontroverted evidence that developing nucleic acid-lipid particles as claimed

   was not a matter of routine optimization of lipid variables. The Federal Circuit has

   explained in Peterson and elsewhere, one may also overcome a prima facie case of

   obviousness “by showing that the claimed range achieves unexpected results.” 315

   F.3d 1325, 1330-1331. Any such prima facie case here is even further overcome




                                           - 18 -
                                                                               JA003016
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 469 of 910 PageID #: 10049




   by the extensive experimental data in the ’435 patent and post-filing publications

   showing unexpected results.

         The Reply (15-16) argues that the test data is not commensurate with the

   scope of the claims because only a “small portion” of formulations were tested.

   But neither Petitioner nor Dr. Janoff specify what “portion” of formulations were

   believed to have been tested. Nor does the Reply provide any analysis as to why

   this portion is too “small” to overcome the prima facie obviousness challenge of

   the Petition. In addition, the Reply (16-19) only addresses a subset of the test data

   disclosed in the ʼ435 patent, largely ignoring the post-filing data provided and

   discussed in the Response (59-61). See EX2046; EX2055, 44:19-45:9 (Dr. Janoff

   referring to only the data in the ʼ435 patent), 70:18-73:4, 75:25-77:7 (admitting he

   did not consider Petitioner’s own publications reporting testing of claimed

   formulations).

         Lacking any meaningful analysis, the Reply fails to acknowledge that the

   present case is nothing like previous instances where testing was rejected as not

   commensurate. See, e.g., Peterson, 315 F.3d at 1331 (unexpected results not

   commensurate where only two data points were tested, and only one data point

   produced unexpected results); duPont, 904 F.3d at 996 (only a single data point

   was tested); In re Greenfield, 571 F.2d 1185, 1189 (Fed. Cir. 1978) (testing only

   one species in a large genus).



                                           - 19 -
                                                                               JA003017
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 470 of 910 PageID #: 10050




         Here, the ’435 patent presents testing on dozens of different formulations

   falling within the scope of claim 1. Publications following the ’435 patent

   (including Petitioner’s own publications) tested dozens more formulations within

   the scope of claim 1, finding those formulations efficacious and well-tolerated.

   Genetics Inst., 655 F.3d at 1307 (“[W]e have held that evidence of unexpected

   results may be used to rebut a case of prima facie obviousness even if that

   evidence was obtained after the patent’s filing or issue date….”).

         As addressed in more detail below, the extensive scope of the experimental

   testing conducted—and essentially ignored in the Reply—included many different

   formulations, with many different combinations of different lipid components,

   gene targets, nucleic acid payloads and methods of production. See EX2046

   (summary of exemplary formulations tested and within the scope of the ’435 patent

   claims). Such testing is more than sufficient to rebut any prima facie case of

   obviousness.

         A.       The ’435 Patent Reports Extensive Testing of Numerous
                  Formulations Within the Claimed Range
         The ’435 patent specification provides experimental data for numerous

   formulations within the scope of claim 1 supporting the unexpected degree of

   tolerability and efficacy of the claimed compositions. The Reply and Dr. Janoff’s

   opinions appear to be based on a misconception of the testing actually presented in

   the ’435 patent. EX2055, 39:16-40:5, 66:8-67:3.


                                          - 20 -
                                                                              JA003018
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 471 of 910 PageID #: 10051




         For instance, Example 3 in the ’435 patent specification report that each of

   the tested formulations falling within the scope of claim 1 (Groups 11, 13, 14)

   demonstrated potent silencing activity in vivo. The 1:57 formulations were

   substantially more effective at silencing the expression of a target gene as

   compared to all other nucleic acid-lipid particle formulations tested. E.g., EX1001,

   72:20-23, Table 4.

         Example 4 demonstrates that 1:57 formulations were 10 times more

   efficacious as compared to a nucleic acid-lipid particle formulation previously

                                    described (“2:30 SNALP”) in mediating target

                                    gene silencing in vivo at a 10-fold lower dose.

                                    E.g., id., 73:64-67, Figure 3 (annotated shown -

                                    left); see also EX1016, 39.

         Example 5 describes testing of seven additional formulations within the

   scope of claim 1. EX1001, 74:1-53, Table 6 (Groups 2-8), Figure 4. Those

   formulations included combinations of different conjugated lipids (PEG2000 and

   PEG5000), cationic lipids (DLinDMA and DODMA), phospholipids (DPPC and

   DPPE), and cholesterol/derivative (cholesterol and cholestanol). As disclosed in

   Example 5 and illustrated in Fig. 4, each of those formulations demonstrated potent

   silencing activity in vivo.




                                           - 21 -
                                                                                  JA003019
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 472 of 910 PageID #: 10052




         Example 6 describes testing of fourteen additional formulations within the

   scope of claim 1. EX1001, 74:60-75:49, Table 2 (Groups 2-15), Figure 5. Each of

   the tested formulations demonstrated potent silencing activity in vivo.

         Examples 7 and 8 describe testing of tolerability and efficacy using “1:57”

   SNALPs prepared by various different manufacturing processes. Id., 75:41-80:45.

   The tested SNALPs were well-tolerated and efficacious in mediating target gene

   silencing in vivo.

         The examples presented in the ’435 patent further demonstrate that nucleic

   acid-lipid particles were efficacious in silencing multiple different gene targets in

   vivo. Examples 3-8 demonstrate potent silencing of ApoB expression in vivo.

   Examples 9-11 further demonstrate in vivo silencing of polo-like kinase 1 (PLK-1)

   expression using different SNALP formulations within the scope of claim 1. Id.,

   80:46-86:19.

         The Reply (16-17) limits consideration to only Examples 3-4 and repeats the

   legally and factually misplaced argument that not all claimed formulations were

   superior to all other tested formulations. The potent silencing activity and low

   toxicity across an entire range of dozens of different formulations was

   categorically unexpected, and Petitioner fails to demonstrate otherwise.




                                           - 22 -
                                                                                JA003020
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 473 of 910 PageID #: 10053



         B.    Post-Filing Publications Provide Testing Data for a Broad Range
               of Lipids and Cargo Molecules (including both siRNA and
               mRNA)
         Various post-filing publications (including those by Petitioner) have

   reported testing of numerous formulations within the scope of claim 1. This

   includes testing of different nucleic acid payloads (e.g, siRNA and mRNA) many

   different cationic lipids, numerous gene targets, various in vivo animal models, and

   humans. Such publications are ignored in the Reply.

         U.S. Patent No. 8,236,943 (EX2017) discloses testing of several

   formulations within the scope of claim 1. For instance, the ’943 patent evaluated

   several 1:57 formulations comprising 1.4% PEG2000-cDMA, 57.1% cationic lipid,

   7.1% DPPC, and 34.3% cholesterol. EX2017, 150:25-47, Table 1 (describing the

   siRNA cargo). Examples 11 and 13 disclose such formulations comprising five

   different cationic lipids (i.e., DLin-K-C2 DMA, DLenDMA, γ-DLenDMA, γ-

   DLen-C2K-DMA, and DLen-C2K-DMA), which were tested for their capacity to

   silence the ApoB gene in animals following intravenous injection. EX2017,

   151:29-37, 150:59-151:55, 153:25-55, Figures 4, 7. Each of these formulations

   demonstrated potent gene silencing activity in vivo.

         U.S. Publication No. 2013/0116307 (EX2018) discloses testing of additional

   formulations within the scope of claim 1, including formulations comprising 1.4%

   PEG2000-cDMA, 57.1% cationic lipid, 7.1% DPPC, and 34.3% cholesterol.



                                          - 23 -
                                                                             JA003021
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 474 of 910 PageID #: 10054




   EX2018, ¶421, Table 1 (describing the siRNA cargo). Such formulations included

   seven different cationic lipids (i.e., DLin-MC3-DMA, LenMC3, CP-LenMC3, CP-

   γ-DLen-C2K-DMA, CP-DLen-C2K-DMA, γ-Len-MC3, CP-γ-Len-MC3) that

   were tested for their capacity to silence gene expression in mice following

   intravenous injection. EX2018, Examples 17, 18, ¶¶430, 432-439, Figures 4, 5. As

   illustrated in Figures 4 and 5, each of these nine formulations were efficacious in

   silencing target gene activity in vivo.

         Semple (EX2021) discloses testing of formulations within the scope of claim

   1 in multiple different in vivo animal models. For instance, Semple tested

   formulations comprising 1.4% PEG2000-cDMA, 57.1% DLin-KC2-DMA, 7.1%

   DPPC, and 34.3% cholesterol. EX2021, 177 (“Preparation of KC2-SNALP”),

   (describing the TTR siRNA cargo). The formulation was tested for its capacity to

   silence the TTR gene in mice, rats, and non-human primates following a single

   intravenous injection. EX2021, 175, 178 (“In vivo nonhuman primate

   experiments”), Figure 3. As reported, the 1:57 formulation “was well-tolerated in

   both rodent and nonhuman primates and exhibited in vivo activity at siRNA doses

   as low as 0.01 mg/kg in rodents, as well as silencing of a therapeutically significant

   gene (TTR) in nonhuman primates.” EX2021, 175, Table 2; EX2022,

   Supplementary Table 4. The formulations were both efficacious and well-tolerated.




                                             - 24 -
                                                                                JA003022
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 475 of 910 PageID #: 10055




   EX2021, 175 (“…well tolerated at the dose levels tested, with no treatment-related

   changes in animal appearance or behavior.”).

         Bettencourt (EX2019) discloses testing of the commercial product,

   Onpattro™ (i.e., patisiran). Patisiran includes 50% DLin-MC3-DMA, 1.5% PEG-

   cDMG, 10% DSPC, 38.5% cholesterol. EX2019, ¶46, Table 1; see also id., ¶43

   (describing the TTR siRNA cargo). Testing demonstrated that patisiran is both

   efficacious and well-tolerated in human subjects. EX2019, ¶¶103, 121, 132.

         The Reply (17) makes vague arguments about comparisons to the closest

   formulations (though never identifies what it believes is closest or why). Despite

   claiming to have worked for Alnylam, Dr. Janoff’s opinions did not account for

   publications such as Akinc (EX2047)—which discloses testing of even more

   formulations within the scope of claim 1. EX2055, 68:11-69:17; EX1018, 2. As

   illustrated in Fig. 12 below (annotated), Groups 23-25 were superior in silencing

   gene expression of Factor VII (“FVII”) in vivo relative to formulations having

   conjugated lipid levels above the claimed range. EX2047, Figure 12, 112, 120,

   Table 3 (describing the FVII siRNA cargo), Example 16.




                                          - 25 -
                                                                              JA003023
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 476 of 910 PageID #: 10056




         Remarkably, the Reply and Dr. Janoff ignore that Petitioner has published

   extensively that the claimed formulations are efficacious and well-tolerated for

   various nucleic acid payloads, including mRNA. See EX2055, 70:18-73:4, 75:25-

   77:7 (confirming his opinions ignored Petitioner’s publications); Sedic (EX2048);

   EX2049; EX2050. For example, Sedic tested mRNA therapeutic payloads in the

   LNPs using the same “off-the-shelf” formulation as patisiran (i.e., 50% DLin-

   MC3-DMA, 1.5% PEG-cDMG, 10% DSPC, 38.5% cholesterol). EX2048, 2 (“850-

   nucleotide messenger RNA”), 3; EX2019, ¶46. Consistent with the various other

   reports in the literature, Petitioner reported that the LNPs were efficacious and

   well-tolerated. EX2048, Abstract (“Overall, these combined studies indicate that

   LNP-formulated modified mRNA can be administered by intravenous infusion in 2

   toxicologically relevant test species and generate supratherapeutic levels of protein

   (hEPO) in vivo.”).




                                           - 26 -
                                                                               JA003024
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 477 of 910 PageID #: 10057




         The Reply (18-19) sole response to the numerous post-filing publications

   (including its own publications) is to cherry pick a single formulation, from one

   experiment in one reference and falsely assert inoperability. EX1020, 411:14-

   412:25. In sum, the extensive testing reported in the ’435 patent and other

   publications is more than sufficient to rebut any prima facie case of obviousness.

   The Reply fails to demonstrate otherwise.

         C.     Petitioner Remaining Arguments are Unavailing
         The Reply (15) argues that “payload, identity of lipid components, or

   production techniques can all impact the particle properties and efficacy.” This

   may be, but does not rebut the data demonstrating that a wide variety of nucleic

   acid-lipid particle formulations within the scope of claim 1 — reflecting different

   payloads, lipids, and concentrations — were tested and found to be unexpectedly

   efficacious and well-tolerated.

   VI.   PETITIONER’S FALSE NARRATIVE OF NON-TOXIC CATIONIC
         LIPIDS SHOULD BE REJECTED
         Cationic lipids were known to be toxic at the time of invention, and the

   conventional thinking at that time was that their content in lipid particle

   formulations should be minimized. This is well-established in the current record,

   and there is no evidence, other than uncorroborated testimony of Dr. Janoff,

   indicating otherwise. These unrebutted facts are relevant because they 1) further

   undermine any motivation/expectation of success at the time (an aspect wholly


                                           - 27 -
                                                                                 JA003025
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 478 of 910 PageID #: 10058




   lacking from the Petition materials); and 2) if anything, would have more

   reasonably led away from the claimed compositions.

         The Reply (1, 6-8) offers, through attorney argument, a false narrative that

   ionizable cationic lipids used (e.g., DLinDMA) were known as being non-toxic.

   This argument is remarkable considering that Petitioner has published extensively

   about toxicity concerns due specifically to ionizable cationic lipids, including

   DLinDMA. For instance, one of Petitioner’s recent publications states the

   following:

         Ionizable cationic lipids, such as, but not limited to, DLinDMA, Dlin-
         KC2-DMA, and Dlin-MC3-DMA, have been shown to accumulate in
         plasma and tissues over time and may be a potential source of
         toxicity.

   EX2051, 21:10-12; EX2052, 57:29-58:9 (“[T]he lipid compounds disclosed herein

   have a lower immunogenicity as compared to a reference amino lipid (e.g., MC3,

   KC2, or DLinDMA).”). Petitioner own publications explicitly attribute toxicity of

   ionizable cationic lipids (including DLinDMA) not to charge at physiologic pH —




                                           - 28 -
                                                                               JA003026
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 479 of 910 PageID #: 10059




   which by its own admission is neutral— but to accumulation and

   immunogenicity.10 11

            The Reply (6) falsely asserts that toxicity is “largely a function of such

   particles having a net positive charge.” Reply, 6. This lacks supporting evidence

   and is factually incorrect. As noted above, Petitioner’s own publications attribute

   toxicity to bioaccumulation and immunogenicity—not net charge. Ahmad

   expressly advocates for multivalent cationic lipids so as to maintain charge with a

   lower amount of molecules, identifying bioaccumulation and metabolic burden as

   toxicity mechanisms. EX1006, 7.



      10
           These publications by Petitioner were not previously disclosed to Patent

   Owner (see §42.51(b)(1)(iii)), nor were they considered by Dr. Janoff in rendering

   his opinions set forth in EX1021. EX2055, 70:18-73:4, 75:25-77:7.

      11
           Moreover, the record is replete with evidence that cationic lipids are toxic,

   without qualification between certain types of cationic lipid. E.g., EX1006, 7

   (“Minimizing the amount of cationic lipid is desirable....fewer, more highly

   charged molecules should mean a smaller metabolic effort...”); EX1008, 5 (“the

   cationic lipid contributes significantly to the toxicity observed.”); EX2011, 42 (“I

   wouldn’t want anyone injecting cationic lipids into my bloodstream.”).




                                              - 29 -
                                                                                  JA003027
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 480 of 910 PageID #: 10060




         Petitioner’s (Reply 6, citing Paper 15) reliance on the institution decision is

   misplaced because Agency commentary is not evidence (and incorrect in this

   instance). Brand v. Miller, 487 F.3d 862, 869 (Fed. Cir. 2007). The Reply (13)

   later even acknowledges the link between toxicity and cationic lipid amount. See

   also EX1021, ¶26; EX2055, 39:4-9 (“Q. …And according to Ahmad, [multivalent

   cationic lipids are] beneficial because it allows one to obtain the charge, but do it

   with less cationic lipid; is that correct? A. According to Ahmad, yes.”), 31:7-39:9;

   EX1020, 409:2-19 (“...the bottom line message of Lin and Ahmad is how to reduce

   cationic lipid concentration in a formulation...”); EX1019, 65:24-66:5 (“…the even

   bigger concern is about the essentially long-term toxicity that might arise from

   bioaccumulation...”). While lower particle charge might mitigate particle

   aggregation, the evidence (including Petitioner’s own publications) identifies

   various mechanisms of toxicity independent of particle net charge.

         The Reply (7) also erroneously points to testing of a 40% DLinDMA

   formulation as evidence that “high cationic lipid concentrations” were known in

   the art and non-toxic. First, the 40% DLinDMA composition is well below the

   claimed range of 50% to 85% cationic lipid. Second, Petitioner conflates

   observations about a particle formulation with the different concept of toxicity of

   the cationic lipid component specifically. The ’189 publication does not attribute




                                           - 30 -
                                                                                JA003028
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 481 of 910 PageID #: 10061




   the low toxicity of the composition to DLinDMA or the charge of particles at

   physiologic pH.

         The Reply (7-8) mischaracterizes the deposition testimony of Dr. Thompson,

   but none of his testimony (or any other evidence) supports the notion that ionizable

   cationic lipids were recognized as non-toxic. For example, the Reply (7) truncates

   the citation to EX1019, 64:15-65:14, and falsely claims that Dr. Thompson

   admitted to non-toxicity. Dr. Thompson explained just the opposite—why

   “[c]ationic lipids in general were widely known as toxic” and “you wanted to

   minimize your cationic lipid content.” EX1019, 63:18-25. Dr. Thompson then

   went on to identify concerns over, inter alia, biodegradation, immunogenicity,

   cytotoxicity, and long term bioaccumulation. Dr. Thompson directly rejected the

   false notion that toxicity is merely a function of surface charge. E.g., EX1020,

   411:10-12 (“Cationic lipids are toxic. Some are — have greater toxicity than

   others, but they’re all toxic.”), 244:8-9 (“It doesn't matter whether [the cationic

   lipid is] protonatable or not. It’s still toxic.”), 244:25-245:6, 246:17-250:21.

   VII. LIN/AHMAD DO NOT SUPPLY THE MISSING MOTIVATION FOR
        GROUND 2
         As a threshold matter, it is now undisputed that “lipoplexes” as in Lin and

   Ahmad are a fundamentally different type of particle compared to a “nucleic acid-

   lipid particle,” excluded from the scope of the challenged claims, and are expressly

   differentiated both in the challenged patent and the cited art. E.g., Response, 34-35;

                                            - 31 -
                                                                                JA003029
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 482 of 910 PageID #: 10062




   EX2009, ¶¶95-98 (“Lipoplexes are not nucleic acid-lipid particles.”); EX2028,

   122:1-24 (Dr. Janoff identifying lipoplexes as outside the scope of the challenged

   claims); EX2007, 2:26-40, 2:54-65 (identifying lipoplexes as structurally and

   functionally distinct); EX1001, 2:19-29, 3:9-21 (differentiating nucleic acid-lipid

   particles from lipoplexes); EX1002, ¶6 (same). The Reply (12) acknowledges Lin

   and Ahmad tested only lipoplex formulations, but still does not explain why one

   would have looked to this fundamentally different technology to modify a SNALP

   of the cited ’196 publication (or ’189 publication) or that they would have

   reasonably expected success in doing so. See EX1021, ¶25 (acknowledging Lin

   and Ahmad as lipoplexes).

         Moreover, as previously pointed out, Petitioner’s argument that increasing

   cationic lipid “could” increase transfection efficiency is insufficient to establish

   obviousness. Response, 36-37; compare Pet. 49 (“may increase...”), 50

   (“...potentially increase...”), (“...could impact...”), and EX1007, ¶¶138-141

   (parroting the same language), with InTouch, 751 F.3d at 1351-52 (obviousness

   analysis failed for stating “that one of ordinary skill in the art could combine these

   references, not that they would have been motivated to do so.”) (original

   emphasis); PersonalWeb, 848 F.3d at 993-4 (same); Belden Inc. v. Berk-Tek LLC,

   805 F.3d 1064, 1073 (Fed. Cir. 2015) (same). The Reply (12) identifies “the

   complicated nature of what affects transfection efficiencies” and repeats the



                                            - 32 -
                                                                                JA003030
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 483 of 910 PageID #: 10063




   assertion that “...above 50% can have a positive effect...,” which only underscores

   this deficiency.

         While it is not Patent Owner’s burden to prove no motivation or reasonable

   expectation of success, that is the only reasonable conclusion in view of the

   evidence. Dr. Thompson explained that neither Lin nor Ahmad would reasonably

   be viewed as advocating cationic lipid above 50 mol% in a formulation. EX2009,

   ¶¶100, 101. Rather, the central point of those references was to reduce cationic

   lipid (and the corresponding metabolic burden/toxicity) through use of multivalent

   lipids (MVLs)—that is, lipids that have more positive charge per individual

   molecule. EX1020, 409:2-19 (“...the bottom line message of Lin and Ahmad is

   how to reduce cationic lipid concentration in a formulation...”), 251:3-22, 252:11-

   19. Dr. Janoff acknowledges that Ahmad advocates the use of MVL as a means for

   reducing the amount of cationic lipid. EX2055, 39:4-9, 31:7-39:9. The Reply (13)

   acknowledges this key aspect of the cited references, but fails to appreciate that

   prior art references advocating reduction in cationic lipid actually undermines the

   obviousness assertion.

         Moreover, while Lin/Ahmad tested different lipoplex formulations to

   compare saturation dynamics relative to control, neither reference instructs the use

   of any particular cationic lipid concentration in a formulation. In fact, as Dr.

   Thompson pointed out, Ahmad’s experiment shows reaching saturation around 40



                                            - 33 -
                                                                                JA003031
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 484 of 910 PageID #: 10064




   mol%, after which point the rate of enhanced metabolic burden far exceeds any

   further minimal TE gain. EX1006, Fig. 4A (annotated –

   shown), 1 (“...at intermediate σM, TE exhibits saturated

   behavior...”), 7 (“This means that much more cationic lipid

   is required to achieve optimal TE at large lipid/DNA

   charge ratios.”), (“Minimizing the amount of cationic lipid

   is desirable to reduce cost as well as potential toxic effects

   of the cationic lipid.”).

   VIII. OBJECTIVE INDICIA CONFIRM PATENTABILITY OF CLAIMS
          Rather than provide any meaningful analysis of the extensive objective

   indicia, the Reply (20-22) responds with citations to inapposite case law and raw

   speculation by its expert witness. WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1329

   (Fed. Cir. 2016) (“[A] patent challenger cannot successfully rebut the presumption

   with argument alone—it must present evidence.”).

          For instance, the Reply (21) states pointing to evidence of long felt need is

   “erroneous.” But Dr. Janoff confirmed he conducted no meaningful evaluation, he

   simply didn’t know the facts. EX2055, 82:20-84:7 (“Q. Why did you think it could

   be attributable [to other technology]? A. Because I don’t know. Q. You don’t

   know? A. It could be. I said it could be. I didn’t say it was. I said it could be.”).

   Similarly, for the evidence that Roche adopted Patent Owner’s SNALP technology



                                            - 34 -
                                                                                  JA003032
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 485 of 910 PageID #: 10065




   for non-human primate studies, Petitioner offers only unfounded speculation.

   EX2055, 85:9-86:4 (“No, I don’t have any knowledge one way or the other. And

   that’s the point of — that’s the point of my opinion.”). Speculation is neither

   evidence nor meaningful rebuttal. Rambus Inc. v. Rea, 731 F.3d 1248, 1257 (Fed.

   Cir. 2013) (finding no substantial evidence where Board’s conclusion of no nexus

   rested solely on conjecture).

         Regarding the commercial product Patisiran, the Reply (22) argues the

   success and industry recognition should be discounted as being due “to the siRNA

   payload, not the delivery vehicle.” But the very evidence cited states precisely the

   opposite. See, e.g., EX2023 (repeatedly linking the success of Patisiran to the

   delivery vehicle); EX2055, 77:8-81:5, 86:5-87:2, 80:19-22; see also Rambus, 731

   F.3d at 1257 (licensing activity is evidence of commercial success). Petitioner’s

   conjecture is not a meaningful response to the objective indicia provided.

   IX.   DEPENDENT CLAIMS
         The Reply (22-23) offers no meaningful response to the identified

   deficiencies in the petition vis-a-vis the dependent claims. Response, 29-33, 48-52.

   Dr. Janoff offers only a single generic and conclusory sentence. EX1021, ¶35. The

   argument in the Reply (23) for an omnibus combination of all references is

   improperly new, undeveloped, and not responsive. For example, Petitioner’s attack

   on the experimental data is even more tenuous for claim 4. Despite relying on



                                           - 35 -
                                                                                JA003033
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 486 of 910 PageID #: 10066




   overlapping ranges, Petitioner never identified overlapping phospholipid ranges for

   claim 7. The lack of motivation and expectation of success is even more

   pronounced for the in vivo methods of claims 16-20.

   X.    CONCLUSION

         Accordingly, the challenges in the Petition should be rejected and the claims

   of the ’435 patent found not unpatentable.



                                             Respectfully submitted,


   Date: April 17, 2019                      / Michael T. Rosato /
                                             Michael T. Rosato, Lead Counsel
                                             Reg. No. 52,182




                                         - 36 -
                                                                             JA003034
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 487 of 910 PageID #: 10067




                           CERTIFICATE OF COMPLIANCE

         Pursuant to § 42.24(d), the undersigned certifies that this paper contains no

   more than 7,100 words (see EX2056 authorizing an additional 1,500 words) , not

   including the portions of the paper exempted by § 42.24(b). According to the

   word-processing system used to prepare this paper, the paper contains 6,935

   words.

                                                 Respectfully,

   Dated: April 17, 2019                         / Michael T. Rosato /
                                                 Michael T. Rosato, Lead Counsel
                                                 Reg. No. 52,182




                                           -1-
                                                                              JA003035
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 488 of 910 PageID #: 10068




                                LIST OF EXHIBITS

    EXHIBIT NO.                             DESCRIPTION

         2001       Declaration of Edward R. Reines in Support of Patent Owner’s
                    Motion for Pro Hac Vice Admission

         2002       In re Reines, No. 14-MA004 (14-4) (Fed. Cir. Nov. 5, 2014)

         2003       Personal Statement of Edward R. Reines

         2004       Tam P. et al., Stabilized Plasmid-Lipid Particles for Systemic
                    Gene Therapy 7 GENE THERAPY 1867-1874 (2000)

         2005       Huang L. et al., Liposomal Gene Delivery: A Complex Package
                    15 NATURE BIOTECHNOLOGY 620-621 (1997)

         2006       Pak C.C., Erukulla R.K., Ahl, P.L., Janoff, A.S. and Meers, P.,
                    Elastase-Activated Liposomal Delivery to Nucleated Cells. 1419
                    BIOCHIM. BIOPHY. ACTA 111-126 (1999)

         2007       U.S. Patent No. 7,491,409

         2008       Transcript of October 2, 2018 Conference Call

         2009       Declaration of David H. Thompson, Ph.D.

         2010       Curriculum Vitae of David H. Thompson, Ph.D.

                    Charles W. Schmidt, Therapeutic Interference: Small RNA
         2011       Molecules Act as Blockers of Disease Metabolism AM. CHEM.
                    SOC’Y 37 (2003)




                                         -1-
                                                                           JA003036
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 489 of 910 PageID #: 10069




                    C. Russell Middaugh & Joshua D. Ramsey, Analysis of
         2012       Cationic-Lipid-Plasmid-DNA Complexes, ANALYTICAL
                    CHEMISTRY 7240 (2007)

                    Liposome Drug Products: Chemistry, Manufacturing, and
                    Controls; Human Pharmacokinetics and Bioavailability; and
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                    Labeling Documentation, Guidance for Industry, FOOD AND
                    DRUG ADMINISTRATION (2018)

         2014       Erika Check, RNA to the Rescue? 425 NATURE 10 (2003)

                    Dirk Hausseker, The Business of RNAi Therapeutics in 2012, 2
         2015
                    AM. SOC’Y OF GENE & CELL THERAPY (2012)

                    Luke Timmerman, Merck’s Alan Sachs, on RNAi’s Big
                    Challenge: Delivery, Delivery, Delivery, XCONOMY (Jan. 21,
         2016
                    2010), https://xconomy.com/national/2010/01/21/mercks-alan-
                    sachs-on-rnais-big-challenge-delivery-delivery-delivery/

         2017       U.S. Patent No. 8,236,943

         2018       U.S. Publication No. 2013/0116307

         2019       U.S. Publication No 2017/0307608

                    Combined Declaration for Patent Application and Power of
         2020
                    Attorney in U.S. Patent Application No. 90/914,615.

                    Sean C. Semple, et al., Rational Design of Cationic Lipids for
         2021
                    siRNA Delivery, 28 NATURE BIOTECH. 172 (2010)

                    Supplementary Figures to Sean C. Semple, et al., Rational
         2022       Design of Cationic Lipids for siRNA Delivery, 28 NATURE
                    BIOTECH. 172 (2010)

                    Heidi Ledford, Gene-Silencing Drug Approved: US Government
         2023       Okays First RNA-Interference Drug — After a 20-Year Wait 560
                    NATURE 291 (2018)




                                         -2-
                                                                           JA003037
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 490 of 910 PageID #: 10070




                    FDA Approves First-of-its Kind Targeted RNA-based Therapy
                    to Treat a Rare Disease, FOOD AND DRUG ADMIN. (2018),
         2024
                    https://www.fda.gov/newsevents/newsroom
                    /pressannouncements/ucm616518.htm

                    New Medicine for Hereditary Rare Disease, EUROPEAN MED.
         2025       AGENCY (2018), https://www.ema.europa.eu/en/news/new-
                    medicine-hereditary-rare-disease

                    Arbutus’ LNP Licensee Alnylam Announces FDA Approval of
                    ONPATTRO™ (patisiran), for the Treatment of ATTR
         2026       Amyloidosis, ARBUTUS BIOPHARMA (2018), https://investor.
                    arbutusbio.com/news-releases/news-release-details/arbutus-lnp-
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                                        -3-
                                                                         JA003038
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 491 of 910 PageID #: 10071




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         2040
                    Owner’s Contingent Motion to Amend

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         2042       U.S. Patent Application Number 12/424,367

         2043       U.S. Patent Application Number 13/253,917

         2044       U.S. Patent Application Number 13/928,309

         2045       U.S. Patent Application Number 14/462,441

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                    the ’435 Patent Claims

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                                        -4-
                                                                         JA003039
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 492 of 910 PageID #: 10072




         2056       April 2, 2019 Email from Trials




                                        -5-
                                                                       JA003040
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 493 of 910 PageID #: 10073




                            CERTIFICATE OF SERVICE

         This is to certify that I caused to be served a true and correct copies of the

   foregoing Patent Owner’s Sur-Reply and Exhibits 2046-2056, on this 17th day of

   April, 2019, on the Petitioner at the correspondence address of the Petitioner as

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                                               Respectfully submitted,


   Date: April 17, 2019                        / Michael T. Rosato /
                                               Michael T. Rosato, Lead Counsel
                                               Reg. No. 52,182




                                            -1-
                                                                                JA003041
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 494 of 910 PageID #: 10074




                   JOINT APPENDIX 80
            Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 495 of 910 PageID #: 10075




                                               Summary of Molar Ratio Patents

  Patent No.   Patent App.     Patent Issue     IPR Proceeding    IPR Appeal
(Abbreviation) Filing Date     Date             (Abbreviation)    (Abbreviation)
                                                                  ModernaTX, Inc. v. Arbutus Biopharma Corp., Case No.
  8,058,069                                     IPR2019-00554
               Apr. 15, 2009   Nov. 15, 2011                      2020-2329 (Fed. Cir.)
 ’069 Patent                                    ’069 IPR
                                                                  ’069 Appeal
  8,492,359
               Oct. 5, 2011    Jul. 23, 2013    None              None
 ’359 Patent
  8,822,668
               Jun. 26, 2013   Sept. 2, 2014    None              None
 ’668 Patent
                                                                  ModernaTX, Inc. v. Arbutus Biopharma Corp., Case Nos.
  9,364,435                                     IPR2018-00739
               Aug. 18, 2014 Jun. 14, 2016                        2020-1184, 2020-1186 (Fed. Cir.)
 ’435 Patent                                    ’435 IPR
                                                                  ’435 Appeal
  11,141,378
               Apr. 12, 2021   Oct. 12, 2021    None              None
 ’378 Patent




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 496 of 910 PageID #: 10076




                   JOINT APPENDIX 81
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 497 of 910 PageID #: 10077




                             REDACTED
                               IN ITS
                             ENTIRETY
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 498 of 910 PageID #: 10078




                   JOINT APPENDIX 82
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 499 of 910 PageID #: 10079




              UNITED STATES PATENT AND TRADEMARK OFFICE
                               __________

              BEFORE THE PATENT TRIAL AND APPEAL BOARD
                              __________


                             Moderna Therapeutics, Inc.

                                     Petitioner

                                         v.

                            Protiva Biotherapeutics, Inc.

                                    Patent Owner
                                    ___________


                              Case No. IPR2019-00554
                              U.S. Patent No. 8,058,069

                                    ___________



               PETITIONER’S REPLY TO PROTIVA’S RESPONSE




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 500 of 910 PageID #: 10080

   Case No. IPR2019-00554                                                           U.S. Patent No. 8,058,069


                                         TABLE OF CONTENTS

                                                                                                                   Page

   I.     INTRODUCTION ........................................................................................ 1

   II.    PROTIVA’S EXPERT HAS MINIMAL EXPERIENCE WITH
          CATIONIC LIPIDS ...................................................................................... 2

   III.   CLAIM CONSTRUCTION ......................................................................... 3

   IV.    THE INSTITUTED GROUNDS .................................................................. 4

          A.      An Overlapping Phospholipid Range Is Disclosed ............................ 5

          B.      The Same Four Lipid-Component Carrier Particles Are
                  Disclosed ............................................................................................ 6

          C.      Routine Optimization Of Lipid-Carrier Particles............................... 7

                  (1)      OPTIMIZATION OF THE CATIONIC LIPID .................................. 11

                  (2)      OPTIMIZATION OF THE CONJUGATED LIPID ............................ 18

                  (3)      OPTIMIZATION OF THE CHOLESTEROL .................................... 20

                  (4)      OPTIMIZATION OF THE PHOSPHOLIPID .................................... 21

          D.      Dependent Claims ............................................................................ 22

   V.     SECONDARY CONSIDERATIONS CANNOT OVERCOME
          PETITIONER’S OBVIOUSNESS SHOWING ......................................... 24

          A.      The Test Data Is Not Commensurate With Claim Scope ................ 24

          B.      Test Data Does Not Show Unexpected Results ............................... 25

          C.      Other Secondary Considerations Lack The Required
                  Nexus Or Are Attributable To The Prior Art ................................... 27




                                                          -i-

                                                                                                             JA003048
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 501 of 910 PageID #: 10081

   Case No. IPR2019-00554                                                       U.S. Patent No. 8,058,069

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                                                        - ii -
                                                                                                      JA003049
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 502 of 910 PageID #: 10082

   Case No. IPR2019-00554                                U.S. Patent No. 8,058,069

                    LIST OF EXHIBITS RELIED UPON IN THE REPLY


      Exhibit
                                            References
       No.

       1020     Declaration of Thomas J. Anchordoquy, Ph.D. iso Petitioner's Reply
                to Protiva’s Response (“Anchodoquy”)

       1021     Curriculum Vitae of Thomas J. Anchordoquy

       1022     Final Written Decision in IPR2018-00739, Paper 51, Entered
                September 11, 2019

       1023     Onpattro Labeling, Application No. 210922Orig1s000

       1024     Ian MacLachlin, Liposomal Formulations for Nucleic Acid Delivery
                (2007)

       1025     Deposition of David H. Thompson, Ph.D. taken January 15, 2020

       1026     Akinc et. al., Onpattro story and clinical translation of
                nanomedicines containing nucleic acid-based drugs, Nature
                Nanotechnology, Vol. 14, Dec. 2019, pp. 1084-1087

       1027     Zimmerman et. al., RNAi-mediated gene silencing in non-human
                primates, 2006 Nature Publishing Group

       1028     U.S. Patent No. 7,799,565 issued to MacLachlan, Sept. 21, 2010




                                        - iii -
                                                                            JA003050
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 503 of 910 PageID #: 10083

   Case No. IPR2019-00554                                     U.S. Patent No. 8,058,069

   I.    INTRODUCTION

         The Board ordered an IPR over the’069 patent with respect to grounds 1-3 for

   claims 1-22. In response, Patent Owner Protiva relies upon the mistaken premises

   that (1) the prior art references do not teach overlapping ranges for the phospholipid

   component (Response, 12-18) and (2) the disclosed ranges are too broad to support

   routine optimization (id., 19-30). Both are demonstrably false. First, Protiva’s expert

   admits that the cited references disclose an overlapping phospholipid range and

   actual prior art testing demonstrating phospholipid concentrations overlapping with

   the claimed range. Second, Protiva’s own prior test data confirms the regular practice

   in the field of optimizing lipid concentrations and provides a starting point for such

   routine optimization.

         Protiva relies heavily on its expert’s belief that all the “cationic lipids should

   be minimized” because of toxicity concerns. Response, 29. This oversimplification

   evinces Protiva’s expert’s inexperience with lipid carrier particles. It was well

   known years before the ’069 patent that ionizable cationic lipids can be used in high

   amounts to create particles that are substantially non-toxic. See, e.g., EX1004,

   [0151].

         Faced with prior disclosures of particle formulations with overlapping ranges

   for all claimed lipid components rendering the claims prima facie obvious, Protiva

   seeks to cloud the matter as much as possible. For example, Protiva points to the




                                            -1-                                 JA003051
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 504 of 910 PageID #: 10084

   Case No. IPR2019-00554                                   U.S. Patent No. 8,058,069

   therapeutic Patisiran (tradename—Onpattro) as alleged support for secondary

   considerations of non-obviousness, but fails to inform the Board that the actual

   commercial product does not use the claimed lipid ranges. Protiva cannot rebut

   Petitioner’s obviousness showing by ignoring express disclosures in the prior art,

   denying   comparable     teachings,   importing   limitations   into     the    claims,

   mischaracterizing test data, and making demonstrably false assertions.

   II.   PROTIVA’S EXPERT HAS MINIMAL EXPERIENCE WITH
         CATIONIC LIPIDS
         Protiva’s expert, Dr. Thompson, researches carrier molecules using polymers,

   not lipids. EX2005, 21:9-25 (“…we make stabilized nucleic acid particles, but

   they’re not lipid particles. We make them out of polymers.”). His experience with

   SNALPs is limited to using them as benchmarks in research. Id., 46:3-10, 49:11-17.

   He admits that he has not worked with ionizable cationic lipids, like DLinDMA,

   used in the ’069 patent. Id., 74:20-75:13. In its Final Determination in the related

   ’435 patent IPR, the Board repeatedly discounted Dr. Thompson’s opinions: “…we

   find Dr. Thompson’s opinion…is speculative and thus, not accorded weight.”

   EX1022, 24. Here, Dr. Thompson’s opinions are again unsupported and counter to

   the prevailing wisdom in the field.

         As an example, Dr. Thompson identifies Onpattro as a commercial

   embodiment of the ’069 patent. EX2031, ¶¶117-118, 134-136. He relies on a 2014

   patent for the alleged lipid formulation (EX2012) instead of the 2018 FDA approved



                                          -2-                                     JA003052
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 505 of 910 PageID #: 10085

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   label for the product (EX1023). The FDA label, however, shows that a different

   formulation is actually used that does not practice the claims. Anchordoquy,1 ¶¶139-

   142.

   III.   CLAIM CONSTRUCTION

          The Board’s prior construction of “nucleic acid-lipid particle” as “a particle

   that comprises a nucleic acid and lipids, in which the nucleic acid may be

   encapsulated in the lipid portion of the particle” from the ’435 patent IPR is

   appropriate and Petitioner agrees therewith. EX1008, ¶88; Anchordoquy, ¶¶27-29.

   Dr. Anchordoquy agrees with Dr. Janoff that a POSITA would adopt this

   construction using the appropriate standard in light of the intrinsic record. Id., citing

   EX1001, 11:4-12.

          To avoid prior art, Protiva seeks to import limitations arguing that the claims

   “necessarily including a nucleic acid encapsulated in the lipid portion of the

   particle,2 thereby protecting it from enzymatic degradation.” Response, 9. The Board

   soundly rejected this argument previously. EX1022, 11-13 (“Dr. Thompson attempts

   to shoehorn the statement that nucleic acids….”). Moreover, it conflicts with the

   ’069 patent’s disclosure of “…delivery of associated or encapsulated therapeutic

   agents….” EX1001, 6:20-23. Encapsulation is just one means of preventing


   1
     Petitioner’s prior expert, Dr. Janoff, passed away in December 2019 and Dr.
   Anchordoquy has thus been engaged.
   2
     All emphasis added unless otherwise noted.


                                             -3-                                 JA003053
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 506 of 910 PageID #: 10086

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   degradation. Anchordoquy, ¶¶29-35. Other options include chemical modification

   of the payload to resist degradation. EX1001, 44:33-35 (chemical modification); see

   also EX1005, ¶20 (“…use of chemically-modified siNA … [has] increased

   resistance to nuclease degradation….”).

         Protiva also attempts to narrow the term to exclude lipoplexes addressed in

   Lin (EX1006) and Ahmad (EX1007). Response, 5; EX2031, ¶111. But a POSITA

   would understand that lipoplex and liposomal structures existed at the time of the

   ’069 patent that can meet the claim limitations. Anchordoquy, ¶¶36-41, 87-91.

   Indeed, the ’189 publication, also directed at SNALPs, specifically identifies

   liposomes and lipoplexes as “…alternative lipid-based carrier systems suitable for

   use with the present [SNALP] invention….” EX1004, [0149].

   IV.   THE INSTITUTED GROUNDS

         Protiva relies on arguments directed at the claimed range for the phospholipid

   and cholesterol components. Response, 14, 17. Protiva fails, however, to

   demonstrate “that there is something special or critical about the claimed range” for

   these components. Genentech, Inc. v. Hospira, Inc., 946 F.3d 1333, 1341 (Fed. Cir.

   2020). For example, there is no evidence that 11mol% phospholipid or 41mol%

   cholesterol, as opposed to points in the claimed ranges, would have any impact on

   the particle efficacy. Anchordoquy, ¶43.




                                           -4-                                JA003054
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 507 of 910 PageID #: 10087

   Case No. IPR2019-00554                                   U.S. Patent No. 8,058,069

         A.    AN OVERLAPPING PHOSPHOLIPID RANGE IS DISCLOSED
         Even if the phospholipid range is considered, the Board’s initial

   determination that EXS1003-1005 disclose overlapping ranges for each lipid

   component is correct. Initial Determination (“ID”), 16-18, 22-24, 34-37;

   Anchordoquy, ¶¶44-50. Protiva does not dispute that each reference discloses a

   non-cationic/neutral lipid range of 5-90mol% (see EX1003, [0091], EX1004,

   [0152]; EX1005, [0313]) or that a phospholipid is one of the disclosed species of

   non-cationic/neutral lipids (EX1003, [0089]; EX1004, [0159]; EX1005, [0455]).

   During prosecution, the patentee admitted that the same disclosures in Protiva’s

   prior ’910 publication (EX1015, ¶85) provides a phospholipid range of 5-90mol%

   confirming that a POSITA would be put on notice of an overlapping phospholipid

   range. EX1016, 5-6.

         Protiva argues that there is no “express disclosure of a phospholipid range”

   (Response, 6; EX2031, ¶39)3—that is irrelevant. The applicable legal standard is

   what a “POSITA reading [the reference] would understand.” See IXI IP, LLC v.

   Samsung Elecs. Co., Ltd., 903 F.3d 1257, 1264-1265 (Fed. Cir. 2018) (rejecting

   arguments based upon lack of an “express disclosure”). At deposition, Protiva’s

   expert agreed that a POSITA would understand from the above disclosures that a



   3
    The Board in the ’435 patent IPR similarly focused on the lack of a “specific range
   for the amount of phospholipid.” EX1022, 31.


                                          -5-                                 JA003055
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 508 of 910 PageID #: 10088

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   phospholipid range is disclosed. EX1025, 167:10-22 (“…this is a range that is of

   composition 5mol% and 90mol% of any number of different phospholipids that are

   recited here.”).

         B.     THE SAME FOUR LIPID-COMPONENT CARRIER PARTICLES ARE
                DISCLOSED

         Carrier particles comprising the exact same four lipid components in the

   ’069 patent claims (i.e., cationic lipid, phospholipid, cholesterol, and conjugated

   lipid) are expressly disclosed in the working examples of each prior art reference.

   EX1004, [0369]; EX1003, [0223]; EX1005, Table IV (L051, L053, L054, L069,

   L077, L080, L082, L083, L109), Anchordoquy, ¶¶51-55. Protiva’s expert admits

   that such working examples would help inform a POSITA. EX1025, 110:1-8. Yet,

   Protiva completely ignores these working examples in arguing that the Petition

   only addresses “the individual lipid components” as opposed to the particles as a

   whole. Response, 27; EX2031, ¶73.

         For example, the ’189 publication discloses effective transfection using the

   closest prior art—a carrier particle with the formulation 40/10/48/2 (cationic

   lipid/phospholipid/cholesterol/conjugated lipid) (“2:40 formulation”) that uses the

   same basic species for each lipid component4 to carry the same nucleic acid



   4
     DPPC is used instead of DSPC in the ’069 patent testing, but Protiva’s expert
   acknowledges that the two phospholipids would behave similarly. EX2031, ¶102;
   EX2005, 158:20-159:4 (“I don't think it's going to have that much of an impact.”).


                                            -6-                                JA003056
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 509 of 910 PageID #: 10089

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   payload as tested in the ’069 patent. Compare, e.g., EX1004 (Examples 13-17)

   with EX1001 (Examples 2-3); Anchordoquy, ¶¶51-55. This reference thus

   expressly spells out the lipid components combined as in the ’069 patent claims.

   EX1025, 115:7-21 (Protiva’s expert admitting same four-lipid component particle

   described).5

         C.       ROUTINE OPTIMIZATION OF LIPID-CARRIER PARTICLES

         As the Board noted, “it has long been recognized that where the general

   conditions of a claim are disclosed in the prior art, it is not inventive to discover

   the optimum or workable ranges by routine experimentation.” ID, 24 citing E.I.

   DuPont de Nemours & Co. v. Synvina C.V., 904 F.3d 996, 1006 (Fed. Cir. 2018)

   (internal quotations omitted). “[W]here the general conditions of a claim are

   disclosed in the prior art, it is not inventive to discover the optimum or workable

   ranges by routine experimentation.” In re Applied Materials, Inc., 692 F.3d 1289,

   1295 (Fed. Cir. 2012). The Board’s determination that “in view of the high level of

   ordinary skill in the art…optimization of the ranges of components to achieve the

   claimed composition would be the ‘normal desire of scientists or artisans to

   improve upon what is already generally known’” (ID, 25) is correct. Given the

   defined efficacious prior art systems discussed above (e.g., the 2:40 formulation in



   5
    Protiva also argues that “the prior art is not limited to a formulation requiring a
   phospholipid.” Response, 26; EX2031, ¶41. There is no such legal requirement.


                                             -7-                                 JA003057
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 510 of 910 PageID #: 10090

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   EX1004), a POSITA would have used the general conditions of such systems as a

   starting point and been motivated to optimize the lipid formulations therein.

   EX1008, ¶108; Anchordoquy, ¶¶56-69.

         The intrinsic record establishes that such optimization is routine once the

   general conditions of the system have been defined. Id. The ’069 patent states that

   “[i]t will be readily apparent to one of skill in the art that depending on the

   intended use of the particles, the proportions of the components can be varied….”

   EX1001, 49:62-65. Similarly, during prosecution, the examiner concluded that

   “MacLachlan [’910 publication]…teaches that the proportions of the components

   can be varied by those of skill in the art. Thus, by routine experimentation towards

   optimization, one of skill in the art could arrive at the instantly claimed

   proportions.” EX1016, 6 (emphasis added). As Protiva’s expert admitted: “[y]ou're

   trying to vary different proportions to see where the best in vivo performance, the

   best tolerance of ranges are identified.” EX1025, 83:19-84:17, 84:3-11 (optimizing

   phospholipid), 85:3-21 (optimizing cationic lipid).

         The prior art similarly establishes that “[i]t will be readily apparent to one of

   skill in the art that the proportions of the components of the nucleic acid-lipid

   particles may be varied.” EX1004, [0152]; EX1003, [0088] (“…the proportions of

   the components are varied….”). This is further confirmed by the inventors'

   publications at the time. EX1024, 251 (“…SNALP formation by ethanol dilution is




                                             -8-                                 JA003058
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 511 of 910 PageID #: 10091

   Case No. IPR2019-00554                                     U.S. Patent No. 8,058,069

   optimized by balancing ionic strength, cationic lipid, and PEG lipid content.”).

         The testing in the ’069 patent illustrates just this type of optimization.

   EX1001, Example 2 (Table 2) below:




   As can be seen, the payload and lipid species are defined and the lipid proportions

   and lipid:drug ratio are varied to optimize the formulation. Anchordoquy, ¶¶61-62.




                                            -9-                                 JA003059
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 512 of 910 PageID #: 10092

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

         As another example, Protiva’s ’910

   publication discloses experiments with a

   SNALP with a siRNA payload with a

   cationic lipid concentration ranging from 5-

   40mol%. EX1015, [0335]. As can be seen

   from Figure 23, increasing concentrations of

   DLinDMA were tested to determine optimal

   knockdown levels. Anchordoquy, ¶63.

         As another example, EX2014, 15-20

   (Tables 1 and 2) illustrates in detail testing of formulations for a wide variety of

   lipid percentages for each lipid component (e.g., a cationic lipid range of 20-

   80mol%) to optimize formulations. See also id., 116-120 (discussing optimization

   based on results); Anchordoquy, ¶64.

         Protiva argues that the field involves complex technology and significant

   unpredictability in particle formulation. Response, 12, 19-24; EX2031, ¶¶59-61.

   This misses the point. The prior art defines an effective four-lipid carrier particle

   system for the same payload and with substantively the same lipid species as used

   in the ’069 patent, just with slight differences in lipid concentrations. EX1004

   (Examples 13-17); Anchordoquy, ¶¶66-68. A POSITA would not start from

   scratch, but use the general conditions of this proven systems as a starting point.




                                            - 10 -                              JA003060
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 513 of 910 PageID #: 10093

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   Applied Materials, 692 F.3d at 1295.6

                (1)    OPTIMIZATION OF THE CATIONIC LIPID

         Protiva’s focus on the cationic lipid concentration alone evincing a

   fundamental misunderstanding of lipid carrier particles—what matters is the

   amount of cationic lipid, not merely the concentration. Positively charged cationic

   lipids are added to carrier particles offset the negatively charged nucleic acid

   phosphate groups (the resulting ratio is called the “N/P ratio”). EX1008, ¶62;

   EX1025, 111:2-24, 199:1-8, 112:11-16 (“one of the ways that you would increase

   the charge neutralization [is] to increase the proportion of cationic lipid.”);

   Anchordoquy, ¶¶70-72. The amount of cationic lipid depends not only on the

   cationic lipid concentration, but also on the lipid:drug ratio.7 Id. For example, if

   you double the cationic lipid concentration from 25 to 50mol%, but at the same

   time halve the lipid:drug ratio, there is no net impact on the amount cationic lipid.

         For the 2:40 formulation in EX1004, the N/P ratio was approximately 6. See

   EX1004, [0350]-[0391]; Anchordoquy, ¶73. This N/P ratio is optimized for the

   siRNA payload and the ionizable cationic lipid used, DLin-DMA. Id. The pKa of


   6
     Protiva’s argument that the Board’s determinations regarding obviousness in the
   ’435 patent IPR obviate this issue are misplaced. Response, 4. While the Board
   found that Petitioner in that IPR had not carried its burden to demonstrate
   obviousness (see EX1022, 36-37), that decision is under appeal and involves
   different claims, facts and arguments than are at issue here.
   7
     N/P ratios are not listed in the ’069 patent, but a POSITA can calculate the ratio by
   using the lipid:drug ratio and the lipid component molar ratios. Anchordoquy, ¶72.


                                            - 11 -                               JA003061
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 514 of 910 PageID #: 10094

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   DLinDMA is 6.7. EX1011, 281. At that pKa, one-sixth of the cationic molecules

   possess a positive charge at physiological pH (i.e., 7.4). Anchordoquy, ¶¶86-87.

   An N/P ratio of 6 thus fully neutralizes the negative charge on the nucleic acids in

   serum. See EX1004, [0062] (goal to neutralize 90% of the negative charges);

   EX1027, 3 (2006 publication from inventors using N/P ratio of 6 with DLinDMA).

         Consistent with this testing in the ’189 publication, in Example 3 of the ’069

   patent, the 1:57 formulation (Group 11) on which Protiva relies has exactly the

   same relative amount of cationic lipid (N/P of 6) as the prior art 2:40 type

   formulation (Group 12)—and also as the 2:40 formulations used in the ’189

   publication. Anchordoquy, ¶¶73-76. A POSITA would expect in such similar

   systems that cationic lipid amounts at similar N/P ratios would behave similarly.

   Id. Having a consistent optimized N/P ratio provides further motivation to increase

   the cationic lipid concentration while decreasing the lipid:drug ratio accordingly

   and a basis for expecting the resulting particles to be effective at the higher

   cationic lipid concentration.8 Id.

         Even if one focuses on only the cationic lipid concentration, the prior still

   demonstrates that a range of 50-65mol% would have been obvious. It is undisputed

   that each prior art reference discloses a cationic lipid range of 2-60mol%,


   8
    One potential benefit of increasing the cationic lipid concentration while decreasing
   the lipid:drug ratio (with a constant N/P ratio) is a net decrease in the amount of
   helper lipids. Anchordoquy, ¶77.


                                            - 12 -                               JA003062
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 515 of 910 PageID #: 10095

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   substantially overlapping with the claimed range. See EX1003 [0088]; EX1004,

   [0152]; EX1005 [0313]. Additionally, each reference discloses a narrower range of

   40-50mol% that also overlaps. Id. A POSITA would have understood from these

   disclosures potential cationic lipid concentration ranges (including the 50-60mol%

   portion) for safe, effective lipid-carrier particles. Anchordoquy, ¶¶52-54.

         Moreover, a POSITA would have known that an excess of positive charge

   promotes endosomal release of the payload once a target is reached. EX1008, ¶62;

   EX1024, 230 (“Cationic lipids also function by providing the liposome with a net

   positive charge, which in turn enables binding of the NA complex to anionic cell

   surface molecules.”). Protiva’s expert himself admits to evaluating ranges of

   cationic lipid concentrations in titration-like experiments that “were quite high”

   prior to the ’069 patent. EX1025, 41:2-16; see also 87:18-88:6 (using 50-65mol%

   cationic lipid was obvious for in vitro use).

         The Protiva’s prior art disclosures also illustrate a trend toward using higher

   cationic lipid concentrations. The ’196 PCT (2003) discloses testing SNALPs with

   siRNA in a four-lipid system with lipid percentages of 15/20/55/10 (cationic

   lipid/phospholipid/ cholesterol/conjugated lipid). EX1003, [0232]. Protiva’s U.S.

   Patent No. 7,799,565 (mid-2004) discloses testing SNALPs with siRNA in a four-

   lipid component system with lipid percentages of 30/20/48/2. EX1028, 52:54-

   53:17. Protiva’s ’189 publication (late 2004) discloses testing SNALPs with




                                           - 13 -                                JA003063
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 516 of 910 PageID #: 10096

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   siRNA in a four-lipid component system with lipid percentages of 40/10/48/2.

   EX1004, [0351]-[0385]. Over time, there is thus a consistent increase in cationic

   lipid concentrations used:




   Anchordoquy, ¶¶78-80; see also EX1025, 136:20-137:21 (Protiva expert admitting

   POSITA would consider trend toward higher concentrations), 142:14-143:3

   (50mol% cationic lipid was “one of many possible avenues to explore….”). This

   understanding is confirmed by Protiva’s ’910 publication which, as discussed

   above, discloses testing varying the cationic lipid concentration from 5-40mol%

   and illustrating better performance at higher concentrations. EX1015, [0335], Fig.

   23.9 These disclosures would further motivate a POSITA, using the 2:40

   formulation as a starting point, to create particles with a cationic lipid in the



   9
    Protiva incorrectly asserts “the 2:30 SNALP formulation contains the greatest
   amount of cationic lipid of all the SNALP formulations prepared and tested” in the
   ’910 publication. Response, 35.


                                            - 14 -                               JA003064
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 517 of 910 PageID #: 10097

   Case No. IPR2019-00554                                     U.S. Patent No. 8,058,069

   claimed range with a reasonable expectation of success. Anchordoquy, ¶¶81-82.

         Protiva’s argument that all cationic lipids are toxic also misses the point.

   Response, 7; EX2031, ¶¶80-88. First, Protiva again improperly equates the cationic

   lipid concentration with the amount of cationic lipid. Anchordoquy, ¶¶83-84.

   Second, a POSITA would have been aware that toxicity in lipid particles is largely

   a function of having a net positive charge in serum (i.e., at physiological pH). Id.;

   EX1025, 62:22-63:14 (Protiva’s expert admitting to need to shield charge of

   cationic lipid). To address potential toxicity issues, years before the ’069 patent

   priority date, ionizable cationic lipids had been developed whose charge was low at

   physiological pH, but became strongly cationic in the acidified environment of the

   endosome. Anchordoquy, ¶¶85-88; EX1004 [0223] (using ionizable lipid

   DLinDMA); EX1011, 280 (same), Fig. 1 (substantially neutral charge at pH 7.4);

   EX1009, 6 (“Cationic lipids that are charged only at mildly acidic but not at neutral

   pH … may also be a potential solution to the toxicity issues ….”); EX1005, [0462]

   (same); EX1025, 239-240 (same); EX2021, 173 (neutral particles at physiological

   pH preferred). This understanding still holds true today: “…such positively

   charged systems induce pronounced toxicity in vivo due to immune

   activation…[t]o circumvent this problem, we developed ionizable cationic

   lipids….” EX1026, 1085.

         Consistent with this reasoning, the examples in both the ’069 patent and the




                                           - 15 -                               JA003065
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 518 of 910 PageID #: 10098

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   prior art demonstrate the use of high cationic lipid concentrations to achieve an

   optimal N/P ratio of 6 in substantially non-toxic particles. EX1004 [0351-0391] (in

   vivo testing using DLinDMA), [0076, 0151] (particles “substantially non-toxic”);

   EX1025, 123:16-124:10 (Protiva’s expert admitting ’189 data indicates no

   toxicity); 133:20-134:4 (formulation effective and safe); EX1001, Example 3,

   Table 4 (Groups 11-12).

         Protiva’s expert admits that cationic lipids are designed to be non-toxic.

   EX2005, 64:15-65:14 (“Because they’re toxic. They are--they tend to be, unless

   designed properly….”) (emphasis added); EX2006, 260:11-18. He also admits that

   the class of cationic lipids which includes DLinDMA used in the ’189 publication

   was known not to have significant toxicity concerns: “[t]he data that…I’ve reviewed

   for this class of cationic lipids has--in vivo has not suggested that there are

   significant toxicity concerns.” Id., 266:18-267:20; see also id., 267:22-268:15

   (“known that [DLinDMA] had a low toxicity profile….”).

         Protiva points to accumulation in the plasma and immunogenicity as

   alternative sources of toxicity. Response, 29-30; EX2031, ¶86. Protiva has

   confirmed, however, the lack of such toxicity issues for the 2:40 formulation:

   “[t]here was no evidence for complement activation, delayed coagulation, pro-

   inflammatory cytokine production…or changes in hematology

   parameters…toxicities that have been observed previously with treatments using




                                           - 16 -                             JA003066
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 519 of 910 PageID #: 10099

   Case No. IPR2019-00554                                     U.S. Patent No. 8,058,069

   related approaches.”10 EX1027, 3; Anchordoquy, ¶¶94-95.

         Lin and Ahmad (EXS1006-1007) provide further support that a POSITA

   would have been motivated to employ greater amounts of cationic lipid.

   Anchordoquy, ¶¶89-91. The testing therein establishes that for certain cationic

   lipids, increasing the N/P ratio by elevating the cationic lipid concentrations above

   50mol% enhanced transfection efficiency. EX1008, ¶¶102-106.

         Protiva’s arguments that Lin and Ahmad are irrelevant are misplaced. First,

   as discussed above, the claims of the ’069 patent are not limited to non-lipoplex

   particles. Second, in this field, it was common to look at prior research regarding

   various types of lipid carrier particles. Anchordoquy, ¶¶36-41. Both of the

   Protiva’s prior art disclosures cite to prior work done on liposomes and lipoplexes.

   EX1003, [0132], [0175]; EX1004, [0203], [0156] (incorporating ’618 patent

   directed to lipoplexes).

         Protiva’s argument that Ahmad teaches away from increasing the cationic

   lipid concentration (Response, 59) is also misplaced. Ahmad specifically noted that

   in vitro, the tested cationic lipid amounts showed “no toxic effects on the cells as

   judged by cell morphology and the amount of total cellular protein.” EX1006, 745-



   10
      Protiva also points to Moderna publications stating that toxicity issues with
   modern cationic lipids can be further minimized. Response, 29-30. That cationic
   lipids may be further improved does not negate their use at tolerable levels at the
   time of the ’069 patent.


                                           - 17 -                              JA003067
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 520 of 910 PageID #: 10100

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   46. In addition, Ahmad utilized multivalent cationic lipids to achieve very high

   charge densities in order to test their hypothesis, and it was known by a POSITA

   that such extreme charge densities with multivalent cationic lipids were typically

   not suitable for in vivo use due to their toxicity. Anchordoquy, ¶92.

         Protiva also mischaracterizes Ahmad as reaching “saturation” at 50mol%

   cationic lipid. Response, 58. Ahmad shows no such thing. As can be seen, the

   monovalent cationic lipids do not level off until about 80mol% (EX1007, Fig. 3):




   Anchordoquy, ¶93.

                (2)    OPTIMIZATION OF THE CONJUGATED LIPID

         A second lipid typically optimized is the conjugated lipid, e.g., PEG. See

   EX1001, 68:35-48; Anchordoquy, ¶¶96-98. A POSITA would have been motivated

   to add PEG to carrier particles to provide a neutral, hydrophilic coating to the

   particle’s exterior and thus prevent aggregation. EX1008, ¶64; EX1025, 58:1-13. In




                                           - 18 -                            JA003068
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 521 of 910 PageID #: 10101

   Case No. IPR2019-00554                                   U.S. Patent No. 8,058,069

   the art, there is a known “PEG dilemma”—including enough PEG to stabilize the

   particle, but not so much that the particle is unable to engage the target in vivo.

   EX2005, 145:9-23 (“…another factor which is referred to in the literature as the PEG

   dilemma.”). In other words, it was known that the amount of conjugated lipid should

   be minimized to allow the nucleic acid payload to interact with the target. EX1024,

   241. Consistent with this understanding, the ’189 publication discloses a low

   concentration for the conjugated lipid that overlaps with the claimed range. EX1004,

   [0152] (2mol%).

         The formulations tested in the cited prior art similarly have low amounts of

   PEG coupled with high cationic lipid concentrations. EX1004 [0351-0391] (2:40

   formulation in the ’189 patent showing in vivo efficacy with 2mol% PEG); EX1005,

   Table IV (L077, L069, L080, L082, L083, L060, L061, and L051 showed efficacy

   in vivo with 2-3mol% PEG). While these specific formulations vary slightly from

   the claimed ranges, they establish that a POSITA would have been motivated to use

   PEG in low amounts coupled with high levels of cationic lipid with a reasonable

   likelihood of success. Anchordoquy, ¶¶99-101.

         Protiva’s expert points to unrelated systems using 5-10% PEG (EX2031, ¶48),

   but that is irrelevant. That other systems using higher PEG percentages may have

   existed does not negate that a POSITA would have been well aware of the examples

   above, in which lower levels of PEG were used. Anchordoquy, ¶102.




                                          - 19 -                             JA003069
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 522 of 910 PageID #: 10102

   Case No. IPR2019-00554                                     U.S. Patent No. 8,058,069

                (3)    OPTIMIZATION OF THE CHOLESTEROL
         A POSITA would be motivated to include cholesterol to provide increased

   rigidity to the particle. EX1008, ¶71; EX1025, 55:5-18; EX1010, 6; Anchordoquy,

   ¶¶103-105. A POSITA would have been aware that a minimum amount of

   cholesterol was thought to be required to saturate the lipid mixtures and to provide

   stability (e.g., in the 20-25mol% range). Id. A POSITA would also have been aware

   of the risk of cholesterol precipitating out of solution if too much was used. Id.;

   EX1025, 92:4-19. Upper limits of 40-55% were thus commonly implemented.

         Each reference discloses that cholesterol, when present, is in a certain range

   consistent with these understandings. EX1003, [0091] (20-45mol%); EX1004,

   [0152] (20-55mol%); EX1005, [0311] (20-45mol%). In addition, each prior art

   reference discloses the four lipid component particles that are effective in vivo which

   contain cholesterol in the disclosed ranges. See, e.g., EX1004, [0289], [0369] (48%

   cholesterol); EX1003, [0223] (20mol% cholesterol); EX1005, Table IV (L051,

   L053, L054, L069, L077, L080, L082, L083, L109) (10-48mol% cholesterol). The

   claimed range of 30-40mol% cholesterol is squarely within the generally acceptable

   ranges in the field. Anchordoquy, ¶106. Given the prior art disclosures, it would

   have been obvious to a POSITA to include cholesterol in carrier particle

   formulations in the claimed range with a likelihood of success. Id.




                                           - 20 -                              JA003070
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 523 of 910 PageID #: 10103

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

                (4)    OPTIMIZATION OF THE PHOSPHOLIPID
         A POSITA at the time of the ’069 patent would have been motivated to

   include a phospholipid as a bilayer stabilizing component. Anchordoquy, ¶¶107-

   109; EX1025, 28:8-22 (known to add to “stabilize complex”). As discussed in the

   ’554 publication, it was desirable to design delivery systems to maintain the bilayer

   structure for stability in the blood, but to transition to the fusogenic structure inside

   the target cell. EX1005, [0137]; EX1024, 239-240. This balance required the use of

   components that served to promote the bilayer structure, and a POSITA would have

   understood that most phospholipids (including DSPC, DPPC) would serve this

   purpose. Anchordoquy, ¶109. As with the conjugated lipid, a POSITA would have

   been aware that having some amount of phospholipid can provide structural stability

   to the resulting particles, but having too much will inhibit release of the payload

   upon contact with the endosome. Id.

         As discussed above, each reference discloses a range of 5-90mol% for the

   phospholipid. While these ranges are broad at first blush, each reference also

   specifically discloses using phospholipids with cholesterol. EX1003, [0158] (“The

   method is especially useful for vesicles made from phospholipids (which can contain

   cholesterol).…”); EX1004, [0238] (same); EX1005, [0499] (same). As Protiva

   acknowledges, “the concentrations of different lipid components are highly

   interdependent.” Response, 28. When cholesterol is added to the mix, the range of




                                            - 21 -                               JA003071
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 524 of 910 PageID #: 10104

   Case No. IPR2019-00554                                  U.S. Patent No. 8,058,069

   the phospholipid must be decreased accordingly. Anchordoquy, ¶¶53-54; EX1025,

   110:1-8.

         Protiva argues that the disclosed non-cationic range is too broad for

   optimization. Response, 3. Protiva completely ignores the working examples in the

   ’189 publication in which the four lipid component particles tested included 10mol%

   phospholipid (within the claimed range). See, e.g., EX1004, [0369]. Moreover, a

   POSITA would have been motivated to test phospholipid concentrations at the lower

   end of the disclosed ranges to avoid inhibiting release of the payload upon contact

   with the endosome. Anchordoquy, ¶109. Given the demonstrated efficacy of the 2:40

   formulation tested in the ’189 publication, a reasonable likelihood of success also

   existed. Id.

         D.       DEPENDENT CLAIMS

         Many of the dependent claims recite slightly narrower ranges for the lipid

   components (claims 8/15/20/21), as with claim 1, these narrower ranges are prima

   facie obvious and the state of the art supports routine optimization. Anchordoquy,

   ¶¶110, 113, 118-119.

         Claim 14, recites specific lipid concentrations, but includes the term

   “about”—which implicates a range. While Protiva argues that “this claim is drawn

   to a 1:57 particle” (Response, 61), during prosecution, the examiner stated in this

   context that “‘comprising about’ could embrace an amount ±10, 20, 30mol% of a




                                         - 22 -                             JA003072
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 525 of 910 PageID #: 10105

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   lipid component.” EX1016, 5/12/11 Rejection, 2. This would result in ranges far

   wider than those addressed above for the independent claims and, regardless, the

   same obviousness reasoning applies. Anchordoquy, ¶¶111-112.

         Claims 16 and 17 address degradation resistance and encapsulation, which is

   disclosed in the prior art. EX1008, ¶¶136-137, 175-176; Anchordoquy, ¶¶114-116.

   Fully encapsulated is defined as being “not significantly degraded” in serum.

   EX1001, 22:63-23:6. Protiva’s own prior publication regarding the 2:40 formulation

   confirm no substantial degradation: “[n]ucleic acid encapsulation efficiencies were

   92-97%”. EX1027, 2-3.

         Claim 18 specifies a lipid:nucleic acid mass ratio of from about 5 to about 15.

   The prior art discloses “the nucleic acid to lipid ratios (mass/mass ratios) in a formed

   nucleic acid-lipid particle will range from…about 0.01 to about 0.08.” EX1004,

   [0198]; EX1003, [0127] (same); EX1005, [0167], [0468] (same). A nucleic

   acid:lipid ratio of 0.08 is equivalent to a lipid:nucleic acid ratio of 12.5 squarely

   within the range and optimization of the mass ratios would be obvious given the

   impact on the N/P ratio. Anchordoquy, ¶117.

         Claim 22 specifies a “pharmaceutical composition comprising a nucleic acid-

   lipid particle of claim 1 and a pharmaceutically acceptable carrier.” Protiva does not

   dispute that the payloads in the prior art were typically siRNA and “pharmaceutically

   acceptable carriers” like saline were common. EX1008, ¶183; EX1005, [502];




                                            - 23 -                              JA003073
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 526 of 910 PageID #: 10106

   Case No. IPR2019-00554                                   U.S. Patent No. 8,058,069

   EX1004, 242 (same); EX1003, [0175]. Anchordoquy, ¶120.

   V.    SECONDARY CONSIDERATIONS CANNOT OVERCOME
         PETITIONER’S OBVIOUSNESS SHOWING

         Protiva’s alleged secondary considerations of non-obviousness, including

   unexpected results, long felt need, failures of others, and commercial success, lack

   the required nexus and do not support Protiva’s arguments. “[S]econdary

   considerations of nonobviousness...simply cannot overcome a strong prima facie

   case of obviousness” as is found here. Wyers v. Master Lock Co., 616 F.3d 1231,

   1246 (Fed. Cir. 2010). Moreover, “[f]or objective evidence of secondary

   considerations to be accorded substantial weight, its proponent must establish a

   nexus between the evidence and the merits of the claimed invention.” Id. (quotation

   omitted). “If commercial success is due to an element in the prior art, no nexus

   exists.” Tokai Corp. v. Easton Enters., Inc., 632 F.3d 1358, 1369 (Fed. Cir. 2011)

   Such evidence must also be reasonably commensurate in scope with the claims. In

   re Kulling, 897 F.2d 1147, 1149 (Fed. Cir. 1990).

         A.    THE TEST DATA IS NOT COMMENSURATE WITH CLAIM SCOPE

         Protiva relies on test data that covers only a small portion of the potential

   numeric ranges in the claims, and an even smaller portion of the potential lipid

   components and payloads. EX1008, ¶¶81-87. All experts agree that changes to the

   payload, identity of lipid components, or production techniques can impact efficacy.

   EX2001, 182:12-20 (Protiva’s expert admitting physical properties of particles are



                                          - 24 -                             JA003074
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 527 of 910 PageID #: 10107

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   dependent on lipid compositions and ratios); EX2006, 231:23-232:10 (“…does the

   composition affect transition-pardon me, transfection performance. And the answer

   is yes.”), 259:20-260:18 (production technique impacts efficacy), 393:21-394:24

   (“…it’s a different molecule [cationic lipid]. So you would expect that it may have

   different behavior.”); EX2005, 29:7-15 (payload “one of a host of factors that can

   impact--performance.”), 36:8-37:4 (same), 59:22-60:7 (phospholipid identity

   impacts efficacy), 156:18-157:4 (“…the conjugate lipid can impact the particle

   performance. That’s what the data show.”).

         The ’069 patent test data compares only a single data point, the 1:57

   formulation, to the closest prior art 2:40 formulation. See EX1001, Fig. 2. Protiva’s

   own expert admits “an ordinary artisan would not understand a single formulation

   as defining a range for the lipid component.” EX1025, 173:4-174:1; EX2005, 188:8-

   20 (range changes impact efficacy: “I’m much less confident that–of what the

   outcome would be [changing lipid component by 5%].”); Anchordoquy, ¶121.

   Moreover, the claims cover all lipid species for the identified genus—given the

   limited subset of payloads, lipid components, and production techniques tested, there

   is no reason to believe the 1:57 test data would apply to all other claimed particle

   formulations.

         B.     TEST DATA DOES NOT SHOW UNEXPECTED RESULTS
         Protiva also mischaracterizes the testing in the ’069 patent. Regarding Figure




                                          - 25 -                              JA003075
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 528 of 910 PageID #: 10108

   Case No. IPR2019-00554                                      U.S. Patent No. 8,058,069

   1, the prior art 2:40-type SNALP (Sample 12) possess the same efficacy as the 1:57

   SNALP. EX1001, Fig. 1B. Protiva’s assertion that the data illustrate increased

   potency (Response, 33-34) is not supported. Anchordoquy, ¶122.

         Protiva’s arguments regarding Example 3 of the ’069 patent are equally

   unsupported. Response, 4-5. As discussed above, Groups 11-12 in Figure 2 are the

   only two samples tested at a N/P ratio of 6. That such samples outperform the other

   samples formulated at a N/P ratio of 3 would have been expected when using an

   ionizable cationic lipid. Anchordoquy, ¶¶123-124. Protiva argues that Sample 12

   may have performed marginally better than Sample 11. Response, 43; EX2031,

   ¶100; EX1025, 102:20-8. (Groups 11 and 12 “very close”). But, at the very least, the

   data indicates that the samples behave similarly—not surprisingly.

         Protiva improperly relies on testing in Example 4 regarding the prior art 2:30

   formulation. Response, 35. The 2:30 formulation is not the closest cited prior art.

   Protiva’s expert argues that he expects the 2:30 and 2:40 formulations to behave

   comparably (EX1025, 183:23-191:10), but he bases his opinions on data from two

   separate tests involving different dosing regimes, different lipid species and different

   durations. EX1004, [0326]-[0333], [0360]-[0367]. Given this variability, drawing

   such parallels is not scientifically appropriate. Anchordoquy, ¶¶126-128. Even if you

   could make such a comparison, the different dosing regimes used between samples

   in Example 4 alone, without dose response data, makes Protiva’s conclusions




                                            - 26 -                              JA003076
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 529 of 910 PageID #: 10109

   Case No. IPR2019-00554                                   U.S. Patent No. 8,058,069

   improper. Id.

         Unable to show unexpected results, Protiva points to other experiments in the

   ’069 patent (Response, 35-37) and data post-dating the ’069 patent (Response, 37-

   42; EX2008) to argue that the bar for unexpected results should be any apparent

   efficacy. Response, 32 (expect “little, if any, efficacy”); EX2004, ¶¶66-67. This is

   not the law. When evaluating unexpected results, “the results must be shown to be

   unexpected compared with the closest prior art.” In re Baxter-Travenol Labs., 952

   F.2d 388, 392 (Fed. Cir. 1991). In addition, (1) this argument is premised upon the

   same erroneous assertion above that a POSITA would have assumed high levels of

   cationic lipids to be too toxic to show any efficacy and (2) even if considered, the

   data is still not commensurate with the scope of the claims. Anchordoquy, ¶¶129-

   134. Protiva also fails to inform the Board that this testing showed that several

   formulations falling within the scope of the claims did not perform any better than

   the PBS standard. EX2006, 401:6-21 (Protiva’s expert admitting other cationic lipids

   using 1:57 formulation “have similar knockdown levels as--as PBS.”), 393:21-

   394:24; EX2010, Fig. 2; EX2011, Fig. 3; EX2011, Fig. 3.

         C.    OTHER SECONDARY CONSIDERATIONS LACK THE REQUIRED NEXUS
               OR ARE ATTRIBUTABLE TO THE PRIOR ART

         Protiva cites to articles from 2003 for long felt need. Response, 45-46;

   EX2016, EX2018. Protiva also cites to a 2012 article detailing lipid nanoparticles

   investments in the early 2000s that discusses “a seminal paper on systemic small



                                          - 27 -                             JA003077
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 530 of 910 PageID #: 10110

   Case No. IPR2019-00554                                    U.S. Patent No. 8,058,069

   interfering RNA (siRNA) delivery” that changed the industry. EX2019, n.5. This

   2006 paper, authored by the named inventors on the ’069 patent, details experiments

   done with the prior art 2:40 formulation. EX1027, 3.

         Protiva also erroneously points to a “$2.5-3.5 billion in investment”

   (Response, 45), but that investment related to the therapeutic siRNA, not just lipid-

   carrier particles. Anchordoquy, ¶¶135-137. Protiva also points to its “500 person-

   years and $200M” investments in “SNALP technology.” Response, 46. But, a

   significant portion of the investment could be attributable to the work leading to the

   Protiva’s prior art SNALP disclosures (e.g., EX1003-1004, EX1011). As another

   example, Protiva points to Roche switching to “[Protiva’s] SNALP liposome.”

   EX2019, 10. But there is no indication that Roche used the SNALPs of the ’069

   patent as opposed to prior art systems.

         Regarding failure of others and skepticism, Protiva repeats its mistaken

   mantra that toxicity favored teaching away. Response, 47; Anchordoquy, ¶138.

   Protiva ignores that prior art cationic lipids were developed that were substantially

   non-toxic, e.g., DLinDMA, and that these ionizable cationic lipid were used

   extensively in vivo in high amounts. EX1004, [0351]-[0391].

         For commercial success, Protiva points to the commercial release of Onpattro.

   Response, 49-50; Anchordoquy, ¶¶139-141. The commercial product does not use

   the claimed lipid ranges. Id.; EX1023. Moreover, the developers of Onpattro identify




                                             - 28 -                           JA003078
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 531 of 910 PageID #: 10111

   Case No. IPR2019-00554                                   U.S. Patent No. 8,058,069

   the development of the second-generation cationic lipid DLin-MC3-DMA as the

   relevant breakthrough: “[a] first breakthrough was reached with the development of

   the ionizable lipid DLinKC2DMA.” EX1026, 1085.

         Given the lack of sufficient nexus to the claimed ranges and scope of the prior

   art, a POSITA would consider Protiva’s evidence of non-obviousness to be

   insufficient to overcome the strong obviousness showing. Anchordoquy, ¶142.


   Dated: March 2, 2020
                                         Respectfully submitted,

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                                          - 29 -                              JA003079
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 532 of 910 PageID #: 10112

   Case No. IPR2019-00554                                       U.S. Patent No. 8,058,069


              CERTIFICATE OF COMPLIANCE WITH 37 C.F.R. § 42.24

            Pursuant to 37 C.F.R. § 42.24(d), I certify that the present paper contains

   5,586 as counted by the word-processing program used to generate the brief. This

   total does not include the tables of contents and authorities, the caption page, table

   of exhibits, mandatory notices, certificate of service, or this certificate of word

   count.

   Dated: March 2, 2020
                                                          /Michael R. Fleming/
                                                           Michael R. Fleming




                                             - 30 -                              JA003080
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 533 of 910 PageID #: 10113

   Case No. IPR2018-00739                            U.S. Patent No. 9,364,069

                            CERTIFICATE OF SERVICE

         I hereby certify, pursuant to 37 C.F.R. section 42.6, that on March 2, 2020, a

   complete copy of the PETITIONER’S REPLY TO PROTIVA'S RESPONSE

   and EXHIBITS 1020-1028 are being served via electronic mail upon the

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                                                                             JA003081
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 534 of 910 PageID #: 10114




                   JOINT APPENDIX 83
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 535 of 910 PageID #: 10115




               UNITED STATES PATENT AND TRADEMARK OFFICE
                                __________

               BEFORE THE PATENT TRIAL AND APPEAL BOARD
                               __________


                               Moderna Therapeutics, Inc.

                                       Petitioner

                                           v.

                            Arbutus Biopharma Corporation

                                     Patent Owner
                                     ___________

                               U.S. Patent No. 8,058,069

                               Issued: November 15, 2011

               Named Inventors: Edward Yaworski, Kieu Lam, Lloyd Jeffs,
                            Lorne Palmer, Ian MacLachlan

                   Title: Lipid Formulations for Nucleic Acid Delivery
                                      ___________

                     PETITION FOR INTER PARTES REVIEW
                         OF U.S. PATENT NO. 8,058,069



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   Alexandria, VA 22313-1450




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                                                                          JA003082
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 536 of 910 PageID #: 10116




                                         TABLE OF CONTENTS

                                                                                                                   Page
   I.     INTRODUCTION ........................................................................................ 1
   II.    MANDATORY NOTICES .......................................................................... 4
          A. Notice of real party-in-interest (37 C.F.R. § 42.8(b)(1)) ...................... 4
          B.    Notice of related matters (37 C.F.R. § 42.8(b)(2)) ............................... 4
          C.    Designation of lead and back-up counsel (37 C.F.R.
                § 42.8(b)(3)) .......................................................................................... 4
          D. Service information (37 C.F.R. § 42.8(b)(4)) ....................................... 5
          E.    Payment of fees (37 C.F.R. § 42.103) .................................................. 5
          F.    Certification of grounds for standing (37 C.F.R. § 42.104(a)) ............. 5
   III.   CHALLENGE AND RELIEF REQUESTED.............................................. 5
          A. Ground 1: Claims 1-22 are anticipated by or obvious in
             view of Patent Owner’s prior disclosures in either the ’196
             PCT or the ’189 publication ................................................................. 5
          B.    Ground 2: Claims 1-22 are obvious in view of the ’196 PCT
                or the ’189 publication in view of Lin and Ahmad .............................. 5
          C.    Ground 3: Claims 1-22 are anticipated by or obvious in
                view of the ’554 publication ................................................................. 5
   IV.    PRIORITY DATE ........................................................................................ 5
   V.     PERSONS HAVING ORDINARY SKILL IN THE ART .......................... 6
   VI.    BACKGROUND .......................................................................................... 6
          A. Lipid carrier particles for nucleic acid payloads .................................. 6
          B.    The ’069 patent claims are directed to known lipid
                components ........................................................................................... 7
          C.    The optimal lipid component proportions in a nucleic acid-
                lipid particle vary .................................................................................. 9
          D. the ’069 patent was granted on alleged unexpected results
             for a single formulation of lipid components ..................................... 12
                1.     ’069 patent: The prosecution history confirms patent
                       owner’s reliance on unexpected results ...................................... 14

                                                          - ii -

                                                                                                             JA003083
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 537 of 910 PageID #: 10117




                                                                                                                      Page
                  2.     ’069 patent: Patentee tested only one formulation covered
                         by the claims................................................................................ 15
                         a) Example 2 shows that in vitro the 1:57 SNALP was no more
                            effective than several prior art formulations .......................... 16
                         b) Examples 3-4 show that the 1:57 SNALP was no more effective
                            than the formulations with less than 50% cationic lipid ........ 19
                  3.     The ’069 patent: The testing shows that even slight
                         variations of the lipid component proportions and/or the
                         species of lipid component impact efficacy ................................ 21
   VII. CLAIM CONSTRUCTION ....................................................................... 23
           A. Claim 1: “Nucleic acid-lipid particle” ................................................ 23
   VIII. PRIOR ART................................................................................................ 23
           A. Patent owner’s prior disclosures are prior art under 35
              U.S.C. § 102(b) ................................................................................... 23
           B.     The ’554 publication is prior art under 35 U.S.C. § 102(b) ............... 26
           C.     Lin is prior art under 35 U.S.C. § 102(b) ........................................... 27
           D. Ahmad is prior art under 35 U.S.C. § 102(b) ..................................... 29
   IX.     THERE IS A REASONABLE LIKELIHOOD THAT AT LEAST
           ONE CLAIM OF THE ’069 PATENT IS UNPATENTABLE ................. 31
           A. Ground 1: Claims 1-22 are anticipated by or obvious in view
              of either the ’196 PCT or the ’189 publication ................................... 31
                  1.     Claim 1 ........................................................................................ 32
                         a) Claim 1(a): a nucleic acid-lipid particle comprising: ........... 32
                         b) Claim 1(b): a nucleic acid ..................................................... 32
                         c) Claim 1(c): a cationic lipid comprising from 50 mol% to 65
                            mol% of the total lipid present in the particle........................ 32
                         d) Claim 1(d): a non-cationic lipid comprising a mixture of a
                            phospholipid and cholesterol or a derivative thereof, wherein
                            the phospholipid comprises from 4 mol% to 10 mol% of the
                            total lipid present in the particle and the cholesterol or
                            derivative thereof comprises from 30 mol% to 40 mol% of the
                            total lipid present in the particle............................................. 38

                                                           - iii -

                                                                                                               JA003084
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 538 of 910 PageID #: 10118




                                                                                                                   Page
                     e) Claim 1(e): a conjugated lipid that inhibits aggregation of
                        particles comprising from 0.5 mol% to 2 mol% of the total lipid
                        present in the particle ............................................................. 39
              2.     Claim 2: the nucleic acid-lipid particle of claim 1, wherein
                     the nucleic acid comprises a small interfereing RNA
                     (siRNA) ....................................................................................... 41
              3.     Claim 3: the nucleic acid-lipid particle of claim 2, wherein
                     the siRNA comprises from about 15 to about 60
                     nucleotides................................................................................... 41
              4.     Claim 4: the nucleic acid-lipid particle of claim 2, wherein
                     the siRNA comprises at least one modified nucleotide .............. 41
              5.     Claim 5: the nucleic acid-lipid particle of claim 2, wherein
                     the siRNA comprises at least one 2’-O-methyl (2’OMe)
                     nucleotide .................................................................................... 42
              6.     Claim 6: the nucleic acid-lipid particle of claim 2, wherein
                     said siRNA is about 19 to about 25 base pairs in length ............ 42
              7.     Claim 7: the nucleic acid-lipid particle of claim 2, wherein
                     said siRNA comprises 3’ overhangs ........................................... 42
              8.     Claim 8: the nucleic acid-lipid particle of claim 1, wherein
                     the cationic lipid comprises from 52 mol% to 62 mol% of
                     the total lipid present in the particle ............................................ 42
              9.     Claim 9: the nucleic acid-lipid particle of claim 1, wherein
                     the phospholipid comprises
                     dipalmitoylphosphatidylcholine (DPPC),
                     distearoylphosphatidylcholine (DSPC), or a mixture
                     thereof.......................................................................................... 43
              10. Claim 10: the nucleic acid-lipid particle of claim 1,
                  wherein the conjugated lipid that inhibits aggregation of
                  particles comprises a polyethyleneglycol (PEG)-lipid
                  conjugate ..................................................................................... 43
              11. Claim 11: the nucleic acid-lipid particle of claim 10,
                  wherein the PEG-lipid conjugate comprises a PEG-
                  diacylglycerol (PEG-DAG) conjugate, a PEG-
                  dialkyloxypropyl (PEG-DAA) conjugate, or a mixture
                  thereof.......................................................................................... 44

                                                        - iv -

                                                                                                            JA003085
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 539 of 910 PageID #: 10119




                                                                                                                Page
              12. Claim 12: the nucleic acid-lipid particle of claim 11,
                  wherein the PEG-DAA conjugate comprises a PEG-
                  dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
                  distearyloxypropyl (PEG-DSA) conjugate, or a mixture
                  thereof.......................................................................................... 44
              13. Claim 13: the nucleic acid-lipid particle of claim 12,
                  wherein the PEG has an average molecular weight of about
                  2,000 daltons ............................................................................... 44
              14. Claim 14: the nucleic acid-lipid particle of claim 10,
                  wherein the nucleic acid-lipid particle comprises about
                  57.1 mol% cationic lipid, about 7.1 mol% phospholipid,
                  about 34.3 mol% cholesterol or a derivative thereof, and
                  about 1.4 mol% PEG-lipid conjugate ......................................... 45
              15. Claim 15: the nucleic acid-lipid particle of claim 1,
                  wherein the conjugated lipid that inhibits aggregation of
                  particle comprises from 1 mol% to 2 mol% of the total
                  lipid present in the particle .......................................................... 45
              16. Claim 16: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid in the nucleic acid-lipid particle is
                  not substantially degraded after incubation of the particle
                  in serum at 37°C for 30 minutes ................................................. 46
              17. Claim 17: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid is fully encapsulated in the
                  nucleic acid-lipid particle ............................................................ 47
              18. Claim 18: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid-lipid particle has a lipid:nucleic
                  acid mass ratio of from about 5 to about 15................................ 47
              19. Claim 19: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid-lipid particle has a median
                  diameter of from about 40 nm to about 150 nm ......................... 48
              20. Claim 20: the nucleic acid-lipid particle of claim 1,
                  wherein the phospholipid comprises from 5 mol% to 9
                  mol% of the total lipid present in the particle ............................. 48
              21. Claim 21: the nucleic acid-lipid particle of claim 1,
                  wherein the cholesterol or derivative thereof comprises

                                                       -v-

                                                                                                         JA003086
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 540 of 910 PageID #: 10120




                                                                                                                   Page
                    from 32 mol% to 36 mol% of the total lipid present in the
                    particle ......................................................................................... 48
              22. Claim 22: a pharmaceutical composition comprising a
                  nucleic acid-lipid particle of claim 1 and a
                  pharmaceutically acceptable carrier ............................................ 49
         B.   Ground 2: Claims 1-22 are obvious in view of patent
              owner’s prior disclosures in light of Lin and Ahmad ......................... 49
              1.    Claim 1(c): a cationic lipid comprising from 50 mol% to
                    65 mol% of the total lipid present in the particle ........................ 49
              2.    Claim 8: the nucleic acid-lipid particle of claim 1, wherein
                    the cationic lipid comprises from 52 mol% to 62 mol% of
                    the total lipid present in the particle ............................................ 53
         C.   Ground 3: claims 1-22 are anticipated by or obvious in view
              of the ’554 publication ........................................................................ 54
              1.    Claim 1 ........................................................................................ 54
                    a) Claim 1(a): a nucleic acid-lipid particle comprising: ........... 54
                    b) Claim 1(b): a nucleic acid ..................................................... 54
                    c) Claim 1(c): a cationic lipid comprising from 50 mol% to 65
                       mol% of the total lipid present in the particle........................ 55
                    d) Claim 1(d): a non-cationic lipid comprising a mixture of a
                       phospholipid and cholesterol or a derivative thereof, wherein
                       the phospholipid comprises from 4 mol% to 10 mol% of the
                       total lipid present in the particle and the cholesterol or
                       derivative thereof comprises from 30 mol% to 40 mol% of the
                       total lipid present in the particle............................................. 57
                    e) Claim 1(e): a conjugated lipid that inhibits aggregation of
                       particles comprising from 0.5 mol% to 2 mol% of the total lipid
                       present in the particle. ............................................................ 58
              2.    Claim 2: the nucleic acid-lipid particle of claim 1, wherein
                    the nucleic acid comprises a small interfereing RNA
                    (siRNA) ....................................................................................... 59
              3.    Claim 3: the nucleic acid-lipid particle of claim 2, wherein
                    the siRNA comprises from about 15 to about 60
                    nucleotides................................................................................... 59

                                                       - vi -

                                                                                                            JA003087
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 541 of 910 PageID #: 10121




                                                                                                                   Page
              4.     Claim 4: the nucleic acid-lipid particle of claim 2, wherein
                     the siRNA comprises at least one modified nucleotide .............. 60
              5.     Claim 5: the nucleic acid-lipid particle of claim 2, wherein
                     the siRNA comprises at least one 2’-O-methyl (2’OMe)
                     nucleotide .................................................................................... 60
              6.     Claim 6: the nucleic acid-lipid particle of claim 2, wherein
                     said siRNA is about 19 to about 25 base pairs in length ............ 60
              7.     Claim 7: the nucleic acid-lipid particle of claim 2, wherein
                     said siRNA comprises 3’ overhangs ........................................... 61
              8.     Claim 8: the nucleic acid-lipid particle of claim 1, wherein
                     the cationic lipid comprises from 52 mol% to 62 mol% of
                     the total lipid present in the particle ............................................ 61
              9.     Claim 9: the nucleic acid-lipid particle of claim 1, wherein
                     the phospholipid comprises
                     dipalmitoylphosphatidylcholine (DPPC),
                     distearoylphosphatidylcholine (DSPC), or a mixture
                     thereof.......................................................................................... 61
              10. Claim 10: the nucleic acid-lipid particle of claim 1,
                  wherein the conjugated lipid that inhibits aggregation of
                  particles comprises a polyethyleneglycol (PEG)-lipid
                  conjugate ..................................................................................... 61
              11. Claim 11: the nucleic acid-lipid particle of claim 10,
                  wherein the PEG-lipid conjugate comprises a PEG-
                  diacylglycerol (PEG-DAG) conjugate, a PEG-
                  dialkyloxypropyl (PEG-DAA) conjugate, or a mixture
                  thereof.......................................................................................... 62
              12. Claim 12: the nucleic acid-lipid particle of claim 11,
                  wherein the PEG-DAA conjugate comprises a PEG-
                  dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
                  distearyloxypropyl (PEG-DSA) conjugate, or a mixture
                  thereof.......................................................................................... 62
              13. Claim 13: the nucleic acid-lipid particle of claim 12,
                  wherein the PEG has an average molecular weight of about
                  2,000 daltons ............................................................................... 63


                                                       - vii -

                                                                                                            JA003088
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 542 of 910 PageID #: 10122




                                                                                                                 Page
              14. Claim 14: the nucleic acid-lipid particle of claim 10,
                  wherein the nucleic acid-lipid particle comprises about
                  57.1 mol% cationic lipid, about 7.1 mol% phospholipid,
                  about 34.3 mol% cholesterol or a derivative thereof, and
                  about 1.4 mol% PEG-lipid conjugate ......................................... 63
              15. Claim 15: the nucleic acid-lipid particle of claim 1,
                  wherein the conjugated lipid that inhibits aggregation of
                  particle comprises from 1 mol% to 2 mol% of the total
                  lipid present in the particle .......................................................... 63
              16. Claim 16: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid in the nucleic acid-lipid particle is
                  not substantially degraded after incubation of the particle
                  in serum at 37°C for 30 minutes ................................................. 64
              17. Claim 17: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid is fully encapsulated in the
                  nucleic acid-lipid particle ............................................................ 64
              18. Claim 18: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid-lipid particle has a lipid:nucleic
                  acid mass ratio of from about 5 to about 15................................ 65
              19. Claim 19: the nucleic acid-lipid particle of claim 1,
                  wherein the nucleic acid-lipid particle has a median
                  diameter of from about 40 nm to about 150 nm ......................... 65
              20. Claim 20: the nucleic acid-lipid particle of claim 1,
                  wherein the phospholipid comprises from 5 mol% to 9
                  mol% of the total lipid present in the particle ............................. 66
              21. Claim 21: the nucleic acid-lipid particle of claim 1,
                  wherein the cholesterol or derivative thereof comprises
                  from 32 mol% to 36 mol% of the total lipid present in the
                  particle ......................................................................................... 66
              22. Claim 22: a pharmaceutical composition comprising a
                  nucleic acid-lipid particle of claim 1 and a
                  pharmaceutically acceptable carrier ............................................ 67




                                                      - viii -

                                                                                                          JA003089
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 543 of 910 PageID #: 10123




                                        TABLE OF AUTHORITIES

                                                                                                              Page(s)

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   In re Clemens,
       622 F.2d 1029 (C.C.P.A. 1980) ......................................................................3, 34

   E.I. Dupont De Nnemours & Co. v. Synvina C.V.,
      No. 2017-1977, slip op. (Fed. Cir. Sept. 17, 2018) .....................................passim

   In re Kao,
       639 F.3d 1057 (Fed. Cir. 2011) ....................................................................36, 37

   Ex parte Lunsford,
      No. Appeal 2008-4023 (P.T.A.B. Nov. 26, 2008) ..................................34, 35, 36

   In re Magnum Oil Tools Int’l, Ltd.,
       829 F.3d 1364 (Fed. Cir. 2016) ............................................................................ 3

   Moderna Therapeautics, Inc. v. Protiva Biotherapeutics, Inc.,
     IPR2018-00680 ..................................................................................................... 4

   Moderna Therapeautics, Inc. v. Protiva Biotherapeutics, Inc.,
     IPR2018-00739 ..................................................................................................... 4

   In re Patel,
       566 Fed. App’x. 1005 (Fed. Cir. 2014) .............................................................. 35

   In re Peterson,
       315 F.3d 1325 (Fed. Cir. 2003) ............................................................2, 3, 33, 35

   Phillips v. AWH Corp.,
      415 F.3d 1303 (Fed. Cir. 2005) .......................................................................... 23

   Statutes
   35 U.S.C. § 102 .................................................................................................passim

   35 U.S.C. § 103 ............................................................................................31, 49, 54

   35 U.S.C. §§ 311–319 ................................................................................................ 1


                                                           - ix -

                                                                                                            JA003090
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 544 of 910 PageID #: 10124




                                                                                                                     Page

   Other Authorities
   37 C.F.R. § 42.8(b)(1) ................................................................................................ 4

   37 C.F.R. § 42.8(b)(2) ................................................................................................ 4

   37 C.F.R. § 42.8(b)(3) ................................................................................................ 4

   37 C.F.R. § 42.8(b)(4) ................................................................................................ 5

   37 C.F.R. § 42.100 et seq. .......................................................................................... 1

   37 C.F.R. § 42.103 ..................................................................................................... 5

   37 C.F.R. § 42.104(a)................................................................................................. 5




                                                            -x-

                                                                                                              JA003091
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 545 of 910 PageID #: 10125




           LIST OF EVIDENCE AND EXHIBITS RELIED UPON IN THE PETITION

 Exhibit
                                             Reference
   No.
  1001     U.S. Patent No. 8,058,069 (“’069 patent”)
  1002     U.S. Patent No. 9,364,435 (“’435 patent”)
  1003     International Publication No. WO 2005/007196 (“’196 PCT”)
  1004     U.S. Publication No. US2006/0134189 (“’189 publication”)
  1005     U.S. Publication No. US2006/0240554 (“’554 publication”)
  1006     Lin, Alison J. et al., Three-Dimensional Imaging of Lipid Gene-Carriers:
           Membrane Charge Density Controls Universal Transfection Behavior in
           Lamellar Cationic Liposome-DNA Complexes, 84 BIOPHYSICAL JOURNAL,
           3307–16 (2003) (“Lin”)
  1007     Ahmad, Ayesha et al., New multivalent cationic lipids reveal bell curve for
           transfection efficiency versus membrane charge density: lipid-DNA complexes
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  1008     Declaration of Dr. Andrew S. Janoff
  1009     Gao, Xiang et al., Nonviral Gene Delivery: What We Know and What Is Next,
           9 AAPS JOURNAL Article 9, pp. E92-E104 ( 2007) (“Gao”)
  1010     Bennett, Michael J. et al., Cholesterol Enhances Cationic Liposome-Mediated
           DNA Transfection of Human Respiratory Epithelial Cells, 15 Bioscience
           Reports, pp. 47-53 (1995) (“Bennett”)
  1011     Heyes, James et al., Cationic lipid saturation influences intracellular delivery
           of encapsulated nucleic acids, 107 JOURNAL OF CONTROLLED RELEASE 276–
           87 (2005) (“Heyes”)
  1012     U.S. Patent No. 5,753,613 (“’613 patent”)
  1013     U.S. Patent No. 7,939,505 (“’505 patent”)
  1014     U.S. Publication No. US2007/0042031 (“’031 publication”)
  1015     U.S. Publication No. US2006/0008910 (“’910 publication”)
  1016     Excerpts from ’069 Patent File History
  1017     U.S. Patent No. 5,264,618 (“’618 patent”)
  1018     Curriculum Vitae of Dr. Andrew S. Janoff
  1019     Kauffman, Kevin J. et al., Optimization of Lipid Nanoparticle Formulations
           for mRNA Delivery in Vivo with Fractional Factorial and Definitive
           Screening Designs, NANO LETTERS (2015) (“Kaufman”)




                                           - xi -
                                                                              JA003092
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 546 of 910 PageID #: 10126

   IPR Case No. Unassigned                                      U.S. Patent No. 8,058,069

            In accordance with 35 U.S.C. §§ 311–319 and 37 C.F.R. § 42.100 et seq.,

   Moderna Therapeutics, Inc. (“Petitioner”) respectfully requests that the Board

   institute inter partes review and cancel claims 1–22 of U.S. Patent 8,058,069 (“ʼ069

   patent”) (Ex. 1001).

   I.       INTRODUCTION

            The Board has already instituted inter partes review of the direct descendant

   of the ’069 patent, U.S. Patent No. 9,364,435 (“ʼ435 patent”) (Ex. 1002), in

   IPR2018-00739. The claims of both patents are directed to a composition of nucleic

   acid-lipid particles (e.g., particles that can be used to deliver therapeutic nucleic acid

   payloads to a patient) comprising four lipid components (i.e., cationic lipid,

   phospholipid, cholesterol and conjugated lipid), each of which fall within a claimed

   proportion with regard to the total lipid in the particles. See, e.g., Ex. 1001, cl. 1;

   Ex. 1002, cl. 1. The single independent claim in each of the two patents differ in the

   claimed proportion of cationic lipid (50%-65% for the ’069 patent; 50%-85% for

   the’435 patent) and a corresponding change to the amount of non-cationic lipid.1 Id.

   As with the ’435 patent, the overlapping and encompassing ranges for the lipid

   components are disclosed in the prior art anticipating or rending obvious the claims

   of the ’069 patent.




   1
       The ’069 patent also delineates two types of non-cationic lipids.



                                             -1-                                  JA003093
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 547 of 910 PageID #: 10127

   IPR Case No. Unassigned                                 U.S. Patent No. 8,058,069

         The’069 and ’435 patents belong to one iteration of unrelated patent families

   prosecuted by Arbutus Biopharma Corporation, some of which date back to the early

   2000s, that disclose substantially the same nucleic acid-lipid particles with only

   trivial differences in claim scope. By obtaining overlapping claims in these

   unrelated patent families, Patent Owner has improperly extended its patent

   protection. Patent Owner is using these patent families, including the ’069 patent,

   to improperly block the public and industry participants from using basic

   combinations of nucleic acid-lipid particle components explicitly described long

   before the ’069 patent’s priority date.

         For example, Patent Owner’s own disclosures in PCT Application No.

   PCT/CA2004/001051, Publication No. WO2005/007196 A2 (“’196 PCT”) (Ex.

   1003) and U.S. Patent Publication No. US2006/0134189 (“’189 publication”) (Ex.

   1004), and other prior art, including US Patent Publication No. 2006/0240554 A1

   (“’554 publication”) (Ex. 1005), show that the claimed composition of lipid

   components was available well before the priority date of the ’069 patent. These

   references disclose overlapping and encompassing ranges for each of the four lipid

   components with sufficient specificity to anticipate.

         Moreover, the disclosure of overlapping ranges for the four lipid components

   demonstrates a prima facie case of obviousness. In re Peterson, 315 F.3d 1325,

   1329 (Fed. Cir. 2003) (“[E]ven a slight overlap in range establishes a prima facie




                                             -2-                            JA003094
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 548 of 910 PageID #: 10128

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

   case of obviousness.”); E.I. Dupont De Nnemours & Co. v. Synvina C.V., No. 2017-

   1977, slip op. at 18-20 (Fed. Cir. Sept. 17, 2018) (same). These disclosures, the

   knowledge of a POSITA and the ’069 patent’s own testing data also establish

   obviousness by the preponderance of the evidence. In re Magnum Oil Tools Int’l,

   Ltd., 829 F.3d 1364 (Fed. Cir. 2016) (petitioner’s burden of showing invalidity by

   preponderance of the evidence). A POSITA would appreciate that generating lipid

   complexes with lipid components in the ranges claimed in the ’069 patent would

   have been a simple matter of using prior art production methods to combine

   appropriate proportions of prior art lipid components. Peterson, at 1330 (“The

   normal desire of scientists or artisans to improve upon what is already generally

   known provides the motivation to determine where in a disclosed set of percentage

   ranges is the optimum combination of percentages.”). Thus, in the alternative, the

   references render the challenged claims obvious.

         During prosecution, Patent Owner overcame other cited prior art disclosing

   overlapping ranges based upon alleged unexpected test results disclosed in the ’069

   patent attributable to a cationic lipid proportion greater than 50%. This testing,

   however, was restricted to a single set of lipid components and proportions falling

   within the claimed ranges (e.g., the cationic lipid was fixed at 57.1 mole percent

   (“mol%”)). But it is well-settled that a patentee must show “unexpected results” for

   the entire claimed range. In re Clemens, 622 F.2d 1029, 1035 (C.C.P.A. 1980).




                                          -3-                                JA003095
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 549 of 910 PageID #: 10129

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

         In addition, the prior art references Lin (Ex. 1006) and Ahmad (Ex. 1007)

   teach that there was a recognized potential benefit in certain systems to using a

   cationic lipid proportion greater than 50%. A POSITA would have been motivated

   to combine these disclosures with the ’196 PCT or ’189 publication as described

   herein, further rendering the claims obvious. In addition, the skilled artisan would

   have had a reasonable expectation of success in doing so.

   II.   MANDATORY NOTICES

         A.     NOTICE OF REAL PARTY-IN-INTEREST (37 C.F.R. § 42.8(b)(1))
         The real party-in-interest is Moderna Therapeutics, Inc.

         B.     NOTICE OF RELATED MATTERS (37 C.F.R. § 42.8(b)(2))

         Petitioner identifies the following related matters: Moderna Therapeautics,

   Inc. v. Protiva Biotherapeutics, Inc., IPR2018-00739 (’435 patent) and Moderna

   Therapeautics, Inc. v. Protiva Biotherapeutics, Inc., IPR2018-00680 (U.S. Patent

   No. 9,404,127).

         C.     DESIGNATION OF LEAD AND BACK-UP COUNSEL (37 C.F.R.
                § 42.8(b)(3))

         Lead    Counsel:    Michael    Fleming    (Reg.     No.      67,933).    Email:

   mfleming@irell.com.

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         Address: Irell & Manella LLP, 1800 Avenue of the Stars, Suite 900, Los


                                          -4-                                    JA003096
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 550 of 910 PageID #: 10130

   IPR Case No. Unassigned                                      U.S. Patent No. 8,058,069

   Angeles, CA 90067; Tel: (310) 277-1010; Fax: (310) 203-7199.

           D.    SERVICE INFORMATION (37 C.F.R. § 42.8(b)(4))

           Please address all correspondence to ModernaIPR@irell.com.

           E.    PAYMENT OF FEES (37 C.F.R. § 42.103)

           The Office is authorized to charge required fees to Deposit Account No. 09-

   0946.

           F.    CERTIFICATION OF GROUNDS FOR STANDING (37 C.F.R. § 42.104(a))

           Petitioner certifies that the ʼ069 patent is eligible for inter partes review and

   that Petitioner is neither barred nor estopped from requesting a review of the

   challenged claims on the grounds identified herein.

   III.    CHALLENGE AND RELIEF REQUESTED

           Petitioner respectfully requests inter partes review and cancellation of all

   claims of the ʼ069 patent based on the grounds in Section IX.

           A.    GROUND 1: CLAIMS 1-22 ARE ANTICIPATED BY OR OBVIOUS IN VIEW
                 OF PATENT OWNER’S PRIOR DISCLOSURES IN EITHER THE ’196 PCT
                 OR THE ’189 PUBLICATION

           B.    GROUND 2: CLAIMS 1-22 ARE OBVIOUS IN VIEW OF THE ’196 PCT
                 OR THE ’189 PUBLICATION IN VIEW OF LIN AND AHMAD

           C.    GROUND 3: CLAIMS 1-22 ARE ANTICIPATED BY OR OBVIOUS IN VIEW
                 OF THE ’554 PUBLICATION

   IV.     PRIORITY DATE
           The ʼ069 patent claims priority to provisional application No. 61/045,228,

   filed on April 15, 2008. Ex. 1001, cover page. For purposes of this paper only,




                                             -5-                                 JA003097
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 551 of 910 PageID #: 10131

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   Petitioner assumes (without conceding) that the ʼ069 patent is entitled to this date.

   V.      PERSONS HAVING ORDINARY SKILL IN THE ART

           A POSITA would have specific experience with lipid particle formation and

   use in the context of delivering therapeutic nucleic acid payloads, and would have a

   Ph.D., an M.D., or a similar advanced degree in an allied field (e.g., biophysics,

   microbiology, biochemistry) or an equivalent combination of education and

   experience. See Ex. 1008, Declaration of Dr. Andrew S. Janoff (“Janoff”), ¶¶29-32.

   This level of skill is representative of the authors/inventors of prior art cited herein.

   Id.

   VI.     BACKGROUND

           A.    LIPID CARRIER PARTICLES FOR NUCLEIC ACID PAYLOADS
           Gene therapy—addressing disease at the level of the genetic cause, typically

   with nucleic acids—is an area of intensive medical research. Therapeutic nucleic

   acids can be used for both nucleic acid delivery and gene silencing (e.g., small

   interfering RNA (“siRNA”)). Janoff, ¶60; see also Ex. 1009 (Gao), E92; Ex. 1006,

   3307.

           Long before the ’069 patent, it was known that systems comprised of

   combinations of different types of lipids with nucleic acids could result in lipid-

   nucleic acid particles, an accepted delivery strategy for nucleic acid therapeutics.

   Janoff, ¶60; see also Ex. 1009, E95. The ’069 patent specification describes nucleic

   acid-lipid carrier particles that the patentees refer to as “stable nucleic acid-lipid



                                             -6-                                 JA003098
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 552 of 910 PageID #: 10132

   IPR Case No. Unassigned                                       U.S. Patent No. 8,058,069

   particles” or “SNALPs.” Ex. 1001, 5:51-58.

            B.     THE ’069 PATENT CLAIMS ARE DIRECTED TO KNOWN LIPID
                   COMPONENTS

            The ’069 patent discloses four lipid components: a cationic lipid, two non-

   cationic lipids (a phospholipid and cholesterol), and a conjugated lipid (e.g., a

   polyethylene glycol (“PEG”) lipid). Ex. 1001, claim 1. These lipid components

   were known to be basic building blocks of nucleic acid-lipid particles long before

   the ’069 patent. Janoff, ¶61; see also Ex. 1007, 740, 746 (“[cationic lipids] for

   transfection typically consist of a mixture of cationic and neutral (helper) lipid” and

   “strategies for optimization … could involve introducing PEG-lipids … to block …

   unspecific interactions”); Ex. 1009, E95, 97 (cationic lipid carrier particles “are often

   formulated with a noncharged phospholipid or cholesterol as a helper lipid … PEG-

   lipid conjugates have been incorporated … to minimize interaction with blood

   components ....”).

            Cationic lipids interact with the negative charge on nucleic acid payload

   facilitating formation of complexes. Janoff, ¶62; see also Ex. 1009, E95. Effective

   delivery of the nucleic acid (called the “transfection efficiency”) is thought to require

   fusion between the lipid complex and a cell membrane.2 Janoff, ¶62; see also Ex.



   2
       In the art, “[t]he term ‘fusogenic’ refers to the ability of a lipid particle … to fuse

   with the membranes of a cell” thereby delivering its payload. Ex. 1001, 13:12-15.



                                               -7-                                 JA003099
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 553 of 910 PageID #: 10133

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   1010 (Bennett), 48; Ex. 1009, E95; Ex. 1007, 746. Under appropriate conditions,

   depending on the specific mixture of lipids in the carrier particle, the positive charge

   on cationic lipids can interact with negative charges on cell membranes. Janoff, ¶62.

   This is believed to promote, in some cases, the fusion event necessary for the

   effective delivery of the nucleic acid. Id.; see also Ex. 1007, 745-746 (“[A]n overall

   positive [cationic lipid]-DNA charge is required to promote initial electrostatic

   interactions with cell membranes.”).

         Non-cationic “helper” lipids, e.g., certain phospholipids and/or cholesterols,

   can be combined with the cationic lipid to influence the ability of the particles to

   transfect cells. Janoff, ¶63; see also Ex. 1009, E95 (cationic lipids “are often

   formulated with a noncharged phospholipid or cholesterol as a helper lipid …”).

         In addition, a conjugated lipid can increase in vivo circulation time by

   providing a neutral, hydrophilic coating to the particle’s exterior. Janoff, ¶64; see

   also Ex. 1011 (Heyes), 277 (“PEG-lipids both stabilize the particle during the

   formulation process and shield the cationic bi-layer, preventing rapid systemic

   clearance.”).   The amount of conjugated lipid is often minimized to prevent

   unnecessary decreases in fusogenicity of the resulting LNPs. Ex. 1003, [0094] (“By

   controlling the … concentration of the bilayer stabilizing component, one can

   control … the rate at which the liposome becomes fusogenic.”); Ex. 1005, Table IV

   (molar ratios of conjugated lipid 2-3%).




                                            -8-                                 JA003100
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 554 of 910 PageID #: 10134

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

         C.     THE OPTIMAL LIPID COMPONENT PROPORTIONS IN A NUCLEIC ACID-
                LIPID PARTICLE VARY

         “The structure of lipoplexes is influenced by multiple factors, including the

   charge ratio, the concentration of individual lipids and DNA, the structure of the

   cationic lipid and the helper lipid, [and] the physical aggregation state of the lipids

   ([e.g.,] multilamellar or unilamellar liposomes, or micelles) ….” Ex. 1009, E95.

   Transfection efficacy is complex because “[a] large number of parameters [are]

   involved.” Ex. 1007, 740. It was well-known that different transfection mechanisms

   “may be facilitated by alterations in liposome formulation ….” Ex. 1010, 48. The

   claims of the ’069 patent are not limited to a combination of specific lipids,

   formation protocols, or the type of nucleic-acid payload, and encompass broad

   ranges of lipids that have dramatically varying structures likely resulting in

   drastically different activities.   Janoff, ¶66.     Effective proportions of lipid

   components for one set of lipid species and payload may not be effective for

   alternative lipid species and payloads. Id.

         It was well-established at the time of the ’069 patent that “[t]he chemical

   structure of the cationic lipid ha[d] a major impact on the transfection efficiency.”

   Ex. 1009, E95; Janoff, ¶67.         References incorporated into the ’069 patent

   acknowledge that “alternative cationic lipids” to the ones tested would have

   “different [transfection] efficiencies.” See Ex. 1012 (U.S. Patent No. 5,753,613

   (“’613 patent”)), 1:26-28 (“… alternative cationic lipids [] work in essentially the



                                            -9-                                JA003101
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 555 of 910 PageID #: 10135

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   same manner but with different efficiencies.”). Cationic lipid variables impacting

   transfection efficiency include “the chemical structure of the cationic lipid [and] …

   the charge ratio between the cationic lipid and the DNA ….” Ex. 1009, E95. One

   example is whether the cationic lipid includes tertiary or quaternary amines—

   ionizable cationic lipids with tertiary amines have a pKa less than 7 resulting in a

   net neutral particle charge at physiological pH. Ex. 1011, 284. A POSITA would

   have known that these variables could impact the proportion of cationic lipid that is

   most effective for a given lipid component combination. Janoff, ¶68.

         For example, hundreds of cationic lipids, both univalent and multivalent, were

   known at the time of the ’069 patent, some with differing charges. Ex. 1009, E95

   (“[H]undreds of new cationic lipids have been developed … [that] differ by the

   number of charges in their hydrophilic head group and by the detailed structure of

   their hydrophobic moiety.”); Ex. 1011, 286. The charge density on the surface of a

   nucleic acid-lipid particle, at a fixed cationic lipid proportion, can be modulated by

   introducing cationic lipids with different charges. Janoff, ¶69; Ex. 1011, Abstract.

   This would have been expected to impact the ability of some particles to promote

   fusion events with target cell membranes. Id.; see also Ex. 1007, 740. Both Ahmad

   and Lin identified charge density as an important determinate of transfection

   efficacy in some of the systems. Ex. 1007, 744; Ex. 1006, 3312; Janoff, ¶69.

         It was also well-known at the time of the ’069 patent that certain lipid




                                           - 10 -                             JA003102
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 556 of 910 PageID #: 10136

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   component combinations favor having a 50% or greater proportion of cationic lipid.

   Janoff, ¶70. Researchers often chose a 50% proportion of cationic lipid as a default

   in evaluating particle transfection efficiency. See, e.g., Ex. 1010, 49 (50% cationic

   lipid); Ex. 1013 (U.S. Patent 7,939,505), 44:61-65 (cationic lipid of “about 0.5% to

   about 70% (mol%) of the total amount of lipid”), 96:40-67 (Example 32 and Table

   12) (formulations with 50% cationic lipid), 99:34-101:45 (Examples 34-35 and

   Tables 15-18) (same). Researchers also determined that, in some cases, increasing

   the cationic lipid proportion above 50% increased transfection efficiency. Ex. 1007,

   744; Ex. 1006, 3312.

         As with cationic lipids, at the time of the ’069 patent the number of species of

   non-cationic lipids that could be employed was large, and differences among such

   lipids had been reported to impact the structure of the resulting nucleic acid-lipid

   particles. Janoff, ¶71; Ex. 1009, E95 (transfection efficiency varies with “the

   structure and proportion of the helper lipid in the complexes”). Variations in the

   proportions of non-cationic lipids in certain formulations were reported to impact

   their ability to deliver nucleic acid payloads. Ex. 1010, 51; Ex. 1007, 744. Similarly,

   the selection of conjugated lipid was also known to potentially impact the particle’s

   chemistry and efficacy. Janoff, ¶71; Ex. 1003, [0094].

         In addition, the claims of the ’069 patent encompass various types of “nucleic

   acids.” A POSITA at the time of the ’069 patent would have known that the species




                                           - 11 -                              JA003103
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 557 of 910 PageID #: 10137

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   of nucleic acid payload would impact the optimal LNP formulation. Janoff, ¶72.

   For example, there are well-understood chemical and structural differences between

   mRNA and siRNA in terms of length, stability, and charge density of the nucleic

   acid. A POSITA would not have expected a formulation optimized for siRNA to

   perform similarly for mRNA. Id.; Ex. 1019 (Kaufman).

         In short, a POSITA at the time of the ’069 patent would have known that

   varying the nucleic-acid payload, the specific lipid species or the lipid proportions

   could change the performance of the nucleic acid-lipid particle. Janoff, ¶74. The

   range of lipids falling under the scope of the claims of the ’069 patent is immense

   and a POSITA would have had no way of knowing if lipid combinations at any given

   proportion would have resulted in formulations of superior therapeutic index to other

   formulations. Id.; see also Ex. 1007, 740 (“… typically only one or two data points

   per lipid are evaluated, allowing the ideal lipid composition (the ratio of neutral to

   cationic lipid) or cationic lipid/DNA ratio to be overlooked.”).

         D.     THE ’069 PATENT WAS GRANTED ON ALLEGED UNEXPECTED RESULTS
                FOR A SINGLE FORMULATION OF LIPID COMPONENTS

         The ’069 patent is premised on an alleged “surprising discovery” that prior art

   lipid components in certain proportions perform better than expected in vitro and in

   vivo. Id., 5:44-51 (lipids “comprising from about 50 mol% to about 85 mol% of a

   cationic lipid, from about 13 mol% to about 49.5 mol% of a non-cationic lipid, and

   from about 0.5 mol% to about 2 mol% of a lipid conjugate provide advantages ….”).



                                           - 12 -                             JA003104
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 558 of 910 PageID #: 10138

   IPR Case No. Unassigned                                       U.S. Patent No. 8,058,069

   According to the ’069 patent, using the claimed lipid proportions result in “increased

   activity of the encapsulated nucleic acid … and improved tolerability of the

   formulations in vivo, resulting in a significant increase in the therapeutic index ….”

   Id., 5:51-58; Janoff, ¶75.

         The ’069 patent acknowledges that the following was known to a POSITA

   before to its priority date (see Janoff, ¶76):

         • Nucleic acid-lipid particles comprising a nucleic acid, cationic lipid, non-

             cationic lipid, and a conjugated lipid that inhibits aggregation of particles.

             See Ex. 1001, 11:24-26 (“SNALP and SPLP typically contain a cationic

             lipid, a non-cationic lipid, and a lipid conjugate (e.g., a PEG-lipid

             conjugate).”).

         • Preparation of such nucleic acid-lipid particles.            See id., 11:44-48

             (“Nucleic acid-lipid particles and their method of preparation are disclosed

             in,   e.g.,   U.S.   Patent   Publication    Nos.     US2004/0142025      and

             US2007/0042031, the disclosures of which are herein incorporated by

             reference in their entirety for all purposes.”).

         • In addition, the prior art cited in the ’069 patent discloses nucleic acid-lipid

             particles with the listed component lipids having overlapping ranges: a

             cationic lipid range of “about 2% to about 70%,” a non-cationic lipid range

             of “about 5% to about 90%,” a cholesterol range of “about 20% to about




                                             - 13 -                             JA003105
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 559 of 910 PageID #: 10139

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

            55%,” and a PEG-lipid conjugate range of “about 0.5% to about 20%.”

            See, e.g., Ex. 1014 (U.S. Publication No. US2007/0042031 (“’031

            publication”)), [0033].

   Thus, nucleic acid-lipid particles with (1) the claimed nucleic acid payload and (2)

   the same lipid components in overlapping ranges were admittedly known in the art.

   Janoff, ¶76. The sole basis for alleged novelty of the ’069 patent claims is that a

   nucleic acid-lipid particle comprising component lipids in the claimed proportions

   achieves unexpected efficacy. Id.

               1.     ’069 PATENT: THE PROSECUTION HISTORY CONFIRMS PATENT
                      OWNER’S RELIANCE ON UNEXPECTED RESULTS

         During the prosecution of the ’069 patent, the examiner cited Patent Owner’s

   earlier, unrelated ’910 publication (Ex. 1015) as prior art disclosing nucleic acid-

   lipid particles with the claimed components and overlapping ranges of those

   components. See, e.g., Ex. 1016 (’069 file history excerpts), 7/30/2010 Rejection,

   3–5. Patent Owner put forth the following chart illustrating the overlapping ranges:




   Id., 8/11/2011 Amendment, 7–9.

         In response to the rejection, Patent Owner argued that the specific claimed



                                          - 14 -                             JA003106
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 560 of 910 PageID #: 10140

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   ranges in the ’069 patent lead to “new and unexpected results” and cited to test

   results regarding the “1:57 SNALP” in the specification.              Id., 1/31/2011

   Amendment, 11. Patent Owner argued that “[a]pplicants have found that SNALP

   formulations having increased amounts of cationic lipid, e.g., one or more cationic

   lipids comprising from about 50 mol% to about 65 mol% of the total lipid present in

   the particle, provide unexpectedly superior advantages when used for the in vitro

   or in vivo delivery of an active agent ….” Id. Patent Owner relied on Examples 3-

   4 from the specification arguing that these examples demonstrated that the 1:57

   SNALP formulation was “more efficacious as compared to a nucleic acid-lipid

   particle previously described (‘2:30 SNALP’) … [and] more effective at silencing

   the expression of a target gene as compared to nucleic acid-lipid particles previously

   described (‘2:40 SNALP’).” Id.

                2.    ’069 PATENT: PATENTEE TESTED ONLY ONE FORMULATION
                      COVERED BY THE CLAIMS

         The ’069 patent includes in vitro (Example 2) and in vivo (Examples 3-4)

   testing of various nucleic acid-lipid formulations and comparison of those

   formulations to the admitted prior art (i.e., the 2:30 and 2:40 formulations). Ex.

   1001, 68:50-73:67. As discussed above, Patent Owner argued during prosecution

   that these tests establish unexpected advantages. In these examples, however, only

   the 1:57 SNALP contains lipid proportions within the ranges claimed in the ’069




                                           - 15 -                             JA003107
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 561 of 910 PageID #: 10141

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   patent.3 Id.; Janoff, ¶81.

                       a)       EXAMPLE 2 SHOWS THAT IN VITRO THE 1:57 SNALP
                                WAS NO MORE EFFECTIVE THAN SEVERAL PRIOR ART
                                FORMULATIONS

          Example 2 is the in vitro test in the 069 patent. Ex. 1001, 68:50-70:50.

   Example 2 involved a siRNA payload targeting the Eg5 gene with various lipid

   components in various proportions. Id., Table 2 (annotated below):




   Of the tested lipid formulations, only Sample 9 (the 1:57 SNALP) falls within the


   3
       The 1:57 SNALP is “1.4% PEG-cDMA [conjugated lipid]; 57.1% DLinDMA

   [cationic lipid]; 7.1% DPPC [phospholipid]; and 34.3% cholesterol [neutral lipid].”

   Ex. 1001, 68:23-25.



                                           - 16 -                             JA003108
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 562 of 910 PageID #: 10142

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   lipid ranges in claim 1 of the ’069 patent. Id., cl. 1; Janoff, ¶82. Other than the

   1:57 SNALP, the ’069 patent did not test any combinations of lipid components

   covered by the claims for comparison to the admitted prior art. Id.

         Samples 1 and 16 in Table 2 reflect the 2:40 SNALP that is admitted prior

   art. Ex. 1001, Table 2, Janoff, ¶83. Sample 12 is similar to the 2:40 SNALP, but

   with slight variations in the lipid proportions. Id. The results of the testing from

   Example 2 are shown in Figures 1(a)-(b) (reproduced below):




                                           - 17 -                               JA003109
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 563 of 910 PageID #: 10143

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069




   As can be seen from the figures, (1) Sample 9 (1:57 SNALP indicated by red

   arrow) appears to be no more effective at gene silencing than Sample 12 (a 2:40-

   type SNALP with 40.4% cationic lipid also indicated by red arrow), which it

   overlaps at every data point; (2) Sample 9 (1:57 SNALP) appears to outperform

   Sample 16 (2:40 SNALP indicated by green arrow) only at extremely low total

   siRNA amounts; and (3) Samples 9 (1:57 SNALP) and 12 (2:40-type SNALP)

   outperform sample 10 (indicated by blue arrow) which is also comprised of greater

   than 50% cationic lipid (i.e., 53.3%). Janoff, ¶83.

         Therefore, there is no clear advantage in Example 2 of using the 1:57

   SNALP, nor is there data that the entire claimed range of nucleic acid-lipid

   particles is superior to particles with less than 50% cationic lipid. Id.




                                            - 18 -                             JA003110
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 564 of 910 PageID #: 10144

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

                      b)    EXAMPLES 3-4 SHOW THAT THE 1:57 SNALP WAS NO
                            MORE EFFECTIVE THAN THE FORMULATIONS WITH LESS
                            THAN 50% CATIONIC LIPID

         Examples 3-4 of the ’069 patent compare the 1:57 SNALP to various

   formulations with lipid components outside of the claimed ranges in vivo. Ex.

   1001, 70:51-73:67. Example 3 involved testing the silencing activity of a siRNA

   payload targeting the Apo B gene with various lipid components in various

   proportions. Id., 70:51-72:55; Table 4 (below):




   Again, of the tested lipid combinations, only Sample 11 (1:57 SNALP) falls within

   the lipid ranges claimed in the ’069 patent. Id.; Janoff, ¶84. Samples 2, 4-5 and 7

   reflect the 2:40 SNALP proportions (Samples 4-5 employ different species of

   certain lipid components than Samples 2 and 7). Janoff, ¶84. The results of testing


                                          - 19 -                             JA003111
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 565 of 910 PageID #: 10145

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

   are shown in Figure 2 (annotated below):




         As can be seen from Figure 2, the 1:57 SNALP (Group 11) is likely not

   statistically significantly more efficacious than Group 12 (which is comprised of

   only 40.4% cationic lipid (see Table 4 above)). Janoff, ¶85. On the other hand,

   Group 12 appears to be more efficacious than Groups 2 and 7 (both examples of

   the admitted prior art 2:40 SNALP formation) even though it varies only slightly

   from this formulation in that it is comprised of 1 mol% rather than 2 mol% PEG-

   2000-C-DMA. Id.

         Example 4 compares the silencing activity of the 1:57 SNALP formulation

   with the 2:30 SNALP formulation. Both SNALPs were formulated with a siRNA



                                          - 20 -                             JA003112
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 566 of 910 PageID #: 10146

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   payload targeting the Apo B gene. Ex. 1001, 72:60-74:4; Table 5. At most, this

   testing established that the 1:57 SNALP comprised of the specific species of lipid

   components and nucleic acid to lipid ratio disclosed, dosed as disclosed,

   outperformed the 2:30 SNALP comprised of the lipid species disclosed and dosed as

   disclosed. Janoff, ¶86.

         In conclusion, the identified testing fails to demonstrate that all formulations

   that fall within the ’069 patent claims perform better than prior art formulations.

   Janoff, ¶87.

                  3.   THE ’069 PATENT: THE TESTING SHOWS THAT EVEN SLIGHT
                       VARIATIONS OF THE LIPID COMPONENT PROPORTIONS AND/OR
                       THE SPECIES OF LIPID COMPONENT IMPACT EFFICACY

         The in vivo testing in Example 3 shows that minor variations in lipid

   percentages may appreciably impact efficacy. Janoff, ¶84. Specifically, Samples

   2, 7 and 12 from Table 4 contain the same lipid components. Ex. 1001, Table 4.

   Samples 2 and 7 are comprised of exactly the same ratios (i.e., 2/40/10/48). Id.

   Sample 12 is comprised of the ratio 1/40.4/10.1/48.5. Id. According to Figure 2,

   Sample 12 is comparable to the alleged advantages of using Sample 11, the 1:57

   SNALP, but apparently superior to Samples 2 and 7 (the admitted prior art 2:40

   formulations).




                                           - 21 -                              JA003113
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 567 of 910 PageID #: 10147

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069




         Several other examples in the ’069 patent illustrate that transfection

   efficiency may be influenced by varying just the species of lipid components used.

   Janoff, ¶87. For instance, comparing Groups 2 & 6 to Group 4 in Example 5, in

   which DLinDMA was replaced with DODMA without changing the ratios of the

   components used (see Ex. 1001, Table 6), Group 4 apparently exhibited inferior

   results. Example 5 also shows by comparing Groups 2 and 6 (PEG(2000)-c-DMA)

   to Group 5 (PEG(5000)-c-DMA), that variation of the conjugated lipid apparently

   impacts efficacy. Janoff, ¶87.




                                          - 22 -                              JA003114
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 568 of 910 PageID #: 10148

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   VII. CLAIM CONSTRUCTION

         A.     CLAIM 1: “NUCLEIC ACID-LIPID PARTICLE”

         In the ’435 patent IPR, the Board determined that under the broadest

   reasonable interpretation standard, the term “nucleic acid-lipid particle” in

   independent claim 1 was the only claim term needing construction and means “a

   particle that comprises a nucleic acid and lipids, in which the nucleic acid may be

   encapsulated in the lipid portion of the particle.” IPR2018-00739, Paper 15, at 10-

   11.   Given that this construction is based upon express disclosures in the

   specification, it is also applicable under the current claim construction standard

   under Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005). Janoff, ¶88. For

   purposes of this paper only, Petitioner assumes (without conceding) that this is the

   only necessary construction.

   VIII. PRIOR ART

         A.     PATENT OWNER’S PRIOR DISCLOSURES ARE PRIOR ART UNDER 35
                U.S.C. § 102(b)

         The ’069 patent family is but one of many patent families with substantially

   overlapping disclosures. Because these unrelated patent families, with differing

   inventors, do not claim priority to one another, the earlier disclosures are prior art to

   the ’069 patent. Janoff, ¶89; Ex. 1003; Ex. 1004.

         One example of such a prior, unrelated disclosure is the ’196 PCT. Ex. 1003.

   Patent Owner filed the provisional applications leading to it in 2003. Id. The




                                            - 23 -                               JA003115
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 569 of 910 PageID #: 10149

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

   inventors are Ian MacLachlan, Ellen Ambegia, and James Heyes, a different

   inventive entity from the ’069 patent inventive entity. Id. The ’196 PCT was

   published on Jan. 27, 2005. Id. The ’196 PCT and the ’069 patent do not claim

   priority to one another. See Exs. 1001, 1002. The ’196 PCT is therefore prior art to

   the ’069 patent under 35 U.S.C. § 102(b) (pre-AIA). Janoff, ¶91.

         The ’196 PCT discloses SNALPs comprise “a cationic lipid, a non-cationic

   lipid, a conjugated lipid that inhibits aggregation of particles and a siRNA.” Ex.

   1003, [0011]. The non-cationic lipids may include a phospholipid and cholesterol.

   Id., [0089]; Janoff, ¶92. The ’196 PCT thus discloses the same lipid components as

   claimed in the ’069 patent.

         The ’196 PCT also discloses overlapping ranges of these components.

   According to the ’196 PCT, “[t]he cationic lipid typically comprises from about 2%

   to about 60% of the total lipid present in said particle … [i]n other preferred

   embodiments, the cationic lipid comprises from about 40% to about 50% of the total

   lipid present in said particle.” Ex. 1003, [0088]. “The non-cationic lipid typically

   comprises from about 5% to about 90% of the total lipid present … [and] [t]he

   nucleic acid-lipid particles … may further comprise cholesterol … from about 20%

   to about 45% of the total lipid present ….” Id., [0091]. “[T]he SNALP further

   comprises a bilayer stabilizing component (BSC) …. the BSC is a conjugated lipid

   that inhibits aggregation of the SNALPs … present from about 0.5% to about 25%




                                          - 24 -                             JA003116
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 570 of 910 PageID #: 10150

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   of the total lipid ….” Id., [0092-0093]; Janoff, ¶93. The ’196 PCT discloses that

   “[d]epending on the intended use of the nucleic acid-lipid particles, the proportions

   of the components are varied ….” Ex. 1003, [0088]; Janoff, ¶94. The ’196 PCT

   recognized that compositions with an overall neutral charge are preferred. Ex. 1003,

   [0015]; Janoff, ¶92.

         In addition, the ’196 PCT incorporates by reference U.S. Patent No. 5,264,618

   (the “’618 patent”). Ex. 1017, [0087], [0146]. The ’618 patent in turn discloses a

   nucleic acid-lipid complex with 56% cationic lipid, 14% phospholipid and 30%

   cholesterol, as well as various other formulations with over 50% cationic lipid. Ex.

   1017, 34:54-35:23.

         Another example of Patent Owner’s prior, unrelated disclosure is the ’189

   publication. Ex. 1004. Patent Owner filed the provisional applications leading to it

   in 2004-2005. Id. The inventors are Ian MacLachlan, Lloyd Jeffs, Adam Judge,

   Amy Lee, Lorne Palmer, and Vandana Sood, a different inventive entity from the

   ’069 patent. Id. The ’189 publication was published on June 22, 2006. Id. Also,

   the ’189 publication and the ’069 patent do not claim priority to one another. See

   Exs. 1001, 1004. The ’189 publication is therefore prior art to the ’069 patent under

   35 U.S.C. § 102(b) (pre-AIA). Janoff, ¶95.

         The ’189 publication discloses SNALPs comprising overlapping ranges of the

   four lipid components similar to those discussed above for the ’196 PCT. Ex. 1004,




                                          - 25 -                              JA003117
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 571 of 910 PageID #: 10151

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   [0009-0012], [0014], [0148-0181]; Janoff, ¶96. In addition, the ’189 publication

   discloses testing relating to the 2:40 formulation that Patent Owner identified as a

   prior art formulation. Janoff, ¶96; Ex. 1004 [0350-0391]. This formulation includes

   40% cationic lipid and 2% conjugated lipid, 10% phospholipid and 48% cholesterol.

   Id., [0351]. According to the ’189 publication, this formulation demonstrated

   efficacy in vitro and in vivo. Id., [0016]. These additional disclosures confirm that

   formulations with high cationic lipid percentages (e.g., 40%) and low conjugated

   lipid percentages (e.g., 2%) were known.

         B.     THE ’554 PUBLICATION IS PRIOR ART UNDER 35 U.S.C. § 102(b)

         The ’554 publication was published as US 2006/0240554 A1 on October 26,

   2006. Ex. 1005, cover page. The ’554 publication is therefore prior art to the ’069

   patent under 35 U.S.C. § 102(b) (pre-AIA). Janoff, ¶97.

         The ’554 publication discloses “novel cationic lipids, transfection agents,

   microparticles, nanoparticles, and short interfering nucleic acid (siNA) molecules.”

   Ex. 1005, Abstract. The cationic LNPs disclosed are comprised of, for example, “(a)

   a cationic lipid … (b) a neutral lipid; (c) a polyethyleneglycol conjugate … and (d)

   a short interfering nucleic acid (siNA) molecule ….” Id., 28:36-48. These are the

   same components and payload described in the ’069 patent. Janoff, ¶98.

         The ’554 publication discloses various ranges for the lipid components that

   overlap or encompass the ranges disclosed in the ’069 patent, including the cationic




                                          - 26 -                              JA003118
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 572 of 910 PageID #: 10152

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

   lipid (about 2% to about 60%), the neutral, non-cationic lipid (about 5% to about

   90%), cholesterol (about 20% to about 45%) and the PEG conjugate (about 1% to

   about 20%). The ’554 publication also includes various specific formulations

   including 50% or greater cationic lipid.        Ex. 1005, Table 4 (e.g., L054

   DMOBA/Chol/DSPC/PEG-n-DMG (50/20/28/2).

         C.    LIN IS PRIOR ART UNDER 35 U.S.C. § 102(b)

         Lin et al. (“Lin”) is a publication titled “Three-Dimensional Imaging of Lipid

   Gene-Carriers: Membrane Charge Density Controls Universal Transfection

   Behavior in Lamellar Cationic Liposome-DNA Complexes.” Ex. 1006. It was

   published in Biophysical Journal in May 2003. See id. Lin is therefore prior art to

   the ’069 patent under 35 U.S.C. § 102(b) (pre-AIA). Janoff, ¶100.

         Lin studied the impact of cationic lipid mole fraction on the transfection

   efficiency of lipid particles with a DNA payload in in vitro experiments. Ex. 1006,

   3307. Using the cationic lipids DOTAP, DMRIE and DOSPA and the helper lipid

   DOPC, Lin determined that transfection efficiency increased as the cationic lipid




                                          - 27 -                             JA003119
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 573 of 910 PageID #: 10153

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

                                             mole fraction increased. Id., 3309. In

                                             Figure 4(a), Lin shows the transfection

                                             efficiency as a function of the mole

                                             fraction of neutral lipid (DOPC). Id., Fig.

                                              4.    The mol% of cationic lipid (e.g.,

                                              DOTAP, DOSPA, DMRIE) is derived by

                                              deducting the mole fraction of neutral

                                              lipid from 1 and multiplying by 100 (the

                                              highest mol% would be on the left of the

                                              x axis and decrease as you proceed right

                                              on the x axis). As can be seen from the

   figure, for each formulation the transfection efficiency increased with the mol% of

   cationic lipid incorporated. Janoff, ¶102. Starting at about 35 mol%, transfection

   efficiency increased monotonically with increasing mol% for DOTAP formulations.

   For DMRIE formulations, over the same range, there appeared to be a steep increase

   in transfection efficiency from about 45-55 mol%. For formulations comprised of

   the multivalent lipid DOSPA, transfection efficiency seemed to be biphasic—it

   increased monotonically up to about 35 mol% and then seemed to saturate. Id.

         A POSITA would understand the testing of Lin to suggest that the mol% of

   cationic lipid in nucleic acid-lipid particles can impact transfection efficiency, and




                                           - 28 -                             JA003120
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 574 of 910 PageID #: 10154

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   that for certain cationic lipids (e.g., DOTAP) transfection efficiency might continue

   to improve at a mol% above 50 percent. Id., ¶103. A POSITA would further

   understand that precisely how the mol% of cationic lipid might impact transfection

   efficiency depends on both the cationic lipid species and neutral lipid species chosen.

   Id.

         D.      AHMAD IS PRIOR ART UNDER 35 U.S.C. § 102(b)
         Ahmad et al. (“Ahmad”) is a

   publication    titled   “New     multivalent

   cationic lipids reveal bell curve for

   transfection efficiency versus membrane

   charge density: lipid–DNA complexes for

   gene delivery.” Ex. 1007. It was published

   in The Journal of Gene Medicine on

   January 31, 2005. See id. Ahmad is therefore prior art to the ’069 patent under 35

   U.S.C. § 102(b) (pre-AIA). Janoff, ¶104.

         Ahmad studied the impact of membrane charge density on the transfection

   efficiency of cationic liposome-DNA complexes comprised of cationic and neutral

   helper lipids. Ex. 1007, 739. Ahmad also contemplated adding cholesterol and

   PEG-lipids to these lipid complexes. Id., 744 (“[C]holesterol, which leads to

   lamellar complexes, is increasingly used as a neutral lipid for in vivo applications.”),




                                            - 29 -                              JA003121
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 575 of 910 PageID #: 10155

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   746 (“strategies for optimization … could involve introducing PEG –lipids … to

   block ... unspecific interactions ….”). Thus all four lipid components from the ’069

   patent were disclosed. Janoff, ¶105.

         Ahmad found that a variety of cationic lipids increased the transfection

   efficiency in the DOPC formulations he studied as shown on Figure 3(a). In Ahmad,

   cationic lipids with multiple charges were observed to provide higher transfection

   efficiencies. Ex. 1007, 740 (“Numerous lipids with varied chemical and physical

   properties have been synthesized to improve the transfection efficiencies … These

   include multivalent lipids, which have been described as superior to their

   monovalent counterparts.”). More specifically, Ahmad determined that for the

   multivalent cationic lipids studied, a maximum transfection efficiency occurred at

   around 50 mol%. Yet for the monovalent lipid DOTAP, transfection efficiency

   increased monotonically from a cationic lipid percentage of about 35 mol% to a

   cationic percentage of about 90 mol%. Id., 744. Ahmad reported that the optimal

   transfection efficiency for MLV 5 (a multivalent cationic lipid) was at 55 mol%

   when incorporated into DOPC formulations, whereas the maximal TE for DOTAP,

   incorporated into DOPC formulations was at 90 mol%. Id., 743; Janoff, ¶106.

         A POSITA would understand the testing of Ahmad to suggest that the mol%

   of cationic lipid in nucleic acid-lipid particles can impact transfection efficiency, and

   that for certain cationic lipids transfection efficiency might continue to improve at a




                                            - 30 -                               JA003122
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 576 of 910 PageID #: 10156

   IPR Case No. Unassigned                                      U.S. Patent No. 8,058,069

   mol% above 50 percent. Janoff, ¶106.

         Ahmad includes a statement that “[m]inimizing the amount of cationic lipid

   is desirable to reduce cost as well as potential toxic effects of the cationic lipid.” Ex.

   1007, 745. But, Ahmad also noted that “with the amounts of cationic lipid employed

   in our in vitro experiments, we find no toxic effects on the cells as judged by cell

   morphology and the amount of total cellular protein.” Id., 746. Given that the

   disclosures in the ’069 patent are not limited to in vivo applications, a POSITA would

   understand the insights of Ahmad could apply to the particles disclosed in the ’069

   patent. Moreover, a POSITA would be aware that a cationic lipid resulting in

   particles that are neutral at physiological pH could be used to limit toxicity. Janoff,

   ¶107; Ex. 1011, 284.

   IX.   THERE IS A REASONABLE LIKELIHOOD THAT AT LEAST ONE CLAIM OF THE
         ’069 PATENT IS UNPATENTABLE

         A.     GROUND 1: CLAIMS 1-22 ARE ANTICIPATED BY OR OBVIOUS IN VIEW
                OF EITHER THE ’196 PCT OR THE ’189 PUBLICATION

         Claims 1-22 of the ’069 patent are anticipated under 35 U.S.C. § 102(b) (pre-

   AIA) or obvious under 35 U.S.C. § 103 in view of either the ’196 PCT or the ’189

   publication. These references are presented together because the ’189 publication is

   substantively similar to the ’196 PCT, the primary difference being that it also

   discloses testing relating to the admitted prior art 2:40 formulation. Ex. 1004 [0350]-

   [0391]; Janoff, ¶108.

         The ’196 PCT and ’189 publication disclose encompassing and overlapping


                                             - 31 -                               JA003123
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 577 of 910 PageID #: 10157

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   ranges with sufficient specificity to anticipate the range of lipid components recited

   in claim 1 of the ’069 patent. Janoff, ¶108. Additionally, the disclosed ranges

   establish prima facie obviousness, which creates a presumption of obviousness. E.I.

   Dupont, No. 2017-1977, slip op. at *18-20. Moreover, the testing in the ’069 patent

   does not support alleged unexpected results for the claimed ranges. Id.

                1.    CLAIM 1

                      a)     CLAIM 1(A): A NUCLEIC ACID-LIPID PARTICLE
                             COMPRISING:

         Patent Owner’s prior disclosures teach “compositions and methods for

   silencing gene expression by delivering nucleic acid-lipid particles comprising a

   siRNA molecule to a cell.” Ex. 1003, (Abstract); Ex. 1004, (Abstract); Janoff, ¶110.

                      b)     CLAIM 1(B): A NUCLEIC ACID

         Patent Owner’s prior disclosures teach “the present invention is directed to

   using a small interfering RNA (siRNA) encapsulated in a serum-stable lipid particle

   having a small diameter suitable for systemic delivery.” Ex. 1003, [0002]; Ex. 1004,

   [0182]. siRNA is a nucleic acid. Janoff, ¶111.

                      c)     CLAIM 1(C): A CATIONIC LIPID COMPRISING FROM 50
                             MOL% TO 65 MOL% OF THE TOTAL LIPID PRESENT IN
                             THE PARTICLE

         Patent Owner’s prior disclosures teach “[t]he cationic lipid typically

   comprises from about 2% to about 60% of the total lipid present in said particle …

   [i]n other preferred embodiments, the cationic lipid comprises from about 40% to




                                           - 32 -                             JA003124
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 578 of 910 PageID #: 10158

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   about 50% of the total lipid present in said particle.” Ex. 1003, [0088]; Ex. 1004,

   [0152]. Patent Owner’s prior disclosures disclose that “[d]epending on the intended

   use of the nucleic acid-lipid particles, the proportions of the components are varied

   ….” Ex. 1003, [0088]; Ex. 1004, [0152]. In addition, Patent Owner’s prior

   disclosures incorporate by reference (’196 PCT) or directly reference (’189

   publication at [0155, 0157]) the ’618 patent, which discloses nucleic acid-lipid

   complex with 56% cationic lipid, 14% phospholipid and 30% cholesterol, as well as

   various other formulations containing over 50% cationic lipid. Ex. 1016, 34:54-

   35:23. Given the breadth of the claimed range, these disclosures are sufficiently

   specific to anticipate the claimed range. Janoff, ¶112. Not only does the disclosed

   range substantially overlap with the claimed range, a preferred embodiment in the

   reference recites a narrower preferred range that also partially overlaps. Id.

         Given the explicit disclosure of overlapping ranges, this limitation is prima

   facie obvious. E.I. Dupont, No. 2017-1977, slip op. at *18-20; Janoff, ¶112.

   Moreover, determining the optimal proportion of cationic lipid for a given lipid

   combination would be a simple matter of varying the proportion using prior art

   methodologies. See Peterson, 315 F.3d at 1330 (“The normal desire of scientists or

   artisans to improve upon what is already generally known provides the motivation

   to determine where in a disclosed set of percentage ranges is the optimum

   combination of percentages.”).




                                           - 33 -                              JA003125
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 579 of 910 PageID #: 10159

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

         A POSITA would have had a reasonable expectation that nucleic-acid lipid

   particles could be successfully formulated with cationic lipid the 50 mol% to 65

   mol% range, especially given the disclosure in the ’618 patent of various

   formulations containing over 50% cationic lipid. Ex. 1016, 34:54-35:23.

         The testing in the ’069 patent cannot overcome the presumption of

   obviousness as it is insufficient to show alleged “unexpected results” with regard to

   the prior art for the entire claimed range. In re Clemens, 622 F.2d at 1035. Here,

   the claim limitation includes two ranges: (1) a numeric range for the cationic lipid

   proportion, and (2) a range of species of “cationic lipids” as that claim term is

   defined in the ’069 patent. It is well-known that “[t]he structure of lipoplexes is

   influenced by multiple factors, including the charge ratio, the concentration of

   individual lipids and DNA, the structure of the cationic lipid and the helper lipid,

   [and] the physical aggregation state of the lipids ….” Ex. 1009, E95; see also Ex.

   1007, 740 (for “CL-DNA complexes … [a] large number of parameters involved”);

   Ex. 1010, 48 (“transfection pathway may be facilitated by alterations in liposome

   formulation”). The testing in question, however, dealt with only a single formulation

   of lipid species and proportions falling within the claim scope.

         During prosecution Patent Owner only asserts unexpected results occurred

   vis-à-vis the 2:30 and 2:40 formulations. Janoff, ¶113. The prior art, however, is

   not so limited. See Ex parte Lunsford, No. Appeal 2008-4023, at *11 (P.T.A.B. Nov.




                                           - 34 -                             JA003126
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 580 of 910 PageID #: 10160

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   26, 2008) (no criticality of a claimed variable characteristic for unexpected results

   where the comparison results were “not based on a comparison between the claimed

   invention and the closest prior art”). For example, Patent Owner ignores Group 12

   in Figure 2 of the ’069 patent that has a cationic lipid percentage of 40.4% and is

   clearly in the prior art given the admitted 2:40 formulation. Id. In addition, as

   discussed above in Sections VI-VII, numerous other prior art formulations contain

   cationic lipid percentages over 50%. See, e.g., Exs. 1006-1007. Patent Owner thus

   failed to address the entire scope of the prior art in asserting unexpected results.

   Janoff, ¶113.

         Regarding the numeric range, during prosecution, the patentee argued that

   testing in Examples 2-4 regarding the 1:57 SNALP rebutted the prima facie case vis

   a vis the ’910 publication. Ex. 1016, 1/31/2011 Amendment, 8–10. But a single

   data point alone is insufficient to demonstrate unexpected results over a claimed

   range. Peterson, 315 F.3d at 1331 (finding data at 0-2% rhenium insufficient to

   show unexpected results for claimed range of 1-3% rhenium); In re Patel, 566 Fed.

   App’x. 1005, 1012 (Fed. Cir. 2014) (unexpected improvement at two points (0.913

   and 0.915 g/cm3) only one of which falling in the range (0.915-0.950 g/cm3) was

   insufficient to “establish unexpected results through factual evidence for the entire

   claimed range”). This testing cannot rebut the showing of obviousness.

         Given the disclosures in the ’069 patent, a POSITA would not expect all




                                          - 35 -                              JA003127
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 581 of 910 PageID #: 10161

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   alternative data points falling within the recited numeric range to perform similarly.

   See In re Kao, 639 F.3d 1057, 1068 (Fed. Cir. 2011) (“If an applicant demonstrates

   that an embodiment has an unexpected result and provides an adequate basis to

   support the conclusion that other embodiments falling within the claim will behave

   in the same manner, this will generally establish that the evidence is commensurate

   with [the] scope of the claims.”). As discussed above, the in vivo testing in Example

   3 shows that even minor variations in lipid percentages appeared to impact efficacy.

   Janoff, ¶114. Specifically, Samples 2 and 12 from Table 4 contain the exact same

   lipid species in the respective ratios 2/40/10/48 and 1/40.4/10.1/48.5. Ex. 1001,

   Table 4. According to Figure 2, these slight variations in lipid proportions lead to

   apparently different transfection efficiencies. Id., Fig. 2; Janoff, ¶114. A POSITA

   would expect that similar minor variations in lipid proportions within the claimed

   range might lead to similar variations in transfection efficiency. Janoff, ¶114. See

   also Ex parte Lunsford, No. Appeal 2008-4023, at *11 (P.T.A.B. Nov. 26, 2008)

   (“cause-and-effect relationship” between claimed limitation and results missing

   because “multiple unfixed variables” could have caused the unexpected results).

         Regarding the range of cationic lipids falling within the claim limitation, the

   ’069 patent defines “cationic lipid” as “any of a number of lipid species that carry a

   net positive charge at a selected pH, such as physiological pH (e.g., pH of about

   7.0).” Ex. 1001, 12:51-53. The ’069 patent includes almost three dozen examples




                                           - 36 -                              JA003128
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 582 of 910 PageID #: 10162

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   of cationic lipids. Id., 47:34-49:55. At the time of the ’069 patent, hundreds of

   lipids that are cationic at physiological pH were known in the art. Janoff, ¶115. In

   addition, because claim 1 of the ’069 patent does not contain any limitation to a

   specific pH, the additional lipids that are cationic at a certain pH would also meet

   the claim limitation.

         The testing in the ’069 patent compares only one cationic lipid, DLinDMA,

   to the admitted 2:40 and 2:30 prior art formulations to illustrate alleged unexpected

   results. Ex. 1001, Tables 2, 4, 5; Ex. 1015, 1/31/2011 Amendment, 8-10; Janoff,

   ¶116. There is no support, however, for “the conclusion that other embodiments

   falling within the claim will behave in the same manner” as DLinDMA. See Kao,

   639 F.3d at 1068. To the contrary, Example 5 in the ’069 patent shows variation of

   the cationic lipid impacts efficacy. Ex. 1001, Table 6 (Samples 2 & 6 (DLin-

   DMA) vs. Sample 4 (DODMA)). A POSITA would understand these results to

   suggest that a preferred proportion for one cationic lipid (e.g., DLinDMA) does not

   necessarily apply to all other cationic lipids (e.g., DODMA). Janoff, ¶116.

         In addition, it was well-known in the art that “[t]he chemical structure of the

   cationic lipid [had] a major impact on the transfection efficiency.” Ex. 1009, E95;

   Janoff, ¶117. Indeed, the ’613 patent incorporated by the ’069 patent

   acknowledges that “alternative cationic lipids” to the one tested would have

   “different [transfection] efficiencies.” See Ex. 1012, 1:26-28 (“[A]lternative




                                           - 37 -                              JA003129
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 583 of 910 PageID #: 10163

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   cationic lipids that work in essentially the same manner but with different

   efficiencies.”); Janoff, ¶117. A POSITA would have no reason to believe that the

   alleged unexpected advantages of a 50-65% proportion of DLinDMA would be

   applicable to all cationic lipids. Id.

                       d)     CLAIM 1(D): A NON-CATIONIC LIPID COMPRISING A
                              MIXTURE OF A PHOSPHOLIPID AND CHOLESTEROL OR A
                              DERIVATIVE THEREOF, WHEREIN THE PHOSPHOLIPID
                              COMPRISES FROM 4 MOL% TO 10 MOL% OF THE TOTAL
                              LIPID PRESENT IN THE PARTICLE AND THE
                              CHOLESTEROL OR DERIVATIVE THEREOF COMPRISES
                              FROM 30 MOL% TO 40 MOL% OF THE TOTAL LIPID
                              PRESENT IN THE PARTICLE

         Patent Owner’s prior disclosures teach that the non-cationic lipids may

   include a phospholipid and cholesterol. Ex. 1003, [0089]; Ex. 1004, [0159]. “The

   non-cationic lipid typically comprises … preferably from about 20% to about 85%

   of the total lipid present in said particle … If present … preferably the cholesterol

   comprises from about 20% to about 45% of the total lipid.” Ex. 1003, [0091]; Ex.

   1004, [0152] (overlapping range). Patent Owner’s prior disclosures disclose that

   “[d]epending on the intended use of the nucleic acid-lipid particles, the proportions

   of the components are varied ….” Ex. 1003, [0088]; Ex. 1004, [0152]. In addition,

   Patent Owner’s prior disclosures incorporate by reference (’196 PCT) or directly

   reference (’189 publication) the ’618 patent, which discloses a nucleic acid-lipid

   complex with 56% cationic lipid, 14% phospholipid and 30% cholesterol. Ex. 1017,

   34:54-35:23.



                                            - 38 -                               JA003130
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 584 of 910 PageID #: 10164

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

         Not only do the disclosed ranges encompass the claimed ranges, when

   combined with a cationic lipid proportion at the high end of the disclosed range (i.e.,

   60%), the available range for cholesterol is decreased to 20-40%. Janoff, ¶119. The

   range for the other non-cationic lipid (e.g., a phospholipid) is also decreased to the

   portion not filled with cholesterol (or PEG conjugate as described below in Claim

   1(e)), namely 0%-19.5%. Id. The following table compares the claimed and

   disclosed lipid component percentages under this scenario:

                             Cationic Lipid    Cholesterol   Phospholipid        PEG

    ’069 claims              50-65%            30-40%        4-10%               0.5-2%

    Prior disclosures        60%               20-40%        0-19.5%             0.5-25%



   Given the breadth of the claimed ranges for the phospholipid and cholesterol, these

   disclosures are sufficiently specific to anticipate the claimed ranges. Id.

         Given the explicit disclosure of encompassing ranges, this limitation is prima

   facie obvious and, as discussed above, the testing in the ’069 patent does not support

   alleged unexpected results for the claimed ranges. Janoff, ¶119.

                        e)     CLAIM 1(E): A CONJUGATED LIPID THAT INHIBITS
                               AGGREGATION OF PARTICLES COMPRISING FROM 0.5
                               MOL% TO 2 MOL% OF THE TOTAL LIPID PRESENT IN
                               THE PARTICLE

         Patent Owner’s prior disclosures teach that “[t]he SNALP further comprises

   a bilayer stabilizing component (BSC). …. [T]he BSC is a conjugated lipid that



                                              - 39 -                              JA003131
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 585 of 910 PageID #: 10165

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   inhibits aggregation of the SNALPs … present from about 0.5% to about 25% of the

   total lipid ….” Ex. 1003, [0092-0093]; Ex. 1004, [0152] (overlapping range). Patent

   Owner’s prior disclosures disclose that “[d]epending on the intended use of the

   nucleic acid-lipid particles, the proportions of the components are varied ….” Ex.

   1003, [0088]; Ex. 1004, [0152]. “By controlling the composition and concentration

   of the bilayer stabilizing component, one can control … the rate at which the

   liposome becomes fusogenic,” impacting the transfection efficiency. Ex. 1003,

   [0094]; Ex. 1004, [0095]. Given the breadth of the claimed range for the conjugated

   lipid, these disclosures are sufficiently specific to anticipate the claimed range.

   Janoff, ¶120.

         This limitation would have been obvious in view of Patent Owner’s prior

   disclosures in light of the knowledge of a POSITA. A POSITA would have been

   aware that conjugated lipids stabilize carrier particles by inhibiting fusogenicity. Id.,

   ¶121. It would have been obvious for a POSITA to try to increase fusogenicity, and

   hence potentially transfection efficiency, by choosing a proportion of conjugated

   lipid in the 0.5%-2% range. Id.

         Given the explicit disclosure of encompassing ranges, this limitation is prima

   facie obvious and, as discussed above, the testing in the ’069 patent does not support

   alleged unexpected results for the claimed ranges. Janoff, ¶121.




                                            - 40 -                               JA003132
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 586 of 910 PageID #: 10166

   IPR Case No. Unassigned                                  U.S. Patent No. 8,058,069

               2.     CLAIM 2: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                      WHEREIN THE NUCLEIC ACID COMPRISES A SMALL
                      INTERFEREING RNA (SIRNA)

         Patent Owner’s prior disclosures teach “the present invention is directed to

   using a small interfering RNA (siRNA) encapsulated in a serum-stable lipid particle

   having a small diameter suitable for systemic delivery.” Ex. 1003, [0002]; Ex. 1004,

   [148] (siRNA); Janoff, ¶122.

               3.     CLAIM 3: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                      WHEREIN THE SIRNA COMPRISES FROM ABOUT 15 TO ABOUT
                      60 NUCLEOTIDES
         Patent Owner’s prior disclosures teach “[t]he siRNA molecule may comprise

   about 15 to about 60 nucleotides.” Ex. 1003, [0011]; Ex. 1004, [0021]; Janoff, ¶123.

               4.     CLAIM 4: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                      WHEREIN THE SIRNA COMPRISES AT LEAST ONE MODIFIED
                      NUCLEOTIDE

         Patent Owner’s prior disclosures teach “a particular nucleic acid sequence

   also implicitly encompasses conservatively modified variants thereof (e.g.,

   degenerate codon substitutions), alleles, orthologs, SNPs, and complementary

   sequences as well as the sequence explicitly indicated.” Ex. 1003, [0062]; Ex. 1004,

   [0099]. Patent Owner’s prior disclosures further teach that the term “nucleic acid”

   “encompasses nucleic acids containing … modified backbone residues or linkages,

   which are synthetic, naturally occurring, and non-naturally occurring ….” Ex. 1003,

   [0076]; Ex. 1004, [0272] (modified siRNA); Janoff, ¶124.




                                          - 41 -                             JA003133
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 587 of 910 PageID #: 10167

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

                 5.     CLAIM 5: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                        WHEREIN THE SIRNA COMPRISES AT LEAST ONE 2’-O-METHYL
                        (2’OME) NUCLEOTIDE

           Patent Owner’s prior disclosures teach that the term “nucleic acid”

   “encompasses nucleic acids containing … modified backbone residues or linkages,

   which are synthetic, naturally occurring, and non-naturally occurring …. Examples

   of such analogs include, without limitation … 2-O-methyl ribonucleotides ….” Ex.

   1003, [0076]; Ex. 1004, [0129]. A 2-O-methyl ribonucleotide is a 2’-O-methyl

   nucleotide. Janoff, ¶125.

                 6.    CLAIM 6: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                       WHEREIN SAID SIRNA IS ABOUT 19 TO ABOUT 25 BASE PAIRS IN
                        LENGTH

           Patent Owner’s prior disclosures teach “siRNA … of about … 19-25 (duplex)

   nucleotides in length.” Ex. 1003, [0065]; Ex. 1004, [0057]; Janoff, ¶126.

                 7.     CLAIM 7: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                        WHEREIN SAID SIRNA COMPRISES 3’ OVERHANGS

           Patent Owner’s prior disclosures teach that “siRNA duplexes may comprise

   3’ overhangs of about 1 to about 4 nucleotides, preferably of about 2 to about 3

   nucleotides and 5’ phosphate termini.” Ex. 1003, [0065]; Ex. 1004, [0057]; Janoff,

   ¶127.

                 8.     CLAIM 8: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                        WHEREIN THE CATIONIC LIPID COMPRISES FROM 52 MOL% TO
                        62 MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE
           See Claim 1(c). For the reasons stated above, Patent Owner’s prior disclosures




                                            - 42 -                             JA003134
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 588 of 910 PageID #: 10168

   IPR Case No. Unassigned                                 U.S. Patent No. 8,058,069

   disclose this range with sufficient specificity to anticipate.      Janoff, ¶128.

   Overlapping ranges of this narrower range also renders this limitation prima facie

   obvious. Id.

                  9.    CLAIM 9: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                        WHEREIN THE PHOSPHOLIPID COMPRISES
                        DIPALMITOYLPHOSPHATIDYLCHOLINE (DPPC),
                        DISTEAROYLPHOSPHATIDYLCHOLINE (DSPC), OR A MIXTURE
                        THEREOF

         Patent Owner’s prior disclosures teach that “[e]xamples of noncationic lipids

   useful in the present invention include: phospholipid-related materials, such as …

   DSPC … DPPC ….” Ex. 1003, [0089]; Ex. 1004, [0159]. Patent Owner’s prior

   disclosures also teach using more than one phospholipid. Ex. 1003, [0128]; Ex.

   1004, [0159]; Janoff, ¶129.

                  10.   CLAIM 10: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                        WHEREIN THE CONJUGATED LIPID THAT INHIBITS
                        AGGREGATION OF PARTICLES COMPRISES A
                        POLYETHYLENEGLYCOL (PEG)-LIPID CONJUGATE

         Patent Owner’s prior disclosures teach that “[b]ilayer stabilizing components

   include, but are not limited to, conjugated lipids that inhibit aggregation of the

   SNALPs, polyamide oligomers (e.g., ATTA-lipid derivatives), peptides, proteins,

   detergents, lipid-derivatives, PEG-lipid derivatives ….” Ex. 1003, [0052], see also

   [0013]; Ex. 1004, [0088]; Janoff, ¶130.




                                         - 43 -                             JA003135
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 589 of 910 PageID #: 10169

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

                  11.   CLAIM 11: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 10,
                        WHEREIN THE PEG-LIPID CONJUGATE COMPRISES A PEG-
                        DIACYLGLYCEROL (PEG-DAG) CONJUGATE, A PEG-
                        DIALKYLOXYPROPYL (PEG-DAA) CONJUGATE, OR A MIXTURE
                        THEREOF

         Patent Owner’s prior disclosures teach that “[t]he PEG-lipid conjugate may

   be one or more of a PEG-dialkyloxypropyl (DAA), a PEG-diacylglycerol (DAG) …

   and combinations thereof.” Ex. 1003, [0013]; Ex. 1004, [0088]; Janoff, ¶131.

                  12.   CLAIM 12: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 11,
                        WHEREIN THE PEG-DAA CONJUGATE COMPRISES A PEG-
                        DIMYRISTYLOXYPROPYL (PEG-DMA) CONJUGATE, A PEG-
                        DISTEARYLOXYPROPYL (PEG-DSA) CONJUGATE, OR A
                        MIXTURE THEREOF

         Patent     Owner’s   prior   disclosures   teach   “three   exemplary    PEG-

   dialkyloxypropyl derivatives suitable for use in the present invention … PEG-C-

   DMA … PEG-A-DMA … and … PEG-S-DMA.” Ex. 1003, [0031]; Ex. 1004,

   [0292] (PEG-DMA). Patent Owner’s prior disclosures teach “[o]ther PEG DAAs

   suitable for use in the present invention can be synthesized using similar protocols.

   For instance, PEG-A-DSA and PEG-C-DSA can be synthesized ….” Ex. 1003,

   [0242]; Janoff, ¶132.

                  13.   CLAIM 13: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 12,
                        WHEREIN THE PEG HAS AN AVERAGE MOLECULAR WEIGHT OF
                        ABOUT 2,000 DALTONS

         Patent Owner’s prior disclosures teach “[i]n a preferred embodiment, the PEG

   has an average molecular weight of from about 1000 to about 5000 daltons, more

   preferably, from about 1,000 to about 3,000 daltons and, even more preferably, of



                                          - 44 -                              JA003136
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 590 of 910 PageID #: 10170

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   about 2,000 daltons.” Ex. 1003, [0097]; Ex. 1004, [0083]; Janoff, ¶133.

                 14.   CLAIM 14: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 10,
                       WHEREIN THE NUCLEIC ACID-LIPID PARTICLE COMPRISES
                       ABOUT 57.1 MOL% CATIONIC LIPID, ABOUT 7.1 MOL%
                       PHOSPHOLIPID, ABOUT 34.3 MOL% CHOLESTEROL OR A
                       DERIVATIVE THEREOF, AND ABOUT 1.4 MOL% PEG-LIPID
                       CONJUGATE

           It is unclear from the ’069 patent specification what “comprises … about…”

   encompasses in the identified claim. The specification is silent on the meaning of

   the term “about” in this context. Janoff, ¶134. During prosecution, the examiner

   stated in this context that “‘comprising about’ could embrace an amount ±10, 20, 30

   mol% of a lipid component.”          Ex. 1016, 5/12/11 Rejection, 2.        Using this

   construction, the claim is invalid for the reasons presented above for Claim 1. Janoff,

   ¶134.

                 15.   CLAIM 15: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE CONJUGATED LIPID THAT INHIBITS
                       AGGREGATION OF PARTICLE COMPRISES FROM 1 MOL% TO 2
                       MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE

           See Claim 1(e). For the reasons stated above, the Patent Owner’s prior

   disclosures disclose this range with sufficient specificity to anticipate. Janoff, ¶135.

   In the alternative, this range is obvious given the overlapping range in Patent

   Owner’s prior disclosures. Id.




                                            - 45 -                              JA003137
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 591 of 910 PageID #: 10171

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

                 16.   CLAIM 16: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE NUCLEIC ACID IN THE NUCLEIC ACID-LIPID
                       PARTICLE IS NOT SUBSTANTIALLY DEGRADED AFTER
                       INCUBATION OF THE PARTICLE IN SERUM AT 37°C FOR 30
                       MINUTES

           Patent Owner’s prior disclosures teach “[i]n some embodiments … the nucleic

   acid in the nucleic acid-lipid particle is resistant in aqueous solution to degradation

   by a nuclease.”     Ex. 1003, [0011]; Ex. 1004, [0076].        Patent Owner’s prior

   disclosures teach “‘[s]erum-stable’ in relation to nucleic acid-lipid particles means

   that the particle is not significantly degraded after exposure to a serum or nuclease

   assay that would significantly degrade free DNA.” Ex. 1003, [0082]; Ex. 1004,

   [0105]. Patent Owner’s prior disclosures teach “[s]amples are incubated at 37°C for

   30 min ….” Ex. 1003, [0204]; Ex. 1004, [0291-0292] (incubated). Given these

   disclosures, a POSITA would have understood the limitation to be disclosed. Janoff,

   ¶136.

           In the alternative, this limitation would have been obvious in view of Patent

   Owner’s prior disclosures in light of the knowledge of a POSITA. A POSITA would

   have been aware that the disclosed sample incubation parameters could have been

   used to establish serum stability as disclosed in Patent Owner’s prior disclosures.

   Id., ¶137. It would have been obvious to incubate samples at 37°C for 30 min to

   establish serum stability. Id.




                                           - 46 -                              JA003138
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 592 of 910 PageID #: 10172

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

                17.   CLAIM 17: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                      WHEREIN THE NUCLEIC ACID IS FULLY ENCAPSULATED IN THE
                      NUCLEIC ACID-LIPID PARTICLE

         Patent Owner’s prior disclosures teach “[i]n some embodiments, the siRNA

   molecule is fully encapsulated within the lipid bilayer of the nucleic acid-lipid

   particle such that the nucleic acid in the nucleic acid-lipid particle is resistant in

   aqueous solution to degradation by a nuclease.” Ex. 1003, [0011]; Ex. 1004, [0151];

   Janoff, ¶138.

                18.   CLAIM 18: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                      WHEREIN THE NUCLEIC ACID-LIPID PARTICLE HAS A
                      LIPID:NUCLEIC ACID MASS RATIO OF FROM ABOUT 5 TO ABOUT
                      15
         Patent Owner’s prior disclosures teach “the nucleic acid to lipid ratios

   (mass/mass ratios) in a formed SNALP will range from about 0.01 to about 0.08 …

   and, more preferably, about 0.04 ….” Ex. 1003, [0127]; Ex. 1004, [0198]. This

   corresponds to a lipid:nucleic acid mass ratio of 12.5 to 100. Janoff, ¶139. Given

   the breadth of the claimed range, these disclosures are sufficiently specific to

   anticipate the claimed range. Id.

         This limitation would have been obvious in view of Patent Owner’s prior

   disclosures in light of the knowledge of a POSITA. Id., ¶140. A POSITA would

   have been aware that the total mass of the lipid frequently needs to exceed the mass

   of the nucleic acid to ensure that the negative charge on the nucleic acid is overcome

   by the positive cationic lipid charge. Moreover, given the explicit disclosure of an



                                           - 47 -                             JA003139
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 593 of 910 PageID #: 10173

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   overlapping range, this limitation is obvious. Janoff, ¶140.

                19.    CLAIM 19: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE NUCLEIC ACID-LIPID PARTICLE HAS A MEDIAN
                       DIAMETER OF FROM ABOUT 40 NM TO ABOUT 150 NM

         Patent Owner’s prior disclosures teach “[t]he SNALPs made by the methods

   of this invention are typically about 50 to about 150 nm in diameter.” Ex. 1003,

   [0120], [0139]; Ex. 1004, [0201]. Given the breadth of the claimed range, this

   disclosure is sufficiently specific to anticipate the claimed range. Janoff, ¶141.

         Given the explicit disclosure of an overlapping range, this limitation is

   obvious and, as discussed above, the testing in the ’069 patent does not support

   alleged unexpected results for the claimed ranges. Janoff, ¶141.

                20.    CLAIM 20: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE PHOSPHOLIPID COMPRISES FROM 5 MOL% TO 9
                       MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE

         See Claim 1(d).       For the reasons stated above, Patent Owner’s prior

   disclosures disclose this range with sufficient specificity to anticipate. Janoff, ¶142.

   In the alternative, this range is prima facie obvious given the overlapping range in

   Patent Owner’s prior disclosures. Id.

                21.    CLAIM 21: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE CHOLESTEROL OR DERIVATIVE THEREOF
                       COMPRISES FROM 32 MOL% TO 36 MOL% OF THE TOTAL LIPID
                       PRESENT IN THE PARTICLE

         See Claim 1(d).       For the reasons stated above, Patent Owner’s prior

   disclosures disclose this range with sufficient specificity to anticipate. Janoff, ¶143.




                                            - 48 -                              JA003140
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 594 of 910 PageID #: 10174

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   In the alternative, this range is prima facie obvious given the overlapping range in

   Patent Owner’s prior disclosures. Id.

                22.   CLAIM 22: A PHARMACEUTICAL COMPOSITION COMPRISING A
                      NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1 AND A
                      PHARMACEUTICALLY ACCEPTABLE CARRIER

         Patent Owner’s prior disclosures teach “[t]he invention also provides for

   pharmaceutically acceptable compositions comprising a nucleic acid-lipid particle.”

   Ex. 1003, [0019]; Ex. 1004, [0018]; Janoff, ¶144.

         B.     GROUND 2: CLAIMS 1-22 ARE OBVIOUS IN VIEW OF PATENT OWNER’S
                PRIOR DISCLOSURES IN LIGHT OF LIN AND AHMAD

         Claims 1-22 of the ’069 patent are obvious under 35 U.S.C. § 103 in view of

   Patent Owner’s prior disclosures in light of Lin and Ahmad. Claims 1-22 are

   disclosed by Patent Owner’s prior disclosures as discussed in Ground 1 above. To

   the extent that those disclosures alone are determined not to disclose a proportion of

   cationic lipid in the 50%-65% range, a POSITA would have understood from Lin

   and Ahmad that such proportions of cationic lipid may increase transfection efficacy

   and would have been motivated to combine those disclosures with the system

   disclosed in the ’196 PCT and ’189 publication with a reasonable expectation of

   success. Janoff, ¶145.

                1.    CLAIM 1(C): A CATIONIC LIPID COMPRISING FROM 50 MOL%
                      TO 65 MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE

         To the extent that Patent Owner’s prior disclosures are determined not to

   disclose the claimed range for cationic lipids, this limitation would have been



                                           - 49 -                             JA003141
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 595 of 910 PageID #: 10175

   IPR Case No. Unassigned                                       U.S. Patent No. 8,058,069

   obvious in view of Lin and Ahmad.

          As discussed above, a POSITA would understand the testing of Lin to suggest

   that the cationic lipid mol% of nucleic acid-lipid particles can impact transfection

   efficiency and that for certain cationic lipid components a mol% greater than 50%

   may increase the transfection efficiency of the carrier particles. Ex. 1006, Fig. 4(a);

   Janoff, ¶146. While Lin acknowledges the complicated nature of maximizing

   transfection efficiencies, a particular cationic lipid tested in Lin (DOTAP) is

   specifically identified as a potential cationic lipid that can be used in the system

   claimed in the ’069 patent. Ex. 1001, 18:5. Similarly the helper lipid in Lin, DOPC,

   is disclosed for use in the ’069 patent. Id., 57:60. A POSITA would understand the

   testing of Lin to suggest that the mol% of cationic lipid in nucleic acid-lipid particles

   using DOTAP/DOPC can impact transfection efficiency, and that for certain cationic

   lipids (e.g., DOTAP) in systems with DOPC, transfection efficiency might continue

   to improve at a mol% above 50 percent. Janoff, ¶105 (another example in overlap

   is the DMRIE/DOPC formulations).

          It would have been obvious for a POSITA to combine the disclosed ranges in

   either the ’196 PCT or ’189 publication with the teachings of Lin to increase the

   cationic lipid to the 50%-65% range in order to potentially increase the transfection

   efficiency. Janoff, ¶146. Lin tested helper lipids and cationic lipids to create carrier

   particles for nucleic acids, i.e., “nucleic acid-lipid particles,” the same general carrier




                                             - 50 -                                JA003142
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 596 of 910 PageID #: 10176

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   particles described in Patent Owner’s prior disclosures. The goal of Lin was to

   increase transfection efficiency in in vitro applications by varying different

   parameters in cationic liposome, including the mol% of cationic lipid. Ex. 1006,

   3307. Similarly, the ’196 PCT and ’189 publication both concern “efficiently deliver

   administer siRNA molecules” (Ex. 1003, [0045]; see also Ex. 1004, [0118]) in in

   vitro and ex vivo applications (Ex. 1003, [0017]; Ex. 1004, [0016]).

         Patent Owner’s prior disclosures specifically disclose cationic lipid

   proportions up to 60% and state that “[d]epending on the intended use of the nucleic

   acid-lipid particles, the proportions of the components are varied ….” See, e.g., Ex.

   1003, [0088]; see also Ex. 1004 [0152]. These disclosures also stress the importance

   of “efficiently deliver administer siRNA molecules.” Ex. 1003, [0045]; see also Ex.

   1004, [0118]. A POSITA would have looked to the prior art, including Lin, in order

   to determine the most appropriate proportions of, e.g., cationic lipid. Janoff, ¶148.

   Given the success of generating nucleic acid-lipid particles with a cationic lipid

   proportion greater than 50% as described in Patent Owner’s prior disclosures, a

   POSITA would have appreciated a reasonable expectation of doing so. Id.

         A POSITA would understand the testing of Ahmad to support the proposition

   that for certain formulations, cationic lipids can increase transfection efficiency

   when they are incorporated above 50 mol%. Id.; Ex. 1007, 739-40; Fig. 3(a). In

   these formulations, transfection efficiency was reported to decrease above a certain




                                          - 51 -                              JA003143
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 597 of 910 PageID #: 10177

   IPR Case No. Unassigned                                       U.S. Patent No. 8,058,069

   mol% cationic lipid (e.g., around 70%). Ex. 1007, 739-40; Fig. 3(a). This was

   specifically applicable to formulations including DOTAP (also identified as a

   potential cationic lipid for use in the ’069 patent) as well as for various “multivalent

   lipids.” The ’069 patent specifically discloses using multivalent lipids such as

   DOSPA and DOGS (18:10-11).

          It would have been obvious for a POSITA to combine the disclosed ranges in

   either the ’196 PCT or ’189 publication with the teachings of Ahmad to increase the

   cationic lipid to the 50%-65% range in order to potentially increase the transfection

   efficiency. Janoff, ¶147. Ahmad tested helper lipids and cationic lipids to create

   carrier particles for nucleic acids, i.e., “nucleic acid-lipid particles,” the same general

   carrier particles described in Patent Owner’s prior disclosures. Ahmad’s goal was

   similarly to “identify the interactions between the CL-DNA complexes and the cells

   along the transfection pathway to overcome the biological impediments to optimal

   transfection” in in vitro applications.        Ex. 1007, 740, 747 (“The presented

   transfection optimization strategy is directly relevant for gene therapy using ex vivo

   methods ….”).       Similarly, the ’196 PCT and ’189 publication both concern

   “efficiently deliver administer siRNA molecules” (Ex. 1003, [0045]; see also Ex.

   1004, [0118]) in in vitro and ex vivo applications (Ex. 1003, [0017]; Ex. 1004,

   [0016]).

         Patent Owner’s prior disclosures specifically disclose cationic lipid




                                             - 52 -                                JA003144
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 598 of 910 PageID #: 10178

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   proportions up to 60% and state that “[d]epending on the intended use of the nucleic

   acid-lipid particles, the proportions of the components are varied ….” See, e.g., Ex.

   1003, [0088]; see also Ex. 1004 [0152]. These disclosures also stress the importance

   of “efficiently deliver administer siRNA molecules.” Ex. 1003, [0045]; see also Ex.

   1004, [0118]. A POSITA would have looked to the prior art, including Ahmad, in

   order to determine the most appropriate proportions of, e.g., cationic lipid. Janoff,

   ¶148. Given the success of generating nucleic acid-lipid particles with a cationic

   lipid proportion greater than 50% as described in Patent Owner’s prior disclosures,

   a POSITA would have appreciated a reasonable expectation of doing so. Id.

         It would have been obvious for a POSITA to combine the disclosures in Lin

   and Ahmad. Four of the authors in the references overlap. Exs. 1006-1007. Ahmad

   builds on the work of Lin and references the findings of Lin explicitly. Ex. 1007,

   743, 747; Janoff, ¶104. Given that, a POSITA would have been motivated to

   combine the references. Id.

                2.    CLAIM 8: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                      WHEREIN THE CATIONIC LIPID COMPRISES FROM 52 MOL% TO
                      62 MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE

         See Claim 1(c). For the reasons stated above, this range is obvious in view of

   Patent Owner’s prior disclosures when combined with Lin and Ahmad. Janoff,

   ¶149. Again, Lin and Ahmad disclose that cationic mol% in the claimed range may

   increase transfection efficacy for certain lipid combinations.




                                           - 53 -                             JA003145
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 599 of 910 PageID #: 10179

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

         C.     GROUND 3: CLAIMS 1-22 ARE ANTICIPATED BY OR OBVIOUS IN VIEW
                OF THE ’554 PUBLICATION

         Claims 1-22 of the ’069 patent are anticipated under 35 U.S.C. § 102(b) (pre-

   AIA) or obvious under 35 U.S.C. § 103 in view of the ’554 publication. While the

   ’554 publication does not disclose the exact same ranges of lipid components from

   claim 1 of the ’069 patent explicitly, it discloses encompassing and overlapping

   ranges with sufficient specificity to anticipate.   Janoff, ¶150.    Moreover, the

   disclosed ranges establish obviousness and the testing in the ’069 patent does not

   support alleged unexpected results for the claimed ranges. Id.

                1.     CLAIM 1

                       a)       CLAIM 1(A): A NUCLEIC ACID-LIPID PARTICLE
                                COMPRISING:

         The ’554 publication teaches “novel cationic lipids … and formulations

   thereof with biologically active molecules.” Ex. 1005, [0019]. As one example,

   “the invention features a composition comprising a biologically active molecule

   (e.g., a polynucleotide such as a siNA, … [or] other nucleic acid molecule …), a

   cationic lipid, a neutral lipid, and a polyethyleneglycol conjugate, such as a PEG-

   diacylglycerol, PEG-diacylglycamide, PEG-cholesterol, or PEG-DMB conjugate.”

   Id., [0082]; Janoff, ¶151.

                       b)       CLAIM 1(B): A NUCLEIC ACID

         The ’554 publication teaches “compositions … with biologically active

   molecules” including “nucleic acids.” Ex. 1005, [0018-0019]. As one example, “the



                                           - 54 -                           JA003146
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 600 of 910 PageID #: 10180

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   invention features a composition comprising a biologically active molecule (e.g., a

   polynucleotide such as a siNA, antisense, aptamer, decoy, ribozyme, 2-5A, triplex

   forming oligonucleotide, [or] other nucleic acid molecule …).” Id., [0082]; Janoff,

   ¶152.

                       c)     CLAIM 1(C): A CATIONIC LIPID COMPRISING FROM 50
                              MOL% TO 65 MOL% OF THE TOTAL LIPID PRESENT IN
                              THE PARTICLE

           The ’554 publication teaches “[c]ationic lipids that are useful in the present

   invention can be any of a number of lipid species which carry a net positive charge

   at a selected pH, such as physiological pH.” Ex. 1005, [0454]; Janoff, ¶153. “[T]he

   cationic lipid component … comprises from about 2% to about 60% … or from

   about 40% to about 50% of the total lipid ….” Ex. 1005, [0116]. In addition, the

   ’554 publication also includes various specific formulations which include 50% or

   greater cationic lipid. Id., Table 4 (e.g., L054, L097, L109 (50% cationic lipid),

   L060-061, L098-103, L114, L116-117 (52%)).

           The ’554 publication also teaches particles “can transition from a stable

   lamellar structure adopted in circulation (i.e., in plasma or serum) at physiologic pH

   (about pH 7.4) to a less stable and more efficient delivery composition having an

   inverted hexagonal structure at pH 5.5-6.5, which is the pH found in the early

   endosome.” Id., [0137]. The cationic lipid is the active component in such the pH-

   dependent nucleic acid-lipid particles:      “[s]uitable cationic lipid include those




                                            - 55 -                             JA003147
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 601 of 910 PageID #: 10181

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   cationic lipids which carry a net negative [sic] charge at a selected pH ….” Id.,

   [0083] (should refer to a net “positive” charge). A POSITA would understand that

   increasing the mol% of a cationic lipid with pH sensitivity in these particles might

   increase transfection efficiency since this event is fusion related and thought to occur

   as a result of the described phase shift. Janoff, ¶154.

          Given the breadth of the claimed range, these disclosures are sufficiently

   specific to anticipate the claimed range. Id., ¶155. For example, not only does the

   disclosed range substantially overlap with the claimed range, a preferred

   embodiment in the reference recites a narrower range that also partially overlaps and

   specific examples are provided within the claimed range for this lipid component.

   Id. In addition, a POSITA would be compelled to choose cationic lipid proportions

   at the top end of the recited range to increase the efficiency of the described phase

   shift. Id.

          Additionally, the disclosed ranges establish prima facie obviousness which

   creates a presumption of obviousness. E.I. Dupont, No. 2017-1977, slip op. at *18-

   20; Janoff, ¶156. As discussed above, the testing in the ’069 patent does not support

   alleged unexpected results for the claimed ranges. Id.




                                            - 56 -                              JA003148
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 602 of 910 PageID #: 10182

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

                      d)     CLAIM 1(D): A NON-CATIONIC LIPID COMPRISING A
                             MIXTURE OF A PHOSPHOLIPID AND CHOLESTEROL OR A
                             DERIVATIVE THEREOF, WHEREIN THE PHOSPHOLIPID
                             COMPRISES FROM 4 MOL% TO 10 MOL% OF THE TOTAL
                             LIPID PRESENT IN THE PARTICLE AND THE
                             CHOLESTEROL OR DERIVATIVE THEREOF COMPRISES
                             FROM 30 MOL% TO 40 MOL% OF THE TOTAL LIPID
                             PRESENT IN THE PARTICLE

         The ’554 publication teaches “[t]he noncationic lipids used in the present

   invention can be any of a variety of neutral uncharged, zwitterionic or anionic lipids

   capable of producing a stable complex.” Ex. 1005, [0455]. Neutral lipids are

   defined as “any lipophilic compound having non-cationic charge (e.g., anionic or

   neutral charge).” Id., [0315]. “[T]he neutral lipid component … comprises … from

   about 20% to about 85% of the total lipid present in the formulation … the

   cholesterol component … comprises … from about 20% to about 45% of the total

   lipid present.” Id., [0313]. In addition, the ’554 publication also includes various

   specific formulations which include cholesterol at a 30% proportion. Id., Table 4

   (e.g., L106). Not only do the disclosed ranges encompass the claimed ranges, when

   the cationic lipid proportion is set at the maximum disclosed (i.e., 60%), the ’554

   publication discloses the remaining 40% can be made up of cholesterol at 20-40%.

   Id., [0313]. When the cholesterol is less than the full remaining 40%, another non-

   cationic lipid (e.g., a phospholipid) may be added at up to 20% (unless a PEG

   conjugate is also added as described below for Claim 1(e), in which case this

   percentage is adjusted accordingly). Id. The following table compares the claimed



                                           - 57 -                             JA003149
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 603 of 910 PageID #: 10183

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   and disclosed lipid component percentages under this scenario:

                            Cationic Lipid    Cholesterol   Phospholipid     PEG

    ’069 claims             50-65%            30-40%        4-10%            0.5-2%

    ’554 publication        60%               20-40%        0-19%            1-20%



   Given the breadth of the claimed ranges for the phospholipid and cholesterol, these

   disclosures are sufficiently specific to anticipate the claimed ranges. Janoff, ¶157.

         Given the explicit disclosure of encompassing ranges, this limitation is

   obvious and, as discussed above, the testing in the ’069 patent does not support

   alleged unexpected results for the claimed ranges. Janoff, ¶158.

                       e)     CLAIM 1(E): A CONJUGATED LIPID THAT INHIBITS
                              AGGREGATION OF PARTICLES COMPRISING FROM 0.5
                              MOL% TO 2 MOL% OF THE TOTAL LIPID PRESENT IN
                              THE PARTICLE.

         The ’554 publication teaches “[i]n addition to cationic and neutral lipids, the

   formulated molecular compositions of the present invention comprise a

   polyethyleneglycol (PEG) conjugate.” Ex. 1005, [0457]. The ’554 publication

   further teaches “[i]t is often desirable to include other components that act in a

   manner similar to the DAG-PEG conjugates and that serve to prevent particle

   aggregation ….” Id., [0504]. “[T]he PEG conjugate … comprises from about 1%

   to about 20% … of the total lipid present.” Id., [0118]. Given the breadth of the

   claimed range for the conjugated lipid, these disclosures are sufficiently specific to



                                             - 58 -                            JA003150
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 604 of 910 PageID #: 10184

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   anticipate the claimed range. Janoff, ¶159.

         This limitation would have been obvious in view of the ’554 publication in

   light of the knowledge of a POSITA. A POSITA would have been aware that

   conjugated lipids stabilize carrier particles by inhibiting fusogenicity. Id., ¶160. It

   would have been obvious for a POSITA to try to increase the fusogenicity, and hence

   potentially the transfection efficiency, by choosing a proportion of conjugated lipid

   in the 0.5%-2% range. Id. Moreover, given the explicit disclosure of encompassing

   ranges, this limitation is obvious and, as discussed above, the testing in the ’069

   patent does not support alleged unexpected results for the claimed ranges. Id., ¶160.

                2.     CLAIM 2: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE NUCLEIC ACID COMPRISES A SMALL
                       INTERFEREING RNA (SIRNA)

         The ’554 publication teaches “formulations for the delivery of chemically-

   modified synthetic short interfering nucleic acid (siNA) molecules that modulate

   target gene expression or activity in cells, tissues, such as in a subject or organism,

   by RNA interference (RNAi).” Ex. 1005, [0020]; Janoff, ¶161.

                3.     CLAIM 3: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                       WHEREIN THE SIRNA COMPRISES FROM ABOUT 15 TO ABOUT
                       60 NUCLEOTIDES

         The ’554 publication teaches “[t]he siNA can be, for example, about 15 to

   about 40 nucleotides in length” or “about 38 to about 70 … nucleotides in length.”

   Ex. 1005, [0209], [0240]. Given the breadth of the claimed range, these disclosures

   are sufficiently specific to anticipate the claimed range. Janoff, ¶162.


                                           - 59 -                              JA003151
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 605 of 910 PageID #: 10185

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

         Given the explicit disclosure of encompassing ranges, this limitation is

   obvious. Janoff, ¶162.

                4.     CLAIM 4: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                       WHEREIN THE SIRNA COMPRISES AT LEAST ONE MODIFIED
                       NUCLEOTIDE

         The ’554 publication teaches “the siNA component of a formulated siNA

   composition of the invention is chemically modified so as not to stimulate an

   interferon response in a mammalian cell, subject, or organism.” Ex. 1005, [0102];

   Janoff, ¶163.

                5.     CLAIM 5: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                       WHEREIN THE SIRNA COMPRISES AT LEAST ONE 2’-O-METHYL
                       (2’OME) NUCLEOTIDE

         The ’554 publication teaches “examples of such chemical modifications

   include without limitation … 2′-O-methyl ribonucleotides ….” Ex. 1005, [0194];

   Janoff, ¶164.

                6.     CLAIM 6: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                       WHEREIN SAID SIRNA IS ABOUT 19 TO ABOUT 25 BASE PAIRS IN
                       LENGTH

         The ’554 publication teaches “the invention features a formulated siNA

   composition comprising a short interfering nucleic acid (siNA) molecule that down-

   regulates expression of a target gene, wherein said siNA molecule comprises about

   15 to about 28 base pairs.” Ex. 1005, [0178]. Given the breadth of the claimed

   range, these disclosures are sufficiently specific to anticipate the claimed range. Id.

   Given the explicit disclosure of encompassing ranges, this limitation is obvious.



                                           - 60 -                              JA003152
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 606 of 910 PageID #: 10186

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   Janoff, ¶165.

                7.     CLAIM 7: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 2,
                       WHEREIN SAID SIRNA COMPRISES 3’ OVERHANGS

         The ’554 publication teaches “siNA molecules of the invention comprise

   duplex nucleic acid molecules with overhanging ends of about 1 to about 3 (e.g.,

   about 1, 2, or 3) nucleotides, for example, about 21-nucleotide duplexes with about

   19 base pairs and 3′-terminal mononucleotide, dinucleotide, or trinucleotide

   overhangs.” Ex. 1005, [0193]; Janoff, ¶166.

                8.     CLAIM 8: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE CATIONIC LIPID COMPRISES FROM 52 MOL% TO
                       62 MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE
         See Claim 1(c). For the reasons stated above, the ’554 publication discloses

   this range with sufficient specificity to anticipate. Janoff, ¶167. In the alternative,

   this range is obvious given the overlapping range in the ’554 publication. Id.

                9.     CLAIM 9: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE PHOSPHOLIPID COMPRISES
                       DIPALMITOYLPHOSPHATIDYLCHOLINE (DPPC),
                       DISTEAROYLPHOSPHATIDYLCHOLINE (DSPC), OR A MIXTURE
                       THEREOF

         The ’554 publication teaches “suitable neutral lipids include … DSPC …

   DPPC … and/or a mixture thereof.” Ex. 1005, [0085]; Janoff, ¶168.

                10.    CLAIM 10: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE CONJUGATED LIPID THAT INHIBITS
                       AGGREGATION OF PARTICLES COMPRISES A
                       POLYETHYLENEGLYCOL (PEG)-LIPID CONJUGATE

         The ’554 publication teaches “[i]n addition to cationic and neutral lipids, the



                                           - 61 -                              JA003153
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 607 of 910 PageID #: 10187

   IPR Case No. Unassigned                                   U.S. Patent No. 8,058,069

   formulated molecular compositions of the present invention comprise a

   polyethyleneglycol (PEG) conjugate.” Ex. 1005, [0457]; Janoff, ¶169.

                11.   CLAIM 11: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 10,
                      WHEREIN THE PEG-LIPID CONJUGATE COMPRISES A PEG-
                      DIACYLGLYCEROL (PEG-DAG) CONJUGATE, A PEG-
                      DIALKYLOXYPROPYL (PEG-DAA) CONJUGATE, OR A MIXTURE
                      THEREOF

         The ’554 publication teaches “[s]uitable polyethyleneglycol-diacylglycerol or

   polyethyleneglycol-diacylglycamide (PEG-DAG) conjugates ….”               Ex. 1005,

   [0086]. Because one of the listed species of PEG-lipid conjugates is disclosed, this

   element is anticipated. Janoff, ¶170.

                12.   CLAIM 12: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 11,
                      WHEREIN THE PEG-DAA CONJUGATE COMPRISES A PEG-
                      DIMYRISTYLOXYPROPYL (PEG-DMA) CONJUGATE, A PEG-
                      DISTEARYLOXYPROPYL (PEG-DSA) CONJUGATE, OR A
                      MIXTURE THEREOF

         This limitation would have been obvious in view of the ’554 publication in

   light of the knowledge of a POSITA. Janoff, ¶171. A POSITA would have been

   aware that PEG-dialkyloxypropyl (PEG-DAA) conjugates could be used in lieu of

   PEG-diacylglycerol (PEG-DAG) conjugates and that PEG-dialkyloxypropyl (PEG-

   DAA) conjugates can comprises a PEG-dimyristyloxypropyl (PEG-DMA)

   conjugate, a PEG-distearyloxypropyl (PEG-DSA) conjugate, or a mixture thereof.

   Id., ¶171. Indeed, Patent Owner’s prior disclosures from years before the ’069 patent

   priority date address using PEG-DAA conjugates (e.g., PEG-DMA or PEG-DSA) in

   lieu of PEG-DAG conjugates. See, e.g., Ex. 1015, [0016].


                                           - 62 -                             JA003154
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 608 of 910 PageID #: 10188

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

                13.    CLAIM 13: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 12,
                       WHEREIN THE PEG HAS AN AVERAGE MOLECULAR WEIGHT OF
                       ABOUT 2,000 DALTONS

         This limitation would have been obvious in view of the ’554 publication in

   light of the knowledge of a POSITA. Janoff, ¶172. A POSITA would have been

   aware of PEG 2000 with an average molecular weight of about 2,000 daltons. Id.

   Indeed, Patent Owner’s prior disclosures from years before the ’069 patent priority

   date states: “PEGs are classified by their molecular weights; for example, PEG 2000

   has an average molecular weight of about 2,000 daltons.” See, e.g., Ex. 1015,

   [0016].

                14.    CLAIM 14: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 10,
                       WHEREIN THE NUCLEIC ACID-LIPID PARTICLE COMPRISES
                       ABOUT 57.1 MOL% CATIONIC LIPID, ABOUT 7.1 MOL%
                       PHOSPHOLIPID, ABOUT 34.3 MOL% CHOLESTEROL OR A
                       DERIVATIVE THEREOF, AND ABOUT 1.4 MOL% PEG-LIPID
                       CONJUGATE

         See Claim 1(c). Janoff, ¶173. As noted above, the “about” language in this

   limitation encompasses amounts ±10, 20, 30 mol% from the amounts listed in Claim

   14 that still fall within the ranges in Claim 1. For this reason, the claimed are invalid

   for the reasons presented above for Claim 1.

                15.    CLAIM 15: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE CONJUGATED LIPID THAT INHIBITS
                       AGGREGATION OF PARTICLE COMPRISES FROM 1 MOL% TO 2
                       MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE

         See Claim 1(e). For the reasons stated above, the ’554 publication discloses

   this range with sufficient specificity to anticipate. Janoff, ¶174. In the alternative,



                                            - 63 -                               JA003155
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 609 of 910 PageID #: 10189

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

   this range is obvious given the overlapping range in the ’554 publication. Id.

                16.    CLAIM 16: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE NUCLEIC ACID IN THE NUCLEIC ACID-LIPID
                       PARTICLE IS NOT SUBSTANTIALLY DEGRADED AFTER
                       INCUBATION OF THE PARTICLE IN SERUM AT 37°C FOR 30
                       MINUTES

         The ’554 publication teaches “[f]ormulated siNA compositions are

   complexed in EGM basal media (Bio Whittaker) at 37° C for 30 minutes in

   polystyrene tubes.” Ex. 1005, [0588]. Moreover, the ’554 publication is directed at

   “delivery agents that are serum stable, i.e. stable in circulation, that can undergo

   structural transformation, for example from lamellar phase to inverse hexagonal

   phase, under biological conditions.” Id., [0014]. Given these disclosures, a POSITA

   would have understood the limitation to be disclosed. Janoff, ¶175.

         In the alternative, this limitation would have been obvious in view of the ’554

   publication in light of the knowledge of a POSITA. A POSITA would have been

   aware that the disclosed sample incubation parameters could have been used to

   establish serum stability as disclosed in the ’554 publication. Id., ¶176. It would

   have been obvious for a POSITA to incubate samples at 37°C for 30 min to establish

   serum stability. Id.

                17.    CLAIM 17: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE NUCLEIC ACID IS FULLY ENCAPSULATED IN THE
                       NUCLEIC ACID-LIPID PARTICLE

         The ’554 publication teaches “[t]he encapsulation of anionic compounds

   using cationic lipids is essentially quantitative due to electrostatic interaction.” Ex.


                                            - 64 -                              JA003156
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 610 of 910 PageID #: 10190

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   1005, [0011]. A POSITA would understand that full encapsulation requires only an

   excess of cationic lipid with regard to the nucleic acid for electrostatic interaction.

   Janoff, ¶177.

                18.     CLAIM 18: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                        WHEREIN THE NUCLEIC ACID-LIPID PARTICLE HAS A
                        LIPID:NUCLEIC ACID MASS RATIO OF FROM ABOUT 5 TO ABOUT
                        15

         The ’554 publication teaches “the siNA to lipid ratios (mass/mass ratios) in a

   formed formulated molecular composition range from about 0.01 to about 0.08.”

   Ex. 1005, [0167]. This corresponds to a lipid:nucleic acid mass ratio of 12.5 to 100.

   Janoff, ¶178.      Given the breadth of the claimed range, these disclosures are

   sufficiently specific to anticipate the claimed range. Id., ¶178.

         This limitation would have been obvious in view of the ’196 PCT in light of

   the knowledge of a POSITA. Id., ¶179. A POSITA would have been aware that the

   total mass of the lipid frequently needs to exceed the mass of the nucleic acid to

   ensure that the negative charge on the nucleic acid is overcome by the positive

   cationic lipid charge.

         Given the explicit disclosure of an overlapping range, this limitation is

   obvious. Janoff, ¶179.

                19.     CLAIM 19: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                        WHEREIN THE NUCLEIC ACID-LIPID PARTICLE HAS A MEDIAN
                        DIAMETER OF FROM ABOUT 40 NM TO ABOUT 150 NM

         The ’554 publication teaches “[n]anoparticles of the invention typically range



                                           - 65 -                              JA003157
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 611 of 910 PageID #: 10191

   IPR Case No. Unassigned                                    U.S. Patent No. 8,058,069

   from about 1 to about 999 nm in diameter, and can include an encapsulated or

   enclosed biologically active molecule.” Ex. 1005, [0317]. In addition, the ’554

   publication teaches “[t]he formulated particles made by the methods of this

   invention have a size of about 50 to about 600 nm or more, with certain of the

   particles being about 65 to 85 nm.” Id., [0463]. Given the breadth of the claimed

   range, these disclosures are sufficiently specific to anticipate the claimed range.

   Janoff, ¶180.

         Given the explicit disclosure of an overlapping range, this limitation is

   obvious. Janoff, ¶180.

                20.    CLAIM 20: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE PHOSPHOLIPID COMPRISES FROM 5 MOL% TO 9
                       MOL% OF THE TOTAL LIPID PRESENT IN THE PARTICLE

         See Claim 1(d). For the reasons stated above, the ’554 publication discloses

   this range with sufficient specificity to anticipate. Janoff, ¶181. In the alternative,

   this range is obvious given the overlapping range in the ’554 publication. Id.

                21.    CLAIM 21: THE NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1,
                       WHEREIN THE CHOLESTEROL OR DERIVATIVE THEREOF
                       COMPRISES FROM 32 MOL% TO 36 MOL% OF THE TOTAL LIPID
                       PRESENT IN THE PARTICLE

         See Claim 1(d). For the reasons stated above, the ’554 publication discloses

   this range with sufficient specificity to anticipate. Janoff, ¶182. In the alternative,

   this range is obvious given the overlapping range in the ’554 publication. Id.




                                           - 66 -                              JA003158
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 612 of 910 PageID #: 10192

   IPR Case No. Unassigned                                 U.S. Patent No. 8,058,069

               22.   CLAIM 22: A PHARMACEUTICAL COMPOSITION COMPRISING A
                     NUCLEIC ACID-LIPID PARTICLE OF CLAIM 1 AND A
                     PHARMACEUTICALLY ACCEPTABLE CARRIER

         The ’554 publication teaches “[t]he pharmaceutical carrier is generally added

   following formulated siNA composition formation. Thus, after the formulated siNA

   composition is formed, the formulated siNA composition can be diluted into

   pharmaceutically acceptable carriers such as normal saline.” Ex. 1005, [0502];

   Janoff, ¶183.




                                         - 67 -                             JA003159
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 613 of 910 PageID #: 10193

   IPR Case No. Unassigned                                 U.S. Patent No. 8,058,069

   Dated: January 9, 2019
                                 Respectfully submitted,

                                 By: /s/ Michael R. Fleming

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                                       - 68 -                             JA003160
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 614 of 910 PageID #: 10194

   IPR Case No. Unassigned                                     U.S. Patent No. 8,058,069

            CERTIFICATE OF COMPLIANCE WITH 37 C.F.R. § 42.24

         Pursuant to 37 C.F.R. § 42.24(d), I certify that the present paper contains

   13,990 words as counted by the word-processing program used to generate the

   brief. This total does not include the tables of contents and authorities, the caption

   page, table of exhibits, mandatory notices, certificate of service, or this certificate

   of word count.

   Dated: January 9, 2019
                                            /s/ Michael R. Fleming
                                                Michael R. Fleming




                                            - 69 -                               JA003161
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 615 of 910 PageID #: 10195




                            CERTIFICATE OF SERVICE

         I hereby certify, pursuant to 37 C.F.R. sections 42.6 and 42.105, that a

   complete copy of the Petition for Inter Partes Review of U.S. Patent No. 8,058,069

   and Exhibits 1001 through 1019 are being served upon the patent prosecution

   counsel of record for Patent Owner via Express Mail at the address below on the

   9th day of January, 2019, the same day as the filing of the above-identified

   documents in the United States Patent and Trademark Office/Patent Trial and

   Appeal Board:

                         Kilpatrick Townsend & Strockton LLP
                              Mailstop: IP Docketing – 22
                            1100 Peachtree Street, Ste. 2800
                                   Atlanta, GA 30309


                                                        /s/ Susan M. Langworthy
                                                            Susan M. Langworthy




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 616 of 910 PageID #: 10196




                   JOINT APPENDIX 84
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 617 of 910 PageID #: 10197




              UNITED STATES PATENT AND TRADEMARK OFFICE
                               __________

               BEFORE THE PATENT TRIAL AND APPEAL BOARD
                               __________


                               Moderna Therapeutics, Inc.

                                         Petitioner

                                             v.

                              Protiva Biotherapeutics, Inc.

                                        Patent Owner
                                        ___________

                               U.S. Patent No. 8,058,069

                               Issued: November 15, 2011

               Named Inventors: Edward Yaworski, Kieu Lam, Lloyd Jeffs,
                            Lorne Palmer, Ian MacLachlan

                   Title: Lipid Formulations for Nucleic Acid Delivery
                                      ___________
                  DECLARATION OF ANDREW S. JANOFF, PH.D.
               IN SUPPORT OF MODERNA THERAPEUTICS, INC.’S
                     PETITION FOR INTER PARTES REVIEW
                            OF U.S. PATENT NO. 8,058,069




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                                                                  Moderna Ex 1008-p. 1
                                                                    Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 618 of 910 PageID #: 10198




                                            TABLE OF CONTENTS

                                                                                                                    Page
       I.      INTRODUCTION .................................................................................. 1

       II.     SUMMARY OF OPINIONS.................................................................. 1

       III.    QUALIFICATION AND EXPERIENCE .............................................. 3

       IV.     LEVEL OF ORDINARY SKILL IN THE ART.................................... 8

       V.      LEGAL PRINCIPLES............................................................................ 9

               A.       Claim construction ....................................................................... 9

               B.       Prior Art...................................................................................... 10

               C.       Anticipation ................................................................................ 11

               D.       Obviousness ............................................................................... 11

       VI.     BACKGROUND .................................................................................. 16

               A.       Lipid carrier particles for nucleic acid payloads ........................ 16

               B.       The ’069 patent disclosure ......................................................... 23

               C.       Claim Construction .................................................................... 30

               D.       Prior art....................................................................................... 30

       VII. THE CHALLENGED CLAIMS ARE INVALID ............................... 38

               A.       Ground 1: Claims 1-22 are anticipated by or obvious in
                        view of the Patent Owner’s Prior Disclosures ........................... 38

               B.       Ground 2: Claims 1-22 are obvious in view of the Patent
                        Owner’s Prior Disclosures in light of Lin and Ahmad .............. 54

               E.       Ground 3 Claims 1-22 are anticipated by or obvious in
                        view of the ’554 publication ...................................................... 57

       VIII. CONCLUSION .................................................................................... 71



                                                              -i-                                             JA003164
                                                                                                      Moderna Ex 1008-p. 2
                                                                                                        Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 619 of 910 PageID #: 10199




             I, Dr. Andrew S. Janoff, PhD, declare as follows:

               I.   INTRODUCTION

             1.     My name is Andrew S. Janoff. I am a consultant in biotechnology

       and drug delivery, primarily focusing on lipid and liposome technology.

             2.     I have been engaged by Moderna Therapeutics, Inc. (“Moderna”)

       as an expert in connection with matters raised in the Petition for Inter Partes

       Review (“Petition”) of U.S. Patent No. 8,058,069 (the “’069 patent”) owned by

       Protiva Biotherapeutics, Inc. (“Patent Owner”).

             3.     This declaration is based on the information currently available to

       me. To the extent that additional information becomes available, I reserve the

       right to continue my investigation and study, which may include a review of

       documents and information that may be produced, as well as testimony from

       depositions that have not yet been taken.

              II.   SUMMARY OF OPINIONS
             4.     The ’069 patent is entitled “Lipid Formulations for Nucleic Acid

       Delivery.” Ex. 1001. The ’069 patent is directed to a composition of nucleic

       acid-lipid particles (e.g., particles that can be used to deliver therapeutic nucleic

       acid payloads) comprising four lipid components (i.e., cationic lipid,

       phospholipid, cholesterol, and conjugated lipid), each of which fall within a

       claimed proportion with regard to the total lipid in the particles. See, e.g., Ex.


                                                                                 JA003165
                                                                            Moderna Ex 1008-p. 3
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 620 of 910 PageID #: 10200




       1001, cl. 1. The petition challenges claims 1-22 of the ’069 patent.

                   5.   Petitioner’s Ground 1 challenges claims 1-22 of the ’069 patent as

       anticipated by the Patent Owner’s prior disclosures in PCT/CA2004/001051,

       Publication No. WO2005007196 A2 (“’196 PCT”), Ex. 1003, or U.S. Patent

       Publication No US2006/0134189 (“’189 publication”), Ex. 1004, under pre-AIA

       35 U.S.C. § 102(b) or, in the alternative, as obvious under pre-AIA 35 U.S.C.

       § 103 in view of Patent Owner’s prior disclosures. Based on studying the

       petition and the exhibits cited in the petition as well as other documents, it is my

       opinion that claims 1-22 of the ’069 patent are anticipated by the Patent Owner’s

       prior disclosures, including the ’196 PCT or the ’189 publication. In the

       alternative, it is my opinion that claims 1-22 of the ’069 patent are obvious in

       view of the Patent Owner’s prior disclosures.

                   6.   Petitioner’s Ground 2 challenges claims 1-22 of the ’069 patent as

       obvious in view of the Patent Owner’s prior disclosures in light of Lin, Ex. 1006,

       and Ahmad, Ex. 1007, under pre-AIA 35 U.S.C. § 103. Based on studying the

       petition and the exhibits cited in the Petition as well as other documents, it is my

       opinion that claims 1-22 of the ’069 patent are obvious in view of the Patent

       Owner’s prior disclosures in light of Lin and/or Ahmad.

                   7.   Petitioner’s Ground 3 challenges claims 1-22 of the ’069 as

       anticipated by the disclosures in U.S. Patent Publication No. 2006/0240554 A1

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                                                                           Moderna Ex 1008-p. 4
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 621 of 910 PageID #: 10201




       (“’554 publication”), Ex. 1005, under pre-AIA 35 U.S.C. §§ 102(b) or, in the

       alternative, as obvious under pre-AIA 35 U.S.C. § 103 in view of the ’554

       publication. Based on studying the petition and the exhibits cited in the petition

       as well as other documents, it is my opinion that claims 1-22 of the ’069 patent

       are anticipated by the ’554 publication. In the alternative, it is my opinion that

       claims 1-22 of the ’069 patent are obvious in view of the ’554 publication.

                   III.   QUALIFICATION AND EXPERIENCE

                   8.     I am formally trained as a membrane biophysicist. I obtained my

       Ph.D. degree in Biophysics from Michigan State University in 1980. Before

       that, I received my MS in Biophysics from Michigan State University in 1977,

       and my BS in Biology from The American University in 1971. I received

       postdoctoral training in Pharmacology at the Harvard Medical School and in

       Anesthesia at the Massachusetts General Hospital.

                   9.     I have played leadership roles in the discipline of pharmaceutical

       liposomology from its inception in 1981.

                   10.    After my post-doctoral work, I was recruited from Harvard by the

       industrialist, Jack Whitehead, and became the first senior founding scientist at

       the Liposome Company, Inc.             I eventually became the Vice President of

       Research and Development at the Liposome Company. I led the team at the

       Liposome Company that discovered, formulated, and developed ABELCET, a

                                                  -3-                             JA003167
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                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 622 of 910 PageID #: 10202




       novel lipid structure that is approved worldwide for systemic fungal infections.

       I first published the physical chemical characterization of this structure, along

       with an explanation of why it would yield a less toxic alternative to the

       traditional micelle formulation in the Proceedings of the National Academy of

       Sciences.

                   11.   I led the team at the Liposome Company that developed Staclot LA,

       a diagnostic reagent comprised of Hexagonal (II) lipid that is a standard practice

       for diagnosing lupus anticoagulant. The work leading to this product was also

       published in the Proceedings of the National Academy of Sciences.

                   12.   In addition I lead teams at the Liposome Company that formulated

       and characterized Myocet (Liposomal Doxorubicn Injection). This product is

       currently approved in Canada and the European Union and is used to treat

       metastatic breast cancer.

                   13.   From 2001-2002, I was Chairman, and from 2002-2005, I was

       Chairman and CEO, of Celator Technologies, Inc. I was involved in the creation

       of Celator’s intellectual property platform and built the company from a

       Canadian start up into an international pharmaceutical corporation with research,

       manufacturing, clinical development, regulatory, commercial, and legal

       functions. From 2005-2008, I was Chairman and CEO of its successor, Celator

       Pharmaceuticals, Inc., a company using controlled-release liposomes to deliver

                                                 -4-                            JA003168
        10625955
                                                                           Moderna Ex 1008-p. 6
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 623 of 910 PageID #: 10203




       combinations of chemotherapeutic agents to tumors. Celator’s drug Vxyeos was

       recently approved by the FDA for the treatment of leukemia.

                   14.   From 2009-2011, I was CEO of TranslationUP, which was a

       consortium of authorities from academic research, drug development, policy,

       finance, public relations, and law seeking to create a new model to more

       effectively advance government funded late-stage discovery concepts into

       clinical development.

                   15.   In my career, I have overseen the filing of eight INDs, two NDAs

       and one MAA in the areas of oncology, antiinfectives, and acute respiratory

       distress syndrome, all involving liposome or lipid-delivery systems.

                   16.   I have worked and published in the area of pulmonary surfactants

       involving treatment modalities in which lamellar lipid for instilling into neonate

       lungs was constructed to rearrange into the Hexagonal II architecture at body

       temperature. An article that I published on this topic in Science was reviewed

       and highlighted in Lancet, a leading British Medical Journal.

                   17.   I have lectured and have conducted Grand Rounds in the areas of

       liposomes, lipid physical chemistry and drug delivery at many prestigious

       medical centers in the United States and Canada, and have been invited to speak

       on these topics at major industry, financial, scientific and medical symposia

       worldwide.

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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 624 of 910 PageID #: 10204




                   18.   I have also served on various government advisory committees. For

       example, I taught at the NATO Advanced Study Institute in Cape Sunion,

       Greece, participated in FDA symposia regarding the quality and performance of

       controlled release parenterals, served on the Committee of Science and the Arts

       at the Franklin Institute in Philadelphia, and was a founding member on the

       Scientific Advisory Board at Rider University. I have also advised the Centre

       for Drug Research and Development in Vancouver, Canada on liposomal

       delivery systems.

                   19.   I have served as an Adjunct Professor in the Department of

       Pathology, Anatomy and Cell Biology at Thomas Jefferson University Medical

       School. I have also been a visiting Research Scholar at Princeton University and

       have held appointments in the Departments of Physics, Molecular Biology, and

       Chemical Engineering.

                   20.   I am the Editor-in-Chief Emeritus of the Journal of Liposome

       Research. I served on the editorial board of this Journal from 1994-1997, and

       was the Editor-in-Chief from 1997-2008.

                   21.   I am an editor of Liposomes: Rational Design (Marcel Dekker, New

       York, 1999), a volume of expert reviews in the field of liposomology.

                   22.   I hold over 75 U.S. patents in lipid nanotechnology and drug

       delivery, and I have authored more than 90 scientific articles and reviews

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                                                                           Moderna Ex 1008-p. 8
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 625 of 910 PageID #: 10205




       principally related to nanotechnology, lipid supramolecular structure, liposomes,

       and drug delivery including fusogenic liposomes and triggerable lipid

       assemblies.

                   23.   My curriculum vitae is attached as Exhibit 1018.

                   24.   I am being compensated by Moderna for my time spent in

       developing this declaration at a rate of $750 per hour, and for any time spent

       testifying in connection with this declaration at a rate of $750 per hour. My

       compensation is not contingent upon the substance of my opinion, the content of

       this declaration or any testimony I may provide, or the outcome of the inter

       partes review or any other proceeding.

                   25.   I have no financial interest in Moderna.

                   26.   My opinion expressed in this declaration are based on the Petition

       and exhibits cited in the Petition, and other documents and materials identified

       in this declaration, including the ’069 patent (Ex. 1001) and its prosecution

       history (Ex. 1016), the prior art references and materials discussed in this

       declaration, and any other references specifically identified in this declaration.

                   27.   I am aware of information generally available to, and relied upon

       by, persons of ordinary skill in the art at the relevant times, including technical

       dictionaries and technical reference materials (including, for example,

       textbooks, manuals, technical papers, articles, and relevant technical standards).

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        10625955
                                                                            Moderna Ex 1008-p. 9
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 626 of 910 PageID #: 10206




                   28.   I reserve the right to supplement my opinions to address any

       information obtained, or positions taken, based on any new information that

       comes to light throughout this proceeding.

                   IV.   LEVEL OF ORDINARY SKILL IN THE ART
                   29.   It is my understanding that the ’069 patent should be interpreted

       based on how it would be read by a person of ordinary skill in the art at the time

       of the effective filing date of the application. It is my understanding that factors

       such as the education level of those working in the field, the sophistication of

       the technology, the type of problems encountered in the art, the prior art solutions

       to those problems, and the speed at which innovations are made may help

       establish the level of skill in the art.

                   30.   I am familiar with the technology at issue and the state of the art at

       the earliest priority date of the ’069 patent.

                   31.   It is my opinion, based upon a review of the ’069 patent, its file

       history, and my knowledge of the field of the art, that a person of ordinary skill

       in the art for the field of the ’069 patent would have specific experience with

       lipid particle formation and use in the context of delivering therapeutic payloads,

       and would have a Ph.D., an M.D., or a similar advanced degree in an allied field

       (e.g., biophysics, microbiology, biochemistry) or an equivalent combination of

       education and experience.            This level of skill is representative of the

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                                                                              Moderna Ex 1008-p. 10
                                                                                 Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 627 of 910 PageID #: 10207




       authors/inventors of prior art cited herein. See Exs. 1002-1006.

                   32.   I have considered the issues discussed in the remainder of this

       declaration from the perspective of a person of ordinary skill in the art. Although

       I used this perspective, I do not believe that any of my opinions would change if

       a slightly higher or lower level of skill were adopted.

                   V.    LEGAL PRINCIPLES

                   A.    Claim construction

                   33.   I am not a patent attorney and my opinions are limited to what I

       believe a person of ordinary skill in the art would have understood, based on the

       patent documents. I use the principles below, however, as a guide in formulating

       my opinions.

                   34.   My understanding is that a primary step in determining validity of

       patent claims is to properly construe the claims to determine claim scope and

       meaning.

                   35.   In an inter partes review proceeding, as I understand from Moderna

       counsel, claims used to be given their broadest reasonable interpretation in light

       of the patent’s specification. 37 C.F.R. § 42.100(b). I understand that the current

       claim construction standard in inter partes review proceedings is now governed

       by Phillips v. AWH Corp., 415 F.3d 1303 (Fed. Cir. 2005) and that the claims

       are interpreted as one of ordinary skill in the art would understand the claim


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                                                                           Moderna Ex 1008-p. 11
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 628 of 910 PageID #: 10208




       terms at the time of the invention. I also understand that this analysis is focused

       primarily on the intrinsic record.

                   36.   It is my understanding that in determining whether a patent claim

       is anticipated or obvious in view of the prior art, the patent office must construe

       the claim under the Phillips standard. For the purposes of this review, I have

       construed each claim term in accordance with its plain and ordinary meaning

       under the required Phillips standard.

                   B.    Prior Art

                   37.   I understand that a patent or other publication must first qualify as

       prior art before it can be used to invalidate a patent claim. I understand that a

       U.S. or foreign patent qualifies as prior art to an asserted patent if the date of

       issuance of the patent is prior to the invention of the asserted patent. I further

       understand that a printed publication, such as an article published in a magazine

       or trade publication, qualifies as prior art to an asserted patent if the date of

       publication is prior to the invention of the asserted patent.

                   38.   I understand that a U.S. or foreign patent also qualifies as prior art

       to an asserted patent if the date of issuance of the patent is more than one year

       before the filing date of the asserted patent. I further understand that a printed

       publication, such as an article published in a magazine or trade publication,

       constitutes prior art to an asserted patent if the publication occurs more than one

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        10625955
                                                                              Moderna Ex 1008-p. 12
                                                                                 Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 629 of 910 PageID #: 10209




       year before the filing date of the asserted patent.

                   39.   I understand that a U.S. patent qualifies as prior art to the asserted

       patent if the application for that patent was filed in the United Stated before the

       invention of the asserted patent.

                   40.   I understand that documents and materials that qualify as prior art

       can be used to invalidate a patent claim via anticipation or obviousness.

                   C.    Anticipation

                   41.   I understand that, once the claims of a patent have been properly

       construed, the second step in determining anticipation of a patent claim requires

       a comparison of the properly construed claim language to the prior art on a

       limitation-by-limitation basis.

                   42.   I understand that a prior art reference “anticipates” an asserted

       claim, and thus renders the claim invalid, if all elements of the claim are

       disclosed in that prior art reference, either explicitly or inherently (i.e.,

       necessarily present).

                   43.   I understand that anticipation in an inter partes review must be

       shown by a preponderance of the evidence.

                   D.    Obviousness

                   44.   I understand that even if a patent is not anticipated, it is still invalid

       if the differences between the claimed subject matter and the prior art are such


                                                   - 11 -                               JA003175
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                                                                                    Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 630 of 910 PageID #: 10210




       that the subject matter as a whole would have been obvious at the time the

       invention was made to a person of ordinary skill in the pertinent art.

                   45.   I understand that a person of ordinary skill in the art at the time the

       invention was made provides a reference point from which the prior art and

       claimed invention should be viewed. This reference point prevents one from

       using his or her own insight or hindsight in deciding whether a claim is obvious.

                   46.   I also understand that an obviousness determination includes the

       consideration of various factors such as (1) the scope and content of the prior art,

       (2) the differences between the prior art and the asserted claims, (3) the level of

       ordinary skill in the pertinent art, and (4) the existence of secondary

       considerations such as commercial success, long-felt but unresolved needs,

       failure of others, etc.

                   47.   I understand that an obviousness evaluation can be based on a

       combination of multiple prior art references. I understand that the prior art

       references themselves may provide a suggestion, motivation, or reason to

       combine, but other times the nexus linking two or more prior art references is

       simple common sense. I further understand that obviousness analysis recognizes

       that market demand, rather than scientific literature, often drives innovation, and

       that a motivation to combine references may be supplied by the direction of the

       marketplace.

                                                  - 12 -                             JA003176
        10625955
                                                                               Moderna Ex 1008-p. 14
                                                                                  Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 631 of 910 PageID #: 10211




                   48.   I understand that if a technique has been used to improve one

       device, and a person of ordinary skill in the art would recognize that it would

       improve similar devices in the same way, using the technique is obvious unless

       its actual application is beyond his or her skill.

                   49.   I also understand that practical and common sense considerations

       should guide a proper obviousness analysis, because familiar items may have

       obvious uses beyond their primary purposes. I further understand that a person

       of ordinary skill in the art looking to overcome a problem will often be able to

       fit together the teachings of multiple publications. I understand that obviousness

       analysis therefore takes into account the inferences and creative steps that a

       person of ordinary skill in the art would employ under the circumstances.

                   50.   I understand that a particular combination may be proven obvious

       merely by showing that it was obvious to try the combination. For example,

       when there is a design need or market pressure to solve a problem and there are

       a finite number of identified, predictable solutions, a person of ordinary skill in

       the art has good reason to pursue the known options within his or her technical

       grasp. The result is likely the product not of innovation but of ordinary skill in

       the art and common sense.

                   51.   The combination of familiar elements according to known methods

       is likely to be obvious when it does no more than yield predictable results. When

                                                - 13 -                         JA003177
        10625955
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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 632 of 910 PageID #: 10212




       a work is available in one field of endeavor, design incentives and other market

       forces can prompt variations of it, either in the same field or a different one. If

       a person of ordinary skill in the art can implement a predictable variation, the

       patent claim is likely obvious.

                   52.   It is further my understanding that a proper obviousness analysis

       focuses on what was known or obvious to a person of ordinary skill in the art,

       not just the patentee. Accordingly, I understand that any need or problem

       addressed by the patent that was known in the field of endeavor at the time of

       invention can provide a reason for combining the elements in the manner

       claimed.

                   53.   I understand that a claim can be obvious in light of a single

       reference, without the need to combine references, if the elements of the claim

       that are not found explicitly or inherently in the reference can be supplied by the

       common sense of one of skill in the art.

                   54.   I understand that the disclosure of overlapping ranges in the prior

       art establishes a prima facie case of obviousness under 35 U.S.C § 103, but that

       a petitioner still has the burden of demonstrating invalidity by the preponderance

       of the evidence.

                   55.   I understand that secondary indicia of non-obviousness may include

       (1) a long felt but unmet need in the prior art that was satisfied by the invention

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                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 633 of 910 PageID #: 10213




       of the patent; (2) commercial success of processes covered by the patent; (3)

       unexpected results achieved by the invention; (4) praise of the invention by

       others skilled in the art; (5) taking of licenses under the patent by others; (6)

       deliberate copying of the invention; (7) failure of others to find a solution to the

       long felt need; and (8) skepticism by experts.

                   56.   I also understand that there must be a relationship between any such

       secondary considerations and the invention.              I further understand that

       contemporaneous and independent invention by others is a secondary

       consideration supporting an obviousness determination.

                   57.   I understand that unexpected results can support a nonobviousness

       determination but must show unexpected results for the entire claimed range.

       This can be done by demonstrating that an embodiment has an unexpected result

       and providing an adequate basis to support the conclusion that other

       embodiments falling within the claim will behave in the same manner.

                   58.   In sum, my understanding is that prior art teachings are properly

       combined where a person of ordinary skill in the art having the understanding

       and knowledge reflected in the prior art and motivated by the general problem

       facing the inventor, would have been led to make the combination of elements

       recited in the claims. Under this analysis, the prior art references themselves, or

       any need or problem known in the field of endeavor at the time of the invention,

                                                 - 15 -                            JA003179
        10625955
                                                                            Moderna Ex 1008-p. 17
                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 634 of 910 PageID #: 10214




       can provide a reason for combining the elements of multiple prior art references

       in the claimed manner.

                   59.   I understand that obviousness in an inter partes review must be

       shown by a preponderance of the evidence.

                   VI.   BACKGROUND

                   A.    Lipid carrier particles for nucleic acid payloads
                   60.   Gene therapy—addressing disease at the level of the genetic cause,

       typically with nucleic acids—is an area of intensive medical research.

       Therapeutic nucleic acids can be used for both nucleic acid delivery and gene

       silencing (e.g., small interfering RNA (“siRNA”)). See Ex. 1009 (Gao), E92;

       Ex. 1006 (Lin), 3307. Long before the ’069 patent, it was known that systems

       comprised of combinations of different types of lipids with nucleic acids could

       result in lipid-nucleic acid particles, an accepted delivery strategy for nucleic

       acid therapeutics. See Ex. 1009 (Gao), E95.

                   61.   The ’069 patent specification describes nucleic acid-lipid carrier

       particles that the patentees refer to as “stable nucleic acid-lipid particles” or

       “SNALPs.”           Ex. 1001, 5:51-58.     The ’069 patent discloses four lipid

       components: a cationic lipid, two non-cationic lipids (a phospholipid and

       cholesterol), and a conjugated lipid (e.g., a polyethylene glycol (“PEG”) lipid).

       See, e.g., Ex. 1001, cl. 1 (components). These lipid components were known to


                                                - 16 -                            JA003180
        10625955
                                                                             Moderna Ex 1008-p. 18
                                                                                Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 635 of 910 PageID #: 10215




       be basic building blocks of nucleic acid-lipid particles long before the ’069

       patent. See Ex. 1007 (Ahmad), 740, 746 (“[cationic lipids] for transfection

       typically consist of a mixture of cationic and neutral (helper) lipid” and

       “strategies for optimization … could involve introducing … PEG –lipids ….”);

       Ex. 1009 (Gao), E95, 97 (cationic lipid carrier particles “are often formulated

       with a noncharged phospholipid or cholesterol as a helper lipid … PEG-lipid

       conjugates have been incorporated … to minimize interaction with blood

       components ....”).

                   62.   Cationic lipids have been used in the construction of nucleic acid-

       lipid particles because they interact with the negative charge on nucleic acid

       payload facilitating formation of lipid-nucleic acid complexes. See Ex. 1009

       (Gao), E95. Effective delivery of the nucleic acid (called the “transfection

       efficiency”) is thought to require fusion between the lipid complex and a cell

       membrane.         See Ex. 1010 (Bennett), 48; Ex. 1009 (Gao), E95; Ex. 1007

       (Ahmad), 746. Since cationic lipids can also interact with negative charges on

       cell membranes (under appropriate conditions, depending on the specific

       mixture of lipids in the carrier particle), this has been believed to promote, in

       some cases, the fusion event necessary for the effective delivery of the nucleic

       acid. See Ex. 1007 (Ahmad), 745(“[A]n overall positive [cationic lipid]-DNA

       charge is required to promote initial electrostatic interactions with cell

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        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 636 of 910 PageID #: 10216




       membranes.”).

                   63.   Moreover, it was known that non-cationic “helper” lipids, e.g.,

       certain phospholipids and/or cholesterols, can be combined with the cationic

       lipid to influence the ability of the particles to transfect cells. See Ex. 1009

       (Gao), E95 (cationic lipids “are often formulated with a noncharged

       phospholipid or cholesterol as a helper lipid to form liposomes. …. Lipoplexes

       form spontaneously when cationic liposomes are mixed with DNA.                    The

       structure of lipoplexes is influenced by multiple factors…. [including]…. the

       method of preparation. Lipoplexes come in various forms, including…lipid-

       coated DNA arranged in an hexagonal lattice, or partially condensed DNA

       surrounded by a lipid bilayer.”); Ex. 1010 (Bennett), 47 (use of helper lipids).

                   64.   A “conjugated lipid” (e.g., a PEG-lipid) can be added to increase in

       vivo circulation time by providing a neutral, hydrophilic coating to the particle’s

       exterior.         See Ex. 1009 (Gao), E97 (“PEG-lipid conjugates have been

       incorporated into the lipoplexes to minimize the nonspecific interaction of

       lipoplexes with blood components.”); Ex. 1011 (Heyes), 277 (“PEG-lipids both

       stabilize the particle during the formulation process and shield the cationic bi-

       layer, preventing rapid systemic clearance.”).

                   65.   “The structure of lipoplexes is influenced by multiple factors,

       including the charge ratio, the concentration of individual lipids and DNA, the

                                                 - 18 -                            JA003182
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                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 637 of 910 PageID #: 10217




       structure of the cationic lipid and the helper lipid, [and] the physical aggregation

       state of the lipids ([e.g.,] multilamellar or unilamellar liposomes, or micelles)

       ….” Ex. 1009 (Gao), E95. Transfection efficacy is complex because “[a] large

       number of parameters [are] involved.” Ex. 1007 (Ahmad), 740. Different

       transfection mechanisms “may be facilitated by alterations in liposome

       formulation ….” Ex. 1010 (Bennet), 48.

                   66.   The claims of the ’069 patent are not limited to a combination of

       specific lipids, formation protocols, or the type of nucleic acid payload and

       encompass broad ranges of lipids that have dramatically varying structures likely

       resulting in drastically different activities.       Effective proportions of lipid

       components for one set of lipid species and payload may not be effective for

       alternative lipid species and payloads.

                   67.   For example, it was well-established at the time of the ’069 patent

       that “[t]he chemical structure of the cationic lipid ha[d] a major impact on the

       transfection efficiency.”        Ex. 1009 (Gao), E95; Ex. 1011 (Heyes), 286.

       References incorporated into the ’069 patent acknowledge that “alternative

       cationic lipids” to the one tested would have “different [transfection]

       efficiencies.” See Ex. 1012 (’613 patent), 1:26-28 (“[A]lternative cationic lipids

       that work in essentially the same manner but with different efficiencies.”). I

       note, however, that many cationic lipids, including those disclosed in the ’069

                                                 - 19 -                           JA003183
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 638 of 910 PageID #: 10218




       patent do not necessarily work in the same manner. For example, some are pH

       dependent and others are not.

                   68.   Cationic lipid variables impacting transfection efficiency include

       “the chemical structure of the cationic lipid [and] … the charge ratio between

       the cationic lipid and the DNA ….” Ex. 1009 (Gao), E95. One example is

       whether the cationic lipid is comprised of a tertiary (e.g., ionizable) or quaternary

       (e.g., fixed positively charged) amine. Cationic lipids comprised of ionizable

       tertiary amines with pKas around 7 possess substantially neutral charges at

       physiological pH. Ex. 1011 (Heyes), 284. A POSITA would have known that

       these and other variables could impact the proportion of cationic lipid that is

       most effective for a given lipid component combination.

                   69.   Hundreds of cationic lipids both univalent and multivalent,

       ionizable or with fixed positive charges were known at the time of the ’069

       patent. Ex. 1009 (Gao), E95; Ex. 1011 (Heyes), 286 (“[H]undreds of new

       cationic lipids have been developed … [that] differ by the number of charges in

       their hydrophilic head group and by the detailed structure of their hydrophobic

       moiety.”). Thus the charge density on the surface of a nucleic acid-lipid particle,

       at a fixed cationic lipid proportion, can be modulated by introducing cationic

       lipids of different valancies (i.e., cationic lipids with a different number of

       positive charges) or ionizable cationic lipids with different pKas. See, e.g., Ex.

                                                - 20 -                           JA003184
        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 639 of 910 PageID #: 10219




       1011 (Heyes), Abstract. This would have been expected to impact the ability of

       some particles to promote fusion events with target cell membranes. See Ex.

       1007 (Ahmad), 740. Both Ahmad and Lin identified charge density as an

       important determinate of transfection efficacy in some of the systems studied.

       Id., 744; Ex. 1006 (Lin), 3312.

                   70.   It was also well-known at the time of the ’069 patent that certain

       lipid component combinations favor having a 50% or greater proportion of

       cationic lipid. First, early researchers often chose a 50% proportion of cationic

       lipid as a default in evaluating particle transfection efficiency. See, e.g., Ex.

       1010 (Bennett), 49 (50% cationic lipid); Ex. 1013 (U.S. Patent 7,939,505),

       44:61-65 (cationic lipid of “about 0.5% to about 70% (mol%) of the total amount

       of lipid”), 96:40-67 (Example 32 and Table 12) (formulations with 50% cationic

       lipid), 99:34-101:45 (Examples 34-35 and Tables 15-18) (same).               Second,

       Researchers determined that, in some cases, increasing the cationic lipid

       proportion above 50% increased transfection efficiency. Ex. 1007 (Ahmad),

       744; Ex. 1006 (Lin), 3312.

                   71.   At the time of the ’069 patent the number of species of non-cationic

       lipids that could be employed was large, and differences among such lipids had

       been reported to impact the structure of the resulting nucleic acid-lipid particles.

       Ex. 1009 (Gao), E95 (transfection efficiency varies with “the structure and

                                                 - 21 -                            JA003185
        10625955
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                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 640 of 910 PageID #: 10220




       proportion of the helper lipid in the complexes”). For instance, in the blood, the

       non-cationic lipid cholesterol seemed to stabilize certain formulations, “while

       formulations containing DOPE [another non-cationic lipid] tend[ed] to fall apart

       more easily.” Id., E96. In addition, variations in the proportions of non-cationic

       lipids in certain formulations were reported to impact their ability to deliver

       nucleic acid payloads. Ex. 1010 (Bennett), 51; Ex. 1007 (Ahmad), 744. The

       selection of conjugated lipid was also known to potentially impact the particle’s

       chemistry and efficacy. Ex. 1003 (’196 PCT), [0094] (“By controlling the

       composition and concentration of the bilayer stabilizing component, one can

       control … the rate at which the liposome becomes fusogenic.”).

                   72.   In addition, the claims of the ’069 patent encompass various types

       of “nucleic acids.” A POSITA at the time of the ’069 patent would have known

       that the species of nucleic acid payload would impact the optimal LNP

       formulation. For example, there are well-understood chemical and structural

       differences between mRNA and siRNA in terms of length, stability, and charge

       density of the nucleic acid. Given these differences, a POSITA would not have

       expected a formulation optimized for siRNA to perform similarly for mRNA.

                   73.   This is confirmed in relevant literature post-dating the ’069 patent,

       including Kauffman, et al. (“Kaufman”).              Ex. 1019.    Kaufman confirms

       “differences in optimized formulation parameter design spaces [of LNPs] for

                                                  - 22 -                           JA003186
        10625955
                                                                             Moderna Ex 1008-p. 24
                                                                                Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 641 of 910 PageID #: 10221




       siRNA and mRNA” and, for one of the systems tested using mRNA and LNPs

       comprising the phospholipid DOPE, determined that a 35% concentration of

       cationic lipid was optimal for mRNA delivery. Id., A. These findings are

       consistent with the variation in LNP performance with different nucleic acid

       payloads that a POSITA would have expected at the time of the ’069 patent.

                   74.   A POSITA at the time of the ’069 patent would have known that

       varying the nucleic acid payload, the specific lipid species, or the lipid

       proportions could change the performance of the nucleic acid-lipid particle. The

       range of lipids falling under the scope of the claims of the ’069 patent is immense

       and a POSITA would have had no way of knowing if lipid combinations at any

       given proportion would have resulted in formulations of superior therapeutic

       index to other formulations. See Ex. 1007 (Ahmad), 740 (“[I]n comparative

       studies, typically only one or two data points per lipid are evaluated, allowing

       the ideal lipid composition (the ratio of neutral to cationic lipid) or cationic

       lipid/DNA ratio to be overlooked.”).

                   B.    The ’069 patent disclosure

                   75.   The ’069 patent is premised on an alleged “surprising discovery”

       that prior art lipid components in certain proportions perform better than

       expected in vitro and in vivo. Ex. 1001, 5:44-51 (lipids “comprising from about

       50 mol% to about 85 mol% of a cationic lipid, from about 13 mol% to about

                                                - 23 -                         JA003187
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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 642 of 910 PageID #: 10222




       49.5 mol% of a non-cationic lipid, and from about 0.5 mol% to about 2 mol% of

       a lipid conjugate provide advantages ….”). According to the ’069 patent, using

       the claimed lipid proportions result in “increased activity of the encapsulated

       nucleic acid … and improved tolerability of the formulations in vivo, resulting

       in a significant increase in the therapeutic index ….” Id., 5:51-58.

                   76.      The ’069 patent acknowledges that the following was known to a

       POSITA before to its priority date:

                   • Nucleic acid-lipid particles comprising a nucleic acid, cationic lipid,

                         non-cationic lipid, and a conjugated lipid that inhibits aggregation of

                         particles. See id., 11:24-26 (“SNALP and SPLP typically contain a

                         cationic lipid, a non-cationic lipid, and a lipid conjugate (e.g., a PEG-

                         lipid conjugate).”).

                   • Preparation of such nucleic acid-lipid particles. See id., 11:44-48

                         (“Nucleic acid-lipid particles and their method of preparation are

                         disclosed in, e.g., U.S. Patent Publication Nos. 20040142025 and

                         20070042031, the disclosures of which are herein incorporated by

                         reference in their entirety for all purposes.”).

                   • In addition, the prior art cited in the ’069 patent discloses nucleic acid-

                         lipid particles with the listed component lipids having overlapping

                         ranges: a cationic lipid range of “about 2% to about 70%,” a non-

                                                      - 24 -                           JA003188
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 643 of 910 PageID #: 10223




                         cationic lipid range of “about 5% to about 90%,” a cholesterol range

                         of “about 20% to about 55%,” and a PEG-lipid conjugate range of

                         “about 0.5% to about 20%.” See, e.g., Ex. 1014 (’031 publication),

                         [0033].

       Thus, nucleic acid-lipid particles with (1) the claimed nucleic acid payload and

       (2) the same lipid components in overlapping ranges were admittedly known in

       the art. The sole basis for alleged novelty of the ’069 patent claims is that a

       nucleic acid-lipid particle comprising component lipids in the claimed

       proportions achieves unexpected efficacy making the claims patentably distinct

       from the prior art.

                   77.      During the prosecution of the ’069 patent, the examiner cited Patent

       Owner’s earlier, unrelated US2006/0008910 publication (“’910 publication”)

       (Ex. 1015) as prior art disclosing nucleic acid-lipid particles with the claimed

       components and overlapping ranges of those components. See, e.g., Ex. 1016

       (’069 file history excerpts), 7/30/2010 Rejection, 3-5. Patent Owner put forth

       the following chart illustrating the overlapping ranges:




                                                    - 25 -                            JA003189
        10625955
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                                                                                  Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 644 of 910 PageID #: 10224




                   78.

       Id., 8/11/2011 Amendment, 7-9.

                   79.   In response to the rejection, Patent Owner argued that the specific

       claimed ranges in the ’069 patent lead to “new and unexpected results” and cited

       to test results regarding the “1:57 SNALP” in the specification. Id., 1/31/2011

       Amendment, 11.           Patent Owner argued that “[a]pplicants have found that

       SNALP formulations having increased amounts of cationic lipid, e.g., one or

       more cationic lipids comprising from about 50 mol% to about 65 mol% of the

       total lipid present in the particle, provide unexpectedly superior advantages

       when used for the in vitro or in vivo delivery of an active agent ….” Id. Patent

       Owner relied on Examples 3-4 from the specification arguing that these

       examples demonstrated that the 1:57 SNALP formulation was “more efficacious

       as compared to a nucleic acid-lipid particle previously described (‘2:30

       SNALP’) … [and] more effective at silencing the expression of a target gene as

       compared to nucleic acid-lipid particles previously described (‘2:40 SNALP’).”

       Id.

                                                 - 26 -                           JA003190
        10625955
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                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 645 of 910 PageID #: 10225




                   80.   Patent Owner further argued that the “claimed narrower ranges are

       not disclosed with ‘sufficient specificity’ [in the ’910 publication] to constitute

       an anticipation ….” Id., 8/11/2011 Amendment, 7-9. Thereafter, the examiner

       allowed the claims.

                   81.   The ’069 patent includes in vitro (Example 2) and in vivo

       (Examples 3-4) testing of various nucleic acid-lipid formulations and

       comparison of those formulations to the admitted prior art (i.e., the 2:30 and 2:40

       formulations). Ex. 1001, 68:50-73:67. In these examples, however, only the

       1:57 SNALP contains lipid proportions within the ranges claimed in the ’069

       patent.

                   82.   Example 2 is the in vitro test in the ’069 patent. Id., 68:50-70:50.

       It involved a siRNA payload targeting the Eg5 gene with various lipid

       components in various proportions.             Id., Table 2.    Of the tested lipid

       formulations, only Sample 9 (the 1:57 SNALP) falls within the lipid ranges in

       claim 1 of the ’069 patent. Id., cl. 1. Other than the 1:57 SNALP, the ’069 patent

       did not test any combinations of lipid components covered by the claims for

       comparison to the admitted prior art.

                   83.   Samples 1 and 16 in Table 2 reflect the 2:40 SNALP that is admitted

       prior art. Id., Table 2. Sample 12 is similar to the 2:40 formulation, but with

       slight variations in the lipid proportions. As can be seen from Figures (1)(a)-(b),

                                                 - 27 -                            JA003191
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                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 646 of 910 PageID #: 10226




       (1) Sample 9 (1:57 SNALP) appears to be no more effective at gene silencing

       than Sample 12 (a 2:40-type SNALP with 40.4% cationic lipid), which it

       overlaps at every data point, (2) Sample 9 (1:57 SNALP) outperforms the

       admitted 2:40 prior art formulation only at extremely low total siRNA amounts,

       and (3) Samples 9 (1:57 SNALP) and 12 (2:40-type SNALP) outperform Sample

       10, which is also comprised of greater than 50% cationic lipid (i.e., 53.3%). The

       takeaway being that there is no clear advantage of using the claimed

       formulations, nor is there data that the entire claimed range of nucleic acid-lipid

       particles is superior to particles with less than 50% cationic lipid.

                   84.   Example 3 involved testing the silencing activity of an siRNA

       payload targeting the Apo B gene with various lipid components in various

       proportions. Id., 70:51-72:55; Table 4. Of the tested lipid combinations, only

       Sample 11 (1:57 SNALP) falls within the lipid ranges claimed in the ’069 patent.

       Samples 2, 4-5 and 7 reflect the 2:40 SNALP proportions (Samples 4-5 employ

       different species of certain lipid components than Samples 2 and 7).

                   85.   As can be seen from Figure 2, the 1:57 SNALP (Group 11) is likely

       not statistically significantly more efficacious than Group 12 (which is

       comprised of only 40.4% cationic lipid (see Table 4 above)). On the other hand,

       Group 12 appears to be more efficacious than Groups 2 and 7 (both examples of

       the admitted prior art 2:40 SNALP formation) even though it varies only slightly

                                                - 28 -                          JA003192
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                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 647 of 910 PageID #: 10227




       from this formulation in that it is comprised of 1 mol% rather than 2 mol% PEG-

       2000-C-DMA.

                   86.   Example 4 compares the silencing activity of the 1:57 SNALP

       formulation with the 2:30 SNALP formulation. Both SNALPs were formulated

       with a siRNA payload targeting the Apo B gene. Id., 72:60-74:4; Table 5. Of

       note, the phospholipid used in formulating the 2:30 SNALP (DSPC) was a

       different phospholipid than was used in formulating the 1:57 SNALP (DPPC).

       Id., 73:18-49. A POSITA would have been aware that varying the phospholipid

       species could impact transfection efficacy separate and apart from varying the

       lipid component proportions. In addition, the dosing and lipid to drug ratios

       were different regarding the two formulations. Id., 73:50-67. The results of

       testing are shown in Figure 3. At most, this testing established that the 1:57

       SNALP comprised of the specific species of lipid components and nucleic acid

       to lipid ratio disclosed, dosed as disclosed, outperformed the 2:30 SNALP

       comprised of the lipid species disclosed and dosed as disclosed.

                   87.   Several other examples in the ’069 patent illustrate that transfection

       efficiency may be influenced by varying just the species of lipid components

       used. For instance, comparing Groups 2 & 6 to Group 4 in Example 5, in which

       DLinDMA was replaced with DODMA without changing the ratios of the

       components used (see id., Table 6), it can be seen that Group 4 apparently

                                                  - 29 -                            JA003193
        10625955
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                                                                                 Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 648 of 910 PageID #: 10228




       exhibited inferior results. Example 5 also shows by comparing Groups 2 & 6

       (PEG(2000)-c-DMA) to Group 5 (PEG(5000)-c-DMA), that variation of the

       conjugated lipid apparently impacts efficacy. In this Example, Group 5 appears

       inferior.

                   C.    Claim Construction

                   88.   I understand that in the ’435 patent IPR, the Board determined that

       under the broadest reasonable interpretation standard, the term “nucleic acid-

       lipid particle” in independent claim 1 was the only claim term needing

       construction and means “a particle that comprises a nucleic acid and lipids, in

       which the nucleic acid may be encapsulated in the lipid portion of the particle.”

       IPR2018-00739, Paper 15, at 10-11. For purposes of this review only, I will

       assume (without conceding) that this is the only necessary construction.

                   D.    Prior art
                   89.   The ’069 patent family is but one of many patent families with

       substantially overlapping disclosures. Because these unrelated patent families,

       with differing inventors, do not claim priority to one another, the earlier

       disclosures are prior art to the ’069 patent. Ex. 1003 (’196 PCT); Ex. 1004 (’189

       publication); Ex. 1015 (’910 publication relied on by examiner during

       prosecution).

                   90.   Patent Owner filed the provisional applications leading to the


                                                 - 30 -                           JA003194
        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 649 of 910 PageID #: 10229




       unrelated ’196 PCT in 2003—five years before the priority date of the ’069

       patent. Ex. 1003. The ’196 PCT inventors are Ian MacLachlan, Ellen Ambegia,

       and James Heyes, a different inventive entity from the ’069 patent inventive

       entity. Id. The ’196 PCT was published on Jan. 27, 2005. Id. Also, the ’196

       PCT and the ’069 patent do not claim priority to one another. See Exs. 1001,

       1003. The ’196 PCT is therefore prior art to the ’069 patent under 35 U.S.C.

       § 102(b) (pre-AIA).

                   91.   The ’196 PCT is titled “Lipid Encapsulated Interfering RNA” and

       discloses “a small interfering RNA (siRNA) encapsulated in a serum-stable lipid

       particle having a small diameter suitable for systemic delivery.” Ex. 1003,

       [0002]. The disclosed SNALPs comprise “a cationic lipid, a non-cationic lipid,

       a conjugated lipid that inhibits aggregation of particles and a siRNA.” Id.,

       [0011]. The non-cationic lipids may include a phospholipid, cholesterol, and a

       PEG-conjugated lipid. Id., [0089].

                   92.   The ’196 PCT discloses not only the same lipid components as

       claimed in the ’069 patent, but also overlapping ranges of those components.

       According to the ’196 PCT, “[t]he cationic lipid typically comprises from about

       2% to about 60% of the total lipid present in said particle … [i]n other preferred

       embodiments, the cationic lipid comprises from about 40% to about 50% of the

       total lipid present in said particle.” Id., [0088]. Enough cationic lipid is added

                                               - 31 -                         JA003195
        10625955
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                                                                           Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 650 of 910 PageID #: 10230




       to “produce a charge ratio [cationic lipid to nucleic acid] … of about 2:1 to about

       6:1.” Id., [0126].

                   93.   “The non-cationic lipid typically comprises from about 5% to about

       90% of the total lipid present … [and] [t]he nucleic acid-lipid particles … may

       further comprise cholesterol … from about 20% to about 45% of the total lipid

       present ….” Id., [0091]. “[T]he SNALP further comprises a bilayer stabilizing

       component (BSC) …. t]he BSC is a conjugated lipid that inhibits aggregation

       of the SNALPs … present from about 0.5% to about 25% of the total lipid ….”

       Id., [0092-0093].

                   94.   The ’196 PCT specifically discloses that “[d]epending on the

       intended use of the nucleic acid-lipid particles, the proportions of the

       components are varied ….” Id., [0088]. In addition, the ’196 PCT incorporates

       by reference U.S. Patent No. 5,264,618 (the “’618 patent”). Id., [0087], [0146].

       The ’618 patent in turn discloses a nucleic acid-lipid complex with 56% cationic

       lipid, 14% phospholipid and 30% cholesterol, as well as various other

       formulations over 50% cationic lipid. Ex. 1017, 34:54-35:23.

                   95.   Another example of Patent Owner’s prior, unrelated disclosure is

       the ’189 publication. Ex. 1004. Patent Owner filed the provisional applications

       leading to the ’189 publication in 2004-2005—three years before the priority

       date of the ’069 patent. Id. The ’189 publication inventors are Ian MacLachlan,

                                                - 32 -                           JA003196
        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 651 of 910 PageID #: 10231




       Lloyd Jeffs, Adam Judge, Amy Lee, Lorne Palmer, and Vandana Sood, a

       different inventive entity from the ’069 patent inventive entity. Id. The ’189

       publication was published on Jun. 22, 2006. Id. Also, the ’189 publication and

       the ’069 patent do not claim priority to one another. See Exs. 1001, 1004. The

       ’189 publication is therefore prior art to the ’069 patent under 35 U.S.C. § 102(b)

       (pre-AIA).

                   96.   The ’189 publication discloses SNALPs comprising overlapping

       ranges of the four lipid components similar to those discussed above for the ’196

       PCT. Ex. 1004, [0009-0012], [0014], [0148-0181]. In addition, the ’189

       publication discloses testing relating to the 2:40 formulation that the Patent

       Owned identified as a prior art formulation. Id., [0350-0391]. This formulation

       includes 40% cationic lipid and 2% conjugated lipid, 10% phospholipid and 48%

       cholesterol. Id., [0351]. According to the ’189 publication, this formulation

       demonstrated efficacy in vitro and in vivo. Id., [0016]. These additional

       disclosures confirm that formulations with high cationic lipid percentages (e.g.,

       40%) and low conjugated lipid percentages (e.g., 2%) were known.

                   97.   The ’554 publication was published on October 26, 2006. Ex. 1005,

       cover page. The ’554 publication is therefore prior art to the ’435 patent under

       35 U.S.C. § 102(b) (pre-AIA).

                   98.   The ’554 publication is titled “Lipid Nanoparticle Based

                                                - 33 -                          JA003197
        10625955
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                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 652 of 910 PageID #: 10232




       Compositions and Methods for the Delivery of Biologically Active Molecules.”

       Ex. 1005. The ’554 publication discloses “novel cationic lipids, transfection

       agents, microparticles, nanoparticles, and short interfering nucleic acid (siNA)

       molecules.” Id., Abstract. The cationic LNPs disclosed are comprised of, for

       example, “(a) a cationic lipid … (b) a neutral lipid; (c) a polyethyleneglycol

       conjugate …; and (d) a short interfering nucleic acid (siNA) molecule ….” Id.,

       28:36-48. Of note, these are the same components and payload described in the

       ’069 patent.

                   99.   The ’554 publication discloses various ranges for the lipid

       components that overlap or encompass the ranges disclosed in the ’069 patent,

       including the cationic lipid (e.g., about 2% to about 60%), the neutral, non-

       cationic lipid (about 5% to about 90%), cholesterol (about 20% to about 45%),

       and the PEG conjugate (about 1% to about 20%). The ’554 publication also

       includes various specific formulations including 50% or greater cationic lipid.

       Id., Table 4 (e.g., L054 DMOBA/Chol/DSPC/PEG-n-DMG (50/20/28/2).

                   100. Lin et al. (“Lin”) is a publication titled “Three-Dimensional

       Imaging of Lipid Gene-Carriers: Membrane Charge Density Controls Universal

       Transfection Behavior in Lamellar Cationic Liposome-DNA Complexes.” Ex.

       1006. It was published in Biophysical Journal in May 2003, in Volume 84, at

       pages 3307-16. See id. Lin is therefore prior art to the ’069 patent under 35

                                              - 34 -                         JA003198
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                                                                         Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 653 of 910 PageID #: 10233




       U.S.C. § 102(b) (pre-AIA).

                   101. Lin studied the impact of cationic lipid mole fraction on the

       transfection efficiency of lipid particles with a DNA payload in in vitro

       experiments. Ex. 1006, 3307. Using the cationic lipids DOTAP, DMRIE and

       DOSPA and the helper lipid DOPC, Lin determined that transfection efficiency

       increased as the cationic lipid mole fraction increased. Id., 3309. In Figure 4(a),

       Lin shows the transfection efficiency as a function of the mole fraction of neutral

       lipid (DOPC). Id., Fig. 4. The mol% of cationic lipid (e.g., DOTAP, DOSPA,

       DMRIE) is derived by deducting the mole fraction of neutral lipid from 1 and

       multiplying by 100.

                   102. As can be seen from the figure, for each formulation the

       transfection efficiency increased with the mole percentage of cationic lipid

       incorporated.        Starting at about 35 mole percent, transfection efficiency

       increased monotonically with increasing mole percentage for DOTAP

       formulations. For DMRIE formulations, over the same range, there was a steep

       increase in transfection efficiency from about 45-55 mole percent.             For

       formulations comprised of the multivalent lipid DOSPA, transfection efficiency

       seemed to be biphasic—it increased monotonically up to about 35 mole percent

       and then seemed to saturate.

                   103. A POSITA would understand the testing of Lin to suggest that the

                                               - 35 -                          JA003199
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                                                                         Moderna Ex 1008-p. 37
                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 654 of 910 PageID #: 10234




       mole percentage of cationic lipid in nucleic acid-lipid particles can impact

       transfection efficiency, and that for certain cationic lipids transfection efficiency

       might continue to improve at mole percentages above 50 percent. A POSITA

       would further understand that precisely how the mole percent of cationic lipid

       might impact transfection efficiency depends on both the cationic lipid species

       and neutral lipid species chosen.

                   104. Ahmad et al. (“Ahmad”) is a publication titled “New multivalent

       cationic lipids reveal bell curve for transfection efficiency versus membrane

       charge density: lipid–DNA complexes for gene delivery.” Ex. 1007. It was

       published in The Journal of Gene Medicine on January 31, 2005, in Volume 7,

       at pages 739-48. See id. Four of the authors in the references overlap. Exs.

       1006-1007. Ahmad builds on the work of Lin and references the findings of Lin

       explicitly. Ex. 1007, 743, 747. Ahmad is therefore prior art to the ’069 patent

       under 35 U.S.C. § 102(b) (pre-AIA).

                   105. Ahmad studied the impact of membrane charge density on the

       transfection efficiency of cationic liposome-DNA complexes comprised of

       cationic and neutral helper lipids. Ex. 1007, 739. Ahmad also contemplated

       adding cholesterol and PEG-lipids to these lipid complexes.                Id., 744

       (“[C]holesterol, which leads to lamellar complexes, is increasingly used as a

       neutral lipid for in vivo applications.”), 746 (“strategies for optimization …

                                               - 36 -                            JA003200
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                                                                          Moderna Ex 1008-p. 38
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 655 of 910 PageID #: 10235




       could involve introducing PEG–lipids … to block … unspecific interactions

       ….”). Thus all four lipid components from the ’069 patent were disclosed.

                   106. Ahmad found that a variety of cationic lipids increased the

       transfection efficiency in the DOPC formulations he studied as shown on Figure

       3(a). In Ahmad, cationic lipids with multiple charges were observed to provide

       higher transfection efficiencies.     Id., 740 (“Numerous lipids with varied

       chemical and physical properties have been synthesized to improve the

       transfection efficiencies …. These include multivalent lipids, which have been

       described as superior to their monovalent counterparts.”). More specifically,

       Ahmad determined that for the multivalent cationic lipids studied, a maximum

       transfection efficiency occurred at around 50 mole percent.           Yet for the

       monovalent lipid DOTAP, transfection efficiency increased monotonically from

       a cationic lipid percentage of about 35 mole percent to a cationic percentage of

       about 90 mole percent. Id., 744. Ahmad reported that the optimal transfection

       efficiency for MLV 5 (a multivalent cationic lipid) was at 55 mole percent when

       incorporated into DOPC formulations, whereas the maximal TE for DOTAP,

       incorporated into DOPC formulations was at 90 mole percent. Id., 743. A

       POSITA would understand the testing of Ahmad to suggest that the mole

       percentage of cationic lipid in nucleic acid-lipid particles can impact transfection

       efficiency, and that for certain cationic lipids transfection efficiency might

                                              - 37 -                            JA003201
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                                                                          Moderna Ex 1008-p. 39
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 656 of 910 PageID #: 10236




       continue to improve at mole percentages above 50 percent.

                   107. Ahmad includes a statement that “[m]inimizing the amount of

       cationic lipid is desirable to reduce cost as well as potential toxic effects of the

       cationic lipid.” Id., 745. But, Ahmad also noted that “with the amounts of

       cationic lipid employed in our in vitro experiments, we find no toxic effects on

       the cells as judged by cell morphology and the amount of total cellular protein.”

       Id., 746. Given that the disclosures in the ’069 patent are not limited to in vivo

       applications, a POSITA would understand the insights of Ahmad could apply to

       the particles disclosed in the ’069 patent. Moreover, a POSITA would be aware

       that a cationic lipid resulting in particles that are neutral at physiological pH

       could be used to limit toxicity. Ex. 1011 (Heyes), 284.

              VII.       THE CHALLENGED CLAIMS ARE INVALID

                   A.    Ground 1: Claims 1-22 are anticipated by or obvious in view
                         of the Patent Owner’s Prior Disclosures

                   108. It is my opinion that claims 1-22 of the ’069 patent are anticipated

       under § 102(b) (pre-AIA) or obvious under 35 U.S.C. § 103 in view of Patent

       Owner’s prior disclosures in the ’196 PCT or ’189 publication. While Patent

       Owner’s prior disclosures do not explicitly disclose the exact same range of lipid

       components from claim 1 of the ’069 patent, it discloses encompassing and

       overlapping ranges with sufficient specificity to anticipate. Moreover, the

       disclosed ranges establish a prima facie case of obviousness and the testing in

                                                 - 38 -                           JA003202
        10625955
                                                                            Moderna Ex 1008-p. 40
                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 657 of 910 PageID #: 10237




       the ’069 patent does not support alleged unexpected results for the claimed

       ranges.

                   109. The ’196 PCT and ’189 publication disclose encompassing and

       overlapping ranges with sufficient specificity to anticipate the range of lipid

       components recited in claim 1 of the ’069 patent. Ex. 1003, [0009-0012], [0014],

       [0148-0181]. In addition, the ’189 publication discloses testing relating to the

       2:40 formulation that the Patent Owned identified as a prior art formulation. Id.,

       [0350-0391].

                               Claim 1[a]: A nucleic acid-lipid particle comprising:
                   110. Patent Owner’s prior disclosures teach “compositions and methods

       for silencing gene expression by delivering nucleic acid-lipid particles

       comprising a siRNA molecule to a cell.” Ex. 1003, (Abstract); Ex. 1004,

       (Abstract). From these disclosures, a POSITA would appreciate that the claim

       limitation is expressly disclosed.

                               Claim 1[b]: A nucleic acid

                   111. Patent Owner’s prior disclosures teach “the present invention is

       directed to using a small interfering RNA (siRNA) encapsulated in a serum-

       stable lipid particle having a small diameter suitable for systemic delivery.” Ex.

       1003, [0002]; Ex. 1004, [0182].          siRNA is a nucleic acid.    From these

       disclosures, a POSITA would appreciate that the claim limitation is expressly


                                               - 39 -                         JA003203
        10625955
                                                                        Moderna Ex 1008-p. 41
                                                                           Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 658 of 910 PageID #: 10238




       disclosed.

                               Claim 1[c]: A cationic lipid comprising from 50 mol%
                               to 65 mol% of the total lipid present in the particle

                   112. Patent Owner’s prior disclosures teach”[t]he cationic lipid typically

       comprises from about 2% to about 60% of the total lipid present in said particle

       … [i]n other preferred embodiments, the cationic lipid comprises from about

       40% to about 50% of the total lipid present in said particle.” Ex. 1003, [0088];

       Ex. 1004, [0152]. Patent Owner’s prior disclosures disclose that “[d]epending

       on the intended use of the nucleic acid-lipid particles, the proportions of the

       components are varied ….” Ex. 1003, [0088]; Ex. 1004, [0152]. In addition,

       Patent Owner’s prior disclosures incorporate by reference (’196 PCT) or directly

       reference (’189 publication at [0155, 0157]) the ’618 patent, which discloses

       nucleic acid-lipid complex with 56% cationic lipid, 14% phospholipid and 30%

       cholesterol, as well as various other formulations containing over 50% cationic

       lipid. Ex. 1017, 34:54-35:23. Given the breadth of the claimed range, these

       disclosures are sufficiently specific to anticipate the claimed range.            For

       example, not only does the disclosed range substantially overlap with the

       claimed range, a preferred embodiment in the reference recites a narrower

       preferred range that also partially overlaps.          Moreover, given the explicit

       disclosure of overlapping ranges, this limitation is prima facie obvious.



                                                  - 40 -                           JA003204
        10625955
                                                                            Moderna Ex 1008-p. 42
                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 659 of 910 PageID #: 10239




       Moreover, determining the optimal proportion of cationic lipid for a given lipid

       combination would be a simple matter of varying the proportion using prior art

       methodologies.

                   113. As a preliminary matter, during prosecution the Patent Owner only

       asserts unexpected results vis-à-vis the 2:30 and 2:40 formulations (testing for

       the 2:40 formulation was disclosed in the ’189 publication). For example, the

       Patent Owner ignores Group 12 in Figure 2 of the ’069 patent that has a cationic

       lipid percentage of 40.4% and is clearly in the prior art given the admitted 2:40

       formulation.        Numerous other prior art formulations contain cationic lipid

       percentages over 50%. See, e.g., Exs. 1006-1007. Patent Owner thus failed to

       address the entire scope of the prior art in asserting unexpected results.

                   114. In addition, given the disclosures in the ’069 patent, a POSITA

       would not expect all alternative data points falling within the recited numeric

       range to perform like the 1:57 SNALP. The in vivo testing in Example 2 shows

       that even minor variations in lipid percentages appeared to impact efficacy.

       Sample 2 and Sample 12 from Table 4 contain the exact same lipid species in

       the respective ratios 2/40/10/48 and 1/40.4/10.1/48.5.        Ex. 1001, Table 4.

       According to Figure 2, these slight variations in lipid proportions lead to

       apparently different transfection efficiencies. Id., Fig. 2. A POSITA would

       expect that similar minor variations in lipid proportions within the claimed range

                                                - 41 -                          JA003205
        10625955
                                                                         Moderna Ex 1008-p. 43
                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 660 of 910 PageID #: 10240




       might lead to similar variations in transfection efficiency.           See Ex. 1007

       (Ahmad), 740 (“[I]n comparative studies, typically only one or two data points

       per lipid are evaluated, allowing the ideal lipid composition (the ratio of neutral

       to cationic lipid) or cationic lipid/DNA ratio to be overlooked.”).

                   115. The ’069 patent defines “cationic lipid” as “any of a number of lipid

       species that carry a net positive charge at a selected pH, such as a physiological

       pH (e.g., pH of about 7.0).” Ex. 1001, 12:59-61. The ’069 patent includes

       almost three dozen examples of cationic lipids. Id., 47:44-50:3. At the time of

       the ’069 patent, hundreds of additional lipids that are cationic at physiological

       pH were known in the art. Ex. 1009 (Gao), E95 (“[H]undreds of new cationic

       lipids have been developed ….”). In addition, because claim 1 of the ’069 patent

       does not contain any limitation to a specific pH, the additional lipids that are

       cationic at a certain pH would also meet the definition of the term.

                   116. The testing in the ’069 patent compares only one cationic lipid,

       DLinDMA, to the admitted prior art formulations to illustrate alleged

       unexpected results. Ex. 1001, Tables 2, 4, 5. Example 5 in the ’069 patent shows

       that variation of the cationic lipid impacts efficacy. Id., Table 6 (Samples 2 & 6

       (DLin-DMA) vs. Sample 4 (DODMA)). A POSITA would understand these

       results to suggest that a preferred proportion for one cationic lipid (e.g.,

       DLinDMA) does not necessarily apply to all other cationic lipids (e.g.,

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        10625955
                                                                            Moderna Ex 1008-p. 44
                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 661 of 910 PageID #: 10241




       DODMA).

                   117. It was well-known in the art that “[t]he chemical structure of the

       cationic lipid [had] a major impact on the transfection efficiency.” Ex. 1009

       (Gao), E95. Indeed the ’613 patent incorporated by reference in the ’069 patent

       acknowledges that “alternative cationic lipids” to the one tested would have

       “different [transfection] efficiencies.” See Ex. 1012, 1:26-28 (“[A]lternative

       cationic lipids … with different efficiencies.”). A POSITA would have no

       reason to believe that the alleged unexpected advantages of a 50-65% proportion

       of DLinDMA would be applicable to all cationic lipids.

                               Claim 1[d]: A non-cationic lipid comprising a mixture
                               of a phospholipid and cholesterol or a derivative thereof,
                               wherein the phospholipid comprises from 4 mol% to 10
                               mol% of the total lipid present in the particle and the
                               cholesterol or derivative thereof comprises from 30
                               mol% to 40 mol% of the total lipid present in the
                               particle

                   118. Patent Owner’s prior disclosures teach that the non-cationic lipids

       may include a phospholipid and cholesterol. Ex. 1003, [0089]; Ex. 1004, [0159].

       “The non-cationic lipid typically comprises … preferably from about 20% to

       about 85% of the total lipid present in said particle … If present … preferably

       the cholesterol comprises from about 20% to about 45% of the total lipid.” Ex.

       1003, [0091]; Ex. 1004, [0152] (overlapping range). Patent Owner’s prior

       disclosures disclose that “[d]epending on the intended use of the nucleic acid-

                                                 - 43 -                          JA003207
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 662 of 910 PageID #: 10242




       lipid particles, the proportions of the components are varied ….” Ex. 1003,

       [0088]; Ex. 1004, [0152].         In addition, Patent Owner’s prior disclosures

       incorporate by reference (’196 PCT) or directly reference (’189 publication) the

       ’618 patent, which discloses a nucleic acid-lipid complex with 56% cationic

       lipid, 14% phospholipid and 30% cholesterol. Ex. 1017, 34:54-35:23.

                   119. Not only do the disclosed ranges encompass the claimed ranges,

       when combined with a cationic lipid proportion of 60%, the available range for

       cholesterol is 20-40% and the range for the other non-cationic lipid (e.g., a

       phospholipid) is decreased to 0%-20%. Given the breadth of the claimed ranges

       for the phospholipid and cholesterol, these disclosures are sufficiently specific

       to anticipate the claimed ranges. Moreover, given the explicit disclosure of

       encompassing ranges, this limitation is prima facie obvious and, as discussed

       above, the testing in the ’069 patent does not support alleged unexpected results

       for the claimed ranges.

                               Claim 1[e]: A conjugated lipid that inhibits aggregation
                               of particles comprising from 0.5 mol% to 2 mol% of the
                               total lipid present in the particle

                   120. Patent Owner’s prior disclosures teach that “[t]he SNALP further

       comprises a bilayer stabilizing component (BSC). …. [T]he BSC is a conjugated

       lipid that inhibits aggregation of the SNALPs … present from about 0.5% to

       about 25% of the total lipid ….” Ex. 1003, [0092-0093]; Ex. 1004, [0152]

                                               - 44 -                         JA003208
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                                                                           Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 663 of 910 PageID #: 10243




       (overlapping range).          Patent Owner’s prior disclosures disclose that

       “[d]epending on the intended use of the nucleic acid-lipid particles, the

       proportions of the components are varied ….” Ex. 1003, [0088]; Ex. 1004,

       [0152].        “By controlling the composition and concentration of the bilayer

       stabilizing component, one can control … the rate at which the liposome

       becomes fusogenic” impacting the transfection efficiency. Ex. 1003, [0094]; Ex.

       1004, [0095]. Given the breadth of the claimed range for the conjugated lipid,

       these disclosures are sufficiently specific to anticipate the claimed range.

                   121. This limitation would also have been obvious in view of the ’196

       PCT in light of the knowledge of a POSITA. A POSITA would have been aware

       that conjugated lipids stabilize carrier particles by inhibiting fusogenicity. It

       would have been obvious for a POSITA to try to increase fusogenicity, and

       hence potentially transfection efficiency, by choosing a proportion of conjugated

       lipid in the 0.5%-2% range.          Moreover, given the explicit disclosure of

       encompassing ranges, this limitation is prima facie obvious.

                               Claim 2: The nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid comprises a small interfering
                               RNA (siRNA)
                   122. Patent Owner’s prior disclosures teach “the present invention is

       directed to using a small interfering RNA (siRNA) encapsulated in a serum-

       stable lipid particle having a small diameter suitable for systemic delivery.” Ex.

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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 664 of 910 PageID #: 10244




       1003, [0002]; Ex. 1004, [148] (siRNA). From these disclosures, a POSITA

       would appreciate that the claim limitation is expressly disclosed.

                               Claim 3: the nucleic acid-lipid particle of claim 2,
                               wherein the siRNA comprises from about 15 to about 60
                               nucleotides

                   123. Patent Owner’s prior disclosures teach “[t]he siRNA molecule may

       comprise about 15 to about 60 nucleotides.” Ex. 1003, [0011]; Ex. 1004, [0021].

       From these disclosures, a POSITA would appreciate that the claim limitation is

       expressly disclosed.

                               Claim 4: the nucleic acid-lipid particle of claim 2,
                               wherein the siRNA comprises at least one modified
                               nucleotide

                   124. Patent Owner’s prior disclosures teach “a particular nucleic acid

       sequence also implicitly encompasses conservatively modified variants thereof

       (e.g., degenerate codon substitutions), alleles, orthologs, SNPs, and

       complementary sequences as well as the sequence explicitly indicated.” Ex.

       1003, [0062]; Ex. 1004, [0099]. Patent Owner’s prior disclosures further teach

       that the term “nucleic acid” “encompasses nucleic acids containing … modified

       backbone residues or linkages, which are synthetic, naturally occurring, and non-

       naturally occurring ….” Ex. 1003, [0076]; Ex. 1004, [0272] (modified siRNA).

       From these disclosures, a POSITA would appreciate that the claim limitation is

       expressly disclosed.


                                                - 46 -                         JA003210
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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 665 of 910 PageID #: 10245




                               Claim 5: the nucleic acid-lipid particle of claim 2,
                               wherein the siRNA comprises at least one 2’-O-methyl
                               (2’OMe) nucleotide

                   125. Patent Owner’s prior disclosures teach that the term “nucleic acid”

       “encompasses nucleic acids containing … modified backbone residues or

       linkages, which are synthetic, naturally occurring, and non-naturally occurring

       ….      Examples of such analogs include, without limitation … 2-O-methyl

       ribonucleotides ….”         Ex. 1003, [0076]; Ex. 1004, [0129].      A 2-O-methyl

       ribonucleotide is a 2’-O-methyl nucleotide. From these disclosures, a POSITA

       would appreciate that the claim limitation is expressly disclosed.

                               Claim 6: the nucleic acid-lipid particle of claim 2,
                               wherein said siRNA is about 19 to about 25 base pairs in
                               length
                   126. Patent Owner’s prior disclosures teach “siRNA … of about … 19-

       25 (duplex) nucleotides in length.” Ex. 1003, [0065]; Ex. 1004, [0057]. From

       these disclosures, a POSITA would appreciate that the claim limitation is

       expressly disclosed.

                               Claim 7: the nucleic acid-lipid particle of claim 2,
                               wherein said siRNA comprises 3’ overhangs

                   127. Patent Owner’s prior disclosures teach that “siRNA duplexes may

       comprise 3’ overhangs of about 1 to about 4 nucleotides, preferably of about 2

       to about 3 nucleotides and 5’ phosphate termini.” Ex. 1003, [0065]; Ex. 1004,

       [0057]. From these disclosures, a POSITA would appreciate that the claim

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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 666 of 910 PageID #: 10246




       limitation is expressly disclosed.

                               Claim 8: the nucleic acid-lipid particle of claim 1,
                               wherein the cationic lipid comprises from 52 mol% to 62
                               mol% of the total lipid present in the particle

                   128. See Claim 1(c).    For the reasons stated above, the ’196 PCT

       discloses this range with sufficient specificity to anticipate. Overlapping ranges

       of this narrower range also renders this limitation prima facie obvious.

                               Claim 9: the nucleic acid-lipid particle of claim 1,
                               wherein the phospholipid comprises
                               dipalmitoylphosphatidylcholine (DPPC),
                               distearoylphosphatidylcholine (DSPC), or a mixture
                               thereof

                   129. Patent Owner’s prior disclosures teach that “[e]xamples of

       noncationic lipids useful in the present invention include: phospholipid-related

       materials, such as … DSPC … DPPC ….” Ex. 1003, [0089]; Ex. 1004, [0159].

       Patent Owner’s prior disclosures also teach using more than one phospholipid.

       Ex. 1003, [0128]; Ex. 1004, [0159]. From these disclosures, a POSITA would

       appreciate that the claim limitation is expressly disclosed.

                               Claim 10: the nucleic acid-lipid particle of claim 1,
                               wherein the conjugated lipid that inhibits aggregation of
                               particles comprises a polyethyleneglycol (PEG)-lipid
                               conjugate
                   130. Patent Owner’s prior disclosures teach that “[b]ilayer stabilizing

       components include, but are not limited to, conjugated lipids that inhibit

       aggregation of the SNALPs, polyamide oligomers (e.g., ATTA-lipid

                                                - 48 -                          JA003212
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                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 667 of 910 PageID #: 10247




       derivatives), peptides, proteins, detergents, lipid-derivatives, PEG-lipid

       derivatives ….” Ex. 1003, [0052], see also [0013]; Ex. 1004, [0088]. From

       these disclosures, a POSITA would appreciate that the claim limitation is

       expressly disclosed.

                              Claim 11: the nucleic acid-lipid particle of claim 10,
                              wherein the PEG-lipid conjugate comprises a PEG-
                              diacylglycerol (PEG-DAG) conjugate, a PEG-
                              dialkyloxypropyl (PEG-DAA) conjugate, or a mixture
                              thereof
                   131. Patent Owner’s prior disclosures teach that “[t]he PEG-lipid

       conjugate may be one or more of a PEG-dialkyloxypropyl (DAA), a PEG-

       diacylglycerol (DAG) … and combinations thereof.” Ex. 1003, [0013]; Ex.

       1004, [0088]. From these disclosures, a POSITA would appreciate that the claim

       limitation is expressly disclosed.

                              Claim 12: the nucleic acid-lipid particle of claim 11,
                              wherein the PEG-DAA conjugate comprises a PEG-
                              dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
                              distearyloxypropyl (PEG-DSA) conjugate, or a mixture
                              thereof

                   132. Patent Owner’s prior disclosures teach “three exemplary PEG-

       dialkyloxypropyl derivatives suitable for use in the present invention … PEG-

       C-DMA … PEG-A-DMA … and … PEG-S-DMA.” Ex. 1003, [0031]; Ex.

       1004, [0292] (PEG-DMA). Patent Owner’s prior disclosures teach “[o]ther PEG

       DAAs suitable for use in the present invention can be synthesized using similar


                                              - 49 -                         JA003213
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                                                                          Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 668 of 910 PageID #: 10248




       protocols. For instance, PEG-A-DSA and PEG-C-DSA can be synthesized ….”

       Ex. 1003, [0242]. From these disclosures, a POSITA would appreciate that the

       claim limitation is expressly disclosed.

                             Claim 13: the nucleic acid-lipid particle of claim 12,
                             wherein the PEG has an average molecular weight of
                             about 2,000 daltons

                   133. Patent Owner’s prior disclosures teach “[i]n a preferred

       embodiment, the PEG has an average molecular weight of from about 1000 to

       about 5000 daltons, more preferably, from about 1,000 to about 3,000 daltons

       and, even more preferably, of about 2,000 daltons.” Ex. 1003, [0097]; Ex. 1004,

       [0083]. From these disclosures, a POSITA would appreciate that the claim

       limitation is expressly disclosed.

                             Claim 14: the nucleic acid-lipid particle of claim 10,
                             wherein the nucleic acid-lipid particle comprises about
                             57.1 mol% cationic lipid, about 7.1 mol% phospholipid,
                             about 34.3 mol% cholesterol or a derivative thereof, and
                             about 1.4 mol% PEG-lipid conjugate

                   134. See Claim 1.   As noted above, the “about” language in this

       limitation encompasses amounts ±10, 20, 30 mol% from the amounts listed in

       Claim 14 that still fall within the ranges in Claim 1. For this reason, the claimed

       are invalid for the reasons presented above for Claim 1.




                                              - 50 -                           JA003214
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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 669 of 910 PageID #: 10249




                               Claim 15: the nucleic acid-lipid particle of claim 1,
                               wherein the conjugated lipid that inhibits aggregation of
                               particle comprises from 1 mol% to 2 mol% of the total
                               lipid present in the particle

                   135. See Claim 1(e). For the reasons stated above, the Patent Owner’s

       prior disclosures disclose this range with sufficient specificity to anticipate. In

       the alternative, this range is prima facie obvious given the overlapping range in

       the Patent Owner’s prior disclosures.

                               Claim 16: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid in the nucleic acid-lipid particle
                               is not substantially degraded after incubation of the
                               particle in serum at 37°C for 30 minutes

                   136. Patent Owner’s prior disclosures teach “[i]n some embodiments …

       the nucleic acid in the nucleic acid-lipid particle is resistant in aqueous solution

       to degradation by a nuclease.” Ex. 1003, [0011]; Ex. 1004, [0076]. Patent

       Owner’s prior disclosures teach “‘[s]erum-stable’ in relation to nucleic acid-lipid

       particles means that the particle is not significantly degraded after exposure to a

       serum or nuclease assay that would significantly degrade free DNA.” Ex. 1003,

       [0082]; Ex. 1004, [0105]. Patent Owner’s prior disclosures teach “[s]amples are

       incubated at 37°C for 30 min ….” Ex. 1003, [0204]; Ex. 1004, [0291-0292]

       (incubated). Given these disclosures, a POSITA would have understood the

       limitation to be disclosed.

                   137. In the alternative, this limitation would have been obvious in view


                                                 - 51 -                          JA003215
        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 670 of 910 PageID #: 10250




       of Patent Owner’s prior disclosures in light of the knowledge of a POSITA. A

       POSITA would have been aware that the disclosed sample incubation

       parameters could have been used to establish serum stability as disclosed in

       Patent Owner’s prior disclosures. It would have been obvious for a POSITA to

       incubate samples at 37°C for 30 min to establish serum stability.

                               Claim 17: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid is fully encapsulated in the
                               nucleic acid-lipid particle

                   138. Patent Owner’s prior disclosures teach “[i]n some embodiments,

       the siRNA molecule is fully encapsulated within the lipid bilayer of the nucleic

       acid-lipid particle such that the nucleic acid in the nucleic acid-lipid particle is

       resistant in aqueous solution to degradation by a nuclease.” Ex. 1003, [0011];

       Ex. 1004, [0151]. From these disclosures, a POSITA would appreciate that the

       claim limitation is expressly disclosed.

                               Claim 18: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid-lipid particle has a lipid:nucleic
                               acid mass ratio of from about 5 to about 15

                   139. Patent Owner’s prior disclosures teach “the nucleic acid to lipid

       ratios (mass/mass ratios) in a formed SNALP will range from about 0.01 to about

       0.08 … and, more preferably, about 0.04 ….” Ex. 1003, [0127]; Ex. 1004,

       [0198]. This corresponds to a lipid:nucleic acid mass ratio of 12.5 to 100. Given

       the breadth of the claimed range, these disclosures are sufficiently specific to


                                                - 52 -                          JA003216
        10625955
                                                                          Moderna Ex 1008-p. 54
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 671 of 910 PageID #: 10251




       anticipate the claimed range.

                   140. This limitation would have been obvious in view of Patent Owner’s

       prior disclosures in light of the knowledge of a POSITA. A POSITA would have

       been aware that the number of molecules of monovalent cationic lipid needs to

       exceed the number of charges on the nucleic to ensure that the negative charge

       on the nucleic acid is overcome by the positive cationic lipid charge. Moreover,

       given the explicit disclosure of an overlapping range, this limitation is prima

       facie obvious.

                               Claim 19: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid-lipid particle has a median
                               diameter of from about 40 nm to about 150 nm

                   141. Patent Owner’s prior disclosures teach “[t]he SNALPs made by the

       methods of this invention are typically about 50 to about 150 nm in diameter.”

       Ex. 1003, [0120], [0139]; Ex. 1004, [0201]. Given the breadth of the claimed

       range, this disclosure is sufficiently specific to anticipate the claimed range.

       Moreover, given the explicit disclosure of an overlapping range, this limitation

       is prima facie obvious.

                               Claim 20: the nucleic acid-lipid particle of claim 1,
                               wherein the phospholipid comprises from 5 mol% to 9
                               mol% of the total lipid present in the particle

                   142. See Claim 1(d). For the reasons stated above, Patent Owner’s prior

       disclosures disclose this range with sufficient specificity to anticipate. In the


                                                - 53 -                          JA003217
        10625955
                                                                          Moderna Ex 1008-p. 55
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 672 of 910 PageID #: 10252




       alternative, this range is prima facie obvious given the overlapping range in

       Patent Owner’s prior disclosures.

                               Claim 21: the nucleic acid-lipid particle of claim 1,
                               wherein the cholesterol or derivative thereof comprises
                               from 32 mol% to 36 mol% of the total lipid present in
                               the particle

                   143. See Claim 1(d). For the reasons stated above, Patent Owner’s prior

       disclosures discloses this range with sufficient specificity to anticipate. In the

       alternative, this range is prima facie obvious given the overlapping range in

       Patent Owner’s prior disclosures.

                               Claim 22: a pharmaceutical composition comprising a
                               nucleic acid-lipid particle of claim 1 and a
                               pharmaceutically acceptable carrier

                   144. Patent Owner’s prior disclosures teach “[t]he invention also

       provides for pharmaceutically acceptable compositions comprising a nucleic

       acid-lipid particle.” Ex. 1003, [0019]; Ex. 1004, [0018]. From these disclosures,

       a POSITA would appreciate that the claim limitation is expressly disclosed.

                   B.    Ground 2: Claims 1-22 are obvious in view of the Patent
                         Owner’s Prior Disclosures in light of Lin and Ahmad

                   145. To the extent that those disclosures alone are determined not to

       disclose a proportion of cationic lipid in the 50%-65% range, a POSITA would

       have understood from Lin and Ahmad that such proportions of cationic lipid may

       increase transfection efficacy and would have been motivated to combine those


                                                - 54 -                          JA003218
        10625955
                                                                          Moderna Ex 1008-p. 56
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 673 of 910 PageID #: 10253




       disclosures with the system disclosed in the ’196 PCT and ’189 publication.

                               Claim 1[c]: A cationic lipid comprising from 50 mol%
                               to 65 mol% of the total lipid present in the particle

                   146. To the extent that the disclosures above are determined not to

       disclose the claimed range for cationic lipids, this limitation would have been

       obvious in view of the ’196 PCT in light of Lin and Ahmad. Exs. 1006-1007.

       As discussed above, a POSITA would understand the testing of Lin to suggest

       that the cationic lipid mol% of nucleic acid-lipid particles can impact

       transfection efficiency and that for certain lipid components a mol% greater than

       50% may increase the transfection efficiency of the carrier particles. Ex. 1006

       (Lin), Fig. 4(a). A POSITA would understand the testing of Ahmad to support

       the proposition that for certain formulations, cationic lipids can increase

       transfection efficiency when they are incorporated above 50 mol%. Ex. 1007

       (Ahmad), 739–40; Fig. 3(a). In these formulations, transfection efficiency was

       reported to decrease above a certain mol% cationic lipid (e.g., around 70%). Id.

       It would have been obvious for a POSITA to combine the disclosed ranges in

       Patent Owner’s prior disclosures with the teaching of Lin and Ahmad to increase

       the cationic lipid to the 50%-65% range in order to potentially increase the

       transfection efficiency.

                   147. It would have been obvious for a POSITA to combine the disclosed



                                               - 55 -                         JA003219
        10625955
                                                                        Moderna Ex 1008-p. 57
                                                                           Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 674 of 910 PageID #: 10254




       ranges in either the ’196 PCT or ’189 publication with the teachings of Ahmad

       to increase the cationic lipid to the 50%-65% range in order to potentially

       increase the transfection efficiency. Ahmad tested helper lipids and cationic

       lipids to create carrier particles for nucleic acids, i.e., “nucleic acid-lipid

       particles,” the same general carrier particles described in Patent Owner’s prior

       disclosures. Ahmad’s goal was similarly to “identify the interactions between

       the CL-DNA complexes and the cells along the transfection pathway to

       overcome the biological impediments to optimal transfection” in vitro and ex

       vivo applications. Ex. 1007, 740, 747 (“The presented transfection optimization

       strategy is directly relevant for gene therapy using ex vivo methods ….”).

       Similarly, the ’196 PCT and ’189 publication both concern “efficiently deliver

       administer siRNA molecules” (Ex. 1003, [0045]; see also Ex. 1004, [0118]) in

       in vitro and ex vivo applications (Ex. 1003, [0017]; Ex. 1004, [0016]).

                   148. Patent Owner’s prior disclosures specifically disclose cationic lipid

       proportions up to 60% and state that “[d]epending on the intended use of the

       nucleic acid-lipid particles, the proportions of the components are varied ….”

       See, e.g., Ex. 1003, [0088]; see also Ex. 1004 [0152]. These disclosures also

       stress the importance of “efficiently deliver administer siRNA molecules.” Ex.

       1003, [0045]; see also Ex. 1004, [0118]. A POSITA would have looked to the

       prior art, including Ahmad, in order to determine the most appropriate

                                                  - 56 -                           JA003220
        10625955
                                                                            Moderna Ex 1008-p. 58
                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 675 of 910 PageID #: 10255




       proportions of, e.g., cationic lipid. Given the success of generating nucleic acid-

       lipid particles with a cationic lipid proportion greater than 50% as described in

       Patent Owner’s prior disclosures, a POSITA would have appreciated a

       reasonable expectation of doing so.

                               Claim 8: the nucleic acid-lipid particle of claim 1,
                               wherein the cationic lipid comprises from 52 mol% to 62
                               mol% of the total lipid present in the particle

                   149. See Claim 1(c). For the reasons stated above, this range is obvious

       in view of the Patent Owner’s prior disclosures when combined with Lin and

       Ahmad. Again, Lin and Ahmad disclose that cationic mol% in the claimed range

       may increase transfection efficacy for certain lipid combinations.

                   E.    Ground 3 Claims 1-22 are anticipated by or obvious in view of
                         the ’554 publication
                   150. It is my opinion that claims 1-22 of the ’069 patent are anticipated

       under § 102(b) (pre-AIA) or obvious under 35 U.S.C. § 103 in view of the ’554

       publication. While the ’554 publication does not disclose the exact same ranges

       of lipid components from claim 1 of the ’069 patent explicitly, it discloses

       encompassing and overlapping ranges with sufficient specificity to anticipate.

       Moreover, the disclosed ranges establish a prima facie case of obviousness and

       the testing in the ’069 patent does not support alleged unexpected results for the

       claimed ranges.



                                                 - 57 -                           JA003221
        10625955
                                                                            Moderna Ex 1008-p. 59
                                                                               Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 676 of 910 PageID #: 10256




                                Claim 1[a]: A nucleic acid-lipid particle comprising:

                   151. The ’554 publication teaches “novel cationic lipids … and

       formulations thereof with biologically active molecules.” Ex. 1005, [0019]. As

       one example, “the invention features a composition comprising a biologically

       active molecule (e.g., a polynucleotide such as a siNA, … [or] other nucleic acid

       molecule …), a cationic lipid, a neutral lipid, and a polyethyleneglycol

       conjugate, such as a PEG-diacylglycerol, PEG-diacylglycamide, PEG-

       cholesterol, or PEG-DMB conjugate.” Id., [0082]. From these disclosures, a

       POSITA would appreciate that the claim limitation is expressly disclosed.

                                Claim 1[b]: A nucleic acid

                   152. The ’554 publication teaches “compositions … with biologically

       active molecules” including “nucleic acids.” Id., [0018-0019]. As one example,

       “the invention features a composition comprising a biologically active molecule

       (e.g., a polynucleotide such as a siNA, antisense, aptamer, decoy, ribozyme, 2-

       5A, triplex forming oligonucleotide, [or] other nucleic acid molecule …).” Id.,

       [0082]. From these disclosures, a POSITA would appreciate that the claim

       limitation is expressly disclosed.

                                Claim 1[c]: A cationic lipid comprising from 50 mol%
                                to 65 mol% of the total lipid present in the particle

                   153. The ’554 publication teaches “[c]ationic lipids that are useful in the

       present invention can be any of a number of lipid species which carry a net

                                                  - 58 -                            JA003222
        10625955
                                                                             Moderna Ex 1008-p. 60
                                                                                Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 677 of 910 PageID #: 10257




       positive charge at a selected pH, such as physiological pH.” Id., [0454]. “[T]he

       cationic lipid component … comprises from about 2% to about 60% … or from

       about 40% to about 50% of the total lipid ….” Id., [0116]. In addition, the ’554

       publication also includes various specific formulations which include 50% or

       greater cationic lipid. Id., Table 4 (e.g., L054, L097, L109 (50% cationic lipid),

       L060-061, L098-103, L114, L116-117 (52%)).

                   154. The ’554 publication also teaches particles “can transition from a

       stable lamellar structure adopted in circulation (i.e., in plasma or serum) at

       physiologic pH (about pH 7.4) to a less stable and more efficient delivery

       composition having an inverted hexagonal structure at pH 5.5-6.5, which is the

       pH found in the early endosome.” Id., [0137]. The cationic lipid is the active

       component in such the pH-dependent nucleic acid-lipid particles: “[s]uitable

       cationic lipid include those cationic lipids which carry a net negative [sic] charge

       at a selected pH ….” Id., [0083] (should refer to a net “positive” charge). A

       POSITA would understand that increasing the mol% of a cationic lipid with pH

       sensitivity in these particles might increase transfection efficiency since this

       event is fusion related and thought to occur as a result of the described phase

       shift.

                   155. Given the breadth of the claimed range, these disclosures are

       sufficiently specific to anticipate the claimed range. For example, not only does

                                                - 59 -                          JA003223
        10625955
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                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 678 of 910 PageID #: 10258




       the disclosed range substantially overlap with the claimed range, a preferred

       embodiment in the reference recites a narrower range that also partially overlaps

       and specific examples are provided within the claimed range for this lipid

       component. In addition, a POSITA would be compelled to choose cationic lipid

       proportions at the top end of the recited range to increase the efficiency of the

       described phase shift.

                   156. Additionally,   the   disclosed   ranges   establish   prima   facie

       obviousness which creates a presumption of obviousness. As discussed above,

       the testing in the ’069 patent does not support alleged unexpected results for the

       claimed ranges.

                               Claim 1[d]: A non-cationic lipid comprising a mixture
                               of a phospholipid and cholesterol or a derivative thereof,
                               wherein the phospholipid comprises from 4 mol% to 10
                               mol% of the total lipid present in the particle and the
                               cholesterol or derivative thereof comprises from 30
                               mol% to 40 mol% of the total lipid present in the
                               particle

                   157. The ’554 publication teaches “[t]he noncationic lipids used in the

       present invention can be any of a variety of neutral uncharged, zwitterionic or

       anionic lipids capable of producing a stable complex.” Ex. 1005, [0455].

       Neutral lipids are defined as “any lipophilic compound having non-cationic

       charge (e.g., anionic or neutral charge).” Id., [0315]. “[T]he neutral lipid

       component … comprises … from about 20% to about 85% of the total lipid

                                                - 60 -                            JA003224
        10625955
                                                                           Moderna Ex 1008-p. 62
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 679 of 910 PageID #: 10259




       present in the formulation … the cholesterol component … comprises … from

       about 20% to about 45% of the total lipid present.” Id., [0313]. In addition, the

       ’554 publication also includes various specific formulations which include

       cholesterol at a 30% proportion. Id., Table 4 (e.g., L106). Not only do the

       disclosed ranges encompass the claimed ranges, when combined with a cationic

       lipid proportion at 60%, the available range for cholesterol is 20-40% and the

       range for the other non-cationic lipid (e.g., a phospholipid) is decreased to 0%-

       20%.         Given the breadth of the claimed ranges for the phospholipid and

       cholesterol, these disclosures are sufficiently specific to anticipate the claimed

       ranges.

                   158. Moreover, given the explicit disclosure of encompassing ranges,

       this limitation is prima facie obvious and, as discussed above, the testing in the

       ’069 patent does not support alleged unexpected results for the claimed ranges.

                               Claim element 1[e]: A conjugated lipid that inhibits
                               aggregation of particles comprising from 0.5 mol% to
                               2 mol% of the total lipid present in the particle
                   159. The ’554 publication teaches “[i]n addition to cationic and neutral

       lipids, the formulated molecular compositions of the present invention comprise

       a polyethyleneglycol (PEG) conjugate.” Id., [0457]. The ’554 publication

       further teaches “[i]t is often desirable to include other components that act in a

       manner similar to the DAG-PEG conjugates and that serve to prevent particle

                                                 - 61 -                          JA003225
        10625955
                                                                           Moderna Ex 1008-p. 63
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 680 of 910 PageID #: 10260




       aggregation ….” Id., [0504]. “[T]he PEG conjugate … comprises from about

       1% to about 20% … of the total lipid present.” Id., [0118]. Given the breadth

       of the claimed range for the conjugated lipid, these disclosures are sufficiently

       specific to anticipate the claimed range.

                   160. This limitation would have been obvious in view of the ’196 PCT

       in light of the knowledge of a POSITA. A POSITA would have been aware that

       conjugated lipids stabilize carrier particles by inhibiting fusogenicity. It would

       have been obvious for a POSITA to try to increase fusogenicity, and hence

       potentially transfection efficiency, by choosing a proportion of conjugated lipid

       in the 0.5%-2% range. Moreover, given the explicit disclosure of encompassing

       ranges, this limitation is prima facie obvious and, as discussed above, the testing

       in the ’069 patent does not support alleged unexpected results for the claimed

       ranges.

                              Claim 2: The nucleic acid-lipid particle of claim 1,
                              wherein the nucleic acid comprises a small interfering
                              RNA (siRNA)
                   161. The ’554 publication teaches “formulations for the delivery of

       chemically-modified synthetic short interfering nucleic acid (siNA) molecules

       that modulate target gene expression or activity in cells, tissues, such as in a

       subject or organism, by RNA interference (RNAi).” Id., [0020]. From these

       disclosures, a POSITA would appreciate that the claim limitation is expressly

                                               - 62 -                          JA003226
        10625955
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                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 681 of 910 PageID #: 10261




       disclosed.

                               Claim 3: the nucleic acid-lipid particle of claim 2,
                               wherein the siRNA comprises from about 15 to about 60
                               nucleotides

                   162. The ’554 publication teaches “[t]he siNA can be, for example,

       about 15 to about 40 nucleotides in length” or “about 38 to about 70 …

       nucleotides in length.” Id., [0209], [0240]. Given the breadth of the claimed

       range, these disclosures are sufficiently specific to anticipate the claimed range.

       Moreover, given the explicit disclosure of encompassing ranges, this limitation

       is prima facie obvious.

                               Claim 4: the nucleic acid-lipid particle of claim 2,
                               wherein the siRNA comprises at least one modified
                               nucleotide
                   163. The ’554 publication teaches “the siNA component of a formulated

       siNA composition of the invention is chemically modified so as not to stimulate

       an interferon response in a mammalian cell, subject, or organism.” Id., [0102].

       From these disclosures, a POSITA would appreciate that the claim limitation is

       expressly disclosed.

                               Claim 5: the nucleic acid-lipid particle of claim 2,
                               wherein the siRNA comprises at least one 2’-O-methyl
                               (2’OMe) nucleotide
                   164. The ’554 publication teaches “examples of such chemical

       modifications include without limitation … 2′-O-methyl ribonucleotides ….”


                                                - 63 -                         JA003227
        10625955
                                                                         Moderna Ex 1008-p. 65
                                                                            Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 682 of 910 PageID #: 10262




       Id., [0194]. From these disclosures, a POSITA would appreciate that the claim

       limitation is expressly disclosed.

                               Claim 6: the nucleic acid-lipid particle of claim 2,
                               wherein said siRNA is about 19 to about 25 base pairs in
                               length

                   165. The ’554 publication teaches “the invention features a formulated

       siNA composition comprising a short interfering nucleic acid (siNA) molecule

       that down-regulates expression of a target gene, wherein said siNA molecule

       comprises about 15 to about 28 base pairs.” Id., [0178]. Given the breadth of

       the claimed range, these disclosures are sufficiently specific to anticipate the

       claimed range. Moreover, given the explicit disclosure of encompassing ranges,

       this limitation is prima facie obvious.

                               Claim 7: the nucleic acid-lipid particle of claim 2,
                               wherein said siRNA comprises 3’ overhangs
                   166. The ’554 publication teaches “siNA molecules of the invention

       comprise duplex nucleic acid molecules with overhanging ends of about 1 to

       about 3 (e.g., about 1, 2, or 3) nucleotides, for example, about 21-nucleotide

       duplexes with about 19 base pairs and 3′-terminal mononucleotide, dinucleotide,

       or trinucleotide overhangs.” Id., [0193]. From these disclosures, a POSITA

       would appreciate that the claim limitation is expressly disclosed.




                                                - 64 -                          JA003228
        10625955
                                                                          Moderna Ex 1008-p. 66
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 683 of 910 PageID #: 10263




                               Claim 8: the nucleic acid-lipid particle of claim 1,
                               wherein the cationic lipid comprises from 52 mol% to 62
                               mol% of the total lipid present in the particle

                   167. See Claim 1(c). For the reasons stated above, the ’554 publication

       discloses this range with sufficient specificity to anticipate. In the alternative,

       this range is prima facie obvious given the overlapping range in the ’554

       publication.

                               Claim 9: the nucleic acid-lipid particle of claim 1,
                               wherein the phospholipid comprises
                               dipalmitoylphosphatidylcholine (DPPC),
                               distearoylphosphatidylcholine (DSPC), or a mixture
                               thereof
                   168. The ’554 publication teaches “suitable neutral lipids include …

       DSPC … DPPC … and/or a mixture thereof.” Ex. 1004, [0085]. From these

       disclosures, a POSITA would appreciate that the claim limitation is expressly

       disclosed.

                               Claim 10: the nucleic acid-lipid particle of claim 1,
                               wherein the conjugated lipid that inhibits aggregation of
                               particles comprises a polyethyleneglycol (PEG)-lipid
                               conjugate

                   169. The ’554 publication teaches “[i]n addition to cationic and neutral

       lipids, the formulated molecular compositions of the present invention comprise

       a polyethyleneglycol (PEG) conjugate.” Id., [0457]. From these disclosures, a

       POSITA would appreciate that the claim limitation is expressly disclosed.



                                                 - 65 -                          JA003229
        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 684 of 910 PageID #: 10264




                              Claim 11: the nucleic acid-lipid particle of claim 10,
                              wherein the PEG-lipid conjugate comprises a PEG-
                              diacylglycerol (PEG-DAG) conjugate, a PEG-
                              dialkyloxypropyl (PEG-DAA) conjugate, or a mixture
                              thereof

                   170. The ’554 publication teaches “[s]uitable polyethyleneglycol-

       diacylglycerol or polyethyleneglycol-diacylglycamide (PEG-DAG) conjugates

       ….” Id., [0086]. Because one of the listed species of PEG-lipid conjugates is

       disclosed, this element is anticipated.

                              Claim 12: the nucleic acid-lipid particle of claim 11,
                              wherein the PEG-DAA conjugate comprises a PEG-
                              dimyristyloxypropyl (PEG-DMA) conjugate, a PEG-
                              distearyloxypropyl (PEG-DSA) conjugate, or a mixture
                              thereof

                   171. This limitation would have been obvious in view of the ’554

       publication in light of the knowledge of a POSITA. A POSITA would have been

       aware that PEG-dialkyloxypropyl (PEG-DAA) conjugates could be used in lieu

       of PEG-diacylglycerol (PEG-DAG) conjugates and that PEG-dialkyloxypropyl

       (PEG-DAA) conjugates can comprises a PEG-dimyristyloxypropyl (PEG-

       DMA) conjugate, a PEG-distearyloxypropyl (PEG-DSA) conjugate, or a

       mixture thereof. Indeed, the Patent Owner’s prior disclosures from years before

       the ’069 patent priority date address using PEG-DAA conjugates (e.g., PEG-

       DMA or PEG-DSA) in lieu of PEG-DAG conjugates. See, e.g., Ex. 1015 (’910

       publication), [0016].


                                              - 66 -                         JA003230
        10625955
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                                                                          Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 685 of 910 PageID #: 10265




                               Claim 13: the nucleic acid-lipid particle of claim 12,
                               wherein the PEG has an average molecular weight of
                               about 2,000 daltons

                   172. This limitation would have been obvious in view of the ’554

       publication in light of the knowledge of a POSITA. A POSITA would have been

       aware of PEG 2000 with an average molecular weight of about 2,000 daltons.

       Indeed, the Patent Owner’s prior disclosures from years before the ’069 patent

       priority date states:       “PEGs are classified by their molecular weights; for

       example, PEG 2000 has an average molecular weight of about 2,000 daltons.”

       See, e.g., Ex. 1015 (’910 publication), [0016].

                               Claim 14: the nucleic acid-lipid particle of claim 10,
                               wherein the nucleic acid-lipid particle comprises about
                               57.1 mol% cationic lipid, about 7.1 mol% phospholipid,
                               about 34.3 mol% cholesterol or a derivative thereof, and
                               about 1.4 mol% PEG-lipid conjugate

                   173. See Claim 1(c). As noted above, the “about” language in this

       limitation encompasses amounts ±10, 20, 30 mol% from the amounts listed in

       Claim 14 that still fall within the ranges in Claim 1. For this reason, the claimed

       are invalid for the reasons presented above for Claim 1.

                               Claim 15: the nucleic acid-lipid particle of claim 1,
                               wherein the conjugated lipid that inhibits aggregation of
                               particle comprises from 1 mol% to 2 mol% of the total
                               lipid present in the particle

                   174. See Claim 1(e). For the reasons stated above, the ’554 publication

       discloses this range with sufficient specificity to anticipate. In the alternative,

                                                - 67 -                          JA003231
        10625955
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                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 686 of 910 PageID #: 10266




       this range is prima facie obvious given the overlapping range in the ’554

       publication.

                               Claim 16: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid in the nucleic acid-lipid particle
                               is not substantially degraded after incubation of the
                               particle in serum at 37°C for 30 minutes

                   175. The ’554 publication teaches “[f]ormulated siNA compositions are

       complexed in EGM basal media (Bio Whittaker) at 37° C for 30 minutes in

       polystyrene tubes.” Ex. 1005, [0588]. Moreover, the ’554 publication is directed

       at “delivery agents that are serum stable, i.e. stable in circulation, that can

       undergo structural transformation, for example from lamellar phase to inverse

       hexagonal phase, under biological conditions.”           Id., [0014].   Given these

       disclosures, a POSITA would have understood the limitation to be disclosed.

                   176. In the alternative, this limitation would have been obvious in view

       of the ’554 publication in light of the knowledge of a POSITA. A POSITA

       would have been aware that the disclosed sample incubation parameters could

       have been used to establish serum stability as disclosed in the ’554 publication.

       It would have been obvious for a POSITA to incubate samples at 37°C for 30

       min to establish serum stability.

                               Claim 17: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid is fully encapsulated in the
                               nucleic acid-lipid particle
                   177. The ’554 publication teaches “[t]he encapsulation of anionic

                                                 - 68 -                          JA003232
        10625955
                                                                           Moderna Ex 1008-p. 70
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 687 of 910 PageID #: 10267




       compounds using cationic lipids is essentially quantitative due to electrostatic

       interaction.” Id., [0011]. A POSITA would understand that full encapsulation

       requires only an excess of cationic lipid with regard to the nucleic acid for

       electrostatic interaction. From these disclosures, a POSITA would appreciate

       that the claim limitation is expressly disclosed.

                               Claim 18: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid-lipid particle has a lipid:nucleic
                               acid mass ratio of from about 5 to about 15

                   178. The ’554 publication teaches “the siNA to lipid ratios (mass/mass

       ratios) in a formed formulated molecular composition range from about 0.01 to

       about 0.08.” Id., [0167]. This corresponds to a lipid:nucleic acid mass ratio of

       12.5 to 100. Given the breadth of the claimed range, these disclosures are

       sufficiently specific to anticipate the claimed range.

                   179. In the alternative, this limitation would have been obvious in view

       of the ’196 PCT in light of the knowledge of a POSITA. A POSITA would have

       been aware that the total mass of the lipid frequently needs to exceed the mass

       of the nucleic acid to ensure that the negative charge on the nucleic acid is

       overcome by the positive cationic lipid charge. Moreover, given the explicit

       disclosure of an overlapping range, this limitation is prima facie obvious.




                                                 - 69 -                          JA003233
        10625955
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                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 688 of 910 PageID #: 10268




                               Claim 19: the nucleic acid-lipid particle of claim 1,
                               wherein the nucleic acid-lipid particle has a median
                               diameter of from about 40 nm to about 150 nm

                   180. The ’554 publication teaches “[n]anoparticles of the invention

       typically range from about 1 to about 999 nm in diameter, and can include an

       encapsulated or enclosed biologically active molecule.” Id., [0317]. In addition,

       the ’554 publication teaches “[t]he formulated particles made by the methods of

       this invention have a size of about 50 to about 600 nm or more, with certain of

       the particles being about 65 to 85 nm.” Id., [0463]. Given the breadth of the

       claimed range, these disclosures are sufficiently specific to anticipate the

       claimed range. Moreover, given the explicit disclosure of an overlapping range,

       this limitation is prima facie obvious.

                               Claim 20: the nucleic acid-lipid particle of claim 1,
                               wherein the phospholipid comprises from 5 mol% to 9
                               mol% of the total lipid present in the particle
                   181. See Claim 1(d). For the reasons stated above, the ’554 publication

       discloses this range with sufficient specificity to anticipate. In the alternative,

       this range is prima facie obvious given the overlapping range in the ’554

       publication.

                               Claim 21: the nucleic acid-lipid particle of claim 1,
                               wherein the cholesterol or derivative thereof comprises
                               from 32 mol% to 36 mol% of the total lipid present in
                               the particle
                   182. See Claim 1(d). For the reasons stated above, the ’554 publication

                                                - 70 -                          JA003234
        10625955
                                                                          Moderna Ex 1008-p. 72
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 689 of 910 PageID #: 10269




       discloses this range with sufficient specificity to anticipate. In the alternative,

       this range is prima facie obvious given the overlapping range in the ’554

       publication.

                               Claim 22: a pharmaceutical composition comprising a
                               nucleic acid-lipid particle of claim 1 and a
                               pharmaceutically acceptable carrier

                   183. The ’554 publication teaches “[t]he pharmaceutical carrier is

       generally added following formulated siNA composition formation. Thus, after

       the formulated siNA composition is formed, the formulated siNA composition

       can be diluted into pharmaceutically acceptable carriers such as normal saline.”

       Ex. 1005, [0502]. From these disclosures, a POSITA would appreciate that the

       claim limitation is expressly disclosed.

             VIII.       CONCLUSION

                   184. In sum, it is my opinion that Grounds 1-3 advanced in the Petition

       demonstrate that the challenged claims of the ’069 patent are disclosed or

       rendered obvious by the cited prior art.




                                                - 71 -                          JA003235
        10625955
                                                                          Moderna Ex 1008-p. 73
                                                                             Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 690 of 910 PageID #: 10270




                   I hereby declare that all statements made herein of my own knowledge are

       true and that all statements made on information and belief are believed to be

       true; and further that these statements were made with the knowledge that willful

       false statements and the like so made are punishable by fine or imprisonment, or

       both, under Section 1001 of the Title 18 of the United States Code.




                   Executed on January 2, 2019 in Princeton, NJ.




                                                 - 72 -                          JA003236
        10625955
                                                                           Moderna Ex 1008-p. 74
                                                                              Moderna v Arbutus
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 691 of 910 PageID #: 10271




                   JOINT APPENDIX 85
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 692 of 910 PageID #: 10272




                   UNITED STATES PATENT AND TRADEMARK OFFICE
                                    __________

                   BEFORE THE PATENT TRIAL AND APPEAL BOARD
                                   __________


                               Moderna Therapeutics, Inc.

                                         Petitioner

                                             v.

                              Protiva Biotherapeutics, Inc.

                                        Patent Owner
                                        ___________


                               Case No. IPR2019-00554
                               U.S. Patent No. 8,058,069

                                        ___________


              DECLARATION OF THOMAS J. ANCHORDOQUY, PH.D.
          IN SUPPORT OF PETITIONER’S REPLY TO PATENT OWNER’S
                               RESPONSE




       Mail Stop: PATENT BOARD
       Patent Trial and Appeal Board
       U.S. Patent & Trademark Office
       P.O. Box 1450
       Alexandria, VA 22313-1450




                                                                       JA003237
        10809138
                                                                   Moderna Ex 1020-p. 1
                                                                     Moderna v Arbutus
                                                                        IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 693 of 910 PageID #: 10273

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069



                                                TABLE OF CONTENTS

                                                                                                                                     Page
       I.      INTRODUCTION ..................................................................................................... 1

       II.     SUMMARY OF OPINIONS ..................................................................................... 2

       III.    QUALIFICATION AND EXPERIENCE ................................................................. 3

       IV.     LEVEL OF SKILL IN THE ART ............................................................................. 8

       V.      CLAIM CONSTRUCTION....................................................................................... 9

       VI.     THE INSTITUTED GROUNDS ............................................................................. 14

               A.        An Overlapping Phospholipid Range Is Disclosed ..................................... 15

               B.        The Same Four Lipid-Component Carrier Particles Are Disclosed ............ 18

               C.        Lipid-Carrier Particles Are Amenable To Routine Optimization................ 20

               D.        Dependent claims......................................................................................... 48

       VII.    SECONDARY CONSIDERATIONS CANNOT OVERCOME
               PETITIONER’S OBVIOUSNESS SHOWING ...................................................... 53

               A.        The Test Data Is Not Commensurate With The Scope Of The
                         Claims .......................................................................................................... 53

               B.        Test Data Does Not Show Unexpected Results ........................................... 54

               C.        Other Secondary Considerations Lack The Required Nexus Or Are
                         Attributable To The Prior Art ...................................................................... 58

       VIII.   CONCLUSION ................................................................................................... 62




                                                                                                                              JA003238
                                                                      -i-                                              Moderna Ex 1020-p. 2
                                                                                                                         Moderna v Arbutus
                                                                                                                            IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 694 of 910 PageID #: 10274

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       I, Dr. Thomas J. Anchordoquy, PhD, declare as follows:

       I.    INTRODUCTION

             1.     I am a tenured Professor in the Department of Pharmaceutical

       Sciences at the University of Colorado Anschutz Medical Campus in Aurora,

       Colorado. I have been retained by counsel for ModernaTX, Inc. (“Moderna”)

       as an expert in the relevant art.


             2.     I understand that Moderna formerly engaged Dr. Andrew Janoff

       as an expert in this matter and that he submitted a declaration dated January 2,

       2019 (“Janoff Declaration”) in support of Moderna’s Petition for Inter Partes

       Review (“IPR”) of U.S. Patent No. 8,058,069 (the “’069 patent”) (“Petition”).

       EX1008. I understand that Dr. Janoff passed away in December 2019 and that I

       have been engaged to replace him as Moderna’s expert in this proceeding.


             3.     I have reviewed Dr. Janoff’s declaration and, while I may have

       emphasized different points or stated things differently, I agree with the general

       premises set-forth regarding the invalidity of the ’069 patent as stated therein.


             4.     On November 13, 2019, Patent Owner Protiva Biotherapeutics,

       Inc. (“Patent Owner”) filed its response to Moderna’s Petition (“Response”). I

       have been asked to provide additional explanation regarding the prior art and

       the state of the art in response to Patent Owner’s arguments in its Response.
                                                                               JA003239
                                              -1-                          Moderna Ex 1020-p. 3
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 695 of 910 PageID #: 10275

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       While counsel for Moderna has assisted in the preparation of this declaration

       (e.g., aiding in formatting and providing introductory language and legal

       standards), the substantive opinions discussed herein are my own.


             5.       This declaration is based on the information currently available to

       me. To the extent that additional information becomes available, I reserve the

       right to continue my investigation and study, which may include a review of

       documents and information that may be produced, as well as testimony from

       depositions.

       II.   SUMMARY OF OPINIONS

             6.       I understand that the Board ordered an IPR over the’069 patent

       with respect to the following grounds of unpatentability for claims 1-22:


             A.       Under §102 and §103 in view of either the ’196 PCT and ’189
                      publication;

             B.       Under §103 in view of each of the ’196 PCT and ’189 publication
                      in view of Lin and/or Ahmad; and,

             C.       Under §102 or §103 in view of the ’554 publication.

             7.       The ’069 patent is directed to a nucleic acid-lipid particle

       comprising four lipid components (i.e., a cationic lipid, cholesterol, a

       phospholipid and a conjugated lipid), each of which fall within a claimed

       proportion with regard to the total lipid in the particles. See, e.g., EX1001, cl.
                                                                                 JA003240
                                                -2-                          Moderna Ex 1020-p. 4
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 696 of 910 PageID #: 10276

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       1. In my opinion, Moderna has shown that the cited prior art in Grounds 1-3

       renders each of the claims in the ’069 patent invalid by a preponderance of the

       evidence.

       III.    QUALIFICATION AND EXPERIENCE

               8.    I possess the knowledge, skills, experience, training and the

       education to form an expert opinion and testimony in this case.


               9.    I received a bachelor of science in biology from Oregon State

       University in 1982. I received my master’s and doctoral degrees from the

       University of California Davis in Zoology in 1988 and 1989, respectively. I did

       my doctoral thesis work under the direction of Dr. John Crowe at the

       University of California Davis. Dr. Crowe is an expert in the stability of

       liposomes during freezing and drying, and this was the main topic of my thesis

       work.


               10.   I continued my studies at the University of Colorado as a post-

       doctoral researcher with Dr. John Carpenter in the University of Colorado

       School of Pharmacy, where I joined the faculty as an Assistant Professor in

       Pharmaceutical Sciences in 1998. I was promoted to Associate Professor in

       Pharmaceutical Sciences with Tenure in 2005, and then to Full Professor in

       2011.

                                                                               JA003241
                                              -3-                          Moderna Ex 1020-p. 5
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 697 of 910 PageID #: 10277

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             11.    While my doctoral degree is in Zoology, my laboratory focused

       almost exclusively on liposomes as a model membrane system while I

       conducted my dissertation research. Accordingly, I have been working with

       liposomes since 1985. My initial work focused primarily on the physical

       stability of liposomes during freezing and drying. At that time, liposomes were

       being investigated as drug delivery vehicles, and our work on stabilization was

       of interest to the pharmaceutical industry.


             12.    One of the main measures of stability for a liposome at the time

       was the extent to which it retained encapsulated drugs, and I frequently

       conducted assays to determine the extent to which liposomes leaked contents

       during various stresses.


             13.    I began working on the ability of liposomes and lipid particles to

       facilitate the delivery of nucleic acids during my post-doctoral research. At that

       time, 1996, the interest in gene therapy was intense and many of the people

       who studied liposomes were now focusing on DNA delivery. This became my

       predominant focus after I took my faculty position in 1998. During this time, I

       was in regular communication with scientists at Ribozyme Pharmaceuticals,

       which ultimately transitioned into Sirna Therapeutics, Inc. (the assignee of the

       ’554 publication (EX1005)) once the potential of siRNA technology became

       evident.
                                                                               JA003242
                                              -4-                          Moderna Ex 1020-p. 6
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 698 of 910 PageID #: 10278

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             14.    My first issued patent (filed in 2004, issued in 2011) described

       lipid encapsulation technology for use in delivering DNA and siRNA. In

       contrast to SNALP technology, my patent described a process by which lipid

       bilayers could be formed around a solution of nucleic acids, effectively

       surrounding the nucleic acids to achieve complete encapsulation within a lipid

       vesicle.


             15.    In addition, my laboratory focused on understanding the

       parameters that contributed to serum stability of lipid-nucleic acid particles as

       well as the mechanisms responsible for effective intracellular delivery. After

       two decades, my laboratory still focuses on understanding and optimizing

       lipid-mediated nucleic acid delivery.


             16.    As part of my faculty position in the Department of

       Pharmaceutical Sciences at the University of Colorado, I teach both pharmacy

       students and PhD students about the basics of pharmacy and drug development.

       Particularly relevant to the current proceeding, I train my PhD students and

       postdoctoral researchers in liposomes and lipid-mediated nucleic acid delivery.

       One of my main teachings in the PhD curriculum is a course I developed

       entitled “Liposome-based Drug Delivery” which reviews the genesis of many

       fundamental ideas in the field from their initial applications in liposomes

                                                                               JA003243
                                               -5-                         Moderna Ex 1020-p. 7
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 699 of 910 PageID #: 10279

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       through their adaptation to gene delivery and up to their current use for siRNA

       delivery.


             17.    In addition to training half a dozen postdoctoral researchers, I

       have graduated seven PhD students in my career, all of whom work in the

       pharmaceutical industry. Of particular relevance to the current proceeding, my

       first PhD student, Dr. Ye Zhang, graduated from my lab the day before being

       hired at Sirna Therapeutics in nearby Boulder, CO. Dr. Zhang is an inventor

       listed on the ’554 publication. EX1005.


             18.    Throughout my career, I have published over 100 manuscripts in

       peer-reviewed journals and books. The vast majority of these publications

       involve lipids and/or nucleic acids and focus on stability, formulation, and

       delivery. In addition, I have filed over a dozen patent applications mostly

       focused on the formulation of small molecule pharmaceuticals.


             19.    As mentioned previously, I am a recognized expert in the field of

       liposomes and lipid-mediated delivery, and I serve on the editorial/advisory

       board of several scientific journals including Pharmaceutics, Journal of

       Pharmaceutical Sciences, and Therapeutic Delivery. In addition to organizing

       symposia on gene and drug delivery for national meetings, I also frequently

       serve as a reviewer for the National Institutes of Health on study sections to

                                                                               JA003244
                                              -6-                          Moderna Ex 1020-p. 8
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 700 of 910 PageID #: 10280

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       evaluate grant applications associated with nucleic acid delivery, e.g., Gene

       and Drug Delivery, Nanotechnology, Biomaterials and Biointerfaces. My

       curriculum vitae is attached as EX1021.


             20.    I am being compensated by Moderna for my time spent in

       developing this declaration and for any time spent testifying in connection with

       this declaration at a rate of $750 per hour. My compensation is not contingent

       upon the substance of my opinion, the content of this declaration or any

       testimony I may provide, or the outcome of the inter partes review or any other

       proceeding. I have no financial interest in Moderna.


             21.    My opinions expressed in this declaration are in response to the

       Patent Owner’s Response and the associated Declaration of Dr. Thompson

       (EX2031). I have specifically reviewed the Petition and exhibits cited in the

       Petition, the Patent Owner’s Response and exhibits cited in the Response, and

       other documents and materials identified in this declaration, including the ’069

       patent (EX1001), the prior art references and materials discussed in this

       declaration, and any other references specifically identified in this declaration.


             22.    I am aware of information generally available to, and relied upon

       by, persons of ordinary skill in the art at the relevant times, including technical

       dictionaries and technical reference materials (including, for example,

                                                                                JA003245
                                               -7-                          Moderna Ex 1020-p. 9
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 701 of 910 PageID #: 10281

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       textbooks, manuals, technical papers, articles, and relevant technical

       standards).


             23.     I am not a patent attorney or an expert in patent law. I have

       reviewed the legal section of the Janoff Declaration (¶¶33-59) and have used

       those legal standards to guide my analysis.


             24.     I reserve the right to supplement my opinions to address any

       information obtained, or positions taken, based on any new information that

       comes to light throughout this proceeding.

       IV.   Level Of Skill In The Art

             25.     I have reviewed Dr. Janoff’s opinions regarding the level of skill

       in the art and the Board’s determinations related thereto in the Institution

       Decision, Paper 8 (“ID”), in this case, and agree that a person of ordinary skill

       in the art (“POSITA”) “would have specific experience with lipid particle

       formation and use in the context of delivering therapeutic nucleic acid

       payloads, and would have a Ph.D., an M.D., or a similar advanced degree in an

       allied field (e.g., biophysics, microbiology, biochemistry) or an equivalent

       combination of education and experience.”




                                                                                JA003246
                                               -8-                         Moderna Ex 1020-p. 10
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 702 of 910 PageID #: 10282

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             26.    Based upon my education and experience, I am at least a POSITA.

       I also agree with the Board that the level of ordinary skill in that art in this field

       is “high.” ID, 25.

       V.    Claim construction

             27.    In the related ’435 patent IPR, the Board construed “Nucleic Acid

       Lipid Particle” as “a particle that comprises a nucleic acid and lipids, in which

       the nucleic acid may be encapsulated in the lipid portion of the particle.”

       EX1022, 10-13. While I understand that the Board applied the “broadest

       reasonable interpretation” standard in the ’435 patent IPR, it noted that it was

       “construing this claim term when read in light of the Specification of the ’435

       patent ….” Id. I agree with the Board’s reasoning therein and agree that this is

       also the appropriate construction given the disclosures in the ’435 patent and

       file history as understood by a POSITA at the time.


             28.    Given the same specification and claim language in the instant

       proceeding, it is my opinion that the term should receive the same construction

       here. See EX1001, 11:4-12.


             29.    Patent Owner and Dr. Thompson argue for the same construction

       that the Board rejected in the ’435 patent IPR. See Resp., 9 (“… necessarily

       including a nucleic acid encapsulated in the lipid portion of the particle,

                                                                                  JA003247
                                                -9-                          Moderna Ex 1020-p. 11
                                                                                Moderna v Arbutus
                                                                                   IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 703 of 910 PageID #: 10283

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       thereby protecting it from enzymatic degradation.”). The Board soundly

       rejected this argument (see EX1022, 11-13). I agree with the Board’s rejection

       and the reasoning stated therein.


             30.    Patent Owner and Dr. Thompson argue that the Board’s ’435

       patent construction of this term “would encompass an empty lipid particle.”

       Resp., 10; EX2031, ¶¶32-33. This is not accurate as the claims also require a

       nucleic acid payload to be included as part of the particle. See EX1001, cl. 1.


             31.    In addition, the specification states “[t]he lipid particles and

       compositions of the present invention may be used for a variety of purposes,

       including the delivery of associated or encapsulated therapeutic agents to

       cells, both in vitro and in vivo.” EX1001, 6:20-23 (emphasis added). A

       POSITA would understand that “associated” as quoted is different from

       “encapsulated” and encompasses particles in which the nucleic acid is not

       within the interior of the particle and/or surrounded by lipids.


             32.    For example, it was known in the art at the time of the ’069 patent

       that the extent to which a nucleic acid is surrounded by lipids depends on the

       amount of nucleic acid and lipid used in the preparation, and the ratio of

       positive charges from the cationic lipids relative to anionic charges from the

       nucleic acid (the “N/P ratio”). For example, in many systems at low N/P ratios

                                                                                 JA003248
                                              - 10 -                        Moderna Ex 1020-p. 12
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 704 of 910 PageID #: 10284

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       containing comparatively less lipid, it was known that the probability of

       encasement of nucleic acids within a lipid barrier was reduced as compared to

       the situation at higher N/P ratios.


             33.    Furthermore, the term “encapsulation” is defined in the ’069

       patent as protection from degradation by nucleases (EX1001, 22:63-23:13), but

       it was well known that binding to many cations, e.g., polylysine, resulted in

       nuclease resistance and reduced dye staining even though such polymers do not

       contain an internal volume and structure that would be capable of physically

       surrounding the nucleic acid.


             34.    Patent Owner relies on a passage of the ’069 patent stating

       “nucleic acids, when present in the lipid particles of the present invention, are

       resistant in aqueous solution to degradation with a nuclease.” See EX1001,

       11:42-55. There are several methods of protecting different types of nucleic

       acids from degradation that were known in the art and do not involve

       encapsulation, including chemical synthesis with modifications to prevent

       degradation as described for ribozymes in the ’069 patent. Id., 44:33-35; see

       also EX1005, ¶20 (“The use of chemically-modified siNA improves various

       properties of native siRNA molecules through increased resistance to nuclease

       degradation in vivo, improved cellular uptake, and improved pharmacokinetic

       properties in vivo.”). Patent Owner’s arguments ignore these disclosures.
                                                                            JA003249
                                              - 11 -                      Moderna Ex 1020-p. 13
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 705 of 910 PageID #: 10285

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             35.    As the Board determined in the ’435 patent Final Decision, the

       portions of the prosecution history cited by Dr. Thompson address a SNALP,

       which is but one example of a nucleic-acid lipid particle. See EX1022, 12

       (“For instance, the ’435 patent identifies a ‘stable nucleic acid-lipid particle’ or

       SNALP as an example of a ‘nucleic acid-lipid particle,’ see, e.g., Ex. 1001,

       3:38–39 (stating ‘nucleic acid-lipid particle (e.g., SNALP)’), 3:47–48, 3:57–58,

       4:4–8, 4:12–13, 4:17–19, 27:43–45, and the term ‘nucleic acid-lipid particle’ is

       broader than a SNALP.’”).


             36.    Patent Owner and Dr. Thompson’s argument that the scope of the

       relevant art excludes references addressing lipoplexes (see, e.g., Resp. at 5, 44,

       56-57; EX2031, ¶¶153-157) is misplaced and ignores express disclosures in the

       ’069 patent and prior art.


             37.    As discussed above, the ’069 patent claims are not limited to

       SNALPs, which are identified as but one example of the claimed nucleic acid-

       lipid particles. See, e.g., EX1001, 3:27-28 (“In certain embodiments, the

       nucleic acid-lipid particle (e.g., SNALP) comprises ….”). A POSITA would

       understand that lipoplex and liposomal structures existed at the time of the ’069

       patent that meet the additional claim limitations.




                                                                                 JA003250
                                              - 12 -                        Moderna Ex 1020-p. 14
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 706 of 910 PageID #: 10286

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             38.     A POSITA at the time of the ’069 patent working with SNALPs,

       liposomes, or lipoplexes, would also regularly look at research and publications

       regarding other types of lipid carrier particles to inform their work. Indeed, the

       ’069 patent specifically references prior work done with types of carrier

       particles other than SNALPs. See, e.g., EX1001, 59:28-32 (“One sizing

       method, used for liposomes and equally applicable to the present particles

       ….”), 63:31-33 (referencing liposome sterilization techniques). The ’069 patent

       also incorporates the ’618 patent by reference. EX1001, 12:51-64. The ’618

       patent is directed at polynucleotide lipid complexes (i.e., lipoplexes). See

       EX1017, 30:22-41.


             39.     Further, a 2005 article published by the inventors on their work

       with SNALPs specifically cites to prior work done with other types of carrier

       particles, including liposomes and lipoplexes. See, EX1011, 277 (citing to prior

       work with fusogenic phospholipids in lipoplexes to inform research on

       SNALPs), 286-287 (multiple lipoplex and liposome research papers cited in

       the references as supporting various informative propositions). This confirms

       my opinion.


             40.     My own work in the field also supports looking at research for

       different types of lipid carrier particles to help inform further particle

       development. My graduate course in liposome-mediated drug delivery traces
                                                                         JA003251
                                               - 13 -                       Moderna Ex 1020-p. 15
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 707 of 910 PageID #: 10287

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       the origins of many of the lipid-carrier particle concepts described in the ’069

       patent (i.e., three-dimensional structure, PEGylation, and endosomal escape)

       from their initial use in liposomes up to their use in cationic lipid nanoparticles

       for use in siRNA delivery. In my opinion, it is irrefutable that these

       fundamental phenomena were established in the 1980s (when I was in graduate

       school), later applied to gene delivery using liposomes and lipoplexes, and

       ultimately co-opted for the development of siRNA delivery vehicles.


             41.    I thus agree with Dr. Janoff that a POSITA would have been

       motivated to combine earlier teachings regarding liposomes and lipoplexes

       (e.g., Lin (EX1006) and Ahmad (EX1007)) with the teachings of either the

       ’189 publication (EX1004) or the ’196 PCT (EX1003).

       VI.   THE INSTITUTED GROUNDS

             42.    Based upon the evidence presented, it is my opinion that

       Petitioner has demonstrated that claims 1-22 of the ’069 patent are invalid by a

       preponderance of the evidence. Each of the cited prior art references discloses

       nucleic acid-lipid particles with the four claimed lipid components and

       formulated with overlapping ranges for each of the lipid components. See

       EXS1003-1005. Patent Owner and Dr. Thompson’s arguments to the contrary

       do not change my opinion.


                                                                                JA003252
                                              - 14 -                       Moderna Ex 1020-p. 16
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 708 of 910 PageID #: 10288

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             43.    Patent Owner relies on arguments directed at the claimed range

       for the phospholipid and cholesterol components. Response, 14, 17. There does

       not appear to be anything special or critical about the claimed ranges for these

       components (i.e., phospholipid 4-10 mol%, cholesterol 30-40 mol%). EX1001,

       cl. 1. The lipid components are generally added as a bilayer stabilizing

       component or to provide rigidity to the lipid carrier particle. Generally, the

       concentrations of these lipids can be varied within reason with less impact on

       particle performance. For example, a POSITA would not expect a particle with

       11 mol% phospholipid versus 10 mol% in the claims or 41 mol% cholesterol

       versus 40 mol% as in the claims to behave differently in any impactful way.

             A.     An Overlapping Phospholipid Range Is Disclosed

             44.    Both prior art reference discloses a non-cationic lipid range of 5-

       90%. EX1003, [0091]; EX1004, [0152]; EX1005, [0313]. In addition, each

       reference discloses a narrower range for the non-cationic lipid that also

       overlaps with the claimed range. EX1003, [0091] (20-85%); EX1004, [0152]

       (30-70%); EX1005, [0313] (20-85%).


             45.    Each reference identifies a phospholipid as one of the species that

       can be used in the disclosed lipid-carrier particles. EX1003, [0089]; EX1004,

       [0159]; EX1005, [0455]. I agree with the Board’s reasoning that an

       overlapping range of phospholipids is thus disclosed to a POSITA in the prior
                                                                            JA003253
                                              - 15 -                       Moderna Ex 1020-p. 17
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 709 of 910 PageID #: 10289

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       art references. See ID, 22-24 (Phospholipid disclosed (’196 PCT/’189

       publication)), 36-37 (same for ’554 publication).


             46.    Patent Owner and Dr. Thompson argue that no range for a

       phospholipid is disclosed, because a phospholipid is just one type of potential

       non-cationic lipid. Response, 13-17; EX2031, ¶¶40-41. First, the prior art

       disclosures would have put a POSITA on notice that a phospholipid could be

       used in the disclosed carrier particles in the ranges cited above, even if it is

       only one potential non-cationic lipid species. Second, these arguments ignore

       the further disclosures in the working examples of each prior art reference

       discussed below.


             47.    In its Final Decision, the Board in the ’435 patent IPR found that

       there was no “particular range for the phospholipid [in the prior art] that

       overlaps the range required” in the ’435 patent claims. EX1022, 35. Patent

       Owner and Dr. Thompson offer similar arguments here. See, e.g., Resp. 2;

       EX2031, ¶¶38-58. I understand that the question is what a POSITA reading the

       reference would understand. Any argument that a POSITA would not be put on

       notice that a phospholipid could be used in the disclosed carrier particles in the

       ranges is contrary to the patentee’s statements in the ’069 patent file history

       (EX1016) and is not consistent with what a POSITA would understand having

       read the prior art and intrinsic record.
                                                                                 JA003254
                                                  - 16 -                    Moderna Ex 1020-p. 18
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 710 of 910 PageID #: 10290

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

              48.    The prosecution history confirms the disclosure of overlapping

       ranges for each lipid component. During the prosecution of the ’069 patent, the

       Examiner cited Protiva’s earlier ’910 publication as prior art. EX1016, 5-6. The

       Examiner pointed to ¶85 of the ’910 publication to support disclosure of

       overlapping range for each of the four lipid components: “MacLachlan teaches

       particles formulated with ranges of amounts that overlap with the instantly

       claimed ranges….” Id.


              49.    Patentee did not dispute the Examiner’s understanding and,

       indeed, put for the chart below identifying the prior art disclosed ranges for

       each lipid component (including the phospholipid):1




       As can be seen, a phospholipid range of 5-90 mol% is indicated.


              50.    The disclosures in the ’910 publication at ¶85 are substantively

       identical to the disclosures in Protiva’s later disclosures cited as prior art in this

       proceeding. See, e.g., EX1004, ¶152. Reading the file history, a POSITA


             I note that the patentee did not decrease to the range of the phospholipid to
              1

       accommodate the presence of cholesterol in the chart including in the file history.
                                                                                       JA003255
                                                  - 17 -                          Moderna Ex 1020-p. 19
                                                                                     Moderna v Arbutus
                                                                                        IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 711 of 910 PageID #: 10291

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       would thus understand the cited prior art to disclose an overlapping range for

       the phospholipid (and the other lipid components as well).

             B.     The Same Four Lipid-Component Carrier Particles Are
                    Disclosed

             51.    Patent Owner and Dr. Thompson’s argument that “[t]he petition

       separately parses the claimed amounts of cationic lipids, conjugated lipids, and

       non-cationic lipids from the references, without regard to one another”

       (Response, 27) is misplaced.


             52.    Each prior art reference describes lipid carrier particles with the

       four lipid components claimed in the ’069 patent (i.e., a cationic lipid,

       phospholipid, cholesterol and conjugated lipid). EX1003 [0088]-[0093];

       EX1004, [0152]; EX1005 [0313]. I agree with Dr. Janoff and the Board in its

       initial determination that EXS1003-1005 disclose overlapping ranges for each

       of these lipid components. ID, 16-18 (’196 PCT), 18 (’189 publication), 34-36

       (’554 publication); Janoff Decl. ¶¶92-99. A chart is included below

       summarizing the disclosed ranges:

                      Cationic Lipid         Non-Cationic      Conjugated Lipid
                                             Lipid
          ’196        2-60% [0088]           5-90% [0091]      0.5-25% [0093]
          ’189        2-60% [0152]           5-90% [0152]      0.5-20% [0152]

          ’554        2-60% [0313]           5-90% [0313]      1-20% [0313]


                                                                                  JA003256
                                              - 18 -                       Moderna Ex 1020-p. 20
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 712 of 910 PageID #: 10292

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             53.    Each reference also specifically discloses that the non-

       cationic/neutral lipid can be a mixture of a phospholipid and cholesterol.

       EX1003, [0090], EX1004, [0159].EX1005, [0443]. A POSITA would

       understand the following ranges to apply when a phospholipid/cholesterol are

       present using simple math to deduce the low point of the disclosed cholesterol

       range (in each case 20%) from the highpoint and low points of the non-cationic

       lipid range to determine the range for the phospholipid:


                          Cationic       Non-Cationic     Cholesterol      Conjugated
                          Lipid          Lipid                             Lipid
                ’196      2-60%          0-70% [0091]     20-45% [0091]    0.5-25% [0093]
                          [0088]

                ’189      2-60%          0-70% [0152]     20-55% [0152]    0.5-20% [0152]
                          [0152]
                ’554      2-60%          0-70% [0313]     20-45% [0313]    1-20% [0313]
                          [0313]


             54.    A POSITA would understand that individual lipid components in

       the prior art references are meant to be combined in the ranges of

       concentrations disclosed for each lipid to create the carrier particles. In other

       words, as with the ’069 patent, a POSITA would consider it appropriate to

       combine lipid components, using a point in the disclosed range for each

       component, to create carrier particles. A POSITA would have understood that

       if you increase the percentage of one lipid component, the remaining

       components have to decrease accordingly. Thus, the mathematical analysis that
                                                                          JA003257
                                              - 19 -                       Moderna Ex 1020-p. 21
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 713 of 910 PageID #: 10293

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       Dr. Janoff and the Board conducted in the ID to determine various lipid

       percentages was well within the understanding of a POSITA.


             55.    The four lipid component particles in each prior art reference

       including a cationic lipid, phospholipid, cholesterol and conjugated lipid are

       not theoretical. Each reference includes actual example formulations tested

       with such four-lipid component systems. For the four lipid component particles

       tested in the ’196 PCT, the formulation were 15/55/20/10

       (cationic/phospholipid/cholesterol/conjugated). See, e.g., EX1003, [0223]. For

       the four lipid component particles tested in the ’189 Publication, the

       formulation were 30/20/48/2 (cationic/phospholipid/cholesterol/conjugated) or

       40/10/48/2. EX1004 (Examples 13-17). For the four lipid component particles

       tested in the ’554 Publication, the formulations were 48/40/10/2, 30/20/48/2, or

       50/20/28/2. See, e.g., EX1005, Table IV (L051, L053, L054, L069, L077,

       L080, L082, L083, L109). Each of these examples are consistent with the

       ranges that I outlined in the charts above for four lipid component particles.

       The prior art thus expressly spells out the lipid components combined as in the

       ’069 patent claims to a POSITA.

             C.     Lipid-Carrier Particles Are Amenable To Routine
                    Optimization



                                                                                JA003258
                                             - 20 -                       Moderna Ex 1020-p. 22
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 714 of 910 PageID #: 10294

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             56.    Patent Owner and Dr. Thompson argue that the field involves

       complex technology and significant unpredictability. See, e.g., Resp. 12, 19-24;

       EX2004, ¶¶57-59, 136. I do not disagree with this general statement. For

       example, the claims encompass all nucleic acid payloads, cationic lipids, non-

       cationic lipids, and conjugated lipids. A POSITA would expect significant

       changes to the particle formulations like varying the payload (e.g., from a small

       siRNA to a large plasmid), the cationic lipid (e.g., from an ionizable cationic

       lipid to a non-ionizable cationic lipid), or the phospholipid (e.g., from a

       fusogenic phospholipid like DOPE to a stabilizing phospholipid like DSPC)

       would impact the effectiveness of a specific lipid composition. This is my

       understanding of what Dr. Janoff referred to in his declaration. See Janoff Decl.

       ¶¶65-66.


             57.    However, once a system has been defined (the payload, lipid

       species and method of particle formulation have been chosen) and shown to be

       effective, a POSITA would consider variation of the lipid percentages to

       determine the optimal lipid ranges a matter of routine optimization. See Janoff

       Decl. ¶108. For example, given the defined efficacious prior art systems

       discussed above (e.g., the 2:40 formulation in the ’189 publication), a POSITA

       would have used the general conditions of such systems as a starting point and

       been motivated to optimize the lipid formulations therein using routine
                                                                             JA003259
                                              - 21 -                       Moderna Ex 1020-p. 23
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 715 of 910 PageID #: 10295

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       optimization. I thus agree with the Board’s statement: “in view of the high

       level of ordinary skill in the art, that optimization of the ranges of components

       to achieve the claimed composition would be the ‘normal desire of scientists or

       artisans to improve upon what is already generally known.’” ID, 25.


             58.    In my experience, one of the first variables that was typically

       optimized was the amount of cationic lipid as reflected in the N/P ratio. See

       EX1005, [0149]-[0155] (optimizing N/P ratios). In fact, many commercial kits

       today instruct users to vary the amount of cationic lipid as the primary

       optimization protocol.


             59.    In a research lab setting, it has been my experience that it was

       standard practice (and still is) to first optimize the amount of cationic lipid

       (using the N/P ratio as opposed to just the cationic lipid concentration). For in

       vivo applications, a PEGylated (conjugated) lipid has been typically employed

       to reduce interactions with serum and uptake by phagocytic cells in the liver,

       lung, and spleen. See EX1008, ¶64. However, it was demonstrated long before

       the ’069 patent that PEGylation prevented uptake by phagocytic cells by

       reducing interactions with the cell surface. It was subsequently demonstrated

       (and well known to POSITA) that the reduced cellular interaction afforded by

       PEGylated lipids resulted in dramatic reductions in nucleic acid delivery once

       the particles reached the cells. EX1024, 241. Because of this, a POSITA would
                                                                             JA003260
                                              - 22 -                        Moderna Ex 1020-p. 24
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 716 of 910 PageID #: 10296

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       minimize the amount of PEGylated lipid to allow interactions with the target

       cell for intracellular delivery of the nucleic acid. Thus, at the time of the ’069

       patent, researchers generally used low levels of PEG needing little

       optimization. Finally, researchers optimize the amount of neutral lipid (e.g.,

       cholesterol and phospholipid). This general ordering is confirmed in the ’069

       patent. EX1001, 68:35-48.


             60.    The need to optimize the concentrations of the various lipid

       components is confirmed by the ’069 patent and prior art. The ’069 patent

       states that “[i]t will be readily apparent to one of skill in the art that depending

       on the intended use of the particles, the proportions of the components can be

       varied….” EX1001, 49:62-65. The prior art similarly states that “[i]t will be

       readily apparent to one of skill in the art that the proportions of the components

       of the nucleic acid-lipid particles may be varied.” EX1004, [0152]; see also

       EX1003, [0088] (“…the proportions of the components are varied….”);

       EX1024, 251.


             61.    The testing in the ’069 patent illustrates just this practice. See

       EX1001, Examples 2-3 (Tables 2 and 4). As can be seen on Table 2 below, the

       payload and composition is defined and the N/P ratio and proportions of the

       lipids are varied to determine the optimal range:

                                                                                 JA003261
                                               - 23 -                       Moderna Ex 1020-p. 25
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 717 of 910 PageID #: 10297

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069




             62.    It is worth noting that despite the wide range in lipid:drug ratios

       listed in Table 2, a calculation of the various amounts of actual cationic lipid as

       reflected in the N/P ratio in the different preparations reveals that samples 1-8

       utilize the exact same N/P ratio of about 3. Similarly, samples 9-16 utilize a

       N/P ratio of exactly double that ratio, approximately 6. It is clear that despite

       the range of component percentages listed, the experimenters took great care to

       control the N/P ratio, as would be expected by POSITA.


             63.    This is confirmed by Patent Owner’s ’910 publication which

       discloses experiments with a SNALP with a siRNA payload with a cationic

       lipid concentration ranging from 5%-40%. EX1015, [0335]. As can be seen

                                                                                JA003262
                                              - 24 -                       Moderna Ex 1020-p. 26
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 718 of 910 PageID #: 10298

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       from Figure 23, increasing concentrations of DLinDMA were tested to

       determine optimal knockdown levels.




             64.    This is also shown in Patent Owner’s reference EX2014. Tables 1

       and 2 of that reference show in detail testing of formulations for a wide variety

       of lipid percentages for each lipid component (e.g., a cationic lipid range of 20-

       80mol%) to optimize formulations. See also id., 116-120 (discussing

       optimization).


             65.    The file history is consistent with this means of optimization.

       During prosecution, the examiner specifically concluded that “MacLachlan

       teaches particles formulated with ranges of amounts that overlap with the

       instantly claimed ranges and teaches that the proportions of the components
                                                                             JA003263
                                             - 25 -                       Moderna Ex 1020-p. 27
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 719 of 910 PageID #: 10299

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       can be varied by those of skill in the art. Thus, by routine experimentation

       towards optimization, one of skill in the art could arrive at the instantly

       claimed proportions.” EX1016, 6 (emphasis added).


             66.    Thus, I agree with Dr. Janoff that given the defined systems in the

       prior art, “determining the optimal proportion of cationic lipid for a given lipid

       combination would be a simple matter of varying the proportion using prior art

       methodologies.” See Ex. 1008, ¶112.


             67.    Patent Owner argues that “[t]he petition does not identify a reason

       to select the claimed composition from the prior art references, nor does it

       address why there would be a reasonable expectation of success of arriving at

       the claimed compositions.” Response, 27. I disagree. The ’189 publication

       discloses effective transfection using a carrier particle with almost the exact

       same species of lipid components to carry the same nucleic payload as was

       tested in the ’069 patent. Compare EX1004 (Examples 13-17) with EX1001,

       (Examples 2-4).2 Given this defined system with demonstrated efficacy as

       shown in the ’189 publication, a POSITA would not start from scratch, but use




             2
               DPPC is used instead of DSPC in the ’069 patent testing, but Dr.
       Thompson acknowledges that a POSITA would expect the two phospholipids
       to behave similarly. EX2031, ¶102; EX2005:158:20-159:4 (“I don't think it's
       going to have that much of an impact.”).
                                                                            JA003264
                                              - 26 -                      Moderna Ex 1020-p. 28
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 720 of 910 PageID #: 10300

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       the general conditions of this proven systems as a starting point and would

       have been motivated to use it, or a similar system, with an expectation that the

       system to be similarly efficacious at optimized lipid concentrations.


             68.    Patent Owner and Dr. Thompson argue that the prior art ranges

       are too broad to support routine optimization. See, e.g., Response, 11. This

       argument ignores that: (1) the specification of each prior art reference discloses

       working examples disclosing narrower ranges of each lipid component that

       have been shown to work; and (2) POSITAs were aware of benefits of using

       the claimed ranges that would have motivated them to try such ranges with a

       reasonable expectation of success. I discuss each lipid component range in turn

       more detail below.


             69.    I have reviewed the Board’s Final Decision in the ’435 patent IPR.

       EX1022 (IPR2018-00739, Paper 51). I understand that the Board determined

       that Petitioner there did not carry its burden to establish obviousness. Id., 35-

       36. I understand from my review of the materials that the Board did not find

       that the claims in the ’435 patent could not be shown to be obvious in view of

       the prior art cited, but that in the Board’s opinion the Petitioner had not made

       such a showing based upon the record in that proceeding. Given the references

       I have reviewed in this proceeding, the ’069 patent claims would have been

       obvious to a POSITA at the time of the ’069 patent.
                                                                                JA003265
                                              - 27 -                       Moderna Ex 1020-p. 29
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 721 of 910 PageID #: 10301

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

                      (i)     Optimization Of The Cationic Lipid

              70.     As a preliminary matter, Patent Owner and Dr. Thompson’s

       repeated argument that there is no “motivation as to why a POSITA would

       increase the concentration of cationic lipid” (Response, 5-6, 16, 18, 25) beyond

       those reduced to practice in the prior art (e.g., the 2:40 formulation in the ’189

       publication) reflects a basic misunderstanding regarding the role of cationic

       lipids in particle performance.


              71.     The parameter of interest is the amount of cationic lipid, not

       merely its concentration. The net amount of cationic lipid available to offset

       the negatively charged nucleic acid phosphate groups depends on (1) the

       cationic lipid concentration and (2) the lipid to drug ratio. A POSITA would

       have known that both these variables must be taken into account in determining

       the amount of cationic lipid. For example, if you double the cationic lipid

       concentration from 25% to 50%, but halve the lipid to drug ratio, there is no

       net impact on the amount of cationic lipid in the particle.3




              3
                Of note, the claims of the ’069 patent are silent on the lipid to drug ratio to use with
       any given cationic lipid concentration and I have seen no data in the ’069 patent or cited art
       indicating a positive correlation of the cationic lipid concentration to transfection efficacy
       where the lipid to drug ratio is held constant.
                                                                                            JA003266
                                                    - 28 -                            Moderna Ex 1020-p. 30
                                                                                         Moderna v Arbutus
                                                                                            IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 722 of 910 PageID #: 10302

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

              72.     While N/P ratios of the lipid particles of the ’069 patent are not

       listed in the specification, a POSITA can calculate the ratio by using the

       lipid:drug mass ratio to determine the amount of total lipid used per phosphate

       on the nucleic acid, and then use the molar ratios of the lipid components to

       compute the moles of cationic lipid in the preparation. For example, on Table 4

       of Example 3 all of the formulations listed have an N/P ratio of approximately

       3 except Groups 11 and 12, which have a N/P ratio of double that,

       approximately 6:4




              4
                Given the consistency of the N/P ratios, it appears that the inventors intentionally
       used the approximately 3 and 6 ratios as benchmarks. It is, however, unclear as to why this
       information was omitted from the specification.
                                                                                          JA003267
                                                   - 29 -                           Moderna Ex 1020-p. 31
                                                                                       Moderna v Arbutus
                                                                                          IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 723 of 910 PageID #: 10303

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069




             73.    As discussed above, the ’189 publication discloses using

       substantially the same nucleic acid-lipid particles (same payload and

       substantially the same lipid components) as disclosed in the ’069 patent.

       Looking at Examples 13-17 in the ’189 publication, the N/P ratio tested in the

       ’189 publication was approximately 6—virtually the same as the N/P ratio

       tested in the ’069 patent. EX1004, [0350]-[0391]; see also EX1027, 3 (also

       tested at N/P ratio of 6).


             74.    Looking at the ’069 patent, for the formulations in Table 4 of

       Example 3, a POSITA would have known that by decreasing the lipid to drug

                                                                               JA003268
                                            - 30 -                       Moderna Ex 1020-p. 32
                                                                            Moderna v Arbutus
                                                                               IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 724 of 910 PageID #: 10304

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       ratio in Group 11 compared to Group 12 (from 23.6 to 17.8) and

       correspondingly increasing the cationic lipid concentration (from 40.4 to 57.1

       mol%), a consistent N/P ratio would be achieved. A POSITA would thus

       expect the resulting particles to perform similarly—exactly as shown by the

       data for Groups 11 and 12 in Example 3. This illustrates both a motivation to

       increase the cationic lipid percentage while decreasing the lipid:drug ratio to

       achieve the optimized N/P ratio, and a basis for expecting the particles to be

       effective.


             75.    The prior art also illustrates that a POSITA would have been

       motivated to increase the cationic lipid concentration in order to optimize the

       N/P ratio. It was known in the art that cationic lipids neutralize the “negative

       charge which is associated with the nucleic acids (or other polyanionic

       materials) present.” EX1004, [0223]. Indeed, the ’189 publication states that it

       is “more preferabl[e]” to have enough cationic lipid present to neutralize at

       least 90% of “the negative charge of the nucleic acid” (compared to 50% or

       70% of the charge). A POSITA would understand this to favor increasing

       amount of cationic lipid sufficiently to achieve the identified level of charge

       negation.


             76.    Moreover, a POSITA would have known that an excess of

       positive charge promotes endosomal release of the payload once a target is
                                                                           JA003269
                                              - 31 -                      Moderna Ex 1020-p. 33
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 725 of 910 PageID #: 10305

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       reached. EX1024, 230 (“Cationic lipids also function by providing the

       liposome with a net positive charge, which in turn enables binding of the NA

       complex to anionic cell surface molecules.”). A POSITA would have been

       aware that having more cationic lipid can increase interactions with the cell

       surface promoting binding with the target.


             77.    One potential benefit of increasing the cationic lipid concentration

       while decreasing the lipid:drug ratio (thus maintain the N/P ratio) is a net

       decrease in the amount of helper lipids (e.g., phospholipids, cholesterol, and

       PEG). Moreover, even if cationic lipid concentrations alone are considered a

       driver of efficacy (as opposed to the actual amount of cationic lipid), it is

       undisputed that each prior art reference discloses a cationic lipid range of 2-

       60%. See EX1003 [0088]; EX1004, [0152]; EX1005 [0313]. The upper end of

       this range overlaps with the claimed range in the ’069 patent. In addition, each

       reference discloses a narrower range of 40-50% that also overlaps with the

       claimed range. See id. A POSITA would have understood these disclosures to

       describe potential cationic lipid concentration ranges (including the 50-60%

       range) for effective lipid-carrier particles. These disclosures would thus

       motivate a POSITA to create particles at the upper end of the disclosed ranges

       (e.g., at 50% or above) with a reasonable expectation of success.


                                                                                JA003270
                                              - 32 -                       Moderna Ex 1020-p. 34
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 726 of 910 PageID #: 10306

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

                78.   The Patent Owner’s own disclosures illustrate a trend toward

       using higher cationic lipid concentrations. The ’196 PCT claims priority to

       2003 and discloses experiments with a SNALP with a siRNA payload and a

       four lipid component system with lipid percentages of 15/20/55/10

       (cationic/phospholipid/ cholesterol/conjugated).


                79.   Patent Owner’s U.S. Patent No. U.S. Patent No. 7,799,565 claims

       priority to mid-2004 and discloses experiments with a SNALP with a siRNA

       payload and a four lipid component system with lipid percentages of

       30/20/48/2 (cationic/phospholipid/ cholesterol/conjugated). EX1028, 52:54-

       53:17.


                80.   Patent Owner’s ’189 publication claims priority to late 2004 and

       discloses experiments with a SNALP with a siRNA payload and a four lipid

       component system with lipid percentages of 40/10/48/2

       (cationic/phospholipid/cholesterol/conjugated). EX1004, [0351]-[0385]. Over

       time, we thus see a consistent increase in the cationic lipid concentrations used

       in Patent Owner’s prior disclosures.




                                                                               JA003271
                                              - 33 -                      Moderna Ex 1020-p. 35
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 727 of 910 PageID #: 10307

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069




             81.   This is confirmed by Patent Owner’s ’910 publication which

       claims priority to 2004 and discloses experiments with a SNALP with a siRNA

       payload with a cationic lipid concentration ranging from 5%-40%. EX1015,

       [0335]. As can be seen from the figure, increased concentrations of DLinDMA

       were disclosed as being associated with greater knockdown levels confirming

       the understanding described above.




                                                                          JA003272
                                            - 34 -                   Moderna Ex 1020-p. 36
                                                                        Moderna v Arbutus
                                                                           IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 728 of 910 PageID #: 10308

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069




             82.    These disclosures would further motivate a POSITA, using the

       2:40 formulation as a starting point, to create particles with a cationic lipid in

       the claimed range with a reasonable expectation of success.




                                                                                 JA003273
                                              - 35 -                        Moderna Ex 1020-p. 37
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 729 of 910 PageID #: 10309

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             83.    Patent Owner and Dr. Thompson argue that all cationic lipids are

       toxic and a POSITA would thus always have sought to decrease the cationic

       lipid concentration. See, e.g., Response, 7. In so doing, Patent Owner again

       equates the cationic lipid concentration with the amount of cationic lipid used

       for delivery of a given payload.


             84.    As discussed above, a POSITA would have recognized that

       cationic lipid toxicity was largely determined by the N/P ratio. Moreover, a

       POSITA would have been aware that toxicity in nucleic acid-lipid particles is

       largely a function of such particles having a net positive charge at

       physiological pH.


             85.    To address potential toxicity issues, years before the ’069 patent

       priority date, ionizable cationic lipids had been developed whose charge was

       low at physiological pH, but became strongly cationic in the acidified

       environment of the endosome. EX1004 [0223] (using ionizable lipid

       DLinDMA); EX1011, 280 (same), Fig. 1 (showing substantially neutral charge

       at pH 7.4); EX1009, 6 (“Cationic lipids that are charged only at mildly acidic

       but not at neutral pH … may also be a potential solution to the toxicity issues

       ….”); EX1005, [0462] (same). This was confirmed by the lead inventor on the

       ’069 patent in a 2007 treatise. See EX1024, 239-240; see also EX2021, 173

       (neutral particles at physiological pH preferred). This understanding still holds
                                                                              JA003274
                                             - 36 -                       Moderna Ex 1020-p. 38
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 730 of 910 PageID #: 10310

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       true even today: “…such positively charged systems induce pronounced

       toxicity in vivo due to immune activation…[t]o circumvent this problem, we

       developed ionizable cationic lipids….” EX1026, 1085.


             86.    Because of the low charge of such cationic lipids at physiological

       pH, higher concentrations of cationic lipid could be used to increase the N/P

       ratio while maintaining a substantially neutral (non-toxic) charge in the

       resulting particles at physiological pH. It would have been routine to consider

       the pKa of the cationic lipid and the pH of the surrounding media in

       determining the extent to which the charge on the nucleic acid was neutralized.

       For example, as shown by EX1011, 281, the pKa of DLinDMA is 6.7. Having

       taken an undergraduate biochemisty course, POSITA would have been able to

       calculate that only one-sixth of the DLinDMA molecules thus possess a

       positive charge at physiological pH (the pH of blood is 7.4). Thus, a N/P ratio

       of approximately 6 would be required to fully neutralize the negative charges

       on the nucleic acid in the blood.


             87.    As stated in the ’189 publication, it is important to neutralize

       approximately 90% of the negative charges on the nucleic acid. EX1004,

       [0062]. A POSITA would have recognized that an N/P ratio of 3 would only

       neutralize approximately half of the negative charges on an RNA payload in

       the blood, and thus be insufficient according to the prior art.
                                                                                JA003275
                                              - 37 -                       Moderna Ex 1020-p. 39
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 731 of 910 PageID #: 10311

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

                88.   In fact, both the ’069 patent and the prior art ’189 publication

       demonstrate the use of high cationic lipid concentrations to achieve this

       optimal N/P ratio of 6. See, e.g., EX1004 [0351-0391] (in vivo testing of 2:40

       formulation using DLinDMA), [0076, 0151] (resulting particles “substantially

       non-toxic” and tested N/P ratio of approximately 6); EX1001, Example 3,

       Table 4 (N/P ratio of approximately 6 used for Groups 11-12).


                89.   Lin and Ahmad provide further support that a POSITA would

       have been motivated to employ greater amounts of cationic lipid. While Lin

       and Ahmad tested lipoplex formulations and the complicated nature of what

       affects transfection efficiencies of the CL-DNA complexes, the testing therein

       establishes that for certain cationic lipids, increasing the N/P ratio by elevating

       the cationic lipid concentrations above 50 mol% enhanced transfection

       efficiency. EXS1006-1007. I believe that this provides further impetus for a

       POSITA to increase the cationic lipid percentage in order to increase the N/P

       ratio.


                90.   Patent Owner argues that there was no motivation to combine Lin

       and Ahmad with the ’189 publication or ’196 PCT and no reasonable

       expectation of success in doing so. Response, 57. I disagree. First, the claims of

       the ’069 patent are not limited to non-lipoplex particles. Moreover, the ’189

       publication is also directed at SNALPs and it specifically identifies liposomes
                                                                                JA003276
                                               - 38 -                       Moderna Ex 1020-p. 40
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 732 of 910 PageID #: 10312

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       and lipoplexes as “alternative lipid-based carrier systems suitable for use with

       the present invention….” EX1004, [0149]. Second, as discussed above, in this

       field, it was common to look at prior research regarding various types of lipid

       carrier particles (e.g., liposomes and lipoplexes) when developing lipid carrier

       particles. Both of the Patent Owner’s prior art disclosures cite to prior work

       done on liposomes and lipoplexes. EX1003, [0132] (prior work with

       liposomes), [0175] (prior work with lipoplexes); EX1004, [0203] (liposome),

       [0156] (incorporating ’618 patent by reference which is directed to lipoplexes).


             91.    A POSITA would have a had a reasonable likelihood of success in

       increasing the cationic lipid concentrations to bolster the N/P ratio given the

       express disclosures in the prior art of ranges up to 60%, the trend in the patent

       owner’s prior disclosures of using higher cationic lipid proportions, and the

       availability of ionizable cationic lipids that are substantially charge neutral at

       physiological pH.


             92.    Patent Owner argues that Ahmad teaches away from increasing

       the cationic lipid concentration. Response, 59. While Ahmad mentions toxicity

       issues, Ahmad notes that the “toxic effects” are only a mere possibility:

       “minimizing the amount of cationic lipid is desirable to reduce cost as well as

       potential toxic effects of the cationic lipid.” EX1006, 745 (emphasis added).

       Ahmad specifically noted that in vitro, the tested cationic lipid amounts
                                                                              JA003277
                                              - 39 -                        Moderna Ex 1020-p. 41
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 733 of 910 PageID #: 10313

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       showed “no toxic effects on the cells as judged by cell morphology and the

       amount of total cellular protein.” EX1006, 745-46. It is my understanding that

       claim 1 encompasses particles for in vitro use, In addition, a POSITA would

       have considered the findings of Ahmad informative in terms of needing to

       balance the increased delivery provided at high N/P ratios with the toxicity

       associated with increasing amounts of cationic lipid. Ahmad also utilized

       multivalent cationic lipids to achieve very high charge densities in order to test

       their hypothesis, and it was known by a POSITA that such extreme charge

       densities with multivalent cationic lipids were not suitable for in vivo use due

       to their toxicity.


              93.    Patent Owner also mischaracterizes Ahmad as reaching

       “saturation” at 50% cationic lipid. See Response, 58. Ahmad shows no such

       thing. As can be seen below, the monovalent cationic lipids do not level off

       until about 80% (EX1007, Fig. 3):




                                                                               JA003278
                                              - 40 -                      Moderna Ex 1020-p. 42
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 734 of 910 PageID #: 10314

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069




             94.   Patent Owner and Dr. Thompson point to accumulation in the

       plasma and immunogenicity as alternative sources of toxicity. Response, 29-

       30; EX2031, ¶86. Patent Owner confirmed, however, the lack of such toxicity

       issues for the 2:40 SNALP formulation in 2006. EX1027, 3. Patent Owner

       disclosed that its prior art 2:40 SNALP system resolved toxicity concerns:

       “[t]here was no evidence for complement activation, delayed coagulation, pro-

       inflammatory cytokine production (Supplementary Table 1) or changes in

       haematology parameters (data not shown), toxicities that have been observed

       previously with treatments using related approaches.” Id., 3. Thus, a POSITA

       would not have been dissuaded from using higher cationic lipid concentrations

       in such systems.



                                                                             JA003279
                                            - 41 -                      Moderna Ex 1020-p. 43
                                                                           Moderna v Arbutus
                                                                              IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 735 of 910 PageID #: 10315

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             95.    Patent Owner and Dr. Thompson also point to Moderna

       publications stating that toxicity issues with modern cationic lipids can be

       further minimized. Response, 29-30. That cationic lipids may be further

       improved does not negate their use at tolerable levels at the time of the ’069

       patent.

                    (ii)   Optimization Of The Conjugated Lipid

             96.    Each prior art reference discloses an encompassing or overlapping

       range for the conjugated lipid. EX1003, [0093] (0.5-25%); EX1004, [0152]

       (0.5-20%); EX1005, [0313] (1-20%). In addition, the ’189 publication

       discloses a narrower point for the conjugated lipid that also overlaps with the

       claimed range. EX1004, [0152] (2%).


             97.    Each prior art reference discloses four lipid component particles

       that are effective in vivo which contain a conjugated lipid at the lower end of

       the disclosed ranges. For the four lipid component particles tested in the early

       ’196 PCT, the conjugated lipid was 10%. See, e.g., EX1003, [0223]. For the

       four lipid component particles tested in the later ’189 Publication, the

       conjugated lipid was down to 2%. See, e.g., EX1004, [0289], [0369]. For the

       four lipid component particles tested in the ’554 Publication, the conjugated

       lipid was also 2%. See, e.g., EX1005, Table IV (L051, L053, L054, L069,


                                                                                  JA003280
                                             - 42 -                       Moderna Ex 1020-p. 44
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 736 of 910 PageID #: 10316

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       L077, L080, L082, L083, L109). This illustrates the trend in using minimal

       amounts of conjugated lipid.


             98.    As Dr. Janoff pointed out, it was known in the art that a

       conjugated lipid could be included to prevent particle aggregation in serum.

       Janoff Decl. ¶61. In addition, the following “PEG dilemma” was known in the

       art: including enough PEG to stabilize the particle, but not so much that the

       particle is unable to engage the target in vivo. EX1024, 241. In other words, it

       was known that the amount of conjugated lipid (e.g., PEG) should be

       minimized to allow the nucleic acid payload to interact with the target cell to

       maximize delivery. Id.


             99.    Patent Owner’s argument that “low levels of conjugated lipid (i.e.,

       0.5 mol% to 2 mol%) would have been expected to result in unstable particles

       that aggregate and fail to effectively transfect cells” (Response, 30.) ignores the

       actual testing done in the prior art. A POSITA would have known that the

       presence of phospholipids also helps to maintain a bilayer structure, thereby

       allowing lower levels of conjugated lipid to be used.


             100. The claimed range of 0.5-2% conjugated lipid is within the

       disclosed ranges for conjugated lipid in the prior art and consistent with the

       ranges actually tested in the prior art. Given the accepted reasoning in the field

                                                                                JA003281
                                              - 43 -                      Moderna Ex 1020-p. 45
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 737 of 910 PageID #: 10317

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       regarding the use of conjugated lipid and effective four-lipid component

       systems using conjugated lipid in the claimed range, a POSITA would have

       been motivated to test such ranges in optimizing the prior art disclosed ranges

       and also had a reasonable likelihood of success.


             101. Patent Owner and Dr. Thompson point to other systems that used

       10% PEG. That other systems using higher PEG percentages may have existed

       does not negate that a POSITA would have been well aware of the examples

       above, in which lower levels of PEG were used.


             102. Patent Owner and Dr. Thompson also argue that a high level of

       cationic lipid and a low level of PEG in tandem was contrary to the prevailing

       wisdom. Response, 18-19, 29; EX2031, ¶¶57-58, 77-78. This is not consistent

       with the disclosures in the ’189 publication and ‘554 publication of high levels

       of cationic lipid and low levels of PEG. EX1004 [0351-0391] (40 mol%

       cationic lipid/2 mol% PEG); EX1005, [0408], Table IV (L077, L069, L080,

       L082, L083, L060, L061, and L051 with 48-52 mol% cationic lipid and 2-3

       mol% PEG). While these specific formulations vary slightly from the claimed

       ranges, they do establish the falsity of Patent Owner’s assertion that use of high

       cationic lipid concentrations coupled with low PEG concentrations in vivo was

       not known.

                    (iii)   Optimization Of The Cholesterol
                                                                               JA003282
                                             - 44 -                       Moderna Ex 1020-p. 46
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 738 of 910 PageID #: 10318

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             103. Each reference also discloses that the non-cationic lipid can

       comprise a mixture of cholesterol and another non-cationic lipid (e.g., a

       phospholipid). Each reference discloses that cholesterol, when present, is in a

       certain range. EX1003 (20-45% [0091]); EX1004 (20-55% [0152]); EX1005

       (20%-45% [0311]). Each reference also specifically discloses using cholesterol

       when a phospholipid is used. EX1003 [0158] (“The method is especially useful

       for vesicles made from phospholipids (which can contain cholesterol).…”);

       EX1004, [0238] (same); EX1005, [0499] (same).


             104. Each prior art reference discloses four lipid component particles

       that are effective in vivo which contain a phospholipid and cholesterol. For the

       four lipid component particles tested in the ’196 PCT, the formulation

       contained 20% cholesterol. See, e.g., EX1003, [0223]. For the four lipid

       component particles tested in the ’189 Publication, the formulations were 48%

       cholesterol for both the 2:30 and 2:40 formulations. See, e.g., EX1004, [0289],

       [0369]. For the four lipid component particles tested in the ’554 Publication,

       the formulations were 10-48% cholesterol. See, e.g., EX1005, Table IV (L051,

       L053, L054, L069, L077, L080, L082, L083, L109).


             105. It was known in the art that cholesterol could be added to a lipid

       carrier particle to provide rigidity to the particle. Janoff Decl., ¶71; EX1010, 6

       (presence of cholesterol leads to higher transfection efficiency). A POSITA
                                                                              JA003283
                                              - 45 -                       Moderna Ex 1020-p. 47
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 739 of 910 PageID #: 10319

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       would have been aware that a minimum amount of cholesterol was thought to

       be required to saturate the lipid mixtures and to provide stability (e.g., in the

       20-25% range). EX1003 (20-45% [0091]); EX1004 (20-55% [0152]); EX1005

       (20%-45% [0311]). A POSITA would also have been aware of the risk of the

       cholesterol precipitating out of solution if too much was used. Upper limits of

       40-55% were thus commonly used to avoid this risk. EX1003 (20-45%

       [0091]); EX1004 (20-55% [0152]); EX1005 (20%-45% [0311]).


             106. The claimed range of 30-40% cholesterol is squarely within the

       disclosed ranges for cholesterol in the prior art and the generally acceptable

       ranges in the field. A POSITA would thus have been motivated to test such a

       range in optimizing particle formulations. Given the accepted reasoning in the

       field regarding the use of cholesterol and effective four-lipid component

       systems using cholesterol in the claimed range, a POSITA would have also had

       a reasonable likelihood of success.

                    (iv)   Optimization Of The Phospholipid

             107. A POSITA at the time of the ’069 patent would have been aware

       that phospholipids could be included as a bilayer stabilizing component. As

       discussed in the ’554 publication, it was desirable to design delivery systems to

       maintain the bilayer structure for stability in the blood, but to transition to the


                                                                                 JA003284
                                               - 46 -                       Moderna Ex 1020-p. 48
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 740 of 910 PageID #: 10320

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       fusogenic hexagonal phase inside the target cell. EX1005, [0137]; see also

       EX1024, 239-240.


             108. Each prior art reference discloses four lipid component particles

       that are effective in vivo which contain a phospholipid. For the four lipid

       component particles tested in the ’196 PCT, the formulations contained 55%

       phospholipid. See, e.g., EX1003, [0223]. In the later disclosures of the’189

       Publication, the four lipid component particles tested included 20%

       phospholipid or 10% phospholipid. See, e.g., EX1004, [0289], [0369]. For the

       four lipid component particles tested in the ’554 publication, the phospholipid

       ranged from 20-40%. See, e.g., EX1005, Table IV (L051, L053, L054, L069,

       L077, L080, L082, L083, L109). The disclosed phospholipid range is thus not

       theoretical.


             109. This balance required the use of components that served to

       promote the bilayer structure, and a POSITA would have understood that most

       phospholipids (including DSPC, DPPC) would serve this purpose. As with the

       conjugated lipid, a POSITA would have been aware that having some amount

       of phospholipid can provide structural stability to the resulting particles, but

       having too much will inhibit release of the payload upon contact with the

       endosome. Thus, a POSITA would have been motivated to test phospholipid

       concentrations at the lower end of the disclosed ranges, especially when a
                                                                             JA003285
                                              - 47 -                       Moderna Ex 1020-p. 49
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 741 of 910 PageID #: 10321

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       conjugated lipid is also used. This is confirmed by the use of 10% phospholipid

       in the closest prior art—the 2/40 formulation tested in the ’189 publication.

             D.     Dependent claims

             110. Claim 8 specifies that the cationic lipid comprises from 52 mol%

       to 62mol%. Given the disclosures above in the prior art regarding the disclosed

       range for the cationic lipid, the tested range for the cationic lipid and the

       motivation for a POSITA to optimize the claimed range with a reasonable

       likelihood of success, this slightly narrower range reflects routine optimization

       (52 mol% -62 mol% vs. 50 mol% - 65 mol%) that would have been obvious to

       a POSITA.


             111. Claim 14 specifies that the particles have “about 57.1 mol%

       cationic lipid, about 7.1 mol% phospholipid, about 34.3 mol%

       cholesterol…and about 1.4 mol % PEG-lipid conjugate.” While Patent Owner

       argues that “this claim is drawn to a 1:57 particle” (Response, 61), Patent

       Owner does not explain what “about” encompasses. During prosecution, the

       examiner stated in this context that “‘comprising about’ could embrace an

       amount ±10, 20, 30 mol% of a lipid component.” Ex. 1016, 5/12/11 Rejection,

       2. This would result in ranges far wider than those addressed above. Moreover,

       even at the narrowest, a POSITA would understand these limitations to

       encompass at least the variability in particle formulation described in the
                                                                               JA003286
                                              - 48 -                        Moderna Ex 1020-p. 50
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 742 of 910 PageID #: 10322

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       specification: “typically, in the 1:57 formulation, the amount of cationic lipid

       will be 57 mol% +- 5 mol%, and the amount of lipid conjugate will be 1.5

       mol% +- 0.5 mol%.” EX1001, 68:39-41. The resulting ranges of 52.1-62.1

       mol% cationic lipid and 0.9-1.9 mol% conjugated lipid are only slightly

       different than the ranges in claims 1 and 8 addressed above. While the

       specification is silent on the variability in the phospholipid and cholesterol, a

       POSITA would expect some variability as they make up the remaining lipid in

       the particle.


              112. Given the disclosures above in the prior art regarding the

       disclosed ranges for the lipid components, the tested range for the lipid

       components and the motivation for a POSITA to optimize the claimed ranges

       with a reasonable likelihood of success, these slightly narrower ranges reflects

       routine optimization that would have been obvious to a POSITA.


              113. Claim 15 specifies that the conjugated lipid comprises from 1

       mol% to 2 mol% of the total lipid present in the particle. Given the disclosures

       above in the prior art regarding the disclosed range for the conjugated lipid, the

       tested range for the conjugated lipid and the motivation for a POSITA to

       optimize the claimed range with a reasonable likelihood of success, this

       slightly narrower range reflects routine optimization that would have been

       obvious to a POSITA.
                                                                                JA003287
                                              - 49 -                       Moderna Ex 1020-p. 51
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 743 of 910 PageID #: 10323

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             114. Claim 16 specifies that the nucleic acid in the nucleic acid-lipid

       particle is not substantially degraded after incubation of the particle in serum at

       37°C for 30 minutes. As Dr. Janoff explained, each prior art reference discloses

       that the described lipid-carrier particles are serum stable (as defined therein in

       an equivalent fashion to the claim limitation). Janoff Decl. ¶¶136-137, 175-

       176. Patent Owner argues that these descriptions refer to “the ability to test” for

       degradation. Response, 62. That is not accurate. The disclosures describe the

       resulting particles and map similar disclosures in the ’069 patent. EX1001,

       22:50-53. Given these disclosures and the successful in vivo testing described

       in the prior art, a POSITA would have both a motivation to create serum stable

       particles and reasonable expectation of success of achieving such particles.


             115. Claim 17 specifies that the nucleic acid is fully encapsulated in the

       nucleic acid-lipid particle. Fully encapsulated is defined at EX1001, 22:63-23:6

       as being “not significantly degraded” in serum. A POSITA would understand

       that this is tested as described above in claim 16 and is demonstrated by in vivo

       effectiveness. Claim 17 specifies that the nucleic acid is fully encapsulated in

       the nucleic acid-lipid particle. Fully encapsulated is defined at EX1001, 22:63-

       23:6 as being “not significantly degraded” in serum (e.g., “less than about 25%

       of the active agent or therapeutic agent in the particle is degraded”). Patent

       Owner’s own publications from 2006 regarding the 2:40 formulation
                                                                                JA003288
                                              - 50 -                       Moderna Ex 1020-p. 52
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 744 of 910 PageID #: 10324

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       confirmed “[n]ucleic acid encapsulation efficiencies were 92-97%.” EX1027,

       2-3.


              116. Given the disclosures above for Claim 16, the additional

       disclosures described by Dr. Janoff (Janoff Decl. ¶¶138, 177) and the

       disclosure of successful in vivo testing described in the prior art, a POSITA

       would have both a motivation to create particles with the described

       encapsulation and reasonable expectation of success of achieving such

       particles.


              117. Claim 18 specifies that the nucleic acid-lipid particle has a

       lipid:nucleic acid mass ratio of from about 5 to about 15. A POSITA would

       have known that the lipid:nucleic acid mass ratio would impact the N/P ratio.

       As Dr. Janoff explained, a “POSITA would have been aware that the total mass

       of the lipid frequently needs to exceed the mass of the nucleic acid to ensure

       that the negative charge on the nucleic acid is overcome by the positive

       cationic lipid charge.” Janoff Decl. ¶179. As discussed above, adjusting the

       N/P ratio was typically the first step in carrier particle optimization. This is

       reflected in the prior art: “the nucleic acid to lipid ratios (mass/mass ratios) in a

       formed nucleic acid-lipid particle will range from about 0.01 to about 0.2, from

       about 0.03 to about 0.01 or from about 0.01 to about 0.08.” EX1004, [0198];

       EX1003, [0127] (same); EX1005, [0167], [0468] (same). A nucleic acid:lipid
                                                                         JA003289
                                               - 51 -                       Moderna Ex 1020-p. 53
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 745 of 910 PageID #: 10325

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       ratio of .08 is equivalent to a lipid:nucleic acid ratio of 12.5 and optimization of

       the mass ratios would be obvious given the impact on the N/P ratio and the

       requirement for different N/P ratios depending on the pKa of cationic lipid

       used and the nucleic acid payload.


             118. Claim 20 specifies that the phospholipid comprises from 5 mol%

       to 9 mol% of the total lipid present in the particle. Given the disclosures above

       in the prior art regarding the disclosed range for the phospholipid, the tested

       range for the phospholipid and the motivation for a POSITA to optimize the

       claimed range with a reasonable likelihood of success, this slightly narrower

       range reflects routine optimization that would have been obvious to a POSITA.


             119. Claim 21 specifies that the cholesterol or derivative thereof

       comprises from 32 mol% to 36 mol% of the total lipid present in the particle.

       Given the disclosures above in the prior art regarding the disclosed range for

       cholesterol, the tested range for cholesterol and the motivation for a POSITA to

       optimize the claimed range with a reasonable likelihood of success, this

       slightly narrower range reflects routine optimization that would have been

       obvious to a POSITA.


             120. Claim 22 specifies a “pharmaceutical composition comprising a

       nucleic acid-lipid particle of claim 1 and a pharmaceutically acceptable

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                                              - 52 -                       Moderna Ex 1020-p. 54
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 746 of 910 PageID #: 10326

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       carrier.” Patent Owner does not dispute that the payloads in the prior art were

       typically siRNA and the goal was to develop particles for therapeutic

       treatment. The prior art discloses using “pharmaceutically acceptable carriers”

       like saline. EX1008, ¶183; EX1005, [502]; EX1004, 242 (same); EX1003,

       [0175]. A POSITA would thus understand these additional limitation to be

       obvious in view of the prior art.

       VII. SECONDARY CONSIDERATIONS CANNOT OVERCOME
            PETITIONER’S OBVIOUSNESS SHOWING

             A.     The Test Data Is Not Commensurate With The Scope Of The
                    Claims

             121. I have reviewed Dr. Janoff’s analysis of the test data presented in

       the ’069 patent and agree that it fails to demonstrate unexpected results.

       EX1008, ¶¶81-87. Patent Owner relies on test data that covers only a small

       portion of the potential numeric ranges in the claims, and an even smaller

       portion of the potential lipid components and payloads claimed. A POSITA

       would be aware that changes to the payload, identity of lipid components, or

       production techniques can impact efficacy. The ’069 patent test data compares

       only a single data point, the 1:57 formulation, to the closest prior art 2:40

       formulation. See EX1001, Fig. 2. Moreover, the claims cover all lipid species

       for the identified genus—given the limited subset of payloads, lipid



                                                                                JA003291
                                              - 53 -                       Moderna Ex 1020-p. 55
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 747 of 910 PageID #: 10327

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       components, and production techniques tested, there is no reason to believe the

       1:57 test data would apply to all other claimed particles.

             B.     Test Data Does Not Show Unexpected Results

             122. Patent Owner mischaracterizes the results of Figure 1. Response,

       33-34. Figure 1B shows prior art formulations (e.g., Sample 12 (2:40 type

       SNALP)) possessing the same efficacy as the 1:57 SNALP. Patent Owner’s

       assertion that the data illustrate increased potency is thus not supported. Most

       of the other data points perform similarly as well. This is not surprising given

       the same N/P ratio was used for Samples 9-16.


             123. Patent Owner’s arguments regarding Example 3 of the ’069 patent

       are also unsupported. See Response, 4-5. As discussed above, Groups 11-12 on

       Table IV are the only two samples tested at a N/P ratio of 6. That such samples

       outperform samples formulated at a N/P ratio of 3 would have been expected

       when using an ionizable cationic lipid. EX1004, Fig. 2.


             124. Patent Owner argues that Sample 12 may have performed

       marginally better than Sample 11. Response, 43; EX2031, ¶100. My review of

       the data indicates that the samples appear to behave similarly as would be

       expected from such similar formulations possessing the same N/P ratio. Any

       assessment of differences between formulations would require a statistical test

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                                             - 54 -                       Moderna Ex 1020-p. 56
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 748 of 910 PageID #: 10328

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       which was not presented. However, my visual inspection indicates that the

       performance of Sample 11 was not significantly different than Sample 12.


             125. Patent Owner and Dr. Thompson argue that the bar for evaluating

       unexpected results should not be the demonstrated performance of the known

       2:40 type SNALPs, but any apparent efficacy versus a PBS standard.

       Response, 32 (expect “little, if any, efficacy”); EX2004, ¶¶66-67. This does not

       reflect the understandings of a POSITA in evaluating unexpected results given

       the prior performance of the 2:40 SNALP.


             126. Patent Owner also relies on testing in Example 4 regarding the

       prior art 2:30 formulation. Response, 35. First, the 2:30 formulation is not the

       closest cited prior art, the 2:40 is—and Example 3 shows the 2:40 formulation

       performing substantially similarly to the 1:57 formulation. Second, different

       dosing regimes were used between samples in the testing in Example 4 and

       there was no dose response data presented. It is unclear how the 2:30 would

       have performed at the same dosing regime as the 1:57 formulation.


             127. It is also important to point out that all the formulations in

       Examples 4 and 5 were performed at the non-optimized N/P ratio of 3.

       Comparisons of formulations at the non-optimized N/P ratio are difficult to

       justify and are of minimal value.

                                                                               JA003293
                                             - 55 -                       Moderna Ex 1020-p. 57
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 749 of 910 PageID #: 10329

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

             128. I understand that Dr. Thompson at his deposition argued that the

       results in Example 3 are relevant because he expects the 2:30 and 2:40

       formulations to behave comparably based upon data reported in Figures 9 and

       13 of the ’189 publication. Ex. 1025, 183:23-191:10 (“…My opinion is that the

       2-to-40 formulation is not substantially better than the 2-to-30….”). A POSITA

       would not consider this a scientifically supported position. The data from these

       figures is from two separate tests involving different dosing regimes, different

       lipid species and different durations. EX1004, [0326]-[0333], [0360]-[0367].

       Given this variability, drawing such parallels is not scientifically valid.


             129. Patent Owner also points to Examples 5 and 7-11 from the ’069

       patent, but these examples do not contain any comparison in performance to

       the prior art and hence are merely showing some effectiveness with regard to a

       PBS standard. Response, 35-37. At most, these examples illustrate variability

       in particle performance with different lipid species. EX1001, Fig. 4. I note that

       these formulations were also done at a suboptimal N/P ratio.


             130. Patent Owner and Dr. Thompson also cite to later testing as

       alleged evidence of unexpected results. Response, 37-42; EX2031, ¶¶99-112.

       These data fail to demonstrate unexpected results for at least three reasons: (1)

       the data is not commensurate with the scope of the claims; (2) the data only

       shows efficacy of certain formulations, not unexpected results when compared
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                                              - 56 -                       Moderna Ex 1020-p. 58
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 750 of 910 PageID #: 10330

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       to the closest prior art; (3) data in the cited references shows variability by lipid

       species used and (4) and, many of these experiments were conducted at a

       suboptimal N/P ratio.


             131. Patent Owner provides a chart of formulations falling within the

       claims tested after the filing of the ’069 patent. EX2008. As can be seen from

       the chart, for most of the formulations tested, there is only a single data point

       for a given combination of lipid species. Moreover, the numeric ranges tested

       include no data points over 60% mol% cationic lipid. Id. Given these

       limitations, a POSITA would not consider this data to illustrate efficacy over

       the numeric range, let alone unexpected results when compared to the 2:40

       formulation. A POSITA would also understand that the later-tested

       formulations fail to demonstrate efficacy of the broad range of nucleic acid and

       lipid species covered by the claims. Noticeably lacking are any references to

       non-ionizable cationic lipids, fusogenic phospholipids (e.g., DOPE), or DNA

       payloads. EX2008.


             132. I understand that results must be unexpected when compared to

       the closest prior art. Patent Owner and Dr. Thompson ignore this standard and

       instead argue that any efficacy is unexpected. See, e.g., Response, 38 (“Each of

       these formulations demonstrated potent gene silencing activity in vivo.”). But,

       without actual comparisons to the 2:40 formulation from the prior art, there is
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                                               - 57 -                       Moderna Ex 1020-p. 59
                                                                               Moderna v Arbutus
                                                                                  IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 751 of 910 PageID #: 10331

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       no way to judge whether these formulations performed better or worse than the

       prior art.


              133. Patent Owner also fails to inform the Board that this testing

       showed that several formulations falling within the scope of the claims did not

       perform any better than the PBS standard. EX2010, Fig. 2 (DLinMorph shows

       no efficacy); EX2011, Fig. 3 (DPetroDMA shows no efficacy); (EX2006,

       393:21-394:24 (1:57 formulation with DLinMorph shows no efficacy);

       EX2011, Fig. 3 (DPetroDMA shows no efficacy); EX2006, 401:6-21 (other

       cationic lipids using 1:57 formulation “have similar knockdown levels as--as

       PBS.”).


              134. Finally, Patent Owner and Dr. Thompson point post-filing data

       showing that particles with higher levels of conjugated lipid (3.5-5% range)

       performed worse. Response, 36-37 (citing EX2014, Fig. 12). As discussed

       above, minimizing the conjugated lipid to increase particle performance was

       well-known in the art at the time of the ’069 patent. These results are in no way

       surprising.

              C.     Other Secondary Considerations Lack The Required Nexus
                     Or Are Attributable To The Prior Art

              135. Patent Owner argues that there was an unresolved long felt need

       for lipid-carrier particles, but cites to articles from the 2003 timeframe.
                                                                                 JA003296
                                             - 58 -                      Moderna Ex 1020-p. 60
                                                                            Moderna v Arbutus
                                                                               IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 752 of 910 PageID #: 10332

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       Response, 45-46 (citing EX2016, EX2018). This ignores the disclosures in the

       cited prior art (EXS1003-1005) dating from 2003-2005 and other work in the

       industry up until 2008. Indeed, Patent Owner cites to an article from 2012

       detailing investments in lipid nanoparticles in the early 2000s that discusses “a

       seminal paper on systemic small interfering RNA (siRNA) delivery.” EX2019,

       1, n. 5. This paper, authored by the named inventors on the ’069 patent, details

       experiments done with the prior art 2:40 formulation and was published in

       2006. EX1027, 3.


             136. Patent Owner also erroneously points to a “$2.5-3.5 billion in

       investment,” but that investment related to the therapeutic siRNA, not just

       lipid-carrier particles. Response, 45 (citing EX2020, 10). Patent Owner also

       cites to an article from 2010, but the article discusses Patent Owner’s

       “SNALP” solution and notes ongoing challenges and alternatives. EX2020, 5.

       In addition, neither article differentiates Patent Owner’s prior SNALP

       disclosures, e.g., EXS1003-1004, from the ’069 patent.


             137. Patent Owner erroneously points to its “500 person-years and

       $200M” investments in “SNALP technology.” Response, 46. But a significant

       portion of the investment could be attributable to the work leading to the Patent

       Owner’s prior art SNALP disclosures (e.g., EX1003-1004, EX1011). As

       another example, Patent Owner points to Roche switching to “[Patent Owner’s]
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                                             - 59 -                       Moderna Ex 1020-p. 61
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 753 of 910 PageID #: 10333

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       SNALP liposome.” EX2019, 10. But there is no indication that Roche used the

       SNALPs of the ’069 patent as opposed to prior art SNALP systems.


             138. Regarding failure of others and skepticism, Patent Owner repeats

       its mistaken argument that toxicity favored teaching away. Response, 47.

       Patent Owner ignores that prior art cationic lipids were developed that were

       substantially non-toxic, e.g., DLinDMA, and that these ionizable cationic lipid

       were used in vivo. EX1004, [0351]-[0391]. In the “seminal paper” discussed

       above dating from 2006, Patent Owner disclosed that its prior art 2:40 SNALP

       system resolved toxicity concerns: “There was no evidence for complement

       activation, delayed coagulation, pro-inflammatory cytokine production

       (Supplementary Table 1) or changes in haematology parameters (data not

       shown), toxicities that have been observed previously with treatments using

       related approaches.” EX1027, 3.


             139. For commercial success, Patent Owner points to the commercial

       product Onpattro. Response, 49-50. First, Onpattro does not use the 1:57

       formulation detailed in the ’069 patent. Second, Dr. Thompson asserts that

       Onpattro is has the following mass ratios (mg) 2.0 (siRNA), 12.7 (cationic

       lipid), 5.9 (cholesterol), 3.1 (phospholipid), 1.5 (conjugated lipid). EX2031,

       ¶136. This is not accurate. The label for Onpattro from the FDA (EX1023,

       Section 11), indicates the following mass ratios (mg) 2.0 (siRNA), 13.0
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                                             - 60 -                       Moderna Ex 1020-p. 62
                                                                             Moderna v Arbutus
                                                                                IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 754 of 910 PageID #: 10334

       Case No. IPR2019-00554
       U.S. Patent No. 8,058,069

       (cationic lipid – Dlin-MC3-DMA), 6.2 (cholesterol), 3.3 (phospholipid -

       DSPC), 1.6 (conjugated lipid – PEG-C-DMG). This equates to the following

       molar ratios 49.3 mol% cationic lipid, 39.0% cholesterol, 10.2% phospholipid,

       and 1.6% (conjugated lipid). Thus, the lipid components in Onpattro do not fall

       within the claimed ranges.


             140. Moreover, the developers of Onpattro identify the development of

       the second-generation cationic lipid DLin-MC3-DMA as the breakthrough

       leading to Onpattro’s clinical development: “A first breakthrough was reached

       with the development of the ionizable lipid DLinKC2DMA.” EX1026, 1085.

       In addition, much of the alleged evidence of secondary considerations relates to

       the siRNA payload, not the delivery vehicle. EX2023-2024 (first in class

       siRNA therapeutic), EX2038 (same).


             141. Patent Owner asserts that there is a nexus between the commercial

       success of Onpattro and the ’069 patent citing a 2016 article. Response, 50

       (citing EX2023). The article just mentions using SNALPs, which would

       include the prior art 2:40 formulation. EX2023, 50. The article also mentions

       technologies like chemical modification of the siRNA payload. Id. But each of

       the cited prior art references disclose particles with lipid ranges including these

       concentrations.

                                                                                JA003299
                                              - 61 -                       Moderna Ex 1020-p. 63
                                                                              Moderna v Arbutus
                                                                                 IPR2019-00554
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 755 of 910 PageID #: 10335




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 756 of 910 PageID #: 10336




                   JOINT APPENDIX 86
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 757 of 910 PageID #: 10337




                                                                     JA003301
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 758 of 910 PageID #: 10338




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 759 of 910 PageID #: 10339




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 760 of 910 PageID #: 10340




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 761 of 910 PageID #: 10341




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 762 of 910 PageID #: 10342




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 763 of 910 PageID #: 10343




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 764 of 910 PageID #: 10344




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 765 of 910 PageID #: 10345




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 766 of 910 PageID #: 10346




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 767 of 910 PageID #: 10347




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 768 of 910 PageID #: 10348




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 769 of 910 PageID #: 10349




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 770 of 910 PageID #: 10350




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 771 of 910 PageID #: 10351




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 772 of 910 PageID #: 10352




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 773 of 910 PageID #: 10353




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 774 of 910 PageID #: 10354




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 775 of 910 PageID #: 10355




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 776 of 910 PageID #: 10356




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 777 of 910 PageID #: 10357




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 778 of 910 PageID #: 10358




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 779 of 910 PageID #: 10359




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 780 of 910 PageID #: 10360




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 781 of 910 PageID #: 10361




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 782 of 910 PageID #: 10362




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 783 of 910 PageID #: 10363




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 784 of 910 PageID #: 10364




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 785 of 910 PageID #: 10365




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 786 of 910 PageID #: 10366




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 787 of 910 PageID #: 10367




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 788 of 910 PageID #: 10368




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 789 of 910 PageID #: 10369




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 790 of 910 PageID #: 10370




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 791 of 910 PageID #: 10371




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 792 of 910 PageID #: 10372




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 793 of 910 PageID #: 10373




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 794 of 910 PageID #: 10374




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 795 of 910 PageID #: 10375




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 796 of 910 PageID #: 10376




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 797 of 910 PageID #: 10377




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 798 of 910 PageID #: 10378




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 799 of 910 PageID #: 10379




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 800 of 910 PageID #: 10380




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 801 of 910 PageID #: 10381




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 802 of 910 PageID #: 10382




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 803 of 910 PageID #: 10383




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 804 of 910 PageID #: 10384




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 805 of 910 PageID #: 10385




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 806 of 910 PageID #: 10386




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 807 of 910 PageID #: 10387




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 808 of 910 PageID #: 10388




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 809 of 910 PageID #: 10389




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 810 of 910 PageID #: 10390




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 811 of 910 PageID #: 10391




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 812 of 910 PageID #: 10392




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 813 of 910 PageID #: 10393




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 814 of 910 PageID #: 10394




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 815 of 910 PageID #: 10395




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 816 of 910 PageID #: 10396




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 817 of 910 PageID #: 10397




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 818 of 910 PageID #: 10398




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 819 of 910 PageID #: 10399




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 820 of 910 PageID #: 10400




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 821 of 910 PageID #: 10401




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 822 of 910 PageID #: 10402




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 823 of 910 PageID #: 10403




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 824 of 910 PageID #: 10404




                   JOINT APPENDIX 87
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 825 of 910 PageID #: 10405




                                                                     JA003368
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 826 of 910 PageID #: 10406




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 827 of 910 PageID #: 10407




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 828 of 910 PageID #: 10408




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 829 of 910 PageID #: 10409




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 830 of 910 PageID #: 10410




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 831 of 910 PageID #: 10411




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 832 of 910 PageID #: 10412




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 833 of 910 PageID #: 10413




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 834 of 910 PageID #: 10414




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 835 of 910 PageID #: 10415




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 836 of 910 PageID #: 10416




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 837 of 910 PageID #: 10417




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 838 of 910 PageID #: 10418




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 839 of 910 PageID #: 10419




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 840 of 910 PageID #: 10420




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 841 of 910 PageID #: 10421




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 842 of 910 PageID #: 10422




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 843 of 910 PageID #: 10423




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 844 of 910 PageID #: 10424




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 845 of 910 PageID #: 10425




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 846 of 910 PageID #: 10426




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 847 of 910 PageID #: 10427




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 848 of 910 PageID #: 10428




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 849 of 910 PageID #: 10429




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 850 of 910 PageID #: 10430




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 851 of 910 PageID #: 10431




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 852 of 910 PageID #: 10432




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 853 of 910 PageID #: 10433




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 854 of 910 PageID #: 10434




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 855 of 910 PageID #: 10435




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 856 of 910 PageID #: 10436




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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 857 of 910 PageID #: 10437




                   JOINT APPENDIX 88
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 858 of 910 PageID #: 10438


                                                                            Page 1
                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE
                    Civil Action No. 22-252-MSG
      ____________________________________
      ARBUTUS BIOPHARMA CORPORATION       :
      and GENEVANT SCIENCES GMBH,         :
                                          :
                Plaintiffs,               :
                                          :
           v.                             :
                                          :
      MODERNA, INC. and MODERNATX, INC., :
                                          :
                Defendants.               :
      ____________________________________:
      MODERNA, INC. and MODERNATX, INC.,  :
                                          :
                Counterclaim-Plaintiffs, :
                                          :
           v.                             :
                                          :
      ARBUTUS BIOPHARMA CORPORATION       :
      and GENEVANT SCIENCES GMBH,         :
                                          :
                Counterclaim-Defendants. :
      ____________________________________


        VIDEOTAPED DEPOSITION OF DAVID H. THOMPSON, PH.D.
                  Tuesday, November 14, 2023




      Reported by:
      SUSAN ASHE, CSR, RMR, CRR
      Job No.:    SY008234




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                                                                       JA003400
 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 859 of 910 PageID #: 10439

                                               Page 2                                                  Page 4
 1                                                        1   APPEARANCE OF COUNSEL (Continued):
 2                                                        2     On behalf of the
 3                                                        3     Defendants/Counterclaim-Plaintiffs:
 4                                                        4       KIRKLAND & ELLIS
 5                                                        5       BY: MARK C. McLENNAN, ESQ.
 6                                                        6       BY: N. KAYE HORSTMAN, ESQ.
 7         Videotaped deposition of DAVID H.              7       601 Lexington Avenue
 8   THOMPSON, PH.D., taken on behalf of the Defendants,  8       New York, New York 10022
 9   beginning at 9:04 a.m. Eastern Standard Time, on     9       (212) 446-4800
10   Tuesday, November 14, 2023, at the law offices of   10       mark.mclennan@kirkland.com
11   Williams & Connolly, 680 Maine Avenue, Southwest,   11       kaye.horstman@kirkland.com
12   Washington, D.C., before Susan Ashe, CSR, RMR, CRR. 12
13                                                       13
14                                                       14
15                                                       15
16                                                       16
17                                                       17
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20                                                       20
21                                                       21
22                                                       22
23                                                       23
24                                                       24
25                                                       25
                                               Page 3                                                  Page 5
 1   APPEARANCE OF COUNSEL:                              1    ALSO PRESENT:
 2     On behalf of the                                  2        Elizabeth Howard, Ph.D., Esq.
 3     Plaintiff/Counterclaim-Defendant Arbutus          3        Executive Vice President, General Counsel,
 4     Biopharma Corporation:                            4        and Chief Compliance Officer
 5        MORRISON FOERSTER LLP                          5        Arbutus Biopharma
 6        BY: ADAM R. BRAUSA, ESQ.                       6
 7        425 Market Street                              7         Pete Zorn
 8        San Francisco, California 94105                8         President and Chief Legal Officer
 9        (415) 268-7000                                 9         Genevant
10        abrausa@mofo.com                              10
11        (Via Videoconference)                         11         Falicia Elenberg
12                                                      12         Law Clerk
13      On behalf of the                                13         Williams & Connolly
14      Plaintiff/Counterclaim-Defendant Genevant       14
15      Sciences GmbH and the Witness:                  15         Orson Braithwaite
16         WILLIAMS & CONNOLLY LLP                      16         Videographer
17         BY: ANTHONY H. SHEH, ESQ.                    17         TransPerfect Legal Solutions
18         BY: SHAUN P. MAHAFFY, ESQ.                   18
19         680 Maine Avenue, Southwest                  19
20         Washington, D.C. 20024                       20
21         (202) 434-5000                               21
22         asheh@wc.com                                 22
23         smahaffy@wc.com                              23
24                                                      24
25                                                      25

                                                                                      2 (Pages 2 to 5)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 860 of 910 PageID #: 10440

                                               Page 6                                                  Page 8
 1               CONTENTS                                1              I've got -- with me today is my
 2   THE WITNESS                                         2        colleague Kaye Horstman.
 3   David H. Thompson, Ph.D.                            3              MR. SHEH: This is Tony Sheh,
 4                                                       4        from Williams & Connolly, on behalf of
 5    BY MR. McLENNAN                          9         5        Genevant.
 6                                                       6              I'm joined today by Shaun
 7                                                       7        Mahaffy and Falicia Elenberg, also from
 8               EXHIBITS                                8        Williams & Connolly.
 9   THOMPSON                                            9              And also on the line is Peter
10   Exhibit No.                     Marked             10        Zorn from Genevant.
11   Exhibit 1 Declaration of             9             11              VIDEOGRAPHER: Thank you.
12          David H. Thompson, Ph.D.                    12              Will the court reporter please
13          Regarding Claim Construction                13        swear in the witness.
14   Exhibit 2 U.S. Patent 8,058,069         22         14   Whereupon,
15   Exhibit 3 U.S. Patent 11,141,378         97        15           DAVID H. THOMPSON, PH.D.
16   Exhibit 4 U.S. Patent 9,504,651        113         16     having been first duly sworn, was examined
17                                                      17          and testified as follows:
18                                                      18              MR. McLENNAN: And just before
19                                                      19        we get started, could we have counsel for
20                                                      20        Arbutus announce themselves.
21                                                      21              MR. BRAUSA: Sure. This is Adam
22                                                      22        Brausa, from the Morrison Foerster firm,
23                                                      23        on behalf of Arbutus.
24                                                      24              I'm joined by Elizabeth Howard,
25                                                      25        consultant for Arbutus.
                                               Page 7                                                  Page 9
 1          TUESDAY, NOVEMBER 14, 2023;                  1                We're both remote.
 2        9:04 A.M. EASTERN STANDARD TIME                2                EXAMINATION
 3                 --o0o--                               3   BY MR. McLENNAN:
 4               VIDEOGRAPHER: Good morning.             4      Q. Good morning, Dr. Thompson.
 5               This is Video No. 1 of the              5      A. Good morning.
 6        videotape-recorded deposition of Dr. David     6      Q. Could you please state your full name for
 7        Thompson in the matter of Arbutus              7   the record.
 8        Biopharma, Inc. et al. versus Moderna,         8      A. David H. Thompson.
 9        Inc., et al. filed in the U.S. District        9      Q. Where do you currently work?
10        Court for the District of Delaware, Case      10      A. Purdue University.
11        No. 22-252-MSG.                               11      Q. And is that your only employer?
12               This deposition is being held at       12      A. That is my only employer.
13        Williams & Connolly LLP on November 14,       13      Q. What is your title at Purdue?
14        2023 at approximately 9:04 a.m.               14      A. I'm a professor of chemistry.
15               My name is Orson Braithwaite,          15      Q. You submitted a declaration in this case.
16        from the firm of TransPerfect Legal           16   Correct?
17        Solutions, and I'm the legal video            17      A. Please restate the question.
18        specialist.                                   18      Q. You prepared a declaration?
19               The court reporter is Susan            19      A. Yes.
20        Ashe, in association with TransPerfect        20                MR. McLENNAN: We'll mark that
21        Legal Solutions.                              21          as Exhibit 1.
22               Counsel will now state their           22             (Whereupon, Thompson Exhibit 1 was
23        appearances for the record.                   23          marked for identification.)
24               MR. McLENNAN: Mark McLennan,           24                MR. McLENNAN: And this is Joint
25        for Moderna defendants.                       25          Appendix 7, Declaration of Dr. Thompson.
                                                                                     3 (Pages 6 to 9)
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                                                                                             JA003402
 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 861 of 910 PageID #: 10441

                                                Page 10                                                    Page 12
 1   BY MR. McLENNAN:                                        1      Q. But no other typographical errors you're
 2       Q. Is this the declaration you prepared in          2   aware of sitting here right now?
 3   this matter?                                            3      A. The -- I'm not aware of other
 4                (Witness reading.)                         4   typographical errors in the document.
 5       Q. Dr. Thompson, are you -- you're comparing        5      Q. How long did you spend preparing your
 6   it against another document I see you've got there.     6   declaration?
 7          It's not an exhibit. Is that another copy        7      A. Many hours.
 8   of your declaration?                                    8      Q. Can you give an estimate of how many
 9       A. I have my declaration.                           9   hours?
10       Q. Okay.                                           10      A. More than ten, less than 100.
11       A. I'm just assuring myself that this              11      Q. More than 50?
12   document meets -- is the same as what I've -- what I   12      A. I can't recall.
13   have confidence in.                                    13      Q. When did you start working on the
14       Q. Okay. Take as much time as you need.            14   declaration?
15                (Witness reading.)                        15      A. Well, my declaration cites to work that
16       Q. Dr. Thompson, it's been about ten minutes.      16   was done -- published in 1992. So I don't know if
17          Are you going line by line, or what's your      17   that's what you're asking.
18   review process like?                                   18      Q. I'm interested in the work that you did in
19       A. I'm reviewing the document that I've been       19   putting together the declaration.
20   given before I give my answer.                         20          When did that work start, not the
21                (Witness reading.)                        21   references cited.
22       Q. You can skip the CV, Dr. Thompson. I'll         22      A. I don't recall.
23   let you know if I ask about it.                        23      Q. You realize you're under oath today and
24       A. Okay.                                           24   you're required to tell the truth?
25       Q. So 13 minutes later, is that the                25      A. Yes, I understand that.
                                                Page 11                                                    Page 13
 1   declaration in Exhibit 1 that you prepared in this      1       Q. Is there any reason that you can't give
 2   matter?                                                 2   full, accurate, and complete testimony today?
 3                 MR. SHEH: Counsel, I just want            3       A. No.
 4          to note that you asked him to verify if a        4       Q. You understand that some of the documents
 5          document was an accurate copy.                   5   you've been given access to in this case include
 6                 That could take 13 minutes.               6   Moderna's confidential information?
 7                 MR. McLENNAN: I asked if it was           7       A. Yes, I understand that I've received
 8          the declaration he prepared.                     8   privileged documents.
 9   BY MR. McLENNAN:                                        9       Q. And there are certain people on the Zoom
10       Q. Dr. Thompson --                                 10   link to the deposition today that don't have access
11       A. Yeah. What is the question, please?             11   to that information.
12       Q. Is Exhibit 1 the declaration you prepared       12          So I will let you know if I'm going to
13   in this matter?                                        13   refer to Moderna's confidential information so that
14       A. Yes. I've confirmed that it's an                14   we can ask those people to drop off the Zoom link.
15   authentic copy of what I've prepared.                  15          But I would ask that you also let me know
16       Q. Okay. And are you aware of any mistakes         16   if any of your answers are going to reveal anything
17   in your declaration in Exhibit 1?                      17   from Moderna's documents.
18       A. I'm not aware of any substantive mistakes.      18          Is that okay?
19          There may be typographical errors that I        19                 MR. SHEH: I'll just note that I
20   missed.                                                20          will also be policing it.
21       Q. Okay. On the face of the document, it's         21                 And, Doctor, if you need to
22   dated September 25, 2022.                              22          refer to Moderna internal documents to
23          Is that meant to be September 25, 2023?         23          make your answer complete, you can feel
24       A. That would be an example of a                   24          free to do that. That's counsel's job to
25   typographical error.                                   25          place a protective order.
                                                                                       4 (Pages 10 to 13)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 862 of 910 PageID #: 10442

                                              Page 14                                                     Page 16
 1      Q. And Dr. Thompson --                             1   from the previous proceedings between Moderna and
 2      A. Understood.                                     2   Arbutus?
 3      Q. Okay. And you will let me know before you       3       A. I reviewed some of that, some of those
 4   give an answer that reveals Moderna confidential      4   proceedings.
 5   information?                                          5       Q. And that included some of your prior
 6      A. I will do my very best to not violate           6   testimony?
 7   other's property.                                     7       A. Yes.
 8      Q. Okay. Thank you.                                8       Q. In reviewing the materials from those
 9          What did you do to prepare for your            9   prior proceedings, did you notice any opinions that
10   deposition today?                                    10   you gave in that prior proceeding that you want to
11                 MR. SHEH: I'll just object and         11   correct or clarify?
12          just caution the witness not to reveal any    12                MR. SHEH: I'll just object, and
13          substantive communication with counsel.       13          again caution the witness not to reveal
14                 THE WITNESS: That was....              14          the substance of any communication with
15                 Thank you for that.                    15          counsel.
16      A. I read a lot and thought through the work      16                Go ahead.
17   that I've -- or the document that has been           17       A. The prior testimony was truthful. There's
18   presented.                                           18   nothing that -- other than some unfortunate word
19      Q. Your declaration?                              19   choice that needs correction.
20      A. My declaration, yes.                           20       Q. Any particular unfortunate word choice
21      Q. You spent a lot of time reviewing your         21   that comes to mind?
22   declaration, in other words?                         22       A. One where the word "formed" should have
23      A. I spent time reviewing my declaration,         23   been used.
24   reviewing patents, reviewing other documents         24       Q. Okay. We might come to that.
25   relevant to the -- my positions in this case.        25          So going back to your declaration in this
                                              Page 15                                                     Page 17
 1      Q. And since signing your declaration              1   case, Exhibit 1, did you identify all the references
 2   September 25, 2023, did you review any documents      2   that ended up in the declaration?
 3   that are not cited in your declaration that you       3                 MR. SHEH: Object to form.
 4   thought were relevant to your opinions?               4       A. Can you clarify the question, please.
 5                 MR. SHEH: Object to form.               5       Q. What I'm trying to get at is: Did all of
 6      A. I read the literature regularly. And            6   the references that ended up in your report come
 7   collectively, that informs my opinion, so that the    7   from you, or was it a mixture of some came from
 8   question actually is vague for me.                    8   counsel and some came from you?
 9      Q. Are there any documents that come to mind       9       A. It was a collaborative process where there
10   that you think are relevant to your opinions that    10   were citations to the open literature.
11   you've learned about since September 25, 2023?       11          Those were largely provided by myself.
12                 MR. SHEH: Object to form,              12          The legal citations were...the -- were
13          mischaracterizes.                             13   part of my collaborative group's work effort.
14      A. I don't know.                                  14       Q. Did you conduct a literature search
15      Q. In preparing for your deposition, did you      15   yourself, specifically for the declaration?
16   review any documents that were not cited in your     16       A. I've -- I conduct literature researches on
17   declaration?                                         17   nearly a daily basis.
18                 VIDEOGRAPHER: Counsel, can you         18          It would be -- and so, yes, I've conducted
19          bring your microphone up.                     19   literature searches.
20      A. Please repeat the question.                    20       Q. And did you conduct literature searches
21      Q. In preparing for your deposition, did you      21   specifically for this declaration?
22   review any documents that were not cited in your     22       A. To be clear, the searches that I did were
23   declaration?                                         23   to find specific citations to work that I knew had
24      A. I don't know.                                  24   been published and had previously been in hard copy
25      Q. Did you review any of your prior testimony     25   form, but I went back to retrieve in electronic

                                                                                     5 (Pages 14 to 17)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 863 of 910 PageID #: 10443

                                                Page 18                                                    Page 20
 1   form.                                                   1         through this.
 2      Q. So in other words, you were familiar with         2                It was Adam Brausa.
 3   some of the references; you just needed to pinpoint     3                MR. McLENNAN: Okay. Thanks.
 4   them or locate a copy?                                  4   BY MR. McLENNAN:
 5      A. I wanted to correctly -- that's correct.          5      Q. And apart from the one individual --
 6   I wanted to assure that I had the right citations.      6   Mr. Brausa -- was there anyone else in attendance?
 7      Q. Okay. If you go to paragraph 15 of your           7      A. Not that I'm aware of.
 8   report -- it's on page 5.                               8      Q. And was it just one meeting or several
 9         Do you see there there's some previous            9   meetings?
10   proceedings referred to before the Patent Trial and    10      A. Can you clarify the question, please.
11   Appeal Board?                                          11      Q. So I'm asking about your preparation for
12      A. Yes, I see the description of -- or              12   the deposition.
13   paragraph 15 describes my statement that I've          13         Did you meet just one time or more than
14   submitted declarations and was deposed in IPR cases.   14   one time?
15      Q. And the previous proceedings between             15      A. I met with the team more than one time.
16   Moderna and Arbutus that we referred to earlier,       16      Q. How many times did you meet?
17   those are the ones described in paragraph 15.          17      A. Several times in person, phone calls,
18   Right?                                                 18   videoconference.
19      A. Let me make sure that I can answer your          19         I'm not sure -- not exactly sure of the
20   question accurately.                                   20   number of meetings.
21                (Witness reading.)                        21      Q. Well, let's just start with the in-person
22      A. Please repeat the question.                      22   meetings.
23      Q. The prior proceedings between Moderna and        23         How many in-person meetings did you have
24   Arbutus that we referred to earlier, those prior       24   to prepare?
25   proceedings are described in paragraph 15. Correct?    25      A. I recall three in-person meetings.
                                                Page 19                                                    Page 21
 1      A. This is describing proceedings for                1      Q. Three full days?
 2   IPR~2018-00739 and IPR 2019-00554.                      2      A. Some of those meetings were full days.
 3      Q. And so when I asked earlier if you were           3      Q. And what about the Zoom meetings; how long
 4   reviewing -- strike that.                               4   were they for?
 5          When I asked earlier if you had reviewed         5      A. I can't recall.
 6   testimony from those prior proceedings, it was          6      Q. And when was the first meeting to prepare
 7   testimony from the proceedings in paragraph 15 that     7   for the deposition?
 8   you recall reviewing. Correct?                          8      A. Which meeting are you referring to?
 9      A. When I reviewed IPR proceedings, I was            9      Q. The meetings to prepare for your
10   focused on the statements and the content.             10   deposition.
11          Which actual document it traces to is not       11      A. I explained a moment ago there were
12   something I remember right now.                        12   different types of meetings. I'm asking which sort
13      Q. Okay. Going back to the preparation for          13   of meeting you're referring to.
14   your deposition, did you meet with anyone to prepare   14      Q. Oh, are you talking about Zoom versus in
15   for your deposition?                                   15   person?
16                 MR. SHEH: I just caution the             16          When was the first in-person meeting?
17          witness again not to reveal the contents        17      A. To the best of my recollection, it was in
18          of any communication with counsel.              18   the summer.
19      A. I met with members of the Wilson [sic] &         19      Q. Okay.
20   Connolly group.                                        20      A. Of 2023.
21      Q. Was anyone else present at those meetings?       21                 MR. McLENNAN: Thanks.
22      A. There were outside counsel from the -- at        22                 If you could please turn to
23   least one of the individuals online right now.         23          paragraph 56 of your declaration.
24      Q. Is that Peter Zorn?                              24                 And Dr. Thompson, before we look
25                 MR. SHEH: I'll just cut right            25          at 56, I'll give you a copy of the patent.

                                                                                       6 (Pages 18 to 21)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 864 of 910 PageID #: 10444

                                                Page 22                                                   Page 24
 1                 This is Exhibit 2. It's                 1   document, you're welcome to, though.
 2           U.S. Patent 8,058,069.                        2                (Witness reading.)
 3              (Whereupon, Thompson Exhibit 2 was         3       A. Please restate the question.
 4           marked for identification.)                   4       Q. So the question from 12 minutes ago was
 5   BY MR. McLENNAN:                                      5   whether in the examples of the '069 patent there is
 6      Q. And will you understand today if I talk         6   any description of the method you used to measure
 7   about it as the "'069 patent," Exhibit 2?             7   lipid content.
 8      A. Oh, I will understand it as '069, the '069      8       A. There's no expressed description of an
 9   patent.                                               9   HPLC method, which is what triggered the question,
10      Q. Great. I don't have to read out all the        10   as I understand, from paragraph 56.
11   patent numbers. Thanks.                              11          There is a description of a so-called
12      A. I heard "'062."                                12   "kit" that is mixture of lipids.
13      Q. Oh.                                            13          It's not -- it's unclear to me whether
14      A. That's why I said....                          14   there was any testing done at that point.
15      Q. Okay. So in paragraph 56, from this            15       Q. And could you point out where the "kit" is
16   section onwards, this is about your opinions about   16   that you're referring to?
17   the -- if we can call it the "mol % ranges" in the   17                (Witness reading.)
18   claims of the '069 patent and related family         18       A. So Column 60, line 46 is a section
19   members. Right?                                      19   describing kits. It's essentially, as I understand,
20               (Witness reading.)                       20   a way to expedite formulation studies.
21      A. Paragraph 56 is describing the use of          21       Q. If sorry. Was that Column "60" or "16"?
22   significant figures and rounding in the Lipid        22       A. "6-0."
23   Composition Patents.                                 23       Q. "6-0."
24      Q. And in paragraph 56, you state that --         24          And so, what do the kits have to do with
25   this is the second sentence:                         25   the method of measuring lipid content?
                                                Page 23                                                   Page 25
 1                With respect to the                      1       A. The previous statement about the analysis
 2             recited mol % ranges, the POSA              2   of the lipids, as I said, does not -- HPLC method
 3             would have known that lipid                 3   does not appear.
 4             concentrations could be                     4          But typically when you are preparing -- in
 5             experimentally determined, for              5   this case, the kit may comprise a container which is
 6             example, using high-performance             6   compartmentalized for holding the various elements
 7             liquid chromatography ("HPLC").             7   of the lipid particles, the active agents, the
 8         Do you see that?                                8   individual lipid components of the particles.
 9      A. Yes.                                            9          The kit typically contains the lipid
10      Q. In the '069 patent, is there any               10   particle compositions of the present invention,
11   description of a method for determining lipid        11   preferably in dehydrated form.
12   concentration?                                       12          So what I'm speaking to is that there
13               (Witness reading.)                       13   may -- there typically is some type of quantitation
14      Q. Dr. Thompson, are you going page by page       14   when you're preparing a sample that is going to be
15   through the patent?                                  15   used broadly.
16      A. I'm trying to answer your question.            16       Q. And for the kit example you pointed to,
17      Q. Okay. Why don't you skip ahead to the          17   would the quantification be before or after the
18   examples in Column 68.                               18   lipid particle is formed?
19                MR. SHEH: Dr. Thompson, you're          19       A. Ideally, one would analyze before and
20         free to look at as much or little of this      20   after the particle is formed.
21         document as you need to to answer              21       Q. Can you tell from the kit description here
22         Mr. McLennan's question.                       22   in Column 60 whether they measured lipid content
23      Q. Yeah, Dr. Thompson, if you like, I can         23   before or after the particle was formed?
24   limit my question to the examples.                   24       A. There's no explicit description of an
25         If you do want to go through the entire        25   analytical method in this section.
                                                                                     7 (Pages 22 to 25)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 865 of 910 PageID #: 10445

                                                 Page 26                                                    Page 28
 1          It's a -- just a -- what one would presume       1   components in a formulation.
 2   when the kit is made is that there's a -- some type     2      Q. You mentioned that there were the other
 3   of analysis so that you are certain of the              3   chemical methods that you spoke about earlier.
 4   composition you're beginning with.                      4          Were they methods for determining
 5      Q. So in other words, the amount of lipids           5   individual lipid components and their concentrations
 6   that are used at the start of the formulation           6   alone, right -- not mixtures?
 7   process?                                                7                 MR. SHEH: Object to form.
 8      A. In the '069, the -- and at the time of            8      A. I believe what the testimony shows is that
 9   this disclosure, the most common procedure was to       9   they are capable of detecting those individual
10   use either a phosphate assay or cholesterol assay to   10   components.
11   look at composition before particle formation.         11          And to be clear, they are -- they can
12      Q. And when you say using a phosphate assay         12   detect those components within a mixture of lipids
13   or a cholesterol assay, that would measure the         13   or other materials.
14   amount of those components individually. Right?        14      Q. Sorry. Was that can or can't detect?
15      A. Correct. Those techniques are specific           15      A. They can --
16   for those components of the sample.                    16      Q. "Can."
17      Q. So after going through the examples, you         17      A. -- detect.
18   said that there was no explicit reference to an        18      Q. And so, are you talking about the kits or
19   analytical method for determining lipid content.       19   are you talking about the phospholipid and
20          Are there any implicit descriptions of          20   cholesterol assays?
21   analytical methods?                                    21      A. My previous two statements on this topic
22                  MR. SHEH: Object to form.               22   are referring to the phosphate analysis and the
23      A. There are -- this document describes many        23   cholesterol analysis in a sample of lipid
24   analytical methods.                                    24   formulation.
25          Most of the methods are focused on              25      Q. And is there a --
                                                 Page 27                                                    Page 29
 1   particle size analysis, on biological performance.      1       A. Not a -- not a -- not the kit.
 2           There are many analytical methods here.         2       Q. Okay. And is there a name for the
 3   It's just not describing in this document the           3   analytical techniques used in those phosphate and
 4   analysis of the lipid formulation components.           4   cholesterol analyses?
 5       Q. And when you say "in this document," just        5       A. The phosphate analysis is based on
 6   for the record you're talking about the '069 patent.    6   phosphomolybdic acid. So it's a perchloric acid
 7   Right?                                                  7   digestion of the sample and measurement of the
 8       A. I'm -- yes, I'm referring to '069.               8   inorganic phosphate in a colorimetric assay.
 9       Q. So in your declaration, you're talking           9          The cholesterol assay is based on a
10   about HPLC methods.                                    10   cholesterol oxidase, enzymatic-based assay.
11           If there's no disclosure in the '069           11       Q. And those two methods, those aren't
12   patent to use HPLC, why did you decide to include      12   described in the '069 patent in the example section
13   descriptions here about HPLC in particular -- as       13   we were just looking at. Right?
14   opposed to any other method?                           14       A. These methods are historical.
15       A. Well, as I say, with respect to recited         15          The phosphomolybdic acid assay traces back
16   mol % ranges, a person of skill in the art would       16   to, I believe, 1954. So it's -- widely used
17   have known that lipid concentrations could be          17   technique.
18   experimentally determined.                             18          Similarly, the cholesterol assay is a
19           For example, using HPL- -- High                19   standard method. Kits exist for that.
20   Performance Liquid Chromatography, HPLC.               20          And so, there's no specific citation to
21           So a moment ago, I mentioned other             21   those methods, I presume, because they're widely
22   chemical methods that can be used.                     22   understood.
23           But in paragraph 56, I'm speaking about a      23       Q. Have you ever conducted a cholesterol
24   more -- a technique that will -- that is capable, if   24   assay of that type?
25   one has a validated method, of detecting multiple      25       A. Yes.
                                                                                       8 (Pages 26 to 29)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 866 of 910 PageID #: 10446

                                                Page 30                                                      Page 32
 1       Q. And what was the context in which you            1          And for the polyethylene glycol lipid
 2   conducted that assay?                                   2   conjugates, I'm not aware of -- at the time, of
 3       A. I've prepared liposome formulations for          3   other methods, other than HPLC.
 4   small molecule drug delivery in the '90s. And           4       Q. Okay. And just to clarify your answer,
 5   often, those formulations had blends of different       5   you said at the time of the '069 you're not aware of
 6   lipid components.                                       6   a method for chemical testing, other than HPLC.
 7          And one of the ways to monitor the               7          Were you referring to quantifying the
 8   fidelity of your formulation was by doing these         8   cationic lipid?
 9   analytical assays after preparing the particles.        9       A. So at the time of the '069, the -- what I
10          So phosphate assay and cholesterol assay        10   was referring to was the analysis of the cationic
11   are things that I've done.                             11   lipid for authenticity.
12       Q. And when you say the fidelity of the            12       Q. And when you say "authenticity," does that
13   liposome, are you talking about stability?             13   include quantification of the lipid concentration?
14       A. No.                                             14       A. Could you clarify what you mean by "lipid
15       Q. What are you referring to?                      15   concentration."
16       A. What -- that word -- the intent of that         16       Q. I think I might have -- maybe it's
17   word is to reflect that the material in, i.e., the     17   easier -- I asked them together. Maybe we'll just
18   dry powders of lipid or other components that are      18   separate them.
19   being -- that are being weighed into the sample        19          Are you aware of any test method to
20   vial.                                                  20   measure the lipid concentration of a cationic lipid
21          And then under -- treated with some             21   that existed at the time of the '069 patent, other
22   dispersion method, some way to disperse them into      22   than HPLC?
23   the aqueous phase, that the composition of the         23                 MR. SHEH: Objection; scope.
24   dispersed material is reflective of what was the       24       A. I can't recall any general method.
25   ratio materials that went into the -- as dry           25       Q. Okay. And in some of your answers to the
                                                Page 31                                                      Page 33
 1   powders.                                                1   previous questions, you said "at the time of the
 2               MR. SHEH: Mark, it's been about             2   '069 patent."
 3         an hour. Do you want to take a break?             3          Are you talking about the priority date?
 4               MR. McLENNAN: Sure.                         4       A. I was referring to the filing date --
 5               MR. SHEH: Thanks.                           5       Q. Filing date?
 6               VIDEOGRAPHER: The time is                   6       A. -- when the document was created and
 7         10:07 a.m. This ends Unit 1.                      7   submitted.
 8               We're off the record.                       8       Q. And in your report at paragraph 25, you
 9               (Whereupon, a recess was taken.)            9   say that the family of the '069 patent claimed
10               VIDEOGRAPHER: The time is                  10   priority to an application filed in 2008, another
11         10:23 a.m. This begins Unit No. 2.               11   one in 2009.
12               We're on the record.                       12          Is it fair to say you're talking about the
13   BY MR. McLENNAN:                                       13   2008, 2009 time frame?
14       Q. Dr. Thompson, earlier we were talking           14       A. Yes, that's the time frame I'm referring
15   about the colorimetric test method and the enzymatic   15   to.
16   test method for cholesterol and phospholipids.         16       Q. Okay. And in your report, if we go back
17   Right?                                                 17   to paragraph 56.
18       A. Yes.                                            18                    (Pause.)
19       Q. Are there similar test methods to               19       Q. You stated earlier that you were including
20   determine the concentration of cationic lipid or       20   HPLC as an example of a method to experimentally
21   conjugated lipid?                                      21   determine lipid concentration.
22               MR. SHEH: Objection to scope.              22          Is that right?
23       A. At the time of the '069, I'm not aware of       23       A. With respect to the recited mol % ranges,
24   a method for chemical testing, other than HPLC         24   the person of skill in the art would have known that
25   analysis.                                              25   lipid concentrations could be experimentally
                                                                                        9 (Pages 30 to 33)
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                                                Page 34                                                     Page 36
 1   determined -- for example, using High Performance       1   disperse sample.
 2   Lipid Chromatography.                                   2          The numbers that one obtains any sort of
 3      Q. And are there any other methods -- strike         3   experimental quantity, you then apply the USP and
 4   that.                                                   4   Remington guidances.
 5          Are there any methods, other than HPLC, to       5      Q. Would your application of the USP and
 6   experimentally determine lipid concentration?           6   Remington guidances be affected at all by what
 7                 MR. SHEH: Objection; scope.               7   analytical method you're using to measure lipid
 8      A. There are many different methods and many         8   content?
 9   different types of lipids.                              9                 MR. SHEH: Object to form.
10          There may be other methods that are more        10      A. Please restate the question.
11   compound-specific that would not require HPLC.         11      Q. Okay. So in paragraph 56, you've noted
12      Q. Did the specific method you're calling out       12   that HPLC is one method of determining lipid
13   here, HPLC -- did that impact your opinions about      13   content. Correct?
14   the mol % ranges and use of significant figures?       14      A. Yes.
15                 MR. SHEH: Object to form.                15      Q. And in general, you have opinions about
16      A. Please restate the question. I didn't            16   this claim term -- that a person of skill in the art
17   catch part of it.                                      17   would apply to significant figures. Correct?
18      Q. Did the specific method you're calling out       18                 MR. SHEH: Object to form.
19   here at paragraph 56, HPLC -- did that impact your     19      A. So as I say in the section above
20   opinions about the mol % ranges and the use of         20   paragraph~56 significant figures and rounding are
21   significant figures?                                   21   standard scientific conventions that the person of
22                 MR. SHEH: The same objection to          22   skill in the art would have been aware of and would
23          form.                                           23   have applied in interpreting the claims of the Lipid
24      A. What I'm describing in this paragraph is         24   Composition Patents with respect to the recited
25   an -- a method that could be used.                     25   mol % ranges.
                                                Page 35                                                     Page 37
 1          And it's a -- simply a way to describe           1          The person of skill in the art would have
 2   what lipid is -- or one of the techniques that can      2   known that lipid concentrations could be permanently
 3   be used to describe what's been dispersed into a        3   determined.
 4   particle, a lipid particle.                             4          And so, the leading statement there is
 5      Q. Did you consider the degree of precision          5   that what's governing is the accepted rules for
 6   of HPLC in providing your opinions on the mol %         6   significant figures and rounding for scientific
 7   ranges?                                                 7   measurements.
 8      A. I'm well aware of precision and the need          8          And HPLC is one type of scientific
 9   for calibration and standards and a -- particularly,    9   measurement.
10   in work related to -- that's ultimately going to be    10      Q. And would your application of significant
11   regulated, that there be validated methods that --     11   figures and rounding -- would that vary, based on
12   with known retention times, limits of detection,       12   what analytical method was being used, or would it
13   etc.                                                   13   always be the same?
14      Q. And were those relevant to your opinions         14                 MR. SHEH: Object to form.
15   about the application of significant figures to the    15      A. You would uniformly apply the rules of
16   mol % ranges?                                          16   significant figures and rounding to a scientific
17      A. Actually, what -- that's a separate issue        17   measurement -- that's what my previous answer
18   that -- it's conflating two different concepts.        18   clearly stated.
19          One is speaking to how one measures lipid       19          And it's agnostic about the technique
20   concentrations. The other is scientific convention     20   that's being used to make that measurement.
21   and guidance from the USP and pharmaceutical           21          So you're applying a uniform set of rules
22   standards.                                             22   and -- to whatever measure that's being made.
23      Q. So those are distinct concepts?                  23      Q. Thanks, Dr. Thompson. That was what I was
24      A. Measuring lipid concentrations by HPLC or        24   getting at.
25   some other method is telling you what is in your       25          And so going back to HPLC as the example

                                                                                      10 (Pages 34 to 37)
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                                                Page 38                                                     Page 40
 1   you gave, did you consider the precision of the HPLC    1   guidances.
 2   method?                                                 2          And the way that one determines the actual
 3                MR. SHEH: Object to form,                  3   concentrations in a sample are a matter of the
 4          foundation.                                      4   analytical method chosen.
 5       A. The HPLC chromatograph can be configured         5      Q. The limits that you've chosen in
 6   in many ways with different types of detectors, each    6   paragraph~60 based on significant figures and
 7   with their own dynamic range, sensitivity.              7   rounding, are they agnostic to the precision of the
 8          And so, that is a feature that you would         8   analytical instrument you're using to measure lipid
 9   take into consideration when looking at a specific      9   content?
10   protocol to understand what the...what the precision   10                MR. SHEH: Objection; asked and
11   sensitivity of the method is.                          11          answered.
12       Q. And does the precision or sensitivity of        12      A. As I said, the precision of the analytical
13   the analytical method affect your opinions at all      13   method is something that would be considered when
14   about the scope that the mol % range is?               14   comparing lower and upper limits.
15                MR. SHEH: Objection; asked and            15      Q. And how would they be considered,
16          answered.                                       16   specifically?
17       A. You make an HPLC -- in this specific case,      17      A. If they...if the analytical method is
18   an HPLC measurement. And the precision of that         18   producing a value that falls within or outside these
19   measurement will be a function of the detector that    19   lower limit and upper limit ranges that I've
20   is chosen.                                             20   specified here, that arise from their recited ranges
21       Q. If you go to paragraph 60 of your report,       21   and what that -- what is allowable based on the
22   please.                                                22   rules of rounding and significant figures.
23          Do you see in paragraph 60 you've got a         23      Q. Would you agree with me that any --
24   table with the ranges of the '069 patent?              24   analytical instruments could have a spectrum of
25       A. Yes, I see this.                                25   precision, so you could have one method that is very
                                                Page 39                                                     Page 41
 1       Q. And in the right-hand two columns, the           1   precise and then another method that is less
 2   "Lower Limit" and "Upper Limit," you have provided      2   precise?
 3   the numerical scope of the range that you think         3                 MR. SHEH: Objection; scope,
 4   applies based on significant figures and rounding.      4          incomplete hypothetical.
 5   Correct?                                                5       A. There are many different analytical
 6       A. I'm listing in this table the -- applying        6   methods. They have different types of precision
 7   the standard rules of rounding significant figures      7   that are -- that they're capable of informing the
 8   to indicate that the recited range of 50 mol % would    8   scientist of.
 9   be using those guidances would indicate that 49.5       9       Q. And the numbers you have here in the table
10   mol % would be the lower limit of satisfying the       10   you made in paragraph 60 in the columns "Lower
11   50~mol % range, and that the upper limit 65.4          11   Limit" and "Upper Limit," were those numbers that
12   mol % -- I'm speaking now of the cationic -- in both   12   you included there -- would they change based on the
13   of these, 49.5 mol % of the cationic lipid or as       13   precision of the analytical instrument?
14   much as 65.4 mol % of the cationic lipid would be      14                 MR. SHEH: Objection; asked and
15   within the recited range.                              15          answered.
16          And that comes from applying the rules of       16       A. The lower limit and upper limit that is
17   rounding and significant figures.                      17   listed here would not change.
18       Q. And so, the lower and upper limits that         18       Q. Now, the conventions you talk about from
19   you've come up with in paragraph 60 based on the       19   USP and Remington's, are they internationally
20   application of significant figures and rounding, are   20   recognized conventions?
21   they also agnostic to the precision of whatever        21                 MR. SHEH: Objection to scope.
22   analytical instrument you're using to measure lipid    22       A. The Remington reference is a, essentially,
23   content?                                               23   a textbook.
24       A. These numbers are -- that I'm citing are        24          The USP is a -- the "US" standing for
25   the limits that follow those USP and Remington         25   "United States Pharmacopeia" -- is an entity that

                                                                                      11 (Pages 38 to 41)
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                                                Page 42                                                   Page 44
 1   is -- essentially collects and produces -- collects    1   want to go review it, I can ask that.
 2   samples, produces monographs for validated -- or       2          But are you aware of whether the '069
 3   ways to perform validated analyses and limits of       3   patent actually reports any measured lipid content
 4   detection analyses.                                    4   values?
 5           So to the extent that they are                 5                 MR. SHEH: Object to form.
 6   internationally recognized, I don't know who buys      6      A. Can you clarify the question, please.
 7   the Remington textbook, but USP is often used for      7      Q. Okay. So the '069 patent contains
 8   guidance by other entities.                            8   information about molar ratios. Correct?
 9       Q. And the principles of significant figures       9      A. Yes.
10   and rounding, you were aware of them before your      10      Q. And do you know whether it contains
11   involvement in this case. Correct?                    11   measured values of lipid content as opposed to
12       A. Yes -- yes.                                    12   descriptions of the starting content?
13       Q. And is it fair to say, you've been             13      A. In my review of the document, I did not
14   familiar with those conventions throughout your       14   see a -- of the '069 document, I did not see a
15   career?                                               15   specific description of a method for analyzing the
16                  MR. SHEH: Objection to the             16   dispersed lipid in a formulation.
17           form.                                         17      Q. Okay. So if you go to Table 2 -- this is
18       A. As an educator, this is something that --      18   in Column 69 of the '069 patent.
19   significant figures is -- and rounding are matters    19          Are you there, Doctor?
20   that come up regularly.                               20      A. Yes. Pardon me.
21           So -- and as an active researcher, it's       21          Yes, I'm -- I see Table 2.
22   something that my colleagues and my students are      22      Q. Great. And this -- the title of this is
23   considering on a regular basis.                       23   "Characteristics of the SNALP formulations used in
24       Q. And you've been a visiting professor           24   the study." Right?
25   overseas at various institutions. Right?              25      A. Yes.
                                                Page 43                                                   Page 45
 1      A. Yes. I've been a visiting professor at           1       Q. And there's a heading "Formulation
 2   University of British Columbia, Chulalongkorn          2   Composition, Mole %."
 3   University, Technical University of Denmark.           3          Do you see that?
 4      Q. And are you aware through those --               4       A. Yes.
 5      A. Pardon me.                                       5       Q. And what is your understanding of what the
 6      Q. Sorry.                                           6   numbers in those columns represent?
 7      A. Those are the international examples.            7       A. These are reporting formulation
 8          I've also visited domestic institutions as      8   composition mol % of the -- what's referred to as
 9   a visiting faculty member.                             9   the "conjugate lipid" the PEG(2000)-C-DMA and the
10      Q. And through those international visiting        10   DLinDMA, as well as the DPPC and cholesterol content
11   professorships, were you aware of any alternative     11   in the -- in 16 different formulations.
12   conventions of significant figures and rounding?      12       Q. And the "DLinDMA" is the cationic lipid in
13                 MR. SHEH: Objection; scope.             13   that example. Right?
14      A. I...in my experiences outside my Purdue         14       A. "DLinDMA" is the ionizable lipid.
15   laboratory and Purdue University environment, those   15          It's the agent that is protonated to
16   institutions that I visited, I don't recall other     16   become cationic under the conditions of formulation.
17   conventions for rounding and significant figures      17       Q. Okay. And when you say that this column
18   being used.                                           18   refers to the formulation composition, do you
19      Q. Okay. Now, if we go back to the '069            19   understand that represents the amount of lipids
20   patent, which is Exhibit 2.                           20   before the particles are formed?
21          Earlier we were talking about whether          21       A. This table is -- since there's -- it's not
22   there are any methods described in the '069 patent    22   specified whether there was a HPLC analysis, I
23   for measuring lipid content.                          23   anticipate that these are nominal concentrations of
24          Are you aware -- and if we could just          24   the different lipid components.
25   start with off the top of your head. And if you       25       Q. And what do you understand "nominal

                                                                                    12 (Pages 42 to 45)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 870 of 910 PageID #: 10450

                                                Page 46                                                        Page 48
 1   concentrations" to be?                                  1       A. -- 17? Okay.
 2      A. Actually, I spoke to this extensively in          2          Yeah, so:
 3   previous cases.                                         3                  This study illustrates
 4          What "nominal" means is: The composition         4              comparison of the tolerability
 5   that you are writing into your notebook and you are     5              and efficacy of the 1:57 SNALP
 6   metering out, whether it's the polymetric or weight     6              formulation with ApoB-targeting
 7   measurement to produce a mixture of the lipid           7              siRNA as prepared by...direct
 8   components before you treat them with the dispersion    8              dilution or in-line dilution
 9   method.                                                 9              process....
10      Q. So is it akin to a recipe: It's the              10          Is that the...yeah.
11   amounts that are going in?                             11       Q. Yeah, that's the section.
12      A. I think that's a reasonable description.         12          And so, do you see in that first paragraph
13          It's an intended proportion -- set of           13   it refers to the "input lipid to drug ratio"?
14   proportions.                                           14       A. I'm sorry. I don't see "input."
15      Q. In Table 2, the lipid amounts listed here,       15       Q. At about -- Line 18.
16   they're listed in mol %. Correct?                      16       A. Okay. Yeah, so:
17      A. Yes. That's the header at the top of the         17                  ...direct dilution or
18   second column, "Formulation Composition, Mole %."      18              in-line dilution process at an
19      Q. And the numbers that appear in those             19              input lipid to drug ratio of
20   columns, they have varying numbers of significant      20              6:1 to 9:1.
21   figures. Correct?                                      21       Q. And the "lipid to drug ratio," is that
22      A. Yes. Applying them, the conventions, the         22   referring to the ratio in like absolute weight or is
23   USP conventions, they are of varying significant       23   that another calculation that's performed with --
24   figures.                                               24   based on the molecular weight?
25      Q. And do you have any understanding of why         25                  MR. SHEH: Objection; beyond the
                                                Page 47                                                        Page 49
 1   the inventors would have chosen to include varying      1           scope.
 2   numbers of significant figures?                         2       A. Typically, these are -- the lipids are
 3       A. I don't know. That is a -- it could be           3   determined by molar ratios.
 4   limitations on reagent. It could be a question that     4           And once you know the composition of the
 5   they're trying to interrogate. There may --             5   ionizable form of the lipid, you're often tying your
 6          I don't know what their purpose was, but         6   ratios to that part of the formulation.
 7   these are the values that they went for.                7       Q. And the lipid to drug ratio there, that's
 8                 MR. SHEH: Mark, he's just                 8   referring to total lipid -- not just the ionizable
 9          adjusting the --                                 9   lipid, though. Right?
10                 MR. McLENNAN: Oh, no problem.            10                 MR. SHEH: Same objection.
11                 MR. SHEH: Thanks.                        11       A. The -- it's describing a -- the 1:57
12                  (Pause.)                                12   composition and the input lipid.
13   BY MR. McLENNAN:                                       13       Q. Just to be clear, the input lipid is all
14       Q. If you go over to Column 78, Example 8,         14   of the lipids -- not just one particular lipid?
15   let me know when you get there.                        15       A. That is the expectation.
16       A. The '069?                                       16       Q. If you go over to Column 79 of the '069
17       Q. Yeah, of the '069.                              17   patent, at around line 8 there's a formulation
18          And in Example 8, there's a description of      18   summary and a table that doesn't have a title.
19   SNALP formulations, the 1:57 SNALP formulation.        19       A. Yes.
20          Do you see that?                                20       Q. And in the last column, it says, "Final
21       A. Yes.                                            21   L:D" Ratio "(mg:mg)."
22       Q. And at Column 78 around line 17, there's a      22           Do you see that?
23   description of an "input lipid to drug ratio"?         23       A. Yes.
24       A. Column 78, line --                              24       Q. Is that the final lipid to drug ratio?
25       Q. Around 17.                                      25                 MR. SHEH: Objection; beyond the
                                                                                       13 (Pages 46 to 49)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 871 of 910 PageID #: 10451

                                                Page 50                                                      Page 52
 1           scope.                                          1   sterile filtration.
 2       A. So what is being described here is the           2          And so, the -- that's what I'm referring
 3   final lipid to drug ratio in milligrams to              3   to.
 4   milligrams for the formulations that are being          4       Q. Would you expect the lipid to drug ratio
 5   tested.                                                 5   to change as a result of the filtration?
 6       Q. And what is the "final" in "final lipid to       6       A. It depends on the operation.
 7   drug" referring to?                                     7       Q. Are there any other processing steps that
 8       A. It's referring to the particles that were        8   might be carried out from the final lipid to drug
 9   made.                                                   9   ratio before it's administered?
10       Q. And if you look through Example 1, the          10                  MR. SHEH: Objection; scope.
11   lipid particles were administered to animals.          11       A. I can't speak for -- to such a general
12   Correct?                                               12   question.
13       A. Example 1. So....                               13       Q. Okay. If you look at Column 78, do you
14       Q. Sorry. This is still Example -- I think         14   see that there's a calculation of dosages there in
15   we're in Example 8.                                    15   both lipid content and encapsulated siRNA?
16       A. Okay. Example 8.                                16       A. I'm on Column 78. There are three tables
17       Q. And it has -- just below that table we're       17   here. Can you help me?
18   looking at in Column 79, there's a description.        18       Q. So for any of them, do you see in all of
19       A. Um-hum. Yes, I see that description of          19   them they have a heading "IV Dosage" and there's a
20   Procedures, the Treatment, Endpoint, Groups, etc.      20   column that says "Total Lipid"?
21       Q. And so, the lipid particles in Example 8        21       A. Yes, I see that.
22   were administered to animals?                          22       Q. And there's also a column that says
23                 MR. SHEH: Objection; beyond the          23   "Encap. siRNA"?
24           scope.                                         24       A. Yes, I see that.
25       A. Some....                                        25       Q. And so, would those two columns be used to
                                                Page 51                                                      Page 53
 1           It appears the formulation was                  1   calculate the -- oh, sorry. Shoot, they're dosages.
 2   administered to animals.                                2          Those are describing the amount of lipid
 3      Q. And so, the final lipid to drug ratio             3   per kilogram of the mammal that's administered.
 4   that's referred to in the table in Column 79, do you    4          Is that right?
 5   expect that that was the lipid to drug ratio of the     5                  MR. SHEH: Objection; beyond the
 6   particle that was administered to the animals?          6          scope.
 7                 MR. SHEH: Same objection to               7       A. The total lipid is -- in these tables
 8           scope.                                          8   is -- appears to be referring to the amount of lipid
 9      A. The...it's unclear, actually.                     9   that's present in the formulation and the amount
10           The methods used to collect particle size      10   that was -- total amount dosed per kilogram in the
11   data and to do a lipid to drug ratio measurement may   11   animal.
12   be different than what was actually administered to    12       Q. And so from those two columns, could you
13   the animals.                                           13   calculate the lipid to drug ratio that was
14      Q. So in other words, you're saying that            14   administered to the mammal?
15   there could be a different lipid to drug ratio at      15                  MR. SHEH: Objection; beyond the
16   the composition that was administered to the animals   16          scope.
17   than what's reported in that table?                    17       A. Yeah, I -- I would not -- I would need to
18      A. No -- no, that's not what I'm saying.            18   take some time to study that and evaluate their --
19           What I'm saying is that the sample, the        19   how they're producing these numbers.
20   particles that were generated to make the particle     20       Q. Okay. We might come back to that.
21   size measurement and lipid to drug ratio measurement   21          In -- if you look at Column 80, there is a
22   do not require sterile filtration.                     22   description next to Figure 12 around line 28.
23           But before administration -- it can be the     23          Just let me know when you get there.
24   same inflammation, the same set of particles. But      24               (Witness reading.)
25   before administering to animals, you'd have to do a    25       A. Yes, I see it.
                                                                                      14 (Pages 50 to 53)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 872 of 910 PageID #: 10452

                                                   Page 54                                                  Page 56
 1       Q. And that description refers to both an            1          calls for a legal conclusion.
 2   input lipid to drug ratio and a final ratio of lipid     2       A. What I'm speaking to -- paragraph 60 of my
 3   to drug. Correct?                                        3   declaration, page 29, these are the recited ranges
 4       A. (Reading:)                                        4   that are in Claim 1.
 5                 Figure 12 shows that ApoB                  5          That's what I'm speaking to.
 6             protein and the total                          6       Q. Okay. So if we stick on paragraph 60.
 7             cholesterol levels were reduced                7                  (Pause.)
 8             to a similar extent by the 1:57                8       A. Okay. Yes, I'm there.
 9             SNALP at a 6:1 input lipid to                  9       Q. And if you look at the "Upper Limit"
10             drug ratio (final ratio of 7:1)               10   column.
11             and the 1:57 SNALP at a 9:1                   11          If you have a sample that you would say
12             input L:D ratio (final ratio of               12   falls within the claims that is at the very top of
13             10:1).                                        13   the upper limit for each of the four components,
14       Q. Was it a convention in the field to report       14   would you agree with me that that would add up to
15   both the input lipid to drug ratio and the final        15   more than 100 percent?
16   ratio?                                                  16                 MR. SHEH: I'm sorry, Mark.
17                 MR. SHEH: Objection; beyond the           17          Where are you looking?
18          scope.                                           18                 MR. McLENNAN: Paragraph 60.
19       A. Actually, this whole series of questions         19                 MR. SHEH: Paragraph 60 -- I
20   are not part of my declaration.                         20          see, in his declaration.
21          Can you direct me to where this is               21                 Okay. Thank you.
22   relevant to what --                                     22       A. Yeah, so summing -- I believe I
23       Q. Sure.                                            23   understand.
24       A. -- I'm here to clarify for you?                  24          Please restate the question, just to make
25       Q. Sure.                                            25   sure I understand.
                                                   Page 55                                                  Page 57
 1          You provide opinions about whether or             1      Q. So the four upper limits you provided --
 2   not -- or, sorry, strike that.                           2      A. Yes.
 3          You provide opinions about the meaning of         3      Q. -- in paragraph 60.
 4   the term "lipid particle" and whether it is a            4      A. Yes.
 5   finished lipid particle. Correct?                        5      Q. If you add the four of those together,
 6       A. Yes.                                              6   that would sum up to more than 100 percent correct?
 7       Q. And you considered the disclosures of the         7      A. Yes.
 8   '069 patent in coming to that opinion?                   8      Q. And does that affect your opinions in any
 9       A. That's one of a family of patents that I          9   way about the ranges of each of these?
10   refer to.                                               10      A. Well, the -- since it's a percentage,
11       Q. And it's your opinion that the lipid             11   there is no -- there's no way that they can add up
12   particle claimed in the '069 patent is not a final      12   to more than 100.
13   lipid particle. Correct?                                13          So if they're high in one portion of a
14                 MR. SHEH: Object to form.                 14   formulation, it's going to be lower in another
15       A. What I'm saying in my declaration is that        15   portion of the formulation.
16   the claim describes formation of a particle, and        16          That's what a percentage is. That's a
17   that particle can be -- is a particle -- once it's      17   percent of 100 percent.
18   formulated is a particle, regardless of where the       18      Q. So in other words, it has to add up to
19   position in the lifecycle of that -- until it's         19   100 percent?
20   born, until you dispose of the sample, it's still a     20      A. Yes.
21   particle. That's the point I'm making.                  21                 MR. SHEH: Objection.
22       Q. And you agree, though, that the claims of        22      A. It --
23   the '069 patent do not claim the amounts of lipids      23                 MR. SHEH: Let me deal with my
24   in terms of input components. Correct?                  24          objections, Doctor.
25                 MR. SHEH: Object to form. It              25                 Object to form.

                                                                                      15 (Pages 54 to 57)
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                                                Page 58                                                     Page 60
 1       A. The mol % of the four components that are        1          Do you see that?
 2   listed -- if those are the only components in the       2       A. Yes.
 3   mixture are these four components, then you would       3       Q. Is that your understanding of what "about"
 4   expect that they are -- that in the experiment, that    4   means in the context of the '069 patent?
 5   they would -- they should add up to 100 percent         5                MR. SHEH: Object to form,
 6   within experimental error.                              6          scope.
 7       Q. Okay. And do you know what the                   7       A. I'm -- what I'm saying here is that I'm
 8   experimental error is for, say, for example, HPLC?      8   basing my statements on the examiner's construction.
 9                  MR. SHEH: Objection; beyond the          9       Q. Do you have --
10          scope.                                          10       A. They're the ones that use this -- "an
11       A. I think we've already plowed this field.        11   amount +/- 10, 20, 30 mol % of a lipid component."
12          I've answered that question I think at          12       Q. And do you have your own view of what
13   least three times -- that it depends on the            13   "about" means in context of the '069 patent?
14   instrument and the type of detector that the           14       A. No.
15   instrument is configured with.                         15       Q. The term "comprising about" is not in the
16       Q. Okay. If you go over to paragraph 66 of         16   final claims that issued as the '069 patent.
17   your declaration, this is where you talk about the     17   Correct?
18   file history of the '069 patent.                       18       A. Right. So paragraph 67 is what was --
19                  MR. SHEH: Mark, if you're going         19   contained the language "comprising from about" for
20          to start on this section, do you mind if        20   the cationic lipid molar ratios.
21          we take a break?                                21          And the paragraph 69 shows the striking of
22                  MR. McLENNAN: Yeah, sure.               22   the word -- in Claim 1, striking of the word "about"
23                  MR. SHEH: It's been about an            23   in each of the lipid components -- so struck from
24          hour.                                           24   the cationic lipid, the noncationic lipid, and the
25                  MR. McLENNAN: Sounds good.              25   conjugated lipid.
                                                Page 59                                                     Page 61
 1                 MR. SHEH: Thank you.                      1        Q. And so for the claim language in
 2                 VIDEOGRAPHER: The time is                 2   paragraph~69, you've provided what you believe is a
 3          11:15 a.m. This ends Unit 2.                     3   numerical scope of each of the ranges in
 4                 We're off the record.                     4   paragraph~60, applying significant figures and
 5                 (Whereupon, a recess was taken.)          5   rounding. Correct?
 6                 VIDEOGRAPHER: The time is                 6        A. That's a...I don't quite understand the
 7          11:30 a.m. This begins Unit No. 3.               7   question.
 8                 We're on the record.                      8        Q. Okay.
 9   BY MR. McLENNAN:                                        9        A. Can you please restate.
10      Q. Dr. Thompson, we started talking about           10        Q. Let me take you back to paragraph 60.
11   the -- or I just pointed you to paragraph 66 in your   11        A. Um-hum.
12   declaration about the file history of the '069         12        Q. This table you have here in paragraph 60,
13   patent.                                                13   it's about the issued claims. Right?
14      A. Yes, I see it.                                   14        A. These are -- right, the recited range that
15      Q. Now, you're aware in prosecution of the          15   I'm listing in this table are based on the claims
16   '069 patent that the claims originally included the    16   that appeared in --
17   word "about" before the mol % ranges. Right?           17        Q. Paragraph 69?
18      A. Right, I understand the patentee amended         18        A. -- the allowed claims in 69.
19   the claims to remove the term "comprising about" --    19        Q. Okay. And the allowed claims do not have
20   "composing about," in quotations, from the pending     20   the word "about." Correct?
21   claims -- then-pending claims.                         21        A. In Claim 1 -- the allowed Claim 1 does not
22      Q. And in paragraph 66, you refer to the            22   have -- that, that was struck from Claim 1.
23   examiner's construction of "comprising about" to       23        Q. Okay. So considering the table you have
24   mean "an amount +/- 10, 20, or 30 mol % of a lipid     24   in paragraph 60 -- the lower and upper limit, can we
25   component."                                            25   refer to that as the numerical scope of the range?

                                                                                      16 (Pages 58 to 61)
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                                                Page 62                                                     Page 64
 1       A. So the paragraph in 60, this table --            1   construction of "about" to mean "+/- 10, 20, or 30
 2       Q. Um-hum.                                          2   mol %"?
 3       A. -- you're asking if that is the numerical        3       A. That's not --
 4   scope of the range?                                     4                MR. SHEH: Objection; scope.
 5       Q. Yeah, I want to ask you questions about          5       A. -- not my judgment to make.
 6   the lower and upper limit, and just -- if you have a    6       Q. Did you consider the meaning of "about"
 7   particular phrase for it.                               7   during prosecution?
 8          I would call it the "numerical scope."           8                MR. SHEH: Objection --
 9       A. Right. So I'm -- that -- I now know the          9       Q. Strike that.
10   term that you're using.                                10          Did you consider the meaning of the term
11          As I said earlier, these numbers that are       11   "about" as it existed in the claims during
12   derived based on the allowed claims -- or the          12   prosecution?
13   allowed language in Claim 1, and applying the          13                MR. SHEH: Objection; asked and
14   guidelines for rounding and significant figures.       14          answered three times.
15       Q. If we start with the cationic lipid             15       A. I considered the examiner to be the
16   limitation, what would be the lower and upper limit    16   gatekeeper and that their applied meaning of "about"
17   for the claim when it recited "about" during           17   is the relevant meaning that I should use in my --
18   prosecution?                                           18   in producing my opinion.
19                MR. SHEH: Object to form.                 19       Q. Do you have an alternate meaning for the
20       A. That's...that can mean many things, and         20   word "about" in this context?
21   actually depend highly on the specific lipid we're     21       A. As I said, I don't have a meaning of
22   talking about.                                         22   "about." It's -- would require a great deal of
23          So I'm not -- I'm unable to answer that         23   reflection.
24   question, actually. There are too many variables at    24       Q. And what would you have to reflect on?
25   play.                                                  25                MR. SHEH: Objection; scope.
                                                Page 63                                                     Page 65
 1       Q. So if we limit it just to the cationic           1       A. Essentially, every element of the process
 2   lipid, you don't know what the numerical range would    2   and the materials used -- as you put it earlier --
 3   be if it recited "about 50 percent to about             3   in the recipe.
 4   65~mol %," as it did during prosecution?                4          The specific lipids; their proportions;
 5                  MR. SHEH: Object to form.                5   their method of making a particle, as is specified
 6       A. So the analysis that I've -- I'm                 6   in Claim 1 -- that...those are all factors that
 7   presenting here is based on what the examiner put       7   would -- and others that I'm probably forgetting in
 8   forward of 10, 20 mol %, +/-.                           8   this moment -- that would be bundled into
 9           And in terms of a hypothetical meaning of       9   consideration of what "about" might mean.
10   "about," that's...I would need to give that more       10       Q. When the applicant removed the word
11   thought.                                               11   "about," do you think that the scope of the claims
12       Q. Did you consider the meaning of "about" as      12   changed?
13   it existed during prosecution in these claims, in      13                MR. SHEH: Objection to scope.
14   preparing your declaration?                            14       A. The question is: Do I believe that the
15                  MR. SHEH: Objection; asked and          15   scope of the claims changed?
16           answered.                                      16       Q. Yes.
17       A. I applied the guidance of -- or the             17               (Witness reading.)
18   statement of the examiner to what "about" meant and    18       A. That strikes me as more of a legal
19   did not go beyond that.                                19   question than a scientific one.
20       Q. And do you agree with the examiner's            20       Q. Did you consider the impact of removing
21   construction of "about" to mean "+/- 10, 20, or 30     21   the word "about" during prosecution?
22   mol %"?                                                22       A. I considered the sequence that -- or
23                  MR. SHEH: Objection; scope.             23   the -- and read through the record of how that
24       A. Repeat the question, please.                    24   back-and-forth between the examiner and Dr. Heyes,
25       Q. Do you agree with the examiner's                25   followed that decision.

                                                                                      17 (Pages 62 to 65)
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                                                Page 66                                                     Page 68
 1           I have not given thought to how -- what         1   that...that +/- range that the examiner was
 2   the impact of those changes are.                        2   specifying was, I think, the point that they were
 3       Q. So there's no impact that you can think of       3   pushing to have more clarity.
 4   right now of deleting the word "about"?                 4       Q. And you don't have your own interpretation
 5       A. From a scientist's perspective, the              5   of what percentage variability applied with the use
 6   deletion of that word is -- makes it more defined       6   of the word "about," right -- you're unable to know
 7   that the -- in the case of the cationic lipid of        7   what the examiner thought?
 8   Claim 1, now there are two significant figures: 50      8       A. I'm relying on the examiner's expertise
 9   mol % and 65 mol %. As the recited range, that's --     9   and their role of playing referee in defining what
10   that's the -- I guess, to me, what the impact is.      10   are allowable claims.
11       Q. Okay. And so looking back at the table          11       Q. And you've offered no definition of your
12   you have this paragraph 60, if that's the more         12   own of "about"?
13   defined version after the deletion of the word         13       A. My only definition is, as I've stated,
14   "about," what is the less defined version?             14   paragraph 66:
15                  MR. SHEH: Objection; scope.             15                  ...I understand that the
16       A. I can't say.                                    16               patentee amended the claims to
17       Q. When the claims recited "about," did the        17               remove the term "comprising
18   claims allow for variability in the mol %?             18               about" from then-pending claims
19                  MR. SHEH: Objection to the              19               based on the Examiner's
20           scope, asked and answered.                     20               construction of "comprising
21       A. There's a time element here.                    21               about" to mean "an amount +/-
22           Can you please repeat the question.            22               10, 20, 30 mol % of a lipid
23       Q. So the claims in....                            23               component."
24           Let's have a look at paragraph 67. This        24           I think that states it clearly.
25   is the claims when they recited "about."               25       Q. Is that your own definition, or is that
                                                Page 67                                                     Page 69
 1          And if we take the specific example of the       1   the examiner's definition?
 2   cationic lipid, at this stage in January 2011 the       2      A. The examiner is the one. That's why it's
 3   claim recited:                                          3   a quotation.
 4                 Cationic lipid comprising                 4         But I'm applying that construction in my
 5             from about 50 mol % to about 65               5   opinions in this matter.
 6             mol %.                                        6      Q. And are you offering your opinions as a
 7          Do you see that?                                 7   person of skill in the art?
 8       A. Yes.                                             8      A. Yes.
 9       Q. Does the phrase "about 50 mol %" allow for       9      Q. And so, what is the definition that a
10   variability below 50 mol %?                            10   person of skill in the art would apply to the word
11       A. It allows for variability above or below        11   "about"?
12   50 percent in an indeterminate amount.                 12                MR. SHEH: Objection; scope,
13       Q. You can't quantify how much variability         13         form, foundation.
14   above or below 50 percent?                             14      A. I don't know.
15                 MR. SHEH: Objection to scope.            15      Q. And you can't provide a numerical scope of
16       A. I think this is what the examiner was           16   any of these claim limitations as they existed when
17   calling out, is the -- is that it required....         17   they had the word "about" in them. Correct?
18          The uncertainty could be as large as +/-        18                MR. SHEH: Objection; asked and
19   10 percent -- 20, 30 mol % -- that that "about" term   19         answered -- five times.
20   allowed for a large range of deviation                 20      A. As I said, I have applied this guidance to
21   from...specifically, it would -- applying the          21   my opinions that I've established.
22   examiner's terms, it could be as low as 20 mol %       22      Q. So there's no numerical scope that you
23   or...and as high as 95 mol %, if you apply the         23   could offer as a person of skill in the art as to
24   examiner's stated +/- ranges.                          24   what these claims allowed for when they recited
25          So it -- it's a -- was established -- or        25   "about"?
                                                                                     18 (Pages 66 to 69)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 876 of 910 PageID #: 10456

                                                Page 70                                                     Page 72
 1                 MR. SHEH: Objection;                      1          This is the voice of an entity that sets
 2           mischaracterizes.                               2   the boundaries.
 3       A. I've answered the question.                      3          That's the basis that I used for my
 4       Q. There's no -- you can't put numbers to it.       4   evaluation.
 5   Correct?                                                5       Q. So is that the meaning that you're
 6       A. No further response.                             6   applying to the word "about"?
 7       Q. Okay. Do you believe that when the               7                MR. SHEH: Object to form.
 8   applicant deleted the word "about," that they           8       A. I need a better question.
 9   narrowed the scope of the claims?                       9       Q. Okay. So you've said that the examiner is
10       A. When they deleted the word "about," did         10   the voice of an entity that sets the boundaries.
11   they narrow the scope of the claims -- that's the      11          And I've asked: Is the definition -- "an
12   question?                                              12   amount +/- 10, 20, 30 mol %," is that the definition
13       Q. Yes.                                            13   of "about" that you've applied in providing your
14                 MR. SHEH: Objection to scope.            14   opinions as a person of ordinary skill in the art?
15       A. I think this has also been answered.            15       A. That "+/- 10, 20, 30 mol %" is the -- is
16           Applying the "+/- 10, 20, 30 mol %," that      16   what I've taken to understand is -- as the meaning
17   is...is what the examiner was driving -- or was        17   of "comprising about."
18   essentially speaking to, is that it was -- that the    18       Q. If you go over to the '069 patent and if
19   "about" allowed for a wider range of mol               19   you look at the claims in Columns 91 and 92 -- and
20   percentages.                                           20   if you look at Claim 14, do you see that Claim 14
21       Q. And as a person of skill in the art, do         21   recites mol % of the four lipid components, and it
22   you believe that when the applicant deleted the word   22   recites them as about a certain mol %?
23   "about" they narrowed the scope of the claims?         23       A. Right -- Claim 14, particle....
24                 MR. SHEH: Objection; asked and           24          (Reading:)
25           answered, scope.                               25                Nucleic acid-lipid
                                                Page 71                                                     Page 73
 1      A. Repeat the question, please.                      1              particle of claim 10, wherein
 2      Q. As a person of ordinary skill in the art,         2              the nucleic acid-lipid particle
 3   do you believe that when the applicant deleted the      3              comprises about 57.1 mol %
 4   word "about" they narrowed the scope of the claims?     4              cationic lipid, about 7.1 mol %
 5      A. I've answered that question.                      5              phospholipid, about 34.3 mol %
 6          The use of the word "about" was a way to         6              cholesterol or a derivative
 7   remove the uncertainty or the -- yeah, the              7              thereof, and about 1.4 mol %
 8   uncertainty about what range was allowable.             8              PEG-lipid conjugate.
 9      Q. And would the "about" limitation, when it         9        Q. And did you consider this claim in forming
10   was in the claims, have allowed for variation?         10   your opinions in your declaration?
11                MR. SHEH: Objection; scope.               11        A. Yes.
12      A. As I say, the term "about" is what -- I'm        12        Q. So if we start with the cationic lipid,
13   relying on the examiner's interpretation. And          13   it's recited as about 57.1 mol %. Correct?
14   they've spelled out what they view as the scope of     14        A. Yes.
15   what was a potential uncertainty.                      15        Q. What is the numerical scope that that
16      Q. And so, you keep referring to what the           16   claim allows for in terms of the mol % of the
17   examiner stated.                                       17   cationic lipid?
18          But I'm asking what your opinion is as a        18                  MR. SHEH: Objection; beyond the
19   person of skill in the art who's offering opinions     19           scope.
20   about the prosecution history.                         20        A. The way I read it, it maps to Claim 10.
21                MR. SHEH: Objection to scope,             21           Claim 10 maps to Claim 1.
22          asked and answered.                             22           Claim 1 spells out 50 to 65 mol % cationic
23      A. I may not like driving 55, but that's what       23   lipid.
24   the sign says. And if I get ticketed, I'm -- have      24           So ultimately, that "about" in this case
25   to obey the law.                                       25   is more bounded.
                                                                                      19 (Pages 70 to 73)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 877 of 910 PageID #: 10457

                                                Page 74                                                     Page 76
 1       Q. So --                                            1   well, actually "about" -- as I've said before,
 2       A. It means that it's -- can be as low as 50.       2   I'm -- I don't have a position on the word -- or I
 3   It can be as high as -- well, it can be as low as       3   don't have a definition of "about" in my declaration
 4   49.5. It can be as high as 65.4.                        4   that goes beyond my understanding of the examiner's
 5          That's what "about" means in this case.          5   definition.
 6       Q. So is there any difference between               6      Q. So sitting here today, can you answer
 7   Claim 14 and Claim 1?                                   7   whether or not 49.5 mol % cationic lipid would fall
 8                  MR. SHEH: Objection; scope.              8   within the scope of Claim 14, which recites about
 9       A. The language is different. Of course             9   57.1 mol % cationic lipid?
10   there are differences.                                 10                 MR. SHEH: Objection; asked and
11       Q. Okay. So if we just stick with the mol %        11          answered, scope.
12   of the cationic lipid, is there a difference in the    12      A. I believe I've stated that now at least
13   numerical scope of that particular limitation          13   twice, that because of the connected -- because 14
14   between Claim 14 and Claim 1?                          14   maps to 10, Claim 10, Claim 10 maps to Claim 1 and
15                  MR. SHEH: Objection; asked and          15   Claim 1 -- as I state in paragraph 60, the -- for
16          answered, scope.                                16   the cationic lipid the lower range, 49.5 mol % and
17       A. Because they're...Claim 14 is mapping back      17   the upper range 65.4 mol %.
18   to Claim 1, the...I'm...I'm seeing that the...the --   18      Q. Okay. And you keep referring back to
19   what's the right word here? -- the about 57.1 mol %    19   Claim 1. But I'm really trying to find out what is
20   cationic lipid is a -- is a more precise description   20   the scope of Claim 14, which recites "about."
21   of a -- or at least three significant digits instead   21          So yes or no, would a composition with
22   of the two significant digits of Claim 1.              22   49.5 mol % cationic lipid fall within the scope of
23       Q. So in your mind, for Claim 14, a                23   Claim 14?
24   composition with 49 percent -- sorry 49.5 mol %        24                 MR. SHEH: Objection; asked and
25   cationic lipid would meet the limitation in Claim 14   25          answered now three times. And....
                                                Page 75                                                     Page 77
 1   of about 57.1 mol % cationic lipid?                     1       A. Can we --
 2                 MR. SHEH: Objection; scope.               2                 MR. SHEH: Wait, wait, wait.
 3       A. Actually, I believe I've answered this           3          Let me finish my objection, Doctor.
 4   question that since it maps back to Claim 1 -- and      4                 THE WITNESS: Okay.
 5   I've spelled out in my declaration what those lower     5                 MR. SHEH: Scope. Sorry.
 6   and upper limits are for the cationic lipid in          6                 MR. McLENNAN: And, yeah, Tony,
 7   Claim 1 -- I think it's clear.                          7          I'll have to ask you to stop with the
 8       Q. Okay. I think you might have it                  8          coaching objections too. Thank you.
 9   backwards.                                              9                 MR. SHEH: I don't think they're
10          I'm asking if 50 mol % or 49.5 mol % would      10          coaching objections. But I think you're
11   meet Claim 14, which recites 57.1 -- sorry, let me     11          going way beyond the scope -- that's the
12   start again.                                           12          problem with your questions.
13          I'm asking whether 49.5 mol % cationic          13       A. I can't remember exactly how far we need
14   lipid would meet the requirements of Claim 14, which   14   to go back, but I did speak to this 49.5 percent.
15   recites about 57.1 mol % cationic lipid.               15          Can we read back earlier questions -- or
16                 MR. SHEH: Objection; scope.              16   my responses to earlier questions?
17       A. It is a -- it is a -- one of many possible      17          I think my answer is unchanged from what
18   mol percentages that would fit within the confines     18   I've already stated.
19   of Claim 1.                                            19       Q. So every one of your answers, you've
20       Q. Okay. But I'm actually asking about             20   referred back to Claim 1. But I've asked you
21   Claim 14. Would it fit within the confines of          21   about -- I want to know about the scope of Claim 14,
22   Claim 14?                                              22   which recites "about."
23                 MR. SHEH: Objection; form,               23       A. And I've said multiple times, now, that
24          scope.                                          24   the word "about" is not something that I've defined
25       A. The -- if I apply the -- the rules --           25   in my declaration beyond what the examiner stated,

                                                                                      20 (Pages 74 to 77)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 878 of 910 PageID #: 10458

                                                Page 78                                                     Page 80
 1   +/- 10 percent -- plus 10, 20, 30 mol %.                1   declaration, and now multiple times in questioning,
 2           That's...you know.                              2   what I applied as what "about" means.
 3       Q. So setting aside what the examiner defined       3      Q. Okay. So other than pointing to what the
 4   it as, you are not able to answer about the scope of    4   examiner stated during prosecution, you don't have
 5   Claim 14 because you don't have your own definition     5   any opinions of your own about the meaning of the
 6   of the word "about."                                    6   word "about" from the perspective of a person of
 7           Is that correct?                                7   ordinary skill in the art -- yes or no?
 8       A. I'm applying the guidance of the examiner.       8                MR. SHEH: You're free to answer
 9       Q. And you're applying that without                 9          the question however you wish, Doctor.
10   considering whether a person of ordinary skill in      10      A. I've stated my position --
11   the art would think it's correct or not.               11      Q. Okay.
12           Is that right?                                 12      A. -- of how I interpret the word "about" for
13       A. I'm applying it because those are the           13   this case.
14   rules.                                                 14      Q. And can you spell out what is your
15           There are plenty of...of....                   15   interpretation of the word "about"?
16           People have all sorts of opinions in this      16      A. "About" -- this is paragraph 70 -- "about
17   case. I'm referring back to and relying on the         17   to mean +/- 10, 20, 30 mol % of a lipid component."
18   language of the examiner.                              18          That language appears multiple times in
19       Q. Okay. And this deposition is about you          19   the document. That's...I don't know what's so hard
20   explaining your opinions.                              20   to understand about that.
21           So do you have an opinion on the meaning       21      Q. But is that your interpretation of the
22   of the word "about"?                                   22   word "about"?
23                  MR. SHEH: Objection; form,              23                MR. SHEH: Objection; scope,
24           asked and answered.                            24          asked and answered.
25                (Witness reading.)                        25      A. I'm under oath. I've put forth my
                                                Page 79                                                     Page 81
 1       Q. Dr. Thompson, to answer the question I           1   beliefs.
 2   asked several minutes ago, you're reviewing your        2          I've stated now, multiple times, what I
 3   declaration.                                            3   believe, for purposes of this question, what I mean
 4          Is that right?                                   4   by -- or what I've used as my applicable definition
 5                 MR. SHEH: You did ask whether             5   of "about" with respect to the molar ratio claims.
 6          he has an opinion, and those opinions are        6       Q. And you've just repeatedly referred to
 7          in his declaration.                              7   what the examiner said.
 8                 MR. McLENNAN: Thanks, Tony, for           8          But you still haven't answered my question
 9          answering for the witness.                       9   about what your interpretation is from the
10                 MR. SHEH: Well, you're just              10   perspective of a person of ordinary skill in the
11          badgering the witness. So....                   11   art.
12       A. Please restate the question.                    12          What does "about" mean in the context of
13       Q. Do you have an opinion on the meaning of        13   the '069 patent?
14   the word "about" in the context of the '069 patent     14                 MR. SHEH: Objection; scope,
15   from the perspective of a person of ordinary skill     15          answered now like six times.
16   in the art?                                            16       A. "About" -- "interpretation of about to
17       A. The language that seems most relevant to        17   mean +/- 10, 20, 30 mol % of a lipid component."
18   my opinion is stated in paragraph 66.                  18          That's what I mean.
19       Q. Okay. And is that your opinion, that the        19       Q. Okay. Thank you.
20   examiner's construction is the correct meaning of      20          Now, paragraph 71 -- in the second
21   "about" in this context?                               21   sentence, you've said:
22       A. The word "about" is indeterminate.              22                 ...the prosecution history
23          That's not what I was asked to opine on.        23              shows that the Examiner
24   I've not opined on that specific word, other than      24              construed "about" to mean "+/-
25   the context that I've spelled out here in my           25              10, 20, 30 mol %," and the
                                                                                      21 (Pages 78 to 81)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 879 of 910 PageID #: 10459

                                               Page 82                                                     Page 84
 1             applicant's amendment addressed              1             precise under Moderna's
 2             that construction.                           2             position that ranges would be
 3          Can you explain what you mean by "the           3             understood to be "exact."
 4   applicant's amendment addressed that construction"?    4             I...disagree with Moderna's
 5      A. Paragraph 71. Correct?                           5             construction.
 6      Q. Yes.                                             6      Q. And so, the second sentence in that
 7              (Witness reading.)                          7   paragraph stating that the applicant's amendment
 8      A. Okay. So repeat the question, please.            8   addressed that construction, is that referring to
 9      Q. Okay. In your report, you stated at              9   the amendment to remove the word "about"?
10   paragraph 71 "the applicant's amendment addressed     10      A. So the prosecution history showing that
11   that construction" -- referring to the examiner's     11   "about" had this broad range of +/-.
12   construction there.                                   12          And the applicant's amendment addressed
13          What are you referring to?                     13   that construction. So that's where the amendments
14      A. So (reading):                                   14   are in paragraph 69, where the words "about" in
15                The "Person Of Skill in                  15   Claim 1 had been stricken.
16             the Art" reading the file                   16      Q. Okay. If you look in your paragraph --
17             history of the Lipid                        17   your table in paragraph 60, this is where you set
18             Composition Patents would                   18   out the limits of Claim 1 of '069 patent.
19             therefore not understand the                19          Now, according to you, there's different
20             applicant's amendment to have               20   significant figures, depending on which lipid is
21             disclaimed the application of               21   being recited. Correct?
22             significant figures and                     22      A. So the recited ranges that are in Column 2
23             rounding to the claims.                     23   of my table cite, in some cases, to two significant
24          So they're saying that the rules of the        24   digits and, in other cases, one significant digit.
25   USP -- the guidance of the USP and Remington are      25      Q. And so, for example, for the conjugated
                                               Page 83                                                     Page 85
 1   still relevant.                                        1   lipid, the lower limit is -- how many significant
 2           (Continued reading:)                           2   figures is that?
 3                 Rather, the prosecution                  3       A. That would be one significant digit.
 4              history shows that the Examiner             4       Q. The conjugated lipid, the 0.5 mol %?
 5              construed "about" to mean "+/-              5       A. 0.5 is one significant digit, one digit to
 6              10, 20, 30 mol %," and the                  6   the right of the decimal place.
 7              applicant's amendment addressed             7       Q. And so, you've only allowed 0.05 mol %
 8              that construction. The                      8   variation in the lower limit.
 9              prosecution history...thus                  9           Is that correct?
10              makes clear that the meaning of            10       A. So the lower limit is a statement about --
11              "about" as "+/- 10, 20, 30                 11   is applying the rounding rules.
12              mol %" is unconnected to                   12       Q. Um-hum.
13              whether the "Person Of Skill in            13       A. And so, 0.45 is -- would round up to 0.5.
14              the Art" would have interpreted            14           If the -- well, a number 5 or greater in
15              the claim mol % ranges using               15   the hundredths decimal place would round up to 0.5.
16              the ordinary rules of                      16           That's what I'm saying here.
17              significant figures and                    17       Q. Okay. And if you compare the recited
18              rounding.                                  18   range to the lower limit that you ascribed by
19           Again, meaning that Remington and USP are     19   applying significant figures and rounding, the
20   still relevant.                                       20   difference there is 0.05 mol %. Right?
21           (Continued reading:)                          21       A. Yes. In this case it's 0.05 mol %
22                 The prosecution history                 22   difference.
23              does not at all support that               23       Q. And for each of the other lower limits in
24              the applicant intended the                 24   your table in paragraph 60, the difference is 0.5
25              claimed ranges to be infinitely            25   mol % -- compared to the recited ranges. Correct?

                                                                                    22 (Pages 82 to 85)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 880 of 910 PageID #: 10460

                                                Page 86                                                     Page 88
 1                MR. SHEH: Object to form.                  1   components?
 2      A. So because these are rounding -- a                2                 MR. SHEH: Object to form.
 3   question about rounding, it's stating lower limits      3      A. I'm saying that the -- whether it's the
 4   that, when rounded to two significant figures, the      4   upper limit or lower limit, what's being applied is
 5   lower limit for cationic lipid 49.5 mol % would         5   a boundary for the molar -- mol %s that would fall
 6   round up to 50 mol %.                                   6   within the recited ranges.
 7          Similarly for the phospholipid and               7      Q. And you're applying rounding and
 8   cholesterol.                                            8   significant figures conventions to each individual
 9      Q. And so for each of those -- cationic,             9   number in the claim. Correct?
10   phospholipid, and cholesterol -- applying rounding     10      A. I'm applying that -- those rules
11   and significant figures, the lower limit is 0.5        11   consistently for each of these four components.
12   mol % less than the numbers that appear in the         12      Q. And you're applying them to each number in
13   recited range?                                         13   the claim individually. Correct?
14      A. They're a reflection of the lower limit          14      A. I'm applying those same guidelines.
15   that would appropriately round to the relevant         15          The upper limit is -- as you can see,
16   significant digits that are established by the -- or   16   they're all at the .4 level.
17   governed by the significant figures and convention.    17          That's because if it were .5, it would
18      Q. Is there any convention that, where you          18   round -- they could round up to a number that is
19   have four components and there's an amount recited     19   outside the range.
20   for each of them, that you should apply the same       20          So that's establishing the ceiling.
21   number of significant figures?                         21          And the lower limits are applying those
22                MR. SHEH: Objection; form,                22   same -- consistently, the same set of guidelines are
23          scope.                                          23   what are being uniformly applied to establish the
24      A. I'm not clear on the question.                   24   floor and the ceiling.
25          Can you please reframe it.                      25      Q. If you turn back to the '069 patent at
                                                Page 87                                                     Page 89
 1       Q. So the conjugated lipid we went through          1   paragraph 68 and look back at Example 1.
 2   earlier has a difference in the recited range           2          Oh, sorry, Column 68.
 3   compared to the lower limit, where you ascribed, you    3      A. Yes, I see it.
 4   know, application of significant figures and            4      Q. If you look at paragraph 40 -- sorry,
 5   rounding. And the difference was 0.05 mol %.            5   line~40 of Column 68, do you see there a sentence
 6          And then for the others recited in the           6   starting with the word "Typically"?
 7   claim, it's a difference of 0.5 mol %. Right?           7      A. Yes, I see that.
 8                 MR. SHEH: Objection;                      8      Q. And it says:
 9          mischaracterizes.                                9                 Typically, in the 1:57
10       A. I believe what you're pointing to is the        10             formulation, the amount of
11   fact that when you're dealing with a smaller number,   11             cationic lipid will be 57 mol %
12   it may appear that there are more significant          12             +/- 5 mol %, and the amount of
13   figures.                                               13             lipid conjugate will be 1.5
14          The point is: You are -- your lower limit       14             mol % +/- 5 mol %....
15   is going to round to the recited range to establish    15          Do you see that?
16   whether it's in range or out of range.                 16                 MR. SHEH: Objection; form.
17          So the specific arithmetic is not the           17      A. Yes, I see those statements.
18   point. It's the point that the lower limit rounds      18      Q. And what concept do you think the
19   to the appropriate significant number of significant   19   inventors are conveying with the "+/- 5 mol %"?
20   figures.                                               20                 MR. SHEH: I'm sorry, Mark,
21       Q. Okay. I think I see what you're saying.         21          which -- can you specify which "+/-"
22          So you're saying the fact that the              22          you're looking at?
23   conjugated lipid is a lower percent doesn't mean       23                 MR. McLENNAN: It's Column 68,
24   that you have to apply the same degree of, for want    24          line 40.
25   of a better word, variation to the other lipid         25                 MR. SHEH: Got it. Thank you.
                                                                                      23 (Pages 86 to 89)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 881 of 910 PageID #: 10461

                                                Page 90                                                     Page 92
 1       A. So for -- in line 48 [sic] where they're         1   digits.
 2   referring to the "ionizable lipid" -- typically, in     2          And the rules of rounding and -- would
 3   the 1:57 formulation, the lipid, ionizable lipid,       3   then apply around that figure.
 4   will be -- well, actually, what it says is "cationic    4          So anything that might measure 62.4 or
 5   lipid." But that's always...these are most often        5   61.5 would be the same set of rounding convention --
 6   ionizable lipids.                                       6   or it would use the same rounding convention for
 7                  ...the amount of cationic                7   that specific case.
 8              lipid will be 57 mol % +/- 5                 8       Q. So in other words, 61.5 mol % would meet
 9              mol %....                                    9   57 mol % +/- 5 mol %?
10          So the meaning of that to me is: It can         10                 MR. SHEH: Objection; asked and
11   be as high as 62 mol %. It can be as low as 52         11          answered.
12   mol %.                                                 12       A. I think you've taken my statement out of
13       Q. And do you have an understanding of what        13   context.
14   the inventors are trying to convey with that?          14          What I'm -- what I -- the specific example
15          Is that allowing for variability?               15   that I gave of a hypothetical 62 mol % -- if the
16                  MR. SHEH: Objection; scope.             16   measured value is 61.5, that would round to 62.
17       A. I think the keyword here is "typically."        17   That's the point I was trying to make.
18          So since this is in the "Materials and          18       Q. And if the inventors have described a
19   Methods" section of the document and it's covering a   19   formulation with 57 mol %, +/- 5 mol %, would
20   whole range of experiments, I think what they're       20   61.5~mol % with application of significant figures
21   trying to achieve here is just an economy of           21   and rounding principles -- would it fall within the
22   describing the methods.                                22   range of 62 to -- or, sorry, 52 to 62 mol %?
23          In one formulation, they may want to use        23       A. That boundary of 57 +/- 5 would include a
24   52 mol %.                                              24   measured value of 61.5 --
25          In another, they may want 62. And they're       25       Q. Okay.
                                                Page 91                                                     Page 93
 1   simply trying to -- for the purposes of the reader,     1      A. -- mol %.
 2   for the experimentalist, to just say that the           2               MR. McLENNAN: Is now a good
 3   formulations can be within this set of -- within        3        time for a lunch break?
 4   this range.                                             4               MR. SHEH: Yeah. Doctor, do you
 5       Q. And with your application of significant         5        have a preference on time -- oh, go ahead,
 6   figures and rounding, would you apply significant       6        please.
 7   figures and rounding on top of this +/- 5 mol %         7               VIDEOGRAPHER: The time is
 8   range?                                                  8        12:29 p.m. This ends Unit 3.
 9          So in other words, you've said that the          9               We're off the record.
10   limit was 52 to 62 percent for the cationic lipid.     10           (Whereupon, the deposition recessed
11   Would you then apply significant figures and           11        for lunch at 12:29 p.m.)
12   rounding to 52 and 62 percent?                         12                - - -
13                MR. SHEH: Objection; scope.               13
14       A. As I say, this is part of an experimental       14
15   method.                                                15
16          And so, that +/- is just telling the            16
17   experimentalist that the range can fall there,         17
18   within -- between 52 and 62 mol % for the specific     18
19   case of a specific cationic lipid.                     19
20          But for a given case, the rules of              20
21   rounding and significant figures will apply.           21
22       Q. So they would apply to the 62 and               22
23   52 percent outer limits?                               23
24       A. If an experiment is done at 62 mol % -- or      24
25   set up at 62 mol %, that would be two significant      25

                                                                                      24 (Pages 90 to 93)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 882 of 910 PageID #: 10462

                                                Page 94                                                      Page 96
 1         AFTERNOON SESSION                                 1   materials can exchange from -- between particles,
 2                 (1:10 p.m.)                               2   from the particle into bulk.
 3                 VIDEOGRAPHER: The time is                 3          There's essentially a reorganization or
 4          1:10 p.m. This begins Unit No. 4.                4   resortment that can happen.
 5                 We're on the record.                      5       Q. Is the particle still intact during that
 6   BY MR. McLENNAN:                                        6   process?
 7       Q. Dr. Thompson, on any of the breaks today         7                 MR. SHEH: I'm sorry, Mark. I
 8   did you discuss the substance of your testimony with    8          missed....
 9   counsel?                                                9       Q. Is the particle still intact?
10       A. No.                                             10       A. That's a great question.
11       Q. All right. So I think you'll be relieved        11          The...man, I'm -- I'm -- don't know that
12   to know I'm going to move past rounding to talk        12   this has been studied in detail, looking at, you
13   about your opinions about the finished lipid           13   know, capturing the states, organization states, as
14   particle on...starting in paragraph 40 of your         14   these methods are being used.
15   declaration.                                           15          But the expectation is that they're --
16          And at paragraph -- if you go ahead to 48       16   that they are -- the particle remains. It's just
17   in this section, paragraph 48.                         17   altered exchange rates, on/off rates, of the
18       A. Yes.                                            18   materials that comprise the particle that are -- is
19       Q. In this paragraph, you're describing            19   what I envision.
20   further processing steps that the particles could be   20          But as I say, I'm not aware of a rigorous
21   subject to.                                            21   study that focuses on this particular question.
22               (Witness reading.)                         22       Q. In the section of the patent that you
23       A. Yes. In paragraph 48, I'm referring to          23   point to -- and I think we might need to give you a
24   other treatments that can occur after the initial      24   different patent.
25   particle formation, where homogenization,              25          Let me just --
                                                Page 95                                                      Page 97
 1   sonication, or extrusion might be techniques that       1                 MR. McLENNAN: Since you have
 2   the sample is exposed to.                               2          cites here to the '378 patent, I'll give
 3      Q. And is it your opinion that each of those         3          you a copy of that too.
 4   three processing conditions -- homogenization,          4                 So we'll mark this as Exhibit 3.
 5   sonication, and extrusion -- can affect the lipid       5              (Whereupon, Thompson Exhibit 3 was
 6   molar ratio?                                            6          marked for identification.)
 7      A. Yes. Each of these methods --                     7                 MR. McLENNAN: And Exhibit 3 is
 8   homogenization, sonication, extrusion -- they're        8          Joint Appendix 6, which is the '378 patent
 9   high-energy input methods, and that -- although the     9          or U.S. Patent No. 11,141,378.
10   details can be dependent on the method applied,        10   BY MR. McLENNAN:
11   they -- essentially, the materials in the sample can   11       Q. So this is the patent that you're
12   resort and alter molar ratios of the -- or the         12   referring to in the paragraph that we were just on,
13   composition of the SNALP.                              13   paragraph 48 of your declaration?
14      Q. And when you say the materials can resorb,       14       A. Yes. I see at the bottom of 48, such
15   you're talking about the lipids leaving the particle   15   as...abbreviation...'378 patent -- the second line
16   and going back into solution.                          16   from the bottom of page 21.
17          Is that correct?                                17       Q. And if you pull up the '378 patent and go
18      A. The -- pardon me -- the word I used was          18   to paragraph -- oh, sorry, page -- let me start
19   "resort."                                              19   again.
20          So in other words --                            20          If you look at Exhibit 3, the '378 patent,
21      Q. Oh, "resort."                                    21   and you go to Column 61.
22      A. -- each of the -- of these particles are         22          And in paragraph 48 of your report, you're
23   self-assemblies. They're held together with a          23   reciting -- or you're citing to Column 61 from
24   variety of forces.                                     24   lines~4, through to 62/27.
25          And once you apply high energy, the             25          And if you look over the patent, it looks
                                                                                      25 (Pages 94 to 97)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 883 of 910 PageID #: 10463

                                                Page 98                                                    Page 100
 1   like this is where it's describing the sizing of the    1   claims of the '378 patent as an example.
 2   SNALPs.                                                 2          Do any of the claims recite anything about
 3          Is that right?                                   3   sonication, homogenization, or extrusion?
 4                (Witness reading.)                         4               (Witness reading.)
 5       A. Yes. It's -- this is the description of          5       A. Just to make sure I haven't lost the
 6   the methods that I'm referring to in my                 6   thread of the question, can you please restate the
 7   declaration -- in paragraph 48.                         7   question.
 8       Q. And the three techniques -- so sizing --         8       Q. Do any of the claims recite anything about
 9   oh, sorry, let me start again.                          9   lipid particles that have been sonicated,
10          The three techniques -- homogenization,         10   homogenized, or processed through extrusion?
11   sonication, and extrusion -- those are referred to     11       A. No. After reviewing the 30 claims, no.
12   in this section of the '378 as methods to size the     12       Q. Okay. If you could go to Table 4 of the
13   particles to a desired size.                           13   '378 patent that appears in Columns 73 and 74.
14          Is that right?                                  14       A. Okay.
15       A. Yes. In this section of the '378, it's --       15       Q. And under the heading "Finished Product
16   pardon me -- referring to the initial particle         16   Characterization," do you see it lists the size
17   formation -- and then if a change in particle size     17   there?
18   is needed for whatever reason, that one of these       18       A. Yes, I see that header, that column
19   three methods can be used to, for example, break up    19   header -- and the "Size," "Polydispersity,"
20   aggregates or otherwise break down large -- larger     20   "% Encapsulation."
21   parts of the dispersion into smaller -- smaller        21       Q. And the size is referring to the size of
22   particles.                                             22   the particles?
23       Q. And in this section of the patent here,         23       A. Pardon me. It's referring -- it's -- the
24   Column 61, it doesn't refer to any change in lipid     24   metric is nanometers. So that's the average
25   content or lipid molar ratios, right -- it just        25   particle diameter.
                                                Page 99                                                    Page 101
 1   refers to a change in size as a result of these         1       Q. Okay. And if the -- strike that.
 2   processes?                                              2          For the size that's listed here in Table 4
 3       A. At Column 61, lines 4 through 32 are             3   under "Finished Product Characterization," would you
 4   simply talking about the changes in the sizing of       4   expect that if these particles went through any of
 5   the particles.                                          5   those sizing techniques that we just spoke about,
 6       Q. And there's no mention of change in lipid        6   that the size would be the post-sizing measurement?
 7   content or lipid molar ratios?                          7                 MR. SHEH: Objection; form,
 8       A. This section is not describing that --           8          scope.
 9   describing change in molar ratios.                      9       A. I don't know.
10       Q. And in paragraph 48 of your declaration,        10       Q. Would it make sense to refer to it as the
11   you haven't mentioned anywhere in the patent where     11   "finished product" if it was still subject to
12   there is a reference to lipid content changing as a    12   further processing steps?
13   result of homogenization, sonication, or extrusion?    13       A. The term "finished" I take to relate to
14                 MR. SHEH: Objection; form.               14   whatever objectives there are for the experiment.
15       A. Where there is existing data, those are         15          The data that are shown here are size and
16   examples that I reviewed while preparing my remarks.   16   percent encapsulation measurements. And so, they're
17   And it's actually the basis for my opinion that        17   "finished" from that perspective.
18   these techniques can -- that these high-energy         18          I don't know -- I have no idea what other
19   techniques can impact molar ratios of the sample.      19   experiments might have been intended for the SNALP
20       Q. And that's based on your knowledge in the       20   formulations in Table 4.
21   field, not based on anything explicit in the patent.   21       Q. Do you think it would make sense if the
22          Is that right?                                  22   inventors listed a size there for finished product
23       A. That's based on my knowledge of working in      23   and then it was subject to further processing steps
24   the lipid field for a long time.                       24   to change the size?
25       Q. If you look at the -- we could look at the      25       A. I think the use of the -- in this case,

                                                                                    26 (Pages 98 to 101)
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                                               Page 102                                                    Page 104
 1   sizing experiment is -- in one view, can be finished    1       Q. And if you go over the page, still on
 2   in the sense that if the only goal of the experiment    2   paragraph 55, starting on page 26, do you see the
 3   was to find out how different compositions might        3   sentence starting at "But so too..."?
 4   impact drug to lipid ratio and size and percent         4           And I'll just read it into the record:
 5   encapsulation -- that's the goal of the experiment.     5                  But so too are particles
 6          But if there's additional intent to test         6              formed during the manufacturing
 7   them in cells or animals, then an additional            7              process that are subject to
 8   sterilization step would need to be taken.              8              further manufacturing or
 9       Q. And aside from sterilization, just               9              processing steps; those
10   focusing on the sizing techniques you are talking      10              particles are likewise formed
11   about in paragraph 48 of your report, do you think     11              or finished particles, as
12   that the inventors could have listed this size here    12              distinguished from starting
13   under finished product and then have those particles   13              materials that can have a
14   subject to some sort of sizing after that?             14              different lipid composition
15                 MR. SHEH: Objection; asked and           15              "or" ratio.
16          answered.                                       16       A. Yes, I see that statement.
17       A. By taking Table 4 literally, "Finished          17       Q. So for a particle like the one you're
18   Product Characterization," this is reporting the       18   referring to here that is still subject to further
19   size, drug to lipid ratio, polydispersity, and         19   manufacturing or processing steps -- in your opinion
20   percent encapsulation for these formulations.          20   as a person of ordinary skill in the art, would you
21          I have -- I don't know what else --             21   still refer to that as a "final particle"?
22   there's nothing else reported here. So it's not        22       A. I would refer to it --
23   possible to tell whether there were additional steps   23                  MR. SHEH: Object to form.
24   taken with these samples.                              24                  Sorry, Doctor.
25       Q. In paragraph 49 of your report --               25                  THE WITNESS: Sorry.
                                               Page 103                                                    Page 105
 1   actually, sorry, paragraph 50 -- you refer to a         1       A. I would refer to it as a "particle."
 2   potential addition of salts.                            2       Q. Would you refer to it as a "finished
 3               (Witness reading.)                          3   particle," if it's still subject to further
 4      A. Right. The invention may include "adding          4   manufacturing steps?
 5   nonlipid polycations which are useful to affect the     5                  MR. SHEH: Same objection; form.
 6   liquefaction of cells using the present                 6       A. As I was trying to clarify in the
 7   compositions," and that "addition of these salts is     7   discussion about Table 4 in the '378 patent, that
 8   preferably after the particles have been formed."       8   "finished" in my mind means you're at the end of
 9      Q. And those "nonlipid polycations" --               9   your intended experimental agenda.
10   because they're not lipids, they wouldn't count        10          And so, the -- if your intent, as in
11   towards the lipid molar ratio in, for example,         11   Table 4, is to learn about the impact of variations
12   Claim 1 of the '378 patent?                            12   in formulation on all the different metrics that are
13      A. The nonlipid polycations would not impact        13   reported here -- the lipid ratio, size,
14   the lipid -- calculated or measured molar ratio of     14   polydispersity, percent encapsulation -- from that
15   the lipids.                                            15   perspective, if that's the end of the experiment,
16      Q. If you go ahead to paragraph 55, please,         16   those are "finished particles."
17   of your declaration -- just let me know when you get   17          But if the intent is for those same
18   there.                                                 18   particles to then be brought into some other
19      A. Yes, I'm here.                                   19   evaluation, then the particles are...they're not
20      Q. And in paragraph 55, you're referring back       20   finished in that sense. They're just "particles."
21   to your opinions from the IPR proceedings.             21       Q. Okay. We've been looking at the examples
22          Is that right?                                  22   in the '378 or the '069 patent.
23      A. Yes. It's describing that I'm forming            23          All of these examples are with lipid
24   this opinion based on the IPR declaration and          24   particles containing siRNA. Correct?
25   materials that cite my declaration.                    25       A. Can you -- I'm sorry, can you direct me to
                                                                                  27 (Pages 102 to 105)
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                                               Page 106                                                    Page 108
 1   the -- because we're now talking about two different    1   this case.
 2   patents.                                                2          Is that right?
 3      Q. Sorry. Dr. Thompson, do you understand            3       A. Yes.
 4   that the '378 patent and the '069 patent are related    4                 ...LNPs at issue in this
 5   and they share a specification?                         5              case generally are formed
 6      A. Yes.                                              6              by...self-assembly of...lipids
 7      Q. So just because you have the '378 in front        7              and the nucleic acids into
 8   of you just for ease of reference, the examples         8              particles.
 9   starting in Columns 69 through 90 -- and I believe      9       Q. And as far as you know -- we'll just take
10   you looked through these earlier in the '069 patent,   10   this one step at a time.
11   so the text should be the same but you can look        11          Do you know if the '069 patent refers to
12   through again if you need to -- all of those           12   lipid particles as "lipid nanoparticles"?
13   examples relate to lipid particles with siRNA as the   13                 MR. SHEH: Objection; form.
14   nucleic acid. Correct?                                 14       A. I would have to review.
15                MR. SHEH: Objection; scope.               15       Q. Is the term "SNALP" the same thing as a
16               (Witness reading.)                         16   lipid nanoparticle, or is it different?
17      A. So Examples 2 through 11 refer to siRNA.         17                 MR. SHEH: Objection; scope.
18          Example 1 is "Materials and Methods"            18       A. As this field was finding its way and was
19   section. Example 12 is a synthetic description of a    19   receiving contributions from dozens of research
20   synthesis procedure.                                   20   groups that were out in the world, there were many
21      Q. And before we leave off this patent              21   abbreviations that were used.
22   family, today we've spoken about two patents in this   22          "SNALP" was one of those abbreviations.
23   family -- the '378 patent and the '069.                23       Q. And have you referred to "SNALP" as a
24          But you also reviewed other family members      24   brand name before?
25   within that same patent family. Correct?               25       A. I am -- actually, I don't know. I don't
                                               Page 107                                                    Page 109
 1          I can orient you to paragraph 26 of your         1   know if that is a brand name or not.
 2   declaration.                                            2        Q. Based on your understanding of the term
 3       A. Yes.                                             3   "SNALP" in the context of the '069 patent, how does
 4       Q. And so for our discussion about the '378         4   that relate to the term "lipid nanoparticle"?
 5   and the '069 patent, is it fair to say that applies     5                  MR. SHEH: Objection; scope.
 6   to the other patents in the family too?                 6        A. So the abbreviation for "SNALP,"
 7       A. I need you to restate the question,              7   "Stabilized Nucleic Acid Lipid Particle," is
 8   please.                                                 8   describing stabilization.
 9       Q. We pulled out as exhibits two specific           9           The fact that it is a particle containing
10   examples, the '069 patent and the '378.                10   nucleic acid and is a particle that contains lipid
11          Do you see three other family members           11   and an LNP -- at least the formulations that are
12   listed?                                                12   described in the...in the -- in my declaration and
13       A. Yes.                                            13   are summarized in -- we've looked at the ranges
14       Q. And you reviewed those in preparing your        14   earlier where there are four lipid components, so
15   declaration. Right?                                    15   it's lipid and nucleic acid in a lipid nanoparticle.
16       A. Yes.                                            16        Q. You've got a diagram on page 9 of your
17       Q. And if you didn't specifically call out         17   report from a journal article from 2020.
18   those other family members as having some sort of      18           Do you see that?
19   different claims, is it fair to say our discussion     19        A. Yes.
20   today about the '378 and the '069 patent applies       20        Q. That's a computer-generated drawing,
21   equally to those other patents that you've listed      21   correct -- it's not like an image?
22   here?                                                  22        A. The graphical -- or what's labeled here
23       A. I believe so, yes.                              23   "Samaridou 2020, Graphical Abstract" is a -- it's an
24       Q. At paragraph 21 of your declaration, you        24   artist's rendering. It's not -- it's not
25   talk about the structure of the LNPs at issue in       25   experimental data.

                                                                                  28 (Pages 106 to 109)
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                                              Page 110                                                     Page 112
 1       Q. Okay. Yeah, that's what I was getting at.        1   available at the time made it hard to really tell
 2           The artist rendering or graphical               2   what the organization, the true organization was.
 3   abstract, do you know whether the SNALPs of the '069    3       Q. And this diagram on page 9 of your
 4   patent would look like that if you had some sort of     4   declaration, it distinguishes the location of each
 5   experimental data characterizing the structure?         5   of the four lipid components and the nucleic acid.
 6                 MR. SHEH: Objection; incomplete           6   Correct?
 7           hypothetical, scope.                            7                 MR. SHEH: Objection; form.
 8       A. I don't know.                                    8       A. It's an attempt to show that the PEG lipid
 9       Q. Do you know if a person of skill in the          9   or "conjugate lipid," as we've been referring to it
10   art would have had....                                 10   today, the -- unfortunately, the typo, the amino
11           Actually, let me start somewhere else.         11   lipid being the ionizable lipid or as is -- we've
12   Withdrawn.                                             12   been referring to today, the "cationic lipid" --
13           This graphical abstract is from an article     13   structural lipid, the -- as we've been referring to
14   in 2020. Right?                                        14   it today, the "phospholipid" component, and the
15       A. Correct.                                        15   cholesterol component and the nucleic acid, where
16       Q. And it's setting forth what a person of         16   they -- what their likely organization is in the
17   skill in the art would understand about a lipid        17   LNP.
18   nanoparticle in 2020. Correct?                         18       Q. And in 2008, would you have known the
19       A. The graphical abstract drawing here is          19   likely organization of each of the four lipid
20   a -- I guess, a -- I would call it a -- kind of a      20   components of the nucleic acid as depicted here in
21   summation of a number of different kinds of            21   page 9?
22   experiments that -- that -- of very different types,   22       A. That is a cartoon that is attempting to
23   that are kind of summarized in this picture.           23   describe -- produce a rational, chemically sensible
24       Q. Do you think a person of ordinary skill in      24   organization of the components of the mixture.
25   the art would have had this understanding of the       25          And we were operating with the same
                                              Page 111                                                     Page 113
 1   structure of a lipid nanoparticle depicted in page 9    1   expectations in 2008, that there are four components
 2   of your declaration in 2008?                            2   that are organized in forming the structure.
 3                MR. SHEH: Objection; scope.                3          The tools to resolve at a molecular level,
 4       A. I think there are some skilled artisans          4   as is implied in this cartoon, still doesn't exist.
 5   that may have had some sense. But it was a....          5   That's why this is a cartoon.
 6          It was a struggle at this time to really         6       Q. In 2008 would you have been able to
 7   understand what was being produced, because there --    7   determine where in this structure each of the four
 8   the methods were only available -- a few labs that      8   lipids would be located?
 9   could give -- render this kind of pictorial image.      9                  MR. SHEH: Objection; scope.
10       Q. And when you say "render this type of           10       A. Actually, I think I answered that in the
11   pictorial image," are you talking about based on       11   last question: We can't tell now. We couldn't tell
12   experimental data or just generating this computer     12   in 2008.
13   diagram?                                               13                  MR. McLENNAN: Okay. So we can
14       A. I'm referring to the actual experimental        14          switch gears to the '651 patent.
15   data that underlies this summary or this               15                  I think we're up to Exhibit 4.
16   easier-to-understand depiction of what is produced     16              (Whereupon, Thompson Exhibit 4 was
17   in a -- when generating an LNP.                        17          marked for identification.)
18       Q. Do you think you would have had this            18                  MR. McLENNAN: Exhibit 4 is U.S.
19   understanding of the structure of an LNP in 2008?      19          Patent No. 9,504,651.
20       A. In 2008 I was aware of images of a core of      20   BY MR. McLENNAN:
21   what we now call "lipid nanoparticles," and that       21       Q. Is it okay if we refer to this one as the
22   that core was -- in the images was, I'll call it,      22   '651 patent?
23   "nonuniform."                                          23       A. Yes.
24          In other words, the core was very               24       Q. If you go to the claims of the '651
25   textured. But the resolution at the time --            25   patent -- it starts in Column 19.
                                                                                  29 (Pages 110 to 113)
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                                               Page 114                                                    Page 116
 1         Let me know when you're there.                    1              encapsulated in the lipid
 2      A. Yes, I'm there.                                   2              vesicles" also limit the
 3      Q. Does Claim 1 require a formulation that           3              invention of the '651 patent
 4   was made by any specific method?                        4              based on where the mRNA is
 5                 MR. SHEH: Objection; scope.               5              located, i.e., the mRNA must be
 6      A. Claim 1 describes:                                6              contained inside the vesicle.
 7                 A lipid vesicle                           7      Q. So you're just reading from paragraph 92.
 8             formulation comprising:                       8          Is that right?
 9                 (a) a plurality of lipid                  9      A. Yeah.
10             vesicles, wherein each lipid                 10      Q. Is it your opinion that Claim 1 requires
11             vesicle comprises:                           11   any sort of level of encapsulation efficiency?
12                 a cationic lipid;                        12                 MR. SHEH: Object to form.
13                 an amphipathic lipid; and                13      A. As this section of my declaration is
14                 a                                        14   describing, that encapsulation efficiency is an
15             polyethyleneglycol...lipid;                  15   experimental measure, I describe the measure in the
16             and,                                         16   bottom of paragraph 91 where it's the ratio of the
17                 (b) messenger RNA (mRNA),                17   fluorescence intensity after you destroy the
18             wherein at least 70% of the                  18   formulation with detergent, minus the intensity
19             mRNA in the formulation is                   19   before you destroyed the structure, divided by the
20             fully encapsulated in the lipid              20   after-lipid vesicles are broken.
21             vesicles.                                    21          So that -- that's what we calculate in the
22         So it's....                                      22   lab when we've made a formulation. And the
23         I read that to mean that the method of           23   interpretation, the -- what it's speaking to is how
24   forming the lipid vesicles is not yet specified.       24   accessible the dye is to the nucleic acid before you
25      Q. Okay. So the lipid vesicle formulation           25   burst the vesicles.
                                               Page 115                                                    Page 117
 1   could be made by any method, as long as it meets the    1          So if you have exposed nucleic acid, it
 2   criteria that you just read out from the text of        2   will contribute to that.
 3   Claim 1?                                                3          At the bottom of page 41, three lines from
 4                 MR. SHEH: Objection; scope.               4   the bottom:
 5       A. It is speaking to lipid vesicle                  5                  Encapsulation efficiency
 6   formulation that's producing a plurality of lipid       6              is equal to....
 7   vesicles with these components and having that at       7          Within that parenthetical statement, it's
 8   least 70 percent of the mRNA in the formulation is      8   the "I" without -- the intensity without the
 9   fully encapsulated in the lipid vesicles.               9   subscript, that's what you're measuring before you
10       Q. And in your declaration, you opine that a       10   destroy the structure. That's giving you a readout
11   POSA would understand the phrase you just read out     11   of the amount of exposed nucleic acid -- i.e.,
12   as referring to "encapsulation efficiency."            12   nonencapsulated.
13          Is that right?                                  13       Q. And the experimental method you were just
14       A. Yeah -- actually, there are a number of         14   referring to about fluorescent dyes, those aren't
15   paragraphs --                                          15   described in the '651 patent. Correct?
16       Q. Yeah, let's go to....                           16          Thankfully, this is a much shorter patent.
17       A. -- I was referring to that.                     17                  MR. SHEH: There are good things
18          For example, paragraph 92, I speak -- I         18          in life.
19   state:                                                 19                (Witness reading.)
20                 A "Person Of Skill in the                20       A. So the methods that -- actually, please
21              Art" would further understand               21   repeat the question.
22              that the full claim limitations             22       Q. The experimental methods you have referred
23              "wherein at least 70%, at least             23   to about the use of fluorescent dyes, those are not
24              80%, about 90% of the mRNA in               24   described in the '651 patent. Correct?
25              the formulation is fully                    25       A. This patent does not describe the
                                                                                  30 (Pages 114 to 117)
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                                               Page 118                                                   Page 120
 1   fluorescence method. It's using a filtration method     1   the amount of pDNA that's recovered, the amount of
 2   as a way to assess encapsulation efficiency -- so a     2   lipid that's recovered, are being reported.
 3   different technique, but the same goal of               3          And how those numbers are generated, I
 4   determining encapsulation efficiency.                   4   would need to look at more carefully.
 5       Q. And where is the filtration technique            5       Q. Okay. There's no specific analytical
 6   referred to?                                            6   technique that you can determine at this stage.
 7       A. The clearest example is in Table I, where        7   Right?
 8   the -- at the bottom of the table, there's a double     8                  MR. SHEH: Object to form.
 9   asterisk:                                               9       A. I have ideas how that might be -- how that
10                  Assume that 75% of pDNA is              10   might be determined. But I don't want to speculate.
11              encapsulated and all free DNA               11       Q. In paragraph 91 of your report where you
12              is removed. Estimate 5%                     12   refer to the fluorescent dye method, would that
13              loss...on anion exchange                    13   include the RiboGreen assay?
14              cartridge.                                  14       A. Yes, that's the most common method for
15          So it appears to me that that's a....           15   detecting RNA that's not fully encapsulated.
16          I refer to it as "filtration," but it's         16       Q. Now, you mentioned that RiboGreen would be
17   a -- essentially, a polishing step to remove the       17   the most common method for detecting RNA.
18   nucleic acid that's outside the particle -- that's     18          Would it also be capable of quantifying
19   not encapsulated in the particle -- not fully          19   percentage encapsulation of plasmid DNA?
20   encapsulated.                                          20                  MR. SHEH: Objection; scope.
21       Q. With the part you just pointed to, the          21       A. I would need to refamiliarize myself with
22   double asterisk in Table I, it says:                   22   the crosstalk that may or may not exist between RNA
23                  Assume that 75% of the                  23   versus DNA detection by that probe.
24              "plasmid DNA" is                            24       Q. Do different fluorescent probes exist for
25              encapsulated....                            25   different types of nucleic acids?
                                               Page 119                                                   Page 121
 1          So is -- are all of those calculations           1                  MR. SHEH: Objection; scope.
 2   based on an assumption that it started with             2      A. There are many different probes that are
 3   75 percent encapsulated plasmid DNA?                    3   used that are -- that have greater or lesser
 4      A. I would need to study this more fully.            4   specificity for the anolytes you're focused on.
 5          I've -- you know, in -- I'm trying to            5      Q. And apart from fluorescent dyes, are there
 6   respond to your questions fully and honestly.           6   other methods of determining percentage
 7          This is -- this specific question I had          7   encapsulation?
 8   not taken up before. This is my best effort to          8                  MR. SHEH: Objection; scope.
 9   answer your question.                                   9      A. There are other methods. Most are heavier
10          So, no, I don't know what the basis of          10   from an experimental burden perspective, and one
11   that -- where that number comes from, and it's         11   uses/selects the assay that allows for informed
12   something I would need to read more fully.             12   decision-making on the -- either at speed, if
13      Q. So the "fluorescent dye" you refer to in         13   you're -- if it's a business. Or if you're trying
14   paragraph 91 of your declaration, that particular      14   to publish a paper, you'll have some sense of what
15   assay for determining percentage encapsulation is      15   kind of accuracy will be needed.
16   not mentioned in the '651 patent?                      16          There's some that I'm aware of that use
17      A. As far as I can tell from revisiting '651,       17   radioactive phosphorus as a detection method. So --
18   there's no description of the -- the                   18   but that has a whole -- you have to be set up for
19   fluorescence-based assay.                              19   that. So you choose the right tool for the job.
20      Q. And the "filtration" steps you refer to at       20      Q. Is another way to measure a percentage
21   Table I, does that actually describe the analytical    21   encapsulation measuring the degree of enzymatic
22   technique used to quantify percentage encapsulation?   22   degradation of nucleic acids?
23                  MR. SHEH: Objection; scope.             23                  MR. SHEH: Objection; scope.
24      A. To my best understanding in looking over         24      A. As I say, there are -- there are many
25   this document in this moment, the descriptions of      25   different methods that can be used.
                                                                                  31 (Pages 118 to 121)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 889 of 910 PageID #: 10469

                                              Page 122                                                    Page 124
 1       Q. Is measuring enzymatic degradation one of       1   is the -- is 1(b):
 2   those methods?                                         2                  ...mRNA, wherein at least
 3                 MR. SHEH: Objection; scope.              3              70% of the mRNA in the
 4       A. There have been reports of using nuclease       4              formulation is fully
 5   sensitivity -- or nuclease exposure as a measure of    5              encapsulated in the lipid
 6   encapsulation.                                         6              vesicles.
 7       Q. And are you familiar with that method           7          So that's a statement of what is measured
 8   yourself?                                              8   and what the interpretation of that number means --
 9       A. I've not used that method myself.               9   70 percent inside the lipid vesicle, fully
10       Q. But you've seen it described in the            10   encapsulated in the lipid vesicle; 30 percent in not
11   literature?                                           11   fully encapsulated.
12       A. Yes.                                           12                  VIDEOGRAPHER: Counsel, can we
13                 MR. SHEH: Mark, is now a good           13          go off the record for one moment?
14          time for a break?                              14                  MR. McLENNAN: Sure.
15                 MR. McLENNAN: Sure.                     15                  VIDEOGRAPHER: The time is
16                 VIDEOGRAPHER: The time is               16          2:38 p.m. We're off the record.
17          2:17 p.m. This ends Unit 4.                    17                  (Whereupon, a recess was taken.)
18                 We're off the record.                   18                  VIDEOGRAPHER: The time is
19                 (Whereupon, a recess was taken.)        19          2:39 p.m. We're on the record.
20                 VIDEOGRAPHER: The time is               20   BY MR. McLENNAN:
21          2:35~p.m. This begins Unit No. 5.              21       Q. If you go to your declaration at -- well,
22                 We're on the record.                    22   actually, sorry -- sorry, just to follow up that
23   BY MR. McLENNAN:                                      23   answer.
24       Q. So before we broke, we were talking about      24          So Claim 1 of the '651 patent, there's no
25   methods of measuring percentage encapsulation, and    25   specific method you have to use to determine
                                              Page 123                                                    Page 125
 1   we covered the fluorescent dyes and enzymatic          1   percentage encapsulation, correct -- you just have
 2   degradation.                                           2   to meet the percentage claimed?
 3           Are there any other methods that you're        3                 MR. SHEH: Objection; scope.
 4   aware of?                                              4       A. It's a statement of what the -- what the
 5                  MR. SHEH: Objection; scope,             5   '651 is describing as fully encapsulated in the
 6           beyond the scope.                              6   lipid vesicles, at least 70 percent. Those are the
 7      A. You left out a couple of others that I           7   key metrics.
 8   mentioned. And they all have their own strengths       8          The other 30 percent of the mRNA would be
 9   and weaknesses.                                        9   understood to not be fully encapsulated.
10           So it's the fluorescence method that is       10       Q. And so, the analytical technique of
11   the -- kind of the gold standard, in my view.         11   determining those metrics, as you refer to them, is
12      Q. Okay. And the other one, sorry, was that        12   not set out in the claim. Correct?
13   the radioactive phosphorus -- was that one of the     13                 MR. SHEH: Same objection,
14   other methods you mentioned?                          14          beyond the scope.
15      A. Radioactive phosphorus, the method              15       A. In Claim 1, it's not dictating a
16   that's -- that we reviewed here of ion exchange --    16   particular method.
17   just different techniques.                            17       Q. In paragraphs 81 and 82 of your report,
18           The one that is most valuable, in my view,    18   you refer to this concept of "encapsulation
19   and least prone to artifacts is the fluorescence      19   efficiency."
20   method.                                               20              (Witness reading.)
21      Q. Claim 1 of the '651 patent doesn't require      21       A. Your question again, please.
22   someone to measure percentage encapsulation by any    22       Q. You're referring to the concept of
23   particular method. Correct?                           23   "encapsulation efficiency" in these paragraphs of
24                  MR. SHEH: Objection; scope.            24   your report. Correct?
25      A. So the key phrase of Claim 1, in my view,       25       A. In paragraphs -- in multiple paragraphs.
                                                                                 32 (Pages 122 to 125)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 890 of 910 PageID #: 10470

                                              Page 126                                                    Page 128
 1          But, specifically, 81 and 82 are referring      1   the notion is that in -- when '651 is executed, that
 2   to the -- line 3 of 81:                                2   process, you are -- what will be observed is at
 3                  ...inclusion of                         3   least 70 percent mRNA in the formulation being fully
 4              disclosures of specific                     4   encapsulated.
 5              percentages of encapsulation                5       Q. And so, what process are you referring to?
 6              efficiency that are tied to                 6               (Witness reading.)
 7              specific claimed percentages of             7       A. So there....
 8              fully encapsulated mRNA, and                8          So there are processes described in
 9              the figures in the                          9   Figures 1 through 4, different ways to make -- to
10              specification, the POSA would              10   execute this -- to achieve this standard.
11              understand the numerical values            11       Q. But the claims of the '651 patent don't
12              in...percentage terms to refer             12   require any particular method to be used. Correct?
13              to encapsulation efficiency                13                 MR. SHEH: Objection to scope.
14              percentages.                               14       A. I've actually answered that earlier
15       Q. Okay. And you were just reading from           15   question, that the...the -- Claim 1 is spelling out
16   paragraph 81. Correct?                                16   the lipids that are present, the mRNA, and the -- at
17       A. Correct.                                       17   least 70 percent of the mRNA in the formulation
18       Q. So do the claims of the '651 patent recite     18   being fully encapsulated.
19   a certain level of encapsulation efficiency?          19       Q. Sorry. I'm asking about this concept of
20       A. We reviewed a moment ago in the '651           20   "encapsulation efficiency" that you keep referring
21   Claim 1(b), wherein at least 70 percent of the mRNA   21   to.
22   in the formulation is fully encapsulated in the       22          If you use a process that has less than
23   lipid vesicles.                                       23   70 percent encapsulation efficiency, you eventually
24          That's -- that's -- 70 percent is the          24   remove the free RNA from the formulation that's
25   encapsulation efficiency.                             25   claimed, would that meet Claim 1?
                                              Page 127                                                    Page 129
 1          It's 70 percent fully encapsulated.             1                 MR. SHEH: Objection; beyond the
 2   That's what that term means.                           2          scope of the declaration, asked and
 3       Q. And is that synonymous, percentage              3          answered.
 4   encapsulation within encapsulation efficiency?         4      A. There....
 5                 MR. SHEH: Objection; asked and           5          I understand the question, and that's
 6          answered.                                       6   basically mopping up a bad process. That's not --
 7       A. That's what I'm trying to explain in my         7   that's not of value.
 8   declaration in this section.                           8      Q. Only a bad process would include a step to
 9       Q. So if you think about Claim 1 of the '651       9   remove free RNA?
10   patent -- you've got it in front of you. Right?       10                 MR. SHEH: Objection to scope.
11       A. Um-hum.                                        11      A. The....
12       Q. If you start with a composition that was       12               (Witness reading.)
13   made by a process that has relatively poor            13      A. So in paragraph 95, I'm speaking to the
14   encapsulation efficiency, say it led to 50 percent    14   consequences of not having full encapsulation:
15   of the starting content of mRNA being                 15                 The mRNA's location can
16   encapsulated -- but then a filtration process was     16              have substantial practical
17   applied to remove free mRNA, leaving 99 percent of    17              effect, as when nucleic acid is
18   the mRNA in the formulation fully encapsulated --     18              not contained inside a lipid
19   would that still meet Claim 1, despite originally     19              vesicle, it can result in toxic
20   being made by a process with poorer encapsulation     20              side effects,
21   efficiency?                                           21              degradation...rapid clearance.
22                 MR. SHEH: Objection; beyond the         22              See Wheeler 1999 at "page" 271.
23          scope of the declaration.                      23              ("In the case of nonviral
24       A. It's a hypothetical. And the....               24              systems such as plasmid
25          I think my description here stands, that       25              DNA-cationic lipid complexes
                                                                                 33 (Pages 126 to 129)
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                                              Page 130                                                     Page 132
 1             (lipoplexes) the large size and               1   that is fully encapsulated. Correct?
 2             positively charged character of               2                  MR. SHEH: Objection; beyond the
 3             these aggregates also result in               3            scope.
 4             rapid clearance, and the                      4       A. From my perspective, you've -- whatever is
 5             highest expression levels are                 5   unencapsulated is -- as I describe in paragraph 95,
 6             again observed in "the"                       6   may trigger undesired biological events.
 7             first-pass organs,                            7            From a process perspective, you're wasting
 8             particularly...lung. Plasmid                  8   drug. It's simply -- it's a silly argument.
 9             DNA-cationic lipid complexes                  9       Q. Well, I'm not so interested in whether
10             can also result in toxic                     10   it's silly. I'm just interested in a yes or no
11             side-effects both in vitro and               11   answer, or I don't know.
12             in vivo.")                                   12       A. I don't know, then.
13       Q. So you just read out the entirety of            13       Q. You don't know? Okay.
14   paragraph 95 from your declaration?                    14            Before looking at the '651 patent in the
15       A. Not the entirety --                             15   context of this case, did you have an understanding
16       Q. Okay.                                           16   of what "partially encapsulated nucleic acids"
17       A. -- actually.                                    17   referred to?
18       Q. Half of it.                                     18       A. That's what I am representing on page 7 of
19         So going back to the hypothetical question       19   my declaration, this cartoon showing different kinds
20   I posed, you said you understood the question and      20   of assembly states.
21   that was essentially mopping up a bad process.         21       Q. And so to answer my question, you were or
22         But I'm really interested to know whether        22   were not familiar with these before starting work on
23   it would meet Claim 1's requirement that at least      23   this case?
24   70 percent of the mRNA in the formulation is fully     24       A. I was aware before starting on this case.
25   encapsulated.                                          25       Q. So how would you describe the meaning of
                                              Page 131                                                     Page 133
 1                 MR. SHEH: Objection; beyond the           1   "partially encapsulated nucleic acids"?
 2          scope, asked and answered.                       2                  MR. SHEH: Objection.
 3       A. I don't know what I haven't answered.            3      A. "Partially" means "not fully," in my view.
 4          And if there is something that is not            4      Q. And --
 5   clear, then I'm going to need to understand and         5      A. "Fully encapsulated" is very clear: The
 6   think about it more.                                    6   nucleic acid is within a lipid vesicle.
 7       Q. Okay. So the limitation that you opined          7          If it's not in that state, it can be any
 8   about is in Claim 1, wherein at least 70 percent of     8   number of different states.
 9   the mRNA in the formulation is fully encapsulated in    9      Q. And so, I think you defined what "fully
10   the lipid vesicles.                                    10   encapsulated" is.
11          Do you see that?                                11          But what does "partially encapsulated"
12       A. Yes.                                            12   mean?
13       Q. So that's distinguishing between two            13      A. I've....
14   proportions of mRNA -- this mRNA in the formulation    14          It means "not fully encapsulated."
15   is fully encapsulated, and mRNA in the formulation     15          And this diagram is attempting to point to
16   that is not fully encapsulated in the lipid            16   different possible states of nonencapsulation or
17   vesicles.                                              17   partial encapsulation.
18          Is that right?                                  18          The measure is accessibility of the
19       A. 70 percent is fully encapsulated in the         19   nucleic acid to a small-molecule probe dye. That's
20   lipid vesicle. 30 percent is not fully                 20   the most reliable method.
21   encapsulated.                                          21          And if the dye can access, it will appear
22       Q. And so if you start out with less than          22   as nonencapsulated or partially encapsulated.
23   70 percent but you remove the free mRNA from the       23      Q. So the dye would pick up on the parts of
24   formulation, you'd agree with me that that would       24   the nucleic acid that are not encapsulated.
25   increase the percentage of mRNA in the formulation     25          Is that right?
                                                                                  34 (Pages 130 to 133)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 892 of 910 PageID #: 10472

                                               Page 134                                                    Page 136
 1       A. The dye would pick up on the parts of            1   cartoon, is trying to depict.
 2   the -- the nucleic acid that are not fully              2      Q. Have you heard of the concept of
 3   encapsulated.                                           3   "surface-adhered nucleic acid"?
 4       Q. Would parts of the nucleic acid be --            4      A. Repeat the question.
 5   sorry, let me strike that.                              5      Q. Have you heard of the concept of
 6          Would parts of the nucleic acid that is          6   "surface-adhered nucleic acid"?
 7   partially encapsulated be inaccessible to the dye?      7      A. Yes.
 8       A. These dye measures are population                8      Q. Is that concept depicted in the figure on
 9   measurements.                                           9   page 7?
10          It's...you're assessing the global status       10      A. Some of these states involve
11   of the nucleic acid and the -- the minimal             11   surface-adhered, if the drawing is rendering some
12   experimental interpretation is that the signal, the    12   surface-adhered states.
13   fluorescent signal, is arising from nucleic acid       13      Q. Would a surface-adhered nucleic acid be
14   that is exposed, that is not fully encapsulated        14   considered "partially encapsulated nucleic acid"?
15   within that collection of -- that constellation of     15      A. No.
16   particles.                                             16      Q. Would it be considered "unencapsulated
17       Q. And the diagram on page 7 of your               17   nucleic acid"?
18   declaration that you've pointed to, can you show me    18      A. I wouldn't consider it unencapsulated,
19   where in this diagram "partially encapsulated          19   simply physisorbed to the surface.
20   nucleic acid" is depicted?                             20      Q. And with the diagram on page 7, all of the
21       A. So, actually, each of the cartoons here         21   nucleic acids are depicted as outside of the
22   are rendering or attempt to describe different kinds   22   liposomes.
23   of partial encapsulation.                              23          Have you ever heard of a concept where the
24          In each case, whether it's the liposome         24   nucleic acid is poking through the liposome shell so
25   DNA aggregate or this spaghetti and meatball part of   25   part of it is within the liposome, part of it is
                                               Page 135                                                    Page 137
 1   the cartoon or the spaghetti part of the cartoon,       1   outside?
 2   the nucleic acid has a water-accessible,                2                 MR. SHEH: Objection; beyond the
 3   water-exposed channel that the dye can diffuse          3          scope.
 4   into -- so permeate between the liposomes and the       4       A. That -- I'm not familiar with a literature
 5   liposome DNA aggregate, the end of the spaghetti and    5   that describes that state as a -- as an endpoint or
 6   the spaghetti part of the cartoon, between the          6   a stable state of the formulation.
 7   different spaghetti and meatball portions of the        7       Q. But you've heard of it as a concept that
 8   assembly. They're --as long as the nucleic acid is      8   it could exist, maybe just not as a defined
 9   exposed, it will render a fluoroscent signal with       9   endpoint?
10   the fluoroscent dye.                                   10       A. There are plenty of ideas. Only some of
11       Q. In this spaghetti and meatball example,         11   them are correct ideas.
12   are the meatballs on their own -- are they             12       Q. Have you written about that concept
13   considered liposomes?                                  13   before?
14                 MR. SHEH: Objection to form.             14       A. I've authored 170 papers. I can't say
15       A. They began as liposomes.                        15   right now whether I've written about that before. I
16          All right. So that's the whole -- you           16   would have to look.
17   notice the directionality of the arrows.               17       Q. Would you consider a nucleic acid in that
18          So the sample was initially produced by         18   state as "partially encapsulated"?
19   making a liposome population, mixing it with the       19                 MR. SHEH: Object to form.
20   nucleic acid.                                          20       A. I think I already addressed this question
21          Once that encounter occurs, these are           21   in the sense that you're making -- your assay
22   self-assembled structures, and there's a mixture of    22   reports on a population, and there may be six-legged
23   states that can result.                                23   individuals in that population.
24          That's what this lower part of the              24          It's going to be a pretty rare occurrence,
25   cartoon, the spaghetti and meatballs part of the       25   but -- realize that's a silly metaphor. But what
                                                                                  35 (Pages 134 to 137)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 893 of 910 PageID #: 10473

                                               Page 138                                                    Page 140
 1   I'm getting at is that your measure is of a             1   encapsulated nucleic acids in page 7, would the
 2   population, and what you're recording is the            2   enzymatic degradation analytical method we talked
 3   fluorescence that switches on when it binds to          3   about earlier -- would that detect the nucleic acids
 4   exposed nucleic acid.                                   4   that are partially encapsulated here?
 5           That's the limit of the measure.                5                 MR. SHEH: Objection; beyond the
 6           Where that is coming from, the careful          6          scope, incomplete hypothetical.
 7   scientist says it is not fully encapsulated within a    7       A. I don't know.
 8   lipid vesicle. That's the limit of prudent              8       Q. Throughout the '651 patent with all the
 9   interpretation of the information.                      9   reported degrees of percentage encapsulation -- oh,
10       Q. And when you refer to a "population," you       10   sorry, let me just start again.
11   mean there's many nucleic acids in a formulation and   11          Throughout the '651 patent, there are
12   that's the population you're referring to. Right?      12   reported values of percentage encapsulation.
13       A. It means that there are many particles and      13   Correct?
14   many nucleic acids --                                  14               (Witness reading.)
15       Q. And --                                          15       A. So the figures are reporting -- Figure 5,
16       A. -- within those particles.                      16   6, 7, and 8 are referring to DNA encapsulation.
17       Q. And you're just looking at the overall          17          Other two small molecule experiments
18   fluorescence to determine the percentage               18   reported. Figure 10 is safranine.
19   encapsulation?                                         19                 COURT REPORTER: Is what?
20       A. You're measuring -- it -- the fluorescence      20                 THE WITNESS: S-a-f-r-a-n-i-n-e.
21   measurement is looking at the report from that         21       A. And the description on -- in Figure 11 is
22   entire population, correct.                            22   for one of the standards, long-standing standards in
23       Q. And so for the state where the nucleic          23   the field, calcein, c-a-l-c-e-i-n. That's an easily
24   acid is partially poking outside the liposome and      24   measured fluoroscent dye.
25   part of it is inside the liposome, part of the         25       Q. So for Figure 10, are you saying this
                                               Page 139                                                    Page 141
 1   nucleic acid will be accessible to the fluoroscent      1   shows there are measuring encapsulation efficiency
 2   dye. Correct?                                           2   with the safranine dye?
 3       A. In that six-legged individual example,           3                 COURT REPORTER: Excuse me.
 4   then the part that is exposed will be                   4          Could you repeat that.
 5   dye-accessible.                                         5      Q. For Figure 10 of the '651 patent, you
 6          The other part that is not the part that         6   pointed out a dye, safranine?
 7   somehow is entrapped, retained inside the membrane      7      A. Yes. Figure 10 is reporting a dye to --
 8   vesicle, will be dye -- should be dye-inaccessible.     8   on the y-axis, a dye-to-lipid ratio under different
 9          The details of that interface will be            9   formulation conditions, different buffer
10   important to -- or where I think it's a -- an absurd   10   concentrations, different pH, different buffer type,
11   model.                                                 11   and a similar experiment described in Figure 11.
12       Q. And is there another way to describe that       12          I think the take-home from this set of
13   scenario, other than a nucleic acid poking through     13   experiments is that it shows that the method will be
14   the shell?                                             14   successful for small molecules like calcein or
15       A. I don't know. I'd have to think about it.       15   safranine, and also for large molecules like plasmid
16          Certainly, it's not the way I think of          16   DNA, that it's....
17   these formulations where they are driven by            17          I'm struggling to find the word I want.
18   electrostatic and hydrophobic -- minimizing those      18   But it's capable of encapsulating high molecular
19   hydrophobic interactions with polar solvent.           19   weight and low molecular weight cargo.
20       Q. Going back to the example of the partially      20      Q. The two fluorescent dyes you just
21   encapsulated nucleic acid in page 7 of your            21   mentioned, safranine and calcein, could they be used
22   declaration, if you were using the enzymatic           22   to detect nucleic acids?
23   degradation analytical technique, would you be able    23      A. Calcein is a calcium-sensitive dye.
24   to -- withdrawn.                                       24          Safranine, I don't know.
25          Looking at the depiction of partially           25      Q. Okay. So if you look back at Example --

                                                                                  36 (Pages 138 to 141)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 894 of 910 PageID #: 10474

                                              Page 142                                                    Page 144
 1   Examples 1 and 2, Examples 1 and 2 relate to          1   where the '651 patent describes some of these
 2   encapsulation of plasmid DNA. Correct?                2   locations in lipid vesicle systems -- one, which the
 3       A. At the '651?                                   3   "vesicle of lipids coating an interior comprising a
 4       Q. '651.                                          4   nucleic acid such as a plasmid with a reduced
 5       A. Yeah.                                          5   aqueous interior."
 6       Q. Columns 14 and 15.                             6          That's the language that's in the Column 5
 7               (Witness reading.)                        7   section that you just pointed us to.
 8       A. Yes. Examples 1 and 2 are pDNA                 8                 ...liposomes, wherein an
 9   experiments.                                          9             aqueous volume is encapsulated
10       Q. Okay. And those two experiments, do they      10             by an amphipathic lipid
11   describe whether the percentage encapsulation is     11             bilayer; or wherein the lipids
12   percentage fully encapsulated or percentage          12             coat an interior comprising a
13   partially encapsulated?                              13             large molecular component, such
14                MR. SHEH: Objection; beyond the         14             as a plasmid, with a reduced
15          scope.                                        15             aqueous "material" [sic]; "and"
16       A. As we discussed earlier, this double          16             lipid aggregates or micelles,
17   asterisk refers to encapsulation with a -- I would   17             wherein the encapsulated
18   need to read the -- refresh my memory to read the    18             component is contained within a
19   full document in detail to answer your question      19             relatively
20   precisely.                                           20             disordered...mixture.
21       Q. But it doesn't say in those examples -- it    21          So these different locations were well
22   doesn't differentiate between full and partial       22   understood to the POSA at the time of the invention.
23   encapsulation, does it?                              23          And then I give that -- the spaghetti and
24                MR. SHEH: Objection; beyond the         24   meatballs example again, and that the POSA would
25          scope.                                        25   understand -- this is now paragraph 94:
                                              Page 143                                                    Page 145
 1       A. It is -- Table I is reporting pDNA             1                  The POSA would understand
 2   recovery. That's at this point what we have to go     2              that this reference to "full"
 3   on.                                                   3              and "partial" encapsulation was
 4       Q. If you look at Column 5 of the '651            4              in reference to the different
 5   patent, there's a definition column.                  5              potential locations of the
 6          Just let me know when you get there.           6              encapsulated nucleic
 7                   (Pause.)                              7              acid..."within a relatively
 8       Q. And do you see the definition on line 38       8              disordered mixture" or in the
 9   of Column 5 for the term "lipid encapsulated"?        9              "interior."
10       A. Yes.                                          10       Q. So if we start at paragraph 93 of your
11       Q. And it refers to:                             11   declaration, you've taken the definition from the
12                 ...a lipid formulation                 12   '651 patent of "lipid vesicle" appearing at
13             which provides a compound with             13   Column 5, lines 30 to 37, and you've broken it up
14             full encapsulation, partial                14   into three parts.
15             encapsulation, or both.                    15          And in your declaration, you've assigned
16               (Witness reading.)                       16   it numbers 1, 2, and 3 for the different parts.
17       Q. Are you looking through your report,          17          Is that right?
18   Dr. Thompson?                                        18       A. The '651 patent describes some of these
19       A. I'm looking through my document, because      19   locations, and then it's trying to describe what
20   I've opined on this. If you have the paragraph       20   some of those possible locations could be.
21   number --                                            21       Q. And then you've broken up and numbered
22       Q. I'll take a look.                             22   those three locations appearing in that definition?
23       A. -- I'd be happy to listen.                    23                  MR. SHEH: Objection; asked and
24       Q. You can look at paragraph 94.                 24          answered.
25       A. It begins with, actually, paragraph 93,       25       A. 1 and 2 are essentially, I think,
                                                                                37 (Pages 142 to 145)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 895 of 910 PageID #: 10475

                                               Page 146                                                    Page 148
 1   describing the same concept, that both 1 and 2          1   listed in that paragraph does the spaghetti and
 2   are -- have the nucleic acid -- the plasmid, in this    2   meatballs arrangement correlate to?
 3   case -- within a membrane-bounded vesicle               3       A. It...the...Case 1 and Case 2 that are
 4   compartment.                                            4   outlined in 93 are defining the "fully
 5           Whether you call it an "SPLP" or you call       5   encapsulated."
 6   it a "liposome," they're talking about the same         6          3, "wherein the encapsulated component is
 7   thing: The nucleic acid is inside a membrane bound      7   contained within a relatively disordered mixture,"
 8   or membrane shell.                                      8   that is referring to this more disordered or
 9           And 3, the lipid aggregates or micelles         9   spaghetti and meatballs-type configuration.
10   are what are describing -- attempting to describe      10          That's the...the conclusion that you would
11   states that would be more similar to the spaghetti     11   make from a dye-exclusion experiment.
12   and meatballs cartoon.                                 12       Q. So are you saying that only within the
13       Q. So the -- you've given it number 3 in           13   third location are there partially encapsulated
14   paragraph 93.                                          14   nucleic acids?
15       A. Um-hum.                                         15                 MR. SHEH: Objection;
16       Q. That is the spaghetti and meatballs             16          mischaracterizes.
17   example that we discussed earlier?                     17       A. I'm saying that when you do a
18       A. If we continue here, these different            18   dye-exclusion experiment, what you are reporting --
19   locations in nucleic acid and the various lipid        19   what you're detecting are the nucleic acids of the
20   systems were well understood. Spaghetti and            20   type that are described here in paragraph 93, No. 1
21   meatballs comes up again.                              21   and No. 2, where the nucleic acids were inside, not
22       Q. Sorry, just -- on that, you mentioned           22   dye-accessible, until you added detergent and
23   spaghetti and meatballs --                             23   destroyed the sample and destroyed the vesicle
24                 MR. SHEH: Sorry. Can you let             24   structure so that now the nucleic acids are
25           him finish your answer?                        25   available.
                                               Page 147                                                    Page 149
 1      Q. Sure. Do you want to finish,                      1           What type or what state the unencapsulated
 2   Dr. Thompson?                                           2   material is in is -- is actually not -- is -- is --
 3      A. Yeah. And then we go on in paragraph 94:          3   the spaghetti and meatballs is -- is one of other --
 4                ...understand that this                    4   is just one of the possibilities.
 5            "means" "full" and "partial"                   5       Q. Okay. Can the concept of "partial
 6            encapsulation was in reference                 6   encapsulation" exist in the lipid vesicle systems
 7            to the different potential                     7   that you've numbered 1 and 2?
 8            locations of the encapsulated                  8                 MR. SHEH: Objection; beyond the
 9            nucleic acid..."within a                       9           scope.
10            relatively disordered lipid                   10       A. I think my statement here is clear, in
11            mixture"....                                  11   which, A, "vesicle of lipids coating an interior
12         That's one category.                             12   comprising a nucleic acid such as a plasmid with a
13                ...or in the "interior."                  13   reduced aqueous interior."
14         That's the fully encapsulated.                   14           That is a bounded -- I understand that to
15      Q. And so in paragraph 93, you refer to the         15   mean a fully encapsulated plasmid.
16   "spaghetti and meatballs" arrangement.                 16           And Item 2, liposomes, "wherein" --
17         Which of the three types -- oh, sorry,           17   "wherein an aqueous volume is encapsulated by an
18   which of the three locations in the lipid vesicle      18   amphipathic lipid bilayer, or wherein the lipids
19   systems is that referring to? Is that just No. 3?      19   coat an interior comprising a large molecular
20      A. Repeat the question. Sorry.                      20   component, such as a plasmid, with a reduced aqueous
21      Q. So you mentioned "meatballs and spaghetti"       21   interior."
22   in paragraph 93. Right?                                22           They're describing a bounded --
23      A. Yes, I mentioned "spaghetti and meatballs"       23   membrane-bounded object. If it's nucleic acid,
24   in paragraph 93.                                       24   they're fully encapsulated. That's what that
25      Q. And so, which of the locations that you've       25   language means.

                                                                                  38 (Pages 146 to 149)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 896 of 910 PageID #: 10476

                                               Page 150                                                    Page 152
 1       Q. In your numbered list, No. 1 in your             1               lipids coating an interior
 2   paragraph, you've labeled it "SPLPs." But actually      2               comprising a nucleic acid such
 3   in the definition, it just refers to it as "lipids."    3               as a plasmid with a reduced
 4          Is that right?                                   4               aqueous interior."
 5       A. "In the definition," can you -- what are         5        Q. Oh, I see. That's where you're -- that's
 6   you referring to?                                       6   where your quote in paragraph 93 is coming from, got
 7       Q. We're still at paragraph 5.                      7   it.
 8       A. Okay.                                            8           And so for that particular example, No. 1,
 9       Q. Between lines 30 and 40.                         9   the SPLPs, could you still have some partially
10                 MR. SHEH: Column 5, Mark?                10   encapsulated nucleic acid with an SPLP?
11                 MR. McLENNAN: Yes.                       11                   MR. SHEH: Objection; beyond the
12       A. Right. Column 5 of the '651 at line 30 is       12           scope, incomplete hypothetical.
13   pretty clear:                                          13        A. "Vesicle of lipids coating an interior
14                 "Lipid vesicle" refers to                14   comprising a nucleic acid...."
15              any lipid composition that can              15           I think that to me is the key phrase.
16              be used to deliver a                        16        Q. So it has to be fully coating it. It's
17              compound...not limited to                   17   not -- it can't be the example we spoke about
18              liposomes....                               18   earlier where it's protruding through the shell?
19          That's Item 2 in my declaration in page --      19        A. If it's protruding through the shell or
20   or, pardon me, paragraph 93:                           20   it's a nonuniform coating, it's going to respond to
21                 ...or wherein the lipids                 21   the dye.
22              coat an interior, comprising a              22           It will report as un -- or as a not fully
23              large molecular component....               23   encapsulated. That's the point.
24          That's also essentially what's being            24        Q. Okay.
25   described by 1 and 2.                                  25                   MR. SHEH: Mark, if you're
                                               Page 151                                                    Page 153
 1       Q. I think I'm just not seeing -- I think           1          switching lines of questioning, it's
 2   there might be some typos. I'm just not seeing          2          almost been an hour, I think.
 3   where 2 actually appears in the patent. I think         3                 MR. McLENNAN: Yeah, now is a
 4   that's where my confusion is.                           4          good time for a break.
 5       A. So line --                                       5                 MR. SHEH: Okay.
 6       Q. Oh, sorry -- I'm sorry. I'm not seeing           6                 VIDEOGRAPHER: The time is
 7   No. 1.                                                  7          3:34 p.m. This ends Unit 5.
 8       A. The abbreviation -- which, actually,             8                 We are off the record.
 9   you're highlighting.                                    9                 (Whereupon, a recess was taken.)
10          Part of the struggle in the field is the        10                 VIDEOGRAPHER: The time is
11   nonuniform notation that would often be used.          11          3:55 p.m. This begins Unit No. 6.
12          So the -- the "SPLP" is a -- just a label,      12                 We are on the record.
13   in which -- the key point here, in my mind, is         13   BY MR. McLENNAN:
14   that -- beginning with the parenthetical statement,    14       Q. So Dr. Thompson, earlier we were looking
15   "vesicle of lipids coating an interior comprising      15   at the definitions in Column 5 of the '651 patent.
16   nucleic acid, such as plasmid."                        16          Have you still got that open?
17       Q. Okay. And the Example No. 1 that you've         17       A. Yes.
18   listed there, is that also considered a "liposome"?    18       Q. So the definition of "lipid encapsulated"
19       A. Well, the '651, Column 5, beginning at          19   at lines 38 onwards, is that distinguishing between
20   line 41, actually defines it. We don't have to         20   "full encapsulation" and "partial encapsulation"?
21   guess. It defines it for us.                           21               (Witness reading.)
22          The term here "SPLP":                           22       A. As I understand this language,
23                 ...refers to a stable                    23   there...since the preceding paragraph is describing
24             plasmid lipid particle. "And"                24   "encapsulated components," I think what they're
25             SPLP represents a vesicle of                 25   trying to express here is that the method of
                                                                                  39 (Pages 150 to 153)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 897 of 910 PageID #: 10477

                                               Page 154                                                    Page 156
 1   production can generate a mixture of states and that    1      Q. And that remaining percent -- and if we
 2   that mixture of states can result in full               2   use the 70 percent fully encapsulated as an example,
 3   encapsulation, partial encapsulation, or both.          3   that 30 percent could include unencapsulated mRNA
 4          I guess, the -- so they're just trying to        4   and partially encapsulated mRNA?
 5   say you can get this ensemble of states.                5      A. That's my interpretation as well.
 6      Q. And the "both" in that definition that we         6      Q. Okay.
 7   just looked at, that's referring to a lipid vesicle     7      A. Just to be clear, that 30 percent is
 8   or a population of lipid vesicles with nucleic acids    8   dye-accessible. So it's -- what its status is, is
 9   that are both fully and partially encapsulated.         9   not revealed by the dye-exclusion experiment itself.
10          It's not referring to a single nucleic          10      Q. And when you say "status," that could be
11   acid that is both fully and partially encapsulated.    11   the location of the mRNA?
12   Right?                                                 12      A. It means that the mRNA, some portion of
13                 MR. SHEH: Object to form.                13   the population of particles -- in the case of
14      A. The way I heard the question, there were         14   70 percent of fully encapsulated, the other
15   really two ideas.                                      15   30 percent has dye accessibility.
16          Can we try --                                   16      Q. Okay. If you go to paragraph 46 of your
17      Q. Yeah, maybe we'll just do it one by one.         17   declaration, please, on page 20.
18          That definition is not talking about a          18      A. Okay.
19   nucleic acid that could be both fully and partially    19      Q. Okay. And so, just so there's no
20   encapsulated. Right?                                   20   confusion -- so this is within the section of your
21      A. Right. The lipid encapsulated is                 21   declaration where you're talking about the other
22   referring to the different types of states that were   22   patent family we discussed earlier. This is in the
23   described above -- the liposome state, the lipids      23   context of the '435 patent.
24   coating an interior of a large molecular               24          But I want to draw your attention to a
25   compartment, or lipid aggregates or micelles where     25   sentence about halfway down, starting with, "The
                                               Page 155                                                    Page 157
 1   the encapsulated component is contained within a        1   POSA."
 2   relatively disordered lipid mixture.                    2          So it says:
 3          I think that's -- that's what this               3                 The POSA would understand
 4   following paragraph is trying to describe.              4             the claims at issue in the
 5          That "lipid encapsulation" means that set        5             Lipid Composition Patents are
 6   of possibilities.                                       6             product claims that do not
 7       Q. If you look at paragraph 72 of your              7             require any particular
 8   report, in your declaration on page 34 -- just let      8             manufacturing process or that
 9   me know when you get there.                             9             any manufacturing process be
10       A. Yes, sir.                                       10             completed in order to
11       Q. So the two competing constructions are set      11             constitute a "particle" within
12   out there about paragraph 72. Right?                   12             the meaning of the claims.
13       A. Yes, I see them -- plaintiffs'                  13          Do you see that?
14   construction, Moderna's construction.                  14      A. Yes, I see that.
15       Q. And your -- or plaintiffs' proposed             15      Q. And is the same statement equally true for
16   construction that the mRNA in the formulation is       16   the '651 patent, which claims lipid vesicles?
17   contained inside the lipid vesicles.                   17                 MR. SHEH: Objection; beyond the
18          Does "contained inside" exclude partial         18          scope.
19   encapsulation?                                         19      A. I don't believe I was asked to form an
20       A. The 70, 80, 90 percent of the formulation       20   opinion on that.
21   is referring to that mRNA that is fully                21      Q. Did you understand this opinion you've got
22   encapsulated, that the other -- if it's 70 percent,    22   in 46 when you wrote your report?
23   then the other 30 percent; 80, there would be          23      A. Did I understand the -- I'm sorry. I
24   20 percent; or 90, there would be 10 percent that is   24   missed that.
25   not fully contained inside.                            25      Q. The sentence here, is that an opinion that
                                                                                  40 (Pages 154 to 157)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 898 of 910 PageID #: 10478

                                               Page 158                                                   Page 160
 1   you have -- that we just read out?                      1   that are under investigation.
 2      A. Yes, of course. This is my declaration,           2       Q. And have you ever conducted your own
 3   so I stand behind by declaration.                       3   research into mRNA LNP formulations?
 4      Q. And so, that's an opinion based on the            4       A. That -- I think I've answered that.
 5   fact that the Lipid Composition Patents have product    5          My lab has not executed experiments with
 6   claims. Right?                                          6   message RNA. We've worked with both longer and
 7      A. The language you just read, yeah, is:             7   shorter sequences than mRNA sequences.
 8                  The "Person Of Skill in                  8       Q. Okay. And when was the last time you
 9              the Art" would understand the                9   worked on a plasmid --
10              claims at issue in the Lipid                10       A. Actually, I -- sorry, please.
11              Composition Patents are product             11       Q. No, no. I'm sorry. Go ahead.
12              claims that do not require any              12       A. I realize I misspoke a moment ago.
13              particular manufacturing                    13          So, worked with shorter RNA sequences and
14              process or that any                         14   longer DNA sequences. Plasmid DNA, is what I meant
15              manufacturing process be                    15   to say.
16              completed in order to                       16       Q. And so, where would siRNA fall in that --
17              constitute a "particle" within              17   would that be in the shorter RNA sequences?
18              the meaning of the claims.                  18       A. Yes.
19          What I'm really saying is that the Lipid        19       Q. And when was the last time you worked on a
20   Composition Patents are about making particles, and    20   plasmid DNA lipid formulation?
21   that that's -- period. It's about making particles.    21                (Witness reading.)
22      Q. And so, the '651 patent, would you agree         22       A. So the -- among the published evidence
23   those are also product claims?                         23   would be Reference 151 in my CV.
24                  MR. SHEH: Objection; form,              24          It's on page 14 of the CV, entitled
25          beyond the scope.                               25   "Development and In Vitro Characterization of
                                               Page 159                                                   Page 161
 1      A. I don't know.                                     1   Bladder Tumor Cells Targeted" -- "Bladder Tumor Cell
 2      Q. You don't know, okay.                             2   Targeted Lipid-Coated Polyplex for Dual Delivery of
 3          So Dr. Thompson, I'm going to ask you            3   Plasmids in Small Molecules."
 4   about your qualifications and experience briefly.       4          So that's 2019.
 5          Do you have experience in formulating mRNA       5          The work reported in -- on the next page,
 6   LNP compositions?                                       6   Citation 169.
 7                 MR. SHEH: Object to form.                 7          The Oncotarget paper in 2022 is reporting
 8      A. I have experience in plasmid formulations,        8   the use of polypeptide fusion proteins that were
 9   siRNA formulations.                                     9   actually produced by lipid transfection of the
10          We are currently investigating other RNA        10   plasmid and coating elastin like polypeptides.
11   forms in the vehicles that we're developing.           11                COURT REPORTER: What was that
12      Q. Does that include mRNA?                          12          last word -- the last before
13      A. At present, no.                                  13          "polypeptides."
14      Q. So, so far, you've not had any experience        14                THE WITNESS: "Elastin."
15   formulating mRNA LNP formulations?                     15                COURT REPORTER: Thank you.
16      A. My lab does not currently have experience        16                THE WITNESS: Like
17   with mRNA formulations.                                17          "polypeptides."
18      Q. And then outside of your lab, have you had       18                MR. SHEH: E-l-a-s- -- okay.
19   any professional experience relating to mRNA LNP       19                Sorry.
20   formulations?                                          20   BY MR. McLENNAN:
21      A. I would answer yes.                              21      Q. Throughout your career, have you ever
22          I frequently attend conferences and other       22   worked on a commercial-scale formulation of LNPs?
23   events where the findings of researchers describe      23                MR. SHEH: Object to form.
24   their work with message RNA, both naturally            24      A. I didn't catch the first part.
25   expressed, chemically modified -- the various forms    25      Q. Let me rephrase.

                                                                                  41 (Pages 158 to 161)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 899 of 910 PageID #: 10479

                                               Page 162                                                 Page 164
 1         Throughout your career, have you ever been      1     not consulted with -- for those organizations.
 2   involved in the development of a commercial-scale     2        Q. Earlier we touched on analytical methods
 3   LNP formulation?                                      3     for measuring lipid content, and you said -- we
 4       A. I've consulted organizations that are          4     spoke about HPLC.
 5   involved in that kind of work, but not -- I don't     5           Have you personally ran HPLC experiments
 6   have hands-on commercial-scale LNP formulation work. 6      to measure lipid content in lipid compositions?
 7   That would be....                                     7        A. Yes.
 8         So in that context, no.                         8        Q. Okay. During any of the breaks today, did
 9       Q. And are all the consultancy positions that     9     you discuss the substance of your testimony with
10   you've held listed in your CV?                       10     counsel?
11         And this is in Appendix A to your              11        A. No.
12   declaration.                                         12                  MR. McLENNAN: Okay. Pending
13       A. The form of the CV that I've provided here    13           any questions from counsel for the
14   does not appear to show organizations that I've      14           plaintiffs, I have no further questions.
15   consulted for.                                       15                  Thank you for your time,
16       Q. Do you keep another CV that shows your        16           Dr. Thompson.
17   consultancy relationships?                           17                  MR. SHEH: Can we go off the
18       A. Generally not.                                18           record?
19         That seems like privileged information to      19                  VIDEOGRAPHER: The time is
20   me. So I tend to not put it on a document that is    20           4:18 p.m.
21   subject to being public.                             21                  We're off the record.
22       Q. So when you say "consultancy," you're         22                  (Whereupon, a recess was taken.)
23   talking about litigation consultancy?                23                  VIDEOGRAPHER: The time is
24       A. No, not "just."                               24           4:27 p.m.
25         I consulted for --                             25                  We're on the record.
                                               Page 163                                                 Page 165
 1                 MR. SHEH: I just caution the              1               MR. SHEH: This is Tony Sheh
 2          witness -- besides privileged                    2        from Williams & Connolly. Thank you for
 3          communications with counsel, if you have         3        your time today, Dr. Thompson. Plaintiffs
 4          obligations of confidentiality to these          4        have no questions.
 5          third parties that you're consulting with,       5               We can go off the record.
 6          I just want you to be cognizant of that.         6               VIDEOGRAPHER: The time is
 7                 And to the extent there's an              7        4:27 p.m.
 8          issue, we can talk about it -- well, Mark        8               We're off the record.
 9          and I will meet-and-confer -- Mr. McLennan       9            (Whereupon the deposition concluded
10          and I can meet-and-confer to see how            10        at 4:27 p.m.)
11          necessary it is to delve into these             11
12          third-party confidential information.           12
13                 THE WITNESS: Thank you for that          13
14          heads-up.                                       14
15      A. I have signed confidentiality agreements.        15
16   So I think I'm --                                      16
17      Q. Okay.                                            17
18      A. -- I'll leave it at that I did.                  18
19      Q. I could narrow it down, or you could just        19
20   give me a yes or no answer.                            20
21          But have you ever consulted for any of the      21
22   parties to this litigation, outside of this current    22
23   proceeding and the previous IPR proceedings?           23
24      A. So for Arbutus and Genevant -- I guess           24
25   that's what you're referring to specifically -- I've   25

                                                                                 42 (Pages 162 to 165)
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 Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 900 of 910 PageID #: 10480

                                                       Page 166                                                  Page 168
 1             DEPONENT'S SIGNATURE                                1         DECLARATION UNDER PENALTY OF PERJURY
 2                                                                 2          I am the witness in the foregoing
 3         Please be advised I have read the                       3   deposition.
 4   foregoing deposition, pages 1 through 165,                    4          I have read the foregoing deposition or
 5   inclusive. I hereby state there are:
 6         (Check one)                                             5   have had read to me the foregoing deposition, and
 7          __________ No corrections                              6   having made such changes and corrections as I
 8                                                                 7   desired, I certify that the same is true in my own
            __________ Corrections per attached                    8   knowledge.
 9                                                                 9          I hereby declare under penalty of perjury
10                                                                10   that the foregoing is true and correct.
11
12     ____________________________________________
                                                                  11          In witness whereof, I hereby subscribe my
13          DAVID H. THOMPSON, PH.D.                              12   name this ______ day of ____________________, 2023.
14                                                                13
15                                                                14       ___________________________________
        ( ) Reading and signing was requested.                    15         DAVID H. THOMPSON, PH.D.
16                                                                16
        ( ) Reading and signing was waived.
                                                                  17
17
        ( X ) Reading and signing was not requested.              18
18                                                                19
19                                                                20
20          Should the signature of the witness not               21
21   be affixed to the deposition, the witness shall not          22
22   have availed himself of the opportunity to sign or           23
23   the signature has been waived.
24                                                                24
25                 --oOo--                                        25
                                                       Page 167                                                  Page 169
 1                ERRATA SHEET                                     1               CERTIFICATE
 2      NAME OF CASE: Arbutus Biopharma Corporation,               2
 3      et al. v. Moderna, Inc., et al.                            3           I, SUSAN ASHE, a Registered Merit
 4      DATE OF DEPOSITION: November 14, 2023                      4   Reporter and Notary Public, hereby certify that the
 5      NAME OF WITNESS: DAVID H. THOMPSON, PH.D.                  5   foregoing is a true and accurate transcript of the
 6      Reason Codes:                                              6   deposition of said witness, who was first duly sworn
 7          1: To clarify the record.                              7   by me on the date and place hereinbefore set forth.
 8          2: To conform to the facts.                            8           I FURTHER CERTIFY that I am neither
 9          3: To correct transcription error.                     9   attorney nor counsel, nor related to or employed by
10   Page ______ Line ______ Reason ______
                                                                  10   any of the parties to the action in which this
11   From _______________________ to ____________________
                                                                  11   deposition was taken, and further that I am not a
12   Page ______ Line ______ Reason ______
13   From _______________________ to ____________________
                                                                  12   relative or employee of any attorney or counsel
14   Page ______ Line ______ Reason ______
                                                                  13   employed in this action, nor am I financially
15   From _______________________ to ____________________
                                                                  14   interested in this case.
16   Page ______ Line ______ Reason ______                        15           Dated this 16th day of November 2023.
17   From _______________________ to ____________________         16
18   Page ______ Line ______ Reason ______                        17
19   From _______________________ to ____________________         18        ______________________________
20   Page ______ Line ______ Reason ______                        19          Susan Ashe, Notary Public
21   From _______________________ to ____________________         20         of the District of Columbia
22   Page ______ Line ______ Reason ______                        21   My commission expires: May 14, 2028.
23   From _______________________ to ____________________         22
24                                                                23
     ____________________________ _______________                 24
25                                                                25

                                                                                        43 (Pages 166 to 169)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 901 of 910 PageID #: 10481




                   JOINT APPENDIX 89
Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 902 of 910 PageID #: 10482


    1               UNITED STATES PATENT AND TRADEMARK OFFICE
    2               BEFORE THE PATENT TRIAL AND APPEAL BOARD
         ______________________________________________________
    3
          MODERNA THERAPEUTICS,                   )
    4     INC.,                                   )
                                                  )
    5              Petitioner,                    )
                                                  ) NO. IPR2019-00554
    6             vs.                             )
                                                  ) PATENT NO. 8,058,069
    7     ARBUTUS BIOPHARMA                       )
          CORPORATION,                            )
    8                                             )
                   Patent Owner.                  )
    9                                             )
  10     ______________________________________________________
  11
  12                    DEPOSITION UPON ORAL EXAMINATION OF
  13                          DAVID H. THOMPSON, Ph.D.
  14     ______________________________________________________
  15                        WEDNESDAY, JANUARY 15, 2020
  16                                     9:04 A.M.
  17                        701 5TH AVENUE, SUITE 5100
  18                             SEATTLE, WASHINGTON
  19
  20
  21
  22     REPORTED BY:      VICKY L. PINSON, RPR-CCR Washington 2559
  23                       California No. 9845; Oregon No. 16-0442
  24     JOB NO. 3835178
  25     PAGES 1 - 211

                                                                     Page 1

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 903 of 910 PageID #: 10483

        1           APPEARANCES                                               1         Seattle, Washington; January 15, 2020
        2
        3 FOR THE PETITIONER:                                                 2                  9:04 a.m.
        4   C. MACLAIN WELLS                                                  3                   * * *
            Irell & Manella, LLP                                              4
        5   1800 Avenue of the Stars, Suite 900
            Los Angeles, CA 90067
                                                                              5            DAVID H. THOMPSON, Ph.D.,
        6   310.277.1010                                                      6 sworn as a witness by the Certified Court Reporter,
            mwells@irell.com                                                  7 testified as follows:
        7
                                                                              8
        8
        9                                                                     9                  EXAMINATION
          FOR THE PATENT OWNER:                                              10 BY MR. WELLS:
       10
                                                                             11     Q. Good morning, Dr. Thompson. Welcome back.
            MICHAEL T. ROSATO
       11   LORA M. GREEN, JD, Ph.D.                                         12 We've been through this a couple of times. Do you
            Wilson Sonsini Goodrich & Rosati                                 13 remember the general rules of a deposition?
       12   701 5th Avenue, Suite 5100
                                                                             14     A. Yes.
            Seattle, WA 98104
       13   206.883.2500                                                     15     Q. You understand that you're under oath and
            mrosato@wsgr.com                                                 16 obligated to tell the truth and the whole truth?
       14   lgreen@wsgr.com                                                  17     A. Yes.
       15
       16                                                                    18     Q. And if you'll allow me to finish my questions
       17                                                                    19 before you answer, I'll try to make sure that you can
       18                                                                    20 finish your answers before I begin the next question
       19
       20                                                                    21 and make sure we don't talk over each other.
       21                                                                    22     A. Yes.
       22                                                                    23     Q. And if you don't understand any of my
       23
       24                                                                    24 questions, I'll see if I can clarify them. Any reason
       25                                                                    25 you can't give your best testimony here today?
                                                                    Page 2                                                          Page 4

        1                INDEX                                                1     A. No.
        2
        3 EXAMINATION BY                             PAGE                     2     Q. Now, you submitted a declaration in the IPR
        4    Mr. Wells                          4                             3 relating to the '069 Patent. Is that correct?
        5    Mr. Rosato                        203
        6                                                                     4     A. Yes.
        7                                                                     5     Q. And when I said '069 Patent, you understand
        8 EXHIBITS FOR IDENTIFICATION                        PAGE
        9 Exhibit 1    Declaration of David H.          5
                                                                              6 that I'm referring to U.S. Patent No. 8.058,069?
                    Thompson, Ph.D.                                           7     A. Yes.
       10
                                                                              8           MR. WELLS: And so let's go ahead and mark
          Exhibit 2    Curriculum Vitae of David H.        5
       11           Thompson                                                  9 as Exhibit 1 a copy of your Declaration.
       12 Exhibit 3    US Patent 8,058,069 B2           31                   10        (Exhibit 1 was marked for identification.)
       13 Exhibit 4    Publication '196            107
       14 Exhibit 5    US Patent Application          112                    11           MR. ROSATO: It's Exhibit 23 already
                    Publication 2006/0134189 A1                              12 entered.
       15
          Exhibit 6    Excerpt from the Prosecution      158                 13           MR. WELLS: And let's go ahead and mark as
       16           History                                                  14 Exhibit 2 to your deposition, which is Exhibit 2032 to
       17 Exhibit 7    US Patent Application          160
                    Publication 2006/0008910 A1
                                                                             15 the IPR, a copy of your CV.
       18                                                                    16        (Exhibit 2 was marked for identification.)
          Exhibit 8    US Patent Application          191
                                                                             17     Q. Okay. And is your CV current and up-to-date?
       19           Publication 2006/0240554 A1
       20 Exhibit 9    Article:                 197                          18     A. I'm just checking that. Yes.
                    Diffusible-PEG-Lipid                                     19     Q. Now, when I was looking through your CV, I
       21           Stabilized Plasmid Lipid
                    Particles                                                20 think I noticed that you had published nine additional
       22                                                                    21 articles since you had provided testimony previously in
          Exhibit 10    Orange Book: Approved Drug          201
       23           Products with Therapeutic                                22 the IPR relating to the '435 and the '127 patents.
                    Equivalence Evaluations                                  23 Does that sound right?
       24
          Exhibit 11    Deposition of David H.         207
                                                                             24     A. Let me get the timeline here. I'm sorry,
       25           Thompson, Ph.D. - 02-04-2019                             25 could you repeat the question? I want to make sure I
                                                                    Page 3                                                          Page 5

                                                                                                                        2 (Pages 2 - 5)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 904 of 910 PageID #: 10484

        1 have it.                                                      1 nanoparticles more or less as a benchmark for comparing
        2     Q. When I was looking through your CV, it                 2 our polymer carrier systems.
        3 appeared that you had published nine additional               3     Q. And regarding your prior work at the time of
        4 articles since we had previously spoken at your               4 the '069 Patent, just so we're clear as to the time
        5 deposition in the '435 and '127 IPRs. Does that sound         5 we're talking about, what time frame are you referring
        6 right to you?                                                 6 to?
        7     A. So my recollection is that the last time we            7     A. So this would be in, with respect to our work
        8 had spoken was in January of 2019, and so it would have       8 beginning in 1994 and extending actually actively in
        9 been, by that time it would be publications of 146. So        9 the lipid delivery area through the citation 110. So
       10 by my account that would be two, four, five                  10 2014 is where our, where the heart of the paper, the
       11 publications that appeared. There are a number that          11 subject is focused on cationic lipid formulation.
       12 are still in process that are described here as in           12     Q. Did you say Publication 110?
       13 preparation.                                                 13     A. Yes. Actually, yes, 110, entitled
       14     Q. And do these additional publications relate to        14 "DNA-Epitope Vaccine Provided Efficient Protection to
       15 your work with polymer carrier chemicals?                    15 Mice Against Lethal Dose of Influenza A Virus H1N1."
       16     A. These are -- one of those five is dealing with        16 So that's a paper describing a cationic lipid that we
       17 polymer carrier particles, yes.                              17 had developed that was degradable, and we were
       18     Q. Do any of those five additional publications          18 evaluating it as a potential vaccine in a mouse model.
       19 deal with cationic lipid carrier particles?                  19     Q. Now, I think that you mentioned earlier that
       20     A. Since our last meeting these five that have           20 you had done some research relating to degradable lipid
       21 appeared are focused on high throughputs. This is high       21 particles. Correct?
       22 throughputs screening machine learning. And the              22     A. Yes.
       23 development of a polymer carrier system. So none of          23     Q. Were those all cationic lipid particles or --
       24 these that have yet, that have appeared are actually         24     A. Not all cationic. There were some degradable
       25 describing the use of cationic lipids.                       25 phospholipids, actually natural products, so-called
                                                              Page 6                                                         Page 8

        1     Q. And so regarding your publications, you                1 plasmid coating lipids that are found predominantly in
        2 haven't published on cationic lipid -- cationic LNPs.         2 brain sarcoplasm as only malate (phonetic) source. It
        3 Correct?                                                      3 was kind of a natural choice because being natural
        4     A. That actually is incorrect. I have published           4 products, they would have an intrinsic metabolic
        5 on cationic lipid particles. Just not since our last,         5 pathway, not only for their synthesis, but also for
        6 since our last meeting.                                       6 their degradation. And so it seemed like a natural
        7     Q. And do you have any additional patents that            7 family of materials to explore for nucleic acid
        8 you've obtained since our last meeting?                       8 delivery applications, since it got right to the heart
        9     A. So on page 15 the item that is listed No. 8,           9 of what the problem was from the very first cationic
       10 that actually is now issued, and that would be the only      10 lipid publication, was their toxicity.
       11 change.                                                      11        So that was really where we first established
       12     Q. And does your patent work -- since our last           12 our efforts. We then -- so that's for phospholipid.
       13 meeting, do any of those patents relate to cationic          13 That work, as I mentioned, the first publication
       14 LNPs?                                                        14 appeared in '92, actually. That would be in the
       15     A. The patents that are listed here are focused          15 citation or publication listed here on page 3, Nos. 16
       16 on polymer carriers for delivery. Both synthetic             16 and 17, plasmalogen liposomes, and then extending into
       17 polymer and biopolymer, trying to advance the field of       17 the mid 2000s where we were essentially using the same
       18 beyond cationic lipid particles.                             18 platform -- or I should say the same chemistry, to be
       19     Q. And the focus of your work is on polymer lipid        19 more precise, the same phenyl ether, also called vinyl
       20 carrier particles. Correct?                                  20 ether chemistry. But repositioning it to the position
       21     A. At present our focus is on polymer carriers.          21 between a polyethylene glycol and a lipid anchoring
       22 At the time of the '069, we were very actively involved      22 group.
       23 in lipid particle, specifically bioresponsive lipid          23        And so it, from a chemical reaction point of
       24 particles that would degrade in a program manner. But        24 view it displayed the same kinds of reactivity
       25 that is a theory that at present we typically use lipid      25 profiles. But it was, instead, a non-cationic
                                                              Page 7                                                         Page 9

                                                                                                                 3 (Pages 6 - 9)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 905 of 910 PageID #: 10485

        1           MR. ROSATO: Objection to form and scope.           1     A. So in Example 12, the, it's the DSPC
        2     A. Actually, that's speculative. Some might              2 cholesterol 20 to 48. And in Example 14, DSPC
        3 actually say that -- look at the data and say, Gosh, 2       3 cholesterol is 10 to 48.
        4 to 40 is the sweet spot. What I want to do is use my         4       So, right. As the cationic lipid
        5 cationic lipid and see if I can push at 40 percent and       5 concentration is increased, it's being, they're holding
        6 push the performance. Maybe I want to vary some other,       6 cholesterol constant and lowering the phospholipid
        7 one of the many other variables that contribute to the       7 concentration.
        8 efficacy of these particles.                                 8     Q. And that's because you've still got to equal
        9       It's not a -- these are multi-variant                  9 hundred percent. So you've got to figure out where
       10 formulations. And it's as when we met a year ago, this      10 your 10 percent is coming from. Correct?
       11 was one of the key points, is that there were so many       11     A. Correct.
       12 variables. It was unclear even if someone reports a         12     Q. And in your opinion was adjusting the
       13 positive result. Unclear what was truly positive.           13 phospholipid an obvious choice among the lipid
       14 You're measuring. You have a readout. That readout is       14 components to change?
       15 coming. It's downstream from so many events. The            15           MR. ROSATO: Objection to form. Scope.
       16 cargo has to get in. It has to be -- has to engage its      16     A. Um, as I've said multiple times now, it's an
       17 target. It has to either not engage or nontarget or at      17 ensemble property. That's one way. At least to their
       18 least hopefully not contribute to toxicity. It needs        18 credit they didn't change more than two variables. So
       19 to get into the cell. It needs to get under wrap. It        19 they're at least keeping the conjugate lipid and the
       20 needs to get to the target tissue. It needs to not be       20 cholesterol constant. But one could -- since you're
       21 recognized by the immune system.                            21 trying to explore unknown space, other choices are
       22       There are so many factors, that when you're           22 possible.
       23 using a measure of function that is so far downstream,      23     Q. One of skill in the art at the time if they
       24 at the time of the '069 and our level of understanding      24 were trying to find the sweet spot for these different
       25 of how these complexes actually performed, you have no      25 things, they very well might have adjusted the
                                                           Page 138                                                       Page 140

        1 clue about where, which of those steps, multiple             1 phospholipid to accommodate an increase in cationic
        2 steps -- and I've only touched on some of them -- which      2 lipid and test it in order to figure out whether that's
        3 of those steps has been productive or how many of the        3 the sweet spot. Is that right?
        4 steps have been productive or to what extent step No. 3      4            MR. ROSATO: Objection to form and scope.
        5 has gotten slightly better and that now increases the        5     A. There were many variables that could be
        6 likelihood of step No. 4. It is rocket science.              6 changed. I don't want to speculate on what -- or
        7 People didn't know what was at the root of enhanced          7 presume to guess what one investigator versus another
        8 function.                                                    8 might choose.
        9           MR. ROSATO: Maybe it would be a good time          9     Q. Are you aware of any reason why one of skill
       10 to take a break, based on the length of time.               10 in the art at the time would not have wanted to change
       11       (Recess 2:57 p.m. - 3:10 p.m.)                        11 the phospholipid from 20 to 10 and would have said, Oh,
       12     Q. (By Mr. Wells) So we're still talking about          12 that's a horrible idea?
       13 the 189 Publication and the disclosures therein. So         13            MR. ROSATO: Objection to form and scope.
       14 going from the 2 to 30 formulation to the 2 to 40           14     A. I think your own statements earlier about
       15 formulation, the cationic lipid was increased by 10         15 cholesterol content and the possibility for
       16 percent. Correct?                                           16 precipitation might be actually one of the reasons to
       17           MR. ROSATO: Objection to form.                    17 hold the phospholipid constant and change the
       18     A. Right. Of those formulations, it's the               18 cholesterol composition.
       19 cationic lipid and the other component. The other           19        It just, it's speculative and it is not
       20 components of the formulation have to be adjusted           20 what -- it's not an assumption that a careful scientist
       21 accordingly.                                                21 would be comfortable making. You do the experiment,
       22     Q. And in this case they adjusted the                   22 you look at the data that come from that experiment,
       23 phospholipid down by 10 percent. Correct?                   23 and then you make your information-base decision. You
       24           MR. ROSATO: Objection to form and                 24 don't -- you can guess, but it's more searching in the
       25 foundation.                                                 25 darkness.
                                                           Page 139                                                       Page 141

                                                                                                        36 (Pages 138 - 141)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 906 of 910 PageID #: 10486

        1     Q. And when they were switching from the 20-to-30        1 vary among them to try to determine that?
        2 formulation to the 2-to-40 formulation, is that the          2           MR. ROSATO: Objection to form.
        3 kind of titration approach or optimization that we were      3 Foundation. Scope.
        4 talking about earlier where you're testing different         4    A. You know, I allude to this in essentially the
        5 variables to see where the sweet spot is?                    5 heart of your question. I allude to in my declaration,
        6          MR. ROSATO: Objection to form. Scope.               6 saying that the rules were not known and the steps were
        7 Misstates.                                                   7 not -- you could write on the board, but you did not
        8     A. As you're developing a safe and efficacious           8 know where the, where the leverage was. And if it was
        9 formulation, you are, you're trying to design your           9 that obvious, why didn't it happen before '069? It's,
       10 experiments in a way that hopefully shed some insight       10 that was a pivotal teaching that happens to be borne
       11 into what parameters might be more important than           11 out by all that follows. Petitioner's own data, the
       12 others. So you, it's really a body of data that you're      12 fact that there's a FDA-approved product that falls in
       13 generating to guide you to the best formulation.            13 that specification, multiple independent laboratories.
       14     Q. Now, if a researcher is using similar building       14       You know, they could have made the assumptions
       15 blocks, meaning similar lipids like DLin DMA,               15 that you're asserting. They didn't. It wasn't
       16 cholesterol, the phospholipid and the conjugated lipid,     16 obvious. It's because it was multi-variant.
       17 and wanted to find out where the sweet spot was for         17    Q. Now, you keep mentioning Patisiran. And you
       18 that combination, and we've already tested the 2-to-30      18 did in your declaration an actual calculation of the
       19 and the 2-to-40, is there any reason why the                19 molar weight associated with Patisiran. Is that
       20 researchers wouldn't try the 2-to-50?                       20 correct?
       21          MR. ROSATO: Objection. Form. Scope.                21    A. 50 mol percent.
       22 Incomplete hypothetical.                                    22    Q. Was it 50 exact or did you round it?
       23     A. Without looking at other formulation aspects,        23    A. It's a rounded number.
       24 what ions are present during the formulation? What is       24    Q. Do you know whether it was below 50 or above
       25 the formulation methodology? There are multiple             25 50?
                                                           Page 142                                                        Page 144

        1 paths -- I should say multiple variables that could be       1    A. I, that was work that I had done sometime ago,
        2 explored. One you mentioned is just one of many              2 so I can't recall.
        3 possible avenues to explore.                                 3    Q. So if it was below -- are you done?
        4     Q. But a person of skill in the art if they've           4    A. I can't recall how it was rounded. I'm sure
        5 already shown increased efficacy moving from 2-to-30 to      5 that Alnylam, if it was lower than 50, would be looking
        6 2-to-40, it would have been obvious for them to try the      6 for some way to steal this property.
        7 2-to-50. That's not something that would be out of the       7    Q. Steal this property, what are you talking
        8 box?                                                         8 about?
        9           MR. ROSATO: Objection to form. Scope.              9    A. '069. It's the formulation that covers their
       10 Foundation.                                                 10 property.
       11     A. I think that's incorrect because you are             11    Q. You understand that the '069, the minimum
       12 someone -- a person of skill in the art at this time        12 amount of cationic lipid in that range is 50 percent.
       13 looking at just body weight as the measure of toxicity      13 Correct?
       14 is, one, is being careful particularly in a corporate       14    A. Um-hmm.
       15 setting. You don't -- you get burned by your                15    Q. And when you calculated the molar percentages,
       16 assumptions. That's one of the first lessons you learn      16 you calculated the percentage for Patisiran at
       17 in graduate school is to avoid assumptions. Certainly       17 50 percent. Correct?
       18 never trust them. And so of the set of parameters that      18    A. Um-hmm.
       19 one can vary, varying cationic lipid is just one of         19    Q. And that's a rounded number. Correct?
       20 many choices that can be made.                              20    A. That is my recollection, yes.
       21     Q. So looking at the move from the 2-to-30              21    Q. That's, sitting here today you don't know
       22 formulation to the 2-to-40 formulation in the 189           22 whether you rounded up to 50 percent or down to
       23 Publication, if you wanted to further test what the         23 50 percent. Right?
       24 sweet spot or the optimal range was, varying the            24    A. At this moment without the calculation in
       25 cationic lipid is one potential variable that you could     25 front of me, I, what I'm saying is that it's two
                                                           Page 143                                                        Page 145

                                                                                                         37 (Pages 142 - 145)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 907 of 910 PageID #: 10487

        1 significant digits. Five-zero.                               1 another particle in the composition. Globally or since
        2     Q. And is it your understanding that the range of        2 you're measuring an ensemble property like
        3 the claims would cover 49.95 because of the significant      3 concentration, you're looking at the overall lipid
        4 digits?                                                      4 concentration in that, in that sample.
        5           MR. ROSATO: Objection to form.                     5    Q. So when it says a mol percentage in the '069
        6     Q. (By Mr. Wells) And let me clarify that                6 Patent, it's your understanding that that's an average
        7 because I didn't say what part of the range. Is it           7 molar percentage over the particle population?
        8 your understanding that the claimed range of 50 to           8           MR. ROSATO: Objection to form.
        9 65 percent cationic lipid would cover 49.95 percent          9 Foundation.
       10 cationic lipid?                                             10    A. The expectation is that any approved product,
       11           MR. ROSATO: Objection to form.                    11 there will be a well-defined range of concentrations
       12     A. It would be tied to the precision of the             12 and accepted tolerances.
       13 measurement. So whether it's mass-based or HPLC-based       13    Q. Looking at the '069 Patent, is it your
       14 or whatever other measurement tool that's being used.       14 understanding that where it says a cationic lipid
       15     Q. Now, the carrier particles used in the               15 comprising 50 mol percent to 65 mol percent of the
       16 Patisiran, the target is 50 percent. Is that correct?       16 total lipid present in the particle, that that's an
       17 According to your calculation for the cationic lipid        17 average of all the particles in the population? Or do
       18 percentage.                                                 18 you have a different understanding?
       19     A. 50 percent, yes.                                     19           MR. ROSATO: Objection to form.
       20     Q. But that's the target; right? There's some           20 Foundation and scope.
       21 plus-or-minus variability allowed. Correct?                 21    A. It is guiding the field to the place where
       22           MR. ROSATO: Objection to form.                    22 active formulations that are well tolerated can be
       23 Foundation.                                                 23 expected. It's citing two significant digits in
       24     A. I haven't read the FDA insert with the product       24 this -- in that example. And so that's the level of
       25 to see what that precision is. I didn't speak to that       25 precision.
                                                           Page 146                                                     Page 148

        1 in my declaration. The precision of that particular          1     Q. And the claim from the '069 Patent is directed
        2 value, what I stated was 50 percent.                         2 to a nucleic acid lipid particle. Correct?
        3     Q. But you would expect there to be some measure         3     A. A nucleic acid lipid particle comprised.
        4 of variability allowed in the percentage of cationic         4     Q. And that's not a population of particles.
        5 lipid in the carrier particle for Patisiran, allowed by      5 It's a particle. Correct?
        6 the FDA. Correct? It doesn't have to have 50.0000            6     A. Well, a particle, if we could make just a
        7 percent exactly, to be properly formulated?                  7 particle and had that level of control, we may not be
        8           MR. ROSATO: Objection to form.                     8 having this conversation. That's referring to a way of
        9     A. What I'm saying is that there's a precision of        9 making a particle. And a position of skill in the art
       10 the measurement. I have not read and I am not prepared      10 knows that what's being described is a population. A
       11 to comment on what the FDA insert or specifications         11 formulation of particles that has that composition.
       12 allow. But one is -- one would expect that there is         12     Q. And so for Patisiran, since the target is 50
       13 some batch variation or other variations in the             13 mol percent cationic lipid, according to your own
       14 product.                                                    14 calculations, and there's some level of variability
       15     Q. And, in fact, we've talked about it before,          15 expected in those particles, a proportion of the
       16 how when you have these target percentages for your         16 particles in the Patisiran are outside of the range for
       17 molar proportions, there's usually a bell-shaped curve      17 the '069 patent. Presumably, correct?
       18 where your target is somewhere in the large portion of      18           MR. ROSATO: Objection to form.
       19 the particles. But as we get to the shoulders, you're       19     A. That's your presumption. Not mine.
       20 going to vary one way or the other. Correct?                20     Q. Would you presume that all of the particles in
       21     A. What the number is indicative of is the              21 Patisiran are at 50 percent or over cationic lipid,
       22 average. The mean of the formulation. And they're           22 based upon your experience as an expert in this field?
       23 within that distribution of particle sizes and              23     A. I would, in the absence of data to evaluate, I
       24 compositions. There may be variations of, one, a            24 would expect that a FDA-approved product would have the
       25 particle may have a slightly different composition than     25 kind of rigor of analysis that would have that
                                                           Page 147                                                     Page 149

                                                                                                       38 (Pages 146 - 149)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 908 of 910 PageID #: 10488

        1 composition well mapped out. So it's, it's just based         1 Patisiran is?
        2 on multiple experiences with other kinds of FDA               2    A. I don't recall the -- I believe I know, but
        3 disclosures of whether it's a small molecule drug or,         3 I'm, I would want to review that, the product insert,
        4 in this case, a formulation.                                  4 to be certain.
        5     Q. Back to my question. Would you presume as an           5    Q. Does MC3 sound familiar?
        6 expert in the field that all of the particles in              6    A. That is, that is the species that I was
        7 Patisiran have over 50 percent cationic lipid, based          7 inclined to remember.
        8 upon familiarity and experience with this technology?         8    Q. Do you know when MC3 was introduced into the
        9           MR. ROSATO: Objection to form. Asked and            9 market?
       10 answered.                                                    10    A. Into the market is when Patisiran was
       11     A. Since I'm not being informed of any of the            11 approved, which was 2018. Specifically, August 19 of
       12 data or the method of formulation or any of the other        12 2018. I was at the Gordon Conference where that
       13 parameters that I've laid out that I've said now             13 announcement was made.
       14 multiple times, it's multifactorial. It's simply wrong       14    Q. Do you know when MC3 was made available in the
       15 to speculate. That's wrong-minded.                           15 industry?
       16     Q. So you don't know one way or the other whether        16    A. It -- actually, it's among the family of
       17 the particles in Patisiran are all over 50 percent           17 compounds that I spoke about earlier. It's part of the
       18 cationic or whether some are below?                          18 discovery of Steve Ansell and the lipid chemistry team.
       19           MR. ROSATO: Objection.                             19 So there was a whole family of those compounds that the
       20     A. That's your statement, not mine. What I've            20 MC3 -- pardon me -- the MC family, where they walked
       21 said now three times already is that I expect that           21 the cation effectively away from the surface and
       22 because it's achieved FDA approval, that there has been      22 evaluated their efficacy.
       23 a, that there's an underlying analysis of that product.      23    Q. MC3 is not an ionized cationic lipid.
       24 Otherwise they likely would not have achieved the            24 Correct?
       25 approval that they received.                                 25    A. It's an ionized cationic lipid.
                                                            Page 150                                                       Page 152

        1        You have to show your composition, you have to         1     Q. And the '069 Patent doesn't disclose MC3
        2 show that there are no genotoxic components in that           2 specifically as an example of a cationic lipid that can
        3 formulation. You need to show that it's reproducible          3 be used with the patent technology. Correct?
        4 so that batch-to-batch uniformity is appropriate for          4           MR. ROSATO: Objection to form.
        5 human therapeutics. So there's a whole underlying, I          5     A. It's stating a cationic lipid.
        6 guess, trust that there are, that FDA is doing its job.       6     Q. It doesn't mention MC3 specifically without --
        7 And defining that. You're making an assumption and            7 anywhere in the specification to your recollection. Is
        8 I've just spelled out what my expectation is in terms         8 that correct?
        9 of composition.                                               9           MR. ROSATO: Objection. Asked and
       10     Q. Well --                                               10 answered.
       11     A. And it's mapped out.                                  11     A. It is -- claim 1 is a cationic lipid.
       12     Q. You've told me it's mapped out and the FDA has        12     Q. Right. But the '069 Patent gives examples of
       13 rigor, but I'm asking you whether you have an opinion        13 cationic lipids. Do you recall those discussions in
       14 as to whether all the particles in Patisiran have over       14 the '069 Patent? We talked about them earlier today.
       15 50 percent cationic lipid?                                   15           MR. ROSATO: Objection to form.
       16           MR. ROSATO: Objection. Asked and                   16 Foundation.
       17 answered.                                                    17     A. Right. There are, just as we've reviewed in
       18     A. I'll just say "all" is an absurd word in this         18 the other documents, there are other cationic lipids
       19 context. It's a distribution, as I've said multiple          19 that were commonly part of an evaluation package. The
       20 times. How narrow that distribution is? To use your          20 family that is -- at least the notation that's being
       21 numbers, 49.95 percent to 50.05 percent? Or is it            21 used here, this is column 18, the K2-C2 or otherwise
       22 broader than that? I have no idea. But it is a               22 known as XTC 2 is just members of that same family of
       23 expectation that that is -- that the mean value is           23 lipids where they're cationic lipids, where they're
       24 50 percent.                                                  24 manipulating the hydrolyze ability, the Acyl chain
       25     Q. Do you know what the cationic lipid used in           25 unsaturation degree, and the position of the ionizable
                                                            Page 151                                                       Page 153

                                                                                                         39 (Pages 150 - 153)
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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 909 of 910 PageID #: 10489

        1 group relative to what's presumed to be the membrane           1 you're referring to at the time?
        2 surface.                                                       2           MR. ROSATO: Objection to form.
        3     Q. But MC3 is not one of the listed cationic               3 Misstates.
        4 lipids as examples in the '069 Patent. Correct?                4     A. What I'm saying is that this is a dataset.
        5           MR. ROSATO: Objection. Asked and                     5 There were other datasets that we're not looking at
        6 answered.                                                      6 that were very clearly pointing out the toxicity of
        7     A. MC3 was a later member of this family of                7 high cationic lipid. So to cherry-pick one set of
        8 lipids that is being reported here.                            8 results is, you do at your own peril.
        9     Q. And when you say a later member of the family,          9     Q. But you would agree that if I look at the
       10 a later developed member of the family than the ones          10 disclosures in the 196 Publication and the 189
       11 reported in the '069 Patent. Correct?                         11 Publication, that indicates that increasing the
       12     A. Later from finding their way in this document?         12 cationic lipid is not necessarily a bad thing.
       13 What I'm uncertain of is whether MC3 existed on the           13           MR. ROSATO: Objection to form.
       14 planet. Was it actually coming out of the synthesis           14     A. From the perspective of the time of the '069,
       15 pot at the time of the filing of the '069, and was it         15 where it's clearly laid out, the collective
       16 simply the dataset that may have existed that wasn't          16 understanding is that these are, this is a set of
       17 mature enough to find its way into this disclosure?           17 findings. And it has to fit with other findings where,
       18 It's presumptive. Your question is presumptive.               18 in fact, high cationic lipids were shown to be very
       19     Q. If we can look at your declaration, please, at         19 toxic. So it's just a, it's a retrospective point of
       20 paragraph 27? You say it was widely understood. Read          20 view. Once you know what the answer is, you now know
       21 the second sentence and let me know when you're done          21 where to go. That's essentially a retrospective
       22 reading it.                                                   22 analysis. At the time there was no assurance that this
       23     A. Yes.                                                   23 was the right direction to go.
       24     Q. How do you reconcile your assertion that the           24     Q. But there was certainly an indication that it
       25 amount of cationic lipid needed to be kept as low as          25 might be. Wasn't there? I mean, Protiva's own
                                                             Page 154                                                      Page 156

        1 possible with the disclosures in the 189 Publication?          1 disclosures showing that you can increase the cationic
        2 That the cationic lipid could be increased to                  2 lipid from 15 percent to 30 percent to 40 percent. If
        3 30 percent and then increased even further to                  3 one of skill in the art was aware of those disclosures,
        4 40 percent?                                                    4 wouldn't it have been reasonable for them to try an
        5           MR. ROSATO: Objection to form.                       5 even higher cationic percentage?
        6 Misstates.                                                     6           MR. ROSATO: Objection to form.
        7     A. The statement here is pointing to the fact              7 Argumentative. Asked and answered.
        8 that the collective understanding of the field at the          8     A. As I've said multiple times, it's not just the
        9 time was as it says: Keep the amount of systemic --            9 composition. What lipids we're talking about, how the
       10 particles for systemic use, the amount of cationic            10 particles are formed, there are multiple measures.
       11 lipid and the formulation should be kept as low as            11 That is retrospective analysis.
       12 possible because of concerns over the toxic effects.          12     Q. In your declaration you discuss the
       13       And so that's what was guiding people's                 13 appropriate claim construction of nucleic acid lipid
       14 thinking, was to keep cationic lipid concentration low.       14 particle. Do you recall that discussion? It begins on
       15 Here are publications showing that you can go from            15 paragraph 30 of your declaration, if that's helpful to
       16 15 percent cationic to 30, to even 40 in these specific       16 you.
       17 formulations with toxicity measures of body weight.           17     A. Yeah, it's helpful. Thank you.
       18       So it's not changing the collective                     18     Q. I'm not asking you to read the whole thing.
       19 understanding. The whole body of knowledge was                19 Do you recall the general discussion?
       20 pointing to the toxicity of cationic lipids. And still        20     A. Yeah. Yeah, I do.
       21 points to their, the liabilities that they represent.         21     Q. And then in the paragraph 31 it says: You've
       22     Q. Do you think that the disclosures in the '189          22 been informed by counsel that claim term should be
       23 Patent, that you can go from 15 percent up to                 23 construed based upon how they would be understood by a
       24 30 percent and then to 40 percent cationic lipid are          24 person of ordinary skill when read in light of the
       25 inconsistent with the collective understanding that           25 specification and the prosecution history.
                                                             Page 155                                                      Page 157

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Case 1:22-cv-00252-MSG Document 181-4 Filed 01/03/24 Page 910 of 910 PageID #: 10490

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        7
        8        I, DAVID H. THOMPSON, Ph.D., do hereby declare
        9 under penalty of perjury that I have read the foregoing
       10 transcript of my deposition; that I have made such
       11 corrections as noted herein, in ink, initialed by me, or
       12 attached hereto; that my testimony as contained herein,
       13 as corrected, is true and correct.
       14        EXECUTED this _____ day of ___________________,
       15 ______, at ________________________, __________________.
       16              (City)           (State)
       17
       18
       19
       20
       21        _____________________________________
       22            DAVID H. THOMPSON, Ph.D.
       23
       24
       25
                                                                     Page 210

        1             REPORTER'S CERTIFICATE
        2
        3     I VICKY L. PINSON, RPR-CCR, the undersigned
        4 Certified Court Reporter, pursuant to RCW 5.28.010
        5 authorized to administer oaths and affirmations in and
        6 for the State of Washington, do hereby certify that the
        7 sworn testimony and/or proceedings, a transcript of
        8 which is attached, was given before me at the time and
        9 place stated therein; that any and/or all witness(es)
       10 were duly sworn to testify to the truth; that the sworn
       11 testimony and/or proceedings were stenographically
       12 recorded by me and transcribed under my supervision;
       13 that the foregoing transcript contains a full, true,
       14 and accurate record of all the sworn testimony and/or
       15 proceedings given and occurring at the time and place
       16 stated in the transcript; that a review of which was
       17 requested; that I am in no way related to any party to
       18 the matter, nor to any counsel. Nor do I have any
       19 financial interest in the event of the cause.
       20 WITNESS MY HAND this 29th day of January, 2020.
       21
       22
       23       <%21359,Signature%>
       24       VICKY L. PINSON, RPR-CCR
       25       Washington Certified Court Reporter, CCR 2559
                                                                     Page 211

                                                                                        54 (Pages 210 - 211)
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